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                            Hearing Date: June 18, 2019 at 10:00 a.m. (Prevailing Eastern Time)
                       Objection Deadline: June 15, 2019 at 10:00 a.m. (Prevailing Eastern Time)
Steven J. Reisman, Esq.                                         Peter A. Siddiqui, Esq. (admitted pro hac vice)
Cindi M. Giglio, Esq.                                           KATTEN MUCHIN ROSENMAN LLP
Jerry L. Hall, Esq. (admitted pro hac vice)                     525 W. Monroe Street
KATTEN MUCHIN ROSENMAN LLP                                      Chicago, IL 60661
575 Madison Avenue                                              Telephone:        (312) 902-5455
New York, NY 10022                                              Facsimile:        (312) 902-1061
Telephone:        (212) 940-8800                                peter.siddiqui@kattenlaw.com
Facsimile:        (212) 940-8876
sreisman@kattenlaw.com
cindi.giglio@kattenlaw.com
jerry.hall@kattenlaw.com

Counsel to Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                  )
    In re:                                                        )        Chapter 11
                                                                  )
    SIZMEK INC., et al.,1                                         )        Case No. 19-10971(SMB)
                                                                  )
                                        Debtors.                  )        (Jointly Administered)
                                                                  )

    NOTICE OF HEARING DEBTORS’ MOTION FOR AN ORDER AUTHORIZING AND
       APPROVING A PRIVATE SALE OF DEBTOR SELLER’s PORTION OF THE
         ADSERVER BUSINESS FREE AND CLEAR OF ALL LIENS, CLAIMS,
    ENCUMBRANCES, AND OTHER INTERESTS, AND GRANTING RELATED RELIEF
             PLEASE TAKE NOTICE that on June 3, 2019, the above-captioned debtors and debtors

in possession (collectively, the “Debtors”) filed Debtors’ Motion for an Order Authorizing and

Approving a Private Sale of Debtor Seller’s Portion of the Adserver Business Free and Clear of

All Liens, Claims, Encumbrances, and Other Interests, and Granting Related Relief (the

“Motion”). A hearing (the “Hearing”) on the Motion will be held before the Honorable Stuart M.

Bernstein, United States Bankruptcy Judge, United States Bankruptcy Court for the Southern



1
      Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
      include: Sizmek Inc. (4624); Sizmek DSP, Inc. (2319); Point Roll, Inc. (3173); Sizmek Technologies, Inc. (6402);
      Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106); and X Plus Two
      Solutions, LLC (4914). The location of Debtors’ service address for purposes of these chapter 11 cases is: 401
      Park Avenue South, Fifth Floor, New York, NY 10016.



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District of New York, at the United States Bankruptcy Court for the Southern District of New

York, One Bowling Green, New York, NY 10004-1408 on June 18, 2019 at 10:00 a.m.

(prevailing Eastern Time).

         PLEASE TAKE FURTHER NOTICE that any responses or objections (each,

an “Objection”) to the Motion and the relief requested therein shall be in writing, shall conform to

the Federal Rules of Bankruptcy Procedure, the Local Bankruptcy Rules for the Southern District

of New York, and the Order Establishing Certain Notice, Case Management, and Administrative

Procedures (the “Case Management Order”) [Docket No. 103], shall set forth the basis for the

Objection and the specific grounds therefore, and shall be filed with the Court electronically in

accordance with General Order M-399 by registered users of the Court’s case filing system (the

User’s     Manual        for   the   Electronic   Case   Filing   System    can    be   found     at

http://www.nysb.uscourts.gov, the official website for the Court), with a hard copy delivered

directly to chambers pursuant to Local Bankruptcy Rule 9070-1 and served so as to be actually

received no later than June 15, 2019, at 10:00 a.m. (prevailing Eastern Time) (the “Objection

Deadline”), upon the parties on the Master Service List (as defined in the Case Management

Order), including the following:

         a. Counsel to Debtors, Katten Muchin Rosenman LLP, 575 Madison Avenue, New York,

             NY 10022-2585, Attn.: Steven J. Reisman, Esq., Cindi M. Giglio, Esq., and Jerry L.

             Hall, Esq., and Katten Muchin Rosenman LLP, 525 West Monroe St., Chicago, IL

             60661-3693, Attn.: Peter A. Siddiqui, Esq.;

         b. The Office of The United States Trustee, U.S. Federal Office Building, 201 Varick

             Street, Suite 1006, New York, New York 10014, Attn.: Richard Morrissey, Esq.;




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         a. Proposed counsel to the official committee of unsecured creditors appointed in these

             chapter 11 cases (the “Committee”), Cooley LLP, 55 Hudson Yards, New York, NY

             10001, Attn: Seth Van Aalten, Esq.; Michael Klein, Esq.; Robert Winning, Esq.; and

             Lauren Reichardt, Esq.;

         b. counsel to the agents under Debtors’ prepetition financing agreements;

         c. counsel to Debtors’ equity sponsor;

         d. holders of the 50 largest unsecured claims against Debtors (on a consolidated basis);

         e. the United States Attorney’s Office for the Southern District of New York;

         f. the Internal Revenue Service;

         g. the office of the Attorney General for the State of New York;

         h. the Securities and Exchange Commission; and

         i. any party that has requested notice pursuant to Bankruptcy Rule 2002.

         PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and served

with respect to the Motion, Debtors shall, on or after the Objection Deadline, submit to the Court

an order substantially in the form annexed as Exhibit A to the Motion, which order the Court may

enter with no further notice or opportunity to be heard.

         PLEASE TAKE FURTHER NOTICE that the Hearing may be continued or adjourned

thereafter from time to time without further notice other than an announcement of the adjourned

date or dates at the Hearing. Debtors will file an agenda before the Hearing, which may modify

or supplement the Motion to be heard at the Hearing.

         PLEASE TAKE FURTHER NOTICE that a copy of the Motion may be obtained free

of charge by visiting the website of Stretto at https://cases.stretto.com/sizmek. You may also




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obtain copies of any pleadings by visiting the Court’s website at http://www.nysb.uscourts.gov in

accordance with the procedures and fees set forth therein.



Dated: June 3, 2019                  /s/ Steven J. Reisman
New York, NY                         KATTEN MUCHIN ROSENMAN LLP
                                     Steven J. Reisman, Esq.
                                     Cindi M. Giglio, Esq.
                                     Jerry L. Hall, Esq. (admitted pro hac vice)
                                     575 Madison Avenue
                                     New York, NY 10022-2585
                                     Telephone: (212) 940-8800
                                     Facsimile: (212) 940-8876
                                     Email:       sreisman@kattenlaw.com
                                                   cindi.giglio@kattenlaw.com
                                                  jerry.hall@kattenlaw.com

                                     -and-

                                     Peter A. Siddiqui, Esq. (admitted pro hac vice)
                                     KATTEN MUCHIN ROSENMAN LLP
                                     525 W. Monroe Street
                                     Chicago, IL 60661-3693
                                     Telephone: (312) 902-5455
                                     Email:      peter.siddiqui@kattenlaw.com

                                     Counsel to Debtors and Debtors-in-Possession




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                            Hearing Date: June 18, 2019 at 10:00 a.m. (Prevailing Eastern Time)
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Jerry L. Hall, Esq. (admitted pro hac vice)                       KATTEN MUCHIN ROSENMAN LLP
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575 Madison Avenue                                                Telephone:      (312) 902-5455
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Telephone:       (212) 940-8800                                   peter.siddiqui@kattenlaw.com
Facsimile:       (212) 940-8876
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Counsel to Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                  )
    In re:                                                        )        Chapter 11
                                                                  )
    SIZMEK INC., et al.,1                                         )        Case No. 19-10971 (SMB)
                                                                  )
                                        Debtors.                  )        (Jointly Administered)
                                                                  )

       DEBTORS’ MOTION FOR AN ORDER AUTHORIZING AND APPROVING A
    PRIVATE SALE OF DEBTOR SELLER’S PORTION OF THE ADSERVER BUSINESS
      FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER
                 INTERESTS, AND GRANTING RELATED RELIEF

             Sizmek Inc. and certain of its affiliates, the debtors and debtors in possession in the above-

captioned cases (collectively, “Debtors”) hereby move (the “Sale Motion”)2 this Court pursuant to



1
      Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
      include: Sizmek Inc. (4624); Sizmek DSP, Inc. (2319); Point Roll, Inc. (3173); Sizmek Technologies, Inc. (6402);
      Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106); and X Plus Two
      Solutions, LLC (4914). The location of Debtors’ service address for purposes of these chapter 11 cases is: 401
      Park Avenue South, Fifth Floor, New York, NY 10016.

2
      A detailed description of Debtors and their businesses, and the facts and circumstances supporting Debtors’
      chapter 11 cases, are set forth in in the Declaration of Sascha Wittler, Chief Financial Officer of Sizmek Inc., (I)
      in Support of Chapter 11 Petitions and First Day Pleadings, and (II) Pursuant to Local Rule 1007-2 [Dkt. 13],
      filed on April 2, 2019, and the Supplemental Declaration of Sascha Wittler, Chief Financial Officer of Sizmek
      Inc., (I) in Support of Chapter 11 Petitions and First Day Pleadings, and (II) Pursuant to Local Rule 1007-2 [Dkt.
      58], filed on April 9, 2019 (together, the “First Day Declaration”).



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Sections 105, 363, and 365 of Title 11 of the United States Code (the “Bankruptcy Code”), Rules

2002, 6004, 6006, 9007, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Rules 6004-1 and 6006-1 of the Local Rules (the “Local Bankruptcy Rules”) for the

United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”)

for entry of an order (the “Sale Order”), substantially in the form attached as Exhibit A, authorizing

and approving, (i) Debtor Seller’s (as defined below) entry into the Asset Purchase Agreement,3

attached to the Sale Order as Exhibit 1; (ii) authorizing Debtor Seller’s potential payment of a

break-up fee to the Buyer, under certain conditions set forth in the APA; and (iii) the sale of Debtor

Seller’s portion of the Purchased Assets (defined in the Asset Purchase Agreement) (Debtor

Seller’s portion of the Purchased Assets the, “Debtor Seller’s Purchased Assets”) free and clear of

all claims, including claims of successor liability charge, lien (statutory or otherwise), mortgage,

lease, hypothecation, encumbrance, pledge, security interest, option, rights of use, right of first

offer, right of first refusal, easement, servitude, restrictive covenant, encroachment, license and

other restriction and interest (collectively, the “Encumbrances”). Such Encumbrances will attach

to the proceeds received by Debtors from such sale with the same validity, extent, and priority as

had attached to Debtor Seller’s Purchased Assets immediately prior to the sale.

         Notably, as set forth in detail below Debtor Seller and Non-Debtor Sellers (as defined

below) are selling their assets in the Sale Transaction (defined below). Debtors are not seeking

approvals or authority for the sale of the Non-Debtor Sellers’ assets pursuant to the APA.

         In support of the Sale Motion, Debtors rely upon and incorporate by reference the First

Day Declaration, as well as the Declaration of Glenn Tobias in Support of the Sale Motion (the


3
    That certain asset purchase agreement, between the Sellers and Amazon.com, Inc., a Delaware corporation (the
    “Buyer”), dated as of May 31, 2019 (the “Asset Purchase Agreement” or the “APA”), attached to the Sale Order
    as Exhibit 1.


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“FTI Declaration”), filed herewith. In further support of the Sale Motion, Debtors, by their

undersigned counsel, respectfully represent:

                                   JURISDICTION AND VENUE

         1.       This Court has jurisdiction to consider this Sale Motion under 28 U.S.C. §§ 157

and 1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue of these cases and this Sale

Motion in this district is proper under 28 U.S.C. §§ 1408 and 1409.

         2.       The relief requested herein is proper under Bankruptcy Code Sections 105, 363,

and 365, Bankruptcy Rules 2002, 6004, 6006, 9007, and 9014, Local Bankruptcy Rules 6004-1

and 6006-1, and the Guidelines for the Conduct of Assets Sales promulgated by General Order

M-383 of the Bankruptcy Court (the “Sale Guidelines”).

                                          BACKGROUND

         3.       Sizmek Inc., together with its Debtor and non-Debtor affiliates (“Sizmek”), is a

leading online advertising campaign management and distribution platform for advertisers, media

agencies, and publishers. As of the Petition Date (defined below), Debtors and their non-Debtor

affiliates, had approximately 1,114 employees worldwide. Debtors and their non-Debtor affiliates

assist their clients with engaging a broad consumer audience in 19 countries across multiple online

media channels by facilitating the implementation of targeted, data-driven advertising strategies

that encompass all of the technology and intelligence necessary to execute effective global

advertisement campaigns. Debtors are headquartered in New York, New York, with operations

and assets in the United States and abroad. As of the Petition Date, Debtors had approximately

$172 million of funded indebtedness.

    A. The Chapter 11 Cases

         4.       On March 29, 2019, (the “Petition Date”) each of Debtors filed a voluntary petition

for relief (the “Chapter 11 Cases”) under chapter 11 of the Bankruptcy Code. Debtors continue to

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operate their businesses and manage their properties as debtors in possession pursuant to Sections

1107(a) and 1108.4 On April 17, 2019, the Office of the United States Trustee for the Southern

District of New York (the “U.S. Trustee”) appointed an official committee of unsecured creditors

(“Committee”) in these Chapter 11 Cases. Additional information regarding Debtors’ business,

their capital structure, and the circumstances leading to these chapter 11 filings is contained in the

First Day Declaration.

      B. The AdServer Business

           5.       Debtors’ creative business consists of an internet advertising delivery service

(“AdServer”) that helps website publishers generate advertising income and provides consumers

free access to content. Through the AdServer, Debtors and their affiliates globally serve and track

approximately 3 billion digital advertisements per day for approximately 1,500 advertisers in 30

countries, including many well-known Fortune 500 companies (and their international

equivalents).

           6.       The AdServer business is made up of two principal types of assets: intellectual

property and customer contracts. The vast majority of the intellectual property assets are owned

by Sizmek Technologies, Ltd., the Debtors’ non-debtor subsidiary organized under the laws of

Israel. The customer contracts are owned both by Debtors, and Debtors’ non-debtor affiliates.

The AdServer intellectual property represents the “know-how” and related technology of

importing advertisements onto webpages. The customer contracts are the agreements by which

the AdServer business provides services to its clients. The employees dedicated to the AdServer

business include Debtor employees and non-debtor employees alike. The majority of the assets

related to the AdServer are owned by Sizmek Technologies, Ltd. and its direct and indirect


4
    Unless otherwise provided, “Section” references are to the Bankruptcy Code.


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subsidiaries. Sizmek Technologies, Ltd. is a non-debtor subsidiary of Sizmek Technologies, Inc.,

organized under the laws of Israel. For the avoidance of doubt, Debtors are not seeking Bankruptcy

Court approvals or authority for the sale of Non-Debtor Sellers’ assets.

         7.       Appreciating their challenging financial condition and the tight timeline for the sale

of AdServer, Debtors, after consultation with their advisors, have determined that a private sale of

the AdServer to the Buyer is reasonable, necessary and in the best interests of Debtors and their

estates, given the circumstances of these Chapter 11 Cases.

    C. The Sellers

         8.       The proposed sale of the Purchased Assets contemplated by the APA (the “Sale

Transaction”) contemplates the sale of certain assets of Sizmek Technologies, Inc. (“Debtor

Seller”). The other Sellers consist of Sizmek Technologies, Ltd. (“Sizmek Israel”), a company

organized under the laws of Israel, and Sizmek Technologies, Ltd (“Sizmek UK”), a company

organized under the laws of England and Wales, neither of which is a Debtor (“Non-Debtor

Sellers” and, together with Debtor Seller, the “Sellers”). See APA, Preamble.

    D. Debtors’ Marketing and Sales Efforts

         9.       The best path forward is a sale of Debtors’ businesses. Prior to the Petition Date,

on March 21, 2019, Debtors engaged FTI Capital Advisors, LLC (“FTICA”), and FTICA agreed

to serve as Debtors investment banker, and FTI Consulting, Inc. (“FTI Consulting,” and, together

with FTICA, “FTI”), as financial advisor.

         10.      Since being engaged, FTI’s professionals have worked closely with Debtors’

management, employees and other advisors to assist Debtors with, among other things, contacting

prospective buyers, presentations to prospective buyers, and participating in negotiations among

Debtors and prospective buyers to help facilitate a going concern sale of Debtors’ assets.



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         11.      Debtors’ efforts were successful with respect to Debtors’ Demand Side Platform

(“DSP”) and Data Management Platform (“DMP”) businesses, which were sold through a private

sale approved by this Court on April 29, 2019 pursuant to the Order Authorizing and Approving

Private Sale of the Demand-Side Platform and the Data Management Platform Free and Clear of

All Liens, Claims, Encumbrances, and Other Interests, and Granting Related Relief [Dkt. 143].

         12.      FTI, with the support of Debtors’ management and other advisors, is leading the

sale process for substantially all of Debtors’ remaining assets, which comprise Debtors’ AdServer

and Peer39 businesses (the “Sale Process”). Due to the concern regarding the diminishing value

of the DSP, FTI accelerated its efforts to sell the DSP/DMP as a standalone business as quickly as

possible, but continued its efforts to market and sell the AdServer and Peer39 businesses, running

a concurrent marketing and sale process.

         13.      Immediately after being engaged on March 21, 2019, FTI began work on a sale

process, creating a data room, contacting potentially interested parties and fielding dozens of

inbound inquiries. FTI also sent sale process letters to more than seventy (70) interested parties,

in which indicated that Debtors would accept bids for any of the individual business segments or

all of them.

         14.      FTI has spoken to dozens of interested parties, which resulted in over forty-one (41)

of those parties executing NDAs with Debtors, as of April 18, 2019, to conduct further diligence

(the “Interested Parties”). The data room was available to the Interested Parties beginning on

March 31, 2019 and over fifty-five (55) parties have been granted access to the data room. At least

a dozen of these parties indicated they were primarily interested in the AdServer business.

         15.      Debtors received six (6) initial offers for AdServer by the initial April 12, 2019 bid

deadline FTI set in the process letter. Since receiving these initial purchase offers, FTI and



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Debtors’ management have participated in extensive diligence sessions and negotiations with the

parties who submitted letters of interest. Indeed, until very recently, when Debtors decided to

focus on completing a transaction with the Buyer, Debtors and their advisors had been working

with three parties, each of which was actively engaged in bidding for the Purchased Assets. These

parties engaged in many rounds of robust bidding over the course of several weeks. After Debtors

were satisfied that they had negotiated the best deal possible, Debtors determined that it was in the

best interest of their estates and their constituents to proceed forward with Buyer and work towards

executing a mutually-agreeable transaction.

         16.      As a result of these efforts, on May 31, 2019, Debtors entered into the Asset

Purchase Agreement with Amazon.com, Inc. The Asset Purchase Agreement embodies the highest

and best offer Debtors have received for the Purchased Assets, after numerous rounds of

negotiations with potential bidders.

         17.      A successful going concern sale of the Purchased Assets will preserve the jobs of

hundreds of employees that depend on the continued operation of AdServer and will maximize the

value of the Purchased Assets for the benefits of Debtors’ stakeholders.

         18.      Time is of the essence. While there was substantial interest from parties with

respect to purchasing the Purchased Assets, Debtors face serious challenges, including the

potential loss of access to cash collateral, if the AdServer must be sold through a lengthier sale

process. Moreover, given the robust sales and marketing process that has occurred to date, and

the fact that the majority of the Purchased Assets are outside the jurisdiction of the Bankruptcy

Court, a lengthier court-supervised process is not necessary or advisable under the circumstances.

         19.      Additionally, prompt consummation of the Sale Transaction will preserve as many

jobs as possible – this is central to value maximization in these cases. The longer the assets



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languish in the chapter 11 process, the more value erodes as the likelihood of valuable employees

resigning grows.

         20.      Thus, the Sale Transaction meets Debtors’ twin goals of a prompt sale that ensures

maximum value.

                                       RELIEF REQUESTED

         21.      By this Sale Motion, Debtors seek entry of the Sale Order approving the sale of

Debtor Seller’s Purchased Assets, the assumption and assignment of certain of Debtor Seller’s

executory contracts and unexpired leases, and granting related relief.

         22.      For the reasons below, the relief requested herein is in the best interest of Debtor

Seller’s, its estates, creditors, stakeholders, and other parties in interest, and therefore, should be

granted.

                                        BASIS FOR RELIEF

A.       Sound Business Purpose

         23.      Debtors have a sound business justification for consummating the Sale Transaction.

Debtors seek to maximize the value of their estates for the benefit of their creditors and other

stakeholders. To that end, Debtors have secured an offer from the Buyer for the Purchased Assets.

         24.      Specifically, the total sale price contemplated by the APA is approximately $30

million, which will be allocated between Debtor Seller and Non-Debtor Sellers as follows: (1)

$12,266,000 to Debtor Seller; (2) $3,447,000 to Sizmek UK; and (3) $14,288,000 to Sizmek Israel.

     B. Summary of Certain Terms of the APA

         25.      After arm’s-length negotiations, the Sellers and the Buyer executed the APA. The

APA was negotiated, proposed, and entered into by the Sellers and the Buyer without collusion,

in good faith, and from arm’s-length bargaining positions. The Sellers, the Buyer, and all other

relevant parties were represented by practical and experienced advisors and attorneys.

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         26.      A summary of the principal terms of the APA is as follows:5

                Purchase Price and Sale of Purchased Assets. The Purchase Price totals $30
                 million, to be paid in cash, less the Outstanding Accrued Employee Liabilities.

                Sellers. Sizmek Technologies, Inc., a Delaware corporation; Sizmek Technologies,
                 Ltd., an Israeli company; and Sizmek Technologies, Ltd, a company incorporated
                 in England and Wales.

                Purchased Assets. As more fully described in the APA, the Purchased Assets
                 include: (1) all equipment, machinery or other tangible personal property used or
                 held for use in connection with the Business; (2) the Assumed Contracts; (3) all
                 necessary permits; (4) all intellectual property and intellectual property rights
                 (including all software and documentation) which relate to, or are used or held for
                 use, in connection with, the Business; (5) all prepaid items and expenses related to
                 the Business or the Purchased Assets; (6) all books and records including customer
                 or client lists, files, documentation, records and the related documentation related
                 to the Business, the Purchased Assets or Assumed Liabilities; (7) all claims,
                 indemnities, warranties, guarantees, refunds, causes of action, rights of recovery,
                 rights of set-off and rights of recoupment of every kind and nature (whether or not
                 known or unknown or contingent or non-contingent) related to the Business, the
                 Purchased Assets or the Assumed Liabilities; (8) all deposits and prepayments held
                 by third parties pursuant to any Assumed Contract; and (9) all other assets,
                 properties, and rights used in the Business that are not Excluded Assets. The
                 Purchased Assets do not include the Sellers Accounts Receivable. See APA, § 2.1.

    C. Extraordinary Provisions Under the Sale Guidelines

         27.      The proposed Sale Order and the APA contain the following items that may be

considered Extraordinary Provisions under the Sale Guidelines:6

                        Private Sale/No Competitive Bidding: The sale of the Purchased Assets
                         pursuant to the APA does not contemplate an auction or other further
                         competitive bidding process. As described below and in the FTI Declaration,
                         an expedited sale of the Purchased Assets to the Buyer provides the best

5
    This summary is qualified in its entirety by reference to the provisions of the APA. In the event of inconsistencies
    between the provisions of the APA and this summary, the terms of the APA shall govern. Capitalized terms used
    in this Section B of the Sale Motion and not otherwise defined shall have the meanings given them in the APA.

6
    The following list of possible Extraordinary Provisions, as defined in the Sale Guidelines, is not an admission
    that any of these items are unusual relief in a sale of significant assets of a large chapter 11 debtor pursuant to
    Section 363. Inapplicable Extraordinary Provisions have not been included in the following list. This summary
    of Extraordinary Provisions is qualified in its entirety by reference to the provisions of the APA. In the event of
    inconsistencies between the provisions of the APA and this summary, the terms of the APA shall govern.
    Capitalized terms used in this Section C of the Sale Motion and not otherwise defined shall have the meanings
    given them in the APA.


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                         opportunity to maximize value, particularly given the marketing process. The
                         delay resulting from an auction or further bidding process would result in
                         significant value degradation and the failure to achieve a higher or better offer
                         for the Purchased Assets from any other potential purchaser, and the likely loss
                         of Buyer’s offer.

                        Purchase Price Adjustments: The Purchase Price shall be reduced by the
                         aggregate amount of the Outstanding Accrued Employee Liabilities. See APA,
                         § 3.1(b).

                        Deadlines that Effectively Limit Notice: The Sale Transaction may be
                         terminated if the Bankruptcy Court has not entered an order approving the Sale
                         Motion on or before June 20, 2019, or if the Closing shall not have occurred on
                         or before July 1, 2019. See APA, § 11.2(e).

                        Interim Arrangements with Proposed Buyer: The Buyer and the Sellers
                         agree to use their commercially reasonable efforts to enter into a transition
                         services agreement to facilitate the smooth transition of the Purchased Assets
                         to the Buyer. Sellers shall provide to Buyer, and Buyer shall provide to Seller,
                         certain transition services as mutually agreed upon by Sellers and Buyer on or
                         prior to Closing for a period of up to sixteen (16) weeks (which period may be
                         extended by Buyer with respect to a particular service or services with the
                         Sellers’ consent (not to be unreasonably withheld); provided that, with respect
                         to services in Serbia, a period longer than 16 weeks shall be agreed). The
                         services provided under the transition services agreement shall include services
                         relating to human resources (including continuing to employ and facilitating the
                         transfer of any Transferred Employees who cannot be transferred immediately
                         at the Closing), payroll, finance (including maintaining the existence of the
                         Business Entities and their respective bank accounts as of the date hereof), tax
                         and treasury, technology infrastructure and applications (including with respect
                         to Peer 39 add-ons to ad server capabilities), facilities, and customer and vendor
                         contracts, and other services required to manage and operate the Business as
                         presently conducted (including subcontracting and other arrangements
                         contemplated by Section 2.4(b)), as well as related support services (taking into
                         account the limited nature of the Sellers’ operations and the limited employees
                         they expect to have after the Closing and after the sale of the Peer 39 Business)
                         (provided that, with respect to the Serbia office of Sellers, such services shall
                         include office operations, retention of office space and employment of
                         employees, until such operations and employees can be transferred to Purchaser
                         or a third party at Purchaser’s direction), with such services being provided at
                         a level at least equivalent to those currently provided by, or with respect to, the
                         Business immediately prior to entry into the APA Agreement (taking into
                         account the limited nature of the Sellers’ operations and the limited employees
                         they expect to have after the Closing and after the sale of the Peer 39 Business),
                         and such services shall be provided for a fee equal to one hundred and ten
                         percent (110%) of cost to Sellers. See APA, § 8.17.


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                        Use of Proceeds: The Sale Order provides that, in connection with the closing
                         of the Sale Transaction, the Debtors are authorized and directed to pay directly
                         to Cerberus Business Finance, LLC (“Cerberus”), as administrative agent and
                         collateral agent for certain revolver and term loan lenders (the “Senior Lenders”
                         and, together with Cerberus, the “Secured Parties”) under that certain Financing
                         Agreement, dated as of September 6, 2017 (as subsequently amended from time
                         to time, the “Financing Agreement”), a portion of the amount payable to the
                         Debtor Seller by the Buyer at closing (whether in the form of cash or otherwise)
                         (the “Direct Cerberus Payments”) to be agreed by Debtors and Cerberus. The
                         Direct Cerberus Payments include, without limitation, proceeds of the Sale
                         Transaction attributable to the Debtor Seller’s Purchased Assets and certain
                         proceeds that, pursuant to the APA, will be paid to the Debtor Sellers on account
                         of Sizmek Israel’s obligations under that certain Amended and Restated
                         Promissory Note dated October 27, 2016 (the “Intercompany Note”). The Sale
                         Order further provides that Cerberus is authorized to apply the Direct Cerberus
                         Payments to satisfy amounts owed to the Secured Parties under the Financing
                         Agreement in accordance with the terms and conditions thereof. In furtherance
                         of the foregoing, the Sale Order also provides for the assignment of the Debtors’
                         rights under the Intercompany Note to Cerberus. The Sale Order makes clear,
                         however, that the authority for Cerberus to receive and apply the Direct
                         Cerberus Payments and the assignment of the Intercompany Note under the Sale
                         Order will not restrict the relief that might be sought by any party in interest
                         against the Secured Parties pursuant to the terms and conditions of the Interim
                         Order (I) Authorizing the Debtors to Use Cash Collateral Pursuant to 11 U.S.C.
                         § 363, and (II) Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361,
                         362, 363, and 507, and Scheduling a Final Hearing Pursuant to Bankruptcy
                         Rule 4001(b) [Docket No. 37] or any successor order thereto (such order as may
                         be in effect at a given time, the “Cash Collateral Order”), as to which possible
                         relief the rights of all parties (including the Secured Parties) are fully reserved.
                         See Sale Order ¶ 36.

                        Bid Protections: In the event that the Bankruptcy Court enters an order
                         approving an sale of the Purchased Assets to a party other than Buyer either (i)
                         prior to the termination of the APA, (ii) within thirty (30) days after the
                         termination of the APA by Buyer pursuant to APA Section 11.2(b) or (iii)
                         within ninety (90) days after the termination of the APA by Sellers or Buyer
                         pursuant to APA Section 11.2(d) then no later than the closing of the sale of
                         any Purchased Assets to a third party, Sellers, jointly and severally, shall be
                         obligated to pay to Buyer from the proceeds of such sale a breakup fee of
                         $900,000. See APA, § 8.15(a)(ii).

                        Deposit: If the Closing does not occur, then the Deposit shall be disbursed as
                         follows: (i) in the event of a termination of this Agreement by Sellers pursuant
                         to Section 11.2(c), the Deposit shall be released to Sellers (or their designee(s))
                         as liquidated damages; and (ii) in the event of a termination of this Agreement
                         for any other reason, the Deposit shall be returned to Buyer. See APA, § 3.2.


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                        Record Retention: Neither Buyer nor Sellers shall dispose of any business
                         records and files relating to any Purchased Asset for a period of six years (and,
                         in the case of Sizmek Israeli, seven years) following the Closing Date. Each
                         Party shall also allow the other Parties reasonable access to such files and
                         records for reasonable business purposes, including purposes related to the
                         Chapter 11 Cases. See APA, § 8.5.

                        Requested Findings as to Successor Liability: Debtors seek findings that the
                         Buyer is not a successor to Sellers or their estates and the Sale does not amount
                         to a consolidation, merger or de facto merger of the Buyer and Sellers. See Sale
                         Order ¶ M.

                        Requested Findings as to Fraudulent Conveyance: The proposed Sale Order
                         requests findings that none of Sellers or the Buyer has entered into the APA or
                         proposes to consummate the Sale, for the purpose of hindering, delaying, or
                         defrauding the Sellers’ present or future creditors or otherwise in violation of
                         applicable fraudulent conveyance and fraudulent transfer laws. See Sale Order
                         ¶ K, L.

                        Relief from Bankruptcy Rule 6004(h), 6006(d), and 6006(f) and relief
                         under 6006(e): Debtors seek relief from the fourteen-day stay imposed by
                         Bankruptcy Rule 6004(h) and 6006(d) and relief from the requirement of
                         6006(f) that a motion to assume multiple executory contracts or unexpired
                         leases that are not between the same parties be limited to no more than 100
                         executory contracts or unexpired leases (to the extent this provision is
                         implicated). Moreover, Debtors seek authority to proceed under 6006(e)(3),
                         such that this Court authorizes the Sale Motion to apply to multiple contracts.

                        Agreements with Management: Certain of the Sellers’ key employees and
                         management have discussed employment opportunities with the Buyer, and, in
                         some cases, have received offers of employment from the Buyer, subject to
                         Closing. While several of the employees discussed below were not involved in
                         Debtors’ decision to sell the Purchased Assets, Debtors disclose their current
                         interests in the Sale Transaction out of an abundance of caution, as follows:

                            a.      Mark Grether: Mark Grether is currently employed by Debtors as
                                    Chief Executive Officer. He also sits on the Board of Directors of
                                    each Debtor and approved the transaction contemplated by the Sale
                                    Motion and the APA. Mr. Grether has received an employment
                                    offer from Buyer. Mr. Grether has accepted the employment offer
                                    at this time.

                            b.      Markus Plattner: Markus Plattner is currently the Chief Technology
                                    Officer of Sizmek. Though he is not employed by Debtors, he is a
                                    key officer of the enterprise. Mr. Plattner has received an
                                    employment offer from Buyer. Mr. Plattner has accepted the
                                    employment offer at this time.

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                         c.     Sascha Wittler: Sascha Wittler is currently employed by the Debtors
                                as Chief Financial Officer. Mr. Wittler has received an employment
                                offer from Buyer. Mr. Wittler has accepted the employment offer
                                at this time.

                         d.     Dr. Volker Hatz: Dr. Volker Hatz is currently the Chief Data Officer
                                of Sizmek. Though he is not employed by Debtors, he is a key
                                officer of the enterprise. Dr. Hatz has received an employment offer
                                from Buyer. Dr. Hatz has accepted the employment offer at this
                                time.

                         The Sale Transaction contemplated by this Sale Motion and the APA was
                         also approved by a director of the Debtors, Tom Smith, who, though a
                         representative of Sizmek’s largest equity interest holder, is not interested in
                         the proposed Sale Transaction. The Buyer has not discussed, and will not
                         be extending, an employment offer to Mr. Smith, and the Sale Transaction
                         will not result in the transfer of proceeds to the Debtors’ equity
                         interestholders.

                                   APPLICABLE AUTHORITY

         28.      The Section 363(b) standard for sales outside of the ordinary course of a debtor’s

business is met here. Section 363(b) provides, in relevant part: “The trustee, after notice and a

hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b)(1). This Court’s power under Section 363 is supplemented by Section

105(a), which provides in relevant part: “The Court may issue any order, process, or judgment

that is necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a). As

set forth below, Debtors have satisfied the requirements of Sections 105, 363, and 365 as those

Sections have been construed by courts in the Second Circuit.

A.       Approval of the Sale Transaction Is Warranted under Section 363(b) Because a
         Sound Business Reason Exists for the Sale Transaction.

         29.      Bankruptcy Rule 6004(f)(1) explicitly permits a debtor to enter into transactions

outside of the ordinary course of business through private sales. As discussed above, the sale to

the Buyer provides Debtors with the best opportunity to maximize the sale price of the Purchased

Assets and prevent a significant risk to going concern value associated with delay. Courts in this

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District have approved private sales in accordance with General Order M-383 where the benefit of

the private sale outweighs the delay and expense of conducting a public auction that would not

result in additional value to the estate. See In re SunEdison, Inc., Case No. 16-10992 (SMB)

(Bankr. S.D.N.Y. Aug. 16, 2016) [Dkt. 1002]; In re Hawker Beechcraft, Inc., Case No. 12-11873

(SMB) (Bankr. S.D.N.Y. Nov. 29, 2012) [Dkt. 857] (authorizing private sale under Rule 6004(f)(1)

where public auction’s substantial additional costs would result in no additional value to the

estate); In re Dewey & Leboeuf LLP, Case No. 12-12321 (MG) (Bankr. S.D.N.Y. Nov. 1, 2012)

[Dkt. 608] (finding good business reason to sell assets pursuant to private sale where public sale

would be more costly); In re Chemtura Corp., Case No. 09-11233 (REG) (Bankr. S.D.N.Y. July

23, 2010) [Dkt. 3366] (approving private sale of debtor’s business); In re Sonix Med. Res. Inc.,

Case No. 09-77781 (DTE) (Bankr. E.D.N.Y. March 19, 2010) [Dkt. 287] (authorizing private sale

of debtors’ assets and approving asset purchase agreement as best opportunity to avoid substantial

risk that asset values would deteriorate if sale was not consummated); see also Palermo v. Pritam

Realty, Inc. (In re Pritam Reality, Inc.), 233 B.R. 619 (D.P.R. 1999) (upholding bankruptcy court

order approving private sale by debtor).7 Completing the sale of the Purchased Assets to the Buyer

pursuant to the APA is: (i) an exercise of Debtors’ sound business judgment; (ii) permitted by the

Bankruptcy Code and Bankruptcy Rules; and (iii) in the best interests of Debtors’ estates and

creditors.

         30.      The use, sale, or lease of property of the estate, other than in the ordinary course of

business, is authorized when there is an “articulated business justification” for the action to be

taken. See Fulton State Bank v. Schipper (In re Schipper), 933 F.2d 513, 515 (7th Cir. 1991)



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    Due to the voluminous nature of the orders cited herein, they are not attached to this Sale Motion. Copies of these
    orders, however, are available on request.


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(citation omitted). When a valid business justification exists, the law vests the debtor’s decision

to use property out of the ordinary course of business with a strong presumption that “‘in making

a business decision the directors of a corporation acted on an informed basis, in good faith and in

the honest belief that the action taken was in the best interests of the company.’” See Official

Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In re Integrated Res., Inc.), 147 B.R.

650, 656 (S.D.N.Y. 1992) (citation omitted).

         31.      Furthermore, Section 363(b) applies to private sales consummated in the absence

of competitive bidding. See, e.g., In re Wieboldt Stores, Inc., 92 B.R. 309, 312 (N.D. Ill. 1988)

(“Section 363(b) is not limited to sales involving competitive bidding. Bankruptcy Rule 6004,

which sets forth procedures for Section 363(b) transfers, expressly provides for private sales.”).

In this District, General Order M-383 requires a debtor moving to sell assets in the absence of an

auction (or not otherwise seeking higher or better offers) to explain why such sale is likely to

maximize the sale price. Amended Guidelines for the Conduct of Asset Sales, General Order M-

383, 1.D.3 (“General Order M-383”).

         32.      Debtors’ business justification for entering into the Sale Transaction is clear.

Debtors and their advisors participated in arms-length negotiations with the Buyer in the forming

of the APA and the Sale Transaction. The sale price is fair and reasonable under the circumstances.

Moreover, both Debtors and the Buyer were represented by practical and experienced advisors and

attorneys in negotiating the APA. Accordingly, it is a valid exercise of Debtors’ business judgment

to seek the relief requested by this Sale Motion.

    B. The Bid Protections Should Be Approved.

         33.      Bankruptcy Courts have approved protections similar to the Bid Protections under

the “business judgment rule,” and such arrangements are presumptively valid provided: (i) the

debtors’ decision to agree to a break-up fee is not tainted by bad faith or self-dealing; (ii) the break-

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up fee does not hamper bidding; and (iii) the amount of the break-up fee is reasonable. See Official

Comm. Of Subordinated Bondholders v. Integrated Res., Inc. (In re Integrated Res., Inc.), 147

B.R. 650, 656-57 (S.D.N.Y. 1992), appeal dismissed, 3 F.3d 49 (2d Cir. 1993). Specifically, such

provisions (i) attract or retain a potentially successful bid; (ii) establish a bid standard or minimum

for other bidders to follow; and (iii) attract additional bidders. Id. at 662.

         34.      The Bid Protections are reasonable in relation to the size of the proposed Sale and

under the facts of this transaction. The break-up fee is $900,000 (the “Break-Up Fee”) or 3% of

the Purchase Price. The Break-Up Fee obligation is joint and several among the Sellers, but will

be paid by the Sellers in the same percentages as the allocation of the Purchase Price. Because

approximately 40.8% of the Purchase Price is allocated to the Debtor Seller, the Debtor Seller’s

prorated share is approximately $367,200 of the Break-Up Fee.

         35.      The Bid Protections do not hamper any other party’s ability to offer a higher or

better bid for the Purchased Assets. Given the size of the Bid Protections relative to the total

amount of consideration provided for the Purchased Assets, the Bid Protections are not so large as

to have a “chilling effect” on other prospective bidders’ interest in the Purchased Assets.

         36.      Furthermore, because the timely sale of the Purchased Assets is necessary to

preserve the value, the Bid Protections constitute an actual and necessary cost and expense of

preserving Debtors’ estates. Accordingly, the Bid Protections are appropriate.

    C. The Proposed Sale Transaction Satisfies the Requirements of Section 363(f) for a
       Sale Free and Clear

         37.      Section 363(f) permits a debtor to sell property free and clear of another party’s

interest in the property if: (a) applicable non-bankruptcy law permits such a free and clear sale;

(b) the holder of the interest consents; (c) the interest is a lien and the sale price of the property

exceeds the value of all liens on the property; (d) the interest is in bona fide dispute; or (e) the


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holder of the interest could be compelled in a legal or equitable proceeding to accept a monetary

satisfaction of its interest. See 11 U.S.C. § 363(f). Satisfying any of Section 363(f)’s five

requirements warrants approval of the proposed sale. See Scherer v. Fed. Nat’l Mortg. Ass’n (In

re Terrace Chalet Apartments, Ltd.), 159 B.R. 821, 825 (N.D. Ill. 1993) (sale extinguishes liens

under Section 363(f) as long as one specified exception applies).

         38.      The sale of Debtor Seller’s Purchased Assets to the Buyer pursuant to the APA is

appropriate under Section 363(f). If a lien holder does not object to the proposed Sale Transaction,

that entity should be deemed to have consented to the Sale Transaction, thereby satisfying Section

363(f)(2). Any entity holding Encumbrances on Debtor Seller’s Purchased Assets, including

counsel for Cerberus, will receive notice of this Sale Motion and the Sale Hearing. Accordingly,

all parties in interest may object to the relief requested herein – failure to do so is consent. See

Futuresource LLC v. Reuters Ltd., 312 F.3d 281, 285-86 (7th Cir. 2002) (“It is true that the

Bankruptcy Code limits the conditions under which an interest can be extinguished by a

bankruptcy sale, but one of those conditions is the consent of the interest holder, and lack of

objection (provided of course there is notice) counts as consent. It could not be otherwise;

transaction costs would be prohibitive if everyone who might have an interest in the bankrupt’s

assets had to execute a formal consent before they could be sold.” (internal citations omitted)).

         39.      Further, any party with an interest in Debtor Seller’s Purchased Assets pursuant to

this Sale Motion shall have a corresponding security interest in the proceeds of the Sale

Transaction received by Debtors (subject to Debtors’ claims, defenses and objections with respect

to the amount, validity, or priority of each such interest). See MacArthur Co. v. Johns-Manville

Corp., 837 F.2d 89, 94 (2d Cir. 1988) (“It has long been recognized that when a debtor’s assets

are disposed of free and clear of third-party interests, the third party is adequately protected if his



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interest is assertable against the proceeds of the disposition.”). Therefore, any lien holders are

adequately protected and could be compelled to accept a monetary satisfaction of their interest.

As such, the requirements of Section 363(f) would be satisfied for a sale of Debtor Seller’s

Purchased Assets free and clear of all Encumbrances.

         40.      Similarly, it is appropriate to sell Debtor Seller’s Purchased Assets free and clear

of successor liability relating to Debtor Seller’s businesses and Purchased Assets. Such limitations

on successor liability ensure that the Buyer is protected from any claims or lawsuits against the

Buyer as a successor in interest to one or more of Debtors’ estates, or any subsidiaries of Debtors.

If such relief is not granted, the purpose of an order purporting to authorize the transfer of assets

free and clear of Encumbrances would be frustrated by the potential for claimants to thereafter use

the transfer as a basis to assert claims against a purchaser arising from a seller’s pre-sale conduct.

         41.      A buyer of a debtor’s assets pursuant to a Section 363 sale takes free and clear from

successor liability relating to the debtor’s business. See, e.g., In re Chrysler LLC, 405 B.R. 84,

111 (Bankr. S.D.N.Y. 2009) (“[I]n personam claims, including any potential state successor or

transferee liability claims against New Chrysler, as well as in rem interests, are encompassed by

Section 363(f) and are therefore extinguished by the Sale Transaction.”); Contrarian Funds, LLC

v. Westpoint Stevens, Inc. (In re Westpoint Stevens, Inc.), 333 B.R. 30, 50 (S.D.N.Y. 2005)

(“Where . . . a sale is to be free and clear of existing liens and interests other than those of the

estate, one or more of the criteria specified in Section 363(f) of the statute must also be met.”),

rev’d in part on other grounds, 600 F.3d 231 (2d Cir. 2010).

         42.      Moreover, this Court’s authority under Section 363 is supplemented by Section

105(a), which provides that “[t]he court may issue any order, process, or judgment that is necessary

or appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a); see 2



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Collier on Bankr. ¶ 105.01 (Alan N. Resnick & Henry J. Sommer eds., 16th ed. 2016); see also

Croton River Club, Inc. v. Half Moon Bay Homeowners Ass’n (In re Croton River Club, Inc.), 52

F.3d 41, 45 (2d Cir. 1995) (holding that bankruptcy courts have broad equity power to manage the

affairs of debtors); Momentum Mfg. Corp. v. Employee Creditors Comm. (In re Momentum Mfg.

Corp.), 25 F.3d 1132, 1136 (2d Cir. 1994) (“[B]ankruptcy courts are courts of equity, empowered

to invoke equitable principles to achieve fairness and justice in the reorganization process.”); Volvo

White Truck Corp. v. Chambersburg Beverage, Inc. (In re White Motor Credit Corp.), 75 B.R.

944, 948 (Bankr. N.D. Ohio 1987) (“Authority to conduct such sales [free and clear of claims] is

within the court’s equitable powers when necessary to carry out the provisions of Title 11.”).

         43.      For these reasons, the Court should permit the Sale Transaction free and clear of

Encumbrances and successor liability.

    D. The Buyer Is Entitled to the Protections of Section 363(m).

         44.      Section 363(m) provides in relevant part that the reversal or modification on appeal

of an authorization under Section 363(b) of a sale or lease of property does not affect the validity

of such a sale or lease to a purchaser who bought or leased such property in good faith, whether or

not such entity knew of the pendency of the appeal, unless such authorization and such sale or

lease were stayed pending appeal. See 11 U.S.C. § 363(m). “Although the Bankruptcy Code does

not define the meaning of ‘good-faith purchaser,’ . . . most courts have adopted a traditional

equitable definition: ‘one who purchases the assets for value, in good faith and without notice of

adverse claims.’” Licensing by Paolo, Inc. v. Sinatra (In re Gucci), 126 F.3d 380 (2d Cir. 1997)

(citation omitted). The Third Circuit has held: “‘[t]he requirement that a purchaser act in good

faith . . . speaks to the integrity of [purchaser’s] conduct in the course of the sale proceedings.’”

In re Abbotts Dairies of Pa., Inc., 788 F.2d 143, 147 (3d Cir. 1986) (citation omitted). A

purchaser’s good faith status involves “‘fraud, collusion between the purchaser and other bidders

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or the trustee, or an attempt to take grossly unfair advantage of other bidders.’” Hoese Corp. v.

Vetter Corp. (In re Vetter Corp.), 724 F.2d 52, 56 (7th Cir. 1983) (quoting In re Rock Indus. Mach.

Corp., 572 F.2d 1195, 1198 (7th Cir. 1978) (interpreting Bankruptcy Rule 805, the precursor to

Section 363(m))). In addition, Section 363(m) protection applies in the context of private sales.

See In re Wieboldt Stores, Inc., 92 B.R. at 312. The sale of Debtor Seller’s Purchased Assets is an

arm’s-length transaction entitled to the protections of Section 363(m), negotiated by sophisticated

and unrelated parties with their own legal and other advisors.

    E. Assumption and Assignment of Executory Contracts and Unexpired Leases Should
       Be Authorized

         45.      Section 365(a) provides that a debtor in possession “subject to the court’s approval,

may assume or reject any executory contract or [unexpired] lease of the debtor.” 11 U.S.C. §

365(a). Approval of a debtor’s decision to assume or reject an executory contract or unexpired

lease is appropriate when the debtor’s reasonable business judgment supports assumption or

rejection. See, e.g., Orion Pictures Corp. v. Showtime Networks, Inc. (In re Orion Pictures Corp.),

4 F.3d 1095, 1098 (2d Cir. 1993) (noting that Section 365 “permits the trustee or debtor-in-

possession, subject to the approval of the bankruptcy court, to go through the inventory of

executory contracts of the debtor and decide whether ones it would be beneficial to adhere to and

which ones it would be beneficial to reject”).

         46.      The business judgment test “requires only that the trustee [or debtor in possession]

demonstrate that [assumption] or rejection of the contract will benefit the estate.”

Wheeling-Pittsburgh Steel Corp. v. West Penn Power Co., (In re Wheeling-Pittsburgh Steel Corp.),

72 B.R. 845, 846 (Bankr. W.D. Pa. 1987). More exacting scrutiny would slow the administration

of a debtor’s estate and increase costs, interfere with the Bankruptcy Code’s provision for private

control of administration of the estate, and threaten the court’s ability to control a case impartially.


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See Richmond Leasing Co. v. Capital Bank, 762 F.2d 1303, 1311 (5th Cir. 1985). Moreover, to

assume an executory contract, a debtor must “cure, or provide adequate assurance that the debtor

will promptly cure,” any default. 11 U.S.C. § 365(b)(1).

         47.      A debtor may assign a contract it has assumed. 11 U.S.C. § 365(f)(2) (providing

that the “trustee may assign an executory contract…only if the trustee assumes such contract…and

adequate assurance of future performance is provided.”).           “Adequate assurance of future

performance” is fact and circumstance dependent. Adequate assurance may be provided by

demonstrating the assignee’s financial health and experience in managing the type of enterprise or

property assigned. See, e.g., In re Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr. S.D.N.Y. 1986)

(finding adequate assurance is present when prospective assignee has financial resources and is

willing to devote sufficient funding to business to give it strong likelihood of success).

         48.      Debtors request approval under Section 365 of Debtors’ assumption and

assignment of the Assigned Contracts to which a Debtor is a party to the Buyer or its Buyer

Designee. Debtors further request that the Sale Order provide that Debtor Seller’s Assigned

Contracts will be transferred to, and remain in full force and effect for the benefit of, the Buyer or

its Buyer Designee notwithstanding any provisions prohibiting assignment.

         49.      Debtors will present facts at the Sale Hearing to show the financial wherewithal,

willingness, and ability of the Buyer or the Buyer Designee to perform under the Assigned

Contracts.

         50.      Further, Debtor Seller will give notice to all counterparties to Debtor Seller’s

Assigned Contracts (the “Cure Notice”) substantially in the form attached as Exhibit B. This Cure

Notice will include the amounts Debtors believe are necessary to cure any defaults in accordance

with Section 365(b). Under the APA, the Buyer will pay cure amounts up to a cap of $1 million,



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and the Debtor Sellers will pay any cure amounts in excess of $1 million. Upon the payment of

cure amounts, neither Debtor Seller nor the Buyer shall have any further liabilities to the

counterparties to the Assigned Contracts that accrue and become due and payable on or after the

Closing Date except as provided in the APA. Upon assuming an Assigned Contract and the

payment of any relevant cure amounts, the Buyer shall be deemed substituted for the applicable

Debtor Seller as a party to the applicable Assigned Contracts and the applicable Debtor Seller shall

be relieved, pursuant to Section 365(k) of any further liability under the Assigned Contracts. A

list of Debtor Seller’s executory contracts and unexpired leases subject to potential assumption

and assignment in connection the sale of Debtor Seller’s Purchased Assets and the associated cure

costs is attached to the Cure Notice as Exhibit 1.8

         51.      Debtors will provide the Cure Notice to all counterparties to Debtor Seller’s

Assigned Contracts. The APA provides that the Buyer may remove any contract from the list of

Assumed Contracts at any time on or before one (1) business day prior to the Closing. Provided,

that the prior written consent of Cerberus and the Sellers shall be required in order to remove any

vendor or supplier Contracts from the Schedule of Assumed Contracts if any such Contracts would,

reasonably be expected to cause or result in liability to the Sellers (in the form of cure costs,

rejection damages, additional accounts payable or otherwise) in excess of $25,000 per Contract or

$200,000 for all such Contracts. The APA provides that the Buyer may designate additional

contracts for assumption up to one (1) day prior to the Closing. A final list of the Assumed

Contracts will be filed with the Court prior to the Closing. The Debtors will provide a Cure Notice




8
    By this Sale Motion, Debtors request authorization from the Court to have the Sale Motion apply to multiple
    contracts under Bankruptcy Rule 6006(e) and ask for relief from Bankruptcy Rule 6006(f), to the extent
    applicable.


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to counterparties of such additional Assumed Contracts and the procedures for addressing cure

objections shall apply to such contract counterparties.

    F. The Sale of the Purchased Assets Does Not Require the Appointment of a Consumer
       Privacy Ombudsman.

         52.      In connection with the sale of the Purchased Assets pursuant to the APA, Debtors

shall be required to abide by their privacy policies in place as of the date of the APA, as such

policies may be amended from time to time. Accordingly, no consumer privacy ombudsman need

be appointed in connection with the sale under Section 363(b)(1).

    G. Approval of the Direct Cerberus Payments is Appropriate

         53.      The Sale Order provides that the Buyer or the Debtors, as applicable, will pay the

Direct Cerberus Payments directly to Cerberus and that Cerberus may apply such payments to

satisfy amounts owed to the Secured Parties under the Financing Agreement in accordance with

the terms and conditions thereof. The Sale Order further provides for the assignment of the

Debtors’ rights under the Intercompany Note to Cerberus. This relief is appropriate for several

reasons. First, the sale proceeds allocable to the Debtor Seller or subsequently transferred to any

of the Debtors are proceeds of collateral on which Cerberus has perfected security interests, both

as a result of its prepetition liens and on a postpetition basis pursuant to the Cash Collateral Order.

See Cash Collateral Order ¶¶ 5(a), 6(a) & 7(a). These security interests include, without limitation,

a properly perfected pledge of the Intercompany Note. Second, payment of the Direct Cerberus

Payments to Cerberus is a precondition to Cerberus’ consent to sale of its collateral, without which

consent Cerberus contends that the Debtor Seller’s Purchased Assets could not be sold on a

free-and-clear basis under Bankruptcy Code section 363(f). Third, such payments and application

is not prejudicial to the Debtors’ estates because (i) the Debtors have other operations that are

expected to generate separate cash that will be available for use in accordance with the terms and


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conditions of the Cash Collateral Order and (ii) all parties’ rights are fully reserved with regard to

the remedies that might be sought against the Secured Parties in accordance with the terms and

conditions of the Cash Collateral Order.

    H. The Purchase Price Constitutes Reasonably Equivalent Value for the Purchased
       Assets Transferred.

         54.      A debtor receives reasonably equivalent consideration when “the debtor’s net worth

has been preserved” following a transfer of its assets. Harrison v. N.J. Cmty. Bank (In re Jesup &

Lamont, Inc.), 507 B.R. 452, 472 (Bankr. S.D.N.Y. 2014); see also Mellon Bank, N.A. v. Metro

Commc’ns, Inc., 945 F.2d 635, 646-47 (3d Cir. 1991) (“The touchstone is whether the transaction

conferred realizable commercial value on the debtor reasonably equivalent to the realizable

commercial value of the assets transferred.”). A finding of reasonably equivalent value does not

require exact equivalent exchange of consideration; rather, the benefits a debtor receives from the

transfer must approximate its costs. Harrison, 507 B.R. at 472 (“[I]f [the value received]

approximates the value of what the debtor transferred, there will be reasonably equivalent

value[.]”).    Transactions between a debtor and a third-party on an arm’s length basis are

presumptively for reasonably equivalent value. See Mishkin v. Ensminger (In re Adler, Coleman

Clearing Corp.), 247 B.R. 51, 109 (Bankr. S.D.N.Y. 1999) (“[W]hen there is an arms-length

transaction by parties that have equal knowledge, a court should not substitute its own view of a

fair market price.” (citing Cooper v. Ashley Comm., Inc., (In re Morris Communications NC, Inc.),

914 F.2d 458, 465, 474-75 (4th Cir. 1990))).

         55.      Here, the sale of the Purchased Assets is an arm’s-length transaction between the

Sellers and an unaffiliated third party. As set forth in the FTI Declaration, Debtors believe that

the sale proceeds represent reasonably equivalent value for the Purchased Assets. Debtors have




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kept their primary creditor constituencies, namely Cerberus and the Committee, apprised of the

APA negotiations and analysis regarding the Sale Transaction.

         WAIVER OF STAY UNDER BANKRUPTCY RULE 6004(H) AND 6006(D)

         56.      Debtors also request the Court waive the stay imposed by Bankruptcy Rules

6004(h) and 6006(d). Bankruptcy Rule 6004(h) provides that “[a]n order authorizing the use, sale,

or lease of property other than cash collateral is stayed until the expiration of 14 days after entry

of the order, unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h). Bankruptcy Rule

6006(d) further provides that an “order authorizing the trustee to assign an executory contract or

unexpired lease under § 365(f) is stayed until the expiration of fourteen (14) days after the entry

of the order, unless the court orders otherwise.” Fed. R. Bankr. P. 6006(d). The sale of the

Purchased Assets must be approved and consummated promptly to preserve the value of the

Purchased Assets. Therefore, time is of the essence, and Debtors and the Buyer intend to close the

Sale Transaction as soon as possible following approval by the Court. Accordingly, as the exigent

nature of the requested relief justifies immediate action Debtors respectfully request that the Court

waive the fourteen-day stay imposed by Bankruptcy Rules 6004(h) and 6006(d).

                                   RESERVATION OF RIGHTS

         57.      Nothing contained herein is or should be construed as: (a) admitting to the validity

of any claim against Debtors; (b) waiving Debtors’ rights to dispute any claim on any grounds; (c)

promising to pay any claim; or (d) assuming or rejecting any executory contract or unexpired lease

pursuant to Section 365.

                                               NOTICE

         58.      Debtors will provided notice of this Sale Motion in accordance with the Order

Establishing Certain Notice, Case Management, and Administrative Procedures [Docket No.

103]. In light of the nature of the relief requested, no other or further notice need be given.

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                                       NO PRIOR REQUEST

         59.      No previous request for the relief sought herein has been made to this Court or any

other court.


                  WHEREFORE, Debtors respectfully request that this Court enter an order,

substantially in the form attached, granting the relief requested in the Sale Motion and such other

and further relief as is just and proper.

Dated: June 3, 2019                     /s/ Steven J. Reisman
New York, New York                      KATTEN MUCHIN ROSENMAN LLP
                                        Steven J. Reisman, Esq.
                                        Jerry L. Hall, Esq. (admitted pro hac vice)
                                        Cindi M. Giglio, Esq.
                                        575 Madison Avenue
                                        New York, NY 10022
                                        Telephone: (212) 940-8800
                                        Facsimile: (212) 940-8876
                                        Email:        sreisman@kattenlaw.com
                                                      jerry.hall@kattenlaw.com
                                                     cindi.giglio@kattenlaw.com

                                        -and-

                                        Peter A. Siddiqui, Esq. (admitted pro hac vice)
                                        KATTEN MUCHIN ROSENMAN LLP
                                        525 W. Monroe Street
                                        Chicago, IL 60661
                                        Telephone: (312) 902-5455
                                        Email:      peter.siddiqui@kattenlaw.com

                                        Counsel to Debtors and Debtors-in-Possession




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                                        EXHIBIT A

                                       Proposed Order




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                  )
    In re:                                                        )        Chapter 11
                                                                  )
    SIZMEK INC., et al.,1                                         )        Case No. 19-10971 (SMB)
                                                                  )
                                        Debtors.                  )        (Jointly Administered)
                                                                  )

              ORDER AUTHORIZING AND APPROVING PRIVATE SALE OF DEBTOR
             SELLER’S PORTION OF THE ADSERVER BUSINESS FREE AND CLEAR OF
              ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS, AND
                               GRANTING RELATED RELIEF

                    Upon the motion (the “Sale Motion”)2 of the above-captioned debtors and debtors-

in-possession (collectively, the “Debtors”), including Sizmek Technologies, Inc. (the “Debtor

Seller”) for entry of an order (this “Order”), pursuant to Bankruptcy Code Sections 105, 363, 365

and Bankruptcy Rules 2002, 6004, 6006, and 9014, among other things: (i) authorizing the sale

of the Debtor Seller’s Purchased Assets, free and clear of any claim, including claim of successor

liability, charge, lien (statutory or otherwise), mortgage, lease, hypothecation, encumbrance,

pledge, security interest, option, rights of use, right of first offer, right of first refusal, easement,

servitude, restrictive covenant, encroachment, license and other restriction and interest (the

“Encumbrances”) in any of the Debtor Seller’s Purchased Assets, (ii) authorizing the Debtor

Seller’s potential payment of the break-up fee to the Buyer, under certain conditions set forth in

the APA; (iii) authorizing the assumption and assignment of certain of Debtor Seller’s executory



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      Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
      include: Sizmek Inc. (4624); Sizmek DSP, Inc. (2319); Point Roll, Inc. (3173); Sizmek Technologies, Inc. (6402);
      Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106); and X Plus Two
      Solutions, LLC (4914). The location of Debtors’ service address for purposes of these chapter 11 cases is: 401
      Park Avenue South, Fifth Floor, New York, NY 10016.

2
      Capitalized terms used in this Order but not otherwise defined herein shall have the meanings ascribed to such
      terms in the Sale Motion or APA, as applicable.




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contracts and unexpired leases in connection therewith and (iv) granting other related relief; and

upon the FTI Declaration and the First Day Declaration; and it appearing that the relief requested

is in the best interests of Debtor Seller’s estate, its creditors, its stakeholders and other parties-in-

interest; and the Court having jurisdiction to consider the Sale Motion and the relief requested

therein pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the Sale Motion and the relief

requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the Sale Motion and

opportunity for objections having been provided; and this Court having heard statements of

counsel and the evidence presented in support of the relief requested by Debtor Seller in the Sale

Motion at a hearing before this Court (the “Sale Hearing”); and it appearing that no other notice

need be given; and it further appearing that the legal and factual bases set forth in the Sale Motion

and at the Sale Hearing establish just cause for the relief granted herein; and after due deliberation

and sufficient cause appearing therefor:

IT IS HEREBY FOUND AND DETERMINED THAT:3

                          Jurisdiction, Final Order and Statutory Predicates

         A.       This Court has jurisdiction to hear and determine the Sale Motion pursuant to 28

U.S.C. §§ 157(b)(a) and 1334(a). This is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A),

(N) and (O). Venue is proper in this District and in this Court pursuant to 28 U.S.C. §§1408 and

1409.

         B.       This Order is a final and appealable order within the meaning of 28 U.S.C. § 158(a).

Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to any extent necessary under



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    The findings and conclusions set forth herein shall constitute this Court’s findings of fact and conclusions of law
    as described in Bankruptcy Rule 7052, made applicable to this matter by Bankruptcy Rule 9014.




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Bankruptcy Rule 9014 and Rule 54(b) of the Federal Rules of Civil Procedure, as made applicable

by Bankruptcy Rule 7054, this Court expressly finds that there is no reason to delay

implementation of this Order.

           C.       The predicates for the relief requested in the Sale Motion are Sections 105(a),

363(b), (f) and (m) and 365 of the Bankruptcy Code and Bankruptcy Rules 2002(a)(2), 6004(a),

(b), (c), (e), (f) and (h) and 6006(a), (c) and (d), 9007 and 9014.

                                        Notice of the Sale Transaction

           D.       As evidenced by the affidavits of service previously filed with this Court, proper,

timely, adequate and sufficient notice of the Sale Hearing and the Sale Transaction has been

provided in accordance with Sections 105(a), 363 and 365 and Bankruptcy Rules 2002, 6004, 6006

and 9014.4 The notices were good, sufficient and appropriate under the circumstances, provided

all interested parties with timely and proper notice of the Sale Hearing and the Sale Transaction,

and no further or other notice of the Sale Hearing and the Sale Transaction is required.

                                            Good Faith of the Buyer

           E.       The Buyer is purchasing the Debtor Seller’s Purchased Assets in good faith and is

a good faith purchaser within the meaning of Section 363(m), and is therefore entitled to the full

protection of that provision, and otherwise has proceeded in good faith in this proceeding in that,

inter alia, the Buyer: (i) is not related in any way to the Debtor Seller; (ii) recognized that Debtor

Seller was free to deal with any other party interested in acquiring the Debtor Seller’s Purchased

Assets; (iii) disclosed all payments it is to make and all agreements or arrangements related to the

Sale Transaction; (iv) has not violated Section 363(n) by any act or omission; and (v) negotiated

and executed the APA at arms’ length and in good faith. Accordingly, the APA may not be avoided


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    Unless otherwise provided, “Section” references are to the Bankruptcy Code.




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and no party shall be entitled to damages or other recovery pursuant to section 365(n) of the

Bankruptcy Code.

                                        Highest and Best Offer

         F.       The transaction contemplated by APA constitutes the highest and best offer for the

Debtor Seller’s Purchased Assets, and will provide a greater recovery for Debtor Seller’s estate

than would be provided by any other available alternative. Debtor Seller’s determination that the

APA constitutes the highest and/or best offer constitutes a valid and sound exercise of Debtor

Seller’s business judgment.

         G.       The APA and its terms represents a fair and reasonable offer to purchase the Debtor

Seller’s Purchased Assets under the circumstances of these Chapter 11 Cases. No other person or

entity or group of entities has offered to purchase the Debtor Seller’s Purchased Assets for greater

value to Debtor Seller’s estates than the Buyer. Approval of the Sale Motion and the APA and the

consummation of the transactions contemplated thereby are in the best interests of Debtor Seller,

its creditors, its estate and other parties in interest.

         H.       The terms of the APA reflect Debtor Seller’s exercise of prudent business judgment

consistent with its fiduciary duties.

                                             Bid Protections

         I.       The Bid Protections, namely a break-up fee of $900,000 (the “Bid Protections”),

are reasonable in relation to the size of the proposed Sale and under the facts and circumstances of

the Sale Transaction. The Debtor Seller has articulated good and sufficient business reasons for

the Court to approve the Bid Protections.

                                        No Fraudulent Transfer

         J.       Neither the Debtor Seller nor the Buyer has entered into the APA, or proposes

consummating the Sale Transaction, for the purpose of hindering, delaying or defrauding Debtor


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Seller’s present or future creditors. Neither the Debtor Seller nor the Buyer has entered into the

APA or proposes consummating the Sale Transaction in violation of fraudulent conveyance and

fraudulent transfer laws whether under the Bankruptcy Code or any other applicable law.

         K.       The consideration to be provided by the Buyer pursuant to the APA is fair and

adequate, is the highest or best offer for the Purchased Assets, and constitutes reasonably

equivalent value and fair consideration under the Bankruptcy Code and under other applicable law.

         L.       The Buyer is not a continuation or successor to Debtor Seller or its estate, there is

no continuity of enterprise between the Sellers and Buyer, and the Sale does not amount to a

consolidation, merger or de facto merger of the Buyer and Debtor Seller. The sale and transfer

will not subject the Buyer to any liability (including successor liability) under any laws including

any bulk transfer laws, or on any theory of successor or transferee liability with respect to operation

of the Sellers’ business prior to Closing.

                                         Validity of Transfer

         M.       Debtor Seller is hereby authorized to enter into and perform its obligations under

the APA; to execute and perform such agreements or documents; and to take such other actions as

are necessary or desirable to effectuate the APA.

                                      Section 363(f) is Satisfied

         N.       Debtors’ secured lenders (Cerberus and Sizmek Finco, LLC) have consented to the

sale of the Debtor Seller’s Purchased Assets to the Buyer on the terms set forth in the APA.

Accordingly, the conditions for a sale of the Debtor Seller’s Purchased Assets to the Buyer free

and clear of all Encumbrances pursuant to Section 363(f) have been satisfied.




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                       Section 365 is Satisfied Regarding the Assigned Contracts

         O.        The Debtors have satisfied all conditions and requirements for assumption and

assignment of the Assigned Contracts pursuant to Section 365.

                          Compelling Circumstances for an Immediate Sale

         P.       To maximize the value of the Debtor Seller’s Purchased Assets and preserve the

viability of the businesses to which the Debtor Seller’s Purchased Assets relate, it is essential that

the Sale Transaction occur within the time provided in the APA. Time is of the essence in closing

the Sale Transaction.

         Q.       Given the circumstances of these Chapter 11 Cases and the adequacy of the

purchase price under the APA, the proposed Sale Transaction on the terms and conditions set forth

in the APA is a reasonable exercise of Debtor Seller’s business judgment and should be approved.

         R.       The consummation of the transaction is legal, valid and properly authorized under

all applicable provisions of the Bankruptcy Code, including, without limitation, Sections 105(a),

363(b), 363(f), 363(m), 365(b) and 365(f) and all applicable requirements of such Sections have

been complied with in respect of the transaction.

         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

                                           General Provisions

                  1.       The Sale Motion is granted as set forth in this Order. All objections to the

Sale Motion that have not been withdrawn, waived or settled as announced to this Court at the Sale

Hearing or by stipulation filed with this Court, and all reservations of rights included therein, are

overruled on the merits.




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                                          Approval of the APA

                  2.       The APA, attached as Exhibit 1, and all other ancillary documents, and all

of the terms and conditions thereof, are approved.

                  3.       Pursuant to Section 363(b), Debtor Seller is authorized to take any and all

actions necessary or appropriate to (a) consummate the Sale Transaction with the Buyer upon the

terms and conditions of the APA, (b) close the Sale Transaction upon the terms and conditions of

the APA and this Order, and (c) execute, deliver, perform, consummate, implement and close the

APA, together with all additional instruments and documents that may be reasonably necessary or

appropriate to implement the APA, provided that such additional instruments and documents do

not materially adversely change the terms of the APA.

                  4.       The Bid Protections are approved. The Debtor Seller is authorized to pay

the Bid Protections in accordance with the APA.

                  5.       This Order and the APA shall inure to the benefit of Debtor Seller, its estate

and creditors and the Buyer, and their respective successors and assigns.

                                   Transfer of the Purchased Assets

                  6.       Pursuant to Sections 105(a), 363(b), 363(f), 365 and 365(f), Debtor Seller

is authorized and directed to transfer the Debtor Seller’s Purchased Assets on the Closing Date.

Such assets shall be transferred to the Buyer upon the terms and conditions of the APA upon and

as of the Closing and such transfer shall constitute a legal, valid, binding and effective transfer of

the Debtor Seller’s Purchased Assets free and clear of all Encumbrances except for any Permitted

Liens and Assumed Liabilities. Upon the Closing, the Buyer shall take title to and possession of

the Purchased Assets subject only to any Permitted Liens. Pursuant to Section 363(f), the transfer

of title to the Purchased Assets shall be free and clear of any and all Encumbrances except for




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Assumed Liabilities and Permitted Liens. All Encumbrances on the Purchased Assets other than

Permitted Liens shall attach solely to the proceeds of the Sale Transaction with the same validity,

priority, force and effect that they now have as against the Purchased Assets, subject to any and

all claims and defenses Debtor Seller and its estates have.

                  7.       Following the Closing, no holder of any Claim against the Debtor Seller or

their estates shall interfere with the Buyer’s title to or use and enjoyment of the Purchased Assets

based on or related to any such Claim or based on any actions the Debtors may take in these chapter

11 cases. Except as expressly set forth herein or in the APA, the Buyer and their successors and

assigns shall have no liability for any Claim against the Debtors or the Debtors’ estates or Excluded

Liabilities, whether known or unknown as of the Closing Date, now existing or hereafter arising,

whether fixed or contingent, whether derivatively, vicariously, as a transferee, successor, alter ego,

or otherwise, of any kind, nature or character whatsoever, by reason of any theory of law or equity,

including Claims or Excluded Liabilities arising under, without limitation: (i) any employment or

labor agreements or the termination thereof relating to the Debtors; (ii) any pension, welfare,

compensation or other employee benefit plans, agreements, practices and programs, including,

without limitation, any pension plan of or related to any of the Debtors or any Debtor’s affiliates

or predecessors or any current or former employees of any of the foregoing, including, without

limitation, the Employee Plans and any participation or other agreements related to the Employee

Plans, or the termination of any of the foregoing; (iii) the Debtors’ business operations or the

cessation thereof; (iv) any litigation involving one or more of the Debtors; and (v) any employee,

workers’ compensation, occupational disease or unemployment or temporary disability related

law, including, without limitation, claims that might otherwise arise under or pursuant to: (A) the

Employee Retirement Income Security Act of 1974, as amended; (B) the Fair Labor Standards




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Act; (C) Title VII of the Civil Rights Act of 1964; (D) the Federal Rehabilitation Act of 1973; (E)

the National Labor Relations Act; (F) the Worker Adjustment and Retraining Notification Act of

1988; (G) the Age Discrimination and Employee Act of 1967 and Age Discrimination in

Employment Act, as amended; (H) the Americans with Disabilities Act of 1990; (I) the

Consolidated Omnibus Budget Reconciliation Act of 1985; (J) the Multiemployer Pension Plan

Amendments Act of 1980; (K) state and local discrimination laws; (L) state and local

unemployment compensation laws or any other similar state and local laws; (M) state workers’

compensation laws; (N) any other state, local or federal employee benefit laws, regulations or rules

or other state, local or federal laws, regulations or rules relating to, wages, benefits, employment

or termination of employment with any or all Debtors or any predecessors; (O) any antitrust laws;

(P) any product liability or similar laws, whether state or federal or otherwise; (Q) any

environmental laws, rules, or regulations, including, without limitation, under the Comprehensive

Environmental Response, Compensation, and Liability Act, 42 U.S.C. §§ 9601, et seq., or similar

state statutes; (R) PACA; (S) any bulk sales or similar laws; (T) any federal, state or local tax

statutes, regulations or ordinances, including, without limitation, the Internal Revenue Code of

1986, as amended; and (U) any common law doctrine of de facto merger or successor or transferee

liability, successor-in-interest liability theory or any other theory of or related to successor liability.

                  8.       Except as expressly permitted or otherwise specifically provided in the APA

or this Order, all persons or entities holding Encumbrances in all or any portion of the Purchased

Assets (other than Permitted Liens and Assumed Liabilities) arising under or from, or in any way

relating to Debtor Seller, the Purchased Assets, the operation of Debtor Seller’s business prior to

the Closing or the transfer of the Purchased Assets to the Buyer, are forever barred, estopped and

permanently enjoined from asserting against the Buyer or its successors or assigns, their property




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such persons’ or entities’ Encumbrances in and to the Purchased Assets. Effective as of the

Closing, each creditor is authorized and directed to execute such documents and take all other

actions as may be necessary to release any Encumbrances (except for the Permitted Liens) on the

Purchased Assets, as provided herein, that may have been recorded or may otherwise exist. The

transactions authorized herein shall be of full force and effect, regardless of any Debtor Seller’s

lack of good standing in any jurisdiction in which such Debtor is formed or authorized to transact

business. Upon consummation of the transactions set forth in the APA, the Buyer shall be

authorized to file termination statements or lien terminations in any required jurisdiction to remove

any record, notice filing, or financing statement recorded to attach, perfect or otherwise notice any

lien or encumbrance with respect to the Purchased Assets (but not the proceeds thereof) that is

extinguished or otherwise released pursuant to this Order under Section 363 and any related

provisions.

                  9.       All persons and entities are forever prohibited and enjoined from taking any

action that would adversely affect or interfere with the ability of Debtor Seller to sell and transfer

the Debtor Seller’s Purchased Assets to the Buyer in accordance with the APA and this Order to

the fullest extent provided by Section 363.

                  10.      All persons and entities that are in possession of some or all of the Debtor

Seller’s Purchased Assets on the Closing Date are directed to surrender possession of such Debtor

Seller’s Purchased Assets to the Buyer or the Buyer Designee at the Closing.

                  11.      The provisions of this Order authorizing the Sale Transaction by Debtor

Seller free and clear of Encumbrances shall be self-executing, and none of the Debtor Seller, the

Buyer or any other party shall be required to execute or file releases, termination statements,

assignments, cancellations, consents or other instruments to effectuate, consummate, and/or




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implement the provisions hereof with respect to the Sale; provided, however, that this paragraph

shall not excuse such parties from performing any and all of their respective obligations under the

APA or as otherwise set forth in this Order or requested by Buyer.

                  12.    Without limiting the foregoing, a certified copy of this Order may be filed

with the appropriate clerk or recorded to act to cancel any of the Encumbrances on the Debtor

Seller’s Purchased Assets of record except the Permitted Liens.

                  13.    If any person or entity that has filed statements or other documents or

agreements evidencing Encumbrances on all or a portion of the Debtor Seller’s Purchased Assets

shall not have delivered to Debtor Seller prior to the Closing, in proper form for filing and executed

by appropriate parties, termination statements, instruments of satisfaction, releases of liens and

easements, and any other documents necessary or desirable to the Buyer for the purpose of

documenting the release of all Encumbrances on the Debtor Seller’s Purchased Assets, which the

person or entity has or may assert with respect to all or any portion of the Debtor Seller’s Purchased

Assets, Debtor Seller are hereby authorized and directed, and the Buyer is hereby authorized, to

execute and file such statements, instruments, releases and other documents on behalf of such

person or entity with respect to the Debtor Seller’s Purchased Assets.

                  14.    This Order is binding upon all persons and entities, including, without

limitation, all filing agents, filing officers, title agents, title companies, recorders of mortgages,

recorders of deeds, registrars of deeds, administrative agencies, governmental departments,

secretaries of state, federal and local officials and all other persons or entities who may be required

by operation of law, the duties of their office, or contract, to accept, file, register or otherwise

record or release any documents or instruments, or who may be required to report or insure any

title or state of title in or to any lease; and each of the foregoing persons and entities is hereby




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directed to accept for filing any and all of the documents and instruments necessary and

appropriate to consummate the transactions of Debtor Seller contemplated by the APA; provided

that nothing herein shall relieve any entity of the obligation to pay filing fees required to be paid

under non-bankruptcy law.

                  15.    Any and all governmental recording offices and all other parties, persons or

entities are authorized to accept this Order for recordation on or after the Closing as conclusive

evidence of the free and clear, and unencumbered, transfer of all right, title, interest and ownership

in and to Debtor Seller’s Purchased Assets conveyed to the Buyer at Closing.

                         Assignment and Assumption of Assigned Contracts

                  16.    Debtor Seller is authorized and directed to assume and assign each Assigned

Contract to the Buyer free and clear of all Encumbrances, as described herein. Debtor Seller is

authorized to pay any Sellers’ Cure Payments, as contemplated by the APA. The payment of the

applicable Cure Amounts (if any) in accordance with the APA shall (a) effect a cure of all defaults

existing thereunder as of the Closing Date and (b) compensate for any actual pecuniary loss to

such non-Debtor party resulting from such default. The Buyer shall then have assumed the

Assigned Contract and, pursuant to section 365(f) of the Bankruptcy Code, the assignment by

Debtor Seller of such Assigned Contracts shall not be a default thereunder. Upon the payment of

the relevant Cure Amounts in accordance with the APA, Debtor Seller shall have no further

liabilities to the counterparties to the Assigned Contracts that accrue and become due and payable

on or after the Closing Date except as provided in the APA. Upon the payment of the relevant

Cure Amounts in accordance with the APA, the Buyer shall have no further liabilities to the

counterparties to the Assigned Contracts that accrue and become due and payable on or before the

Closing Date except as provided in the APA.




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                  17.    To the extent any counterparty to an Assigned Contract failed to timely

object to a Cure Amount, such Cure Amount shall be deemed to be finally determined as of the

entry of this Order and any such counterparty shall be barred from challenging, objecting to or

denying the validity of the Cure Amount. Any provisions in any of Debtor Seller’s Assigned

Contracts that prohibit or condition the assignment of such Assigned Contracts or allow the party

to such Assigned Contracts to terminate, recapture, impose any penalty, condition a renewal or

extension or modify any term or condition upon the assignment of such Assigned Contract,

constitute unenforceable anti-assignment provisions that are void and of no force and effect. All

other requirements and conditions under Sections 363 and 365 for the assumption by Debtor Seller

and assignment of the Buyer of the Assigned Contracts have been satisfied. Upon the Closing, in

accordance with Sections 363 and 365, the Buyer shall be fully and irrevocably vested with all

legal, equitable, and beneficial right, title and interest of Debtor Seller under the Assigned

Contracts.

                  18.    Upon the assumption of an Assigned Contract and the payment of the

relevant Cure Amounts, if any, in accordance with the APA, the Buyer shall be deemed to be

substituted for Debtor Seller as a party to the applicable Assigned Contracts and Debtor Seller

shall be relieved, pursuant to Section 365(k) of any further liability under the Assigned Contracts.

                  19.    Upon the payment of the applicable Cure Amount, if any, the Assigned

Contracts will remain in full force and effect, and no default shall exist under the Assigned

Contracts nor shall there exist any event or condition which, with the passage of time or giving of

notice, or both, would constitute such a default.




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                  20.    The Buyer has provided adequate assurance of future performance under

the relevant Assigned Contracts within the meaning of Sections 365(b)(1)(C), 365(b)(3) (to the

extent applicable) and 365(f)(2)(B).

                  21.    Pursuant to Sections 105(a) 363, and 365, all counterparties to the Assigned

Contracts are forever barred and permanently enjoined from raising or asserting against Debtor

Seller or the Buyer any assignment fee, default, breach or claim of pecuniary loss, or condition to

assignment, arising under or related to the Assigned Contracts existing as of the Closing Date or

arising by reason of the Closing.

                  22.    The assumption of the Assigned Contracts and shall be effective upon entry

of this Order (conditioned upon the Closing of the Sale Transaction) notwithstanding timely

unresolved objections to the proposed Cure Amounts, which objections are hereby preserved. The

undisputed portion of the proposed Cure Amounts shall be paid in accordance with the APA. Any

remaining disputed Cure Amounts must be paid by the earlier of (a) when Debtor Seller, the Buyer

and the Assigned Contract counterparty can agree to an amount or (b) the date specified in a final

and non-appealable order entered by the Bankruptcy Court. Debtor Seller shall use commercially

reasonable efforts to cooperate with the Buyer in resolving any disputed Cure Amounts arising

after the closing of the Sale Transaction.

                                          Other Provisions

                  23.    Pursuant to the APA, the Sellers shall enter into a Transition Services

Agreement on the Closing Date pursuant to which Sellers shall provide to the Buyer, and the Buyer

shall provide to the Sellers, certain services for the transitional period following Closing. The

Debtor Seller is hereby authorized to enter into and perform under the Transition Services

Agreement and to execute and deliver any additional documentation in support of that agreement.




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                  24.    In connection with the sale of the Purchased Assets, Debtors shall be

required to abide by their privacy policies in place as of the date of the APA, as such policies may

be amended from time to time. Accordingly, no consumer privacy ombudsman will be appointed

in connection with the sale under Section 363(b)(1).

                  25.    The Buyer is not and shall not be deemed a successor to Sellers as a result

of the consummation of the Sale Transaction. The Buyer has given substantial consideration under

the APA for the benefit of Sellers, their estates and the holders of any Encumbrances. The

consideration given by the Buyer is valid and valuable consideration for the releases of any

potential claims of successor or transferee liability against the Buyer, which releases shall be

deemed to have been given in favor of the Buyer by all holders of Encumbrances against Debtor

Seller or any of the Debtor Seller’s Purchased Assets.

                  26.    Effective upon the Closing of the Sale Transaction: (a) all holders of

Encumbrances are hereby barred and permanently enjoined from in any way asserting or pursuing

such Encumbrances against the Buyer, the Buyer’s successors or assigns and/or the Debtor Seller’s

Purchased Assets; (b) all holders of Encumbrances are hereby barred and permanently enjoined

from in any way asserting or pursuing any action against the Buyer, the Buyer’s successors or

assigns and/or the Debtor Seller’s Purchased Assets based on any theory of successor or transferee

liability; and (c) no holder of any Encumbrance shall in any way interfere with the Buyer’s possession

of, title to, or use and enjoyment of the Debtor Seller’s Purchased Assets.

                  27.    The Buyer has acted in good faith and has not colluded in undertaking the

Sale Transaction. The Buyer is entitled to all of the protections afforded by Section 363(m), and

the Sale Transaction may not be avoided, nor may any costs or damages be imposed, under Section

363(n).




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                  28.    Nothing contained in any chapter 11 plan confirmed in any of Debtors’

Chapter 11 Cases, any order confirming any such chapter 11 plan, any order approving wind-down

or dismissal of any of Debtors’ Chapter 11 Cases or any subsequent chapter 7 cases, or any other

order of any type or kind entered in Debtors’ Chapter 11 Cases shall conflict with or derogate from

the provisions of the APA or the terms of this Order, and to the extent of any conflict or derogation

between this Order or the APA and such future plan or order, the terms of this Order and the APA

shall control.

                  29.    Pursuant to Bankruptcy Rules 7062, 9014, 6004(h), and 6006(d), this Order

shall be effective immediately upon entry and Debtor Seller and Buyer are authorized to close the

Sale Transaction immediately upon entry of this Order.

                  30.    No bulk sales or similar law of any state or jurisdiction applies to the Sale

Transaction.

                  31.    Except for FTICA, there are no brokers involved in consummating the Sale

Transaction and no brokers’ commissions are due.

                  32.    The failure to identify any particular provision of the APA in this Order

shall not diminish or impair the effectiveness of such provision, it being the intent of this Court

that the APA be authorized and approved in its entirety.

                  33.    The APA and any related agreements or other instruments (other than this

Order) may be modified, amended or supplemented by the parties thereto and in accordance with

the terms thereof, without further order of this Court, provided that any such modification,

amendment or supplement does not have a material adverse effect on Debtor Seller’s estate.

                  34.    The terms of this Order shall govern any inconsistencies between the terms

of this Order and the APA.




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                  35.    All time periods set forth in this Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).

                  36.    In connection with the closing of the Sale Transaction, the Debtors are

authorized and directed to pay directly to Cerberus Business Finance, LLC (“Cerberus”), as

administrative agent and collateral agent for certain revolver and term loan lenders (the “Senior

Lenders” and, together with Cerberus, the “Secured Parties”) under that certain Financing

Agreement, dated as of September 6, 2017 (as subsequently amended from time to time, the

“Financing Agreement”), [a portion of the amount payable to the Debtor Seller by the Buyer at

closing (whether in the form of cash or otherwise) (the “Direct Cerberus Payments”) to be agreed

by the Debtors and Cerberus.] The Direct Cerberus Payments include, without limitation, proceeds

of the Sale Transaction attributable to the Debtor Seller’s Purchased Assets and certain proceeds

that, pursuant to the APA, will be paid to the Debtor Sellers on account of Sizmek Israel’s

obligations under that certain Amended and Restated Promissory Note dated October 27, 2016

(the “Intercompany Note”). Cerberus is authorized to apply the Direct Cerberus Payments to

satisfy amounts owed to the Secured Parties under the Financing Agreement in accordance with

the terms and conditions thereof. In furtherance of the foregoing, the Debtors’ rights under the

Intercompany Note, including, without limitation, all rights of enforcement and payment (subject

to the terms of the APA), are hereby assigned to Cerberus. The authority for Cerberus to receive

and apply the Direct Cerberus Payments and the assignment to Cerberus of the Intercompany Note

under this Order will not restrict the relief that might be sought by any party in interest against the

Secured Parties pursuant to the terms and conditions of the Interim Order (I) Authorizing the

Debtors to Use Cash Collateral Pursuant to 11 U.S.C. § 363, and (II) Granting Adequate

Protection Pursuant to 11 U.S.C. §§ 361, 362, 363, and 507, and Scheduling a Final Hearing




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Pursuant to Bankruptcy Rule 4001(b) [Docket No. 37] or any successor order thereto, as to which

possible relief the rights of all parties (including the Secured Parties) are fully reserved.

                  37.    This Court shall retain jurisdiction to, among other things, interpret,

implement and enforce the terms of the Order and the APA, all amendments thereto and any

waivers and consents thereunder and each of the agreements executed in connection therewith to

which Debtor Seller is a party or which had been assigned by Debtor Seller to the Buyer, and to

adjudicate, if necessary, any and all disputes relating in any way to the Sale Transaction.



 Dated: __________, 2019
 New York, New York                              THE HONORABLE STUART M. BERNSTEIN
                                                 UNITED STATES BANKRUPTCY JUDGE




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                                  Exhibit 1 to the Sale Order

                                  Asset Purchase Agreement




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                                                                                Execution Version


                             ASSET PURCHASE AGREEMENT

       THIS ASSET PURCHASE AGREEMENT (the “Agreement”) is made and entered into
as of May 31, 2019 (the “Effective Date”) by and between Sizmek Technologies Ltd., an Israeli
company (“Sizmek Israel”), Sizmek Technologies, Inc., a Delaware corporation (“Parent”), and
Sizmek Technologies Ltd., a company incorporated in England and Wales (“Sizmek UK” and,
together with Sizmek Israel and Parent, each a “Seller” and collectively the “Sellers”), and
Amazon.com, Inc., a Delaware corporation (“Purchaser”). Capitalized terms used herein but not
otherwise defined shall have the meanings set forth in Article I of this Agreement.

                                         RECITALS

        WHEREAS, Sellers, together with certain of their subsidiaries set forth on Annex I
(collectively with the Sellers, the “Business Entities”), are engaged in the business of ad serving,
dynamic creative optimization and associated tools (such businesses, as presently conducted,
shall be collectively referred to herein as the “Business”);

       WHEREAS, Sizmek Israel is a wholly owned subsidiary of Parent and each of the
Business Entities is a wholly owned direct or indirect subsidiary of Sizmek Israel;

      WHEREAS, on March 29, 2019, Parent commenced Case No. 19-10971 (the
“Bankruptcy Case”) by filing a voluntary petition for relief under Chapter 11 of the Bankruptcy
Code with the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”);

        WHEREAS, in connection therewith, Sellers wish to sell, transfer, convey, assign and
deliver to Purchaser (where applicable, in accordance with Sections 363 and 365 and the other
applicable provisions of the Bankruptcy Code), all of the Purchased Assets (defined below),
together with the Assumed Liabilities (defined below) of Sellers upon the terms and subject to
the conditions set forth in this Agreement (hereinafter collectively referred to as the
“Transaction”);

      WHEREAS, Purchaser wishes to purchase and take delivery of such Purchased Assets
and Assumed Liabilities upon such terms and subject to such conditions;

        WHEREAS, the Purchased Assets owned by the Debtors shall be sold pursuant to a Sale
Order of the Bankruptcy Court approving such sale under Section 363 of the Bankruptcy Code
and such Sale Order may include the assumption and assignment of certain executory contracts
and service agreements, unexpired leases of equipment and liabilities thereunder, under Section
365 of the Bankruptcy Code and pursuant to the terms and conditions of this Agreement; and

       WHEREAS, all of the obligations of the Debtors are conditioned upon the approval of
the Bankruptcy Court in accordance with the terms hereof.

      NOW, THEREFORE, in consideration of the premises and mutual covenants and
agreements herein set forth and for other good and valuable consideration, the receipt and
adequacy of which are hereby acknowledged, the parties hereto hereby agree as follows:


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                                          ARTICLE I
                                         DEFINITIONS

        Section 1.1 For purposes of this Agreement (including the Disclosure Schedules
hereto) the terms defined in this Agreement shall have the respective meanings specified herein,
and, in addition, the following terms shall have the following meanings:

        “Accounts Receivable” means, with respect to any Business Entity (with respect to
Sellers Accounts Receivable) or the Purchaser (with respect to Purchaser Accounts Receivable)
and a particular date, (i) any and all accounts receivable, trade accounts and other amounts
(including overdue accounts receivable) owed to such Person relating to, or arising in connection
with, the operation and conduct of, the Business and any other similar rights of such Person to
payment from third parties whether or not invoiced as of such date, and the full benefit of all
security for such accounts or rights to payment, including all trade accounts receivable
representing amounts receivable in respect of such services rendered, in each case owing to such
Person; (ii) all other accounts or notes receivable of such Person related to the Business and the
full benefit of all security for such accounts or notes receivable; and (iii) any and all claims,
remedies or other rights relating to any of the foregoing, together with any interest or unpaid
financing charges accrued thereon, in each case that have not been satisfied or discharged prior
to the close of business on the day immediately preceding such date or have not been written off
or sent to collection prior to the close of business on the day immediately preceding such date (it
being understood that the receipt of a check prior to the close of business on the day immediately
preceding such date shall constitute satisfaction or discharge of the applicable account or note
receivable to the extent of the payment represented thereby).

        “Affiliate” means, as to any Person, any other Person, which, directly or indirectly, is in
control of, is controlled by, or is under common control with, such Person. The term “control”
(including, with correlative meanings, the terms “controlled by” and “under common control
with”), as applied to any Person, means the possession, direct or indirect, of the power to direct
or cause the direction of the management and policies of such Person, whether through the
ownership of voting securities or other direct or indirect ownership interest, by Contract or
otherwise.

        “Affiliated Group” means any affiliated, consolidated, combined, unitary, or similar
group, including any arrangement for group or consortium relief or similar arrangement.

        “Anti-Bribery Laws” means any and all applicable statues, regulations, orders, directive,
treaties, decrees and Laws which relate to anti-bribery and anti-corruption.

         “Bankruptcy Code” means 11 U.S.C. Section 101, et seq., and any amendments thereof.

       “Cash and Cash Equivalents” means all of Sellers’ cash (including petty cash but
excluding any checks that remain uncashed or uncleared prior to the close of business on the
Closing Date), checking account balances, marketable securities, certificates of deposits, time
deposits, bankers’ acceptances, commercial paper and government securities and other cash
equivalents.



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      “COBRA” means the Consolidated Omnibus Budget Reconciliation Act of 1985, as
amended.

         “Code” means the Internal Revenue Code of 1986, as amended.

       “Contract” means any written or oral contract, agreement, lease, license, financial
instrument, covenant not to sue, or other document or commitment, arrangement, undertaking, or
understanding, practice or authorization.

        “Cure Payments” means, (i) with respect to the Debtors, “cure payments” required to be
made under Section 365 of the Bankruptcy Code in connection with any assumption and
assignment of an Assumed Contract to Purchaser and (ii) with respect to any other Business
Entity, any outstanding accounts payable or other amounts required to be paid in connection with
the assignment of, or outstanding with respect to periods before the Closing under, any Assumed
Contract to Purchaser.

       “Debtors” means Parent and any other Business Entity that is a debtor-in-possession
pursuant to the Bankruptcy Case.

         “Disclosure Schedules” means the schedules delivered by Sellers to Purchaser as of the
Effective Date setting forth the exceptions to the representations and warranties contained in
Article VI and certain other information called for by this Agreement. Unless otherwise
specified, each reference in this Agreement to any numbered schedule is a reference to the
corresponding numbered schedule that is included in the Disclosure Schedules (unless, and to the
extent, the relevance to other representations and warranties is readily apparent from the actual
text of the disclosures).

       “Employee Plans” means any employment, consulting, severance or other similar
contract, plan, arrangement or policy, and each plan, arrangement (written or oral), program,
agreement or commitment providing for insurance coverage (including any self-insured
arrangements), workers’ compensation, disability benefits, supplemental unemployment benefits,
vacation benefits, provident plans, retirement benefits, life, health, disability or accident benefits
or for deferred compensation, profit-sharing bonuses, stock options, stock purchases or other
forms of incentive compensation or post-retirement insurance, compensation or benefits which is
entered into, maintained, contributed to or required to be contributed to, by any Business Entity
or under which any Business Entity may incur any liability including under any employee
pension benefit plan and any employee welfare benefit plan which any Business Entity
maintains, administers, contributes to or is required to contribute to, or has maintained,
administered, contributed to or was required to contribute to, or under which any Business Entity
may incur any liability.

        “First Lien Agent” means Cerberus Business Finance, LLC, in its capacity as
administrative agent and collateral agent under that certain Financing Agreement, dated as of
September 6, 2017, by and among Sizmek Technologies, Inc., as borrower, Solomon Acquisition
Corp. and the other guarantors party or joined thereto and the lenders from time to time party
thereto, as amended by the First Amendment to Financing Agreement, dated as of April 2, 2018,
as amended by the Second Amendment to Financing Agreement, dated as of April 27, 2018, as


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amended by the Third Amendment to Financing Agreement, dated as of May 30, 2018, as
amended by the Fourth Amendment to Financing Agreement, dated as of June 29, 2018, as
amended by the Fifth Amendment to Financing Agreement, dated as of July 19, 2018, as
amended by the Sixth Amendment to Financing Agreement, dated as of August 6, 2018, and as
further amended, amended and restated, supplemented or otherwise modified from time to time.

        “Governmental Authority” means any federal, state, provincial, municipal and foreign
governmental entity, authority, or agency, or any other political subdivision, or any entity
exercising executive, legislative, judicial, regulatory or administrative functions of government,
including the Israel Innovation Authority, the Investment Center, the Israel Lands Authority and
quasi-governmental authorities such as the BIRD Foundation.

        “Intercompany Agreements” means all contracts and agreements between or among one
Business Entity and another Business Entity or any of their respective Affiliates, in each case as
set forth on Schedule 1.1.

        “Intercompany Claims” means the loans and receivables between or among one Business
Entity and another Business Entity or any of their respective Affiliates, in each case as set forth
on Schedule 1.1, and as such amounts may be updated from time to time after the Closing due to
interest, accruals and ongoing ordinary course transactions between the Business Entities.

      “Israeli Assets Purchaser” means Purchaser or a designee of Purchaser which purchases,
assumes or hires any Israeli Purchased Assets.

       “Israeli Purchased Assets” means any Purchased Assets, Assumed Liabilities or
Transferred Employees purchased, assumed or hired from Sizmek Israel by Purchaser or its
designee which is a resident of Israel for Israeli VAT purposes.

        “ITA” means the Israel Tax Authority.

        “Knowledge” means in the case of any Business Entity, the knowledge of Markus
Plattner, Sascha Wittler, Mark Grether, Volker Hatz and George Pappachen which means, with
respect to each such Person that (a) such Person is actually aware of such fact or matter or
(b) such Person, in connection with the reasonable and diligent discharge of such Person’s
employment or other responsibilities with respect to the entity in question, should reasonably be
expected to have acquired knowledge of such fact or matter.

        “Laws” means any federal, state, provincial, local or foreign statute, law, ordinance,
regulation, rule, code, order or other requirement or rule of law.

        “Legal Proceeding” means any action, arbitration, audit, hearing, investigation, litigation
or suit (whether civil, criminal, administrative, investigative or informal) commenced, brought,
conducted or heard by or before, or otherwise involving, any Governmental Authority or
arbitrator.

        “Liability” means any liability, indebtedness, obligation, expense, claim, loss, cost,
obligation, damage, responsibility, guaranty, Tax or endorsement of or by any Person, absolute


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or contingent, accrued or unaccrued, known or unknown, due or to become due, liquidated or
unliquidated, whether or not secured.

         “Liens” means any security interests, mortgages, interests, liens, pledges, charges, defects
of title, options and other rights of third parties, rights of first refusal, claims or any other
encumbrance or restriction on ownership.

        “Material Adverse Effect” means any event or change or circumstance that, individually
or when aggregated with any one or more of the other such changes, events or circumstances, has
had or could reasonably be expected to have a material adverse effect on or with respect to
(a) the Purchased Assets, the Assumed Liabilities or the operation of the Business or (b) the
ability of the Sellers to consummate the Transaction; provided, however, that none of the
following events, changes or circumstances (individually or when aggregated with any one or
more of the other such changes, events or circumstances) shall be deemed to be or constitute a
Material Adverse Effect under clause (a) above, and none of the following changes, events or
circumstances (individually or when aggregated with any one or more of the other such changes,
events or circumstances) shall be taken into account when determining whether a Material
Adverse Effect has occurred under clause (a) above: (i) war, acts of nature, general strike, acts of
terror or acts of hostilities, including but not limited to, military engagements and shelling of
civilian areas, (ii) general economic, market or political changes or conditions, (iii) events,
changes or circumstances which generally affect the industries in which the Business Entities
conduct business, (iv) changes in Laws, unless such Laws or conditions apply solely or
principally to the Business or the Business Entities, (v) the filing and the pendency of the
Bankruptcy Case; and (vi) events, changes or circumstances arising from or caused by the
announcement of this Agreement or the taking of any action specifically required hereunder;
provided that, with respect to clauses (i) through (vi), such event, change or circumstance does
not disproportionately affect the Business or the Purchased Assets compared to other Persons
operating in the same industry or market as the Business or Purchased Assets.

        “Ordinary Course of Business” means the ordinary course of business of the Business
Entities consistent with the current custom and practice of the Business Entities (including with
respect to quantity and frequency) in light of Debtors’ current financial condition, financial
distress and pending Bankruptcy Case, if applicable; provided, however, that any terminations of
Business Employees, other than terminations for cause, and any failures to pay any Business
Employees, between the date hereof and the Closing shall not be deemed to be in the ordinary
course of business.

       “Peer 39 Business” means the business of pre-bid data provision for programmatic
buying conducted by certain Sellers.

        “Permitted Liens” means (i) statutory Liens of landlords, banks, carriers, warehousemen,
mechanics, repairmen, workmen, suppliers and materialmen, in each case, incurred in the
Ordinary Course of Business for amounts not yet overdue, (ii) Liens for Taxes not yet due and
payable or for Taxes that may thereafter be paid without penalty or which are being contested in
good faith by appropriate proceedings, (iii) pledges or deposits under worker’s compensation,
unemployment insurance and social security laws to the extent required by applicable Law,
(iv) easements, covenants, conditions, restrictions and other similar matters of record or


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imperfections of title with respect to real property that do not individually or in the aggregate in
any material respect interfere with the present use of the property subject thereto, (v) local,
county, state and federal ordinances, regulations, building codes or permits, now or hereafter in
effect, relating to real property, (vi) encroachments, overlaps, boundary line disputes and any
other matters which would be disclosed by an accurate survey and inspection of real property
and that do not materially impair the use of real property for its intended purpose, and
(vii) restrictions or requirements set forth in the Sale Order relating to the Purchased Assets.

        “Person” shall mean any individual, sole proprietorship, partnership, joint venture, trust,
unincorporated association, corporation, limited liability company, entity or Governmental
Authority (whether federal, state, county, city or otherwise and including any instrumentality,
division, agency or department thereof).

        “Purchaser Accounts Receivable” means (a) the Accounts Receivable relating to the
operation and conduct of the Business during the month in which the closing occurs multiplied
by a fraction the numerator of which is the number of days in such calendar month after (and
including) the Closing Date and the denominator of which is the total number of days in such
entire calendar month plus (b) any Accounts Receivable arising after the first day of the calendar
month following the Closing.

         “Purchaser Cure Payments” means Cure Payments equal to $1,000,000 in the aggregate.

         “PwC” means PricewaterhouseCoopers Advisory Ltd.

       “PwC Report” means a report setting forth the allocation of the Purchase Price to be
prepared by PwC, a draft of which has been provided to Purchaser.

         “Sale Motion” means the motion to be filed with the Bankruptcy Court by Debtors, in
form and substance satisfactory to the First Lien Agent (in its discretion) and Purchaser, seeking
(i) approval of the applicable terms and conditions of the Transaction Documents,
(ii) authorization for the sale of the applicable Purchased Assets by the Debtors pursuant to
Section 363 of the Bankruptcy Code and the assumption and assignment of the Purchased Assets
that are executory contracts pursuant to Section 365 of the Bankruptcy Code, free and clear of all
Liens, and all as provided in the Sale Order.

         “Sale Order” means the order of the Bankruptcy Court substantially in the form attached
as Exhibit A (which Exhibit A has been reviewed by and is satisfactory to the First Lien Agent),
and in final form and substance satisfactory to the First Lien Agent, Parent and Purchaser, each
in their respective discretion.

        “Sellers Accounts Receivable” means (a) the amount of outstanding Accounts Receivable
as of the last day of the calendar month prior to Closing plus (b) the Accounts Receivable
relating to the operation and conduct of the Business during the month in which the closing
occurs multiplied by a fraction the numerator of which is the number of days in such calendar
month prior to and excluding the Closing Date and the denominator of which is the total number
of days in such entire calendar month.



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      “Sellers Cure Payments” means all Cure Payments in excess of the Purchaser Cure
Payments.

         “Solvent” means, with respect to any Person on a particular date, that on such date (a) the
present fair salable value of the property and assets of such Person exceeds the debts and
liabilities, including contingent liabilities, of such Person, (b) the present fair salable value of the
property and assets of the such Person is greater than the amount that shall be required to pay the
probable liability of such Person on its debts and other liabilities, including contingent liabilities,
as such debts and other liabilities become absolute and matured, (c) such Person does not intend
to incur, or believe (nor should it reasonably believe) that it shall incur, debts and liabilities,
including contingent liabilities, beyond its ability to pay such debts and liabilities as they become
absolute and matured, and (d) such Person does not have unreasonably small capital with which
to conduct the business in which it is engaged as such business is now conducted and is proposed
to be conducted; provided, however, for purposes of this definition, all Intercompany Claims and
Intercompany Agreements shall be disregarded. The amount of contingent liabilities at any time
shall be computed as the amount that, in the light of all the facts and circumstances existing at
such time, represents the amount that can reasonably be expected to become an actual or matured
liability.

        “Specified Representations” means the representations and warranties set forth in Section
6.1, Section 6.2, Section 6.3, Section 6.9 and Section 6.15.

         “Straddle Period” means any taxable period beginning on or ending after the Closing
Date.

         “Taxes” mean any (a) federal, state, local or foreign income, gross receipts, license,
payroll, employment, excise, severance, stamp, occupation, premium, property (including
general and special real estate taxes and assessments, special service area charges, tax increment
financing, charges, payments in lieu of taxes and similar charges and assessments), windfall
profits, environmental (including tax under Code Section 59A), customs duties, capital stock,
franchise, profits, withholding, foreign or domestic withholding, social security (or similar),
unemployment, disability, real property, personal property, sales, use, transfer, registration, value
added, alternative or add-on minimum, estimated or other tax of any kind whatsoever or any
governmental fee, governmental assessment or governmental charge of a similar nature, whether
computed on a separate or consolidated, unitary or combined basis or in any other manner, (b)
interest, penalties, fines or additions to Tax or additional amounts with respect to any item
described in clause (a) or the failure to comply with any requirement imposed with respect to any
Tax Returns, and (c) liabilities in respect of any items described in clause (a) or clause (b)
payable by reason of Contract, membership of an Affiliated Group, assumption, transferee
liability, succession, operation of Law or otherwise.

        “Tax Return” means any return, report, information return or other document (including
any related or supporting information) filed or required to be filed in connection with the
determination, assessment or collection of Taxes of any party or the administration of any Laws,
regulations or administrative requirements relating to any Taxes.




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      “UK Assets Purchaser” means Purchaser or a designee of Purchaser which purchases
assumes or hires any UK Purchased Assets.

       “UK Purchased Assets” means any Purchased Assets, Assumed Liabilities or Transferred
Employees purchased, assumed or hired from Sizmek UK by Purchaser or its designee which is a
resident in the European Union for VAT purposes in the United Kingdom.

        “Valid Withholding Certificate” means a valid certificate, ruling or any other written
instructions regarding Tax withholding, issued by the ITA in form and substance reasonably
satisfactory to Purchaser applicable to the payments to be made to any Person pursuant to this
Agreement stating that no withholding, or reduced withholding, of Israeli Tax is required with
respect to such payment or providing any other instructions regarding Tax withholding.

        “VAT” shall mean any value added taxes on goods, assets or services imposed by any
Governmental Authority in Israel, any member state of the European Union or any other
jurisdiction.

      “WARN Act” means the Worker Adjustment and Retraining Notification Act of 1988, as
amended, any implementing regulations thereof, and any similar state or local Law, including the
New York State Worker Adjustment and Retraining Notification Act.

                               ARTICLE II
        PURCHASE AND SALE OF PURCHASED ASSETS; EXCLUDED ASSETS;
                       ASSUMPTION OF LIABILITIES

        Section 2.1 Purchased Assets. Upon the terms and subject to the conditions set forth
in this Agreement, subject to Bankruptcy Court approval, as applicable, at the Closing, each
Seller shall, and shall cause each of the other Business Entities, as applicable, to, sell, convey,
transfer, assign and deliver to Purchaser and/or one or more Affiliates of Purchaser designated in
writing by Purchaser, and Purchaser and/or its applicable Affiliates shall purchase, acquire and
take assignment and delivery from such Business Entity, all right and title to and interest in and
to the following assets, properties, and rights (contractual or otherwise) owned by such Business
Entity used or held for use in connection with or necessary for the operation of the Business
(collectively, the “Purchased Assets”) free and clear of all Liens (other than Permitted Liens),
claims or interests of any type or nature, whether known or unknown, of any Business Entity or
any other party:

                (a)    all equipment, machinery or other tangible personal property used or held
for use in connection with the Business, including those items listed or described in Schedule
2.1(a) hereto, and any warranty rights or claims associated therewith;

               (b)    subject to the timing and process contemplated by the Sale Order, the
Contracts, agreements, contract rights, leases of real property, leases of equipment, machinery or
other tangible personal property license agreements, customer contracts, purchase and sales
orders (if any), financial instruments, royalty agreements, third party guaranties,
indemnifications, arrangements and understandings, whether oral or written, to which any
Business Entity is a party (whether or not legally bound thereby) and which relate to the
Purchased Assets and the operation of the Business and which are specifically listed or described

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in Schedule 2.1(b) hereto as such schedule may be amended pursuant to Section 2.3(c) below
(the “Assumed Contracts”), it being understood that Purchaser shall be solely responsible for
payment of, and shall pay, the Purchaser Cure Payments and Sellers shall be solely responsible
for payment of, and shall pay, the Sellers Cure Payments (except to the extent such Sellers Cure
Payments are paid by Purchaser on Sellers’ behalf in accordance with the terms of this
Agreement);

                (c)    all permits necessary for the operation of the Business or the ownership of
the Purchased Assets, including the permits specifically listed or described in Schedule 2.1(c)
transferable to Purchaser pursuant to their terms and in accordance with applicable Laws;

                (d)    all intellectual property and intellectual property rights (including all
software and documentation) which relate to, or are used or held for use, in connection with, the
Business (the “Company IP”) other than Open Source Materials, including the Company IP
listed or described in Schedule 2.1(d) hereto, subject to explicit or implicit rights for continued
non-primary use of such Company IP by the Business Entities solely outside the Business;

               (e)    all prepaid items and expenses related to the Business or the Purchased
Assets, including those specifically listed or described in Schedule 2.1(e) hereto;

              (f)    all books and records including customer or client lists, files,
documentation, records and the related documentation related to the Business, the Purchased
Assets or Assumed Liabilities, other than those described in Section 2.2(e);

               (g)     all claims, indemnities, warranties, guarantees, refunds, causes of action,
rights of recovery, rights of set-off and rights of recoupment of every kind and nature (whether
or not known or unknown or contingent or non-contingent) related to the Business, the
Purchased Assets or the Assumed Liabilities (other than (i) those on insurance policies of the
Business Entities or (ii) claims otherwise prosecutable by the chapter 11 estate for the benefit of
unsecured creditors, as more fully described in Section 2.2(n) below);

            (h)     all deposits and prepayments held by third parties pursuant to any
Assumed Contract; and

              (i)    all other assets, properties, and rights used in the Business that are not
defined below as Excluded Assets.

       Section 2.2 Excluded Assets. Notwithstanding the foregoing, the following assets,
properties, and rights of the Business Entities are specifically excluded from the definition of
Purchased Assets (collectively, such assets, properties, and rights, the “Excluded Assets”):

                (a)   all Sellers Accounts Receivable;

                (b)   all Cash and Cash Equivalents;

                (c)   the Closing Cash Payment;




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              (d)     any permits that are not transferable pursuant to their terms and in
accordance with applicable Laws;

                (e)    any Contracts that are not Assumed Contracts (the “Excluded Contracts”);

                (f)    any of the following books and records: corporate seals, organizational
documents, corporate governance agreements, minute books, stock books, books of account or
other records having to do with the corporate organization or governance of any Business Entity,
all employee-related or employee benefit-related files or records (other than personnel files of
Transferred Employees identified by Purchaser as being included in the Purchased Assets), and
any other books and records which any Business Entity is prohibited from disclosing or
transferring to Purchaser under applicable Law and is required by applicable Law to retain;

              (g)     all insurance policies of any Business Entity and all rights to applicable
claims and proceeds thereunder;

                (h)     equity securities or other ownership interest of Sellers and any of Seller’s
direct or indirect subsidiaries;

               (i)     any Business Entity’s claims for and rights to receive Tax refunds with
respect to taxable periods (or portions thereof) ending prior to the Closing Date, and Tax Returns
with respect to taxable periods (or portions thereof) ending prior to the Closing Date, and any
notes, worksheets, files or documents relating thereto;

                (j)    any Business Entity’s bank accounts;

              (k)    Sellers’ rights under this Agreement, including rights relating to the
Purchase Price hereunder, any agreement, certificate, instrument or other document executed and
delivered between Sellers and Purchaser in connection with the transactions contemplated
hereby, and any other agreement between Seller and Purchaser entered into on or after the date
hereof;

              (l)     any assets, rights or properties to the extent related to, or used or held for
use in any other business lines of any Business Entity that are not the Business, including the
Peer 39 Business (including, for the avoidance of doubt, (i) the Peer 39 trademarks and
tradenames and (ii) the Peer 39 Business features and functionality that are offered or utilized in
connection with the services provided by the Business);

                (m)    all Intercompany Claims and Intercompany Agreements;

                (n)     all claims and actions of any Debtor or against Affiliates, directors,
officers or insiders (as defined in Bankruptcy Code Section 101(31)) of any Debtor arising under
Sections 510, 541, 544, 545, 547, 548, 549, 550, 553 or 558 of the Bankruptcy Code or similar
state laws,

                (o)    any adequate assurance deposit under Section 366 of the Bankruptcy
Code; and


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                (p)    claims, refunds, causes of action and rights of recovery, to the extent not
related to the Business, as a result of publishers, exchanges or other partners allowing ads to be
served to fraudulent traffic.

         Section 2.3   Assumed Liabilities; Excluded Liabilities.

                (a)    At the Closing, Purchaser shall assume and agree to perform and discharge
only the following Liabilities of Sellers to the extent not previously performed or discharged, and
no others (collectively, the “Assumed Liabilities”):

                       (i)    all Liabilities of a Seller which first accrue and are to be performed
from and after the Closing under the Assumed Contracts, and which relate solely to periods of
time on or after the Closing;

                      (ii)   all Liabilities and obligations relating to and arising from the
operation of the Business or the possession or ownership of or interest in the Purchased Assets
after the Closing;

                       (iii)   all Purchaser Cure Payments; and

                        (iv)   all Liabilities (including wages and commissions) relating to the
employment of the Transferred Employees that accrue on or after the Closing and relate to
periods of employment with Purchaser or its Affiliates after the Closing (it being acknowledged
that Sellers shall be liable for the wages and commissions and other Liabilities relating to the
employment of the Transferred Employees that accrue prior to the Closing Date or relate to
periods of employment with any of the Sellers or any Business Entity before the Closing).

                (b)     Other than the Assumed Liabilities, Purchaser shall not assume or be
bound by or be obligated or responsible for, and Sellers shall pay or otherwise satisfy, any duties,
responsibilities, services, commitments, expenses, obligations or liabilities of any Seller, any
other Business Entity or relating to the Business or the Purchased Assets (or which may be
asserted against or imposed upon Purchaser as a successor or transferee of any Seller or any
other Business Entity as an acquirer of the Purchased Assets as a matter of law) of any kind or
nature, fixed or contingent, known or unknown, including the following (collectively, the
“Excluded Liabilities”):

                       (i)    any Liability (A) for Taxes of any Business Entity, or (B) Taxes
relating to the Purchased Assets or the Business for any period prior to the Closing Date;

                     (ii)   any Liability of any Seller or any other Business Entity under any
Excluded Contract or Excluded Asset;

                      (iii) any Liability of Seller or any other Business Entity relating to and
arising from operation, possession or ownership of or interest in the Business or the Purchased
Assets prior to the Closing Date, including all Liabilities for wages, commissions and benefits
relating to the employment of any employee prior to the Closing or the termination of their
employment with any Seller or Business Entity;


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                     (iv)    any Liability under the WARN Act as to any current or former
employee of any of the Sellers or any Business Entity, whether accruing before, on, or after the
Closing, except any such Liabilities to any of the Transferred Employees that accrue after the
Closing and arise from a covered employment loss with Purchaser or its Affiliates after the
Closing;

                        (v)    any Liability of any Seller or any other Business Entity arising out
of or resulting from its compliance or noncompliance with any Law;

                     (vi)   any Liability of any Seller or any other Business Entity relating to
any Legal Proceeding arising out of or in connection with the conduct of the Business or any
other conduct of any Business Entity or any of its officers, directors, employees, consultants,
agents or advisors, in each case, for the period prior to Closing (other than the Assumed
Liabilities);

                      (vii) any Liabilities of any Seller or any other Business Entity arising
under or in connection with any Employee Plans of, or maintained or required to be maintained
by, any Business Entity;

                     (viii) any Liability of any Seller or any other Business Entity to pay any
fees or commissions to any broker or finder in connection with the transactions contemplated by
this Agreement; and

                     (ix)    any other Liability of any Seller or any other Business Entity that
is not an Assumed Liability.

                 (c)    Purchaser may amend the Schedules setting forth the Assumed Contracts
and the Excluded Contracts attached hereto at any time on or before one (1) business day prior to
the Closing Date in order to exclude from the definition of Assumed Contract, and include in the
definition of Excluded Contract, any Contract not otherwise excluded in the definition thereof;
provided, however, the prior written consent of the First Lien Agent (which shall not be
unreasonably withheld) and the Sellers (which shall not be unreasonably withheld) shall be
required in order to remove any vendor or supplier Contracts from the Schedule of Assumed
Contracts and include them on the Schedule of Excluded Contracts if any such Contracts would,
if excluded as an Excluded Contract, reasonably be expected to cause or result in Liability to the
Sellers (in the form of cure costs, rejection damages, additional accounts payable or otherwise) in
excess of $25,000 per Contract or $200,000 for all such Contracts. The parties hereto, with the
consent of the First Lien Agent (which consent shall not be unreasonably withheld) with respect
to assets of the Debtors with a value of more than $25,000, may upon their mutual consent
amend any of the schedules described in Section 2.1 at any time on or before one (1) business
day prior to the Closing Date.

             (d)    The Assumed Contracts of the Debtors shall be assumed by the applicable
Debtor and assigned to Purchaser in accordance with the requirements of Section 365 of the
Bankruptcy Code and the Sale Order.

         Section 2.4   Required Consents.


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               (a)    Notwithstanding anything to the contrary contained herein, to the extent
that the sale, conveyance, transfer, assignment or delivery or attempted sale, conveyance,
transfer, assignment or delivery to Purchaser of any Purchased Asset (including pursuant to
Sections 363 and 365 of the Bankruptcy Code if applicable) (i) is prohibited by any applicable
Law or (ii) would require the consent of any third party or any Governmental Authority and such
consent cannot be effectively overridden or canceled by the Sale Order or other related order of
the Bankruptcy Court (all such required consents of third parties which are necessary for the
consummation of the transactions contemplated hereby, the “Required Consents”) and shall
otherwise not have been obtained prior to Closing, this Agreement shall not constitute a sale,
conveyance, transfer, assignment or delivery, or an attempted sale, conveyance, transfer,
assignment or delivery of such Purchased Asset and the provisions set forth below in Section
2.4(b) shall govern.

                (b)     During the period from the date hereof through the Closing Date, Sellers
shall, and shall cause their Affiliates to, use their best efforts to obtain promptly (and before
Closing) the consents with respect to the contracts set forth on Schedule 2.4(b). For a period of
ninety (90) days following the Closing Date, the parties hereto shall have a continuing obligation
to use their respective commercially reasonable efforts to cooperate with each other and to obtain
promptly all Required Consents and each party hereto shall provide all of the assistance that is
reasonably requested by the other party hereto in connection with securing such Required
Consents. If any Required Consent shall not be obtained, Sellers, to the maximum extent
permitted by law and the Purchased Assets, shall act after the Closing as Purchaser’s agent in
order to obtain for it the benefits thereunder. The parties’ obligations under this Section 2.4(b)
shall be subject to the Efforts Conditions.

                (c)    If, at any time after entry of the Sale Order by the Bankruptcy Court and
for a period of up to ninety (90) days following the Closing Date, (i) Purchaser identifies any
asset relating to the Business that it believes is material or necessary to purchase that is not a
Purchased Asset pursuant to Section 2.1, (ii) Sizmek Israel (and the First Lien Agent, with
respect to assets of the Debtors) agrees in writing that such asset should be a Purchased Asset
(which agreement shall not be unreasonably withheld), and (iii) such asset is still owned by a
Business Entity, then such asset shall be deemed to be a Purchased Asset for all purposes of this
Agreement, and the Sellers shall use, and shall cause each of the other Business Entities to use,
commercially reasonable efforts to convey such asset to Purchaser. For the avoidance of doubt,
to the extent any contract is deemed to be a Purchased Asset pursuant to this Section 2.4(c), such
Contract shall be deemed to be an Assumed Contract for all purposes of this Agreement.

        Section 2.5 Accounts Receivable. If, at any time after the Closing, (a) Purchaser
receives any payments with respect to Sellers Accounts Receivable, Purchaser shall pay all such
amounts to the applicable Seller, or (b) any Seller or any other Business Entity receives any
payments from any third-party relating to or arising from the Purchaser’s ownership of the
Purchased Assets or operation of the Business after the Closing, including any payments with
respect to Purchaser Accounts Receivable, Sellers shall pay, or cause such other Business
Entities to pay, all such amounts to the Purchaser, in each case within ten (10) business days of
receipt thereof; provided, however, that with respect to clause (a), Purchaser may reduce such
amounts by the amount of any Sellers Cure Payments that Purchaser has paid on behalf of any
Business Entity with the prior written consent of Sellers.

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        Section 2.6 Delivery of Assets. Sellers shall deliver, or cause to be delivered, the
Purchased Assets to Purchaser or an Affiliate of Purchaser designated in writing by Purchaser at
the Closing using such delivery method as Purchaser may reasonably request prior to the
Closing, including by way of electronic delivery. Any source code, software, or other intangible
assets in electronic form that are included within the Purchased Assets shall be delivered by way
of electronic delivery upload from computer storage devices owned by Sellers directly to
computer storage devices owned by Purchaser or by such other method as may be reasonably
requested by Purchaser.

                                   ARTICLE III
                            PURCHASE PRICE; ALLOCATION

       Section 3.1 Purchase Price. In exchange for the sale, assignment, transfer, conveyance
and delivery of the Purchased Assets, Purchaser shall:

                (a)   assume the Assumed Liabilities; and

                (b)     pay, as the purchase price for the Purchased Assets (the “Purchase Price”),
(i) Thirty Million U.S. Dollars ($30,000,000) in cash less (ii) the aggregate amount of the
Outstanding Accrued Employee Liabilities to the extent Sellers have not paid such amount prior
to the Closing (the “Closing Cash Payment”), which shall be allocated among Sizmek UK,
Sizmek Israel, and Parent based on the relative value of the respective Purchased Assets sold by
them hereunder (which allocation shall be reasonably agreed among the parties hereto and be
based on the allocation set forth in the PwC Report). For the avoidance of doubt, and
notwithstanding anything else to the contrary in this Agreement but subject to Section 8.6(c) and
this Section 3.1(b), the Purchase Price is exclusive of any applicable European Union or Israeli
VAT and any such VAT, to the extent applicable, shall be Purchaser’s sole liability and
responsibility; provided, however, that any Israeli VAT applicable solely to the sale and
purchase of the Company IP to a Purchaser designee that is not an Israeli resident for purposes of
Israeli VAT will be paid by the Sellers and the Purchaser in accordance with Section 8.6(c). Any
VAT which is payable in Israel or the United Kingdom in respect of Israeli Purchased Assets and
UK Purchased Assets, as applicable, shall be added to the portion of the Purchase Price allocable
to such assets and shall be paid by the Israeli Assets Purchaser or UK Assets Purchaser, to
Sizmek Israel or Sizmek UK, as applicable, provided, however, that Sizmek Israel and Sizmek
UK, as relevant, shall issue and deliver to the Israeli Assets Purchaser and UK Assets Purchaser,
as applicable, valid tax invoices in accordance with Section 8.6(c).

At least five (5) days prior to the Closing, (i) Sellers shall certify to Purchaser in writing all
required Cure Payments with respect to the Assumed Contracts and (ii) Purchaser shall notify
Sellers which Purchased Assets, Assumed Liabilities or Transferred Employees will be Israeli
Purchased Assets and UK Purchased Assets and will be purchased, assumed or hired by an
Israeli Assets Purchaser and UK Assets Purchaser, as applicable. The relative value of the Israeli
Purchased Assets and the UK Purchased Assets sold, assumed or hired hereunder shall be
reasonably agreed among the parties hereto and shall be based on an allocation to be set forth in
the PwC Report to be delivered at least one day prior to Closing. The Israeli Assets Purchaser
and UK Assets Purchaser, as applicable, shall add to the Purchase Price allocable to such assets
and pay to Sizmek Israel or Sizmek UK, as applicable, the VAT which is payable in Israel or the


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United Kingdom applicable thereto, in a way that such VAT is borne and paid solely by the
Purchaser or Purchaser’s designee in accordance with Section 8.6(c). Unless Purchaser notifies
Sellers otherwise in writing in accordance with the foregoing, Sellers may conclude that
Purchaser and any Purchaser designee who purchases, assumes, or hires any of the Purchased
Assets, Assumed Liabilities, or Transferred Employees of Sizmek Israel or Sizmek UK are not
Israeli residents for Israeli VAT purposes or residents in the European Union for United
Kingdom VAT purposes.

        Section 3.2 Deposit. No later than five (5) business days after the date hereof,
Purchaser shall provide a cash deposit in the amount of Three Million U.S. Dollars ($3,000,000)
which amount shall be deposited and held in escrow with SunTrust Bank (the “Deposit”)
pursuant to an escrow agreement in form and substance customary for a transaction of this nature
and otherwise reasonably acceptable the parties hereto. If the Closing occurs, subject to the Sale
Order, the Deposit shall be released to Sellers (or their designee(s)) and credited towards the
Closing Cash Payment. If the Closing does not occur, then the Deposit shall be disbursed as
follows: (i) in the event of a termination of this Agreement by Sellers pursuant to Section
11.2(c), the Deposit shall be released to Sellers (or their designee(s)) as liquidated damages in
accordance with the allocation pursuant to Section 3.1(b); and (ii) in the event of a termination of
this Agreement for any other reason, the Deposit shall be returned to Purchaser. Purchaser and
Sellers shall deliver joint written instructions to the escrow agent with respect to the release of
the Deposit set forth in the preceding sentence.

        Section 3.3 Purchase Price Allocation. The parties agree to allocate for Tax purposes
(and, as applicable, to cause their respective Affiliates to allocate for Tax purposes) the Purchase
Price and any other amounts treated as additional consideration for Tax purposes among the
Purchased Assets in accordance with the following procedures and, to the extent applicable, in
accordance with Section 1060 of the Code, and the Treasury Regulations promulgated
thereunder and with respect to Purchased Assets acquired from Sizmek Israel, in accordance with
applicable Israeli Tax laws; provided, however, that the allocation among the various Sellers
shall be consistent with the allocation of the Closing Cash Payment among the Sellers as
provided in Section 3.1(b). Within ninety (90) days after the Closing Date, Purchaser shall
deliver to Parent (or such other Person as the parties may agree) a proposed allocation of the
Purchase Price and any other amounts treated as additional consideration for Tax purposes as of
the Closing Date (the “Purchaser’s Allocation”). No later than thirty (30) days following the
delivery of the Purchaser’s Allocation, Parent may deliver to Purchaser a statement setting forth
in reasonable detail any objections thereto, the basis for such objections, and Parent’s proposed
allocation (“Sellers’ Allocation Notice”). If Parent timely delivers to Purchaser a Sellers’
Allocation Notice, Parent and Purchaser shall, during the twenty (20) days following such
delivery, use commercially reasonable efforts to reach agreement on the disputed items or
amounts. The Purchaser’s Allocation, if no Sellers’ Allocation Notice is timely delivered, or as
adjusted pursuant to any agreement between the Parent and Purchaser during the twenty (20) day
period following the timely delivery of Sellers’ Allocation Notice (the “Allocation”), shall be
final and binding on the parties; provided, that if Sellers’ Allocation Notice is timely delivered
and Parent and Purchaser are unable to reach agreement within such twenty (20) day period, they
shall not be required to reach agreement, and each party shall file its respective Tax Returns in
accordance with such allocation as it determines to be correct and consistent with applicable
Law. If an Allocation is determined pursuant to the foregoing provisions of this Section 3.2,

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each of the parties (a) shall (and shall cause its Affiliates to) prepare and file all Tax Returns (and
Internal Revenue Service Forms 8594) in a manner consistent with the Allocation and (b) shall
not (and shall cause its Affiliates not to) take any position on any Tax Return or in connection
with any Tax proceeding inconsistent with the Allocation, in each case, except to the extent
otherwise required by a “determination” within the meaning of Section 1313(a) of the Code (or
any analogous provision of applicable state, local or non-U.S. Law).

                                 ARTICLE IV
                   INSTRUMENTS OF TRANSFER AND ASSUMPTION

        Section 4.1 Transfer Documents. At the Closing, Sellers shall deliver to Purchaser
(a) one or more Bills of Sale in form and substance reasonably satisfactory to Purchaser (the
“Bills of Sale”), and (b) all such other good and sufficient instruments of sale, transfer and
conveyance consistent with the terms and provisions of this Agreement, including an assignment
of the Company IP in form and substance reasonably satisfactory to Purchaser (the “Intellectual
Property Assignment Agreement”) and any other assignments as shall be reasonably necessary to
vest in Purchaser all of Seller’s right and title to, and interest in, the Purchased Assets.

        Section 4.2 Assignment and Assumption Documents. At the Closing, Purchaser and
Sellers, as applicable, shall execute and deliver one or more Assignment and Assumption
Agreements in form and substance reasonably satisfactory to Purchaser (the “Assumption
Agreements”) in order to effect the assignment and assumption of the Assumed Liabilities.

                                            ARTICLE V
                                             CLOSING

        Section 5.1 Closing Date. Subject to the terms and conditions hereof, the closing of
the transactions contemplated by this Agreement (the “Closing”) shall take place via email, at the
offices of Katten Muchin Rosenman LLP, 575 Madison Avenue, New York, NY 10022, or at
such other location as may be mutually agreed upon among the parties hereto on the earliest
practicable business day after the date on which all conditions to Closing set forth in Articles IX
and X have been satisfied (or waived) or such later date as the parties mutually agree in writing
(the “Closing Date”). The Closing shall be effective as of 12:01 a.m. Eastern Time on the
Closing Date.

                                  ARTICLE VI
                   SELLERS’ REPRESENTATIONS AND WARRANTIES

        Each Seller represents and warrants to Purchaser that the statements contained in this
Article VI are true and correct as of the date of this Agreement, subject to the disclosures and
exceptions set forth in the Disclosure Schedules attached hereto:

        Section 6.1 Organization, Qualification and Corporate Power. Each Seller is a
company duly organized, validly existing and in good standing under the Laws of the state or
country of its formation and is in good standing under the Laws of each jurisdiction where such
qualification is required, except where the lack of such qualification or failure to be in good
standing would not reasonably be expected to have a Material Adverse Effect. Each Business
Entity has all necessary power and authority to own and operate its properties and to carry on its

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business as it is now being conducted. Subject to entry of the Sale Order, each Seller has the
corporate power and corporate authority to execute and deliver and perform its obligations under
this Agreement and the other Transaction Documents, and to undertake the transactions
contemplated hereby and thereby. As used herein, the term “Transaction Documents” means this
Agreement and all other agreements, documents and instruments executed in connection
herewith or required to be executed and/or delivered by a Seller in accordance with the
provisions of this Agreement.

       Section 6.2 Authorization, Execution and Delivery of Agreement and Transaction
Documents. Subject to the entry of the Sale Order, the execution, delivery and performance of
this Agreement and the other Transaction Documents by each Seller and the transfer or
assignment of the Purchased Assets to Purchaser have been duly and validly authorized and
approved by all necessary corporate action of each Seller. Subject to the entry of the Sale Order
and receipt of the Required Consents, each Seller has full power, right and authority to sell and
convey to Purchaser the Purchased Assets owned by such Seller.

         Section 6.3 Title to Assets; Sufficiency of Assets. Each Business Entity has title to, or
a valid leasehold interest in, all of the properties and assets included in the Purchased Assets that
it is conveying pursuant hereto. Subject to entry of the Sale Order and upon the consummation of
the transactions contemplated hereby and by the Transaction Documents, Purchaser shall acquire
title to all of the Purchased Assets, free and clear of all Liens other than Permitted Liens. Except
for the Excluded Assets set forth in Sections 2.2(a), 2.2(b) and 2.2(g), the Purchased Assets are
sufficient for the continued conduct of the Business after the Closing in substantially the same
manner as conducted as of the date hereof (subject to (i) any Excluded Contracts that Purchaser
elects not to acquire as provided in Section 2.3(c) and (ii) any services provided under the
Transition Services Agreement) and constitute all of the material rights, property and assets
necessary to conduct the Business as conducted as of the date hereof. Except for the Excluded
Assets set forth in Sections 2.2(a), 2.2(b) and 2.2(g), none of the Excluded Assets are material to
or necessary for the conduct of the Business. The Purchased Assets include all material books
and records owned, primarily used or primarily held for use by any Business Entity with respect
to the Business. No Affiliate of any Seller that is not a Business Entity has any right, title or
interest in, to or under any properties, assets and rights primarily used in, or primarily held for
use in, the Business, other than immaterial assets, and no Seller or Affiliate of Seller has any
claim against the Business or any Business Entity in respect of the Business, other than
Intercompany Claims and Intercompany Agreements.

       Section 6.4 Legal Proceedings. Except for the Bankruptcy Case and as set forth on
Schedule 6.4, there is no Legal Proceeding pending or, to the Knowledge of Sellers, threatened
in writing against any Business Entity, the Business or the Purchased Assets (or to the
Knowledge of Sellers, pending or threatened, against any of the officers, directors or employees
of any Business Entity with respect to their business activities related to the Purchased Assets or
the Business) (a) that as of the date hereof challenges or that as of the date hereof is reasonably
expected to have the effect of preventing, making illegal, delaying or otherwise interfering with
any of the transactions contemplated by this Agreement; or (b) that is related to the Purchased
Assets or the Business.




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        Section 6.5 Real Property. No Seller owns any real property. Schedule 6.5 sets forth
the street addresses of all real property primarily used or primarily held for use in the Business
which any Business Entity leases, operates, occupies or subleases in connection with the
Business or upon which any tangible Purchased Assets are located and all instruments,
easements, leases, subleases, options and other material agreements (including all amendments
thereto) creating any interest or right in any Business Entity or any other party in any of the real
property specifying the name of the lessor or sublessor (as applicable) (collectively, the “Real
Property Leases”) and Sellers have provided true and complete copies of all such Real Property
Leases to Purchaser.

        Section 6.6 No Violation of Laws or Agreements. Subject to the entry of the Sale
Order and receipt of the Required Consents, the execution and delivery by Sellers of this
Agreement and the Transaction Documents contemplated hereby, the performance by any Seller
or any other Business Entity of obligations hereunder and thereunder and the consummation by
any Seller or any other Business Entity of the transactions contemplated herein and therein shall
not violate, (a) any Laws or any judgment, decree, order, regulation or rule of any court or
Governmental Authority to which any Business Entity is subject; (b) result in any breach of, or
constitute a default (or event which with the giving of notice or lapse of time, or both, would
become a default) under, or give to any Person any rights of termination, amendment,
acceleration or cancellation of, or result in the creation of any Lien on any of the Purchased
Assets, any note, bond, mortgage, indenture, contract, agreement, lease, license, permit,
franchise or other instrument to which any Business Entity is a party and which relates to any of
the Purchased Assets; or (c) contravene, conflict with or result in a violation of any provision of
any organizational documents of any Business Entity, except in the cases of clauses (a) and (b)
for such violations which are not material to the Business.

        Section 6.7 Employee Benefits. Schedule 6.7 sets forth all material Employee Plans
covering employees, directors or consultants or former employees, directors or consultants in, or
related to, the Business or any of the Business Entities. Sellers have made available to Purchaser
true and complete summaries of all such material Employee Plans, including summaries of
written descriptions thereof that have been distributed to employees, directors or consultants of
any of the Business Entities, all annuity contracts or other funding instruments relating thereto,
and a summary description of all Employee Plans which are not in writing.

        Section 6.8 Labor Matters. Except as set forth on Schedule 6.8 and except for offer
letters or contracts that may be terminated “at will” and do not contain post-termination
obligations in excess of any such obligations imposed by applicable Law, there are no
employment, consulting, severance or indemnification contracts between Sellers, any Business
Entity or any Affiliate of Sellers or the Business Entities and any employees who work for or
directly or indirectly support the Business (the “Business Employees”). Except as set forth on
Schedule 6.8, each Business Entity (a) is not and for the past five years has never been a party to
or bound by any collective bargaining or similar agreement with any labor organization, trade
union, works council or other organization or body involving any of its Business Employee or
Business Employee representatives; is not otherwise required (under any Law, under any
Contract or otherwise) to provide payment, benefits or working conditions under any of the
foregoing; and has never had any employees that are represented by any labor organization, trade
union, works council or other similar organization or body; (b) is not and for the past five years

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has never been a member of any employers’ association or organization and has never paid and
is not required to pay and has never been requested to pay any payment (including professional
organizational handling charges) to any employers’ association or organization; (c) is not subject
to any extension orders and no employee benefits from any such extension orders other than
extension orders applicable generally to the workforce in Israel; and (d) has no knowledge of any
existing or past organizing activities among the Business Employees of any Business Entity. No
Business Entity has ever been engaged in any unfair labor practice of any nature. Sellers have
delivered a true and complete list, organized by country, of all Business Employees to Purchaser,
which list includes each employee’s name, position and title, employment entity, department,
work location, scope of employment (e.g., full- or part-time or temporary), overtime
classification (e.g., exempt or non-exempt), date of commencement of employment, prior notice
entitlement, salary and any and all other compensation or benefit payable, maintained or
contributed to or with respect to which any potential liability is borne by Sellers or any Affiliate
of Sellers (whether now or in the future, by virtue of any Law, Contract or otherwise) to each of
the listed employees (the “Employee Census”). Other than their salaries and other compensation
as set forth in the Employee Census, the Business Employees are not entitled to any material
payment or benefit that should be reclassified as part of their determining salary for any purpose.
No Business Employee is entitled (by virtue of any Contract or policy of Sellers or any of their
Affiliates) to any material benefits, entitlement or compensation that is not listed on the
Employee Census. Sellers have delivered a true and complete list of all present independent
contractors and consultants (“Contractors”) engaged by each Business Entity with respect to the
Business, which list includes each Contractor’s name, date of commencement, and rate of all
regular compensation and benefits, bonus or any other compensation payable (the “Contractor
Census”). All current and former Contractors of the Business are and have been rightly classified
as independent contractors and are not entitled to any employment benefits which would be
material to the Sellers. Without derogating from any of the above representations, the Seller’s
liability towards its Israeli employees or employees residing in Israel regarding severance pay,
accrued vacation and contributions to all Employee Plans are fully funded or, if not required by
Law to be fully funded are accrued on the Financial Statements as of the date of such Financial
Statements.

        Section 6.9 Brokers. Except for those persons set forth on Schedule 6.9, to whom
Sellers shall be solely responsible for any fees or commissions owing, no Business Entity has
engaged any agent, broker or other Person acting pursuant to the express or implied authority of
any Business Entity which is or may be entitled to a commission or broker’s or finder’s fee in
connection with the transactions contemplated by this Agreement or otherwise with respect to
the sale of the Purchased Assets.

        Section 6.10 Permits. Each Business Entity is and at all times has been in compliance
in all material respects with all permits applicable to it, or applicable to the conduct and
operations of the Business, or relating to or affecting the Purchased Assets. No Business Entity
has received any written notice from any Governmental Authority specifically alleging (a) any
actual, alleged, possible or potential material violation of, or failure to comply with, any such
permits or (b) any actual, alleged, possible or potential revocation, withdrawal, suspension,
cancellation or termination of, or any modification to, any permit. Schedule 6.10 sets forth all of
the permits material to the operation of the Business.


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        Section 6.11 Taxes; Tax Returns. Except as set forth on Schedule 6.11, no Business
Entity has received any outstanding notice of audit, and is not undergoing any audit, of Tax
Returns relating to the Business and has never received any written notice of deficiency or
assessment from any taxing authority with respect to liability for any material amount of Taxes
relating to the Business which has not been fully paid or finally settled. Except as set forth on
Schedule 6.11, each Business Entity has complied in all material respects with all applicable
Laws, rules and regulations relating to the payment and withholding of Taxes and has withheld
all material amounts required by law to be withheld from the wages or salaries of employees and
independent contractors of the Business and is not liable for any material Taxes with respect to
the employees and independent contractors of the Business for failure to comply with such laws,
rules and regulations. Except as set forth on Schedule 6.11, neither Sizmek Israel nor any other
Business Entity participates in, or has ever participated in or been engaged in, any transaction
listed in Section 131(g) of the Israeli Income Tax Ordinance [New Version] 5721-1961 and the
rules and regulations promulgated thereunder (the “Ordinance”) and the Income Tax Regulations
(Reportable Tax Planning), 5767-2006 promulgated thereunder, or any similar provision under
any other local or foreign Tax Law. Except as set forth on Schedule 6.11, neither Sizmek Israel
nor any other Business Entity is subject to any reporting obligations under Sections 131D and
131E of the Ordinance or any similar provision under any other local or foreign Tax Law,
including with respect to value added Taxes. Neither Sizmek Israel nor any other Business Entity
is or has ever been a real estate corporation (Igud Mekarke’in) within the meaning of this term
under Section 1 of the Israeli Land Taxation Law (Appreciation and Acquisition), 5723-1963.
Except as set forth on Schedule 6.11, there are no Tax rulings, Contracts and arrangements
(whether by written agreement or not) issued by any Tax authority relating to the Purchased
Assets. The prices and terms for the provision of any related party transaction as defined in the
relevant transfer pricing Laws, including for the avoidance of doubt, to the extent applicable,
under Section 85A of the Ordinance, entered into by any of the Sellers are at arm’s length.

         Section 6.12 Compliance with Laws.

               (a)     Each Business Entity and the conduct of the Business are and at all times
have been in compliance in all material respects with all Laws applicable to them or to the
conduct and operations of the Business or relating to the Purchased Assets. Except as set forth
on Schedule 6.12, no Business Entity has received any written notice to the effect that, or
otherwise been advised of, and to the Knowledge of Sellers there has not occurred with respect
to the Purchased Assets or the Business, (a) any actual, alleged, possible or potential violation of,
or failure to comply with, in all material respects, any such Laws, or (b) any actual, alleged,
possible or potential obligation on the part of any Business Entity to undertake, or to bear all or
any portion of the cost of, any material remedial action of any nature.

               (b)     Each Business Entity and the conduct of the Business is, and at all times
has been, in compliance with applicable Laws of the United States and other jurisdictions in
which the Business Entities operate or to which any Business Entity is subject with respect to
import and export control and economic sanctions, including the U.S. Export Administration
Regulations, the U.S. International Traffic in Arms Regulations, and the U.S. Department of the
Treasury Office of Foreign Asset Control (“OFAC”) economic sanctions regulations. No
Business Entity has at any time been counterparty to any commercial agreement with any Person
who is the target of, or listed as a designated person in respect of, any economic sanction

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administered by OFAC or the U.S. Department of Commerce or has engaged, directly or
indirectly, in any business with or related to any country or territory that is the subject of any
comprehensive economic or financial sanctions or trade embargoes administered or enforced by
OFAC (currently Crimea, Cuba, Iran, Sudan, Syria, and North Korea).

                (c)    No Business nor any of its representatives acting on its behalf has at any
time (i) taken any action, directly or indirectly, in violation (or that may result in any violation)
of Anti-Bribery Laws, including corruptly making, offering, authorizing or promising any
payment, contribution, gift, business courtesy, bribe, rebate, kickback or any other thing of value,
regardless of form or amount, to any Person to induce the recipient to act improperly, to obtain a
competitive advantage for any party or to receive favorable treatment in obtaining or retaining
business or (ii) corruptly or improperly accepted, received or solicited anything of value in
connection with the Business. Each Business Entity conducts, and has at all times conducted, its
business in compliance with Anti-Bribery Laws and none of any Business Entity’s principals,
stockholders, directors, officers, employees, or other agents is an official, agent, employee, or
representative of any national, provincial, or local government, wholly or partially government-
owned or government-controlled entity, political party, political candidate, or public
international organization.

        Section 6.13 Material Contracts. Schedule 6.13 sets forth an accurate and complete list
in all material respects of all material Contracts (a) by which any of the Purchased Assets are
bound or affected or (b) to which any Business Entity is a party or by which it is bound in
connection with the Business or the Purchased Assets (together with all Real Property Leases
and the IP Agreements, the “Material Contracts”) and indicates, where applicable, if such
Material Contract also applies to assets that are not Purchased Assets or services that are not part
of the Business. No Business Entity or, to the Knowledge of Sellers, any other party thereto, is
in material breach of, or material default under, any Material Contract except for any material
breach of or default under, any Material Contract that (a) would be remedied solely by the
payment of Cure Payments and (b) arises directly and solely from the filing of the Bankruptcy
Case.

         Section 6.14 Intellectual Property.

                 (a)   The Business Entities exclusively own, or have the valid right or license to
exploit, all of the Company IP, free and clear of all Liens (other than Permitted Liens).

              (b)     The Company IP is sufficient intellectual property for the conduct of the
Business on the date hereof.

                (c)  An accurate and complete list in all material respects of all Contracts
related to the Company IP (the “IP Agreements”) is set forth on Schedule 6.14(c).

                (d)     Schedule 6.14(d) sets forth an accurate and complete list in all material
respects of all of the Company IP owned by any of the Business Entities subject to any issuance,
registration, application or other filing by, to or with any Governmental Authority or authorized
private registrar in any jurisdiction, including registered trademarks, domain names, and



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copyrights, issued and reissued patents and pending applications for any of the foregoing (the “IP
Registrations”).

             (e)     Sellers have provided to Purchaser true and complete copies of all of the
IP Agreements and the IP Registrations.

                (f)     The operation of the Business and the Company IP (i) do not conflict with,
infringe, violate, or interfere with or misappropriate any right, title or interest of any Person and
(ii) do not and shall not constitute unfair competition or unfair trade practices under any Laws.
There is no pending or threatened claim that any of the Company IP is invalid or contesting the
ownership or right of any Seller to use or exploit any of the Company IP, and, to the Knowledge
of Sellers, there is no basis for any claim contesting the ownership or right of any Seller to use or
exploit any of the Company IP.

               (g)      To the Knowledge of the Sellers, there is and has been no unauthorized
use, unauthorized disclosure, infringement, violation, or misappropriation of any Company IP by
any Person. No Business Entity has received any notice within the last three years (whether
written or oral) that any Person is infringing, violating, or misappropriating any Company IP or
otherwise making any unauthorized use or disclosure of any Company IP. To the Knowledge of
the Sellers, no such infringement, violation, misappropriation, use, or disclosure is occurring or
has occurred.

                 (h)   Each current or former director, officer, employee, consultant, and
contractor who has been materially involved in, or who contributed to, the creation or
development of any of the Company IP (each, an “IP Contributor”) in sufficient degree as to
otherwise derive a right, title or interest in such Company IP, such IP Contributor has executed
and delivered to the applicable Business Entity a valid and enforceable assignment in the form
provided to Purchaser of all rights, title, and interests that such Person may have, may have had,
or may hereafter acquire in or to such Company IP and a valid and enforceable waiver of any and
all rights (including moral rights) that such Person may have (an “IPAA”). All amounts payable
by the Sellers to any IP Contributor have been paid in full, and all employees have expressly and
irrevocably waived the right to receive additional compensation in connection with “Service
Inventions” under Section 134 of the Israeli Patent Law - 1967 (or any similar provision under
any legal requirement of any applicable jurisdiction) for any intellectual property rights and no
additional compensation or royalties are due to any employee for the use of Company IP,
including pursuant to Section 134 to the Israeli Patent Law – 1967.

                (i)    Schedule 6.14(i) lists and describes all material Open Source Materials
(including release number, if any) included in or integrated with (including as a programming
dependency)the Business’s products and services, and/or any tools or environments for
development, testing, monitoring, and/or deployment thereof, and (i) the Open Source License
(including version number, if any) under which any Business Entity uses such Open Source
Materials, (ii) the URL, if any, where such Open Source Materials were accessed by such
Business Entity, (iii) whether such Open Source Materials have been modified by or for such
Business Entity (including a description of such modifications, if any), (iv) whether such Open
Source Materials have been distributed by or for such Business Entity, and (v) whether such
Open Source Material is a Copyleft Material, and if so, how any such Copyleft Materials are

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integrated with or interact with Company IP. To the Knowledge of Sellers, no Business Entity
has: (A) incorporated any Open Source Materials into, or combined any Open Source Materials
with, any Company IP, or (B) distributed any Open Source Materials in conjunction with or for
use with any other software. No Business Entity has used any Copyleft Materials in a manner
that requires any portion of Company IP to be subject to any Copyleft License. The Business
Entities are in compliance with the terms of all relevant licenses (including all requirements
related to notices and making source code available to third parties) for all Open Source
Materials used by them. There is not, and since any Business Entity’s inception there has not
been, any notice of material non-compliance or termination from or material disagreement or
dispute with, any Person regarding any Open Source Materials or Open Source License. Sellers
have provided to Synopsys, Inc. for its review a complete and accurate copy of the most recent
version of all software that is part of any of the Business’s products or services. As used herein,
the following terms have the meanings set forth below:

                       (i)    “Copyleft Materials” means any software or content subject to a
Copyleft License.

                    (ii)      “Open Source Materials” means any software or content subject to
an Open Source License.

                       (iii) “Open Source License” means any license meeting the Open
Source Definition (as promulgated by the Open Source Initiative) or the Free Software
Definition (as promulgated by the Free Software Foundation), or any substantially similar
license, including any license approved by the Open Source Initiative, or any Creative Commons
License, and including any adaptation or modification (e.g., adding the Commons Clause) of or
exception to any such license. For the avoidance of doubt, Open Source Licenses include
Copyleft Licenses.

                        (iv)    “Copyleft License” means any license that requires, as a condition
of use, that any software or content subject to such license that is distributed, modified or
interacted with through a network (including making available to third parties as a service) (or
any other software or content incorporated into, derived from, used, or distributed with any such
software or content): (i) in the case of software, be made available to any third-party recipient in
a form other than binary form (e.g., source code form), (ii) be made available to any third-party
recipient under terms that allow preparation of derivative works, (iii) in the case of software, be
made available to any third-party recipient under terms that allow software or interfaces therefor
to be reverse engineered, reverse assembled, or disassembled (other than to the extent any
contrary restriction would be unenforceable under Law), or (iv) be made available to any third-
party recipient at no license fee. Copyleft Licenses include the GNU General Public License, the
GNU Lesser/Library General Public License, the GNU Affero General Public License, the
Mozilla Public License, the Common Development and Distribution License, the Eclipse Public
License, the European Union Public License, the Server Side Public License and all Creative
Commons “sharealike” licenses.

               (j)    Each Business Entity (a) has taken all necessary and appropriate steps to
maintain the confidentiality of its confidential and proprietary Business information and data and
know-how, (b) taken all appropriate steps to not disclose confidential, proprietary Business


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information, or know-how to any Person other than an officer, director, employee, or consultant
of that Business Entity and under a nondisclosure agreement, and (c) taken all appropriate steps
to have not deposited, disclosed, or delivered to any Person, or agreed to or permitted the
deposit, disclosure, or delivery to any Person of, any Business software source code. To the
Knowledge of the Sellers, no event has occurred, and no circumstances or conditions exist, that
with or without notice or lapse of time or both, shall, or could reasonably be expected to, result
in the disclosure or delivery to any Person of any Business software source code. No Business
Entity is in material breach of any Contract related to the protection of confidential Business
information of any Person.

                (k)     Each Business Entity has taken commercially reasonable measures to
protect and maintain the confidential nature of, and prevent unauthorized access to, Business
Personal Information contained in any computer or data storage system hosted or maintained by
or on behalf of the any Business Entity. No Business Entity sells, rents, or otherwise makes
available to third parties any Business Personal Information submitted by individuals. No claims
have been asserted or threatened in writing with respect to any Business Entity’s receipt,
collection, use, storage, processing, disclosure, or disposal of Business Personal Information. No
Business Entity is a “data controller” under an applicable Law. “Personal Information” means
data that relates to and identifies an identified or identifiable individual, including name, address,
telephone number, electronic mail address, unique government-issued identifier, bank account
number, credit card number, or any other data that may be used to identify an individual.

                (l)     Each Business Entity has implemented and maintained, consistent with
customary industry practices and its obligations to third parties, security and other measures
adequate to protect Business computers, networks, software, and systems used by the Business
Entities to store, process, or transmit the Company IP and Personal Information from loss, theft,
unauthorized access, use, disclosure, or modification. No breach, security incident or violation of
any data security policy in relation to any information or data held by or on behalf of any
Business Entity has occurred or is threatened in writing, or to the Knowledge of Sellers,
otherwise, and there has been no unauthorized or illegal processing of any such information or
data.

                (m)    No funding, facilities, resources or personnel of any Governmental
Authority, university, college, military, other educational institution or research center (each, an
“R&D Sponsor”) were used, directly or indirectly, in the development or creation of any
Company IP; provided, however, that Sizmek Israel received certain tax benefits in connection
with its research and development activities that (i) are not required to be repaid and is not
subject to royalty payments and (ii) do not create any ownership rights or other restrictions that
would apply to the Purchaser or the Purchased Assets following the Closing. No R&D Sponsor
or other third party has made any written claim of ownership interest in any Company IP. To the
Knowledge of the Sellers, no R&D Sponsor has any claim of right to, ownership of or other lien
on any Company IP. No Business Entity has received any written notice from any Governmental
Authority claiming any rights in any Company IP, including any written notice from any Israeli
Governmental Authority under Section 55, Chapter 6 or Chapter 8 of the Israeli Patent Law-
1967.



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             (n)   The Business’s products and Company IP do not involve the use or
development of, or engagement in, encryption technology, or other technology whose
development, commercialization or export is restricted or otherwise requires a license under
Law.

       Section 6.15 Solvency. Sizmek Israel and Sizmek UK are, and after giving effect to the
Transactions and the obligations incurred in connection herewith shall be, Solvent.

        Section 6.16 Financial Statements.         The Sellers have delivered to Purchaser
consolidated audited balance sheets and statements of profits and losses and cash flows of Parent
at and for the fiscal years ended December 31, 2017 and 2016 and the accompanying notes
thereto and the draft consolidated unaudited balance sheet and statements of profits and losses
and cash flows of Parent as at and for the fiscal year ended December 31, 2018 (collectively, the
“Financial Statements”). The Financial Statements fairly present in all material respects the
financial position, results of operations, and changes in financial position of the Parent on a
consolidated basis as of the dates and for the periods indicated; provided, that, the unaudited
Financial Statements are in draft form, subject to audit, year-end adjustment (which, subject to
write-offs for goodwill and intangible assets, are not material to the Business) and the absence of
notes.

                                ARTICLE VII
                PURCHASER’S REPRESENTATIONS AND WARRANTIES

        Purchaser represents and warrants to Seller that the statements contained in this
Article VII are true, correct and complete as of the date of this Agreement.

       Section 7.1 Organization; Qualification and Corporate Power. Purchaser is a
corporation duly organized, validly existing and in good standing under the Laws of the State of
Delaware. Purchaser has all necessary power and authority to (a) own and operate its properties
and carry on its business as it is now being conducted, (b) perform its obligations under this
Agreement and the other Transaction Documents, and to undertake and carry out the transactions
contemplated hereby and thereby, and (c) own the Purchased Assets.

        Section 7.2 Authorization, Execution and Delivery of Agreement and Transaction
Documents. All necessary consents and approvals have been obtained by Purchaser for the
execution and delivery of this Agreement and the Transaction Documents. The execution,
delivery and performance of this Agreement and the other Transaction Documents in accordance
with their terms by Purchaser have been duly and validly authorized and approved by all
necessary corporate action. Purchaser has full power, right and authority to acquire the
Purchased Assets. This Agreement is, and each of the other Transaction Documents when so
executed and delivered, shall be, a valid and binding obligation of Purchaser, enforceable against
it in accordance with its terms, except to the extent such enforceability may be limited by
bankruptcy, insolvency or other similar laws affecting creditors.

        Section 7.3 Brokers. Purchaser has not engaged any agent, broker or other Person
acting pursuant to the express or implied authority of Purchaser which is or may be entitled to a



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commission or broker’s or finder’s fee in connection with the transactions contemplated by this
Agreement or otherwise with respect to the sale of the Purchased Assets.

        Section 7.4 No Violation of Laws or Agreements. The performance by Purchaser of
its obligations contemplated hereunder and the consummation by Purchaser of the transactions
contemplated herein shall not violate, (a) any Laws or any judgment, decree, order, regulation or
rule of any court or Governmental Authority to which Purchaser is subject; or (b) contravene,
conflict with or result in a violation of any provision of any organizational documents of
Purchaser, except in the case of clause (a) for such violations which are not material to
Purchaser.

        Section 7.5 Legal Proceedings. There is no Legal Proceeding pending or, to the
knowledge of Purchaser, threatened in writing against Purchaser or any of the officers, directors
or employees of Purchaser that as of the date hereof challenges or that as of the date hereof is
reasonably expected to have the effect of preventing, making illegal, delaying or otherwise
interfering with any of the transactions contemplated by this Agreement.

        Section 7.6 Adequate Assurances Regarding Closing Cash Payment. As of the
Closing, Purchaser shall have sufficient funds available to deliver the Closing Cash Payment to
Seller and shall be capable of satisfying the conditions contained in Sections 365(b)(1)(C) and
365(f) of the Bankruptcy Code with respect to the Assumed Contracts, as applicable.

        Section 7.7 Purchaser Experience; Non-Reliance. Purchaser is experienced and
sophisticated with respect to transactions of the type contemplated by this Agreement. Purchaser
agrees to accept the Purchased Assets and the Assumed Liabilities in the condition they are in at
the Closing without reliance upon any express or implied representations or warranties of any
nature made by or on behalf of or imputed to Sellers, except as expressly set forth in this
Agreement.

                                ARTICLE VIII
            SELLER’S AND PURCHASER’S COVENANTS AND AGREEMENTS

        Section 8.1 Conduct of Business. Except as otherwise expressly contemplated by this
Agreement or with the prior written consent of Purchaser or except as described on Schedule 8.1,
from the date hereof until the Closing Date, each Seller shall use, and shall cause the other
Business Entities to (i) use, commercially reasonable efforts to preserve the Purchased Assets
and (ii) operate the Business in the Ordinary Course of Business. Without limiting the generality
of the foregoing, each Seller shall, and shall cause the other Business Entities to, other than in the
Ordinary Course of Business, as required by law or with Purchaser’s written consent, refrain
from doing any of the following in respect of the Purchased Assets: (a) disposing of or
transferring any Purchased Asset and Business Employees, (b) transferring any tangible
Purchased Asset to any other location to the extent that such other location is not otherwise part
of the Purchased Assets, or (c) except as otherwise provided or required in this Agreement,
terminating, amending or modifying the material terms of any of the Assumed Contracts;
provided, however, notwithstanding anything to the contrary in the preceding sentence, each
Seller may, in its reasonable discretion, take such actions in connection with or as a result of the
consequences (adverse or otherwise) of filing the Bankruptcy Case.


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        Section 8.2 Mutual Covenants. The parties hereto mutually covenant (subject to the
other terms of this Agreement):

                (a)    from the date of this Agreement to the Closing Date, to cooperate with
each other in determining whether filings or notifications are required to be made or consents
(including any Required Consents) are required to be obtained in any jurisdiction in connection
with the consummation of the transactions contemplated by this Agreement and in making or
causing to be made any such filings promptly and in seeking to timely obtain any such consents
including any Required Consents (it being understood that each party hereto shall furnish to the
other and to the other’s counsel all such information as may be reasonably required in order to
effectuate the foregoing action) which consents shall not, in any event, include any consent the
need for which is obviated by the Sale Order or otherwise by the provisions of the Bankruptcy
Code; and

                (b)      from the date of this Agreement to the Closing Date, to advise the other
party promptly if such party determines that any condition precedent to its obligations hereunder
shall not be satisfied in a timely manner.

        Section 8.3 Access to Information. Prior to and through the date on which the Closing
occurs or this Agreement is terminated, Purchaser shall be permitted to discuss Purchaser’s
entering into this Agreement and its intent to acquire the Purchased Assets subject to the
approval of the Bankruptcy Court, if applicable, with current customers, vendors and other key
stakeholders of the Business and Sellers shall, and shall cause the other Business Entities to,
cooperate with Purchaser and shall give Purchaser and its representatives (including Purchaser’s
accountants, consultants, counsel and employees), upon reasonable notice and during normal
business hours, full access to all properties, Contracts, customers, vendors, leases, equipment,
employees, affairs, books, documents, records and other information of the Business Entities to
the extent relating to the Business, the Purchased Assets, Assumed Liabilities, and any other
aspect of this Agreement and shall cause their respective officers, employees, agents and
representatives to furnish to Purchaser all available documents, records and other information
(and copies thereof), to the extent relating to the Purchased Assets, Assumed Liabilities, and any
other aspect of this Agreement, in each case, as Purchaser may reasonably request.
Notwithstanding anything herein to the contrary, no such investigation or examination shall be
permitted to the extent that it would require any Business Entity to disclose information subject
to attorney-client privilege.

        Section 8.4 Public Announcement. No party hereto shall make or issue, or cause to be
made or issued, any public announcement or written statement concerning this Agreement or the
transactions contemplated hereby without making reasonable and good faith efforts to consult
with and seek input from the other party hereto prior to release about the content of any such
announcement or statement or unless counsel to such party advises that such announcement or
statement is required by law (such as an obligation to disclose under federal securities laws of the
United States) (in which case the parties hereto shall make reasonable efforts to consult with
each other prior to such required announcement).

      Section 8.5 Preservation of Records. From and after the Closing Date, upon request
by any Business Entity, Purchaser shall permit Sellers and their representatives to have


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reasonable access during normal business hours, and in a manner so as not to interfere
unreasonably with the normal business operations of Purchaser, to all premises, properties,
personnel, books and records, contracts, and documents of or related to the Purchased Assets or
the Assumed Liabilities for the purposes of (a) preparing any Tax Returns or (b) complying with
the requirements of, or responding to inquiries by, any Governmental Authority; provided,
however, that, for the avoidance of doubt, the foregoing shall not require Purchaser to take any
such action if (i) such action may result in a waiver or breach of any attorney/client privilege or
conflict with any confidentiality obligations to which Purchaser is bound, or (ii) such action
could reasonably be expected to result in violation of applicable Law or court order. Purchaser
agrees to maintain the files or records which are contemplated by the first sentence of this
Section 8.5 for six (6) years following the Closing Date and with respect to Sizmek Israel for a
period of seven (7) years.

         Section 8.6   Taxes.

                (a)    Subject to Section 8.6(b), Sellers shall be responsible for and pay or
discharge all Taxes of the Business Entities, and all Taxes in connection with, relating to or
arising out of the Business, the Excluded Assets, the Excluded Liabilities or the ownership of the
Purchased Assets, or the Assumed Liabilities attributable to taxable periods, or portions thereof,
ending before the Closing Date, which Taxes shall be an Excluded Liability.

                (b)     For purposes of this Agreement, with respect to any Purchased Asset, the
Sellers and Purchaser shall apportion the liability for real and personal property Taxes, ad
valorem Taxes, and similar Taxes (“Periodic Taxes”) for Straddle Periods applicable to such
Purchased Asset in accordance with this Section 8.6(b). The Periodic Taxes described in this
Section 8.6(b) shall be apportioned between the Sellers and the Purchaser as of the Closing Date,
with the Purchaser liable for that portion of the Periodic Taxes for a Straddle Period equal to the
Periodic Taxes for such Straddle Period multiplied by a fraction, the numerator of which is the
number of days remaining in such Straddle Period after the Closing Date, and the denominator of
which is the total number of days in such entire Straddle Period (which portion of such Taxes
shall for purposes of this Agreement be deemed an Assumed Liability). The Sellers shall be
liable for that portion of the Periodic Taxes for a Straddle Period for which the Purchaser is not
liable under the preceding sentence (which portion of such Taxes shall for purposes of this
Agreement be deemed an Excluded Liability). The party hereto responsible under applicable
Law for paying a Tax described in this Section 8.6(b) shall be responsible for administering the
payment of such Tax. To the extent the liability for Periodic Taxes for a certain Straddle Period
is not determinable at the time of Closing or such Periodic Taxes are charged in arrears, such
Periodic Taxes shall be prorated for such Straddle Period, based on the most recent ascertainable
full tax year. For purposes of this Section 8.6(b), the Straddle Period for ad valorem Taxes and
real and personal property Taxes shall be the fiscal period for which such Taxes were assessed
by the applicable Tax jurisdiction. The Sellers, on the one hand, or the Purchaser, on the other
hand, as the case may be (the “Reimbursing Party”), shall promptly provide reimbursement for
any Tax paid by the other (the “Paying Party”), all or a portion of which is the responsibility of
the Reimbursing Party in accordance with the terms of this Agreement (including this Section
8.6). Within a reasonable time prior to the payment of any such Tax, the Paying Party shall give
notice to the Reimbursing Party of the Tax payable and the Paying Party’s and Reimbursing
Party’s respective liability therefor, although failure to do so shall not relieve the Reimbursing

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Party from its liability hereunder except to the extent the Reimbursing Party is actually
prejudiced thereby.

                (c)     Each of Purchaser, on the one hand, and the Sellers, on the other hand,
shall be responsible for and pay for fifty percent (50%) of any sales, use, stamp, documentary
stamp, filing, recording, transfer or similar fees or taxes or governmental charges (including any
interest and penalty thereon and including, to the extent applicable, the net amount, after taking
into account any credits, offsets, or deductions, of any Israeli VAT that, notwithstanding the
Sellers’ compliance with the terms of this Section 8.6, is subsequently determined to be
applicable solely to the sale and purchase of the Company IP to a Purchaser designee that is not
an Israeli resident for purposes of Israeli VAT, but excluding, for the avoidance of doubt, any
VAT that is payable in Israel or the United Kingdom, to the extent applicable, with respect to the
Israeli Purchased Assets and the UK Purchased Assets, respectively, which shall be added to the
Purchase Price and paid and borne by the Israeli Assets Purchaser and the UK Assets Purchaser,
respectively, as mentioned in Section 3.1(b) and the last sentence of this Section 8.6(c)) payable
in connection with the transactions contemplated by this Agreement (“Transfer Taxes”). To the
extent that any Transfer Taxes are required to be paid by Purchaser, on the one hand, and the
Sellers, on the other hand (or such Transfer Taxes are assessed against a such party), the other
party or parties shall promptly reimburse the first party or parties, in cash, as applicable, for fifty
percent (50%) of such Transfer Taxes. Sellers and Purchaser shall cooperate and consult with
each other prior to filing any Tax Returns in respect of Transfer Taxes. Sellers and Purchaser
shall cooperate and otherwise take commercially reasonable efforts to obtain any available
refunds for Transfer Taxes. For the removal of doubt, any VAT that is payable in Israel or the
United Kingdom with respect to the Israeli Purchased Assets and the UK Purchased Assets, to
the extent applicable, shall be added to the Purchase Price and be paid and borne by the Israeli
Assets Purchaser and the UK Assets Purchaser, to Sizmek Israel or Sizmek UK, as applicable,
provided that such Israeli Assets Purchaser and UK Assets Purchaser has received a valid Israeli
or United Kingdom VAT tax invoice, as applicable, in form, substance and amount reasonably
satisfactory to Israeli Assets Purchaser or UK Assets Purchaser, as applicable, on or before the
Closing Date and such additional payment shall be equal to the VAT designated in such valid
value added tax invoice.

                (d)     The Sellers and Purchaser shall (i) provide such assistance as may
reasonably be requested by either of them in connection with the preparation of any Tax Return,
any audit or other examination by any taxing authority or any judicial or administrative
proceeding with respect to Taxes, (ii) retain and provide the other with any records or other
information which may be relevant to such return, audit, examination or proceeding, and
(iii) provide the other with any final determination of any such audit or examination proceeding
or determination that affects any amount required to be shown on any Tax Return of the other for
any period (which shall be maintained confidentially); provided, however, that notwithstanding
anything to the contrary herein, neither Purchaser nor any of its Affiliates shall be required to
provide any Tax information that it regards as privileged or confidential, including any Tax
Return of Purchaser or any of its Affiliates.

               (e)    The parties shall (i) for purposes of taxes imposed under the United States
Federal Unemployment Tax Act and the United States Federal Insurance Contributions Act, treat
the Purchaser as a “successor employer” and the applicable Seller as a “predecessor,” within the

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meaning of Sections 3121(a)(1) and 3306(b)(1) of the Code, with respect to any employees of
the Sellers who become employees of Purchaser (including the Transferred Employees) and
(ii) implement the alternate procedure described in Section 5 of Revenue Procedure 2004-53
(provided that at or prior to Closing, Sellers have provided to Purchaser all information
reasonably necessary to implement such alternative procedure), in each case, to the extent
applicable.

                (f)    Purchaser or its withholding agent shall be entitled to deduct and withhold
from the Purchase Price and any other payments contemplated by this Agreement such amounts
as are required to be deducted and withheld with respect to the making of such payment under
any provision of Law, including under the Ordinance and any other applicable legal requirements
or pursuant to applicable judgments, decrees, injunctions, or orders. To the extent that amounts
are withheld pursuant to this Section 8.6(f), such amounts shall be treated for all purposes of this
Agreement as having been paid to the Person in respect of whom such deduction and
withholding were made. At or prior to the Closing, and at such time thereafter as reasonably
requested by Purchaser, the Sellers shall provide Purchaser any certificates or forms, as
applicable, reasonably required to allow Purchaser to meet any withholding and information
reporting obligations under applicable Law. Provided, however, that in the event a Seller or
Business Entity provides a valid certificate of exemption from withholding for an applicable
jurisdiction, the Purchaser shall not deduct, withhold and remit (or cause to be deducted,
withheld and remitted) any Taxes pursuant to such applicable Tax Law in compliance and
conformity with such withholding exemption certificate; provided that, with respect to Israeli
Taxes, if the Sellers provide to Purchaser at least five (5) business days prior to the Closing, a
Valid Withholding Certificate issued by the ITA, in form and substance a reasonably acceptable
to Purchaser (including, without limitations, a valid exemption from withholding with respect to
“Services and Assets” which shall be deemed acceptable in form and substance to Purchaser
provided that such certificate shall not be valid for transfers outside Israel or for payments not
made in cash) (or a reduced withholding certificate, in which case the Tax withholding shall be
made in accordance with such reduced withholding certificate), Purchaser shall act in accordance
with the provisions of such valid tax certificate. Purchaser and Sellers represent that, to their
knowledge, no withholding taxes apply to the Purchase Price and any other payments
contemplated by this Agreement.

               (g)    The Sellers, as applicable, shall issue a valid Israeli VAT invoice
designating zero-rate VAT with respect to the sale of Company IP provided that the Purchaser or
the Purchaser designee purchasing Company IP is not an Israeli resident for Israeli VAT
purposes. Purchaser shall not be required to bear the cost of any Israeli VAT with respect to
Company IP unless the Sellers comply with this Section 8.6(g).

               (h)    The Sellers shall comply with all applicable requirements to qualify for a
zero-rate VAT in connection with the sale of the Company IP, including without limitation, the
requirements of Section 12 of the Israeli VAT Regulations of 1976, and with respect to tangible
assets exported out of Israel (if any), shall obtain a valid Export Entry (‫ )רשימון יצוא‬from a
customs agent in compliance with all legal requirements prior to such export.

       Section 8.7 Good Faith Efforts. Without limiting the specific obligations of any party
hereto under any covenant or agreement hereunder, each party hereto shall, and shall cause its

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Affiliates to, use its good faith efforts to take all action and do all things necessary to
consummate the transactions contemplated in this Agreement as soon as reasonably practicable;
provided, however, that (a) no party hereto or its Affiliates shall be required to make any
concessions that would adversely affect its business or be materially more burdensome to such
party (including to amend any contract to increase the amount payable thereunder, commence
any litigation, settle or compromise any matter, offer or grant any accommodation (financial or
otherwise) to any third party or Governmental Authority, pay any amount or bear any other
incremental economic burden to obtain any consent or order or to effect the assignment or
transfer of a Purchased Asset), (b) no party hereto or its Affiliates shall incur any expense that
would be payable or otherwise borne by another party hereto or such other party’s Affiliates
without the consent of such other party, (c) Sellers shall not, and shall cause each of the other
Business Entities to not, make any concessions that would purport to bind the Business from and
after the Closing or be an Assumed Liability and (d) Purchaser shall not make any concessions
that would purport to bind any Seller or any of their Affiliates (the conditions set forth in the
foregoing clauses (a) – (d), the “Efforts Conditions”).

         Section 8.8   Employees.

                (a)     Subject to and in accordance with the provisions of this Section 8.8 and
applicable law, Purchaser shall, or shall cause one of its Affiliates to, effective upon the Closing,
offer employment to certain Business Employees who are employed by the Business Entities or
their Affiliates as of the Closing, identified in writing by Purchaser to Sellers any time on or
before one (1) business day prior to the Closing Date; provided that such list shall include no less
(but may include more) than the lesser of (i) 400 of the then Business Employees and (ii) 75% of
the then Business Employees. Employees who accept such offers or whose employment
otherwise transfers by operation of Law and become either full-time or part-time employees of
Purchaser, or its Affiliate, upon the Closing (or thereafter consistent with applicable Law) are
hereinafter referred to as “Transferred Employees.”

               (b)      Sellers shall, and shall cause each of the other applicable Business Entities
or other Affiliates to, (i) use reasonable commercial efforts to assist Purchaser in securing the
employment of the employees and (ii) pay such Business Employees all amounts that are or
become owing, up to and including the Closing (including, for the avoidance of doubt, all wages,
bonuses, commissions, accrued vacation, and other amounts that become owing to any Business
Employee due to the termination of such Business Employee’s employment with any Seller,
Business Entity or other Affiliate effective upon Closing), as such amounts become due. The
parties acknowledge that Business Employees in Italy and Israel shall not be transferring by
operation of Law.

                 (c)     With respect to those Transferred Employees that Sellers and Purchaser
mutually agree will have their employment transfer by operation of Law, each Seller agrees, with
respect to itself and the other Business Entities, that it shall use its commercially reasonable
efforts to (i) up to and including the Closing, comply with all of its material obligations and those
of any of its predecessors (whether or not legally binding or in respect of which it would be
expected to comply by any regulatory or other body to which it is subject) due to or in
connection with such Transferred Employees (or any of such obligations such Seller would have
had under or in connection with such contracts but for their transfer under applicable Law);

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(ii) provide to Purchaser such information as Purchaser may reasonably request in writing in
order to verify such compliance; (iii) not alter (whether to take effect before, on or after the
Closing) any of the material terms of employment or engagement of any of such Transferred
Employees (without the prior written consent of Purchaser); (iv) not terminate or take any steps
to terminate (constructively or otherwise) the employment of any of such Transferred Employees
(without the prior written consent of Purchaser which shall not be unreasonably withheld), other
than terminations for cause; (v) not employ, engage, or transfer any person who is not a Business
Employee to work in the Business (without the prior written consent of Purchaser which shall
not be unreasonably withheld); (vi) comply in all material respects with its obligations under
applicable Law that derive from the Acquired Rights Directive 77/187/EC (as subsequently
amended by the Transfers of Undertakings Directive 2001/23/EC) and provide Purchaser with
such information as it reasonably requires in order to comply with its own such obligations; and
(vii) subject to any requirements under the Data Protection Act 2018, facilitate an orderly
transfer of the employment (and records relating to employment) of such Transferred Employees
and will cooperate with Purchaser in relation to any reasonable requests that Purchaser may
make to meet or communicate with Business Employees prior to the Closing in order to discuss
the proposed transfer of employment to Purchaser; provided that prior to such meeting or
communication, the nature and scope of such meeting or communication must be approved by
the Sellers, which approval shall not be unreasonably withheld and shall be deemed given if
Sellers have not responded within one (1) business day of being provided written notice thereof.
Notwithstanding the transfer by operation of Law of the Transferred Employees described in this
Section 8.8(c), the aggregate amount of all Liabilities (including wages, bonuses, commissions,
and vacation) relating to the employment of such Transferred Employees that accrue before
Closing shall either be paid by the Sellers prior to the Closing or deducted from the Purchase
Price, and, at least five (5) days prior to the Closing, Sellers shall certify to Purchaser in writing
(1) the total amount of all such Liabilities as of the Closing and (2) the amount of such Liabilities
that shall remain unpaid at the Closing and be deducted from the Purchase Price, but not, for the
avoidance of doubt, severance, redundancy pay or other termination related liabilities that have
not and do not become due as of the Closing (the “Outstanding Accrued Employee Liabilities”).
Notwithstanding anything contained in this Agreement, Purchaser or its Affiliates shall be solely
responsible for any Liabilities arising as a result of the termination of employment of any
Transferred Employee at any time after the Closing.

              (d)      No less than 30 days prior to the date on which a Seller or any other
Business Entity ceases to sponsor any group health plan applicable to U.S. employees, Sellers
shall provide to Purchaser (i) written notice of their intention thereof and (ii) information
regarding “M&A qualified beneficiaries” (as defined under COBRA) sufficient to permit
Purchaser and its Affiliates to comply with any applicable COBRA obligations.

        Section 8.9 Further Assurances. From time to time after the Closing and without
further consideration, Purchaser and each Seller, at the request of the other party, shall, and shall
cause their respective Affiliates to, execute and deliver such other instruments of conveyance and
transfer or other instruments or documents and take or arrange for such other actions, as may
reasonably be required to effect any of the transactions contemplated by this Agreement or to
provide any party hereto with the benefits intended to be conferred and conveyed by this
Agreement; provided that, notwithstanding anything to the contrary in this Section 8.9 or any
other provision of this Agreement, neither Purchaser nor any Seller nor their respective Affiliates

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shall be required to execute any document or take any action that would (i) increase the liability
or obligation of the party of whom such document or action is requested beyond that which such
party would have pursuant to the other provisions of this Agreement, (ii) require or cause the
party of whom such action or document is requested to initiate, join in or otherwise become a
party to any Legal Proceeding, or (iii) cause such party to incur any material cost or expense that
is not already imposed upon it by another provision of this Agreement.

        Section 8.10 Confidentiality. Each party hereto acknowledges that the Mutual Non-
Disclosure Agreement the (“NDA”), dated as of November 4, 2015 between Amazon.com, Inc.
and Sizmek Inc. shall remain in full force and effect following the Closing and that the terms of
this Agreement and the Transaction are “Confidential Information” as defined in the NDA. For
avoidance of doubt, any Confidential Information of the Business Entities relating to the
Purchased Assets and the Assumed Contracts shall be deemed to be Confidential Information of
Purchaser as of the Closing (“Deemed Purchaser Confidential Information”), notwithstanding the
fact that the Business Entities or any of their respective officers, directors, employees or
representatives have knowledge of such Deemed Purchaser Confidential Information obtained
prior to the negotiation and performance of this Agreement; provided, however, that
(i) Confidential Information of the Business Entities relating to the Excluded Assets, Excluded
Liabilities and the Excluded Contracts shall not be deemed to be Deemed Purchaser Confidential
Information, and (ii) Sellers shall be permitted to disclose to potential purchasers of its Excluded
Assets (including the Peer 39 Business) Confidential Information regarding shared use assets or
contracts solely to the extent necessary to provide (or arrange for the provision of) transitional
services to any such purchaser. Notwithstanding any provisions to the contrary in the NDA,
Purchaser may, in accordance with this Agreement, at any time after the date hereof, issue a
press release announcing this Agreement, the existence of this Agreement and the transactions
contemplated hereby. For the avoidance of doubt, any Confidential Information relating to
Excluded Assets that ends up in the possession of Purchaser (for example, information on
laptops which are included in the Purchased Assets) shall not be Deemed Purchaser Confidential
Information and shall be subject to the applicable provisions of the NDA.

       Section 8.11 Survival of Representations and Warranties. None of the representations
and warranties of Sellers or Purchaser contained in this Agreement or made in any other
documents or instruments delivered pursuant to this Agreement shall survive the Closing
hereunder.

        Section 8.12 Disclaimer of Implied Warranties. Except as expressly provided in Article
VI above, Purchaser hereby acknowledges and agrees that no Seller makes any representations or
warranties whatsoever, express or implied, with respect to any matter relating to the Purchased
Assets including income to be derived or expenses to be incurred in connection with the
Purchased Assets, the physical condition of any personal property comprising a part of the
Purchased Assets or which is the subject of any Assumed Contract, the value of the Purchased
Assets (or any portion thereof), the transferability of the Purchased Assets, the terms, amount,
validity, collectability or enforceability of any Assumed Liabilities, Assumed Contracts, the title
of the Purchased Assets (or any portion thereof), the merchantability or fitness of the personal
property comprising a portion of the Purchased Assets or any other portion of the Purchased
Assets for any particular purpose, or any other matter or thing relating to the Purchased Assets
(or any portion thereof). Without in any way limiting the foregoing, except as otherwise

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expressly provided in Article VI above, each Seller hereby disclaims any warranty (express or
implied) of merchantability or fitness for any particular purpose as to any portion of the
Purchased Assets.

        Section 8.13 Acknowledgement. Purchaser hereby acknowledges that the Sellers and
their Affiliates are intending to wind up after the Closing in connection with the Bankruptcy
Case and other wind up procedures under the laws of the respective jurisdictions of organization.
The parties hereby acknowledge and agree that any wind-up procedures (and the timing thereof)
shall be subject to the provisions of this Agreement and the Transition Services Agreement and
will vary from jurisdiction to jurisdiction. Due to such wind-up procedures, Purchaser
acknowledges that any recourse shall be limited.

        Section 8.14 Solvency. Following the Closing, except with the prior written consent of
Purchaser (which consent shall not be unreasonably withheld or delayed), Sizmek Israel and
Sizmek UK (a) shall remain Solvent until such time as such entities are liquidated, dissolved or
otherwise wound up in accordance with the Laws of their respective jurisdictions of formation,
and (b) shall take no actions, and shall permit the taking of no actions, that would render it not
Solvent under the Laws of Israel or the United Kingdom, as applicable until such time as it is
liquidated, dissolved or otherwise wound up in accordance with the Laws of Israel or the United
Kingdom, as applicable.

         Section 8.15 US Bankruptcy Court Approval.

                (a)    Entry of Order Approving Sale.

                      (i)      Debtors shall use their reasonable best efforts to obtain entry of the
Sale Order on a date not later than June 20, 2019.

                      (ii)    In the event that the Bankruptcy Court enters an order approving
an Acquisition Proposal submitted by a party other than Purchaser either (i) prior to the
termination of this Agreement, (ii) within thirty (30) days after the termination of this Agreement
by Purchaser pursuant to Sections 11.2(b) or (iii) within ninety (90) days after the termination of
this Agreement by Sellers or Purchaser pursuant to Section 11.2(d) then no later than the closing
of the sale of any Purchased Assets to a third party, Sellers, jointly and severally, shall be
obligated to pay to Purchaser from the proceeds of such sale a breakup fee in an amount of Nine
Hundred Thousand U.S. Dollars ($900,000).

                      (iii) Sellers shall provide notice to Purchaser of any hearing on the
motion to approve the Sale Order or any other matter before the Bankruptcy Court relating to this
Agreement or the Transaction Documents, in each case as required by the Bankruptcy Code, the
Federal Rules of Bankruptcy Procedure and the Local Bankruptcy Rules for the Southern District
of New York or as otherwise ordered by the Bankruptcy Court.

                       (iv)    Purchaser shall take such actions as are reasonably requested by
Sellers to assist in obtaining entry by the Bankruptcy Court of the Sale Order, including
furnishing affidavits or other documents or information for filing with the Bankruptcy Court for
purposes, among others, of: (i) demonstrating that Purchaser is a “good faith” purchaser; and


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(ii) establishing “adequate assurance of future performance” within the meaning of section 365
of the Bankruptcy Code.

                (b)    Certain Bankruptcy Undertakings by Debtors and Purchaser.

                         (i)   On or before the date that is two business days after the date
hereof, Debtors shall file the Sale Motion. Except as ordered by the Bankruptcy Court or to the
extent each Seller’s board of directors or equivalent governing body reasonably determines in
good faith, in consultation with outside counsel, that taking such action, or refraining from taking
such action, as applicable, is required to comply with applicable law or its fiduciary obligations
under applicable law, Sellers shall neither take any action, nor fail to take any action, which
action or failure to act would reasonably be expected to (A) prevent or impede the consummation
of the Transaction in accordance with the terms of this Agreement, or (B) result in (I) the
reversal, avoidance, revocation, vacating or modification (in any manner that would reasonably
be expected to materially and adversely affect Purchaser’s rights hereunder) of the Sale Order, or
(II) the entry of a stay pending appeal. Furthermore, Purchaser shall neither take any action, nor
fail to take any action, which action or failure to act would reasonably be expected to prevent or
impede the consummation of the transactions contemplated by this Agreement in accordance
with the terms of this Agreement.

                       (ii)   If the Sale Order or any other order of the Bankruptcy Court
relating to this Agreement shall be appealed by any Person (or a petition for certiorari or motion
for rehearing or reargument shall be filed with respect thereto), Debtors, with the cooperation
and support of Purchaser, shall take all steps as may be reasonable and appropriate to defend
against such appeal, petition or motion, and shall endeavor to obtain an expedited resolution of
such appeal.

        Section 8.16 No Shop. Sellers shall not, and shall not authorize or permit any of their
Affiliates (including any of the other Business Entities) or any of its or their representatives to,
directly or indirectly, encourage, solicit, initiate, or facilitate any inquiries regarding an
Acquisition Proposal. For purposes hereof, “Acquisition Proposal” shall mean any inquiry,
proposal or offer from any Person (other than Purchaser or any of its Affiliates) concerning (i) a
merger, consolidation, recapitalization, share exchange or other business combination transaction
involving any of the Business Entities; (ii) the issuance or acquisition of shares of capital stock
or other equity securities of any of the Business Entities; or (iii) the sale, lease, exchange or other
disposition of the Purchased Assets or assets related to the Business. Notwithstanding the
forgoing, the Sellers may solicit, initiate and facilitate inquiries regarding solely the Peer 39
Business (and not the Business) and this Section 8.16 shall not be construed as preventing them
from doing so.

         Section 8.17 Transition Services Agreement.

                (a)     Purchaser and the Sellers shall each use their commercially reasonable
efforts to enter into a transition services agreement, effective upon the Closing, with respect to
the provision of certain transition services between Purchaser and the Business Entities after
Closing, in form and substance reasonably satisfactory to Purchaser and the Sellers (the
“Transition Services Agreement”). The Transition Services Agreement shall provide that, with


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respect to services provided by the Business Entities after Closing, (a) Purchaser and its
Affiliates are entitled to utilize such services for a period of up to sixteen (16) weeks (which
period may be extended by Purchaser with respect to a particular service or services with the
Sellers’ consent (not to be unreasonably withheld)) (provided that, with respect to services in
Serbia, a period longer than 16 weeks shall be agreed), (b) such services shall include services
relating to human resources (including continuing to employ and facilitating the transfer of any
Transferred Employees who cannot be transferred immediately at the Closing), payroll, finance
(including maintaining the existence of the Business Entities and their respective bank accounts
as of the date hereof), tax and treasury, technology infrastructure and applications (including
with respect to Peer 39 add-ons to ad server capabilities), facilities, and customer and vendor
contracts, and other services required to manage and operate the Business as presently conducted
(including subcontracting and other arrangements contemplated by Section 2.4(b)), as well as
related support services (taking into account the limited nature of the Sellers’ operations and the
limited employees they expect to have after the Closing and after the sale of the Peer 39
Business) (provided that, with respect to the Serbia office of Sellers, such services shall include
office operations, retention of office space and employment of employees, until such operations
and employees can be transferred to Purchaser or a third party at Purchaser’s direction), (c) such
services shall be provided at a level at least equivalent to those currently provided by, or with
respect to, the Business immediately prior to entry into this Agreement (taking into account the
limited nature of the Sellers’ operations and the limited employees they expect to have after the
Closing and after the sale of the Peer 39 Business), and (d) such services shall be provided for a
fee equal to one hundred and ten percent (110%) of cost to Sellers. Israeli and United Kingdom
VAT shall be added to and paid for all transition services to the extent required by applicable
law.

               (b)    The Transition Services Agreement shall also provide that the Purchaser
shall reasonably cooperate with the Sellers to enable the separation and independent operation of
the Peer 39 Business from the Business and to enable the winding up of Sellers and their
subsidiaries, provided that the provision of such services does not negatively impact the
Business. The Transition Services Agreement shall allow for the assignment of services with
respect to the Peer 39 Business to the buyer of the Peer 39 Business, provided that such buyer
does not compete with the Business and/or Purchaser and/or its Affiliates, and provision of such
services will not compromise relevant data and security requirements of Purchaser.

         Section 8.18 Additional Covenants.

                (a)     For a period of eighteen (18) months from the Closing Date, Parent shall
not, and shall cause each of its Affiliates not to, take any enforcement action or exercise any
enforcement rights with respect to the Amended and Restated Promissory Note dated October
27, 2016 (the “Intercompany Note”) or any other obligations owed by Sizmek Israel to Parent or
any of Parent’s Affiliates in a manner that is reasonably likely to cause the commencement of
insolvency proceedings of Sizmek Israel or put it in a position that it is unable to pay its debts
and obligations as they become due. In the event that an insolvency proceeding is commenced
against Sizmek Israel or any of its direct or indirect subsidiaries (other than any such insolvency
proceeding that is commenced by Purchaser or any of its Affiliates), each Seller shall, and shall
cause its Affiliates to, (i) notify Purchaser as promptly as practicable of the commencement of
such insolvency proceeding, (ii) keep Purchaser reasonably informed of the status and progress

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of any such insolvency proceeding, and (iii) not take any action with respect to any such
insolvency proceeding that is reasonably likely to adversely impact Purchaser without the prior
written consent of Purchaser.

                (b)      Each Seller shall, and shall cause each of its Affiliates to, take no action,
directly or indirectly, to avoid the Transaction.

                (c)     Each Seller agrees that all intercompany debt, including the Intercompany
Note, shall be subordinated to any and all liabilities or monetary obligations of Sizmek Israel to
(i) any unaffiliated third party (such third parties, including, for the avoidance of doubt, Amazon
Web Services and any employees, the “Third-Party Creditors”) and (ii) Purchaser with respect to
claims that are asserted by Purchaser with respect to the Transaction.

                (d)     In the event of an insolvency proceeding against Sizmek Israel
commenced in violation of Section 8.18(a) or with respect to any claims that are asserted by
Purchaser with respect to the Transaction, then in the event Parent shall receive any distribution
of funds from Sizmek Israel pursuant to any insolvency proceeding, Parent shall hold such
distribution in trust to satisfy any Purchaser claims against Sellers for breach of Section 8.18(a)
or with respect to claims that are asserted by Purchaser with respect to the Transaction, with
such obligation to hold funds in trust surviving until the later of (i) twelve (12) months from the
date of such distribution and (ii) the resolution of any such claims asserted by Purchaser so long
as such claims where made within such twelve (12) month period.

               (e)     Each Seller shall, and shall cause its Affiliates to, take all actions
necessary to cause Sizmek Israel and Sizmek UK to satisfy all monetary obligations to all Third-
Party Creditors and third-party creditors of Sizmek UK as they become due and shall promptly
notify Purchaser of all claims by such creditors.

                (f)   Sizmek Israel shall, and Parent shall cause Sizmek Israel to, maintain a
reserve of no less than One Million Dollars ($1,000,000) in excess of the aggregate amounts
necessary to pay Third-Party Creditors and third-party creditors of Sizmek UK known as of the
Closing Date until such time as Sizmek Israel and Sizmek UK are wound up; provided, however,
that such reserve amount shall be available to pay the costs and expenses of such winding up and
to satisfy claims of Third-Party Creditors who are unknown as of the Closing Date but assert
claims thereafter.

             (g)   Sellers shall cause PwC to prepare and deliver to Sellers and Purchaser the
PwC Report as promptly as practical but no later than five (5) business days prior to the Closing
Date.

                             ARTICLE IX
       CONDITIONS PRECEDENT TO PURCHASER’S OBLIGATION TO CLOSE

        The obligation of Purchaser under this Agreement with respect to the purchase and sale
of the Purchased Assets shall be subject to the fulfillment on or prior to the Closing of each of
the following conditions, any of which may be waived in writing by Purchaser:



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        Section 9.1 Accuracy of Representations and Warranties; Performance of this
Agreement. Each of the representations and warranties made by each Seller shall be true and
correct on and as of the Effective Date (unless such representation or warranty is given as of a
particular date in which case such representation or warranty shall be considered only as of such
particular date) and at and as of the Closing Date, except, in the case of the representations and
warranties that are not Specified Representations, for any failure to be so true and correct that,
individually or in the aggregate, has not had and would not reasonably be expected to have a
Material Adverse Effect. Each Seller shall have complied with and performed in all material
respects all of the agreements and covenants required by this Agreement and each other
Transaction Document to be performed or complied with by it on or prior to the Closing.

       Section 9.2 Officer’s Certificate. Sellers shall have delivered to Purchaser a certificate
executed by an executive officer of each Seller (including incumbency certificates) as Purchaser
may reasonably request in order to evidence compliance with the conditions set forth in Section
9.1.

       Section 9.3 Bill of Sale; Assumption Agreement; Intellectual Property Assignment
Agreement. Each Seller shall have delivered to Purchaser an executed Bill of Sale, Assumption
Agreement and Intellectual Property Assignment Agreement, as applicable, pursuant to Section
4.1 and Section 4.2 hereof.

       Section 9.4 No Material Adverse Effect. Since the date of this Agreement, there shall
have been no Material Adverse Effect on the Purchased Assets or the Business.

        Section 9.5 Compliance with Laws; Legal Proceedings. The consummation of the
Transaction shall be legally permitted by all Laws to which any party hereto is subject. No order
of any Governmental Authority shall be in effect that enjoins, restrains, conditions or prohibits
consummation of the Transaction and no litigation, investigation or administrative proceeding
shall be pending or threatened that would enjoin, restrain, condition or prevent consummation of
the Transaction.

        Section 9.6 Transition Services Agreement. Purchaser and Sellers shall have entered
into the Transition Services Agreement.

       Section 9.7 Bankruptcy Matters. The Sale Order shall have been entered by the
Bankruptcy Court. Such order must be in effect and must not have been reversed or stayed or
modified in any material respect.

       Section 9.8 Opinions. Sellers shall have delivered the following to Purchaser, each in
a form reasonably satisfactory to Purchaser:

               (a)     an opinion from FTI Capital Advisors, LLC or a Person otherwise
reasonably acceptable to Purchaser stating that (i) (A) the consideration offered and paid by
Purchaser in the Transaction is fair, from a financial point of view, and (B) the Purchase Price
under this Agreement for a standalone sale of the Business is higher than the purchase price for
the Business reflected in the final offers from other bidders (based on an allocation of purchase
price to the Business that is consistent with the PwC Report) for the acquisition of the Business


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together with other businesses of the Sellers, including the Peer 39 Business, and (ii) no offers
were received for the assets of Sizmek Israel on a stand-alone basis;

              (b)     an opinion of Sizmek Israel’s Israeli counsel that the Transaction has been
duly approved by all corporate action on the part of Sizmek Israel; and

               (c)    an opinion of Sizmek Israel’s Israeli counsel that Sizmek Israel should not
incur cancellation of indebtedness income by virtue of the Intercompany Claims remaining
outstanding or in connection with the dissolution of Sizmek Israel.

        Section 9.9 First Lien Agent. Purchaser shall have received a written agreement,
within five (5) days of the date hereof, from First Lien Agent, in a form reasonably acceptable to
Sellers, Purchaser, and the First Lien Agent, that the First Lien Agent (i) shall comply with and
be bound by the obligations of Parent and Sellers set forth in Section 8.18(a), Section 8.18(b),
Section 8.18(c) and Section 8.18(d), (ii) shall leave in the Sellers all amounts that the Sellers are
required to pay over to Purchaser after the Closing under the terms hereof or under the Transition
Services Agreement, (iii) consents to the Transaction and the terms hereof, and (iv) agrees not to
credit bid for the Purchased Assets in opposition to the Transaction.

        Section 9.10 Additional Closing Conditions. The additional conditions precedent set
forth on Schedule 9.10 shall have been satisfied.

                               ARTICLE X
          CONDITIONS PRECEDENT TO SELLER’S OBLIGATION TO CLOSE

       The obligations of Sellers under this Agreement with respect to the purchase and sale of
the Purchased Assets shall be subject to the fulfillment on or prior to the Closing of each of the
following conditions, any of which may be waived in writing by the Sellers:

        Section 10.1 Accuracy of Representations and Warranties; Performance of this
Agreement. Each of the representations and warranties made by Purchaser in this Agreement
shall be true and correct on and as of the Effective Date (unless such representation or warranty
is given as of a particular date in which case such representation or warranty shall be considered
only as of such particular date) and at and as of the Closing Date, except for any failure to be so
true and correct that, individually or in the aggregate, has not had and would not reasonably be
expected to have a Material Adverse Effect on the ability of Purchaser to timely consummate the
transactions contemplated hereunder (including payment or undertaking the Purchase Price and
any other cash payments, fees or expenses contemplated hereby). Purchaser shall have complied
with and performed in all material respects all of the agreements and covenants required by this
Agreement and each other Transaction Document to be performed or complied with by it on or
prior to the Closing.

       Section 10.2 Officer’s Certificate. Purchaser shall have delivered to Sellers a certificate
executed by an executive officer of Purchaser (including incumbency certificates) as Sellers may
reasonably request in order to evidence compliance with the conditions set forth in Section 10.1.

       Section 10.3 Assumption Agreement. Purchaser shall have delivered to Seller an
executed Assumption Agreement pursuant to Section 4.2 hereof.

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       Section 10.4 Bankruptcy Matters. The Sale Order shall have been entered by the
Bankruptcy Court. Such order must be in effect and must not have been reversed or stayed or
modified in any material respect.

        Section 10.5 Closing Cash Payment. Purchaser shall have delivered to the applicable
Sellers (or their designee(s)) an amount equal to the Closing Cash Payment in accordance with
Section 3.1(b).

                                           ARTICLE XI
                                          TERMINATION

       Section 11.1 Breaches and Defaults; Opportunity to Cure. Prior to the exercise by a
party of any termination rights afforded under Section 11.2(b)(i) or Section 11.2(c)(i) of this
Agreement, if any party (the “Non-Breaching Party”) believes any other party (the “Breaching
Party”) to be in breach hereunder, the Non-Breaching Party shall provide the Breaching Party
with written notice specifying in reasonable detail the nature of such breach, whereupon if such
breach is curable the Breaching Party shall have five (5) calendar days from the receipt of such
notice to cure such breach to the reasonable satisfaction of the Non-Breaching Party. If the
breach is not cured within such time period, then the Non-Breaching Party’s sole remedy shall be
to terminate this Agreement if the breach is such that the condition set forth in Section 9.1 or
Section 10.1, as applicable, shall not be satisfied (as provided in Section 11.2); provided,
however, that the Non-Breaching Party shall not be entitled to terminate this Agreement if it is in
material breach of this Agreement.

        Section 11.2 Termination. This Agreement may be terminated and the transactions
contemplated herein may be abandoned, by written notice given to the other party hereto, at any
time prior to the Closing:

                (a)    by mutual written consent of Sellers and Purchaser;

                (b)     (i) subject to the right to cure set forth in Section 11.1, at any time prior to
the Closing Date, by Purchaser if any Seller is in breach of any covenant, representation,
undertaking or warranty such that the condition set forth in Section 9.1 shall not be satisfied, and
Purchaser has not waived such condition in writing on or before the Closing Date or (ii) by
Purchaser, if all of the conditions set forth in Article IX and Article X have been satisfied (other
than conditions that by their nature are to be satisfied at the Closing) or waived and Sellers fail to
consummate the Closing as required herein;

                (c)     (i) subject to the right to cure set forth in Section 11.1, at any time prior to
the Closing Date, by Sellers if Purchaser is in breach of any covenant, representation or warranty
such that the condition set forth in Section 10.1 shall not be satisfied, and Sellers have not
waived such condition in writing on or before the Closing Date or (ii) by Sellers, if all of the
conditions set forth in Article IX and Article X have been satisfied (other than conditions that by
their nature are to be satisfied at the Closing) or waived and Purchaser fails to consummate the
Closing as required herein;

             (d)     at or prior to the Bankruptcy Court hearing regarding approval of this
Agreement, by either Sellers or Purchaser, if the Bankruptcy Court enters an order approving an

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offer to purchase all or substantially all of the Purchased Assets of the Debtors submitted by a
party other than Purchaser or enters an order confirming a plan of reorganization of Debtors
(other than a plan under which Purchaser acquires the Purchased Assets on or before the Closing
Date); and

               (e)     by Sellers or Purchaser if the Bankruptcy Court has not entered an order
approving the Sale Motion on or before June 20, 2019 or if the Closing shall not have occurred
on or before July 1, 2019, unless the failure to have the Closing shall be due to the failure of the
party seeking to terminate this Agreement to perform in any material respect its obligations
under this Agreement required to be performed by it or them at or prior to the Closing.

        Section 11.3 Effect of Termination. In the event of termination of this Agreement
pursuant to Section 11.2, this Agreement shall become null and void and, subject to Section 3.2
and Section 8.15(a)(ii) there shall be no liability on the part of any party hereto or any of its
partners, officers, directors or shareholders; provided that no termination shall relieve Purchaser
or any Seller, as applicable, from any liability for damages (including damages based on the loss
of the economic benefits of the transactions contemplated by this Agreement, including the
Closing Cash Payment, to the Sellers), losses, costs or expenses (including reasonable legal fees
and expenses) resulting from any breach of this Agreement prior to the date of such termination
(which, for the avoidance of doubt, shall be deemed to include any failure by Purchaser or
Sellers to consummate the Closing if and when it is obligated to do so hereunder); provided
further that, in no circumstances, shall Purchaser or any of its Affiliates have any liability to
Sellers, the Business Entities, or any of their respective Affiliates for any amount in excess of the
amount of the Closing Cash Payment and no party shall be liable for consequential or incidental
damages.

                                         ARTICLE XII
                                       MISCELLANEOUS

       Section 12.1 Notices. All notices and other communications required or permitted to be
given hereunder shall be in writing and shall be deemed to have been duly given if delivered
personally, sent by electronic mail with confirmation of receipt received from the recipient,
recognized overnight delivery service or registered or certified mail, return receipt requested,
postage prepaid, to the following addresses:

       If to Purchaser:

                Amazon.com, Inc.
                410 Terry Avenue North
                Seattle, Washington 98109
                Attention: General Counsel

       with a required copy to:

                K&L Gates LLP
                925 4th Avenue, Suite 2900
                Seattle, Washington 98104

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                Attention: Josh Gaul and Joseph Phelps
                Email: josh.gaul@klgates.com; joseph.phelps@klgates.com

       If to Sellers:

                c/o Sizmek, Inc.
                401 Park Avenue South
                5th Floor
                New York, NY 10016

       with a required copy to:

                Katten Muchin Rosenman LLP
                575 Madison Avenue
                New York, NY 10022
                Attention:    Steven J. Reisman and Evan Borenstein
                Email: sreisman@kattenlaw.com; evan.borenstein@kattenlaw.com;
                      sizmekteam@katten.com

         Notices delivered personally shall be effective upon delivery against receipt. Notices
transmitted by telecopy shall be effective when received, provided that the burden of proving
notice when notice is transmitted by telecopy shall be the responsibility of the party providing
such notice. Notices transmitted by electronic mail (with hard copy to follow) shall be effective
upon confirmation of receipt. Notices delivered by overnight mail shall be effective when
received. Notices delivered by registered or certified mail shall be effective on the date set forth
on the receipt of registered or certified mail, or seventy-two (72) hours after mailing, whichever
is earlier.

        Section 12.2 Expenses. Except to the extent that Purchaser is otherwise entitled thereto
in accordance with the provisions of this Agreement, each party shall bear its own expenses and
costs, including the fees of any attorney retained by it, incurred in connection with the
preparation of this Agreement and the consummation of the transactions contemplated hereby.

        Section 12.3 Governing Law; Jurisdiction; Waiver of Jury Trial. This Agreement shall
be governed by and construed in accordance with the laws of the State of New York (without
application of principles of conflict of laws). In connection with any controversy arising out of
or related to this Agreement, each Seller and Purchaser hereby irrevocably consents to the
exclusive jurisdiction of the Bankruptcy Court, or if, and only if, the Bankruptcy Court declines
or may not accept jurisdiction over a particular matter, the United States District Court for the
Southern District of New York, or if, and only if, the United States District Court for the
Southern District of New York declines or may not accept jurisdiction over a particular matter,
the courts of the State of New York. Each of the Sellers and Purchaser irrevocably consents to
service of process out of the aforementioned courts and waives any objection which it may now
or hereafter have to the laying of venue of any action or proceeding arising out of or in
connection with this Agreement brought in the aforementioned courts. EACH OF THE
PARTIES HERETO HEREBY IRREVOCABLY WAIVES, AND SHALL CAUSE ITS


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SUBSIDIARIES AND AFFILIATES TO WAIVE, ALL RIGHT TO A TRIAL BY JURY IN
ANY ACTION, PROCEEDING OR COUNTERCLAIM ARISING OUT OF OR RELATING
TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY.

        Section 12.4 Assignment. Purchaser shall not have the right to assign any of its rights
under this Agreement or delegate any performance of its obligations under this Agreement
without the prior written consent of Sellers and the First Lien Agent; provided that, Purchaser
shall be permitted to assign its rights under this Agreement to Purchaser’s Affiliates without such
prior written consent; provided further, that in the event of such assignment the Purchaser shall
continue to be jointly and severally liable with the Affiliate assignee for its duties and obligations
under this Agreement. Sellers shall not have the right to assign any of their rights under this
Agreement or delegate any performance of their obligations under this Agreement without the
prior written consent of Purchaser and the First Lien Agent.

        Section 12.5 Successors and Assigns. All agreements made and entered into in
connection with this Transaction shall be binding upon and inure to the benefit of the parties
hereto, their successors and permitted assigns.

        Section 12.6 Amendments; Waivers. No alteration, modification or change of this
Agreement shall be valid except by an agreement in writing executed by the parties hereto, and
no alteration, modification or change of this Agreement that adversely affects the First Lien
Agent (including in its capacity as a secured creditor) shall be valid except by an agreement in
writing executed by the parties hereto and the First Lien Agent. Except as otherwise expressly
set forth herein, no failure or delay by any party hereto or the First Lien Agent in exercising any
right, power or privilege hereunder (and no course of dealing between or among any of the
parties hereto) shall operate as a waiver of any such right, power or privilege. No waiver of any
default on any one occasion shall constitute a waiver of any subsequent or other default. No
single or partial exercise of any such right, power or privilege shall preclude the further or full
exercise thereof.

        Section 12.7 Entire Agreement. This Agreement (including the Exhibits and Disclosure
Schedules, which are hereby incorporated by reference into and made a part of this Agreement
for all purposes), merges all previous negotiations and agreements between the parties hereto,
either verbal or written, and constitutes the entire agreement and understanding between the
parties hereto with respect to the subject matter of this Agreement.

        Section 12.8 Counterparts. This Agreement may be executed in two or more
counterparts, each of which when so executed shall be an original, but all of which together shall
constitute one agreement. Facsimile and/or PDF signatures shall be deemed original signatures.

        Section 12.9 Severability. If any provision of this Agreement or the application thereof
to any Person or circumstance shall be invalid or unenforceable to any extent, the remainder of
this Agreement and the application of such provision to other Persons or circumstances shall not
be affected thereby and shall be enforced to the greatest extent permitted by law, but only as long
as the continued validity, legality and enforceability of such provision or application does not
materially (a) alter the terms of this Agreement, (b) diminish the benefits of this Agreement or
(c) increase the burdens of this Agreement, for any Person. Upon a determination that any term


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or other provision is invalid or unenforceable, the parties shall negotiate in good faith to modify
this Agreement so as to effect the original intent of the parties hereto to the fullest extent
possible.

        Section 12.10 Section Headings. The section headings contained in this Agreement are
solely for the purpose of reference, are not part of the agreement of the parties hereto and shall
not in any way affect the meaning or interpretation of this Agreement.

       Section 12.11 Interpretation. As all parties hereto have participated in the drafting of
this Agreement, any ambiguity shall not be construed against any party as the drafter. Unless the
context of this Agreement clearly requires otherwise, (a) “or” has the inclusive meaning
frequently identified with the phrase “and/or,” (b) “including” has the inclusive meaning
frequently identified with the phrase “including, but not limited to” and (c) references to
“hereof,” “hereunder” or “herein” or words of similar import relate to this Agreement.

       Section 12.12 Third Parties. Nothing herein, expressed or implied, is intended to or shall
confer on any Person other than the parties hereto any rights, remedies, obligations or liabilities
under or by reason of this Agreement, except the First Lien Agent shall be a third party
beneficiary of this Agreement.

        Section 12.13 Specific Performance. The parties agree that irreparable damage would
occur to the Purchaser and the First Lien Agent (solely with respect to its specific consent or
approval rights herein) and that the Purchaser and the First Lien Agent (solely with respect to its
specific consent or approval rights herein) would not have any adequate remedy at law in the
event that any of the other provisions this Agreement were not performed in accordance with
their specific terms or were otherwise breached. It is accordingly agreed that, Purchaser and the
First Lien Agent (solely with respect to its specific consent or approval rights herein) shall be
entitled to an injunction or injunctions to prevent breaches or threatened breaches of this
Agreement and to enforce specifically the terms and provisions of this Agreement (with respect
to the First Lien Agent, solely with respect to its specific consent or approval rights herein)
without proof of actual damages or otherwise (and, to the fullest extent permitted by Law, each
of the Sellers hereby waives any requirement for the securing or posting of any bond in
connection with such remedy), this being in addition to any other remedy to which Purchaser is
entitled at law or in equity. Sellers shall not be entitled to any injunction or injunctions to prevent
breaches or threatened breaches of this Agreement or to enforce specifically the terms and
provisions of this Agreement.

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                                              Annex I

                                        Business Entities

    1. MediaMind Technologies (Shanghai) Co., Ltd.

    2. Sizmek d.o.o. Beograd (Serbia)

    3. Sizmek Hong Kong Limited

    4. Sizmek Propaganda Digital DO Digital Brasil LTDA.

    5. Sizmek SARL (France)

    6. Sizmek Spain SL

    7. Sizmek Technologies GmbH (Germany)

    8. Sizmek Technologies K.K. (Japan)

    9. Sizmek Technologies Mexico

    10. Sizmek Technologies Phils. Inc. (Philippines)

    11. Sizmek Technologies Pty. Limited (Australia)

    12. Sizmek Technologies S.R.L. (Argentina)

    13. Sizmek Technologies Sp. Z. O. O. (Poland)

    14. Sizmek Technologies Sweden AB

    15. StrikeAd Asia Pte. Ltd. (Singapore)




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                                           Schedule 9.10

                                  Additional Closing Conditions

Open Source Closing Conditions

1.       Sellers shall have, and shall have caused all Business Entities to have, either (i) replaced
         all of the following code from all Business Entities’ codebases with other code that is
         reasonably acceptable to Purchaser and that has substantially the same or better
         functionality than the code that has been removed; (ii) removed all of the following code
         from all Business Entities’ codebases; or (iii) purchased a commercial license to such
         code that is reasonably acceptable to Purchaser:

                (i)     Itextpdf (APGL) (SAS Applications-UI)
                (ii)    Handsontable-pro (conditional license) (SAS Applications-UI)
                (iii)   Jpmml-sparkmml (AGPL) (DEX (Data Explorer) and Integrations)
                (iv)    JPmml-evaluator (AGPL) (DEX (Data Explorer) and Integrations)
                (v)     JW Player (CC-BY-NC-SA) (AdServing Client Scripts & CIT)
                (vi)    Fancybox (CC-BY-NC) (AdServing Client Scripts & CIT)
                (vii)   GreenSock – TweenLite (conditional license) (AdServing Client Scripts &
                        CIT)
                (viii) GreenSock – EasePack (conditional license) (AdServing Client Scripts &
                        CIT)
                (ix)    GreenSock – CSS Plugin (conditional license) (AdServing Client Scripts
                        & CIT)
                (x)     Kibana-xpack (Elastic License) (Infrastructure)
                (xi)    Artifactory (AGPL) (Infrastructure)
                (xii) MongoDB-server (AGPL) (Infrastructure)
                (xiii) ElasticSearch (Elastic License) (Infrastructure)
                (xiv) ACF-VC Integrator (GPL-3.0) (WordPress Plugin)
                (xv) Post Expirator (No license) (WordPress Plugin)
                (xvi) Redirection (GPL-3.0) (WordPress Plugin)
                (xvii) Relevanssi (GPL-3.0) (WordPress Plugin)
                (xviii) Reuse Builder (GPL-3.0) (WordPress Plugin)
                (xix) updraftplus (GPL-3.0) (WordPress Plugin)
                (xx) Yoast SEO (GPL-3.0) (WordPress Plugin)

2.       To the extent any software (e.g. apps) externally distributed by any Business Entity
         includes or is integrated with any software that is subject to an Extended Copyleft
         License or Non-Commercial License (“Applicable Open Source”), Sellers shall have, and
         shall have caused all Business Entities to have, either (i) replaced such Applicable Open
         Source in its and their codebases with other code that is reasonably acceptable to
         Purchaser and that has substantially the same or better functionality than the code that has
         been removed; (ii) removed such Applicable Open Source from its and their codebases;
         or (iii) obtained a commercial license to such Applicable Open Source that is reasonably
         acceptable to Purchaser. For purposes of the preceding sentence, (i) “Extended Copyleft
         License” means the GNU General Public License version 3.0, the GNU Lesser General


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         Public License version 3.0, the GNU Affero General Public License (any version), the
         Server Side Public License (any version), the European Union Public Licence (any
         version), and the Open Software License version 3.0, and (ii) “Non-Commercial License”
         means any license that (A) meets the Open Source Definition (as promulgated by the
         Open Source Initiative), the Free Software Definition (as promulgated by the Free
         Software Foundation), any Creative Commons License, or any substantially similar
         license, and (B) prohibits commercial use, such as the Creative Commons-Attribution-
         Non-Commercial license.

3.       To the extent that any Business Entity uses any software licensed under the GNU Affero
         General Public License (any version), the Server Side Public License (any version),
         and/or the European Union Public Licence (any version) on any of its servers or cloud
         services, internally or externally, Sellers shall have, and shall have caused all Business
         Entities to have, either (i) replaced such software in its and their codebases with other
         software that is reasonably acceptable to Purchaser and that has substantially the same or
         better functionality than the software that has been removed; (ii) removed such software
         from its and their codebases; or (iii) obtained a commercial license to such software that
         is reasonably acceptable to Purchaser.

4.       Sellers shall have, and shall have caused all Business Entities to have, complied with the
         attribution requirements of relevant Open Source Licenses for all Open Source Materials
         that any Business Entity externally distributes, including but not limited to Open Source
         Materials in all Business Entity products that are distributed as of the Closing Date by the
         any Business Entity, including but not limited to any SAS Client and any AdServing
         Clients-CIT.

5.       Sellers shall have, and shall have caused all Business Entities to have, made the buildable
         source code form of all Copyleft Materials (including any modifications by any Business
         Entity to same) that any Business Entity distributes externally, including but not limited
         to Copyleft Materials in all Business Entity products distributed as of the Closing Date by
         the any Business Entity, including but not limited to any SAS Client and any AdServing
         Clients-CIT.

InforSec Closing Conditions

1.       Rotate all production SSH keys.

2.       All passwords shall be rotated between day before and day after Closing.

3.       Create strong password complexity that are at least 8 characters long, require 2 of the
         following: uppercase, numeric or special character for all production systems
         (MDX/SAS, core finance and HR) that contain sensitive data.

4.       Change all passwords for all admin accounts on all corporate and production systems that
         host sensitive data.

5.       Provide the list of systems and last password rotated time stamp/date.



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6.       Provide the list of service accounts and last password rotated date.

7.       Patch all external facing services/end points supported version with latest security
         patches applied for external facing services/end points.

8.       Patch all server software with the latest updates for SAS and MDX including data center
         servers.

9.       Patch all employee laptops with the latest updates for the OS and all major software
         installations, including Microsoft, Apple, Adobe, Java, Firefox, Chrome, etc.

10.      Turn on host firewall rules for all production servers to white list access to translators and
         databases. Only allow communication from whitelisted hosts and deny all other. Turn on
         and configure AWS WAF for AWS prod environment.

11.      Enable 2fa for Okta. Any non-federated SaaS services should have 2fa turned on
         manually if able.

12.      Start implementing MFA for all employee accounts in MDX/SAS.

13.      Add authorization checks to this endpoint (https://mdx.sizmek.com/rest/users )

14.      Add authorization checks to the following endpoints:

                a. https://mdx.sizmek.com/rest/accounts/{ID}

                b. https://mdx.sizmek.com/rest/users/{ID}

                c. https://platform.sizmek.com:443/rest/advertisers/{ID}

                d. https://platform.sizmek.com:443/rest/brands/{ID}

                e. https://mdx.sizmek.com:443/rest/strategies/vwf/{ID}

                f. https://mdx.sizmek.com:443/rest/strategies/targetAudiencesV2 •
                   https://mdx.sizmek.com:443/rest/dco/{ID}

                g. https://mdx.sizmek.com:443/rest/assets

15.      Turn on GuardDuty for all AWS accounts

16.      Run Trusted Advisor on all AWS accounts and provide Amazon with the reports

17.      Disable public viewing of this page/only use IP whitelisting:

                a. http://origin.demo.sizmek.com/kamalan/links33.html

18.      Remove employee accounts in SAS/MDX for separated employees (including those
         employees who joined Zeta). This audit should be performed every 2 weeks until close.


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         Please provide a list of accounts removed and list of employees who have access to
         SAS/MDX to Amazon on this recurring basis.




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                             Schedule 1.1 – Intercompany Claims

Intercompany Agreements:

 Side 1 Name of Company      Country       Side 2 Name of Company     Country     Type of contract
                                                                                  Transfer Pricing
 Sizmek Technologies Inc.    USA           Sizmek Technologies Ltd.   Israel      agreement
                             USA           Sizmek Technologies Ltd.   Israel      Loan
                             USA           Sizmek Technologies Ltd.   Israel      Loan
 Sizmek Technologies Ltd.    UK            Sizmek Technologies Ltd.   Israel      TP agreement
                             UK            Sizmek Technologies Inc.   USA         Loan
 Sizmek Technologies
 Mexico SA DE CV             Mexico        Sizmek Technologies Ltd.   Israel      TP agreement
                             Mexico        Sizmek Technologies Ltd.   Israel      Capital note
                             Mexico        Sizmek Technologies Ltd.   Israel      Capital note
 Sizmek Technologies
 S.R.L.                      Argentina     Sizmek Technologies Ltd.   Israel      TP agreement
                             Argentina     Sizmek Technologies Ltd.   Israel      Loan
 Sizmek Propaganda
 Digital Do Brazil LTDA      Brazil        Sizmek Technologies Ltd.   Israel      TP agreement
 Sizmek Technologies PTY
 Limited                     Australia     Sizmek Technologies Ltd.   Israel      TP agreement
 Sizmek SARL                 France        Sizmek Technologies Ltd.   UK          TP agreement
                                           Sizmek Technologies Inc.   USA         Loan
 Sizmek Technologies
 GmbH                        Germany       Sizmek Technologies Ltd.   UK          TP agreement
                             Germany       Sizmek Technologies Ltd.   Israel
 Sizmek Spain, SL            Spain         Sizmek Technologies Ltd.   UK          TP agreement
                             Spain         Sizmek Technologies Ltd.   UK          Loan
                                           Sizmek Technologies Inc.   USA         Loan
 Sizmek Technologies
 Sweden AB                   Sweden        Sizmek Technologies Ltd.   UK          TP agreement
 Sizmek Technologies sp. z
 o.o.                        Poland        Sizmek Technologies Ltd.   Israel      TP agreement
 MediaMind Technologies
 (Shanghai) Ltd.             China         Sizmek Technologies Ltd.   Israel      TP agreement
 Sizmek Technologies K.K     Japan         Sizmek Technologies Ltd.   Israel      TP agreement
 Sizmek Technologies
 Phils. Inc.                 Philippines   Sizmek Technologies Ltd.   Israel      TP agreement
 Sizmek d.o.o. Beograd       Serbia        Sizmek Technologies Ltd.   Israel      TP agreement

Intercompany Claims: See attached.




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     Sizmek intercompany balance
                                                                                                                          Selling                   The company that issue the IC invoince
     Amount as of April 30, 2019                                                                                          Buying                    The company that receive IC invoice




                                                                                                                          USD
     Name of the company                        Country                                               Country             Debit / (credit)          Comments
                                                                      Amount Argentina owes to
     Sizmek Technologies S.R.L.                 Argentina             Sizmek Technologies Inc.        USA                                           Expenses charge
     Sizmek Technologies S.R.L.                 Argentina   Buying    Sizmek Technologies Ltd.        Israel    Selling              (712,166.55) Distributer agreement (TP)
                                                                                                                                     (712,166.55)
                                                                      Amount Argentina loaned from
     Sizmek Technologies S.R.L.                 Argentina             Sizmek Technologies Ltd.        Israel                          (88,164.00) Loan
GT   Sizmek Technologies S.R.L.                 Argentina             Grand Total                                                    (800,330.55)                                                    -

                                                                      Amount Sizmek Australia owes
     Sizmek Technologies Pty. Limited           Australia             Sizmek Technologies Inc.        USA                                           Expenses charge
     Sizmek Technologies Pty. Limited           Australia   Selling   Sizmek Technologies Ltd.        Israel    Buying               (241,289.30) Pre/Post sales service (TP)
                                                                                                                                     (241,289.30)
GT   Sizmek Technologies Pty. Limited                                 Grand Total


                                                                      Amount Sizmek Brazil owes
     Sizmek Propaganda Digital Do Brazil LTDA   Brazil      Buying    Sizmek Technologies Ltd.        Israel    Selling              (813,772.94) Distributer agreement (TP)
     Sizmek Propaganda Digital Do Brazil LTDA   Brazil                Sizmek Technologies Inc.        USA                                           Expenses charge
                                                                                                                                     (813,772.94)
GT   Sizmek Propaganda Digital Do Brazil LTDA                         Grand Total
                                                                      Amount owed to Sizmek China
     MediaMind Technologies (Shanghai) Ltd.     China       Buying    Sizmek Hong Kong Limited        HK        Selling              437,220.17 Cost charges (TP)
                                                                                                                                     437,220.17
                                                                      Amount Sizmek China owes
     MediaMind Technologies (Shanghai) Ltd.     China       Buying    Sizmek Technologies Ltd.        Israel    Selling         (2,230,322.33) Distributer agreement (TP)
     MediaMind Technologies (Shanghai) Ltd.     China                 Sizmek Technologies Inc.        USA                                           Expenses charge
                                                                                                                                (2,230,322.33)
GT   MediaMind Technologies (Shanghai) Ltd.                           Grand Total                                               (1,793,102.16)                                               -140,541.00

                                                                      Amount owed to Sizmek France
     Sizmek SARL                                France                Sizmek Technologies Ltd.        UK                              55,414.07 Cost cross charge


                                                                      Amount Sizmek France owes
     Sizmek SARL                                France      Selling   Sizmek Technologies Ltd.        UK        Byuing                              Pre/Post sales service (TP)
                                                                                                                                             -
                                                                      Loan to Sizmek France
     Sizmek SARL                                France                Sizmek Technologies Inc.        USA                            (800,923.46) Loan


GT   Sizmek SARL                                                      Grand Total                                                    (745,509.39)


                                                                      Amount owed to Sizmek Germany
     Sizmek Technologies GmbH                   Germany     Selling   Sizmek Technologies Ltd.        Israel    Byuing               702,063.78 R&D services (TP)
     Sizmek Technologies GmbH                   Germany     Selling   Sizmek Technologies Ltd.        UK        Byuing               345,750.54 Pre/Post sales service (TP)
                                                                                                                                    1,047,814.32
                                                                      Amount Sizmek Germany owes
     Sizmek Technologies GmbH                   Germany               Sizmek Technologies Inc.        US                                            TP intercompany balances


                                                                                                                                             -
GT   Sizmek Technologies GmbH                                         Grand Total                                                   1,047,814.32
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                                                                              Amount Sizmek Japan owes
     Sizmek Technologies K.K.                 Japan         Selling           Sizmek Technologies Ltd.                               Israel    Buying                       (258,698.97) Mainly Data Center services (TP)


GT   Sizmek Technologies K.K.                                                 Grand Total
                                                                              Amount Sizmek Mexico owes
     Sizmek Technologies Mexico SA DE CV      Mexico                          Sizmek Technologies Inc.                               USA                                                    Expenses charge
     Sizmek Technologies Mexico SA DE CV      Mexico        Buying            Sizmek Technologies Ltd.                               Israel    Selling                      (695,967.21) Distributer agreement (TP)
                                                                                                                                                                            (695,967.21)
                                                                              Loans to Sizmek Mexico
     Sizmek Technologies Mexico SA DE CV      Mexico                          Sizmek Technologies Ltd.                               Israel                                 (450,000.00) Capital notes were sent with Israel detail
GT   Sizmek Technologies Mexico SA DE CV                                      Grand Total                                                                                  (1,145,967.21)                                                                              -
                                                                              Amount owed to Sizmek Phll.
     Sizmek Technologies Phils. Inc.          Philippines   Selling           Sizmek Technologies Ltd.                               Israel    Buying                         47,891.31 Services (TP)
                                                                              Amount Sizmek Phill owes
                                                                              Sizmek DSP Inc.                                        Israel                                                 TP intercompany balances


GT   Sizmek Technologies Phils. Inc.                                          Grand Total                                                                                     47,891.31                                                                                -
                                                                              Amount Sizmek Poland owed
GT   Sizmek Technologies sp. z o.o.           Poland        Selling           Sizmek Technologies Ltd.                               Israel    Buying                       (300,261.26) R&D service (TP)                                                              -

                                                                              Amount owed to Sizmek Spain
     Sizmek Spain, SL                         Spain         Selling           Sizmek Technologies Ltd.                               UK        Buying                        967,004.35 Pre/Post sales service (TP)
                                                                                                                                                                             967,004.35
                                                                              Amount Sizmek Spain owes
     Sizmek Spain, SL                         Spain                           Sizmek Technologies Inc.                                                                                      Expenses charge
                                                                              Loans to Spain
     Sizmek Spain, SL                         Spain                           Sizmek Technologies Inc. Loan                          USA                                    (304,846.35) Loan
     Sizmek Spain, SL                         Spain                           Sizmek Technologies Ltd. (Profit Participating Loan)   UK                                     (470,387.72) Loan
                                                                                                                                                                            (775,234.07)


GT   Sizmek Technologies Phils. Inc.                                          Grand Total                                                                                    191,770.28                                                                                -
                                                                              Amount Sizmek Sweden owes
     Sizmek Technologies Sweden AB            Sweden        Selling           Sizmek Technologies Ltd.                               UK        Buying                          (6,044.52) Pre/Post sales service (TP)
GT   Sizmek Technologies Sweden AB                                            Grand Total                                                                                      (6,044.52)                                                          (167.77)        -167.77

                                                                              Amount owed to Sizmek UK
     Sizmek Technologies Ltd.                 UK                              Sizmek Technologies Inc.                               US                                                     Cash Transfer
     Sizmek Technologies Ltd.                 UK            Mainly Buying and selling
                                                                               Sizmek Technologies Ltd.                              Israel    Mainly Selling and buying   2,331,009.30 Distributer agreement (TP), data Center and R&D services
     Sizmek Technologies Ltd.                 UK            Buying            Sizmek Technologies Sweden AB                          Sweden    Selling                         6,051.22 Pre/Post sales service (TP)
                                                                                                                                                                           2,337,060.52
                                                                              Loans Sizmek UK Gave
     Sizmek Technologies Ltd.                 UK                              Sizmek Spain, SL (Profit Participating Loan)           Spain                                   470,403.85 Loan
                                                                              Amount Sizmek UK owes
     Sizmek Technologies Ltd.                 UK            Buying            Sizmek Technologies GmbH                               Germany   Selling                      (345,268.75) Pre/Post sales service (TP)
     Sizmek Technologies Ltd.                 UK                              Sizmek Technologies Inc.                               US                                    (1,040,046.44) Cash Transfer
     Sizmek Technologies Ltd.                 UK            Buying            Related Parties - Spain (##, ###, ##)                  Spain     Selling                      (966,565.21) Pre/Post sales service (TP)
     Sizmek Technologies Ltd.                 UK            Buying            Sizmek SARL                                            France    Selling                       (55,670.50) Pre/Post sales service (TP)
     Sizmek Technologies Ltd.                 UK            Buying            Sizmek Technologies Sweden AB                          Sweden    Selling                                      Pre/Post sales service (TP)
                                                                                                                                                                           (2,407,550.90)
                                                                              Loans to Sizmek UK
     Sizmek Technologies Ltd.                 UK                              Sizmek Technologies Inc. Loan                          US                                    (6,136,436.01) Loan


GT   Sizmek Technologies Ltd.                                                 Grand Total                                                                                  (5,736,522.54)                                                                     -4,415,538.24

                                                                              Amount owed to Sizmek HK
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     Sizmek Hong Kong Limited                       HK                             Sizmek technologies Ltd                         Israel                               220,038.92 Cash Transfer
                                                                                   Amount Sizmek HK owes
     Sizmek Hong Kong Limited                       HK                             Sizmek Technologies Inc.                        USA                                   (15,264.48) Cash transfer
     Sizmek Hong Kong Limited                       HK          Selling            MediaMind Technologies (Shanghai) Ltd.          China          Buying               (437,368.67) Cost charges (TP)
                                                                                                                                                                       (452,633.15)


GT   Sizmek Hong Kong Limited                                                      Grand Total                                                                         (232,594.23)                                                                                      -
                                                                                   Amount StrikAd Singapore owes
GT   StrikeAd Asia Pte. Ltd.                        Singapore                      Related Parties - Israel (##, ###, ##)                                             (2,199,973.92) Cash transfer


                                                                                   Amount Sizmek Serbia owes
GT   Sizmek d.o.o. Beograd                          Serbia      Selling            Sizmek Technologies Ltd.                        Israel         Buying               (122,318.66) Services (TP)                                                                        -

                                                                                   Amount owed to Sizmek USA
     Sizmek Technologies Inc.                       USA         Buying & Selling   Sizmek Technologies Ltd.                        Israel         Buying & Selling   23,847,795.55 Distributer agreement (TP), Data Center cost charges, R&D sevices and HQ services
     Sizmek Technologies Inc.                       USA                            Sizmek Technologies Ltd.                        UK                                 1,040,000.00 Cash Transfer
     Sizmek Technologies Inc.                       USA                            Sizmek Technologies Mexico SA DE CV             Mexico                                             Expenses charge
     Sizmek Technologies Inc.                       USA                            Sizmek Technologies GmbH                        Germany                                            Expenses charge
     Sizmek Technologies Inc.                       USA                            Sizmek Technologies S.R.L.                      Argentina                                          Expenses charge
     Sizmek Technologies Inc.                       USA                            Sizmek SARL                                     France                                             Expenses charge
     Sizmek Technologies Inc.                       USA                            Sizmek Propaganda Digital Do Brazil LTDA        Brazil                                             Expenses charge
     Sizmek Technologies Inc.                       USA                            MediaMind Technologies (Shanghai) Ltd.          China                                              Expenses charge
     Sizmek Technologies Inc.                       USA                            Sizmek Spain, SL                                Spain                                              Expenses charge
     Sizmek Technologies Inc.                       USA                            Sizmek Hong Kong Limited                        HK                                    15,264.48 Cash Transfer
     Sizmek Technologies Inc.                       USA                            Sizmek Technologies Pty. Limited                Australia                                    -     Expenses charge
                                                                                                                                                                     24,903,060.03
                                                                                   Loan Sizmek USA gave
     Sizmek Technologies Inc.                       USA                            Sizmek Technologies Ltd.                        Israel                            77,640,416.02 Loan
     Sizmek Technologies Inc.                       USA                            Sizmek Technologies Ltd.                        UK                                 6,136,436.00 Loan
     Sizmek Technologies Inc.                       USA                            Related Parties France - Loan (##, ###, ##)     France                               800,923.46 Loan
     Sizmek Technologies Inc.                       USA                            Related Parties Spain - Loan (##, ###, ##)      Spain                                304,845.36 Loan
                                                                                                                                                                     84,882,620.84


     Amounts owed to Sizmek Technologies (Israel)
     Sizmek Technologies Ltd.                       Israel      Selling            Sizmek Technologies S.R.L.                      Argentina      Buying                712,166.55 Distributer agreement (TP), data Center and R&D services
     Sizmek Technologies Ltd.                       Israel      Selling            Sizmek Propaganda Digital Do Brazil LTDA        Brazil         Buying                813,874.44 Distributer agreement (TP), data Center and R&D services
     Sizmek Technologies Ltd.                       Israel      Buying             Rocket Fuel Czech Services s.r.o.               Czech Republic Selling                             #REF!
     Sizmek Technologies Ltd.                       Israel                         StrikeAd Asia Pte. Ltd.                         Singapore                          2,200,028.75 Cash Transfer
     Sizmek Technologies Ltd.                       Israel      Selling            MediaMind Technologies (Shanghai) Ltd.          China          Buying              2,230,343.52 Distributer agreement (TP), data Center and R&D services
     Sizmek Technologies Ltd.                       Israel      Buying             Sizmek Technologies sp. z o.o.                  Poland         Selling               299,631.63 #REF!
     Sizmek Technologies Ltd.                       Israel      Buying             Sizmek d.o.o. Beograd                           Serbia         Selling               122,318.66 Services (TP)
     Sizmek Technologies Ltd.                       Israel      Buying             Sizmek Technologies K.K.                        Japan          Selling               258,698.97 Mainly Data Center services (TP)
     Sizmek Technologies Ltd.                       Israel      Selling            Sizmek Technologies Mexico SA DE CV             Mexico         Buying                695,967.21 Distributer agreement (TP), data Center and R&D services
     Sizmek Technologies Ltd.                       Israel      Buying             Sizmek Technologies Pty. Limited                Australia      Selling               241,338.24 #REF!
                                                                                                                                                                      7,574,367.97
                                                                                   Loans Sizmek Israek Gave
     Sizmek Technologies Ltd.                       Israel                         Sizmek Technologies S.R.L.                      Argentina                             88,164.00 Loan
     Sizmek Technologies Ltd.                       Israel                         Sizmek Technologies Mexico SA DE CV             Mexico                               450,000.00 Loan
                                                                                                                                                                        538,164.00
                                                                                   Amounts Sizmek Technologies (Israel) Owes to:
     Sizmek Technologies Ltd.                       Israel      Buying             Sizmek Technologies sp. z o.o.                  Poland         Selling                             #REF!
     Sizmek Technologies Ltd.                       Israel      Buying             Sizmek Technologies GmbH                        Germany        Selling              (702,139.45) #REF!
     Sizmek Technologies Ltd.                       Israel      Buying             Sizmek d.o.o. Beograd                           Serbia         Selling                             Services (TP)
     Sizmek Technologies Ltd.                       Israel      Buying             Sizmek Technologies Phils. Inc.                 Philippines    Selling                (47,764.48) Services (TP)
     Sizmek Technologies Ltd.                       Israel      Buying & Selling   Sizmek Technologies, Inc.                       USA            Buying & Selling   (23,847,794.75) Distributer agreement (TP), Data Center cost charges, R&D sevices and HQ services
     Sizmek Technologies Ltd.                       Israel                         Sizmek Hong Kong Limited                        HK                                  (220,048.31) Cash transfer
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     Sizmek Technologies Ltd.          Israel   Mainly Selling and buying
                                                                    Sizmek Technologies LTD          UK   Mainly Buying and selling    (2,331,583.33) Distributer agreement (TP), data Center and R&D services
                                                                                                                                      (27,149,330.32)
                                                                  Loans to Sizmek Israel
     Sizmek Technologies Ltd.          Israel                     Sizmek Technologies, Inc. - Loan                                    (77,640,416.02) Loan


GT                                                                Grand total                                                         (96,677,214.37)                                                              130,614.05



                                                                                                                                                -       difference due to imaterial amounts marked in yellow     -4,425,632.96
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                                                                  Business One Company: Consolidated
                                                                  Created: 22/05/2019 15:26


NoteCode
      NoteCodeNameCompanyId                  AcctCode             AcctName                                               Ledger
11705 Related Parties Eyeblaster Argentina   204007-00-000-0000 Related Parties Israel - Loan (##, ###, ##)               (88,164.00)
11705 Related Parties Eyeblaster Argentina   203037-00-000-0000 Related Parties - Israel (##, ###, ##)                   (712,166.55)    (800,330.55)

11705 Related Parties Eyeblaster Australia   203037-00-000-0000 Related Parties - Israel (##, ###, ##)                   (241,289.30)
11705 Related Parties Eyeblaster Australia   203098-00-000-0000 Related Parties - Rocketfuel Australia (##, ###, ##)    1,017,459.35      776,170.05

11705 Related Parties Eyeblaster Brazil      203037-00-000-0000 Related Parties - Israel (##, ###, ##)                   (813,772.94)
11705 Related Parties Eyeblaster Brazil      203123-00-000-0000 Related Parties - RF BR (##, ###, ##)                     15,207.97      (798,564.97)

11705 Related Parties Eyeblaster China       203037-00-000-0000 Related Parties - Israel (##, ###, ##)                 (2,225,981.18)
11705 Related Parties Eyeblaster China       204007-00-000-0000 Related Parties Israel - Loan (##, ###, ##)                (4,341.15)
11705 Related Parties Eyeblaster China       203088-00-000-0000 Related Parties - RocketFuel USA (##, ###, ##)           140,541.00
11705 Related Parties Eyeblaster China       203070-00-000-0000 Related Parties - Hong Kong (##, ###, ##)                437,220.17     (1,652,561.16)

11705 Related Parties Eyeblaster Corporate   908609-00-000-0000 Related Parties - CON (##, ###, ##)                    60,052,580.51


11705 Related Parties Eyeblaster France      203028-00-000-0000 AR - Related Parties (##, ###, ##)                             (0.02)
11705 Related Parties Eyeblaster France      203004-00-000-0000 Related Parties - UK (##, ###, ##)                        55,414.07
11705 Related Parties Eyeblaster France      203001-00-000-0000 Related Parties - US (##, ###, ##)                             (0.01)
11705 Related Parties Eyeblaster France      203093-00-000-0000 Related Parties - Rocketfuel France (##, ###, ##)          (8,931.56)
11705 Related Parties Eyeblaster France      204004-00-000-0000 Related Parties US - Loan (##, ###, ##)                  (800,923.46)    (754,440.98)

11705 Related Parties Eyeblaster Germany     203037-00-000-0000 Related Parties - Israel (##, ###, ##)                   702,063.78
11705 Related Parties Eyeblaster Germany     203088-00-000-0000 Related Parties - RocketFuel USA (##, ###, ##)            67,587.45
11705 Related Parties Eyeblaster Germany     203004-00-000-0000 Related Parties - UK (##, ###, ##)                       345,750.54
11705 Related Parties Eyeblaster Germany     203092-00-000-0000 Related Parties - Rocketfuel Germany (##, ###, ##)              5.58    1,115,407.35

11705 Related Parties Eyeblaster Israel      203119-00-000-0000 Related Parties – SZ Hong Kong (##, ###, ##)             (220,048.31)
11705 Related Parties Eyeblaster Israel      203020-00-000-0000 Related Parties - Philippines (##, ###, ##)               (47,764.48)
11705 Related Parties Eyeblaster Israel      203088-00-000-0000 Related Parties - RocketFuel USA (##, ###, ##)           (130,614.05)
11705 Related Parties Eyeblaster Israel      203016-00-000-0000 Related Parties - Japan (##, ###, ##)                    258,698.97
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11705 Related Parties Eyeblaster Israel       203001-00-000-0000 Related Parties - US (##, ###, ##)                   (23,847,794.75)
11705 Related Parties Eyeblaster Israel       204006-00-000-0000 Related Parties Argentina - Loan (##, ###, ##)           88,164.00
11705 Related Parties Eyeblaster Israel       203010-00-000-0000 Related Parties - Mexico (##, ###, ##)                  695,967.21
11705 Related Parties Eyeblaster Israel       203012-00-000-0000 Related Parties - Germany EUR (##, ###, ##)            (702,139.45)
11705 Related Parties Eyeblaster Israel       203034-00-000-0000 Related Parties - StrikeAd SG (##, ###, ##)           1,031,144.47
11705 Related Parties Eyeblaster Israel       204005-00-000-0000 Related Parties China - Loan (##, ###, ##)                 4,354.00
11705 Related Parties Eyeblaster Israel       204004-00-000-0000 Related Parties US - Loan (##, ###, ##)              (77,640,416.02)
11705 Related Parties Eyeblaster Israel       203004-00-000-0000 Related Parties - UK (##, ###, ##)                    (2,331,583.33)
11705 Related Parties Eyeblaster Israel       203036-00-000-0000 Related Parties - Poland (##, ###, ##)                  299,631.63
11705 Related Parties Eyeblaster Israel       203022-00-000-0000 Related Parties - Pixel DOO - Serbia (##, ###, ##)      122,318.66
11705 Related Parties Eyeblaster Israel       203019-00-000-0000 Related Parties - Argentina (##, ###, ##)               712,166.55
11705 Related Parties Eyeblaster Israel       203005-00-000-0000 Related Parties - Australia (##, ###, ##)               241,338.24
11705 Related Parties Eyeblaster Israel       203011-00-000-0000 Related Parties - Brazil (##, ###, ##)                  813,874.44
11705 Related Parties Eyeblaster Israel       204002-00-000-0000 Capital Note - MEX (##, ###, ##)                        450,000.00
11705 Related Parties Eyeblaster Israel       203018-00-000-0000 Related Parties - China (##, ###, ##)                 2,225,989.52
11705 Related Parties Eyeblaster Corporate    908634-00-000-0000 Related Parties SG - USA (##, ###, ##)                1,168,884.28     (96,807,828.42)

11705 Related Parties Eyeblaster Japan        203037-00-000-0000 Related Parties - Israel (##, ###, ##)                 (258,698.97)
11705 Related Parties Eyeblaster Japan        203088-00-000-0000 Related Parties - RocketFuel USA (##, ###, ##)           21,334.00       (237,364.97)

11705 Related Parties Eyeblaster Mexico       204003-00-000-0000 Capital Note - Israel (##, ###, ##)                    (450,000.00)
11705 Related Parties Eyeblaster Mexico       203037-00-000-0000 Related Parties - Israel (##, ###, ##)                 (695,967.21)     (1,145,967.21)

11705 Related Parties Eyeblaster Philippines 203037-00-000-0000 Related Parties - Israel (##, ###, ##)                    47,891.31


11705 Related Parties Eyeblaster Poland       203037-00-000-0000 Related Parties - Israel (##, ###, ##)                 (300,261.26)


11705 Related Parties Eyeblaster Spain        204013-00-000-0000 Profit Participating Loan UK (##, ###, ##)             (470,387.72)
11705 Related Parties Eyeblaster Spain        203004-00-000-0000 Related Parties - UK (##, ###, ##)                      967,004.35
11705 Related Parties Eyeblaster Spain        204004-00-000-6000 Related Parties US - Loan (##, ###, CFO)               (304,846.35)       191,770.28

11705 Related Parties Eyeblaster Sweden       203004-00-000-0000 Related Parties - UK (##, ###, ##)                        (6,044.52)
11705 Related Parties Eyeblaster Sweden       203096-00-000-0000 Related Parties - Rocketfuel Sweden (##, ###, ##)           167.77          (5,876.75)

11705 Related Parties Eyeblaster UK           203039-00-000-0000 Related Parties - France (##, ###, ##)                   (55,670.50)
11705 Related Parties Eyeblaster UK           203029-00-000-0000 Related Parties - EW US (##, ###, ##)                      4,207.08
11705 Related Parties Eyeblaster UK           203001-00-000-0000 Related Parties - US (##, ###, ##)                    (1,040,046.44)
11705 Related Parties Eyeblaster UK           204013-00-000-0000 Profit Participating Loan UK (##, ###, ##)              470,403.85
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11705 Related Parties Eyeblaster UK        203106-00-000-0000 Related Parties - Rocketfuel Italy - EUR (##, ###, ##)      152,682.55
11705 Related Parties Eyeblaster UK        204004-00-000-0000 Related Parties US - Loan (##, ###, ##)                   (6,136,436.01)
11705 Related Parties Eyeblaster UK        203105-00-000-0000 Related Parties - Rocketfuel UK GBP (##, ###, ##)         4,398,539.46
11705 Related Parties Eyeblaster UK        203038-00-000-0000 Related Parties - Spain (##, ###, ##)                      (966,565.21)
11705 Related Parties Eyeblaster UK        203062-00-000-0000 EW - Related Parties Euro (##, ###, ##)                          14.85
11705 Related Parties Eyeblaster UK        203044-00-000-0000 Related Parties - Peer 39 Inc (##, ###, ##)                        5.84
11705 Related Parties Eyeblaster UK        203037-00-000-0000 Related Parties - Israel (##, ###, ##)                    2,331,009.30
11705 Related Parties Eyeblaster UK        203066-00-000-0000 Related Parties - Sweden (##, ###, ##)                         6,051.22
11705 Related Parties Eyeblaster UK        203040-00-000-0000 Related Parties - Germany (##, ###, ##)                    (345,268.75)
11705 Related Parties Eyeblaster UK        203088-00-000-0000 Related Parties - RocketFuel USA (##, ###, ##)             (142,311.64)     (1,320,984.30)
11705 Related Parties Eyeblaster UK        203030-00-000-0000 Related Parties EUR - EW Netherlands (##, ###, ##)             2,400.10


11705 Related Parties Eyeblaster USA       204012-00-000-0000 Related Parties UK - Loan (##, ###, ##)                   6,136,436.00
11705 Related Parties Eyeblaster USA       204007-00-000-0000 Related Parties Israel - Loan (##, ###, ##)              77,640,416.02
11705 Related Parties Eyeblaster USA       203019-00-000-0000 Related Parties - Argentina (##, ###, ##)                          0.11
11705 Related Parties Eyeblaster USA       204011-00-000-0000 Related Parties Spain - Loan (##, ###, ##)                  304,845.36
11705 Related Parties Eyeblaster USA       203088-00-000-0000 Related Parties - RocketFuel USA (##, ###, ##)             (333,512.56)
11705 Related Parties Eyeblaster USA       203037-00-000-0000 Related Parties - Israel (##, ###, ##)                   23,847,795.55
11705 Related Parties Eyeblaster USA       203070-00-000-0000 Related Parties - Hong Kong (##, ###, ##)                    15,264.48
11705 Related Parties Eyeblaster USA       203082-00-000-0000 Related Parties - EW Swiss (##, ###, ##)                   (879,216.60)
11705 Related Parties Eyeblaster USA       203010-00-000-0000 Related Parties - Mexico (##, ###, ##)                            (8.73)
11705 Related Parties Eyeblaster USA       203029-00-000-0000 Related Parties - EW US (##, ###, ##)                    (59,179,197.16)
11705 Related Parties Eyeblaster USA       203018-00-000-0000 Related Parties - China (##, ###, ##)                              0.09
11705 Related Parties Eyeblaster USA       203039-00-000-0000 Related Parties - France (##, ###, ##)                           54.14
11705 Related Parties Eyeblaster USA       203016-00-000-0000 Related Parties - Japan (##, ###, ##)                             (3.40)
11705 Related Parties Eyeblaster USA       204009-00-000-0000 Related Parties France - Loan (##, ###, ##)                 800,923.46
11705 Related Parties Eyeblaster USA       203011-00-000-0000 Related Parties - Brazil (##, ###, ##)                             1.60
11705 Related Parties Eyeblaster USA       203040-00-000-0000 Related Parties - Germany (##, ###, ##)                          27.94
11705 Related Parties Eyeblaster USA       203004-00-000-0000 Related Parties - UK (##, ###, ##)                        1,040,000.00
11705 Related Parties Eyeblaster USA       203038-00-000-0000 Related Parties - Spain (##, ###, ##)                             (7.41)   109,446,399.40

11705 Related Parties Eyeblaster_Serbia    203037-00-000-0000 Related Parties - Israel (##, ###, ##)                     (122,318.66)


11705 Related Parties Sizmek HongKong      203001-00-000-0000 Related Parties - US (##, ###, ##)                           (15,264.48)
11705 Related Parties Sizmek HongKong      203037-00-000-0000 Related Parties - Israel (##, ###, ##)                      220,038.92
11705 Related Parties Sizmek HongKong      203018-00-000-0000 Related Parties - China (##, ###, ##)                      (437,368.67)       (232,594.23)

11705 Related Parties StrikeAd Singapore   203004-00-000-0000 Related Parties - UK (##, ###, ##)                         (399,778.23)
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11705 Related Parties StrikeAd Singapore   203037-00-000-0000 Related Parties - Israel (##, ###, ##)    (1,063,938.11)
11705 Related Parties StrikeAd Singapore   203001-00-000-0000 Related Parties - US (##, ###, ##)          (736,257.58)   (2,199,973.92)

                                                                                                        #########


                                                                                                       Imaterial amount that was not included in the IC working papers
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                          Schedule 2.1(a) - Purchased Assets – Equipment

          Ad server functionality (MDX + SAS) and historical data.
          All laptops and monitors used by Transferred Employees.
          Other office equipment as agreed upon by Purchaser and Sellers.
          The following servers:

 System Name            Product ID   Product Model       Factory Serial   Site*   Role        Product
                                                         Number
 adams03                             ProLiant DL360 G6   MXQ94105X2               Spare

 bsnj01                              ProLiant BL460c     CZJ32901V9       NJ      Bursting    Ad Serving
                                     Gen8
 bsnj02                              ProLiant BL460c     CZJ32901V3       NJ      Bursting    Ad Serving
                                     Gen8
 bsnj03                              ProLiant BL460c     CZJ32901VM       NJ      Bursting    Ad Serving
                                     Gen8
 bsnj04                              ProLiant BL460c     CZJ32901VJ       NJ      Bursting    Ad Serving
                                     Gen8
 bsnj05                              ProLiant BL460c     CZ262802Y2       NJ      Bursting    Ad Serving
                                     Gen9
 bsnj06                              ProLiant BL460c     CZ262802Y9       NJ      Bursting    Ad Serving
                                     Gen9
 bsnj07                              ProLiant BL460c     CZ262802XN       NJ      Bursting    Ad Serving
                                     Gen9
 bsnj08                              ProLiant BL460c     CZ262802YG       NJ      Bursting    Ad Serving
                                     Gen9
 bsnj09                              ProLiant BL460c     CZ262802Y4       NJ      Bursting    Ad Serving
                                     Gen9
 bsnj10                              ProLiant BL460c     CZ262802XX       NJ      Bursting    Ad Serving
                                     Gen9
 bsnj11                              ProLiant BL460c     CZ262802XR       NJ      Bursting    Ad Serving
                                     Gen9
 bsnj12                              ProLiant BL460c     CZ262802YF       NJ      Bursting    Ad Serving
                                     Gen9
 bsnj13                              ProLiant BL460c     CZ262802YC       NJ      Bursting    Ad Serving
                                     Gen9
 bsnj14                              ProLiant BL460c     CZ262802Y0       NJ      Bursting    Ad Serving
                                     Gen9
 bsnj15                              ProLiant BL460c     CZ262802YB       NJ      Bursting    Ad Serving
                                     Gen9
 bsnj16                              ProLiant BL460c     CZ262802Y3       NJ      Bursting    Ad Serving
                                     Gen9
 bsnj23                              ProLiant BL460c     CZJ24501PP       NJ      Bursting    Ad Serving
                                     G7
 bsnj24                              ProLiant BL460c     CZJ24501PX       NJ      Bursting    Ad Serving
                                     G7
 bsnj25                              ProLiant BL460c     CZJ24501PW       NJ      Bursting    Ad Serving
                                     G7
 bsnj26                              ProLiant BL460c     CZJ24501PT       NJ      Bursting    Ad Serving
                                     G7
 bsnj27                              ProLiant BL460c     CZJ24501PQ       NJ      Bursting    Ad Serving
                                     G7
 bsnj28                              ProLiant BL460c     CZJ24501PZ       NJ      Bursting    Ad Serving
                                     G7
 bsnj29                              ProLiant BL460c     CZJ24501PR       NJ      Bursting    Ad Serving
                                     G7
 bsnj30                              ProLiant BL460c     CZJ24501PS       NJ      Bursting    Ad Serving
                                     G7
 bsnj31                              ProLiant BL460c     CZJ24501PV       NJ      Bursting    Ad Serving
                                     G7
 bsnj32                              ProLiant BL460c     CZJ24501PY       NJ      Bursting    Ad Serving
                                     G7
 bsnj33                              ProLiant BL460c     CZJ2110LK5       NJ      Bursting    Ad Serving
                                     G7


                                                         2
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 bsnj34                     ProLiant BL460c     MXQ103053P   NJ   Bursting    Ad Serving
                            G7
 bsnj35                     ProLiant BL460c     MXQ1030XT5   NJ   Bursting    Ad Serving
                            G7
 bsnj36                     ProLiant BL460c     CZJ2110LJS   NJ   Bursting    Ad Serving
                            G7
 bsnj37                     ProLiant BL460c     CZJ2110LJN   NJ   Bursting    Ad Serving
                            G7
 bsnj38                     ProLiant BL460c     CZJ1150Q8N   NJ   Bursting    Ad Serving
                            G7
 couchnj01                  ProLiant DL360 G7   CZJ2120RK3   NJ   Couchbase   Ad Serving

 couchnj02                  ProLiant DL360 G7   CZJ230032K   NJ   Couchbase   Ad Serving

 couchnj03                  ProLiant DL360 G7   CZJ230032M   NJ   Couchbase   Ad Serving

 couchnj04                  ProLiant DL360 G7   CZJ230032J   NJ   Couchbase   Ad Serving

 couchnj05                  ProLiant DL360 G7   CZJ1017TVK   NJ   Couchbase   Ad Serving

 bsnj13                     ProLiant BL460c     MXQ009001P   NJ   Spare       Ad Serving
                            G6
 couchnj06                  ProLiant DL360 G7   CZJ0440BYZ   NJ   Couchbase   Ad Serving

 bsnj14                     ProLiant BL460c     CZJ02306WB   NJ   Spare       Ad Serving
                            G6
 couchnj07                  ProLiant DL360 G7   CZJ1017TW5   NJ   Couchbase   Ad Serving

 bsnj15                     ProLiant BL460c     CZJ02306WF   NJ   Spare       Ad Serving
                            G6
 couchnj08                  ProLiant DL360 G7   CZJ2120RJZ   NJ   Couchbase   Ad Serving

 bsnj16                     ProLiant BL460c     CZJ02306WG   NJ   Spare       Ad Serving
                            G6
 couchnj09                  ProLiant DL360 G7   CZJ044077G   NJ   Couchbase   Ad Serving

 bsnj17                     ProLiant BL460c     CZJ02306WD   NJ   Spare       Ad Serving
                            G6
 bsnj18                     ProLiant BL460c     CZJ02306WH   NJ   Spare       Ad Serving
                            G6
 bsnj19                     ProLiant BL460c     CZJ02306WK   NJ   Spare       Ad Serving
                            G6
 bsnj20                     ProLiant BL460c     CZJ02306WC   NJ   Spare       Ad Serving
                            G6
 bsnj21                     ProLiant BL460c     CZJ02306WJ   NJ   Spare       Ad Serving
                            G6
 bsnj22                     ProLiant BL460c     CZJ02306WL   NJ   Spare       Ad Serving
                            G6
 couchnj10                  ProLiant DL360 G7   CZJ2120RJY   NJ   Couchbase   Ad Serving

 couchnj11                  ProLiant DL160      CZ260902WH   NJ   Couchbase   Ad Serving
                            Gen9
 couchnj12                  ProLiant DL160      CZ260902WC   NJ   Couchbase   Ad Serving
                            Gen9
 couchnj13                  ProLiant DL160      CZ260902WG   NJ   Couchbase   Ad Serving
                            Gen9
 couchnj14                  ProLiant DL160      CZ260902WF   NJ   Couchbase   Ad Serving
                            Gen9
 couchnj15                  ProLiant DL160      CZ260902W9   NJ   Couchbase   Ad Serving
                            Gen9
 couchnj16                  ProLiant DL160      CZ260902WB   NJ   Couchbase   Ad Serving
                            Gen9
 couchnj17                  ProLiant DL160      CZ260902WJ   NJ   Couchbase   Ad Serving
                            Gen9
 couchnj18                  ProLiant DL160      CZ260902WD   NJ   Couchbase   Ad Serving
                            Gen9
 dpnj01                     Proliant BL460c     CZJ32901VV   NJ   DP          Ad Serving
                            Gen8
 dpnj02                     Proliant BL460c     CZJ32901VW   NJ   DP          Ad Serving
                            Gen8



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 ecsnj01                         Proliant BL460c     CZ263502B6   NJ   ECS            Ad Serving
                                 Gen9
 ecsnj02                         Proliant BL460c     CZ263502B1   NJ   ECS            Ad Serving
                                 Gen9
 ecsnj03                         Proliant BL460c     CZ263502B8   NJ   ECS            Ad Serving
                                 Gen9
 NJ01               412152-B21   BladeSystem c7000   GB88340EHK   NJ                  Ad Serving
                                 Enclosure
 NJ02               507019-B21   BladeSystem c7000   GB8023XP3L   NJ                  Ad Serving
                                 Enclosure G2
 bsnj39                          ProLiant BL460c     CZJ02406L1   NJ   Spare          Ad Serving
                                 G6
 bsnj40                          ProLiant BL460c     CZJ92305NV   NJ   Spare          Ad Serving
                                 G6
 bsnj41                          ProLiant BL460c     CZJ02406L2   NJ   Spare          Ad Serving
                                 G6
 NJ03               507019-B21   BladeSystem c7000   CZ32440XE2   NJ                  Ad Serving
                                 Enclosure G2
 adminnj06                       ProLiant BL460c     USE04023XJ   NJ   Admin          MDX2.0
                                 G7
 adminnj07                       ProLiant BL460c     CZJ2110LKT   NJ   Admin          MDX2.0
                                 G7
 adminnj08                       ProLiant BL460c     CZJ2110LJF   NJ   Admin          MDX2.0
                                 G7
 adminnj10                       ProLiant BL460c     CZJ2110LKV   NJ   Admin          MDX2.0
                                 G7
 adminnj11                       ProLiant BL460c     CZJ2110LKX   NJ   Admin          MDX2.0
                                 G7
 adnj03                          ProLiant BL460c     MXQ20406HD   NJ   AD             MDX2.0
                                 G7
 adnj04                          ProLiant BL460c     CZJ1270FD1   NJ   AD             MDX2.0
                                 G7
 adnj12                          ProLiant BL460c     CZJ2110LJH   NJ   AD             MDX2.0
                                 G7
 adnj13                          ProLiant BL460c     CZJ2110LJJ   NJ   AD             MDX2.0
                                 G7
 appfabnj01                      ProLiant BL460c     CZJ420049M   NJ   APPFAB         MDX2.0
                                 Gen8
 appfabnj02                      ProLiant BL460c     CZJ420049N   NJ   APPFAB         MDX2.0
                                 Gen8
 appfabnj03                      ProLiant BL460c     CZJ420049P   NJ   APPFAB         MDX2.0
                                 Gen8
 appfabnj04                      ProLiant BL460c     CZJ420049L   NJ   APPFAB         MDX2.0
                                 Gen8
 appfabnj05                      ProLiant BL460c     CZJ30609CH   NJ   APPFAB         MDX2.0
                                 Gen8
 appfabnj06                      ProLiant BL460c     CZJ30609CJ   NJ   APPFAB         MDX2.0
                                 Gen8
 archnjn01                       ProLiant BL460c     CZJ447052G   NJ   Cluster Node   MDX2.0
                                 Gen8
 archnjn02                       ProLiant BL460c     CZJ447052F   NJ   Cluster Node   MDX2.0
                                 Gen8
 backup02                        ProLiant DL380 G7   CZ2115035H   NJ   Backup         MDX2.0

 bdbclonenj01                    ProLiant DL360 G7   CZJ2120RK0   NJ   BTO            MDX2.0

 bdbnjn03                        ProLiant DL580      CZJ63005YG   NJ   Cluster Node   MDX2.0
                                 Gen9
 bdbnjn04                        ProLiant DL580      CZJ63005YF   NJ   Cluster Node   MDX2.0
                                 Gen9
 bdbnjn05                        ProLiant DL580      CZJ71606Y2   NJ   Cluster Node   MDX2.0
                                 Gen9
 bdwhnjn03                       ProLiant BL460c     CZ263800BZ   NJ   Cluster Node   MDX2.0
                                 Gen9
 bdwhnjn04                       ProLiant BL460c     CZ263800BY   NJ   Cluster Node   MDX2.0
                                 Gen9
 bspreviewnj01                   ProLiant BL460c     CZJ2110LJ9   NJ   BSPREVIE       MDX2.0
                                 G7                                    W



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 bspreviewnj02                  ProLiant BL460c     CZJ2110LJL       NJ   BSPREVIE       MDX2.0
                                G7                                        W
 btocodernj01                   ProLiant BL460c     CZJ32901VN       NJ   BTO            MDX2.0
                                Gen8
 CZJ00804RR                     ProLiant DL360 G6   CZJ00804RR       NJ   Spare

 CZJ00804RY                     ProLiant DL360 G6   CZJ00804RY       NJ   Spare

 cldnjn01                       ProLiant BL460c     CZJ2110LK9       NJ   Cluster Node   MDX2.0
                                G7
 CZJ2110LPJ                     ProLiant BL460c     CZJ2110LPJ       NJ   Spare
                                G7
 cldnjn02                       ProLiant BL460c     CZJ2110LKC       NJ   Cluster Node   MDX2.0
                                G7
 crsnj01                        ProLiant BL460c     CZJ2110MPB       NJ   CRS            MDX2.0
                                G7
 crsnj02                        ProLiant BL460c     CZJ2110MP9       NJ   CRS            MDX2.0
                                G7
 DD7200             DD7200                          APM00135124290   NJ                  MDX2.0

 DD990              DD990                           3FA1704165       NJ                  MDX2.0

 depmonnj01                     ProLiant BL460c     CZJ2110LL4       NJ   DEPMON         MDX2.0
                                G7
 dsnj01                         ProLiant DL160      CZ2603127X       NJ   Display        MDX2.0
                                Gen9                                      Servers
 dsnj02                         ProLiant DL160      CZ2603127W       NJ   Display        MDX2.0
                                Gen9                                      Servers
 edsnjn01                       ProLiant BL460c     CZJ2110LJR       NJ   Cluster Node   MDX2.0
                                G7
 edsnjn02                       ProLiant BL460c     CZJ2110LJV       NJ   Cluster Node   MDX2.0
                                G7
 elsernj03                      ProLiant DL360e     MXQ33500WS       NJ   Elastic        MDX2.0
                                Gen8                                      Search
 elsernj04                      ProLiant DL360e     MXQ33500WT       NJ   Elastic        MDX2.0
                                Gen8                                      Search
 elsernj05                      ProLiant DL360 G7   CN702400CG       NJ   Elastic        MDX2.0
                                                                          Search
 elsernj06                      ProLiant DL360 G7   JPT141684B       NJ   Elastic        MDX2.0
                                                                          Search
 elsernj07                      ProLiant DL360 G7   CN70330DCW       NJ   Elastic        MDX2.0
                                                                          Search
 elsernj08                      ProLiant DL360 G7   CN715014QC       NJ   Elastic        MDX2.0
                                                                          Search
 elsernj09                      ProLiant DL360 G7   CN70500C44       NJ   Elastic        MDX2.0
                                                                          Search
 dsnj01-old                     ProLiant BL460c     CZJ2110LJM       NJ   Spare
                                G7
 elsernj10                      ProLiant DL360 G7   CN71520BH8       NJ   Elastic        MDX2.0
                                                                          Search
 dsnj02-old                     ProLiant BL460c     CZJ2110LJW       NJ   Spare
                                G7
 fsnjn03                        ProLiant BL460c     CZ25451BVC       NJ   Cluster Node   MDX2.0
                                Gen9
 ecsnj01old                     ProLiant BL460c     CZJ2110LJC       NJ   Spare
                                G7
 fsnjn04                        ProLiant BL460c     CZ25451BVB       NJ   Cluster Node   MDX2.0
                                Gen9
 ecsnj02old                     ProLiant BL460c     CZJ2110LJP       NJ   Spare
                                G7
 ftpnj01                        ProLiant BL460c     CZJ2110LJD       NJ   FTP            MDX2.0
                                G7
 ecsnj03old                     ProLiant BL460c     CZJ32901VQ       NJ   Spare
                                Gen8
 ftpnj02                        ProLiant BL460c     CZJ2110LJQ       NJ   FTP            MDX2.0
                                G7
 gplogsnjn01                    ProLiant BL460c     CZJ1270FD2       NJ   Cluster Node   MDX2.0
                                G7




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 gplogsnjn02                        ProLiant BL460c     CZJ1270FD4       NJ   Cluster Node   MDX2.0
                                    G7
 gpparsernj01                       ProLiant BL460c     CZJ1150Q8P       NJ   Parser         MDX2.0
                                    G7
 gpparsernj02                       ProLiant BL460c     CZJ1150QBR       NJ   Parser         MDX2.0
                                    G7
 gpparsernj03                       ProLiant BL460c     CZJ1270FCX       NJ   Parser         MDX2.0
                                    G7
 gpparsernj04                       ProLiant DL360e     MXQ34000CF       NJ   Parser         MDX2.0
                                    Gen8
 gpparsernj05                       ProLiant DL360e     MXQ33500WP       NJ   Parser         MDX2.0
                                    Gen8
 gpparsernj06                       ProLiant BL460c     MXQ14300D1       NJ   Parser         MDX2.0
                                    G7
 gpparsernj07                       ProLiant DL360 G6   CZJ02406CD       NJ   Parser         MDX2.0

 gpparsernj08                       ProLiant DL360 G6   CZJ02406CC       NJ   Parser         MDX2.0

 gpparsernj09                       ProLiant DL360 G6   CZJ00308WC       NJ   Parser         MDX2.0

 gpparsernj10                       ProLiant DL360 G6   CZJ00308W3       NJ   Parser         MDX2.0

 gpparsernj11                       ProLiant BL460c     MXQ12901L5       NJ   Parser         MDX2.0
                                    G7
 Greenplum                DCA2-                         APM00132701868   NJ                  MDX2.0
                          SYSRCKX
 Greenplum                DCA2-                         APM00132626026   NJ                  MDX2.0
                          SYSRCKX
 hddsnj01                           ProLiant DL380e     CZJ31205C6       NJ   Hadoop         MDX2.0
                                    Gen8
 hddsnj02                           ProLiant DL380e     CZJ31205C5       NJ   Hadoop         MDX2.0
                                    Gen8
 hddsnj03                           ProLiant DL380e     CZJ31205C8       NJ   Hadoop         MDX2.0
                                    Gen8
 hddsnj04                           ProLiant DL380e     CZJ31205C4       NJ   Hadoop         MDX2.0
                                    Gen8
 hddsnj05                           ProLiant DL380e     CZJ31205C7       NJ   Hadoop         MDX2.0
                                    Gen8
 hddsnj06                           ProLiant DL380e     CZJ31205C3       NJ   Hadoop         MDX2.0
                                    Gen8
 hddsnj07                           ProLiant DL380e     CZJ31205C1       NJ   Hadoop         MDX2.0
                                    Gen8
 hddsnj08                           ProLiant DL380e     CZJ3140K0S       NJ   Hadoop         MDX2.0
                                    Gen8
 hddsnj09                           ProLiant DL180      CZ352205NP       NJ   Hadoop         MDX2.0
                                    Gen9
 hddsnj10                           ProLiant DL180      CZ352205NV       NJ   Hadoop         MDX2.0
                                    Gen9
 hddsnj11                           ProLiant DL180      CZ352205NS       NJ   Hadoop         MDX2.0
                                    Gen9
 hddsnj12                           ProLiant DL180      CZ352205NM       NJ   Hadoop         MDX2.0
                                    Gen9
 hddsnj13                           ProLiant DL380p     CZ24140081       NJ   Hadoop         MDX2.0
                                    Gen8
 hddsnj14                           ProLiant DL380p     CZ24140080       NJ   Hadoop         MDX2.0
                                    Gen8
 hdmnnj01.eyedcny.local             ProLiant DL360 G6   CZJ00308W9       NJ   Hadoop         MDX2.0

 hdmnnj02.eyedcny.local             ProLiant DL360 G6   CZJ00308W6       NJ   Hadoop         MDX2.0

 hdwebnj01                          ProLiant BL460c     CZJ02406L3       NJ   Hadoop         MDX2.0
                                    G6
 hdwebnj02                          ProLiant BL460c     CZJ02406L4       NJ   Hadoop         MDX2.0
                                    G6
 elsernj11                          ProLiant DL360 G7   CN70500C62       NJ   Spare

 elsernj12                          ProLiant DL360 G7   JPT141684A       NJ   Spare

 mhnj01                             ProLiant BL460c     CZJ2110LK6       NJ   Backup         MDX2.0
                                    G7



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 networkernj01                    Proliant DL360      CZJ7410BRS   NJ   Networker       MDX2.0
                                  Gen9
 NJ04                507019-B21   BladeSystem c7000   CZ3128LHD0   NJ                   MDX2.0
                                  Enclosure G2
 NJ05                507019-B21   BladeSystem c7000   GB8025YN16   NJ                   MDX2.0
                                  Enclosure G2
 NJ06                507019-B21   BladeSystem c7000   CZ3212BSF7   NJ                   MDX2.0
                                  Enclosure G2
 NJ07                507019-B21   BladeSystem c7000   CZ3212BSF1   NJ                   MDX2.0
                                  Enclosure G2
 NJ08                507019-B21   BladeSystem c7000   CZ3212BSEY   NJ                   MDX2.0
                                  Enclosure G2
 NJ09                507019-B21   BladeSystem c7000   CZ3212BSE9   NJ                   MDX2.0
                                  Enclosure G2
 NJ10                412152-B21   BladeSystem c7000   GB8923SR57   NJ                   MDX2.0
                                  Enclosure
 NJ11                507019-B21   BladeSystem c7000   CZ3113BKRF   NJ                   MDX2.0
                                  Enclosure G2
 OLAPNJN01                        ProLiant DL580 G7   CZJ212105P   NJ   Cluster Node    MDX2.0

 OLAPNJN02                        ProLiant DL580 G7   CZJ212105N   NJ   Cluster Node    MDX2.0

 OLAPNJN03                        ProLiant BL680c     CZ3229R2FY   NJ   Cluster Node    MDX2.0
                                  G7
 omdbnjn01                        ProLiant BL460c     CZJ2110LKG   NJ   Cluster Node    MDX2.0
                                  G7
 omdbnjn02                        ProLiant BL460c     CZJ2110LKD   NJ   Cluster Node    MDX2.0
                                  G7
 ommsnj01                         ProLiant BL460c     CZJ2110LJT   NJ   SCOM            MDX2.0
                                  G7
 ommsnj02                         ProLiant BL460c     CZJ1150Q8Q   NJ   SCOM            MDX2.0
                                  G7
 qsnj04                           Proliant DL360      CZJ21119DH   NJ   Query Server    MDX2.0
                                  Gen9
 qsnj08                                               CZJ70303N1   NJ   Query Server    MDX2.0

 qsnj09                           Proliant DL360      CZJ70303ML   NJ   Query Server    MDX2.0
                                  Gen9
 qsnj10                           Proliant DL360      CZJ7410BRL   NJ   Query Server    MDX2.0
                                  Gen9
 rpsvcnj01                        ProLiant BL460c     CZJ21116RM   NJ   Report Server   MDX2.0
                                  G7
 rpsvcnj02                        ProLiant BL460c     CZJ21116RP   NJ   Report Server   MDX2.0
                                  G7
 rpsvcnj03                        ProLiant BL460c     CZJ21116RN   NJ   Report Server   MDX2.0
                                  G7
 RPSVCNJ09                        ProLiant BL460c     CZ3113BKMN   NJ   Report Server   MDX2.0
                                  G7
 RPSVCNJ10                        ProLiant BL460c     MXQ04304BG   NJ   Report Server   MDX2.0
                                  G7
 rsdbnjn01                        ProLiant BL460c     CZJ2110LKF   NJ   Cluster Node    MDX2.0
                                  G7
 rsdbnjn02                        ProLiant BL460c     CZJ2110LKB   NJ   Cluster Node    MDX2.0
                                  G7
 soimgrnj01                       ProLiant BL460c     CZJ21116RQ   NJ   SOI             MDX2.0
                                  G7
 soiscomconnj01                   ProLiant BL460c     CZJ21116RT   NJ   SOI             MDX2.0
                                  G7
 soistorenj01                     ProLiant BL460c     CZJ21116RS   NJ   SOI             MDX2.0
                                  G7
 soiwebnj01                       ProLiant BL460c     CZJ21116RR   NJ   SOI             MDX2.0
                                  G7
 sqlrestorenj01                   ProLiant DL580 G5   GB8953DWVD   NJ                   MDX2.0

 terminalnj01                     ProLiant BL460c     CZJ2110LKS   NJ   Terminal        MDX2.0
                                  G7
 terminalnj02                     ProLiant BL460c     CZJ2110LKR   NJ   Terminal        MDX2.0
                                  G7




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 vewnj01                                 ProLiant BL460c     CZJ2110LJZ       NJ   VEW         MDX2.0
                                         G7
 vewnj02                                 ProLiant BL460c     CZJ2110LK1       NJ   VEW         MDX2.0
                                         G7
 vewnj03                                 ProLiant BL460c     CZJ2110LJX       NJ   VEW         MDX2.0
                                         G7
 vewnj04                                 ProLiant BL460c     CZJ2110LK0       NJ   VEW         MDX2.0
                                         G7
 vewnj05                                 ProLiant BL460c     CZJ2110LJY       NJ   VEW         MDX2.0
                                         G7
 vewnj06                                 ProLiant BL460c     CZJ2110LK2       NJ   VEW         MDX2.0
                                         G7
 vewnj07                                 ProLiant BL460c     CZJ3170HMT       NJ   VEW         MDX2.0
                                         Gen8
 vewnj08                                 ProLiant BL460c     CZJ3170HMV       NJ   VEW         MDX2.0
                                         Gen8
 vewnj12                                 ProLiant BL460c     CZ270801R4       NJ   VEW         MDX2.0
                                         Gen9
 etlnj01                                 ProLiant BL460c     CZJ1270FCZ       NJ   Spare
                                         G7
 etlnj02                                 ProLiant BL460c     CZJ1270FCY       NJ   Spare
                                         G7
 fsnjn01                                 ProLiant BL460c     CZJ2110LK7       NJ   Spare
                                         G7
 fsnjn02                                 ProLiant BL460c     CZJ2110LK8       NJ   Spare
                                         G7
 vewnj13                                 ProLiant BL460c     CZ270801R7       NJ   VEW         MDX2.0
                                         Gen9
 vewnj14                                 ProLiant BL460c     CZ270801R5       NJ   VEW         MDX2.0
                                         Gen9
 vewnj15                                 ProLiant BL460c     CZ270801R6       NJ   VEW         MDX2.0
                                         Gen9
 vmmnj01                                 ProLiant BL460c     CZJ2110LJK       NJ   VMM         MDX2.0
                                         G7
 hypervnj101                             ProLiant BL460c     CZJ028050B       NJ   Spare
                                         G6
 hypervnj102                             ProLiant BL460c     CZJ028050C       NJ   Spare
                                         G6
 DD4500                      DD4500                          APM00134974020   NJ               Shared

 esxnj01                                 Cisco UCS B440      FCH17477PZN      NJ   ESX         Shared
                                         M2
 esxnj02                                 Cisco UCS B440      FCH17477PYX      NJ   ESX         Shared
                                         M2
 kafkanj01.eyedcny.local                 ProLiant DL360 G6   GB802502MA       NJ   Spare

 kafkanj02.eyedcny.local                 ProLiant DL360 G6   GB802502M9       NJ   Spare

 esxnj03                                 Cisco UCS B440      FCH17477PUH      NJ   ESX         Shared
                                         M2
 esxnj04                                 Cisco UCS B440      FCH17477PZ7      NJ   ESX         Shared
                                         M2
 morevrpnj01.eyedcny.local               ProLiant DL580 G5   GB8953DWV4       NJ   Spare

 esxnj05                                 Cisco UCS B440      FCH17477PWG      NJ   ESX         Shared
                                         M2
 esxnj06                                 Cisco UCS B440      FCH17477PWE      NJ   ESX         Shared
                                         M2
 esxnj07                                 Cisco UCS B440      FCH17477PVF      NJ   ESX         Shared
                                         M2
 esxnj08                                 Cisco UCS B440      FCH17477PZZ      NJ   ESX         Shared
                                         M2
 esxnj09                                 Cisco UCS B440      FCH17477PU9      NJ   ESX         Shared
                                         M2
 esxnj10                                 Cisco UCS B440      FCH17477PY5      NJ   ESX         Shared
                                         M2
 esxnj11                                 Cisco UCS B440      FCH17477PV0      NJ   ESX         Shared
                                         M2




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 esxnj12                    Cisco UCS B440    FCH17477PVA   NJ   ESX         Shared
                            M2
 esxnj13                    Cisco UCS B440    FCH17397310   NJ   ESX         Shared
                            M2
 esxnj14                    Cisco UCS B440    FCH1629716X   NJ   ESX         Shared
                            M2
 esxnj15                    Cisco UCS B440    FCH17477PXY   NJ   ESX         Shared
                            M2
 esxnj21                    Cisco UCS B200    FCH17447KPE   NJ   ESX         Shared
                            M3
 esxnj22                    Cisco UCS B200    FCH17447JV6   NJ   ESX         Shared
                            M3
 esxnj23                    Cisco UCS B200    FCH17447KRE   NJ   ESX         Shared
                            M3
 esxnj24                    Cisco UCS B200    FCH17447KMJ   NJ   ESX         Shared
                            M3
 esxnj25                    Cisco UCS B200    FCH1744JG5W   NJ   ESX         Shared
                            M3
 esxnj26                    Cisco UCS B200    FCH17447KR6   NJ   ESX         Shared
                            M3
 esxnj27                    Cisco UCS B200    FCH17447GJE   NJ   ESX         Shared
                            M3
 esxnj28                    Cisco UCS B200    FCH17447KRV   NJ   ESX         Shared
                            M3
 esxnj29                    Cisco UCS B200    FCH17447GP7   NJ   ESX         Shared
                            M3
 esxnj30                    Cisco UCS B200    FCH17447H02   NJ   ESX         Shared
                            M3
 esxnj31                    Cisco UCS B200    FCH17447KTC   NJ   ESX         Shared
                            M3
 esxnj32                    Cisco UCS B200    FCH17447JZR   NJ   ESX         Shared
                            M3
 esxnj33                    Cisco UCS B200    FCH17447L16   NJ   ESX         Shared
                            M3
 esxnj34                    Cisco UCS B200    FCH17447JBC   NJ   ESX         Shared
                            M3
 esxnj35                    Cisco UCS B200    FCH17447HDV   NJ   ESX         Shared
                            M3
 esxnj36                    Cisco UCS B200    FCH17447JTK   NJ   ESX         Shared
                            M3
 esxnj37                    Cisco UCS B200    FCH17447KPL   NJ   ESX         Shared
                            M3
 esxnj38                    Cisco UCS B200    FCH17447KL0   NJ   ESX         Shared
                            M3
 esxnj39                    Cisco UCS B200    FCH17447L1J   NJ   ESX         Shared
                            M3
 esxnj40                    Cisco UCS B200    FCH17447KN7   NJ   ESX         Shared
                            M3
 nwnj01                     ProLiant DL380p   CZ23180BQW    NJ   Spare       MDX2.0
                            Gen8
 esxnj41                    Cisco UCS B200    FCH17447KL7   NJ   ESX         Shared
                            M3
 esxnj42                    Cisco UCS B200    FCH17447KLK   NJ   ESX         Shared
                            M3
 esxnj43                    Cisco UCS B200    FCH17447GJB   NJ   ESX         Shared
                            M3
 esxnj44                    Cisco UCS B200    FCH17447GJD   NJ   ESX         Shared
                            M3
 esxnj45                    Cisco UCS B200    FCH17447GJ9   NJ   ESX         Shared
                            M3
 esxnj46                    Cisco UCS B200    FCH17447KSS   NJ   ESX         Shared
                            M3
 hypervnj103                ProLiant BL460c   CZJ0280509    NJ   Hyper-v     Shared
                            G6
 hypervnj104                ProLiant BL460c   CZJ92305PT    NJ   Hyper-v     Shared
                            G6
 hypervnj105                ProLiant BL460c   CZJ2110LKZ    NJ   Hyper-v     Shared
                            G7


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 hypervnj106                  ProLiant BL460c      CZJ2110LKY   NJ   Hyper-v     Shared
                              G7
 hypervnj107                  ProLiant BL460c      CZJ92305PC   NJ   Hyper-v     Shared
                              G6
 hypervnj108                  ProLiant BL460c      CZJ92305PD   NJ   Hyper-v     Shared
                              G6
 hypervnj109                  ProLiant BL460c      CZJ012027R   NJ   Hyper-v     Shared
                              G6
 hypervnj110                  ProLiant BL460c      CZJ92305P8   NJ   Hyper-v     Shared
                              G6
 hypervnj111                  ProLiant BL460c      MXQ2100WS0   NJ   Hyper-v     Shared
                              G7
 hypervnj112                  ProLiant BL460c      YH1CMR0048   NJ   Hyper-v     Shared
                              G7
 hypervnj113                  ProLiant BL460c      CN71130MY6   NJ   Hyper-v     Shared
                              G7
 hypervnj114                  ProLiant BL460c      USE132DWWJ   NJ   Hyper-v     Shared
                              G7
 hypervnj115                  ProLiant BL460c      USE142J4E2   NJ   Hyper-v     Shared
                              G7
 hypervnj116                  ProLiant BL460c      MXQ2100WRZ   NJ   Hyper-v     Shared
                              G7
 hypervnj117                  ProLiant BL460c      USE142J4EA   NJ   Hyper-v     Shared
                              G7
 psnj11                       ProLiant BL680c      CZ3229R2FV   NJ   Spare
                              G7
 qsnj01                       ProLiant DL360 G7    CZJ1280KHL   NJ   Spare

 qsnj02                       ProLiant DL360 G7    CZJ1280KJ5   NJ   Spare

 qsnj03                       ProLiant DL360 G7    CZJ1380YR5   NJ   Spare

 hypervnj118                  ProLiant BL460c      USE10468YK   NJ   Hyper-v     Shared
                              G7
 qsnj05                       ProLiant DL360 G7    CZJ21119DL   NJ   Spare

 qsnj06                       ProLiant DL360 G7    CZJ21119DJ   NJ   Spare

 qsnj07                       ProLiant DL360 G7    CZJ2120RK1   NJ   Spare

 hypervnj119                  ProLiant BL460c      USE132DWY7   NJ   Hyper-v     Shared
                              G7
 hypervnj120                  ProLiant BL460c      CN704400WD   NJ   Hyper-v     Shared
                              G7
 hypervnj121                  ProLiant BL460c      USE142J4DW   NJ   Hyper-v     Shared
                              G7
 hypervnj122                  ProLiant BL460c      USE1107EXS   NJ   Hyper-v     Shared
                              G7
 hypervnj123                  ProLiant BL460c      USE142J4FW   NJ   Hyper-v     Shared
                              G7
 hypervnj124                  ProLiant BL460c      USE123AYR9   NJ   Hyper-v     Shared
                              G7
 rpsvcnj04                    ProLiant BL460c      CZJ2110LJG   NJ   Spare       MDX2.0
                              G7
 rpsvcnj05                    ProLiant BL460c      CZJ2110LJB   NJ   Spare       MDX2.0
                              G7
 hypervnj125                  ProLiant BL460c      USE142J4E9   NJ   Hyper-v     Shared
                              G7
 hypervnj126                  ProLiant BL460c      USE142J4H6   NJ   Hyper-v     Shared
                              G7
 hypervnj127                  ProLiant BL460c      USE142J4DF   NJ   Hyper-v     Shared
                              G7
 hypervnj128                  ProLiant BL460c      USE142J4D8   NJ   Hyper-v     Shared
                              G7
 rsdwhnjn01                   ProLiant DL580 G7    GB8115HT8L   NJ   Spare       MDX2.0

 rsdwhnjn02                   ProLiant DL580 G7    CZJ1360SF1   NJ   Spare       MDX2.0

 rsdwhreplnj01                ProLiant BL460c      CZJ2110LK3   NJ   Spare       MDX2.0
                              G7



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 hypervnj129                               ProLiant BL460c      USE10468XT       NJ   Hyper-v        Shared
                                           G7
 hypervnj130                               ProLiant BL460c      USE0443ERK       NJ   Hyper-v        Shared
                                           G7
 hypervnj131                               ProLiant BL460c      USE142J4EY       NJ   Hyper-v        Shared
                                           G7
 hypervnj132                               ProLiant BL460c      USE10468Y3       NJ   Hyper-v        Shared
                                           G7
 IBOXNJ01                     F6230        Infinidat            1286             NJ   Storage        Shared

 NJ Chassis #1                68-4777-01   Cisco UCS 5108       FOX1738GKM7      NJ   UCS Chassis    Shared

 NJ Chassis #2                68-4777-01   Cisco UCS 5108       FOX1738GKLH      NJ   UCS Chassis    Shared

 NJ Chassis #3                68-4777-01   Cisco UCS 5108       FOX1738GT6H      NJ   UCS Chassis    Shared

 NJ Chassis #4                68-4777-01   Cisco UCS 5108       FOX1743GC72      NJ   UCS Chassis    Shared

 NJ Chassis #5                68-4777-01   Cisco UCS 5108       FOX1737GR7X      NJ   UCS Chassis    Shared

 NJ Chassis #6                68-4777-01   Cisco UCS 5108       FOX1743GC79      NJ   UCS Chassis    Shared

 NJ Chassis #7                68-4777-01   Cisco UCS 5108       FOX1738GA8P      NJ   UCS Chassis    Shared

 NJ Chassis #8                68-4777-01   Cisco UCS 5108       FOX1737GRAA      NJ   UCS Chassis    Shared

 stormnj01.eyedcny.local                   ProLiant DL360 G6    CZJ00308WK       NJ   Spare

 stormnj02.eyedcny.local                   ProLiant DL360 G6    CZJ00308WA       NJ   Spare

 streamernj01.eyedcny.local                ProLiant DL360 G6    CZJ00308W5       NJ   Spare

 streamernj02.eyedcny.local                ProLiant DL360 G6    CZJ00308WF       NJ   Spare

 syncdbnj01                                ProLiant DL360 G7    CZJ21119DG       NJ   Spare

 syncdbnj02                                ProLiant DL360 G7    CZJ21119DF       NJ   Spare

 NJ_SAN_SW01                  DS_6520B                          BRCCHQ1918K00N   NJ   SAN Switch     Shared

 NJ_SAN_SW02                  DS_6520B                          BRCCHQ1918K00A   NJ   SAN Switch     Shared

 NJ_SAN_SW03                  AM867A                            CZC122T345       NJ   SAN Switch     Shared

 NJ_SAN_SW04                  AM867A                            CZC122T349       NJ   SAN Switch     Shared

 NJ-UCS-FI-A (Cisco UCS       UCS-FI-                           SSI17360E87      NJ   UCS Director   Shared
 6248UP)                      6248UP
 NJ-UCS-FI-B (Cisco UCS       UCS-FI-                           SSI17360BR2      NJ   UCS Director   Shared
 6248UP)                      6248UP
 CZJ1380YR7                                ProLiant DL360 G7    CZJ1380YR7

 HP B-series 8/12c            AJ820A                            CZ3113BKRH       NJ
 BladeSystem SAN Switch
 - Udi to find
 toolboxnj01                               ProLiant DL360 G6    CZJ00308WH       NJ   Spare          MDX2.0

 HP B-series 8/12c            AJ820A                            CZ3113BKRJ       NJ
 BladeSystem SAN Switch
 - Udi to find
 HP B-series 8/12c SAN        AJ820A                            CN8101A01M       NJ
 Switch BladeSystem c-
 Class NJ11_FCSW01
 HP B-series 8/12c SAN        AJ820A                            CN8101A013       NJ
 Switch BladeSystem c-
 Class NJ11_FCSW02
 HP B-series 8/24c SAN        AJ821A                            CN8150B03V       NJ
 Switch BladeSystem c-
 Class NJ10_FCSW01
 HP B-series 8/24c SAN        AJ821A                            CN8150B03J       NJ
 Switch BladeSystem c-
 Class NJ10_FCSW02
 HP D2600 2TB 3G SATA         BK766A                            5C7215P39L       NJ
 LFF 24TB


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 HP D2600 2TB 6G SAS    BK766A                              CN8102P1RT         NJ
 LFF
 HP MSL4048 2 LTO-5     BL543A                              DEC110084W         NJ
 Ultrium 3000 Fibre
 Channel Tape Library
 MXQ1030XTD                            ProLiant BL460c      MXQ1030XTD
                                       G7
 VNX5300                EMC                                 CKM00110901345     NJ   Storge

 YH29NC1616                            ProLiant BL460c      YH29NC1616
                                       G7
                                       ProLiant DL360 G7    CZJ1150Q5F

                                       ciscoASA5512         FGL1613400B        NJ   FW+VPN          shared

                                       ciscoASA5512         FGL1613400A        NJ   FW+VPN          shared

                                       Cisco Nexus          FOX1546GU73        NJ   L3 core         shared
                                       5596UP                                       switch
                                       Cisco Nexus          FOX1601GZLR        NJ   L3 core         shared
                                       5596UP                                       switch
                                       Cisco Nexus          FOX1602G0E1        NJ   L3 core         shared
                                       5596UP                                       switch
                                       N2K-C2248TF-E        FOX1727G99A        NJ   Switch Fabric   shared
                                                                                    Extender
                                       N2K-C2248TF-E        FOX1732GVKE        NJ   Switch Fabric   shared
                                                                                    Extender
                                       N2K-C2248TP-E-       FOX1848G3M6        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       N2K-C2248TP-E-       FOX1848G3Q2        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       Cisco Nexus          FOX1903GBSA        NJ   L3 core         shared
                                       5596UP                                       switch
                                       N2K-C2248TP-E-       FOX1906GB1T        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       N2K-C2248TP-E-       FOX1906GK52        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       N2K-C2248TP-E-       FOX1906GK54        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       N2K-C2248TP-E-       FOX1906GK5E        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       N2K-C2248TP-E-       FOX1906GL9J        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       N2K-C2248TP-E-       FOX1906GL9K        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       N2K-C2248TP-E-       FOX1906GL9Y        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       N2K-C2248TP-E-       FOX1906GLDZ        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       N2K-C2248TP-         SSI16020FA8        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       N2K-C2248TP-         SSI16020FD4        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       N2K-C2248TP-         SSI16020FDF        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       N2K-C2248TP-         SSI160301PP        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       N2K-C2248TP-         SSI160301Q4        NJ   Switch Fabric   shared
                                       1GE                                          Extender
                                       N2K-C2248TP-         SSI160301XA        NJ   Switch Fabric   shared
                                       1GE                                          Extender
 ISPSWNJ02              JuniperRT      QFX5100-48S-6Q       VF3715150011       NJ   ISP switch      Ad Serving

 ISPSWNJ01              JuniperRT      QFX5100-48S-6Q       VF3715150038       NJ   ISP switch      Ad Serving

 NJ-SERV-LAN-SW01       JuniperRT      QFX5100-48T-6Q       TR0215420110       NJ   Lan switch      Ad Serving

 NJ-SERV-LAN-SW02       JuniperRT      QFX5100-48T-6Q       TR0215420198       NJ   Lan switch      Ad Serving

 FortiNJ02-0296-S                      FortiGate-2500E      FG2K5E3916900296   NJ   Firewall        Shared



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 FortiNJ01-0280-M                     FortiGate-2500E     FG2K5E3916900280      NJ          Firewall     Shared

 NJ-FW01-7462                         FortiGate-100E      FG100E4Q17007462      NJ          Firewall     Ad Serving

 NJ-FW02-6714                         FortiGate-100E      FG100E4Q17006714      NJ          Firewall     Ad Serving

 NJ-ADMIN-A10                         A10Networks         TH30A63313430004      NJ          Load         Shared
                                      TH3030S                                               Balancer
 NJ-ADMIN-A10                         A10Networks         TH30A73313480028      NJ          Load         Shared
                                      TH3030S                                               Balancer
 NJ-SER-A10-SSL                       A10Networks         TH64063114340013      NJ          Load         Ad Serving
                                      TH6430S                                               Balancer
 NJ-SER-A10-SSL                       A10Networks         TH64063114340015      NJ          Load         Ad Serving
                                      TH6430S                                               Balancer
 cdnj03                               Virtual (VM)                                                       Ad Serving

 cdnj04                               Virtual (VM)                                                       Ad Serving

 DEPESCNJ01                           Virtual (VM)                                                       Ad Serving

 DEPESCNJ02                           Virtual (VM)                                                       Ad Serving

 DEPESDNJ01                           Virtual (VM)                                                       Ad Serving

 DEPESDNJ02                           Virtual (VM)                                                       Ad Serving

 DEPESDNJ03                           Virtual (VM)                                                       Ad Serving

 DEPESMNJ01                           Virtual (VM)                                                       Ad Serving

 DEPESMNJ02                           Virtual (VM)                                                       Ad Serving

 ETL02                                Virtual (VM)                                                       Ad Serving

 HPT                                  Virtual (VM)                                                       Ad Serving

 INFLUXNJ01                           Virtual (VM)                                                       Ad Serving

 INFLUXNJ02                           Virtual (VM)                                                       Ad Serving

 jenkinscms01                         Virtual (VM)                                                       Ad Serving

 ldmstgnj01                           Virtual (VM)                                                       Ad Serving

 ldmstgnj02                           Virtual (VM)                                                       Ad Serving

 mobilesvc02                          Virtual (VM)                                                       Ad Serving

 njftp01                              Virtual (VM)                                                       Ad Serving

 njftp02                              Virtual (VM)                                                       Ad Serving

 njftp03                              Virtual (VM)                                                       Ad Serving

 njftp04                              Virtual (VM)                                                       Ad Serving

 njftp05                              Virtual (VM)                                                       Ad Serving

 pbifenj02                            Virtual (VM)                                                       Ad Serving

 VBANJ01                              Virtual (VM)                                                       Ad Serving

 VCDBNJ01                             Virtual (VM)                                                       Ad Serving

 VCNJ01                               Virtual (VM)                                                       Ad Serving

 VPROXYNJ01                           Virtual (VM)                                                       Ad Serving


               System Name          Product     Product Model     Factory Serial     Site         Role      Product
                                      ID                            Number
                ilbkup01old         579237-     ProLiant DL360    CZJ1120FBM         PTK
                                      B21              G7
                ilesxcorp01         813198-     Proliant BL460c    CZ2715008N        PTK
                                      B21             Gen9



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            ilesxcorp02           813198-   Proliant BL460c   CZ2715008L   PTK
                                    B21           Gen9
            ilesxcorp03           813198-   Proliant BL460c   CZ2715008M   PTK
                                    B21           Gen9
            ilesxcorp04           641016-   ProLiant BL460c   CZJ2491T9N   PTK
                                    B21           Gen8
            ilesxcorp05           641016-   ProLiant BL460c   CZJ2491T9M   PTK
                                    B21           Gen8
            ilesxcorp06           641016-   ProLiant BL460c   CZJ3150QJ0   PTK
                                    B21           Gen8
            ilesxcorp07           641016-   ProLiant BL460c   CZJ3150QHR   PTK
                                    B21           Gen8
            ilesxcorp08           727021-   ProLiant BL460c   CZ254518M6   PTK
                                    B21           Gen9
            ilesxdev01            641016-   ProLiant BL460c   CZJ2500HCB   PTK
                                    B21           Gen8
            ilesxdev02            641016-   ProLiant BL460c   CZJ2500HCC   PTK
                                    B21           Gen8
            ilesxdev03            603718-   ProLiant BL460c   CZJ21518K1   PTK
                                    B21            G7
            ilesxdev04            603718-   ProLiant BL460c   CZJ21518JX   PTK
                                    B21            G7
            ilesxdev05            603718-   ProLiant BL460c   CZJ21518K5   PTK
                                    B21            G7
            ilesxdev06            603718-   ProLiant BL460c   CZJ21518K6   PTK
                                    B21            G7
            ilesxdev07            603718-   ProLiant BL460c   CZJ21518K2   PTK
                                    B21            G7
            ilesxdev08            603718-   ProLiant BL460c   GB8101CHXS   PTK
                                    B21            G7
            ilesxdev09            603718-   ProLiant BL460c   CZ3113BKN1   PTK
                                    B21            G7
            ilesxdev10            641016-   ProLiant BL460c   CZJ3150QHP   PTK
                                    B21           Gen8
            ilesxdev11            603718-   ProLiant BL460c   CZ3113BKMK   PTK
                                    B21            G7
            ilesxdev12            603569-   ProLiant BL460c   MXQ1030XT8   PTK
                                    B21            G7
            ilesxdev13            641016-   ProLiant BL460c   CZJ2491T9S   PTK
                                    B21           Gen8
            ilesxdev14            641016-   ProLiant BL460c   CZJ2491T9Q   PTK
                                    B21           Gen8
            ilesxdev15            641016-   ProLiant BL460c   CZJ2491T9P   PTK
                                    B21           Gen8
            ilesxdev16            813198-   ProLiant BL460c   CZ2746098F   PTK
                                    B21           Gen9
            ilesxdev17            813198-   ProLiant BL460c   CZ2746098D   PTK
                                    B21           Gen9
            ilesxicorp01          603719-   ProLiant BL490c   CZ221804R5   PTK
                                    B21            G7
            ilesxicorp02          603719-   ProLiant BL490c   CZ221804R6   PTK
                                    B21            G7
            ilesxicorp03          603719-   ProLiant BL490c   CZ2140027Z   PTK
                                    B21            G7
            ilesxidev02           603719-   ProLiant BL490c   CZ212906DR   PTK
                                    B21            G7
            ilesxidev03           603719-   ProLiant BL490c   CZ212906DS   PTK
                                    B21            G7
            ilesxidev04           603719-   ProLiant BL490c   CZ212906DP   PTK
                                    B21            G7
            ilesxidev05           603719-   ProLiant BL490c   CZ212906DN   PTK
                                    B21            G7
              ilmh01              457925-   ProLiant DL360    CZJ911A2PM   PTK
                                    421            G5
              ilmh02              470064-   ProLiant DL360    GB8742YCE5   PTK
                                    464            G5
              ilph02              519566-   ProLiant DL360    MXQ017032R   PTK
                                    005            G6


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                ilph03              470065-   ProLiant DL360    CZJ0350BZJ   PTK
                                      363            G7
             ilransapnd01           470065-   ProLiant DL360    CZJ0220BSH   PTK
                                      233            G6
             ilransapnd02           470065-   ProLiant DL360    CZJ0220BS4   PTK
                                      233            G6
              ilsapdbn01            843375-    Proliant DL360   CZJ70303KG   PTK
                                      425           Gen9
              ilsapdbn02            843375-    Proliant DL360   CZJ71003S9   PTK
                                      425           Gen9
               ilsccm01             590638-   ProLiant DL180    CZJ1150YG6   PTK
                                      421            G6
             iltfsbuild10           603718-   ProLiant BL460c   CZ3113BKMT   PTK
                                      B21            G7
             iltfsbuild11           641016-   ProLiant BL460c   CZ32535A15   PTK
                                      B21           Gen8
             iltfsbuild12           641016-   ProLiant BL460c   CZ32535A13   PTK
                                      B21           Gen8
               iltfsn01             470065-   ProLiant DL360    CZJ00804SN   PTK
                                      181            G6
               iltfsn02             470065-   ProLiant DL360    CZJ148095G   PTK
                                      363            G7
               ilvcm01              579237-   ProLiant DL360    CZJ1120CY9   PTK
                                      B21            G7
               int-bs02             470065-   ProLiant DL360    CZJ0290046   PTK
                                      236            G6
               int-ecs02            470065-   ProLiant DL360    CZJ029005C   PTK
                                      236            G6
               int-rtu01            470065-   ProLiant DL360    CZJ029003S   PTK
                                      236            G6
               int-rtu02            470065-   ProLiant DL360    CZJ029005M   PTK
                                      236            G6
               ilbkup01             755258-    Proliant DL360   CZJ7410BQY   PTK
                                      B21           Gen9
               PTK01                507019-     BladeSystem     CZ3133RAFD   PTK
                                      B21     c7000 Enclosure
               PTK02                507019-     BladeSystem     SGH205M181   PTK
                                      B21     c7000 Enclosure
               PTK03                412152-     BladeSystem     GB8822PC16   PTK
                                      B21     c7000 Enclosure
             stg-admin06            579237-   ProLiant DL360    CZJ1150Q5G   PTK
                                      B21            G7
             stg-admin07            470065-   ProLiant DL360    CZJ034097C   PTK
                                      363            G7
              stg-bdb01             579237-   ProLiant DL360    CZJ0210RCS   PTK
                                      B21            G7
             stg-bdwh01             470065-   ProLiant DL360    CZJ049008R   PTK
                                      363            G7
            stg-billingdb01         470065-   ProLiant DL360    CZJ04900B9   PTK
                                      363            G7
               stg-bs03             579237-   ProLiant DL360    CZJ1150Q5N   PTK
                                      B21            G7
            stg-bspreview           579237-   ProLiant DL360    CZJ1150Q5J   PTK
                                      B21            G7
              stg-ecs01             633777-   ProLiant DL360    CZJ1410T7L   PTK
                                      421            G7
              stg-ecs02             633777-   ProLiant DL360    CZJ1200JXM   PTK
                                      421            G7
            stg-edslogs01           470065-   ProLiant DL360    CZJ0350C0T   PTK
                                      363            G7
              stg-elser01           641016-   ProLiant BL460c   CZJ2491T9R   PTK
                                      B21           Gen8
             stg-gplogsin           470065-   ProLiant DL360    CZJ0350C0R   PTK
                                      363            G7
            stg-gpparser01          470065-   ProLiant DL360    CZJ00401PL   PTK
                                      181            G6
             stg-hddsn01            BS577A    ProLiant DL180    USE029NKJH   PTK
                                                     G6


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            stg-hddsn03              BS577A    ProLiant DL180     USE029NKJF     PTK
                                                     G6
            stg-hddsn04              BS577A    ProLiant DL180     USE029NKK9     PTK
                                                     G6
            stg-hddsn05              BS577A    ProLiant DL180    USE023NALA      PTK
                                                     G6
            stg-hddsn06              BS577A    ProLiant DL180     USE023N9PD     PTK
                                                     G6
            stg-hddsn07              BS577A    ProLiant DL180     USE023N8CK     PTK
                                                     G6
            stg-hddsn08              BS577A    ProLiant DL180    USE023N9QM      PTK
                                                     G6
            stg-hdmdn01              BS577A    ProLiant DL180     USE030N01A     PTK
                                                     G6
            stg-hdmdn02              BS577A    ProLiant DL180     USE029NH5T     PTK
                                                     G6
              stg-ps01               470065-   ProLiant DL360     CZJ03205ZG     PTK
                                       363           G7
              stg-ps02               470065-   ProLiant DL360     CZJ3030RNC     PTK
                                       596           G7
            stg-reports01            579237-   ProLiant DL360     CZJ1150Q5S     PTK
                                       B21           G7
             stg-rpsvc01             579237-   ProLiant DL360     CZJ1150Q5M     PTK
                                       B21           G7
             stg-rpsvc02             579237-   ProLiant DL360     CZJ1150Q5H     PTK
                                       B21           G7
            stg-rsdwh01              579237-   ProLiant DL360     CZJ0210RCR     PTK
                                       B21           G7
            stg-syncdb01             470065-   ProLiant DL360     CZJ0360LDC     PTK
                                       363           G7
              stg-va01               470065-   ProLiant DL360     CZJ03205YM     PTK
                                       363           G7
              stg-va02               470065-   ProLiant DL360     CZJ0350C0M     PTK
                                       363           G7
             stg-vew10               579237-   ProLiant DL360     CZJ1150Q5K     PTK
                                       B21           G7
             stg-vew11               519566-   ProLiant DL360    MXQ94105XH      PTK
                                       005           G6
            USE032NCZ1               BS577A    ProLiant DL180     USE032NCZ1     PTK
                                                     G6
              fsptk01                          ProLiant BL460c    CZJ2500HC9     PTK     Hyper-v
                                                    Gen8
              fsptk02                          ProLiant BL460c    CZJ2500HC8     PTK     Hyper-v
                                                    Gen8
              mtnldr01                         ProLiant DL360    MXQ05202GG      PTK   Decommission
                                                     G7                                     ed
              mtnldr02                         ProLiant DL360     CZJ1270DB3     PTK   Decommission
                                                     G7                                     ed
  HP MSL4048 2 LTO-5 Ultrium 3000    BL543A                       DEC1090826     PTK
     Fibre Channel Tape Library
             IBOXIL01                 F6130       Infinidat          1035        PTK     Storage      Shared

            PTKFCSW01                AM867A                       CZC141TBL3     PTK

            PTKFCSW02                AM867A                       CZC141TBL7     PTK

            PTKFCSW03                AM868B                       CZC317U9D1     PTK

            PTKFCSW04                AM868B                       CZC317U9DR     PTK

             VNX5500                                EMC          CKM0015330148   PTK     Storage      Shared
                                                                      7
              DD2500                 DD2500         EMC          CKM0016140046   PTK     Storage
                                                                      6
            bdwhnldr01                         ProLiant DL360     MXQ0510F50     PTK       DR
                                                     G7
              fsptk01                          ProLiant BL460c    CZJ2500HC9     PTK                  MDX2.0
                                                    Gen8




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                fsptk02                      ProLiant BL460c    CZJ2500HC8      PTK         MDX2.0
                                                   Gen8
            PTK-1641-FW01                     FortiGate-100E   FG200E4Q179016   PTK         Ad serving
                                                                      41
            PTK-2235-FW02                    FortiGate-100E    FG200E4Q179022   PTK         Ad serving
                                                                      35
                                              Cisco Nexus        SSI171100HS    PTK          Shared
                                                5548UP
                                              Cisco Nexus       SSI1711076E     PTK          Shared
                                                5548UP
                                               Nexus 2K-        SSI165100D8     PTK          Shared
                                             C2248TP-E-1GE
                                               Nexus 2K-         SSI170305J1    PTK          Shared
                                             C2248TP-E-1GE
                                               Nexus 2K-        SSI170408EA     PTK          Shared
                                             C2248TP-E-1GE
                                               Nexus 2K-        SSI17040CVE     PTK          Shared
                                             C2248TP-E-1GE
                                               Nexus 2K-        SSI17040CXA     PTK          Shared
                                             C2248TP-E-1GE
                                               Nexus 2K-        SSI17040FGV     PTK          Shared
                                             C2248TP-E-1GE
             PT-A10-LB01                      A10Networks      TH10A633134400   PTK          Shared
                                                TH1030S             35
             PT-A10-LB01                      A10Networks      TH10A533133900   PTK          Shared
                                                TH1030S             35
            AALMADO-WIN8                      Virtual (VM)                                     IT

               ADPTK01                        Virtual (VM)                                  Ad serving

               ADPTK02                        Virtual (VM)                                  Ad serving

              ADTEST01                        Virtual (VM)                                     IT

              ADTEST02                        Virtual (VM)                                     IT

            AGABAYW10-VM                      Virtual (VM)                                     IT

               an-plugin                      Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun01                   Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun02                   Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun03                   Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun04                   Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun05                   Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun07                   Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun08                   Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun09                   Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun10                   Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun11                   Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun12                   Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun13                   Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun14                   Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun15                   Virtual (VM)                                   dev-ad
                                                                                             serving
            AutomationRun17                   Virtual (VM)                                   dev-ad
                                                                                             serving


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            AutomationRun18                Virtual (VM)                            dev-ad
                                                                                   serving
            AutomationRun19                Virtual (VM)                            dev-ad
                                                                                   serving
            AutomationRun20                Virtual (VM)                            dev-ad
                                                                                   serving
            AutomationRun21                Virtual (VM)                            dev-ad
                                                                                   serving
            AutomationRun22                Virtual (VM)                            dev-ad
                                                                                   serving
            AutomationRun23                Virtual (VM)                            dev-ad
                                                                                   serving
            AutomationRun24                Virtual (VM)                            dev-ad
                                                                                   serving
            AutomationRun25                Virtual (VM)                            dev-ad
                                                                                   serving
            AutomationRun26                Virtual (VM)                            dev-ad
                                                                                   serving
            AutomationRun27                Virtual (VM)                            dev-ad
                                                                                   serving
            AutomationRun28                Virtual (VM)                            dev-ad
                                                                                   serving
            AutomationRun29                Virtual (VM)                            dev-ad
                                                                                   serving
            AutomationRun30                Virtual (VM)                            dev-ad
                                                                                   serving
            AutomationRun31                Virtual (VM)                            dev-ad
                                                                                   serving
              AutoVS2005                   Virtual (VM)                            dev-ad
                                                                                   serving
               BDBPTK01                    Virtual (VM)                           Ad serving

              BDWHPTK01                    Virtual (VM)                           Ad serving

            BGOLDSTEIN-VM                  Virtual (VM)                              IT

               Centos32bit                 Virtual (VM)                              IT

               centosudi01                 Virtual (VM)                              IT

               CLDPTK01                    Virtual (VM)                           Ad serving

        DBANALYTICS-VM                     Virtual (VM)                              IT

               DBLIC-VM                    Virtual (VM)                              IT

            DEV4-ADMIN10                   Virtual (VM)                            dev-ad
                                                                                   serving
            DEV4-ADMIN11                   Virtual (VM)                            dev-ad
                                                                                   serving
             DEV4-Admin12                  Virtual (VM)                            dev-ad
                                                                                   serving
            DEV4-ADMIN13                   Virtual (VM)                            dev-ad
                                                                                   serving
            DEV4-AONXT01                   Virtual (VM)                            dev-ad
                                                                                   serving
            DEV4-Apollo-Dev1               Virtual (VM)                            dev-ad
                                                                                   serving
              DEV4-BDB02                   Virtual (VM)                            dev-ad
                                                                                   serving
            DEV4-BILLDB01                  Virtual (VM)                            dev-ad
                                                                                   serving
            DEV4-BillDWH01                 Virtual (VM)                            dev-ad
                                                                                   serving
              DEV4-BS03                    Virtual (VM)                            dev-ad
                                                                                   serving
              DEV4-BS10                    Virtual (VM)                            dev-ad
                                                                                   serving
              DEV4-BS11                    Virtual (VM)                            dev-ad
                                                                                   serving



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            DEV4-BSPreview               Virtual (VM)                            dev-ad
                                                                                 serving
            DEV4-CACHE01                 Virtual (VM)                            dev-ad
                                                                                 serving
            DEV4-CACHE02                 Virtual (VM)                            dev-ad
                                                                                 serving
            DEV4-CACHE03                 Virtual (VM)                            dev-ad
                                                                                 serving
            DEV4-CBASE02                 Virtual (VM)                            dev-ad
                                                                                 serving
            DEV4-CBASE03                 Virtual (VM)                            dev-ad
                                                                                 serving
              DEV4-CCD                   Virtual (VM)                            dev-ad
                                                                                 serving
            DEV4-COUCH01                 Virtual (VM)                            dev-ad
                                                                                 serving
            DEV4-COUCH02                 Virtual (VM)                            dev-ad
                                                                                 serving
             DEV4-CRS02                  Virtual (VM)                            dev-ad
                                                                                 serving
             DEV4-CRS10                  Virtual (VM)                            dev-ad
                                                                                 serving
       DEV4-CUSTOMDEV03                  Virtual (VM)                            dev-ad
                                                                                 serving
       DEV4-CUSTOMDEV04                  Virtual (VM)                            dev-ad
                                                                                 serving
       DEV4-CUSTOMDEV05                  Virtual (VM)                            dev-ad
                                                                                 serving
       DEV4-CUSTOMDEV06                  Virtual (VM)                            dev-ad
                                                                                 serving
       DEV4-DATAFEEDDB                   Virtual (VM)                            dev-ad
                                                                                 serving
            DEV4-DISTRIB01               Virtual (VM)                            dev-ad
                                                                                 serving
              DEV4-DS10                  Virtual (VM)                            dev-ad
                                                                                 serving
             DEV4-ECS01                  Virtual (VM)                            dev-ad
                                                                                 serving
             DEV4-ECS02                  Virtual (VM)                            dev-ad
                                                                                 serving
             DEV4-EDS02                  Virtual (VM)                            dev-ad
                                                                                 serving
             DEV4-EDSn01                 Virtual (VM)                            dev-ad
                                                                                 serving
              DEV4-ES01                  Virtual (VM)                            dev-ad
                                                                                 serving
              DEV4-ES02                  Virtual (VM)                            dev-ad
                                                                                 serving
              DEV4-ES04                  Virtual (VM)                            dev-ad
                                                                                 serving
              DEV4-ES05                  Virtual (VM)                            dev-ad
                                                                                 serving
              DEV4-ES06                  Virtual (VM)                            dev-ad
                                                                                 serving
             DEV4-ETR02                  Virtual (VM)                            dev-ad
                                                                                 serving
             DEV4-ETR03                  Virtual (VM)                            dev-ad
                                                                                 serving
              DEV4-FS01                  Virtual (VM)                            dev-ad
                                                                                 serving
            DEV4-FTPPLU10                Virtual (VM)                            dev-ad
                                                                                 serving
              DEV4-GIT01                 Virtual (VM)                            dev-ad
                                                                                 serving
              DEV4-GP01                  Virtual (VM)                            dev-ad
                                                                                 serving
              DEV4-GP02                  Virtual (VM)                            dev-ad
                                                                                 serving


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              DEV4-GP04                    Virtual (VM)                            dev-ad
                                                                                   serving
            DEV4-GPLogsIN                  Virtual (VM)                            dev-ad
                                                                                   serving
             DEV4-Gpparser                 Virtual (VM)                            dev-ad
                                                                                   serving
              DEV4-GS10                    Virtual (VM)                            dev-ad
                                                                                   serving
       DEV4-HDDB101-CDH4                   Virtual (VM)                            dev-ad
                                                                                   serving
       DEV4-HDDN101-CDH4                   Virtual (VM)                            dev-ad
                                                                                   serving
       DEV4-HDDN102-CDH4                   Virtual (VM)                            dev-ad
                                                                                   serving
       DEV4-HDDN103-CDH4                   Virtual (VM)                            dev-ad
                                                                                   serving
       DEV4-HDDN104-CDH4                   Virtual (VM)                            dev-ad
                                                                                   serving
       DEV4-HDDN105-CDH4                   Virtual (VM)                            dev-ad
                                                                                   serving
       DEV4-HDDN106-CDH4                   Virtual (VM)                            dev-ad
                                                                                   serving
       DEV4-HDMN101-CDH4                   Virtual (VM)                            dev-ad
                                                                                   serving
       DEV4-HDMN102-CDH4                   Virtual (VM)                            dev-ad
                                                                                   serving
       DEV4-JENKINS-SLAVE                  Virtual (VM)                            dev-ad
                                                                                   serving
     DEV4-JENKINS-SLAVE-LIN                Virtual (VM)                            dev-ad
                                                                                   serving
            DEV4-JWSMan01                  Virtual (VM)                            dev-ad
                                                                                   serving
            DEV4-JWSMan02                  Virtual (VM)                            dev-ad
                                                                                   serving
            DEV4-MDXSync01                 Virtual (VM)                            dev-ad
                                                                                   serving
            DEV4-MDXSync02                 Virtual (VM)                            dev-ad
                                                                                   serving
             DEV4-MON01                    Virtual (VM)                            dev-ad
                                                                                   serving
             DEV4-NOC01                    Virtual (VM)                            dev-ad
                                                                                   serving
              dev4-pbidb01                 Virtual (VM)                            dev-ad
                                                                                   serving
              dev4-pbife01                 Virtual (VM)                            dev-ad
                                                                                   serving
             DEV4-PS2012                   Virtual (VM)                            dev-ad
                                                                                   serving
             DEV4-PS2016                   Virtual (VM)                            dev-ad
                                                                                   serving
            dev4-puppet-dev1               Virtual (VM)                            dev-ad
                                                                                   serving
             DEV4-QS2016-1                 Virtual (VM)                            dev-ad
                                                                                   serving
             DEV4-QS2016-2                 Virtual (VM)                            dev-ad
                                                                                   serving
            DEV4-REGTEST                   Virtual (VM)                            dev-ad
                                                                                   serving
            DEV4-RPSVC12                   Virtual (VM)                            dev-ad
                                                                                   serving
        DEV4-RPSVC2012B                    Virtual (VM)                            dev-ad
                                                                                   serving
        DEV4-RPSVC2012C                    Virtual (VM)                            dev-ad
                                                                                   serving
             DEV4-RSDB01                   Virtual (VM)                            dev-ad
                                                                                   serving
            DEV4-RSDWH01                   Virtual (VM)                            dev-ad
                                                                                   serving


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             DEV4-SSRS01                  Virtual (VM)                            dev-ad
                                                                                  serving
            DEV4-SYNCDB02                 Virtual (VM)                            dev-ad
                                                                                  serving
        DEV4-SYNCDB02O                    Virtual (VM)                            dev-ad
                                                                                  serving
        DEV4-syncservice01                Virtual (VM)                            dev-ad
                                                                                  serving
        DEV4-SyncService02                Virtual (VM)                            dev-ad
                                                                                  serving
             DEV4-TS-Build                Virtual (VM)                            dev-ad
                                                                                  serving
              DEV4-UDB01                  Virtual (VM)                            dev-ad
                                                                                  serving
              DEV4-UDB02                  Virtual (VM)                            dev-ad
                                                                                  serving
              DEV4-UDB03                  Virtual (VM)                            dev-ad
                                                                                  serving
             DEV4-VA2012                  Virtual (VM)                            dev-ad
                                                                                  serving
             DEV4-VA2012B                 Virtual (VM)                            dev-ad
                                                                                  serving
            DEV4-VERTICA01                Virtual (VM)                            dev-ad
                                                                                  serving
            DEV4-VERTICA02                Virtual (VM)                            dev-ad
                                                                                  serving
            DEV4-VERTICA03                Virtual (VM)                            dev-ad
                                                                                  serving
            DEV4-VERTICA04                Virtual (VM)                            dev-ad
                                                                                  serving
            DEV4-VERTICA05                Virtual (VM)                            dev-ad
                                                                                  serving
             DEV4-VEW10                   Virtual (VM)                            dev-ad
                                                                                  serving
             DEV4-VEW11                   Virtual (VM)                            dev-ad
                                                                                  serving
             DEV4-VEW12                   Virtual (VM)                            dev-ad
                                                                                  serving
             DEV4-VEW13                   Virtual (VM)                            dev-ad
                                                                                  serving
             DEV4-VEW20                   Virtual (VM)                            dev-ad
                                                                                  serving
            DEV4-VOLTRON                  Virtual (VM)                            dev-ad
                                                                                  serving
             DEV5-ADMIN10                 Virtual (VM)                            dev-ad
                                                                                  serving
             DEV5-ADMIN11                 Virtual (VM)                            dev-ad
                                                                                  serving
             DEV5-ADMIN12                 Virtual (VM)                            dev-ad
                                                                                  serving
             DEV5-ADMIN13                 Virtual (VM)                            dev-ad
                                                                                  serving
              DEV5-BDB01                  Virtual (VM)                            dev-ad
                                                                                  serving
            DEV5-BILLDB02                 Virtual (VM)                            dev-ad
                                                                                  serving
            DEV5-BILLDWH02                Virtual (VM)                            dev-ad
                                                                                  serving
              DEV5-BS03                   Virtual (VM)                            dev-ad
                                                                                  serving
            DEV5-BSPreview                Virtual (VM)                            dev-ad
                                                                                  serving
             DEV5-CACHE01                 Virtual (VM)                            dev-ad
                                                                                  serving
             DEV5-CACHE02                 Virtual (VM)                            dev-ad
                                                                                  serving
             DEV5-CACHE03                 Virtual (VM)                            dev-ad
                                                                                  serving


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            DEV5-CRBAS04                   Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-CRBAS10                   Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-DataFeedDB                Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-DBSTATS                   Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-DISTRIB01                 Virtual (VM)                            dev-ad
                                                                                   serving
              DEV5-DS10                    Virtual (VM)                            dev-ad
                                                                                   serving
              DEV5-ECS02                   Virtual (VM)                            dev-ad
                                                                                   serving
              DEV5-EDS02                   Virtual (VM)                            dev-ad
                                                                                   serving
             DEV5-ELSER01                  Virtual (VM)                            dev-ad
                                                                                   serving
             DEV5-ELSER02                  Virtual (VM)                            dev-ad
                                                                                   serving
              DEV5-ES02                    Virtual (VM)                            dev-ad
                                                                                   serving
              DEV5-ES03                    Virtual (VM)                            dev-ad
                                                                                   serving
              DEV5-ES04                    Virtual (VM)                            dev-ad
                                                                                   serving
              DEV5-FS01                    Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-GPDCA01                   Virtual (VM)                            dev-ad
                                                                                   serving
             DEV5-GPETL01                  Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-GPLOGS01                  Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-GPLOGSIN                  Virtual (VM)                            dev-ad
                                                                                   serving
        DEV5-GPPARSER01                    Virtual (VM)                            dev-ad
                                                                                   serving
             DEV5-GPSEG01                  Virtual (VM)                            dev-ad
                                                                                   serving
             DEV5-GPSEG02                  Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-JWSMAN01                  Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-NAGIOS01                  Virtual (VM)                            dev-ad
                                                                                   serving
             dev5-nagios-dr                Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-PUPPET01                  Virtual (VM)                            dev-ad
                                                                                   serving
             DEV5-RPSVC03                  Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-RPSVC2012                 Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-RSDWH-P                   Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-RSDWH-S                   Virtual (VM)                            dev-ad
                                                                                   serving
             DEV5-SENSU01                  Virtual (VM)                            dev-ad
                                                                                   serving
             Dev5-SOI-APP                  Virtual (VM)                            dev-ad
                                                                                   serving
        Dev5-SOI-Connector                 Virtual (VM)                            dev-ad
                                                                                   serving
              DEV5-SOIdb                   Virtual (VM)                            dev-ad
                                                                                   serving
             DEV5-SOImgr                   Virtual (VM)                            dev-ad
                                                                                   serving


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             Dev5-SOI-SQL                  Virtual (VM)                            dev-ad
                                                                                   serving
              Dev5-SOI-UI                  Virtual (VM)                            dev-ad
                                                                                   serving
             DEV5-SOIweb                   Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-SPECTRUM                  Virtual (VM)                            dev-ad
                                                                                   serving
       DEV5-SPECTRUM-UI                    Virtual (VM)                            dev-ad
                                                                                   serving
        DEV5-SQLMONITOR                    Virtual (VM)                            dev-ad
                                                                                   serving
            DEV5-SYNCDB                    Virtual (VM)                            dev-ad
                                                                                   serving
        DEV5-SyncService01                 Virtual (VM)                            dev-ad
                                                                                   serving
             DEV5-VEW10                    Virtual (VM)                            dev-ad
                                                                                   serving
             DEV5-VEW11                    Virtual (VM)                            dev-ad
                                                                                   serving
             DEV-ADMIN10                   Virtual (VM)                            dev-ad
                                                                                   serving
             DISTRIBPTK01                  Virtual (VM)                           Ad serving

            DROSENTAL-VM                   Virtual (VM)                              IT

               DSPTK01                     Virtual (VM)                           Ad serving

               DSPTK02                     Virtual (VM)                           Ad serving

               DSPTK03                     Virtual (VM)                           Ad serving

               DSPTK04                     Virtual (VM)                           Ad serving

            DTURGEMAN-10                   Virtual (VM)                              IT

             ESRSVEIL01                    Virtual (VM)                              IT

            FORTIALZPTK01                  Virtual (VM)                              IT

        GSOFTWARE10-VM                     Virtual (VM)                              IT

        GSOFTWARE11-VM                     Virtual (VM)                              IT

        GSOFTWARE12-VM                     Virtual (VM)                              IT

        GSOFTWARE13-VM                     Virtual (VM)                              IT

        GSOFTWARE14-VM                     Virtual (VM)                              IT

        GSOFTWARE15-VM                     Virtual (VM)                              IT

        GSOFTWARE1-VM                      Virtual (VM)                              IT

        GSOFTWARE2-VM                      Virtual (VM)                              IT

        GSOFTWARE3-VM                      Virtual (VM)                              IT

        GSOFTWARE4-VM                      Virtual (VM)                              IT

        GSOFTWARE5-VM                      Virtual (VM)                              IT

        GSOFTWARE6-VM                      Virtual (VM)                              IT

        GSOFTWARE7-VM                      Virtual (VM)                              IT

        GSOFTWARE8-VM                      Virtual (VM)                              IT

        GSOFTWARE9-VM                      Virtual (VM)                              IT

       GSOFTWARE-BUG01                     Virtual (VM)                              IT

              IBOX-HPT                     Virtual (VM)                              IT

                iladfs01                   Virtual (VM)                              IT



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                 iladfs02                    Virtual (VM)                             IT

                 iladfs05                    Virtual (VM)                             IT

                 iladfs06                    Virtual (VM)                             IT

               iladfslink01                  Virtual (VM)                             IT

               iladfslink02                  Virtual (VM)                             IT

              iladfsProxy01                  Virtual (VM)                             IT

              iladfsProxy02                  Virtual (VM)                             IT

             ILAPPSYNC01                     Virtual (VM)                             IT

              ilartifactory01                Virtual (VM)                             IT

              ILAuthorIT01                   Virtual (VM)                             IT

                 ILAV01                      Virtual (VM)                             IT

                 ILAV02                      Virtual (VM)                             IT

                ILAVC01                      Virtual (VM)                             IT

             ILBABYLON01                     Virtual (VM)                             IT

               ILBADEV01                     Virtual (VM)                             IT

                ILCacti02                    Virtual (VM)                             IT

                 ILCD01                      Virtual (VM)                             IT

                 ILCM01                      Virtual (VM)                             IT

                 ILCM02                      Virtual (VM)                             IT

              ILCMSAPP01                     Virtual (VM)                             IT

               ILCMSDB01                     Virtual (VM)                             IT

              ILCMWEB01                      Virtual (VM)                             IT

                ilcobbler01                  Virtual (VM)                             IT

              ilConfluence01                 Virtual (VM)                             IT

            ilcontrol.peer39dom              Virtual (VM)                             IT

             ILCZONEDB01                     Virtual (VM)                             IT

            ILCZONEWEB01                     Virtual (VM)                             IT

               ILDBSM01                      Virtual (VM)                             IT

                 ILDC04                      Virtual (VM)                             IT

                 ILDC05                      Virtual (VM)                             IT

                ILDPA01                      Virtual (VM)                             IT

              ILDPAAPP01                     Virtual (VM)                             IT

               ILDPADB01                     Virtual (VM)                             IT

               ILDPAMIG                      Virtual (VM)                             IT

             ILELSERDEP01                    Virtual (VM)                             IT

             ILELSERDEP02                    Virtual (VM)                             IT

             ILELSERDEP03                    Virtual (VM)                             IT

             ILELSERDEP04                    Virtual (VM)                             IT

                 ILEPO01                     Virtual (VM)                             IT




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               ILEPO02                      Virtual (VM)                              IT

                ilExch01                    Virtual (VM)                              IT

               ILFAX01                      Virtual (VM)                              IT

              ILFSDM01                      Virtual (VM)                              IT

              ILGITAPP01                    Virtual (VM)                            dev-ad
                                                                                    serving
              ILGITAPP03                    Virtual (VM)                            dev-ad
                                                                                    serving
              ILGITAPP04                    Virtual (VM)                            dev-ad
                                                                                    serving
              ILGITDB03                     Virtual (VM)                            dev-ad
                                                                                    serving
              ILGITDB04                     Virtual (VM)                            dev-ad
                                                                                    serving
       ILGITLABRUNNER01                     Virtual (VM)                            dev-ad
                                                                                    serving
       ILGITLABRUNNER02                     Virtual (VM)                            dev-ad
                                                                                    serving
             ILGITREDIS02                   Virtual (VM)                            dev-ad
                                                                                    serving
             ILHelpDesk01                   Virtual (VM)                               IT

             ilInnovation01                 Virtual (VM)                              IT

             ILINSIGHT01                    Virtual (VM)                              IT

               ILIPAM01                     Virtual (VM)                              IT

               Iljenkins23                  Virtual (VM)                            dev-ad
                                                                                    serving
             ILJENKINSBD1                   Virtual (VM)                            dev-ad
                                                                                    serving
             ILJENKINSBD2                   Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSBDS01                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSBDS02                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSBDS03                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSBDS04                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSBDS05                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSBDS06                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSBDS07                  Virtual (VM)                            dev-ad
                                                                                    serving
             Iljenkinsbds21                 Virtual (VM)                            dev-ad
                                                                                    serving
             Iljenkinsbds22                 Virtual (VM)                            dev-ad
                                                                                    serving
              Iljenkinsbe21                 Virtual (VM)                            dev-ad
                                                                                    serving
              Iljenkinsbe22                 Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSBEM01                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSBEM02                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSBES01                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSBES02                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSBES03                  Virtual (VM)                            dev-ad
                                                                                    serving



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            ILJENKINSBES04                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSCM01                   Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSCM02                   Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSCMS01                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSCMS02                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSCMS03                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSCMS04                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSCMS05                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSCMS06                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSCMS20                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSCMS21                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSCMS22                  Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSDB01                   Virtual (VM)                            dev-ad
                                                                                    serving
            ILJENKINSDB02                   Virtual (VM)                            dev-ad
                                                                                    serving
             iljenkinsdep01                 Virtual (VM)                            dev-ad
                                                                                    serving
             iljenkinsdep02                 Virtual (VM)                            dev-ad
                                                                                    serving
             iljenkinsdeps01                Virtual (VM)                            dev-ad
                                                                                    serving
             ILJenkinsM03                   Virtual (VM)                            dev-ad
                                                                                    serving
             ILJenkinsM04                   Virtual (VM)                            dev-ad
                                                                                    serving
             ILJENKINSS06                   Virtual (VM)                            dev-ad
                                                                                    serving
             ILJENKINSS11                   Virtual (VM)                            dev-ad
                                                                                    serving
             ILJENKINSS12                   Virtual (VM)                            dev-ad
                                                                                    serving
             ILJENKINSS13                   Virtual (VM)                            dev-ad
                                                                                    serving
             ILJENKINSS14                   Virtual (VM)                            dev-ad
                                                                                    serving
             ILJENKINSS15                   Virtual (VM)                            dev-ad
                                                                                    serving
             ILJENKINSS16                   Virtual (VM)                            dev-ad
                                                                                    serving
             ILJENKINSS17                   Virtual (VM)                            dev-ad
                                                                                    serving
             ILJENKINSS18                   Virtual (VM)                            dev-ad
                                                                                    serving
             ILJENKINSS19                   Virtual (VM)                            dev-ad
                                                                                    serving
             ILJENKINSS20                   Virtual (VM)                            dev-ad
                                                                                    serving
              Iljenkinss24                  Virtual (VM)                            dev-ad
                                                                                    serving
              Iljenkinss25                  Virtual (VM)                            dev-ad
                                                                                    serving
              Iljenkinss26                  Virtual (VM)                            dev-ad
                                                                                    serving
              Iljenkinss31                  Virtual (VM)                            dev-ad
                                                                                    serving


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             ILJENKINSS41                      Virtual (VM)                            dev-ad
                                                                                       serving
              ILJIRAAPP02                      Virtual (VM)                            dev-ad
                                                                                       serving
              ILJIRAAPP03                      Virtual (VM)                            dev-ad
                                                                                       serving
            ILJIRAAPPTEST01                    Virtual (VM)                            dev-ad
                                                                                       serving
              ILJIRADB01                       Virtual (VM)                            dev-ad
                                                                                       serving
              ILJIRADB02                       Virtual (VM)                            dev-ad
                                                                                       serving
            ILJIRADBTEST01                     Virtual (VM)                            dev-ad
                                                                                       serving
            ILJIRADBTEST02                     Virtual (VM)                            dev-ad
                                                                                       serving
             ILJIRADBW01                       Virtual (VM)                            dev-ad
                                                                                       serving
               ILKIWI01                        Virtual (VM)                               IT

                ILKMS01                        Virtual (VM)                              IT

                ill3sup01                      Virtual (VM)                              IT

             ILMagicFlex02                     Virtual (VM)                              IT

                ILMH03                         Virtual (VM)                              IT

                ILMX01                         Virtual (VM)                              IT

               ILNetwrix                       Virtual (VM)                              IT

                 ilnoc01                       Virtual (VM)                              IT

                 ilnoc02                       Virtual (VM)                              IT

               ilnocdev01                      Virtual (VM)                              IT

             ILOCTOPUS01                       Virtual (VM)                              IT

              ILPEERFIN01                      Virtual (VM)                              IT

             ilProjectApp01                    Virtual (VM)                              IT

              ilProjectDB01                    Virtual (VM)                              IT

               ilpuppet01                      Virtual (VM)                              IT

                ILQA01                         Virtual (VM)                              IT

             ILQLIKVIEW02                      Virtual (VM)                              IT

      ilranbuild01.eyeblaster.com              Virtual (VM)                              IT

              ILRANCID01                       Virtual (VM)                              IT

    ilranhelpdesk01.eyeblaster.com             Virtual (VM)                              IT

             ilraninventory01                  Virtual (VM)                              IT

                ilranqa01                      Virtual (VM)                              IT

             ilranterminal01                   Virtual (VM)                              IT

              ILReportSer01                    Virtual (VM)                              IT

               ilsapasialic                    Virtual (VM)                              IT

              ILSAPLIC01                       Virtual (VM)                              IT

               ilsapsftp01                     Virtual (VM)                              IT

            ILSAPSQLDEV01                      Virtual (VM)                              IT

             ILSAPTERM06                       Virtual (VM)                              IT



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            ILSAPTERM07                        Virtual (VM)                              IT

            ILSAPTERM08                        Virtual (VM)                              IT

            ILSAPTERM09                        Virtual (VM)                              IT

            ILSAPTERM10                        Virtual (VM)                              IT

        ILSAPTERMDEV01                         Virtual (VM)                              IT

              ILSCCM01                         Virtual (VM)                              IT

                ilScript                       Virtual (VM)                              IT

               ILSFB01                         Virtual (VM)                              IT

               ILSFB02                         Virtual (VM)                              IT

               ILSFB03                         Virtual (VM)                              IT

            ILSFBDBN01                         Virtual (VM)                              IT

            ILSFBDBN02                         Virtual (VM)                              IT

            ILSFBEDGE01                        Virtual (VM)                              IT

            ILSFBOWA01                         Virtual (VM)                              IT

            il-sharon-centos                   Virtual (VM)                              IT

               ILSIM01                         Virtual (VM)                              IT

              ILSMTP01                         Virtual (VM)                              IT

              ILSMTP02                         Virtual (VM)                              IT

               iltacacs01                      Virtual (VM)                              IT

            ILTermFarm01                       Virtual (VM)                              IT

            ILTermFarm02                       Virtual (VM)                              IT

            ILTermFarm03                       Virtual (VM)                              IT

            ILTermFarm04                       Virtual (VM)                              IT

            ILTermFarm05                       Virtual (VM)                              IT

               iltfs2012                       Virtual (VM)                            dev-ad
                                                                                       serving
               iltfsapp01                      Virtual (VM)                            dev-ad
                                                                                       serving
             iltfsapp01test                    Virtual (VM)                            dev-ad
                                                                                       serving
              iltfsbuild01                     Virtual (VM)                            dev-ad
                                                                                       serving
              iltfsbuild03                     Virtual (VM)                            dev-ad
                                                                                       serving
              iltfsbuild04                     Virtual (VM)                            dev-ad
                                                                                       serving
              iltfsbuild05                     Virtual (VM)                            dev-ad
                                                                                       serving
              iltfsbuild06                     Virtual (VM)                            dev-ad
                                                                                       serving
              iltfsbuild07                     Virtual (VM)                            dev-ad
                                                                                       serving
              iltfsbuild08                     Virtual (VM)                            dev-ad
                                                                                       serving
               iltmcm01                        Virtual (VM)                               IT

              ILVeeam01                        Virtual (VM)                              IT

            ILVNXMON01                         Virtual (VM)                              IT

            ILVPROXY01                         Virtual (VM)                              IT



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               ILVRO01                     Virtual (VM)                              IT

               ilvrops01                   Virtual (VM)                              IT

               ILVSI01                     Virtual (VM)                              IT

              ilwsus2008                   Virtual (VM)                              IT

             ILWSUS2012                    Virtual (VM)                              IT

        INFINIMETRICSIL01                  Virtual (VM)                              IT

            INT-ADMIN10                    Virtual (VM)                            dev-ad
                                                                                   serving
            INT-ADMIN11                    Virtual (VM)                            dev-ad
                                                                                   serving
            INT-ADMIN12                    Virtual (VM)                            dev-ad
                                                                                   serving
            INT-ADMIN13                    Virtual (VM)                            dev-ad
                                                                                   serving
            INT-AONXT01                    Virtual (VM)                            dev-ad
                                                                                   serving
       INT-AutomationClient01              Virtual (VM)                            dev-ad
                                                                                   serving
       INT-AutomationClient02              Virtual (VM)                            dev-ad
                                                                                   serving
       INT-AutomationClient03              Virtual (VM)                            dev-ad
                                                                                   serving
       INT-AutomationClient04              Virtual (VM)                            dev-ad
                                                                                   serving
       INT-AutomationClient05              Virtual (VM)                            dev-ad
                                                                                   serving
       INT-AutomationClient06              Virtual (VM)                            dev-ad
                                                                                   serving
              INT-BDB01                    Virtual (VM)                            dev-ad
                                                                                   serving
            INT-BillDWH01                  Virtual (VM)                            dev-ad
                                                                                   serving
            INT-BillingDB01                Virtual (VM)                            dev-ad
                                                                                   serving
               INT-BS03                    Virtual (VM)                            dev-ad
                                                                                   serving
             INT-BS2K12                    Virtual (VM)                            dev-ad
                                                                                   serving
            INT-BSPreview                  Virtual (VM)                            dev-ad
                                                                                   serving
            INT-CACHE01                    Virtual (VM)                            dev-ad
                                                                                   serving
            INT-CACHE02                    Virtual (VM)                            dev-ad
                                                                                   serving
            INT-CACHE03                    Virtual (VM)                            dev-ad
                                                                                   serving
            INT-COUCH01                    Virtual (VM)                            dev-ad
                                                                                   serving
            INT-COUCH02                    Virtual (VM)                            dev-ad
                                                                                   serving
            INT-COUCH03                    Virtual (VM)                            dev-ad
                                                                                   serving
            INT-CRBAS04                    Virtual (VM)                            dev-ad
                                                                                   serving
            INT-CRBAS10                    Virtual (VM)                            dev-ad
                                                                                   serving
            INT-DataFeedDB                 Virtual (VM)                            dev-ad
                                                                                   serving
            INT-DISTRIB01                  Virtual (VM)                            dev-ad
                                                                                   serving
               INT-DS10                    Virtual (VM)                            dev-ad
                                                                                   serving
             INT-DWH01                     Virtual (VM)                            dev-ad
                                                                                   serving


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              INT-ECS01                     Virtual (VM)                            dev-ad
                                                                                    serving
              INT-ECS02                     Virtual (VM)                            dev-ad
                                                                                    serving
              INT-EDS02                     Virtual (VM)                            dev-ad
                                                                                    serving
               INT-ES01                     Virtual (VM)                            dev-ad
                                                                                    serving
               INT-ES02                     Virtual (VM)                            dev-ad
                                                                                    serving
               INT-ES03                     Virtual (VM)                            dev-ad
                                                                                    serving
               INT-ES04                     Virtual (VM)                            dev-ad
                                                                                    serving
               INT-FS01                     Virtual (VM)                            dev-ad
                                                                                    serving
             INT-GPETL01                    Virtual (VM)                            dev-ad
                                                                                    serving
              int-gpetl2016                 Virtual (VM)                            dev-ad
                                                                                    serving
              INT-GPLogs                    Virtual (VM)                            dev-ad
                                                                                    serving
            INT-GPLOGSIN                    Virtual (VM)                            dev-ad
                                                                                    serving
             int-gpmaster01                 Virtual (VM)                            dev-ad
                                                                                    serving
              int-gpnode01                  Virtual (VM)                            dev-ad
                                                                                    serving
              int-gpnode02                  Virtual (VM)                            dev-ad
                                                                                    serving
            INT-GPPARSER01                  Virtual (VM)                            dev-ad
                                                                                    serving
               INT-GS10                     Virtual (VM)                            dev-ad
                                                                                    serving
             INT-HDDB01                     Virtual (VM)                            dev-ad
                                                                                    serving
             INT-HDDB02                     Virtual (VM)                            dev-ad
                                                                                    serving
        INT-HDDN01-CDH4                     Virtual (VM)                            dev-ad
                                                                                    serving
        INT-HDDN02-CDH4                     Virtual (VM)                            dev-ad
                                                                                    serving
        INT-HDDN03-CDH4                     Virtual (VM)                            dev-ad
                                                                                    serving
        INT-HDDN04-CDH4                     Virtual (VM)                            dev-ad
                                                                                    serving
        INT-HDDN05-CDH4                     Virtual (VM)                            dev-ad
                                                                                    serving
        INT-HDDN06-CDH4                     Virtual (VM)                            dev-ad
                                                                                    serving
             INT-HDMN01                     Virtual (VM)                            dev-ad
                                                                                    serving
             INT-HDMN02                     Virtual (VM)                            dev-ad
                                                                                    serving
             INT-JWSman01                   Virtual (VM)                            dev-ad
                                                                                    serving
             INT-JWSMan02                   Virtual (VM)                            dev-ad
                                                                                    serving
             INT-LNSRV01                    Virtual (VM)                            dev-ad
                                                                                    serving
             INT-PROXY01                    Virtual (VM)                            dev-ad
                                                                                    serving
              INT-PS2016                    Virtual (VM)                            dev-ad
                                                                                    serving
             INT-QS2016-1                   Virtual (VM)                            dev-ad
                                                                                    serving
             INT-QS2016-2                   Virtual (VM)                            dev-ad
                                                                                    serving


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             INT-RPSVC04                       Virtual (VM)                            dev-ad
                                                                                       serving
             INT-RPSVC10                       Virtual (VM)                            dev-ad
                                                                                       serving
             INT-RPSVC11                       Virtual (VM)                            dev-ad
                                                                                       serving
            INT-RPSVC2012                      Virtual (VM)                            dev-ad
                                                                                       serving
            INT-RPSVC2012B                     Virtual (VM)                            dev-ad
                                                                                       serving
             INT-SCYLLA01                      Virtual (VM)                            dev-ad
                                                                                       serving
             INT-SCYLLA02                      Virtual (VM)                            dev-ad
                                                                                       serving
             INT-SCYLLA03                      Virtual (VM)                            dev-ad
                                                                                       serving
              INT-SYNCDB                       Virtual (VM)                            dev-ad
                                                                                       serving
            INT-SyncService01                  Virtual (VM)                            dev-ad
                                                                                       serving
            INT-SyncService02                  Virtual (VM)                            dev-ad
                                                                                       serving
             INT-ULData01                      Virtual (VM)                            dev-ad
                                                                                       serving
             INT-ULData01o                     Virtual (VM)                            dev-ad
                                                                                       serving
              INT-VEW11                        Virtual (VM)                            dev-ad
                                                                                       serving
              INT-VEW12                        Virtual (VM)                            dev-ad
                                                                                       serving
              INT-VEW13                        Virtual (VM)                            dev-ad
                                                                                       serving
              INT-VEW20                        Virtual (VM)                            dev-ad
                                                                                       serving
              INT-VEW22                        Virtual (VM)                            dev-ad
                                                                                       serving
              INT-VEW23                        Virtual (VM)                            dev-ad
                                                                                       serving
            MANAGEPTK01                        Virtual (VM)                           Ad serving

                mtpg-dev                       Virtual (VM)                              IT

                 nastest                       Virtual (VM)                              IT

            NETWORKPTK01                       Virtual (VM)                           Ad serving

             OMGWCORP01                        Virtual (VM)                              IT

            OUtlookTest-VM                     Virtual (VM)                              IT

              QAautoDB01                       Virtual (VM)                            dev-ad
                                                                                       serving
              QAAutoDB02                       Virtual (VM)                            dev-ad
                                                                                       serving
             QAAutoWeb01                       Virtual (VM)                            dev-ad
                                                                                       serving
             QAAutoWeb02                       Virtual (VM)                            dev-ad
                                                                                       serving
             RANCIDPTK01                       Virtual (VM)                            dev-ad
                                                                                       serving
              ReleaseMan01                     Virtual (VM)                            dev-ad
                                                                                       serving
        RHONDERDORS-VM                         Virtual (VM)                               IT

             RSDWHPTK01                        Virtual (VM)                           Ad serving

                sccm_test                      Virtual (VM)                            dev-ad
                                                                                       serving
             SCRIPTPTK01                       Virtual (VM)                           Ad serving




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                scydb01                                    Virtual (VM)                                           dev-ad
                                                                                                                  serving
                scydb02                                    Virtual (VM)                                           dev-ad
                                                                                                                  serving
                scydb03                                    Virtual (VM)                                           dev-ad
                                                                                                                  serving
            SPECTRUMPTK01                                  Virtual (VM)                                          Ad serving

            SPECTRUMPTK02                                  Virtual (VM)                                          Ad serving

               SQLFZ10                                     Virtual (VM)                                           dev-ad
                                                                                                                  serving
             STG-ADMIN10                                   Virtual (VM)                                           dev-ad
                                                                                                                  serving
               STG-FS01                                    Virtual (VM)                                           dev-ad
                                                                                                                  serving
             STG-GPETL01                                   Virtual (VM)                                           dev-ad
                                                                                                                  serving
                  svn                                      Virtual (VM)                                           dev-ad
                                                                                                                  serving
            SYNCDBPTK01                                    Virtual (VM)                                          Ad serving

            SYNCDBPTK02                                    Virtual (VM)                                          Ad serving

            TESTOFFICE365                                  Virtual (VM)                                                IT

                TRTEST                                     Virtual (VM)                                                IT

               UOFIR-VM                                    Virtual (VM)                                                IT

                USCA01                                     Virtual (VM)                                                IT

      vThunder_4.0.1_Networking                            Virtual (VM)                                                IT

               webology01                                  Virtual (VM)                                                IT

               webology02                                  Virtual (VM)                                                IT

            WIN10IMG_ENT                                   Virtual (VM)                                                IT

          WIN10IMG_ENT_clone                               Virtual (VM)                                                IT

               winxprnd01                                  Virtual (VM)                                                IT

               winxprnd02                                  Virtual (VM)                                                IT

             YETROGI-VM                                    Virtual (VM)                                                IT


 System Name              Product   Product Model                   Factory Serial   Site   Role             Product
                          ID                                        Number
 adla04.eyedcny.local               ProLiant DL360 G6               CZJ00308WL       LA     Decommissioned   Ad Serving
                                                                                     ATT
 adla05                             ProLiant DL360 G7               CZJ1150Q5L       LA     AD               Ad Serving
                                                                                     ATT
 adla06                             ProLiant BL460c Gen8            USE3225AJA       LA     AD               Ad Serving
                                                                                     ATT
 bsla01                             ProLiant DL360 G7               MXQ03201ZZ       LA     Bursting         Ad Serving
                                                                                     ATT
 bsla02                             ProLiant DL360 G7               CZJ147121F       LA     Bursting         Ad Serving
                                                                                     ATT
 bsla03                             ProLiant DL360 G7               CZJ1471220       LA     Bursting         Ad Serving
                                                                                     ATT
 bsla04                             ProLiant DL360 G7               CZJ0500NWM       LA     Bursting         Ad Serving
                                                                                     ATT
 bsla05                             ProLiant DL360 G7               CZJ0350BZ5       LA     Bursting         Ad Serving
                                                                                     ATT
 bsla06                             ProLiant DL360 G7               CZJ1150Q5R       LA     Bursting         Ad Serving
                                                                                     ATT
 bsla07                             ProLiant DL360 G7               CZJ1250B8M       LA     Bursting         Ad Serving
                                                                                     ATT




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 bsla08              ProLiant DL360 G7       CZJ1250B66   LA    Bursting         Ad Serving
                                                          ATT
 bsla09              ProLiant DL360 G7       CZJ1200K18   LA    Bursting         Ad Serving
                                                          ATT
 bsla10              ProLiant BL460c Gen8    CZJ32901VX   LA    Bursting         Ad Serving
                                                          ATT
 bsla11              ProLiant BL460c Gen8    CZJ32901VP   LA    Bursting         Ad Serving
                                                          ATT
 bsla12              ProLiant BL460c Gen8    CZJ32901VB   LA    Bursting         Ad Serving
                                                          ATT
 bsla13              ProLiant BL460c Gen8    CZJ32901V6   LA    Bursting         Ad Serving
                                                          ATT
 bsla14              ProLiant BL460c Gen8    CZJ32901VF   LA    Bursting         Ad Serving
                                                          ATT
 bsla15              ProLiant BL460c Gen8    CZJ32901V5   LA    Bursting         Ad Serving
                                                          ATT
 bsla16              ProLiant BL460c Gen9    CZ262802YN   LA    Bursting         Ad Serving
                                                          ATT
 bsla17              ProLiant BL460c Gen9    CZ262802Y7   LA    Bursting         Ad Serving
                                                          ATT
 bsla18              ProLiant BL460c Gen9    CZ262802XM   LA    Bursting         Ad Serving
                                                          ATT
 bsla19              ProLiant BL460c Gen9    CZ262802YM   LA    Bursting         Ad Serving
                                                          ATT
 bsla20              ProLiant BL460c Gen9    CZ262802Y8   LA    Bursting         Ad Serving
                                                          ATT
 bsla21              ProLiant DL360 G6       MXQ00905ZM   LA    Decommissioned   Ad Serving
                                                          ATT
 bsla22              ProLiant DL360 G6       MXQ00905YF   LA    Decommissioned   Ad Serving
                                                          ATT
 bsla23              ProLiant DL360 G6       MXQ00905YL   LA    Decommissioned   Ad Serving
                                                          ATT
 bsla24              ProLiant DL360 G6       MXQ00905YW   LA    Decommissioned   Ad Serving
                                                          ATT
 bsla25              ProLiant DL360 G6       MXQ00905Y6   LA    Decommissioned   Ad Serving
                                                          ATT
 bsla26              ProLiant DL360 G7       CZJ1270DB2   LA    Bursting         Ad Serving
                                                          ATT
 bsla27              ProLiant DL360 G7       CZJ1270DB1   LA    Bursting         Ad Serving
                                                          ATT
 bsla28              ProLiant DL360p Gen8    MXQ24301J9   LA    Bursting         Ad Serving
                                                          ATT
 bsla29              ProLiant DL360p Gen8    MXQ24301GH   LA    Bursting         Ad Serving
                                                          ATT
 bsla30              ProLiant BL460c Gen8    CZJ32901VZ   LA    Bursting         Ad Serving
                                                          ATT
 couchla01           ProLiant DL360 G7       CZJ1280KHX   LA    Couchbase        Ad Serving
                                                          ATT
 couchla02           ProLiant DL360 G7       CZJ230032H   LA    Couchbase        Ad Serving
                                                          ATT
 couchla03           ProLiant DL360 G7       CZJ230032Q   LA    Couchbase        Ad Serving
                                                          ATT
 couchla04           ProLiant DL360 G7       CZJ230032G   LA    Couchbase        Ad Serving
                                                          ATT
 couchla05           ProLiant DL360 G7       CZJ1280KJ6   LA    Couchbase        Ad Serving
                                                          ATT
 couchla06           ProLiant DL360 G7       CZJ1280KHV   LA    Couchbase        Ad Serving
                                                          ATT
 couchla07           ProLiant DL360 G7       CZJ1280KHW   LA    Couchbase        Ad Serving
                                                          ATT
 couchla08           ProLiant DL360 G7       CZJ1280KHJ   LA    Couchbase        Ad Serving
                                                          ATT
 couchla09           ProLiant DL360 G7       CZJ1280KJB   LA    Couchbase        Ad Serving
                                                          ATT
 couchla10           ProLiant DL360 G7       CZJ1280KHQ   LA    Couchbase        Ad Serving
                                                          ATT
 dpla01              ProLiant DL360p Gen8    MXQ2420VRM   LA    DP               Ad Serving
                                                          ATT


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 dpla02                      ProLiant DL360p Gen8      MXQ2420VRW      LA     DP               Ad Serving
                                                                       ATT
 ecsla01                     Proliant BL460c Gen9      CZ2635029Y      LA     ECS              Ad Serving
                                                                       ATT
 ecsla01old                  ProLiant DL360 G7         CZJ1150Q5P      LA     Decommissioned   Ad Serving
                                                                       ATT
 ecsla02                     Proliant BL460c Gen9      CZ263502B7      LA     ECS              Ad Serving
                                                                       ATT
 ecsla02old                  ProLiant DL360 G7         CZJ1150Q5Q      LA     Decommissioned   Ad Serving
                                                                       ATT
 sslla01                     ProLiant DL360p Gen8      MXQ24301FX      LA     SSL              Ad Serving
                                                                       ATT
 toolboxla01                 ProLiant DL360 G5         MXQ832A1A0      LA     Decommissioned   Ad Serving
                                                                       ATT
 toolboxla02                 ProLiant BL460c Gen8      USE305VD3R      LA     ToolBox          Ad Serving
                                                                       ATT
 LA01              507019-   BladeSystem c7000         CZ3328JPKM      LA
                   B21       Enclosure G2                              ATT
 LA_ISP_SW01                 QFX5100-48S-6Q            VF3715360163           Switch           Ad Serving
 LA_ISP_SW02                 QFX5100-48S-6Q            VF3715360154           Switch           Ad Serving
 LA-SERV-LAN-                QFX5100-48T-6Q            TR0215470137           Switch           Ad Serving
 SW01-2
 LA-SERV-LAN-                QFX5100-48T-6Q            TR0215420056           Switch           Ad Serving
 SW01-2
 LA-SERV-LAN-                QFX5100-48T-6Q            TR0215420057           Switch           Ad Serving
 SW03-4
 LA-SERV-LAN-                QFX5100-48T-6Q            TR0215470217           Switch           Ad Serving
 SW03-4
 LA-A10-SSL                  A10Networks TH5430S-11    TH54453015500          Load Balancer    Ad Serving
                                                       024
 LA-A10-SSL                  A10Networks TH5430S-11    TH54453015510          Load Balancer    Ad Serving
                                                       011


 System Name    Product ID   Product Model            Factory Serial   Site   Role             Product
                                                      Number
 adams05                     ProLiant BL460c Gen8     USE324659V       AM2    AD               Ad Serving
 adams06                     ProLiant BL460c Gen8     USE3214VTL       AM2    AD               Ad Serving
 bsams16                     ProLiant BL460c G7       CZJ1270BT9       AM2    Bursting         Ad Serving
 bsams17                     ProLiant BL460c G7       CZJ1270BTH       AM2    Bursting         Ad Serving
 bsams18                     ProLiant BL460c G7       CZJ1270BT4       AM2    Bursting         Ad Serving
 bsams19                     ProLiant BL460c G7       CZJ1270BTN       AM2    Bursting         Ad Serving
 bsams20                     ProLiant BL460c G7       CZJ1270BT8       AM2    Bursting         Ad Serving
 bsams21                     ProLiant BL460c G7       CZJ1270BTT       AM2    Bursting         Ad Serving
 bsams22                     ProLiant BL460c G7       CZJ1270BTB       AM2    Bursting         Ad Serving
 bsams23                     ProLiant BL460c G7       CZJ1270BTC       AM2    Bursting         Ad Serving
 bsams24                     ProLiant BL460c G7       CZJ1270BTR       AM2    Bursting         Ad Serving
 bsams25                     ProLiant BL460c G7       CZJ1270BTP       AM2    Bursting         Ad Serving
 bsams26                     ProLiant BL460c Gen8     CZJ32901V8       AM2    Bursting         Ad Serving
 bsams27                     ProLiant BL460c Gen8     CZJ32901V2       AM2    Bursting         Ad Serving
 bsams28                     ProLiant BL460c Gen8     CZJ32901VD       AM2    Bursting         Ad Serving
 bsams29                     ProLiant BL460c Gen8     CZJ32901VR       AM2    Bursting         Ad Serving
 bsams30                     ProLiant BL460c Gen8     CZJ32901V7       AM2    Bursting         Ad Serving
 couchams01                  ProLiant DL360 G7        CZJ1280KHS       AM2    Couchbase        Ad Serving
 couchams02                  ProLiant DL360 G7        CZJ230032R       AM2    Couchbase        Ad Serving



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 couchams03                  ProLiant DL360 G7        CZJ230032N        AM2    Couchbase        Ad Serving
 couchams04                  ProLiant DL360 G7        CZJ230032L        AM2    Couchbase        Ad Serving
 couchams05                  ProLiant DL360 G7        CZJ230032P        AM2    Couchbase        Ad Serving
 couchams06                  ProLiant DL360 G7        CZJ1280KJ4        AM2    Couchbase        Ad Serving
 couchams07                  ProLiant DL360 G7        CZJ1280KHT        AM2    Couchbase        Ad Serving
 couchams08                  ProLiant DL360 G7        CZJ1280KHN        AM2    Couchbase        Ad Serving
 couchams09                  ProLiant DL360 G7        CZJ1280KJ7        AM2    Couchbase        Ad Serving
 couchams10                  ProLiant DL360 G7        CZJ1280KHP        AM2    Couchbase        Ad Serving
 couchams11                  ProLiant DL360 G7        CZJ1280KJ2        AM2    Couchbase        Ad Serving
 dpams01                     ProLiant BL460c Gen9     CZ262802Y1        AM2    DP               Ad Serving
 dpams02                     ProLiant BL460c Gen9     CZ262802YJ        AM2    DP               Ad Serving
 ecsams01                    Proliant BL460c Gen9     CZ263502B4        AM2    ECS              Ad Serving
 ecsams01old                 ProLiant DL360 G7        CZJ147122D        AM2    Decommissioned   Ad Serving
 ecsams02                    Proliant BL460c Gen9     CZ263502B2        AM2    ECS              Ad Serving
 ecsams02old                 ProLiant DL360 G7        CZJ147121T        AM2    Decommissioned   Ad Serving
 toolboxams01                ProLiant DL360 G6        CZJ00308W7        AM2    Decommissioned   Ad Serving
 toolboxams02                ProLiant BL460c Gen8     3UI1351L1S        AM2    ToolBox          Ad Serving
 AMS02          507019-B21   BladeSystem c7000        CZ3328JPKK        AM2                     Ad Serving
                             Enclosure G2
 AMS01          507019-B21   BladeSystem c7000        CZ3128LHD4        AM2                     Ad Serving
                             Enclosure G2
 NL-DR01        507019-B21   BladeSystem c7000        CZ3128LHCK        AM2    Decomissioned
                             Enclosure G2
                             FortiGate-100E           FG100E4Q160023           Firewall         Shared
                                                      58
                             FortiGate-100E           FG100E4Q160026           Firewall         Shared
                                                      07
 AM2_MX104_                  Juniper MX104            AY968                    Router           Shared
 RT01
 AM2_MX104_                  Juniper MX105            AY473                    Router           Shared
 RT02
 AM2_ISP_01                  QFX5100-48S-6Q           VF3716010224             Switch           Shared
 AM2_ISP_02                  QFX5100-48S-6Q           VF3716010176             Switch           Shared
 AM2_SW01-2                  QFX5100-48T-6Q           TR0215420569             Switch           Shared
 AM2_SW01-2                  QFX5100-48T-6Q           TR0215420376             Switch           Shared
 AM2_SW03-4                  QFX5100-48T-6Q           TR0215420394             Switch           Shared
 AM2_SW03-4                  QFX5100-48T-6Q           TR0215420308             Switch           Shared
 AM2_SW05-6                  QFX5100-48T-6Q           TR0215510065             Switch           Shared
 AM2_SW05-6                  QFX5100-48T-6Q           TR0215500004             Switch           Shared
 AM2_AGG_01-                 QFX5100-48T-6Q           TR0215350164             Switch           Shared
 02
 AM2_AGG_01-                 QFX5100-48T-6Q           TR0216100007             Switch           Shared
 02
 AMS-A10-SSL                 A10Networks TH5430S-11   TH5445301550002          Load Balancer    Ad serving
                                                      7
 AMS-A10-SSL                 A10Networks TH5430S-11   TH5445301550002          Load Balancer    Ad serving
                                                      2


 System Name    Product ID   Product Model            Factory Serial    Site   Role             Product
                                                      Number
 adams05                     ProLiant BL460c Gen8     USE324659V        AM2    AD               Ad Serving



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 adams06                     ProLiant BL460c Gen8   USE3214VTL       AM2   AD               Ad Serving
 bsams16                     ProLiant BL460c G7     CZJ1270BT9       AM2   Bursting         Ad Serving
 bsams17                     ProLiant BL460c G7     CZJ1270BTH       AM2   Bursting         Ad Serving
 bsams18                     ProLiant BL460c G7     CZJ1270BT4       AM2   Bursting         Ad Serving
 bsams19                     ProLiant BL460c G7     CZJ1270BTN       AM2   Bursting         Ad Serving
 bsams20                     ProLiant BL460c G7     CZJ1270BT8       AM2   Bursting         Ad Serving
 bsams21                     ProLiant BL460c G7     CZJ1270BTT       AM2   Bursting         Ad Serving
 bsams22                     ProLiant BL460c G7     CZJ1270BTB       AM2   Bursting         Ad Serving
 bsams23                     ProLiant BL460c G7     CZJ1270BTC       AM2   Bursting         Ad Serving
 bsams24                     ProLiant BL460c G7     CZJ1270BTR       AM2   Bursting         Ad Serving
 bsams25                     ProLiant BL460c G7     CZJ1270BTP       AM2   Bursting         Ad Serving
 bsams26                     ProLiant BL460c Gen8   CZJ32901V8       AM2   Bursting         Ad Serving
 bsams27                     ProLiant BL460c Gen8   CZJ32901V2       AM2   Bursting         Ad Serving
 bsams28                     ProLiant BL460c Gen8   CZJ32901VD       AM2   Bursting         Ad Serving
 bsams29                     ProLiant BL460c Gen8   CZJ32901VR       AM2   Bursting         Ad Serving
 bsams30                     ProLiant BL460c Gen8   CZJ32901V7       AM2   Bursting         Ad Serving
 couchams01                  ProLiant DL360 G7      CZJ1280KHS       AM2   Couchbase        Ad Serving
 couchams02                  ProLiant DL360 G7      CZJ230032R       AM2   Couchbase        Ad Serving
 couchams03                  ProLiant DL360 G7      CZJ230032N       AM2   Couchbase        Ad Serving
 couchams04                  ProLiant DL360 G7      CZJ230032L       AM2   Couchbase        Ad Serving
 couchams05                  ProLiant DL360 G7      CZJ230032P       AM2   Couchbase        Ad Serving
 couchams06                  ProLiant DL360 G7      CZJ1280KJ4       AM2   Couchbase        Ad Serving
 couchams07                  ProLiant DL360 G7      CZJ1280KHT       AM2   Couchbase        Ad Serving
 couchams08                  ProLiant DL360 G7      CZJ1280KHN       AM2   Couchbase        Ad Serving
 couchams09                  ProLiant DL360 G7      CZJ1280KJ7       AM2   Couchbase        Ad Serving
 couchams10                  ProLiant DL360 G7      CZJ1280KHP       AM2   Couchbase        Ad Serving
 couchams11                  ProLiant DL360 G7      CZJ1280KJ2       AM2   Couchbase        Ad Serving
 dpams01                     ProLiant BL460c Gen9   CZ262802Y1       AM2   DP               Ad Serving
 dpams02                     ProLiant BL460c Gen9   CZ262802YJ       AM2   DP               Ad Serving
 ecsams01                    Proliant BL460c Gen9   CZ263502B4       AM2   ECS              Ad Serving
 ecsams01old                 ProLiant DL360 G7      CZJ147122D       AM2   Decommissioned   Ad Serving
 ecsams02                    Proliant BL460c Gen9   CZ263502B2       AM2   ECS              Ad Serving
 ecsams02old                 ProLiant DL360 G7      CZJ147121T       AM2   Decommissioned   Ad Serving
 toolboxams01                ProLiant DL360 G6      CZJ00308W7       AM2   Decommissioned   Ad Serving
 toolboxams02                ProLiant BL460c Gen8   3UI1351L1S       AM2   ToolBox          Ad Serving
 AMS02          507019-B21   BladeSystem c7000      CZ3328JPKK       AM2                    Ad Serving
                             Enclosure G2
 AMS01          507019-B21   BladeSystem c7000      CZ3128LHD4       AM2                    Ad Serving
                             Enclosure G2
 NL-DR01        507019-B21   BladeSystem c7000      CZ3128LHCK       AM2   Decomissioned
                             Enclosure G2
                             FortiGate-100E         FG100E4Q160023         Firewall         Shared
                                                    58
                             FortiGate-100E         FG100E4Q160026         Firewall         Shared
                                                    07



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 AM2_MX104_              Juniper MX104            AY968             Router          Shared
 RT01
 AM2_MX104_              Juniper MX105            AY473             Router          Shared
 RT02
 AM2_ISP_01              QFX5100-48S-6Q           VF3716010224      Switch          Shared
 AM2_ISP_02              QFX5100-48S-6Q           VF3716010176      Switch          Shared
 AM2_SW01-2              QFX5100-48T-6Q           TR0215420569      Switch          Shared
 AM2_SW01-2              QFX5100-48T-6Q           TR0215420376      Switch          Shared
 AM2_SW03-4              QFX5100-48T-6Q           TR0215420394      Switch          Shared
 AM2_SW03-4              QFX5100-48T-6Q           TR0215420308      Switch          Shared
 AM2_SW05-6              QFX5100-48T-6Q           TR0215510065      Switch          Shared
 AM2_SW05-6              QFX5100-48T-6Q           TR0215500004      Switch          Shared
 AM2_AGG_01-             QFX5100-48T-6Q           TR0215350164      Switch          Shared
 02
 AM2_AGG_01-             QFX5100-48T-6Q           TR0216100007      Switch          Shared
 02
 AMS-A10-SSL             A10Networks TH5430S-11   TH5445301550002   Load Balancer   Ad serving
                                                  7
 AMS-A10-SSL             A10Networks TH5430S-11   TH5445301550002   Load Balancer   Ad serving
                                                  2




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System Name          Product ID     Product Model             Factory Serial Number     Site   Role                Product
adjp02                              ProLiant BL460c G7        CZJ24501PL                JP     AD                  Ad Serving
bsjp02                              ProLiant BL460c Gen8      CZJ33100BF                JP     Bursting            Ad Serving
bsjp03                              ProLiant BL460c Gen8      CZJ33100BG                JP     Bursting            Ad Serving
bsjp04                              ProLiant BL460c Gen8      CZJ33100B9                JP     Bursting            Ad Serving
bsjp05                              ProLiant BL460c G6        CZJ02208Y1                JP     Decommissioned      Ad Serving
bsjp06                              ProLiant BL460c G6        CZJ02208Y8                JP     Decommissioned      Ad Serving
bsjp07                              ProLiant BL460c G7        CZJ1270BTV                JP     Bursting            Ad Serving
bsjp08                              ProLiant BL460c G7        CZJ1270BTM                JP     Bursting            Ad Serving
bsjp09                              ProLiant BL460c G7        CZJ1270BTK                JP     Bursting            Ad Serving
bsjp10                              ProLiant BL460c G7        CZJ1270BT6                JP     Bursting            Ad Serving
bsjp11                              ProLiant BL460c G7        CZJ1270BT2                JP     Bursting            Ad Serving
bsjp12                              ProLiant BL460c G7        CZJ1270BT1                JP     Bursting            Ad Serving
bsjp13                              Proliant BL460c Gen9      CZ262802XV                JP     Bursting            Ad Serving
bsjp14                              Proliant BL460c Gen9      CZ262802Y5                JP     Bursting            Ad Serving
couchjp01                           ProLiant DL360 G7         CZJ1280KJ9                JP     Couchbase           Ad Serving
couchjp02                           ProLiant DL360 G7         CZJ1280KHM                JP     Couchbase           Ad Serving
couchjp03                           ProLiant DL360 G7         CZJ1280KHG                JP     Couchbase           Ad Serving
couchjp04                           ProLiant DL360 G7         CZJ1280KJ8                JP     Couchbase           Ad Serving
dpjp01                              Proliant BL460c Gen9      CZ262802YH                JP     DP                  Ad Serving
dpjp02                              Proliant BL460c Gen9      CZ262802XZ                JP     DP                  Ad Serving
ecsjp01                             Proliant BL460c Gen9      CZ263502B0                JP     ECS                 Ad Serving
ecsjp01old                          ProLiant BL460c G7        CZJ21518JZ                JP     Decommissioned      Ad Serving
ecsjp02                             Proliant BL460c Gen9      CZ2635029W                JP     ECS                 Ad Serving
ecsjp02old                          ProLiant BL460c G7        CZJ21518K4                JP     Decommissioned      Ad Serving
toolboxjp01                         ProLiant DL360p Gen8      CZJ303025Y                JP     ToolBox             Ad Serving
JP01                 412152-B21     BladeSystem c7000 Enclosu GB8741XE58                JP
JP_DMZ_SW_01                        Juniper QFX5100-48S-6Q VF3716170377                 JP     Switch              Adserving
JP_DMZ_SW_02                        Juniper QFX5100-48S-6Q VF3716170456                 JP     Switch              Adserving
JP_LAN_SW_01                        Juniper QFX5100-48T-6Q TR0216100016                 JP     Switch              Adserving
JP_LAN_SW_02                        Juniper QFX5100-48T-6Q TR0216100044                 JP     Switch              Adserving
                                    Juniper MX204                                       JP     Router              Adserving
                                    Juniper MX204                                       JP     Router              Adserving
JP-SSL-A10_LB01-02                  A10Networks TH3030S         TH30A63313430076        JP     Load Balancer       Adserving
JP-SSL-A10_LB01-02                  A10Networks TH3030S         TH30A73314020142        JP     Load Balancer       Adserving
JP-SSL-A10_LB03-04                  A10Networks TH3030S         TH30A83314490018        JP     Load Balancer       Adserving
JP-SSL-A10_LB03-04                  A10Networks TH3030S         TH30A83314460069        JP     Load Balancer       Adserving
JP-FW01-8196                        FortiGate-100E              FG100E4Q17008196        JP     Firewall            Adserving
JP-FW02-8067                        FortiGate-100E              FG100E4Q17008067        JP     Firewall            Adserving




 System Name           Product ID        Product Model                     Factory Serial      Site     Role          Product
                                                                           Number
 adsg03                                  ProLiant BL460c Gen8              USE324659N          SG       AD            Ad Serving
 bssg01                                  Proliant BL460c Gen9              CZ262802YK          SG       Bursting      Ad Serving
 bssg02                                  Proliant BL460c Gen9              CZ262802XW          SG       Bursting      Ad Serving
 bssg07                                  ProLiant BL460c G6                CZJ02208Y7          SG       Spare         Ad Serving
 bssg08                                  ProLiant BL460c G6                CZJ02208Y5          SG       Spare         Ad Serving
 bssg09                                  ProLiant BL460c G7                CZJ1270BTL          SG       Bursting      Ad Serving
 bssg10                                  ProLiant BL460c G7                CZJ1270BT5          SG       Bursting      Ad Serving
 bssg11                                  ProLiant BL460c G7                CZJ1270BT7          SG       Bursting      Ad Serving
 bssg12                                  ProLiant BL460c G7                CZJ1270BT3          SG       Bursting      Ad Serving
 bssg13                                  ProLiant BL460c G7                CZJ24501PK          SG       Bursting      Ad Serving
 bssg14                                  ProLiant BL460c G7                CZJ24501PH          SG       Bursting      Ad Serving



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 bssg15                                ProLiant BL460c G7                CZJ24501PN           SG       Bursting        Ad Serving
 bssg16                                ProLiant BL460c Gen8              CZJ32901VH           SG       Bursting        Ad Serving
 bssg17                                ProLiant BL460c Gen8              CZJ32901VY           SG       Bursting        Ad Serving
 couchsg01                             ProLiant DL360 G7                 CZJ044056X           SG       Couchbase       Ad Serving
 couchsg02                             ProLiant DL360 G7                 CZJ044057Y           SG       Couchbase       Ad Serving
 couchsg03                             ProLiant DL360 G7                 CZJ0320DF4           SG       Couchbase       Ad Serving
 couchsg04                             ProLiant DL360 G7                 CZJ1280KHK           SG       Couchbase       Ad Serving
 dpsg01                                Proliant BL460c Gen9              CZ262802YD           SG       DP              Ad Serving
 dpsg02                                Proliant BL460c Gen9              CZ262802XT           SG       DP              Ad Serving
 ecssg01                               Proliant BL460c Gen9              CZ263502B3           SG       ECS             Ad Serving
 ecssg01old                            ProLiant BL460c G7                CZJ21518JY           SG       Spare           Ad Serving
 ecssg02                               Proliant BL460c Gen9              CZ2635029X           SG       ECS             Ad Serving
 toolboxsg01                           ProLiant DL360p Gen8              CZJ303026D           SG       ToolBox         Ad Serving
 SG01                   412152-B21     BladeSystem c7000 Enclosure       GB8741XE4E           SG                       Ad Serving
 ecssg02old                            ProLiant BL460c G7                CZJ21518KC           SG       Spare
 SG_LAN_SW01_2                         Juniper QFX5100-48T-6Q            TR0215420469         SG       Switch          Shared
 SG_LAN_SW01_2                         Juniper QFX5100-48T-6Q            TR0215420453         SG       Switch          Shared
 SG_LAN_SW03_4                         Juniper QFX5100-48T-6Q            TR0215420447         SG       Switch          Shared
 SG_LAN_SW03_4                         Juniper QFX5100-48T-6Q            TR0215420359         SG       Switch          Shared
 SG-SSL-A10-5430                       A10Networks TH5430S-11            TH5449301735000      SG       Load            Shared
                                                                         5                             Balancer
 SG-SSL-A10-5430                       A10Networks TH5430S-11            TH5449301735000      SG       Load            Shared
                                                                         7                             Balancer
 ISPRTR01.SG01                         Juniper MX104                     AE177                SG       Router          Shared
 ISPRTR02.SG01                         Juniper MX104                     AH476                SG       Router          Shared
 SG-FW01-5701                          FortiGate-100E                    FG100E4Q1700570      SG       Firewall        Shared
                                                                         1
 SG-FW02-8397                          FortiGate-100E                    FG100E4Q1700839      SG       Firewall        Shared
                                                                         7


 System Name       Product    Product Model                        Factory Serial     Sit   Role                  Product
                   ID                                              Number             e
 adch02                       ProLiant BL460c G7                   CNG102TN3H         CH    AD                    Ad Serving
 bsch01                       ProLiant BL460c G7                   CNG102TN48         CH    Bursting              Ad Serving
 bsch02                       ProLiant BL460c G7                   CNG102TN3P         CH    Bursting              Ad Serving
 bsch03                       ProLiant BL460c G7                   CNG102TN3R         CH    Bursting              Ad Serving
 bsch04                       ProLiant BL460c G7                   CNG102TN44         CH    Bursting              Ad Serving
 bsch05                       ProLiant BL460c G7                   CNG102TN42         CH    Bursting              Ad Serving
 bsch06                       ProLiant BL460c G7                   CNG102TN46         CH    Bursting              Ad Serving
 bsch07                       ProLiant BL460c G7                   CNG102TN40         CH    Bursting              Ad Serving
 bsch09                       ProLiant BL460c G7                   CNG102TN3Y         CH    Bursting              Ad Serving
 bsch10                       ProLiant BL460c G7                   CNG102TN3W         CH    Bursting              Ad Serving
 couchch01                    ProLiant DL360 G7                    CNG129TX6B         CH    Couchbase             Ad Serving
 couchch02                    ProLiant DL360 G7                    CNG129TX6G         CH    Couchbase             Ad Serving
 couchch03                    ProLiant DL360 G7                    CNG129TX6J         CH    Couchbase             Ad Serving
 couchch04                    ProLiant DL360 G7                    CNG129TX6D         CH    Couchbase             Ad Serving




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 dpch01                              Proliant BL460c Gen9                  6CU747C98B         CH    DP                  Ad Serving
 dpch02                              Proliant BL460c Gen9                  6CU747C98F         CH    DP                  Ad Serving
 ecsch01                             Proliant BL460c Gen9                  6CU747C943         CH    ECS                 Ad Serving
 ecsch01old                          ProLiant BL460c G7                    CNG102TN3K         CH    Spare               Ad Serving
 ecsch02                             Proliant BL460c Gen9                  6CU747C947         CH    ECS                 Ad Serving
 ecsch02old                          ProLiant BL460c G7                    CNG102TN3T         CH    Spare               Ad Serving
 toolboxch01                         ProLiant BL460c G7                    CNG102TN3M         CH    ToolBox             Ad Serving
 CH01                 507019-        BladeSystem c7000 Enclosure G2        CNG106SH64         CH
                      B21
 SB40c                                                                     SGI051000D         CH
 SB40c                                                                     SGI051000P         CH
                                     Juniper EX-4300                                                Switch              Ad Serving
                                     Juniper EX-4300                                                Switch              Ad Serving
                                     Juniper EX-4300                                                Switch              Ad Serving
                                     Juniper EX-4300                                                Switch              Ad Serving
                                     A10Networks TH3030S                                            Load Balancer       Ad Serving
                                     A10Networks TH3030S                                            Load Balancer       Ad Serving


 Group         Team       Application             Instance    insta    vCPU             Memory     Storage          # of       Comme
                                                  type        nce                                                   Instance   nts
                                                              fami                                                  s
                                                              ly
 AdServe       AdServe    eds nxt                 m4.large    m4       2 vCPUs          8.0 GiB    EBS only         2          windows
 r             r
 AdServe       AdServe    preview                 m4.large    m4       2 vCPUs          8.0 GiB    EBS only         2          windows
 r             r
 AdServe       AdServe    Log Module              c5.4xlarg   c5       16 vCPUs         32.0 GiB   EBS only         3          windows
 r             r                                  e
 Analytic      Report     Rooster                 m4.large    m4       2 vCPUs          8.0 GiB    EBS only         2          Reserve
 s             Builder
 Analytic      Report     Rooster-api             c4.large    c4       2 vCPUs          3.75 GiB   EBS only         2          Reserve
 s             Builder
 Analytic      Report     Validation              c4.large    c4       2 vCPUs          3.75 GiB   EBS only         2          Reserve
 s             Builder
 Analytic      Report     UI                      c4.large    c4       2 vCPUs          3.75 GiB   EBS only         2          Reserve
 s             Builder
 Analytic      Report     Orchestration           m4.large    m4       2 vCPUs          8.0 GiB    EBS only         2          Reserve
 s             Builder
 Analytic      Report     API                     c4.large    c4       2 vCPUs          3.75 GiB   EBS only         4          Reserve
 s             Builder
 Analytic      Report     Finalization            c3.2xlarg   c3       8 vCPUs          15.0 GiB   160 GiB (2 *     2          Reserve
 s             Builder                            e                                                80 GiB SSD)
 Analytic      Report     Finalization-p2c        i3.2xlarg   i3       8 vCPUs          61.0 GiB   1900 GiB         4          Reserve
 s             Builder                            e                                                NVMe SSD
 Analytic      Report     Exporter                m4.large    m4       2 vCPUs          8.0 GiB    EBS only         2          Reserve
 s             Builder
 Analytic      Report     consul                  m4.large    m4       2 vCPUs          8.0 GiB    EBS only         3          Reserve
 s             Builder
 Analytic      Report     Pivot                   m4.large    m4       2 vCPUs          8.0 GiB    EBS only         1          Reserve
 s             Builder
 Analytic      Report     mstr service            m4.large    m4       2 vCPUs          8.0 GiB    EBS only         1          Reserve
 s             Builder
 Analytic      Report     mstr bulk service       m4.4xlar    m4       16 vCPUs         64.0 GiB   EBS only         1          Reserve
 s             Builder                            ge
 Analytic      Report     mstr service vertica    m4.4xlar    m4       16 vCPUs         64.0 GiB   EBS only         1          Reserve
 s             Builder                            ge
 Analytic      Report     rabbitmq                m3.medi     m3       1 vCPUs          3.75 GiB   4 GiB SSD        1          Reserve
 s             Builder                            um


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 Analytic   Analytic   microstartegy web      m4.xlarg    m4    4 vCPUs    16.0 GiB   EBS only     1      Reserve
 s          sdb                               e
 Analytic   DEM        entitymanager          m4.large    m4    2 vCPUs    8.0 GiB    EBS only     4      Reserve
 s
 Analytic   DEM        async manager          m4.large    m4    2 vCPUs    8.0 GiB    EBS only     4      Reserve
 s
 Analytic   Analytic   rdf ftp                c4.large    c4    2 vCPUs    3.75 GiB   EBS only     2      Reserve
 s          sdb
 Analytic   Analytic   feed manager           c4.large    c4    2 vCPUs    3.75 GiB   EBS only     1      Reserve
 s          sdb
 Analytic   Analytic   message consumer       c4.large    c4    2 vCPUs    3.75 GiB   EBS only     1      Reserve
 s          sdb
 Analytic   Analytic   entity syncronizer     c4.large    c4    2 vCPUs    3.75 GiB   EBS only     1      Reserve
 s          sdb
 Analytic   Analytic   copy manager           c4.large    c4    2 vCPUs    3.75 GiB   EBS only     1      Reserve
 s          sdb
 Analytic   Analytic   Job Agent              c4.large    c4    2 vCPUs    3.75 GiB   EBS only     1      Reserve
 s          sdb
 Analytic   Analytic   redshift handler       c4.large    c4    2 vCPUs    3.75 GiB   EBS only     1      Reserve
 s          sdb
 Analytic   data       emr-adrequest          r3.large    r3    2 vCPUs    15.25      32 GiB SSD   11     batch
 s          connect    aggregation                                         GiB
 Analytic   data       emr-sessions           m4.xlarg    m4    4 vCPUs    16.0 GiB   EBS only     4      Reserve
 s          connect    aggregation            e
                       (attribution)
 Analytic   data       emr-sessions           m4.xlarg    m4    4 vCPUs    16.0 GiB   EBS only     3      Reserve
 s          connect    aggregation (bot)      e
 Analytic   data       emr-sessions           m4.xlarg    m4    4 vCPUs    16.0 GiB   EBS only     6      Reserve
 s          connect    aggregation (tag       e
                       manager)
 Analytic   data       emr-sessions           m4.xlarg    m4    4 vCPUs    16.0 GiB   EBS only     3      Reserve
 s          connect    aggregation            e
                       (verification)
 Analytic   data       emr-sessions           m4.large    m4    2 vCPUs    8.0 GiB    EBS only     6      Reserve
 s          connect    aggregation
                       (adsession)
 Analytic   data       sec client             m4.large    m4    2 vCPUs    8.0 GiB    EBS only     1      Reserve
 s          connect
 Analytic   Analytic   Microstrategy 10       R4.8XLa     R4    32 vCPUs   244.0      EBS only     1      Reserve
 s          sdb                               rge                          GiB
 Analytic   Analytic   rdf Ambari             c4.large    c4    2 vCPUs    3.75 GiB   EBS only     1      Reserve
 s          sdb
 Analytic   Analytic   ambari registry        c4.xlarge   c4    4 vCPUs    7.5 GiB    EBS only     0      Reserve
 s          sdb
 Analytic   DEM        couchbase - index      M4.2XL      M4    8 vCPUs    32.0 GiB   EBS only     2      Reserve
 s                                            arge
 Analytic   DEM        rabbitmq               i3.xlarge   i3    4 vCPUs    30.5 GiB   950 GiB      3      Reserve
 s                                                                                    NVMe SSD
 Analytic   Analytic   rdf master             m4.xlarg    m4    4 vCPUs    16.0 GiB   EBS only     3      Reserve
 s          sdb                               e
 Analytic   Analytic   nifi (rdg)             R4.2XLa     R4    8 vCPUs    61.0 GiB   EBS only     3      Reserve
 s          sdb                               rge
 Analytic   Analytic   ambari zookeeper       c4.large    c4    2 vCPUs    3.75 GiB   EBS only     3      Reserve
 s          sdb
 Analytic   data       rabbitmq               i3.xlarge   i3    4 vCPUs    30.5 GiB   950 GiB      3      Reserve
 s          connect                                                                   NVMe SSD
 Analytic   Analytic   nifi (fdg)             c4.8xlarg   c4    36 vCPUs   60.0 GiB   EBS only     5      Reserve
 s          sdb                               e
 Analytic   Analytic   vertica                c5.9xlarg   c5    36 vCPUs   72.0 GiB   EBS only     5      Reserve
 s          sdb                               e
 Analytic   Analytic   vertica-etl            c5.9xlarg   c5    36 vCPUs   72.0 GiB   EBS only     5      Reserve
 s          sdb                               e
 Analytic   DEM        couchbase - data       R4.2XLa     R4    8 vCPUs    61.0 GiB   EBS only     6      Reserve
 s                                            rge
 Analytic   Analytic   rdf slave              c4.4xlarg   c4    16 vCPUs   30.0 GiB   EBS only     7      Reserve
 s          sdb                               e
 CM         Platform   Backend                m4.2xlar    m4    8 vCPUs    32.0 GiB   EBS only     14     Reserve
                                              ge



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 CM         Platform     Frontend              m4.2xlar    m4    8 vCPUs    32.0 GiB   EBS only       4      Reserve
                                               ge
 CM         Platform     web                   m4.2xlar    m4    8 vCPUs    32.0 GiB   EBS only       2      Reserve
                                               ge
 CM         Platform     api                   m4.large    m4    2 vCPUs    8.0 GiB    EBS only       2      Reserve

 CM         Platform     consul                m4.large    m4    2 vCPUs    8.0 GiB    EBS only       5      Reserve

 CM         Creative     AdBuilder             m4.large    m4    2 vCPUs    8.0 GiB    EBS only       2      Reserve

 CM         Platform     elastic-master        c4.xlarge   c4    4 vCPUs    7.5 GiB    EBS only       3      Reserve

 CM         Platform     elastic-client        c4.2xlarg   c4    8 vCPUs    15.0 GiB   EBS only       3      Reserve
                                               e
 CM         Platform     couchbase - index     c3.2xlarg   c3    8 vCPUs    15.0 GiB   160 GiB (2 *   2      Reserve
                                               e                                       80 GiB SSD)
 CM         Platform     couchbase - data      r3.2xlarg   r3    8 vCPUs    61.0 GiB   160 GiB SSD    3      Reserve
                                               e
 CM         Platform     elastic-data          c3.8xlarg   c3    32 vCPUs   60.0 GiB   640 GiB (2 *   4      Reserve
                                               e                                       320 GiB
                                                                                       SSD)
 CM         Platform     rabbitmq              i3.xlarge   i3    4 vCPUs    30.5 GiB   950 GiB        5      Reserve
                                                                                       NVMe SSD
 Custom     Custom       nifi customdev        r4.2xlarg   r4    8 vCPUs    61.0 GiB   EBS only       3      Reserve
 Dev        Dev                                e
 datahub    dmp          tachi                 m3.medi     m3    1 vCPUs    3.75 GiB   4 GiB SSD      2      Reserve
                                               um
 datahub    dmp          samurai               c4.xlarge   c4    4 vCPUs    7.5 GiB    EBS only       2      Reserve
 datahub    dmp          consul                m3.medi     m3    1 vCPUs    3.75 GiB   4 GiB SSD      3      Reserve
                                               um
 datahub    dmp          haproxy               m3.medi     m3    1 vCPUs    3.75 GiB   4 GiB SSD      2      Reserve
                                               um
 DataProc   adesp        Transformer           C4.2XLa     C4    8 vCPUs    15.0 GiB   EBS only       14     Reserve
                                               rge
 DataProc   adesp        EOS                   M4.Larg     M4    2 vCPUs    8.0 GiB    EBS only       4      Reserve
                                               e
 DataProc   adesp        emr-AdESP-            C4.8XLa     C4    36 vCPUs   60.0 GiB   EBS only       36     Reserve
                         SPARK(core/ task)     rge
 DataProc   adesp        emr-AdESP-            m4.xlarg    m4    4 vCPUs    16.0 GiB   EBS only       1      Reserve
                         SPARK(master)         e
 DataProc   adesp        consul                m4.large    m4    2 vCPUs    8.0 GiB    EBS only       3      Reserve
 DataProc   useresp      Saver - attrebution   m4.2xlar    m4    8 vCPUs    32.0 GiB   EBS only       4      Reserve
                                               ge
 DataProc   useresp      Saver - Serving       m4.4xlar    m4    16 vCPUs   64.0 GiB   EBS only       6      Reserve
                                               ge
 DataProc   useresp      emr-Splitter-task     R4.2XLa     R4    8 vCPUs    61.0 GiB   EBS only       26     Reserve
                                               rge
 DataProc   useresp      emr-Splitter-master   R3.2XLa     R3    8 vCPUs    61.0 GiB   160 GiB SSD    1      Reserve
                                               rge
 DataProc   useresp      emr - RTDP (core/     c4.8xlarg   c4    36 vCPUs   60.0 GiB   EBS only       12     Reserve
                         task)                 e
 DataProc   useresp      emr - RTDP / master   m4.large    m4    2 vCPUs    8.0 GiB    EBS only       2      Reserve
 DataProc   useresp      Consul                m3.medi     m3    1 vCPUs    3.75 GiB   4 GiB SSD      5      Reserve
                                               um
 DataProc   verificati   Batch - Spark         m4.4xlar    m4    16 vCPUs   64.0 GiB   EBS only       11     batch
            on                                 ge
 DataProc   verificati   BDBClient             m4.large    m4    2 vCPUs    8.0 GiB    EBS only       1      Reserve
            on
 DataProc   verificati   NEXTClient            m3.medi     m3    1 vCPUs    3.75 GiB   4 GiB SSD      1      Reserve
            on                                 um
 DataProc   verificati   ENT service           m3.medi     m3    1 vCPUs    3.75 GiB   4 GiB SSD      3      Reserve
            on                                 um
 DataProc   verificati   FDBL                  M4.Larg     M4    2 vCPUs    8.0 GiB    EBS only       1      Reserve
            on                                 e
 DataProc   IVT          emr-FD-SPARK          m4.2xlar    m4    8 vCPUs    32.0 GiB   EBS only       7      Reserve
                                               ge
 DataProc   IVT          emr-IVT-SPARK-        m4.xlarg    m4    4 vCPUs    16.0 GiB   EBS only       7      Reserve
                         ML                    e


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 DataProc      IVT           emr-SIVT-SPARK-       m4.xlarg    m4      4 vCPUs         16.0 GiB   EBS only       8           batch
                             Batch                 e
 DataProc      adesp         rabbitmq              i3.xlarge   i3      4 vCPUs         30.5 GiB   950 GiB        3           Reserve
                             (Saver/Splitter)                                                     NVMe SSD
 DataProc      useresp       Couchbase -           m4.xlarg    m4      4 vCPUs         16.0 GiB   EBS only       3           Reserve
                             clickcert             e
 DataProc      useresp       rabbitmq              i3.xlarge   i3      4 vCPUs         30.5 GiB   950 GiB        3           Reserve
                             (transformer-iris)                                                   NVMe SSD
 DataProc      useresp       Zookeeper             m3.xlarg    m3      4 vCPUs         15.0 GiB   80 GiB (2 *    3           Reserve
                                                   e                                              40 GiB SSD)
 DataProc      useresp       USERESP-nimbus        m3.xlarg    m3      4 vCPUs         15.0 GiB   80 GiB (2 *    3           Reserve
                                                   e                                              40 GiB SSD)
 DataProc      IVT           FD-Couchbase          i3.large    i3      2 vCPUs         15.25      475 GiB        3           Reserve
                                                                                       GiB        NVMe SSD
 DataProc      verificati    Couchbase - entity    r3.xlarge   r3      4 vCPUs         30.5 GiB   80 GiB SSD     4           Reserve
               on
 DataProc      IVT           IVT-Couchbase         i3.2xlarg   i3      8 vCPUs         61.0 GiB   1900 GiB       10          Reserve
                                                   e                                              NVMe SSD
 DataProc      useresp       USERESP-              c3.2xlarg   c3      8 vCPUs         15.0 GiB   160 GiB (2 *   12          Reserve
                             Supervisor            e                                              80 GiB SSD)
 DataProc      adesp         ESP CouchBase         i3.2XLar    i3      8 vCPUs         61.0 GiB   1900 GiB       16          Reserve
                                                   ge                                             NVMe SSD
 DataProc      useresp       Couchbase -           i3.2xlarg   i3      8 vCPUs         61.0 GiB   1900 GiB       20          Reserve
                             userstore             e                                              NVMe SSD
 devops        devops        artifactory           m3.large    m3      2 vCPUs         7.5 GiB    32 GiB SSD     2           devops
 devops        devops        ELK - redis           m4.2xlar    m4      8 vCPUs         32.0 GiB   EBS only       5           devops
                                                   ge
 devops        devops        sensu master          m3.large    m3      2 vCPUs         7.5 GiB    32 GiB SSD     2           devops
 devops        devops        sensu ui              m3.large    m3      2 vCPUs         7.5 GiB    32 GiB SSD     1           devops
 devops        devops        puppet                m4.xlarg    m4      4 vCPUs         16.0 GiB   EBS only       4           devops
                                                   e
 devops        devops        ELK - index           r3.2xlarg   r3      8 vCPUs         61.0 GiB   160 GiB SSD    10          devops
                                                   e
 Integrati     ADH           ADH metrics           t2.small    t2      1 vCPUs for a   2.0 GiB    EBS only       1           t2
 on                                                                    4h 48m burst
 Integrati     DEX           nifi (dex)            r4.2xlarg   r4      8 vCPUs         61.0 GiB   EBS only       3           Reserve
 on                                                e
 Integrati     DEX           DEX metrics           t2.small    t2      1 vCPUs for a   2.0 GiB    EBS only       1           t2
 on                                                                    4h 48m burst
 Integrati     ADH           ADH service           c5.2xlarg   c5      8 vCPUs         16.0 GiB   EBS only       1           Reserve
 on                                                e
                                                                                                  Server Count   459



 API Name                   Memory                vCPUs                          ECU per vCPU         Physical Processor

 a1.medium                  2.0 GiB               1 vCPUs                        0 units              AWS Graviton Processor
                                                                                                      Intel Xeon E5-2686 v4
 r4.16xlarge                488.0 GiB             64 vCPUs                       3.047 units          (Broadwell)

 t2.large                   8.0 GiB               2 vCPUs for a 7h 12m burst     Burstable            Intel Xeon Family

 m5a.24xlarge               384.0 GiB             96 vCPUs                       0 units              AMD EPYC 7571

 c4.8xlarge                 60.0 GiB              36 vCPUs                       3.667 units          Intel Xeon E5-2666 v3 (Haswell)
                                                                                                      Intel Skylake E5 2686 v5 (2.5
 t3.micro                   1.0 GiB               2 vCPUs for a 2h 24m burst     Burstable            GHz)
                                                                                                      Intel Xeon E5-2686 v4
 r4.8xlarge                 244.0 GiB             32 vCPUs                       3.094 units          (Broadwell)
                                                                                                      Intel Xeon E5-2686 v4
 h1.4xlarge                 64.0 GiB              16 vCPUs                       3.344 units          (Broadwell)

 c5n.18xlarge               192.0 GiB             72 vCPUs                       0 units              Intel Xeon Platinum 8124M

 c5n.9xlarge                96.0 GiB              36 vCPUs                       0 units              Intel Xeon Platinum 8124M
                                                                                                      Intel Skylake E5 2686 v5 (2.5
 t3.small                   2.0 GiB               2 vCPUs for a 4h 48m burst     Burstable            GHz)



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 m4.large        8.0 GiB          2 vCPUs                      3.25 units    Intel Xeon E5-2676 v3 (Haswell)

 c5.large        4.0 GiB          2 vCPUs                      4.5 units     Intel Xeon Platinum 8124M

 c5n.2xlarge     21.0 GiB         8 vCPUs                      0 units       Intel Xeon Platinum 8124M

 d2.4xlarge      122.0 GiB        16 vCPUs                     3.5 units     Intel Xeon E5-2676v3 (Haswell)

 t2.xlarge       16.0 GiB         4 vCPUs for a 5h 24m burst   Burstable     Intel Xeon Family

 d2.8xlarge      244.0 GiB        36 vCPUs                     3.222 units   Intel Xeon E5-2676v3 (Haswell)

 c1.xlarge       7.0 GiB          8 vCPUs                      2.5 units     Intel Xeon Family

 c5.xlarge       8.0 GiB          4 vCPUs                      4.25 units    Intel Xeon Platinum 8124M
                                                                             Intel Skylake E5 2686 v5 (2.5
 t3.2xlarge      32.0 GiB         8 vCPUs for a 9h 36m burst   Burstable     GHz)
                                                                             Intel Xeon E5-2686 v4
 r4.xlarge       30.5 GiB         4 vCPUs                      3.375 units   (Broadwell)
                                                                             Intel Skylake E5 2686 v5 (2.5
 t3.xlarge       16.0 GiB         4 vCPUs for a 9h 36m burst   Burstable     GHz)

 m5a.2xlarge     32.0 GiB         8 vCPUs                      0 units       AMD EPYC 7571

 m4.2xlarge      32.0 GiB         8 vCPUs                      3.25 units    Intel Xeon E5-2676 v3 (Haswell)
                                                                             Intel Xeon Scalable (Skylake)
 u-9tb1.metal    9216.0 GiB       448 vCPUs                    0 units       processors

 d2.2xlarge      61.0 GiB         8 vCPUs                      3.5 units     Intel Xeon E5-2676v3 (Haswell)

 m5a.xlarge      16.0 GiB         4 vCPUs                      0 units       AMD EPYC 7571

 m5a.12xlarge    192.0 GiB        48 vCPUs                     0 units       AMD EPYC 7571

 m5.24xlarge     384.0 GiB        96 vCPUs                     3.594 units   Intel Xeon Platinum 8175

 c5.18xlarge     144.0 GiB        72 vCPUs                     3.903 units   Intel Xeon Platinum 8124M
                                                                             Intel Xeon E5-2686 v4
 m4.16xlarge     256.0 GiB        64 vCPUs                     2.938 units   (Broadwell)
                                                                             Intel Xeon E5-2686 v4
 p2.8xlarge      488.0 GiB        32 vCPUs                     2.938 units   (Broadwell)
                                                                             Intel Xeon Scalable (Skylake)
 u-12tb1.metal   12288.0 GiB      448 vCPUs                    0 units       processors

 a1.xlarge       8.0 GiB          4 vCPUs                      0 units       AWS Graviton Processor
                                                                             Intel Xeon E5-2686 v4
 p3.8xlarge      244.0 GiB        32 vCPUs                     2.938 units   (Broadwell)

 r5a.large       16.0 GiB         2 vCPUs                      0 units       AMD EPYC 7571

 r5a.4xlarge     128.0 GiB        16 vCPUs                     0 units       AMD EPYC 7571

 r5.xlarge       32.0 GiB         4 vCPUs                      4.75 units    Intel Xeon Platinum 8175
                                                                             Intel Skylake E5 2686 v5 (2.5
 t3.large        8.0 GiB          2 vCPUs for a 7h 12m burst   Burstable     GHz)
                                                                             Intel Xeon E5-2686 v4
 r4.2xlarge      61.0 GiB         8 vCPUs                      3.375 units   (Broadwell)

 m2.2xlarge      34.2 GiB         4 vCPUs                      3.25 units    Intel Xeon Family

 d2.xlarge       30.5 GiB         4 vCPUs                      3.5 units     Intel Xeon E5-2676v3 (Haswell)

 a1.2xlarge      16.0 GiB         8 vCPUs                      0 units       AWS Graviton Processor

 m2.xlarge       17.1 GiB         2 vCPUs                      3.25 units    Intel Xeon Family

 m4.xlarge       16.0 GiB         4 vCPUs                      3.25 units    Intel Xeon E5-2676 v3 (Haswell)

 m1.medium       3.75 GiB         1 vCPUs                      2 units       Intel Xeon Family

 a1.large        4.0 GiB          2 vCPUs                      0 units       AWS Graviton Processor
                                                                             Intel Xeon E5-2686 v4
 h1.8xlarge      128.0 GiB        32 vCPUs                     3.094 units   (Broadwell)

 c4.large        3.75 GiB         2 vCPUs                      4 units       Intel Xeon E5-2666 v3 (Haswell)


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 r5.12xlarge    384.0 GiB       48 vCPUs                     3.604 units   Intel Xeon Platinum 8175

 m5.12xlarge    192.0 GiB       48 vCPUs                     3.604 units   Intel Xeon Platinum 8175

 m1.xlarge      15.0 GiB        4 vCPUs                      2 units       Intel Xeon Family

 m2.4xlarge     68.4 GiB        8 vCPUs                      3.25 units    Intel Xeon Family

 r5.large       16.0 GiB        2 vCPUs                      5 units       Intel Xeon Platinum 8175

 m5.xlarge      16.0 GiB        4 vCPUs                      4 units       Intel Xeon Platinum 8175
                                                                           Intel Xeon E5-2686 v4
 g3s.xlarge     30.5 GiB        4 vCPUs                      3.25 units    (Broadwell)
                                                                           Intel Xeon Scalable (Skylake)
 u-6tb1.metal   6144.0 GiB      448 vCPUs                    0 units       processors

 r5a.xlarge     32.0 GiB        4 vCPUs                      0 units       AMD EPYC 7571

 m5.metal       384.0 GiB       96 vCPUs                     3.594 units   Intel Xeon Platinum 8175
                                                                           Intel Xeon E5-2686 v4
 r4.4xlarge     122.0 GiB       16 vCPUs                     3.312 units   (Broadwell)
                                                                           Intel Skylake E5 2686 v5 (2.5
 t3.medium      4.0 GiB         2 vCPUs for a 4h 48m burst   Burstable     GHz)

 r5.24xlarge    768.0 GiB       96 vCPUs                     3.615 units   Intel Xeon Platinum 8175

 r5.metal       768.0 GiB       96 vCPUs                     3.615 units   Intel Xeon Platinum 8175

 c4.xlarge      7.5 GiB         4 vCPUs                      4 units       Intel Xeon E5-2666 v3 (Haswell)

 c5.4xlarge     32.0 GiB        16 vCPUs                     4.25 units    Intel Xeon Platinum 8124M

 t2.nano        0.5 GiB         1 vCPUs for a 1h 12m burst   Burstable     Intel Xeon Family

 c4.4xlarge     30.0 GiB        16 vCPUs                     3.875 units   Intel Xeon E5-2666 v3 (Haswell)
                                                                           Intel Xeon E5-2686 v4
 g3.4xlarge     122.0 GiB       16 vCPUs                     2.938 units   (Broadwell)

 r5.4xlarge     128.0 GiB       16 vCPUs                     4.438 units   Intel Xeon Platinum 8175

 c5.2xlarge     16.0 GiB        8 vCPUs                      4.25 units    Intel Xeon Platinum 8124M

 r5a.12xlarge   384.0 GiB       48 vCPUs                     0 units       AMD EPYC 7571

 c4.2xlarge     15.0 GiB        8 vCPUs                      3.875 units   Intel Xeon E5-2666 v3 (Haswell)

 t2.small       2.0 GiB         1 vCPUs for a 4h 48m burst   Burstable     Intel Xeon Family
                                                                           Intel Xeon E5-2686 v4
 g3.8xlarge     244.0 GiB       32 vCPUs                     2.938 units   (Broadwell)

 r5a.24xlarge   768.0 GiB       96 vCPUs                     0 units       AMD EPYC 7571

 m1.small       1.7 GiB         1 vCPUs                      1 units       Intel Xeon Family

 c5n.large      5.25 GiB        2 vCPUs                      0 units       Intel Xeon Platinum 8124M

 c5.9xlarge     72.0 GiB        36 vCPUs                     3.917 units   Intel Xeon Platinum 8124M

 cc2.8xlarge    60.5 GiB        32 vCPUs                     2.75 units    Intel Xeon E5-2670
                                                                           Intel Xeon E5-2686 v4
 p3.16xlarge    488.0 GiB       64 vCPUs                     2.938 units   (Broadwell)

 r5.2xlarge     64.0 GiB        8 vCPUs                      4.75 units    Intel Xeon Platinum 8175
                                                                           Intel Xeon E5-2686 v4
 h1.16xlarge    256.0 GiB       64 vCPUs                     2.938 units   (Broadwell)

 m5a.4xlarge    64.0 GiB        16 vCPUs                     0 units       AMD EPYC 7571
                                                                           Intel Xeon E5-2686 v4
 p2.16xlarge    768.0 GiB       64 vCPUs                     2.938 units   (Broadwell)

 c1.medium      1.7 GiB         2 vCPUs                      2.5 units     Intel Xeon Family
                                                                           Intel Xeon E5-2686 v4
 r4.large       15.25 GiB       2 vCPUs                      3.5 units     (Broadwell)

 t1.micro       0.613 GiB       1 vCPUs                      Burstable     Variable


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 m1.large       7.5 GiB         2 vCPUs                       2 units       Intel Xeon Family

 hs1.8xlarge    117.0 GiB       17 vCPUs                      2.059 units   Intel Xeon E5-2650

 t2.2xlarge     32.0 GiB        8 vCPUs for a 4h 4.8m burst   Burstable     Intel Xeon Family
                                                                            Intel Xeon E5-2686 v4
 g3.16xlarge    488.0 GiB       64 vCPUs                      2.938 units   (Broadwell)

 m5.2xlarge     32.0 GiB        8 vCPUs                       3.875 units   Intel Xeon Platinum 8175

 t2.medium      4.0 GiB         2 vCPUs for a 4h 48m burst    Burstable     Intel Xeon Family

 m5.large       8.0 GiB         2 vCPUs                       4 units       Intel Xeon Platinum 8175

 c5n.xlarge     10.5 GiB        4 vCPUs                       0 units       Intel Xeon Platinum 8124M

 t2.micro       1.0 GiB         1 vCPUs for a 2h 24m burst    Burstable     Intel Xeon Family

 m5.4xlarge     64.0 GiB        16 vCPUs                      3.75 units    Intel Xeon Platinum 8175

 r5a.2xlarge    64.0 GiB        8 vCPUs                       0 units       AMD EPYC 7571
                                                                            Intel Xeon E5-2686 v4
 p2.xlarge      61.0 GiB        4 vCPUs                       3 units       (Broadwell)

 m4.4xlarge     64.0 GiB        16 vCPUs                      3.344 units   Intel Xeon E5-2676 v3 (Haswell)

 a1.4xlarge     32.0 GiB        16 vCPUs                      0 units       AWS Graviton Processor

 c5n.4xlarge    42.0 GiB        16 vCPUs                      0 units       Intel Xeon Platinum 8124M

 m5a.large      8.0 GiB         2 vCPUs                       0 units       AMD EPYC 7571

 m4.10xlarge    160.0 GiB       40 vCPUs                      3.112 units   Intel Xeon E5-2676 v3 (Haswell)
                                                                            Intel Xeon E5-2686 v4
 h1.2xlarge     32.0 GiB        8 vCPUs                       3.25 units    (Broadwell)
                                                                            Intel Xeon E5-2686 v4
 p3.2xlarge     61.0 GiB        8 vCPUs                       3.25 units    (Broadwell)
                                                                            Intel Skylake E5 2686 v5 (2.5
 t3.nano        0.5 GiB         2 vCPUs for a 1h 12m burst    Burstable     GHz)
                                                                            Intel Xeon E5-2670 v2 (Ivy
 m3.large       7.5 GiB         2 vCPUs                       3.25 units    Bridge/Sandy Bridge)
                                                                            High Frequency Intel Xeon E7-
 x1e.16xlarge   1952.0 GiB      64 vCPUs                      2.797 units   8880 v3 (Haswell)

 cr1.8xlarge    244.0 GiB       32 vCPUs                      2.75 units    Intel Xeon E5-2670
                                                                            High Frequency Intel Xeon E7-
 x1e.32xlarge   3904.0 GiB      128 vCPUs                     2.656 units   8880 v3 (Haswell)
                                                                            Intel Xeon E5-2670 v2 (Ivy
 m3.medium      3.75 GiB        1 vCPUs                       3 units       Bridge/Sandy Bridge)
                                                                            High Frequency Intel Xeon E7-
 x1e.2xlarge    244.0 GiB       8 vCPUs                       2.875 units   8880 v3 (Haswell)
                                                                            Intel Xeon E5-2680 v2 (Ivy
 c3.4xlarge     30.0 GiB        16 vCPUs                      3.438 units   Bridge)
                                                                            Intel Xeon E5-2670 v2 (Ivy
 m3.xlarge      15.0 GiB        4 vCPUs                       3.25 units    Bridge/Sandy Bridge)
                                                                            Intel Xeon E5-2670 (Sandy
 g2.8xlarge     60.0 GiB        32 vCPUs                      3.25 units    Bridge)
                                                                            High Frequency Intel Xeon E7-
 x1e.xlarge     122.0 GiB       4 vCPUs                       3 units       8880 v3 (Haswell)
                                                                            High Frequency Intel Xeon E7-
 x1.16xlarge    976.0 GiB       64 vCPUs                      2.727 units   8880 v3 (Haswell)
                                                                            Intel Xeon E5-2680 v2 (Ivy
 c3.large       3.75 GiB        2 vCPUs                       3.5 units     Bridge)
                                                                            Intel Xeon E5-2680 v2 (Ivy
 c3.8xlarge     60.0 GiB        32 vCPUs                      3.375 units   Bridge)
                                                                            Intel Xeon E5-2670 v2 (Ivy
 m3.2xlarge     30.0 GiB        8 vCPUs                       3.25 units    Bridge/Sandy Bridge)
                                                                            High Frequency Intel Xeon E7-
 x1e.4xlarge    488.0 GiB       16 vCPUs                      2.938 units   8880 v3 (Haswell)
                                                                            High Frequency Intel Xeon E7-
 x1e.8xlarge    976.0 GiB       32 vCPUs                      2.844 units   8880 v3 (Haswell)



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                                                                   High Frequency Intel Xeon E7-
 x1.32xlarge     1952.0 GiB      128 vCPUs           2.727 units   8880 v3 (Haswell)
                                                                   Intel Xeon E5-2670 (Sandy
 g2.2xlarge      15.0 GiB        8 vCPUs             3.25 units    Bridge)
                                                                   Intel Xeon E5-2680 v2 (Ivy
 c3.2xlarge      15.0 GiB        8 vCPUs             3.5 units     Bridge)
                                                                   Intel Xeon E5-2680 v2 (Ivy
 c3.xlarge       7.5 GiB         4 vCPUs             3.5 units     Bridge)

 r5d.xlarge      32.0 GiB        4 vCPUs             4.75 units    Intel Xeon Platinum 8175

 m5d.4xlarge     64.0 GiB        16 vCPUs            3.75 units    Intel Xeon Platinum 8175

 z1d.xlarge      32.0 GiB        4 vCPUs             7 units       Intel Xeon Platinum 8151
                                                                   Intel Xeon E5-2670 v2 (Ivy
 r3.4xlarge      122.0 GiB       16 vCPUs            3.25 units    Bridge)
                                                                   Intel Xeon E5-2670 v2 (Ivy
 i2.xlarge       30.5 GiB        4 vCPUs             3.5 units     Bridge)
                                                                   Intel Xeon E5-2670 v2 (Ivy
 r3.xlarge       30.5 GiB        4 vCPUs             3.25 units    Bridge)
                                                                   Intel Xeon E5-2686 v4
 f1.4xlarge      244.0 GiB       16 vCPUs            3.25 units    (Broadwell)

 z1d.6xlarge     192.0 GiB       24 vCPUs            5.583 units   Intel Xeon Platinum 8151
                                                                   Intel Xeon E5-2686 v4
 i3.4xlarge      122.0 GiB       16 vCPUs            3.312 units   (Broadwell)
                                                                   Intel Xeon Platinum 8175
 p3dn.24xlarge   768.0 GiB       96 vCPUs            3.594 units   (Skylake)

 r5d.metal       768.0 GiB       96 vCPUs            3.615 units   Intel Xeon Platinum 8175

 z1d.2xlarge     64.0 GiB        8 vCPUs             6.625 units   Intel Xeon Platinum 8151
                                                                   Intel Xeon E5-2686 v4
 i3.metal        512.0 GiB       72 vCPUs            2.889 units   (Broadwell)

 c5d.large       4.0 GiB         2 vCPUs             4.5 units     Intel Xeon Platinum 8124M
                                                                   Intel Xeon E5-2670 v2 (Ivy
 r3.large        15.25 GiB       2 vCPUs             3.25 units    Bridge)

 r5d.24xlarge    768.0 GiB       96 vCPUs            3.615 units   Intel Xeon Platinum 8175
                                                                   Intel Xeon E5-2686 v4
 i3.large        15.25 GiB       2 vCPUs             3.5 units     (Broadwell)
                                                                   Intel Xeon E5-2686 v4
 i3.xlarge       30.5 GiB        4 vCPUs             3.25 units    (Broadwell)

 c5d.2xlarge     16.0 GiB        8 vCPUs             4.25 units    Intel Xeon Platinum 8124M
                                                                   Intel Xeon E5-2670 v2 (Ivy
 i2.8xlarge      244.0 GiB       32 vCPUs            3.25 units    Bridge)

 c5d.9xlarge     72.0 GiB        36 vCPUs            3.917 units   Intel Xeon Platinum 8124M

 m5d.24xlarge    384.0 GiB       96 vCPUs            3.594 units   Intel Xeon Platinum 8175

 c5d.4xlarge     32.0 GiB        16 vCPUs            4.25 units    Intel Xeon Platinum 8124M
                                                                   Intel Xeon E5-2686 v4
 i3.16xlarge     488.0 GiB       64 vCPUs            3.125 units   (Broadwell)
                                                                   Intel Xeon E5-2670 v2 (Ivy
 r3.2xlarge      61.0 GiB        8 vCPUs             3.25 units    Bridge)
                                                                   Intel Xeon E5-2686 v4
 f1.16xlarge     976.0 GiB       64 vCPUs            2.938 units   (Broadwell)

 r5d.4xlarge     128.0 GiB       16 vCPUs            4.438 units   Intel Xeon Platinum 8175

 m5d.large       8.0 GiB         2 vCPUs             4 units       Intel Xeon Platinum 8175

 c5d.xlarge      8.0 GiB         4 vCPUs             4.25 units    Intel Xeon Platinum 8124M
                                                                   Intel Xeon E5-2686 v4
 i3.2xlarge      61.0 GiB        8 vCPUs             3.375 units   (Broadwell)
                                                                   Intel Xeon E5-2686 v4
 f1.2xlarge      122.0 GiB       8 vCPUs             3.25 units    (Broadwell)

 z1d.large       16.0 GiB        2 vCPUs             7.5 units     Intel Xeon Platinum 8151



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    m5d.12xlarge         192.0 GiB      48 vCPUs            3.604 units   Intel Xeon Platinum 8175

    r5d.large            16.0 GiB       2 vCPUs             5 units       Intel Xeon Platinum 8175

    r5d.12xlarge         384.0 GiB      48 vCPUs            3.604 units   Intel Xeon Platinum 8175

    m5d.xlarge           16.0 GiB       4 vCPUs             4 units       Intel Xeon Platinum 8175
                                                                          Intel Xeon E5-2670 v2 (Ivy
    r3.8xlarge           244.0 GiB      32 vCPUs            3.25 units    Bridge)

    c5d.18xlarge         144.0 GiB      72 vCPUs            3.903 units   Intel Xeon Platinum 8124M

    m5d.metal            384.0 GiB      96 vCPUs            3.594 units   Intel Xeon Platinum 8175

    z1d.12xlarge         384.0 GiB      48 vCPUs            5.646 units   Intel Xeon Platinum 8151

    r5d.2xlarge          64.0 GiB       8 vCPUs             4.75 units    Intel Xeon Platinum 8175

    z1d.metal            384.0 GiB      48 vCPUs            5.646 units   Intel Xeon Platinum 8151
                                                                          Intel Xeon E5-2670 v2 (Ivy
    i2.4xlarge           122.0 GiB      16 vCPUs            3.312 units   Bridge)

    z1d.3xlarge          96.0 GiB       12 vCPUs            6.25 units    Intel Xeon Platinum 8151
                                                                          Intel Xeon E5-2670 v2 (Ivy
    i2.2xlarge           61.0 GiB       8 vCPUs             3.375 units   Bridge)

    m5d.2xlarge          32.0 GiB       8 vCPUs             3.875 units   Intel Xeon Platinum 8175
                                                                          Intel Xeon E5-2686 v4
    i3.8xlarge           244.0 GiB      32 vCPUs            3.094 units   (Broadwell)



* Site codes are as follows:
•           PTK - Petach Tikva (Israel)
•           LA ATT - Los Angelos AT&T
•           AM2 - Amsterdam
•           JP - Japan
•           SG - Singapore
•           CH - China




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                               Schedule 2.1(b) - Purchased Assets - Contracts

            1. Hewlett-Packard Financial Services Company, Master Lease and Financing Agreement No.
               5424046699 (Vertica)

            2. GangZhou E-Wind Information Technology Company, Lease Service Agreement, E-wind
               Contract Number: 201804190001 and the following four schedules:


         Type of system                                  PO #    Contract date               Yearly cost USD
         Juniper switches -networking                    104913 May 15, 2018-May 16, 2021            $41,926
         4 HP servers-couchch01-04                       104901 May 16, 2018-May 15, 2019            $10,794
         ECS & DP servers                                104371 Oct 25, 2017-Oct 24, 2020            $13,600
         11x HP BL460c Gen9, HP c7000, ACS6016SAC 105398 Dec 2018-2021                               $25,000



            3. The following real property leases below:

City                  Facility                                    Landlord                     Term

                      2500 Bee Caves Road, Building 1, Suite
Austin                150                                         Texas EZPawn LP              11/20/2017 - 11/19/22
                      Austin, TX 78746

                      3200 Horizon Drive, Suite 120
King of Prussia                                                   Bremere Holding, LLC         4/30/15 - 6/30/21
                      King of Prussia, PA 19406
                      3200 Horizon Drive, Suite 120               IKEA Purchasing Services
King of Prussia                                                                                9/1/16 - 6/25/21
                      King of Prussia, PA 19406                   US, Inc. - Subtenant
                      2200 Renaissance Blvd, Suite 410
King of Prussia                                                                                10/1/16 - 4/30/22
                      King of Prussia, PA 19406                   Baruch Triad LLC

Krakow, Poland        1 Retoryka Street, Floors 2 & 3 31-107      Archicenter                  8/1/16 - 7/31/19
                      Serviced Offices, ¡2 Bldg, 8th Floor,       Primary Properties
Cebu, Philippines                                                                              2/1/17 - 1/31/20
                      Asiatown IT Park 6000                       Corporation

            4. All customer contracts, including but not limited to those listed below, that primarily relate to
               the Purchased Assets and the Operation of the Business (other than those customer contracts
               set forth on Schedule 2.2(e)):

    Counterparty                                         Contract Title                           Effective
                                                                                                  Date
    Dentsu Aegis Network:
    Aegis Media Asia Pacific Management Pty              Service Agreement                        5/1/2014
    Aegis Media Belgium                                  Service Agreement                        2/1/2011
    Aegis Media Belgium                                  Design Partner Agreement                 1/1/2011
    Amplifi Technology Limited                           Supplier MSA                             6/1/2017
    Carat Australia Media Services Pty Ltd               Service Agreement                        6/1/2013


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 Counterparty                                  Contract Title                            Effective
                                                                                         Date
 Carat Medya Iletisim Hizm, A.S.               Services Agreement                        5/1/2014
 Carat Mexicana S.A. de C.V.                   Service Agreement                         8/1/2010
 Carat USA                                     Dentsu Aegis Network Standard Terms       7/18/2014
                                               Addendum
 Dentsu America                                Service Agreement                         9/17/2009
 gyro, llc                                     Service Agreement                         12/1/2014
 I-Prospect Srl                                Services Agreement                        1/1/2017
 iProspect FR                                  SOW for SEM Connect                       5/1/2016
 Isobar Global, a division of Aegis Media      Design Partner Agreement                  12/14/2010
 Limited
 Vizeum Global Management, a division of       Service Agreement                         10/15/2010
 Aegis Media Limited
 IPG:
 Deutsch, Inc.                                 Service Agreement                         7/1/2011
 Initiative Media B.V.                         Services Agreement                        1/1/2017
 Initiative Media Australia and Universal      Service Agreement                         8/1/2009
 McCann Australia
 IPG Media Brands Comunications Mexico S.A.    Service Agreement                         1/1/2010
 de C.V.
 IPG Media Brands S.A. (Argentina)             Services Agreement Order (for Toyota)     7/1/2018
 IPG Mediabrands                               Services Agreement Order (for APAC)       8/1/2017
 IPG Mediabrands (Singapore) Pte Ltd           Agreement                                 10/12/2009
 IPG MediaBrands, Universal McCann Srl, and    Services Agreement                        4/1/2014
 Initiative Media Milano Srl (Italy)
 Magna Global, S.A., for and on behalf of UM   Services Agreement                        2/1/2011
 and Initiative
 MediaBrands Miami/UM Miami/Initiative         Service Agreement                         4/1/2016
 Miami
 Mediabrands (shanghai) Co., Ltd.              Ad-Tracking/Ad-Serving Service            1/1/2019
                                               Agreement
 The Interpublic Group of Companies, Inc.      MSA                                       4/1/2013
 Unilever Brasil Industrial Ltda               Service Agreement                         7/1/2012
 Unilever Business and Marketing Support AG    Advertiser Pricing Agreement              3/__/2016
 Universal McCann                              Agency Advertising Agreement              3/11/2009
 Universal McCann Medya Planlama Ve            Service Agreement                         9/1/2012
 Dagitim A.S. (Turkey)
 Universal McCann S.A. (Spain)                 Services Agreement                        3/30/2008
 Omnicom:
 Optimum Media Direction Pty Ltd (Australia)   Service Agreement                         1/1/2010
 OMD Dominica S.R.L.                           Services Agreement Order                  5/1/2018
 Optimum Media Direction (Hong Kong)           Ad-Serving Rate Agreement                 1/1/2016
 OMD International                             Service Agreement                         4/30/2009
 OMD Chile S.A.                                Service Agreement                         1/1/2013
 Omnicom Media Group Holdings Inc.             Service Agreement                         7/1/2012
 PHD Argentina S.A.                            Services Agreement Order                  4/1/2017



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 Counterparty                                          Contract Title                                Effective
                                                                                                     Date
 PHD Argentina S.A.                                    Services Agreement Order                      10/1/2018
 Serino Coyne LLC                                      Service Agreement                             1/1/2010
 Zimmerman Advertising                                 Service Agreement                             8/1/2016
 Publicis:
 Starcom MediaVest Group, Inc.                         Service Agreement (the “SMG MSA”),            1/1/2011
                                                       AMDT1, AMDT2, AMDT3, AMDT4,
                                                       [AMDT5], AMDT6
 Digitas, Inc.                                         Affiliate Adopting Agreement (adopting        5/1/2016
                                                       SMG MSA)
 Digitas, Inc.                                         Third Party Data Access Agreement             5/30/2014
 Optimedia International US, Inc.                      Affiliate Adopting Agreement (adopting        8/1/2015
                                                       SMG MSA)
 Razorfish, LLC                                        Affiliate Adopting Agreement (adopting        5/1/2016
                                                       SMG MSA)
 VM1, a DBA of Zenith Media Services, Inc.             Affiliate Adopting Agreement (adopting        1/1/2019
                                                       SMG MSA)
 BRZ Digital Comunicacoes Ltda                         Service Agreement                             4/1/2010
 Publicis Advertising Co., Ltd. (and several           Ad-Tracking/Ad-Serving Service
                                                                                                     1/1/2017
 other Publicis agencies in China)                     Agreement (Contract #SHNTV171075)
 Publicis Groupe Media S.A. (Starcom                   Design Partner Agreement                      1/1/2013
 Colombia)
 Saatchi and Saatchi Los Angeles, a division of        Digital Production Agreement                  9/29/2015
 Saatchi and Saatchi North America, Inc., for
 the benefit of its client Toyota Motor Sales,
 U.S.A., Inc.
 Starcom Worldwide Limited                             Services Agreement                            7/1/2016
 Starcom Worldwide, S.A. de C.V.                       Service Agreement                             6/1/2013
 Team One, a division of Saatchi and Saatchi           SOW (adopting SMG MSA)                        7/1/2015
 North America, Inc., as agent for its client,
 Pacific Investment Management Company LLC
 Team One, a division of Saatchi and Saatchi           Service Agreement                             9/1/2017
 North America, Inc., for the benefit of its client,
 Lexus, a division of Toyota Motor Sales, U.S.A.,
 Inc.
 VivaKi Turkey Medya Hizmetieri Anonim                 Services Agreement                            6/1/2014
 Sirketi
 Zenith Optimedia Group Argentina S.A.                 Service Agreement                             5/1/2016
 Frubis S.R.L.                                         Participating Affiiliate Letter (adopting     6/1/2016
                                                       Zenith Optimedia Argentina MSA)
 MMS Comunicaciones Argentina S.A.                     Participating Affiiliate Letter (adopting     6/1/2016
                                                       Zenith Optimedia Argentina MSA)
 Zenith Optimedia France                               Service Agreement                             4/1/2010
 Zenith Optimedia France                               Design Partner Agreement                      1/1/2013
 ZenithOptimedia, a division of MMC                    Service Agreement                             5/27/2009
 Communications Pte Ltd.
 WPP:
 Group M Worldwide, LLC                                Third Party Advertising Vendor                9/1/2009
                                                       Agreement
 GroupM Asia Pacific Holdings Pte Ltd.                 Service Agreement                             12/1/2013


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                                                                                          Date
 GroupM Pty Ltd. (Australia)                 Service Agreement Order                      9/1/2017
 Group M Latin America                       Addendum to Third Party Advertising          3/1/2016
                                             Vendor Agreement (adopting Group M
                                             Worldwide agreement)
 Groupm Publicidad Worldwide, S.A.           Service Agreement                            8/1/2012
 GroupM Srl                                  MSA and SAS Order                            1/1/2019
 MediaCom Holdings Limited                   Addendum to Service Agreement                1/1/2016
                                             (adopting Mindshare UK agreement)
 Mindshare UK Ltd. on behalf of GroupM       Service Agreement                            8/1/2012
 EMEA
 Mindshare Media UK Limited                  AMDT1 to Variation Srv Agmt                  1/19/2018
 Mindshare Medya Hizmetleri A.S.             Services Agreement                           4/1/2016
 Xaxis                                       Participating Affiliate Letter (adopting     2/26/2014
                                             Group M Worldwide agreement)
 GroupM LATAM                                Fourth Side Ltr (GroupM Latam)               4/18/2018
                                             Falabella rates no longer apply
 GroupM LATAM                                Third Side Ltr to ADDM to 3rd Party          3/1/2016
                                             Advertising Vendor Agmt 2016 03 01
 Other Customer Contracts:
 Accenture (UK) Limited                      SOW for CLD                                  1/24/2018
 Adapt Media Inc.                            MSA                                          1/1/2019
 Adcleek                                     SAS Order                                    2/1/2019
 AdRelated FZ-LLC                            MSA                                          3/1/2019
 Adsbenchpty Limited                         MSA                                          11/12/2018
 AdSkyline Network Technology Co., Ltd.      MSA                                          3/28/2019
 Adsocial S.A. de C.V.                       MSA                                          1/1/2019
 Adverity GmbH                               API Agreement                                1/1/2019
 Advertex Communications, Inc. dba Macy’s    Service Agreement                            2/26/2016
 Marketing
 AimClear, LLC                               MSA and Order                                2/1/2019
 Algortech Limited                           MSA                                          11/1/2018
 Anheuser-Busch InBev Procurement GmbH       Master Agreement                             11/1/2017
 AMIN Worldwide                              MSA                                          6/18/2014
 Amobee, Inc.                                Publisher Services Agreement                 7/1/2015
 Apple Inc.                                  Global MSA and SOW                           8/15/2018
 Ascedia, Inc.                               Service Agreement                            4/1/2016
 ATD Partners, LLC                           SAS Order                                    4/1/2018
 Autoflyte LLC                               Service Agreement                            3/1/2017
 AutoTrader.com, Inc.                        Publisher Services Agreement                 2/1/2016
 Azerbaijan Media Exchange LLC               MSA and SAS Order                            12/1/2018
 Bader Rutter & Associates, Inc.             Service Agreement                            6/1/2015
 Beintoo SpA                                 MSA                                          11/20/2018
 Bidsprime Limited                           MSA and Order                                11/13/2019
 Big Eye Creative, Inc.                      MSA and Order                                4/1/2018



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                                                                                     Date
 Birdwell Enterprises Inc.                    MSA and Order                          2/1/2019
 BKV                                          Service Agreement                      5/1/2015
 BL IIeism ve Medya Hizmetleri A.S.           MSA                                    10/1/2018
 Blizzard Entertainment, Inc.                 Service Agreement                      1/1/2014
 Blue Moon Works, Inc.                        Service Agreement                      5/5/2012
 Bohemia Group Pty Ltd                        Service Agreement                      9/1/2016
 BoldWin Ltd.                                 MSA                                    11/19/2018
 BNP Media                                    Publisher Services Agreement           1/1/2016
 Brindis Events S.L.                          MSA                                    12/1/2018
 Burrell Communications Group, LLC            Service Agreement                      1/1/2017
 Cars.com, LLC                                Service Agreement                      9/1/2016
 Casey’s Retail Company                       Service Agreement                      8/1/2016
 Centro, Inc.                                 Service Agreement                      4/1/2014
 Chanel S.A.S.                                Services Agreement                     5/1/2015
 CHR Media Group                              MSA and Order                          4/1/2018
 CIGNAL.IO LTD                                MSA                                    12/3/2018
 Clauwitz Innovations Private Limited         MSA                                    8/17/2018
 Cohesive Strategies Inc., dba The Archer     Publisher Services Agreement           2/18/2015
 Group
 Cole & Weber United                          Service Agreement                      3/1/2016
 Colgate Palmolive Argentina SA               SAS Order                              1/1/2018
 Colgate Palmolive Comercial Ltda             MSA and Order                          1/1/2018
 Colgate-Palmolive Company                    MSA and Order                          8/25/2017
 Colgate Palmolive S.A. de C.V.               MSA and SOW                            12/1/2018
 Colle & McVoy, Inc.                          MSA and Order                          9/1/2018
 Collective, Inc.                             Amended & Restated Service Agreement   4/1/2016
 ComunicacionCreativa Manifiesto, S.L.        Order                                  3/1/2019
 Conde Nast Inc.                              Publisher Services Agreement           6/1/2016
 Connected Interactive Inc.                   MSA                                    8/24/2018
 Constellation Consulting Ibérica, S.L.       MSA                                    2/1/2019
 Contagion M Limited                          Service Agreement                      10/1/2017
 Criterion Global, Inc.                       Service Agreement                      6/1/2013
 Cross Tech Lab Ltd.                          MSA                                    3/1/2019
 CrossConcept GmbH                            Services Agreement                     11/1/2016
 Croud Inc Ltd                                MSA                                    10/23/2018
 DataXu, Inc.                                 Service Agreement                      6/1/2015
 Daily News, L.P.                             Service Agreement                      8/11/2014
 Deep Focus, Inc.                             Contractor Agreement                   7/8/2014
 Dewynters Ltd                                Services Agreement                     4/24/2015
 Digging Interacitve Ltd.                     MSA                                    9/1/2018
 Digital Addix LLC                            Service Agreement                      1/1/2017



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 Counterparty                                 Contract Title                               Effective
                                                                                           Date
 Digital Rivers, Inc                          MSA                                          3/1/2016
 digital twist GmbH                           Services Agreement                           3/1/2016
 DiMassimo Inc.                               Service Agreement                            2/1/2015
 Dixon/Schwabl Advertising, Inc.              Service Agreement                            7/1/2016
 DNA Brand Mechanics, LLC                     MSA and Order                                2/1/2019
 DOTC Pte. Ltd.                               MSA                                          4/11/2019
 Double Digit Ltda                            MSA                                          11/1/2018
 Dropbox, Inc.                                Ad Serving Order                             9/1/2018
 Economist                                    Publisher Services Agreement                 5/1/2016
 E-Global Trade & Finance                     MSA                                          2/1/2019
 E-Global Trade & Finance                     Order                                        3/1/2019
 ESPN, Inc.                                   Included Publisher Network - Terms and       8/1/2014
                                              Conditions
 Disney Online                                Participating Affiliate Letter (adopting     10/21/2014
                                              ESPN Publisher Agreement)
 eTargetMedia.com, LLC                        Pub Paid SOW                                 1/1/2017
 eToro Group Limited                          MSA                                          1/16/2019
 Expedia, Inc.                                Publisher Services Agreement                 5/27/2015
 Fast Horse, Inc.                             MSA and Order                                3/1/2019
 Fiber Ads Media Co., Ltd.                    MSA                                          1/4/2019
 Firstly SP Zoo Sp.k.                         MSA                                          12/1/2018
 Forest View Sole Shareholder Co. Ltd         MSA                                          1/29/2019
 Foule Access                                 MSA and Order                                3/1/2019
 Foursquare Labs, Inc.                        Service Agreement                            4/1/2016
 Funnel                                       API Agreement                                2/27/2019
 Ganem Group (G Asociados SA De CV)           MSA                                          9/1/2018
 Gannett Co., Inc.                            Publisher Services Agreement                 11/1/2015
 Gawker Media                                 Service Agreement                            7/17/2013
 Get Published, LLC                           Vendor Service Agreement                     9/1/2014
 Ghost Management Group, LLC                  MSA                                          11/1/2018
 Giant Spoon, LLC                             Service Agreement                            6/2/2016
 Global New Media LLC dba: Blue Allen         MSA                                          1/1/2019
 Global Promoting Services Ltd (Swifter)      MSA                                          1/7/2019
 GloMobi Limited                              MSA                                          12/27/2018
 Go With Media, LLC                           MSA                                          7/24/2018
 Golf & Tennis Pro Shop, Inc.                 MSA                                          9/11/2018
 Google Ireland Limited                       Ingestion & Serving Beta Agreement           12/5/2018
 Google LLC                                   Measurement Partner Program                  6/28/2018
                                              Agreement
 Grey New York                                Digital Content Production Agreement         3/20/2015
 Groupe Partenaire SAS                        MSA and Order                                2/1/2019
 GSD&M                                        SOW re: IO T&C                               2/28/2018



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                                                                                          Date
 H&M International (Hennes & Mauritz)          Digital Media Services Contract            4/11/2012
 Haberman & Associates, Inc.                   Service Agreement                          6/1/2016
 Hang Seng Bank                                Service Agreement                          11/11/2014
 Havas Media Alliance WW, S.L.                 MSA                                        11/1/2012
 Healthline                                    Publisher Services Agreement               11/4/2014
 Henkel Corporation                            MSA                                        3/1/2019
 Heureka Huge Idea Sp.z o.o. Sp. komandytowa   MSA                                        2/10/2019
 Horizon Media, Inc.                           Service Agreement                          9/14/2015
 HowCom AB                                     Mission Control Beta | Enterprise SaaS     9/8/2015
                                               (EMEA)
 Huanqiu Internet Media Info Co., Ltd.         MSA                                        1/9/2019
 Huddled Masses, LLC                           Service Agreement                          10/1/2014
                                               Supplier Relationship Agreement
                                               (CW2908935),
 IBM                                                                                      9/11/2018
                                               SOW (#CW2908967), ADMT1 to SOW
                                               (#CW2908967)
 Idmedios Latam Spa                            MSA                                        2/1/2019
 Ikon Communications Pty Ltd (Australia)       Service Agreement                          7/1/2010
 Ikon AUS (STW Group Limited)                  Design Partner Agreement                   7/1/2010
 Inflr Atividades De Internet S.A.             MSA                                        3/1/2019
 ING Bank N.V. Sucursal en España              Service Agreement Order                    2/1/2018
 Inka Marketing Estrategico SL                 MSA                                        1/16/2019
 Innovana Thinklabs Limited                    MSA                                        10/8/2018
 Integral Ad Science, Inc.                     Services Agreement Order                   8/1/2017
 Iquanti, Inc.                                 MSA and Order                              2/1/2019
 ItaliaOnline S.p.A.                           Services Agreement                         5/1/2016
 JBZ Digital Pty Ltd                           MSA and Order                              11/2/2018
 Just Media, Inc.                              MSA and Order                              10/1/2018
 Keymantics                                    Services Agreement Order                   2/9/2018
 Kelly Scott Madison, Inc.                     Service Agreement                          7/1/2015
 Knupp & Watson & Wallman (KW2)                MSA and Order                              1/1/2019
 Koi Americas LLC                              MSA and Order                              12/1/2018
 Koordinat Medya Hizmetleri Ticaret A.S.       Services Agreement Order                   2/1/2018
 KR8OS, Inc. (dba: Lucidity Tech)              MSA                                        10/1/2018
 Krt Marketing, Inc.                           MSA                                        2/1/2019
 KS Digital Media Limited                      MSA                                        12/7/2018
 LatinMedios.com SA                            MSA                                        5/1/2018
 Latinworks Marketing, LLC                     Service Agreement                          8/13/2018
 Laughlin, Marinaccio & Owens, Inc. dba LMO    Service Agreement                          9/1/2014
 Advertising
 Leadsense FZC                                 MSA                                        11/2/2018
 Liquid Advertising Inc.                       Services Agreement                         1/1/2009
 M&C Saatchi Mobile Ltd                        Service Agreement                          9/15/2014


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 Counterparty                                 Contract Title                         Effective
                                                                                     Date
 Mansueto Ventures LLC                        Publisher Services Agreement           4/21/2015
 Manta Media, Inc.                            MSA                                    11/1/2018
 Marmalade Digital Private Limited            MSA                                    12/20/2018
 Martha Stewart Living Omnimedia              Publisher Services Agreement           4/23/2014
 Maxus NY (MailOnline)                        Service Agreement                      3/1/2013
 MayoSeitz Media, Inc.                        Service Agreement                      1/1/2015
 Media Contacts S.A. (Havas)                  Services Agreement                     1/1/2010
 Media Direct, SIA                            MSA                                    12/20/2018
 Media Factory Ltd.                           MSA and Order                          9/1/2018
 Media Kitchen (TMK)                          Service Agreement                      8/1/2010
 MediaMath Inc.                               Service Agreement                      10/1/2015
 Mediasurfer Inc.                             MSA                                    11/30/2018
 Mediavo, Inc.                                MSA                                    9/1/2018
 MG Medya TR                                  MSA and Order                          4/1/2018
 Miami Dade College (MDC)                     Service Agreement                      2/1/2016
 Migros Genossenschafts Bund                  MSA and Order                          8/1/2018
 Milestone Integrated Marketing Inc.          MSA and Order                          11/1/2018
 MiQ (fka Media IQ Digital Ltd)               Services Agreement Order               4/1/2017
 Mister Bell                                  MSA                                    9/1/2018
 Mobile Ads S.A.                              MSA                                    12/1/2018
 Mortenson Kim, Inc.                          Service Agreement and ADDM1 to Srv     10/1/2016
                                              Agmt
 MountainLab Limited                          MSA                                    4/4/2019
 Mullen Advertising, Inc.                     Service Agreement                      5/15/2009
 Myntelligence Limited                        SOW SEM Connect                        2/26/2019
 Natcom Global                                MSA and Order                          11/1/2018
 National Media Inc.                          Service Agreement                      4/1/2012
 NBCUniversal                                 Publisher Services Agreement           7/1/2015
 NerdWallet                                   Subscription IO                        1/1/2018
 Neodigital Iletisim Danismanlik Ticaret      MSA                                    2/18/2019
 Limited Sirketi
 Netcom Medya Reklam Satis Paz. Ltd.          Services Agreement                     7/1/2016
 Northwest Marketing Solutions dba DigitAll   Service Agreement                      8/1/2016
 Northlich                                    Service Agreement                      2/1/2017
 Nowell Marketing Limited                     MSA                                    5/1/2018
 Nylon Media, Inc.                            Publisher Services Agreement           6/1/2015
 Office of Experience, LLC                    MSA                                    2/1/2019
 Olson + Co., Inc.                            Service Agreement                      8/1/2014
 one2one Media, LLC                           Agreement (API)                        6/20/2018
 one2one Media, LLC                           SOW (Hunter Douglas)                   10/3/2018
 one2one Media, LLC dba: one2one              Services Agreement and SOW (USAF)      1/22/2019
 Addressable


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 Counterparty                                   Contract Title                             Effective
                                                                                           Date
 Pandora Media, Inc.                            Publisher Services Agreement               2/1/2016
 Papaya Group Co Limited                        MSA                                        3/1/2019
 Paradise Advertising & Marketing, Inc.         MSA and Order                              10/1/2018
 Parallel Software Development Company          MSA and Order                              8/1/2018
 Paulsen Marketing Inc.                         Service Agreement                          10/1/2015
 Peter A. Mayer Advertising Inc.                Service Agreement                          1/1/2013
 PGATOUR.COM, LLC                               Included Publisher Network - Terms and     1/1/2013
                                                Conditions
 Pokerstars (Rational Group Limited)            Services Agreement                         12/18/2013
 Portavoz Comunicaciones Integradas SL          MSA                                        11/25/2018
 PowerPHYL Media Solutions                      MSA and Order                              10/1/2018
 Prada SPA                                      Service Agreement                          5/1/2013
 Priceline.com Inc                              MSA                                        12/1/2018
 Programatik Reklam Bilisim Organizasyon Tic.
                                                Services Agreement Order                   4/1/2018
 Ltd. Sti.
 Publisher's International PTY Ltd              MSA                                        10/7/2018
 Pumpkin Labs Inc.                              MSA                                        9/20/2018
 Quotient Technology Inc.                       MSA                                        2/20/2018
 Quotient Technology Inc.                       Order                                      4/1/2018
 Rauxa Direct LLC                               MSA                                        6/25/2018
 Rauxa Direct LLC                               Order                                      6/15/2018
 Rauxa Direct LLC                               Order                                      11/1/2018
 ReachAd GmbH                                   MSA                                        10/15/2018
 Reckitt Benckiser Corporate Services Limited   Services Agreement                         1/21/2014
 (as successor by novation from Reckitt
 Benckiser (ENA) B.V.)
 Reckitt Benckiser Corporate Services Limited   Novation and Variation Agreement           8/1/2016
 Red Bull GmbH                                  Framework Contract                         12/22/2017
 Red Bull GmbH                                  Services Agreement Order                   1/1/2018
 Reddit, Inc.                                   Mobile Attribution Agreement               11/6/2018
 Reveal Content                                 MSA                                        1/23/2019
 Richemont International SA                     Global MSA                                 9/1/2015
 RIUSA II SA                                    MSA                                        1/1/2019
 Rousemobi Limited                              MSA                                        3/20/2019
 S&P Global Inc.                                MSA                                        2/1/2019
 Search Optics, LLC                             Service Agreement                          4/1/2014
 Sears Holdings Management Corporation          MSA                                        7/20/2018
 SITO Mobile                                    Pub Paid IO                                7/12/2017
 Sittercity Incorporated                        Service Agreement                          12/1/2014
 SmileDirectClub, LLC                           Services Agreement Order                   10/1/2017
 Snap Inc. (fka Snapchat, Inc.)                 Advertising Tracking Services Agreement    1/1/2016
 Something Massive, LLC                         MSA and Order                              2/8/2019
 Sonnet Insurance Company                       MSA and Order                              7/16/2018


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 Counterparty                                  Contract Title                             Effective
                                                                                          Date
 Sony Interactive Entertainment LLC            Services Agreement Order                   4/1/2018
 Sony Interactive Entertainment Europe Ltd     Services Agreement Order                   4/1/2018
 Sony Interactive Entertainment Network        Srvs Agmt                                  4/1/2018
 America LLC
 SoSoAds Limited                               MSA                                        12/27/2018
 Spark Foundry                                 SOW SEM Kenshoo                            6/1/2018
 Spark44                                       SOW                                        6/29/2017
 Spigot, Inc.                                  MSA                                        7/26/2018
 SproutLoud Media Networks, LLC                MSA and Order                              11/26/2018
 Starmobi Limited                              MSA                                        4/4/2019
 Sublime Skinz Ltd.                            MSA                                        9/13/2018
 Survata, Inc.                                 MSA                                        12/1/2018
 Swell Shark, LLC                              Agreement                                  11/15/2015
 Symphony                                      API Agreement                              3/29/2019
 Taptica Limited                               MSA                                        1/8/2019
 TCAA, Inc.                                    Service Agreement                          10/1/2009
 The Basement Inc.                             MSA and Order                              1/1/2019
 The Berline Group                             Service Agreement                          6/1/2015
 The Financial Times Limited                   FT Advertising Vendor Agreement            2/12/2019
 The Gary Group                                Service Agreement                          1/1/2010
 The Halo Group                                Service Agreement                          7/1/2014
 The Hiebing Group, Inc.                       Service Agreement                          5/1/2015
 The Levenson Group, Inc.                      Services Agreement Order                   1/1/2018
 The New York Times                            Publisher Services Agreement               11/20/2015
 The Press Association Limited                 MSA (Papa John's) and AMDT1                4/25/2018
 The Richards Group, Inc.                      Service Agreement                          2/1/2013
 The Washington Post                           Included Publisher Network - Terms and     3/27/2013
                                               Conditions
 Time + Space Media Limited                    MSA and Order                              6/15/2018
 Time Inc.                                     Publisher Services Agreement               3/1/2016
 Toll Brothers, Inc.                           Services Agreement Order                   8/8/2017
 Trader Corporation                            Publisher Services Agreement               11/1/2015
 U.S. News & World Report, L.P.                Publisher Services Agreement               1/1/2016
 UAB Lion Communications Vilnius               MSA and Order                              3/1/2019
 Valentino S.p.A.                              Services Agreement                         6/1/2014
 Viacom International Inc.                     MSA                                        6/7/2013
 Viant US, LLC                                 Publisher Services Agreement               11/1/2016
 Vici Media Inc.                               MSA                                        2/1/2019
 Visit Hershey & Harrisburg, Inc.              MSA                                        1/9/2019
 Wargaming.net LLP                             Service Agreement                          12/3/2010
 Wavemaker (fka Media Edge CIA LLC)            Service Agreement                          1/1/2015
 Weatherbug (Earth Networks, Inc.)             Publisher Services Agreement               4/1/2015


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 Counterparty                                   Contract Title                             Effective
                                                                                           Date
 Widespace AB                                   Services Agreement Order                   2/5/2018
 Wink Transforming Through Digital SL           Service Agreement                          4/1/2012
 (Intelligencia)
 Wouamm                                         MSA                                        11/12/2018
 Wouamm                                         Order                                      11/19/2018
 XY - The Persistent Company                    MSA                                        12/1/2018
 Yidial Limited                                 MSA                                        2/28/2019
 YiDong Internet Media Co., Ltd.                MSA                                        10/10/2018
 YuMe, Inc.                                     Included Publisher Network - Terms and     12/4/2013
                                                Conditions
 YuMe, Inc.                                     Service Agreement                          12/4/2014
 YummoreMedia LLC                               MSA                                        1/7/2019
 Zeta Global Corp                               MSA and Order                              4/1/2018


        5. The following vendor contracts:

 Counterparty                                 Contract Title                               Effective
                                                                                           Date
 Akamai Technologies, INC. – shared with      Statement of Work & Renewal Orders
                                                                                           11/1/2018
 DSP and Peer 39                              223111, 223117
 Amazon Web Services (AWS) (Cloud
 Computing) – Ad Server has separate          Private Pricing ADDM (Discount Rate 7%)      9/1/2018
 accounts/agreements (apart from DSP)
 Appigee (API proxy)
 APPLITOOLS LTD (Eyes Licenses-users)
 AT&T                                         Master Agreement                             10/29/2014
 ATT (NJ, Rack & Power)                       Order #U1667351                              9/7/2018
 Beijing Blue .I.T.                           Srv Agmt CC-1901                             1/1/2019
 BEIJING GUO ZHI DI INFORMATION
 (Geo IP Service)
 Bezeq (IL, Rack & Power & Int) – shared
                                              Data Center Agreement                        2/23/2011
 with Peer 39
 Brightcove (Zencoder VOD)                    Zencoder Services Order                      4/20/2017
 Brightcove (Zencoder VOD)                    Assignment                                   6/19/2018
 Cogent (Sizmek M-Sites, Internet) – shared
 with Peer 39
                                              [Order # SO-00592519; Master License &
 [Coresite (LA2, Rack, Power & Int.)
                                              Service Agreement, Dated 12/17/2013]
 Couchbase, Inc. (DataStore Support) –
                                              Master Enterprise License Agmt               6/23/2011
 shared with Peer 39
 Curvature LLC (Server Support) – shared
 with Peer 39
                                              Product-Electronic Database and License
 Digital Envoy Inc.                                                                        5/20/2010
                                              Agreement
 Dror Communication Systems LTD (Console
                                              Avocent Renewal                              12/27/2017
 Support) -



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 EMC Computer Storage Systems Ltd. Israel
 (NJ, Storage System Support GreenPlum          Master Ordering Agreement                    1/17/2011
 DataStore)
 Equinix (AM2 Rack & Power) – shared with
                                                Order #1-92287171387                         7/1/2017
 Peer 39
 Equinix (AM6 Rack & Power)
 Equinix (NY7 Rack & Power)                     Order                                        5/9/2017
 Equinix (LA2 Rack & Power)                     Order
 Equinix (SG1 Rack & Power) – shared with
                                                Order 1-171345582802 (Singapore)             12/10/2018
 Peer 39
 Equinix (Tokyo 1 Rack & Power)                 Master Services Agreement - Japan            10/29/2007
 GOLAN NAHUM TWINGO LTD
                                                Quote #3 to Consult Agmt                     9/3/2018
 (Microstrategy license BI Tools)
 HP Vertica (Server Support)                    Contract ID 47050181                         2/1/2017
 Hewlett-Packard Financial Services
                                                Master Lease and Financing Agreement
 Company (servers leasing) – shared with DSP                                                 10/31/2018
                                                (5424046699)
 and Peer 39
 IAB TECHNOLOGY LAB (Botnet & Spider)           Data Subscription - Spiders and Bots         11/7/2018
 Juniper (Internet Router Support) – shared
                                                support purchased from ASA Computers
 with DSP and Peer 39
 MICROSOFT ISRAEL LTD, (Premier                 Microsoft Enterprise Services Work Order
                                                                                             2/10/2019
 Support) -                                     (668)
 MicroSoft SPLA, (Vendor: Aztek                 Services Provider License Agmt (Indirect
                                                                                             10/2/2018
 Technologies 1984 Ltd.)                        #X20-11771)
 NETWRIX CORPORATION (Auditor-                  Active Directory Auditor – License
 Active Directory-400 users)                    Agreement
 New Relic, (Application Monitoring)
 PCCW (Singapore) – shared with Peer 39         Order SE101950                               12/6/2018
 PCCW (Tokyo)                                   Order Ref SE101949                           12/6/2018
 Guangzhou E-Wind Information Technology
                                                Lease Service Agreement (201804190001)       4/19/2018
 Company Ltd. (China Leasing)
 SCIENTIAMOBILE INC. (WURFL
 Licenses) – shared with DSP
 ScyllaDB (DataStore Support)                   Software License Agreement                   1/8/2018
 SPOTINST LTD (Assocaited with AWS
 costs)
 EntIT Software LLC, a wholly-owned
 subsidiary of Micro Focus International plc.
                                                ENT IT Enterprise License Agreement          1/18/2018
 (vendor for HPE Vertica Software) – shared
 with DSP
 Vmware (Virtual License/Support) – shared
                                                purchased from ASA Computers
 with DSP and Peer 39
 ServicEngine Ltd. (Bangladesh)
 GTT Communications, Inc. – shared with
 DSP
 Media Rating Council, Inc.
 Danidin LLC (Poland partner)
 Harvard (UK PR Consultancy)
 AG Grid
 Iridize



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 Ip2geo via Digital Elements – shared with
 DSP
 Snowflake
 China contractor for data centers and CDN
 MRC membership and accreditation
 agreements
 Atlassian/Jira – shared with DSP and Peer 39
 Zendesk – shared with DSP
 Okta – shared with DSP and Peer 39
 Paligo – shared with DSP
 Quickbase – shared with DSP
 Salesforce – shared with DSP and Peer 39

        6. The following reseller agreements:

 Reseller Counterparty                                       Contract Title                 Effective
                                                                                            Date
 Socialcom, Inc. (dba Audience X) (US Mid-Market             Partner Agreement              7/1/2018
 Reseller)
 More Media Sales LTD (UK outside London Reseller)           Partner Agreement              8/1/2018
 Tech 53 BV (BeNeLux Reseller)                               Partner Agreement              1/1/2013
 Tailwind EMEA LTD (Central Europe Reseller)                 Reseller Agreement             1/1/2017
 Sizmek Polska sp. z o.o. (Eastern Europe Reseller)          Partner Agreement              8/1/2018
 SZMK Hong Kong Limited (Hong Kong/Taiwan                    Partner Agreement              4/1/2015
 Reseller)
 Escape Velocity Digital Private Limited (India Reseller)    Partner Agreement              4/1/2014
 Rich Media Inc. (Pakistan Reseller)                         Partner Agreement              5/1/2018
 Juan Vidal Monteagudo (Portugal Reseller)                   Partner Agreement              1/1/2013
 Goldbach Interactive LCC Russia (Russia Reseller)           Reseller Agreement             1/1/2015
 ADV (SEA) PTE. LTD (Southeast Asia Reseller)                Partner Agreement              1/1/2017
 MediaMind Technologies Africa cc (South Africa              Partner Agreement              2/14/2007
 Reseller)
 FEM REKLAMCILIK A.S. (Turkey Reseller)                      Partner Agreement              2/1/2015

        7. The following software contracts:

Okta - shared with DSP and Peer 39                          SSO, Indentity Management
GSuite - shared with DSP and Peer 39                        Mail/Calendar/Storage
Zoom - shared with DSP and Peer 39                          Video Collaboration
Slack - shared with DSP and Peer 39                         Collaboration
LogMein – shared with Peer 39                               IT Remote Support/Windows SW Deployment
Jamf – shared with Peer 39                                  IT SW/HW Deployment/Configuration
RingCentral – shared with Peer 39 and DSP                   Telephony
Meraki – shared with DSP                                    Network/Security Management

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Samanage                                                     HelpDesk Ticket system
SolarWinds                                                   Network SW
OverPlay                                                     Global VPN DNS Tool
Jira/Confluence – shared with DSP and Peer 39                Sw development tool
Lucidcharts – shared with DSP and Peer 39                    Sw development tool
Adobe                                                        Creative Dev Tool
DocuSign – shared with DSP and Peer 39                       E-Signature
Microsoft EA – shared with DSP and Peer 39                   Microsoft Office, Cals for AD, Project, Visio
Microsoft SPLA                                               Microsoft, Servers (e.g. SQL)
InteliJ, DataGrip, PYCharm                                   Sw development tool
Perfecto                                                     Mobile Testing - Public Cloud
Mcafee                                                       AntiVirus
Artifactory – Jfrog -shared with Peer 39                     Sw development tool
SecureCRT                                                    Sw development tool
Cisco SmartNet – shared with DSP and Peer 39                 Cisco Maintenance
Controlid Industria e Comercio de Hardware e Software        Timecard SW (Brazil)
Salesforce – shared with DSP and Peer 39                     CRM and Workflow management
ADP – shared with Peer 39                                    Payroll (US)
Sage – shared with Peer 39                                   Payroll UK
Hilan Tech – shared with Peer 39                             Payroll (Israel)
Jobvite                                                      Hire management
Anaplan                                                      Commission calculation
Success Factors – shared with DSP and Peer 39                HRM
Saba – shared with DSP and Peer 39                           Learning / performance Management
SAP (Complete Solutions) – shared with DSP and Peer 39       ERP
Nexonia                                                      T&E
Logical Systems S.A: LTD – shared with DSP and Peer 39       SAP support
Oanda Corporation                                            FX data
Rechuuasrit                                                  Fixed Assets register
ePO – shared with Peer 39                                    Homegrown PO management
AFR                                                          Consolidation / reporting
Book10                                                       Consolidation / reporting
Microstrategy                                                BI



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Tableau                                                  BI
Atriis – shared with Peer 39                             Travel
Evidon                                                   Marketing / GDPR
Paligo                                                   Technical documentation repository
Asana                                                    GTM planning, coordination with marketing
Mailchimp                                                Mass-emailer for MDX-SAS upgrade process
Marketo


          8. All data processor agreements, data protection addendums, and GDPR agreements between
              Sellers and their customers and vendors that pertain to the Assumed Contracts.
          9. The following software licenses/contracts:
                  a. JW Player
                  b. Kibana X-Pack
                  c. Artifactory
                  d. Elastic Search
          10. The following agreements:
                  a. Galil Software and Technological Service – R&D contractor.
                  b. Ad Counting Agreement, effective as of October 5, 2018, between Facebook, Inc.
                       and Sizmek, Inc.
                  c. Google Ads Data Hub Beta Program Agreement, effective as of November 14, 2017,
                       between Google LLC and Sizmek, Inc., as amended by that certain Amendment to
                       Google Ads Data Hub Beta Program Agreement, effective as of May 16, 2018.
                  d. Agosto Services and License Agreement, effective as of November 14, 2014,
                       between Agosto, Inc. and Rocket Fuel Inc., as amended by that Skykit Amendment,
                       fully executed as of September 16, 2015.
                  e. Employment agreements with Transferred Employees whose employment transfers
                       to Purchaser (or any of its Affiliates) by operation of law.




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                     Schedule 2.1(c) - Purchased Assets - Permits
None




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                 Schedule 2.1(d) - Purchased Assets - Intellectual property

The right to enforce confidentiality agreements, non-disclosure agreements, employee
assignment of invention agreements and similar agreements relating to the Business and/or the
Company IP.

Registered Patents (US)

     Patent         Grant                                       Applicatio Current Owner
                                      Patent Name
    Number           Date                                        n Date        of Record
    6,205,243      3/20/2001 System and Method For Rapid        1/28/2000 Sizmek
                             Shape Digitizing And                          Technologies,
                             Adaptive Mesh Generation                      Inc.
    6,314,451      11/6/2001 An Ad Controller For Use In        7/13/1999 Sizmek
                             Implementing User-                            Technologies,
                             Transparent Network-                          Inc.
                             Distributed Advertising And
                             For Interstitially Displaying
                             An Advertisement So
                             Distributed
    6,317,761     11/13/2001 Technique For Implementing          7/13/1999 Sizmek
                             Browser-Initiated User-                       Technologies,
                             Transparent Network-                          Inc.
                             Distributed Advertising And
                             For Interstitially Displaying
                             An Advertisement, So
                             Distributed, Through A Web
                             Browser In Response To A
                             User Click-Stream
    6,466,967     10/15/2002 Apparatus and Accompanying          9/13/2001 Sizmek
                             Methods for Network                           Technologies,
                             Distribution and Interstitial                 Inc.
                             Rendering of Information
                             Objects to Client Computers
    6,516,338       2/4/2003 Locally-Summoned Network-           7/13/1999 Sizmek
                             Distributed Confirmed                         Technologies,
                             Informational Presentations                   Inc.
    6,687,737       2/3/2004 Apparatus and Accompanying          9/13/2001 Sizmek
                             Methods for Network                           Technologies,
                             Distribution and Interstitial                 Inc.
                             Rendering of Information
                             Objects to Client Computers
    6,734,873      5/11/2004 Method and System for               7/21/2000 Sizmek
                             Displaying a Composited                       Technologies,
                             Image                                         Inc.


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     Patent       Grant                                    Applicatio Current Owner
                                     Patent Name
    Number         Date                                      n Date       of Record
    6,785,659    8/31/2004 Agent-Based Technique For        7/13/1999 Sizmek
                           Implementing Browser-                      Technologies,
                           Initiated User-Transparent                 Inc.
                           Interstitial Web Advertising In
                           A Client Computer
    6,880,123    4/12/2005 Apparatus And Accompanying 7/13/1999 Sizmek
                           Methods For Implementing A                 Technologies,
                           Network Distribution Server                Inc.
                           For Use In Providing
                           Interstitial Web
                           Advertisements To A Client
                           Computer.
    6,959,424   10/25/2005 SYSTEM AND METHOD                 6/1/2001 Sizmek
                           FOR DISPLAYING AN                          Technologies,
                           ENABLED IMAGE                              Inc.
                           ASSOCIATED WITH A
                           PREDETERMINED IMAGE
                           IN AN IFRAME OF A
                           VISUAL DISPLAY
    6,981,224   12/27/2005 SYSTEM AND METHOD                 6/1/2001 Sizmek
                           FOR CONDITIONALLY                          Technologies,
                           ASSOCIATING A                              Inc.
                           PLURALITY OF ENABLED
                           IMAGES WITH A
                           PREDETERMINED IMAGE
    6,990,630    1/24/2006 Technique For Implementing       5/31/2002 Sizmek
                           Browser-Initiated User-                    Technologies,
                           Transparent Network-                       Inc.
                           Distributed Advertising And
                           For Interstitially Displaying
                           An Advertisement, So
                           Distributed, Through A Web
                           Browser In Response To A
                           User Click-Stream
    7,003,734    2/21/2006 METHOD AND SYSTEM               11/28/2000 Sizmek
                           FOR CREATING AND                           Technologies,
                           DISPLAYING IMAGES                          Inc.
                           INCLUDING POP-UP
                           IMAGES ON A VISUAL
                           DISPLAY
    7,028,072    4/11/2006 Method and Apparatus for         7/14/2000 Sizmek
                           Dynamically Constructing                   Technologies,
                           Customized Advertisements                  Inc.


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     Patent       Grant                                     Applicatio Current Owner
                                    Patent Name
    Number         Date                                      n Date        of Record
    7,155,663   12/26/2006 Technique For Implementing       5/31/2002 Sizmek
                           Browser-Initiated User-                     Technologies,
                           Transparent Network-                        Inc.
                           Distributed Advertising And
                           For Interstitially Displaying
                           An Advertisement, So
                           Distributed, Through A Web
                           Browser In Response To A
                           User Click-Stream
    7,167,921    1/23/2007 Full duplex re-transmitter        11/2/2000 Sizmek
                                                                       Technologies,
                                                                       Inc.
    7,310,609   12/18/2007 Tracking User Micro-              3/14/2002 Sizmek
                           Interactions with Web Page                  Technologies,
                           Advertising                                 Inc.
    7,328,435     2/5/2008 Method for dynamically             4/4/2002 Sizmek Israel
                           changing one Web page by
                           another web page
    7,453,456   11/18/2008 System and Method of Three        5/30/2006 Sizmek
                           Dimensional Image Capture                   Technologies,
                           and Modeling                                Inc.
    7,474,803     1/6/2009 System and Method of Three        5/30/2006 Sizmek
                           Dimensional Image Capture                   Technologies,
                           and Modeling                                Inc.
    7,559,034     7/7/2009 Method and System for Using      10/19/2000 Sizmek
                           a Hyperlink Banner, or                      Technologies,
                           Graphical Icon to Initiate the              Inc.
                           Overlaying of an Object on a
                           Window
    7,565,322    7/21/2009 Systems and Methods For           3/29/2000 Sizmek
                           Serverless Software Licensing               Technologies,
                                                                       Inc.
    8,041,701   10/18/2011 Enhanced Graphical Interfaces     1/10/2006 Sizmek
                           for Displaying Visual Data                  Technologies,
                                                                       Inc.
    8,156,218    4/10/2012 METHOD AND SYSTEM                12/19/2006 Sizmek Israel
                           FOR TRACKING A
                           CUMULATIVE NUMBER
                           OF IDENTIFIABLE
                           VISITORS TO DIFFERENT
                           OBJECTS




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     Patent       Grant                                    Applicatio Current Owner
                                    Patent Name
    Number         Date                                     n Date      of Record
    8,347,352     1/1/2013 METHOD AND SYSTEM               11/2/2009 Sizmek Israel
                           FOR SECURING A THIRD
                           PARTY COMMUNICATION
                           WITH A HOSTING WEB
                           PAGE
    8,521,595    8/27/2013 Dynamic Interaction Mapping       5/5/2011 Sizmek
                           for Online Advertizing                     Technologies,
                                                                      Inc.
    8,533,321    9/10/2013 METHOD AND SYSTEM                 3/5/2012 Sizmek Israel
                           FOR TRACKING A
                           CUMULATIVE NUMBER
                           OF IDENTIFIABLE
                           VISITORS TO DIFFERENT
                           OBJECTS
    8,818,865    8/26/2014 Method And System For             6/6/2008 Sizmek Israel
                           Generating Bursting-Messages
    8,966,071    2/24/2015 METHOD AND SYSTEM                 9/9/2013 Sizmek Israel
                           FOR TRACKING A
                           CUMULATIVE NUMBER
                           OF IDENTIFIABLE
                           VISITORS TO DIFFERENT
                           OBJECTS
    8,997,178    3/31/2015 METHOD AND SYSTEM               12/12/2012 Sizmek Israel
                           FOR SECURING A THIRD
                           PARTY COMMUNICATION
                           WITH A HOSTING WEB
                           PAGE
    9,369,475    6/14/2016 SYSTEM AND METHOD                3/31/2015 Sizmek Israel
                           FOR SECURING A THIRD
                           PARTY COMMUNICATION
                           WITH A HOSTING WEB
                           PAGE
    9,716,908    7/25/2017 Distributing Media Content       11/5/2014 Sizmek
                           Via Media Channels Based on                Technologies,
                           Associated Content Being                   Inc.
                           Provided Over Other Media
                           Channels
    9,737,812    8/22/2017 Method of interacting with an    2/13/2007 Sizmek Israel
                           interactive game program
   10,140,619   11/27/2018 Dynamic Creative Creation        6/21/2011 Sizmek
                           and Delivery                               Technologies,
                                                                      Inc.



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 Registered Patents (International)

  Patent        Grant                                                   Application
                                         Patent Name                                  Country       Owner of Record
 Number         Date                                                      Date
   133,039       3/4/2008   Full duplex re-transmitter                  11/18/1999     Israel      Sizmek
                                                                                                   Technologies, Inc.
   142,815      6/16/2010   Method for dynamically changing one          4/25/2001     Israel      Sizmek Israel
                            Web page by another web page
01979839.6   10/15/2001     Method and System using a hyperlink,        10/15/2001    European     Sizmek
                            banner or geographical icon to initiate                    Patent      Technologies, Inc.
                            the overlaying of an object on a window                    Office
  4064060       3/19/2008   A Technique For Implementing                 5/14/1999     Japan       Sizmek Israel
                            Browser-Initiated Network-Distributed
                            Advertising And For Interstitially
                            Displaying An Advertisement
 Patent Applications (US)

Application       Application                             Patent Name                             Owner Of Record
 Number             Date
  12/332,823       12/11/2008      Systems And Methods For Generating, Reviewing,                Sizmek Technologies,
                                   Editing, And Transferring An Advertising Unit In A Single     Inc.
                                   Environment
   14/168,779         1/30/2014    SYSTEM AND METHOD FOR ADVERTISING                             Sizmek Israel
                                   VERIFICATION BASED ON USERS'
                                   DEMOGRAPHICS
   15/044,348         2/16/2016    A SYSTEM AND METHOD FOR IMPROVING                             Sizmek Israel
                                   IMAGE-BASED ADVERTISEMENT SUCCESS
   15/655,504         7/20/2017    Distributing Media Content Via Media Channels Based on        Sizmek Technologies,
                                   Associated Content Being Provided Over Other Media            Inc.
                                   Channels


 Patent Applications (International)

 None

 Issued Trademarks

          Mark                        Reg. Number        Reg. Date      Country                  Owner
SUPERSTITIAL                           2,357,310         6/13/2000    USA               Sizmek Technologies, Inc.
UNICAST                                2,371,539         7/25/2000    USA               Sizmek Technologies, Inc.
VIDEOSTITIAL                           3,010,428         11/1/2005    USA               Sizmek Technologies, Inc.
Sizmek                                 4,778,053         7/21/2015    USA               Sizmek Technologies, Inc.
MDX                                    4,787,181         8/4/2015     USA               Sizmek Technologies, Inc.
EYEWONDER                               2,330,835        11/27/2009   Argentina         Sizmek Technologies, Inc.
MDX                                     2,771,446        11/25/2015   Argentina         Sizmek Technologies, Inc.
MDX                                     1,692,147         8/21/2015   Australia         Sizmek Technologies, Inc.
SIZMEK                                  1,626,823         6/5/2014    Australia         Sizmek Technologies, Inc.
SIZMEK (Class 35)                      907812295          1/30/2018   Brazil            Sizmek Technologies, Inc.
SIZMEK (Class 42)                      907812368          1/30/2018   Brazil            Sizmek Technologies, Inc.



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           Mark             Reg. Number    Reg. Date       Country                Owner
MDX                          908758464      7/24/2018   Brazil           Sizmek Technologies, Inc.
VIEWPOINT VISUALIZATION     TMA 681,473    2/12/2007    Canada           Sizmek Technologies, Inc.
VIEWPOINT                   TMA 704,176     1/8/2008    Canada           Sizmek Technologies, Inc.
MDX                         TMA 944,240    7/26/2016    Canada           Sizmek Technologies, Inc.
SUPERSTITIAL                  1,707,322     9/24/2001   European Union   Sizmek Technologies, Inc.
S@M                           1,418,722    12/19/2001   European Union   Chors Gmbh
UNICAST                       1,707,389    12/16/2003   European Union   Sizmek Technologies, Inc.
PAGE LEVEL INTELLEGENCE
PERM                           8,590,077    3/29/2010   European Union   Sizmek Technologies, Inc.
PAGEMORPH                      8,796,906    6/28/2010   European Union   Sizmek Technologies, Inc.
SIZMEK                        12,920,799   10/21/2014   European Union   Sizmek Technologies, Inc.
MDX                          IR 1245707     3/9/2016    European Union   Sizmek Technologies, Inc.
MDX                         40201507819X    1/14/2016   Singapore        Sizmek Technologies, Inc.
EYE (logo)                     2,266,557   12/12/2003   UK               Sizmek Technologies, Inc.




MDX                           1,245,707    12/12/2014   WIPO             Sizmek Technologies, Inc.


Trademark Applications

None

Domain Names

        sizmek.com

        sizmek.bz

        sizmek.eu

        sizmek.me

        sizmek.mobi

        sizmek.net

        sizmek.org

        sizmek.tel

        sizmek.tv

        sizmek.co



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        sizmek.co.uk

        sizmek.info

        sizmek.name

        newonlineco.com

        sizmek.xyz

        Sizmek.JP

        szmkweb.io

        szmk.io

        ad-analytics.com

        ad-deliver.com

        ad-details.com

        ad-samples.com

        amxdt.com

        anonmxp.com

        anonymousmxp.com

        enliven.com

        eyeblaster.com

        eyeblasterwiz.com

        fotomat.com

        mdadx.com

        mediamind.com

        mediamind.tv

        metastream.com



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        republicproject.com

        serving-sys-dev.com

        serving-sys-dev4.com

        serving-sys-int.com

        serving-sys.com

        sizemek.com

        sizmdx.com

        szmk.com

        unicast.com




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                   Schedule 2.1(e) - Purchased Assets - Prepaid items and expenses

The following are the prepaid items and expenses of the Business as of March 31, 2019:

US:

 Vendor name                   Prepayment Details                            Original Period    LC         SC
                                                                                                Original    Balance
                                                                                                amount     as of
                                                                                                           3/31/19
 Microsoft Store               PointRoll MicroStrategy maintenance 3.19      01/01/2015-
                                                                             31/12/2020         237,891    43,136
 Taldor Communication LTD      PPD po 206512 Support -3 Years 12.16-11.19    1/12/16-30/11/19
                                                                                                47,880     10,640
 Systran                       PPD po 209786 Annual Maintenance from         01/06/2018-
                               6.18-5/19                                     31/5/19            21,782     3,631
 SuccessFactors, Inc.          PPD po 209743 04/2018-04/2019 subscription    1/5/18-30/4/19
                                                                                                66,713     5,559
 EMC Corporation_              PPD po 210050 SAN switches NJ 6/18/18-        18/6/18-17/6/19
                               6/17/19                                                          9,293      1,936
 Docu-Sign                     PPD po 210056&210150 contract 6/12/18-        6/12/18-6/11/19
                               6/11/19                                                          51,702     10,771
 Callidus Software Inc         PPD po 210402 Heroes Soft Skills Content      1/7/18-30/6/19
                               7/18--7/1                                                        10,000     2,500
 OpsGenie, Inc.                PPD PO 210154 Primary operations pagingl      1/7/18-30/6/19
                               7.18-7.19                                                        24,000     6,000
 Creditsafe USA Inc            PPD PO 210436 7.18-7.19 Yearly Subscription   1/7/18-30/6/19
                               Credit                                                           23,410     5,853
 CT Corporation System         PPD PO 210284 - CT Assurance Compliance       1/7/18-30/6/19
                               7/18-6/19                                                        18,000     4,500
 OpsGenie, Inc.                PPD PO 210673 Primary paging tool 9.19.18-    19/9/18-29/6/19
                               6.29.19                                                          9,695      3,116
 Anaplan INC.                  PO 210608 Anaplan Subscription Fee 7/5/18-    5/7/18-4/7/19
                               07/04/19                                                         68,744     17,187
 Trustworthy Accountability    PPD TAG membership & certifications for       1/1/19-31/12/18
 Group, INC.                   2019                                                             25,000     18,750
 Techmind LTD                  PPD po 207030 CA Network maintenance-         1/1/19-31/12/19
                               product 2019                                                     14,548     10,911
 Zoom Information Inc,         PPD po 210498 Zoominfo 8.14.18-8.14.19        14/8/18-14/8/19
                               Subscription                                                     15,730     5,899
 QuickBase, Inc.               PPD Po 211595 Quickbase subscription 1/19 -   1/1/19-31/12/19
                               12/1                                                             138,600    103,950
 TeraSky Ltd.                  PPD po 211087 01.01-06.30.19 EMC              1/1/19-30/6/2019
                               Networker - Supp                                                 6,933      3,466
 IAB Interactive Bureau , In   PPD PO 211499 6/18-6/19 GDPR Commit           1/6/18-31/5/19
                               Group                                                            15,000     2,500
 LinkedIn Corporation          PPD PO 211527 H1 Sponsored updates talent     1/1/19-30/6/19
                               solution                                                         15,000     7,500
 ExchangeWire Limited          PPD po 211362 ATS Global/EMEA events          APR / MAY /
                               4/5/9/11 2019                                 SEP/NOV            50,200     50,200
 eMarketer Inc.                PPD PO 211491 2019 eMarketer PRO annual       1/1/19-31/12/19
                               subscription                                                     20,041     15,031
 Saba Software Inc             PPD PO 211423 11/18-11/19: Saba Software      1/11/18-11/19
                               Subs                                                             45,150     9,848
 New Relic, Inc.               PPD PO 210507 2-4/19: Annual Agreement        1/2/19-30/4/19
                                                                                                6,646      2,215
 Sara CC
                                                                                                           5,390


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 Forrester Research Inc.   PO 211772 2019 Annual analyst membership                1/2/19 -31/1/20
                                                                                                       45,775            38,146
 PPF OFF ROLLINGWOOD       PPD New Austin Rollingwood Density fee                  Nov-22
 LANDOWN                   Nov 2022                                                                    6,897             6,897


Israel:

 Vendor name                           Prepayment Details                            Original        USD             USD
                                                                                     Period
                                                                                                     Original        Balance as
                                                                                                     amount          of
                                                                                                     (USD)           3/31/19
 MICROSTRATEGY LTD                     MICROSTRAT.-License change-500                1/7/16-
                                       users                                         31/12/19        49,900.00       11,389
 TEAM NETCOM LTD                       Gold Supp.-Thunder 5430-Equinix               18/10/17-
                                                                                     19/4/19         24,763.00       703
 COUCHBASE INC                         Couchbase Couchbase 3rd installment           5/3/18-
                                                                                     14/6/19         750,000.00      116,982
 TEAM NETCOM LTD                       Supp.t-2xThunder 5430-Equini                  18/4/19-
                                                                                     17/10/20        25,043.00       23,978
 GUANGZHOU E-WIND                      China data center-new servers-1st year        15/5/18-
 COMMUNICATION TECHNOLOGY LTD          payment                                       14/5/19         41,926.00       4,861
 AIG ISRAEL INSURANCE COMPANY          IL property insurance                         1/6/18-
 LTD                                                                                 31/5/19         30,528.00       4,938
 AZTEK TECHNOLOGIES (1984) LTD         ADOBE SUBSCRIPTION                            1/6/18 -
                                                                                     31/5/19         103,953.00      17,311
 ZENDESK                               Enterprise subscription renewal.              27/6/18 -
                                                                                     26/6/19         88,070.00       20,983
 ELASTICSEARCH LTD                     SZMK Elastic 1 year Gold Sub. 10 x            21/9/18-
                                       Nodes                                         20/9/19         33,000.00       15,441
 GUANGZHOU E-WIND                      GUANGZU-China DC-2st payment                  25/10/18-
 COMMUNICATION TECHNOLOGY LTD                                                        24/10/19        13,001.00       7,359
 COMPLETE SOLUTIONS                    COMPLETE-SAP B1 Licenses Renewal              1/1/19-
                                                                                     31/12/19        24,219.00       15,945
 GOOGLE IRELAND LTD                    GOOGLE-Apigee Edge-Business subs              30/10/18-
                                                                                     27/10/19        25,000.00       14,563
 TERASKY LTD                           TERASKY-EMC NETWORKER SUPP                    1/1/19-
                                                                                     30/6/19         17,074.00       8,726
 APURIMAC (Mediamind)                  Apurimac ZAR-Subscription 40%                 1/7/18-
                                                                                     30/6/19         10,640.00       3,392
 AZTEK TECHNOLOGIES (1984) LTD         IntelliJ IDEA Renewal of Toolbox              16/12/18-
                                       Subscription                                  12/12/19        20,654.00       14,988
 GUANGZHOU E-WIND                      China data center-new HP servers-1st year     1/1/19-
 COMMUNICATION TECHNOLOGY LTD          payment                                       31/12/19        28,078.00       21,877
 SCIENTIAMOBILE INC.                   WURFL Renewal Feb 19 2019 - Feb 18            20/2/19-
                                       2020                                          19/2/20         32,500.00       28,742
 BRIGHTCOVE INC                        Zencoder VOD Transcoding Plan: Dec            1/12/18-
                                       2018 - Nov 2019                               30/11/19        22,000.00       14,604




UK:

 Vendor name                     Prepayment Details                                                             SC
                                                                                                                Balance as of
                                                                                                                3/31/19
 CLV Group Limited               Prepaid CLV Group services Apr
                                                                                                                22,091
 BEZEQ INTERNATIONAL             Prepaid Juniper support -Equinix AMS-Feb19-Dec21
 LTD                                                                                                            20,694
 IAB UK                          Prepaid IAB Membership Apr-Dec
                                                                                                                14,162


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 IAB Europe                  Prepaid IAB Europe – Membership 2019 Apr-Dec
                                                                                    9,747
 Team Netcom LTD             Prepaid Thunder 3030S suuport 1/4- 8/6/19
                                                                                    9,624
 BT                          rental period to 31/5/19
                                                                                    8,071
 Taldor Communication Ltd    Prepaid Juniper support-2x MX104- AM2-Apr17- Mar20
                                                                                    7,965
 GE Capital (UK)             Prepaid Bow St - Photocopiers Apr-May
                                                                                    4,625
 BNP Paribas                 Prepaid rental for coffee machine/taps Apr
                                                                                    1,728




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                                           Schedule 2.2(e) - Excluded Contracts

    1. The following option contracts with Bank Leumi in Israel:

                                C                 Payme                     Y
                   Bu    Bu                                                      Act    Amo
                                as   Ca    Exp       nt              Qua    ea                 Hedg                    Ba
                   dge   dge                                Matu                 ual    unt                     Hed
  Deal      Deal                h    sh    ense    Date              rter    r                   e      Buy            nk   Prem
                     t    t                                 rity                 Hed    Hed                       ge
   #        Date                Y    Mo    Typ     of the            PM     P                  Instru   /Sell          Na   ium
                   Ye    Mo                                 Date                 ged    ged                     Rate
                                ea   nth    e     Salary/             T     M                  ment                    me
                    ar   nth                                                     US$    ILS
                                 r                Social                    T
   123      13-                                                                                                        Le
   606      Mar-   201   Ma     20         Sala   5/31/20   5/29/           20   141,   500,    Put     Buy     3.53   um   Zero
    2        19     9    y      19   Jun    ry      19      2019     Q2     19   643    000                       00    i   Cost
   123      13-                                                                                                        Le
   606      Mar-   201   Ma     20         Sala   5/31/20   5/29/           20   136,   500,   Call     Sell    3.66   um   Zero
    3        19     9    y      19   Jun    ry      19      2019     Q2     19   351    000                       70    i   Cost
   121      22-                                                                         1,95                           Le
   729      Oct-   201   Ma     20         Sala   5/31/20   5/29/           20   557,   0,00    Put     Buy     3.50   um   Zero
    2        18     9    y      19   Jun    ry      19      2019     Q2     19   143     0                        00    i   Cost
   121      22-                                                                         1,95                           Le
   729      Oct-   201   Ma     20         Sala   5/31/20   5/29/           20   531,   0,00   Call     Sell    3.67   um   Zero
    3        18     9    y      19   Jun    ry      19      2019     Q2     19   190     0                        10    i   Cost
             7-                                                                         1,95                           Le
            May-   201   Ma     20         Sala   5/31/20   5/29/           20   531,   0,00   Call     Buy     3.67   um   (1,75
             19     9    y      19   Jun    ry      19      2019     Q2     19   190     0                        10    i     5)
             7-                                                                                                        Le
            May-   201   Ma     20         Sala   5/31/20   5/29/           20   136,   500,   Call     Buy     3.66   um
             19     9    y      19   Jun    ry      19      2019     Q2     19   351    000                       70    i   (450)
             7-                                                                                                        Le
            May-   201   Ma     20         Sala   5/31/20   5/29/           20   141,   500,    Put     Sell    3.53   um
             19     9    y      19   Jun    ry      19      2019     Q2     19   643    000                       00    i   200
             7-                                                                         2,50                           Le
            May-   201   Jun    20         Soci   6/14/20   6/12/           20   708,   0,00    Put     Sell    3.53   um
             19     9     e     19   Jun    als     19      2019     Q2     19   215     0                        00    i   3,260
             7-                                                                         2,50                           Le
            May-   201   Jun    20         Soci   6/14/20   6/12/           20   684,   0,00   Call     Buy     3.65   um   (2,86
             19     9     e     19   Jun    als     19      2019     Q2     19   182     0                        40    i     0)
   123      13-                                                                         2,50                           Le
   606      Mar-   201   Jun    20         Soci   6/14/20   6/12/           20   708,   0,00    Put     Buy     3.53   um   Zero
    4        19     9     e     19   Jun    als     19      2019     Q2     19   215     0                        00    i   Cost
   123      13-                                                                         2,50                           Le
   606      Mar-   201   Jun    20         Soci   6/14/20   6/12/           20   684,   0,00   Call     Sell    3.65   um   Zero
    5        19     9     e     19   Jun    als     19      2019     Q2     19   182     0                        40    i   Cost
   123      13-                                                                         2,50                           Le
   606      Mar-   201   Jun    20         Sala   6/28/20   6/26/           20   710,   0,00    Put     Buy     3.52   um   Zero
    6        19     9     e     19   Jul    ry      19      2019     Q3     19   227     0                        00    i   Cost
   123      13-                                                                         2,50                           Le
   606      Mar-   201   Jun    20         Sala   6/28/20   6/26/           20   683,   0,00   Call     Sell    3.65   um   Zero
    7        19     9     e     19   Jul    ry      19      2019     Q3     19   807     0                        60    i   Cost
             7-                                                                         2,50                           Le
            May-   201   Jun    20         Sala   6/28/20   6/26/           20   710,   0,00    Put     Sell    3.52   um
             19     9     e     19   Jul    ry      19      2019     Q3     19   227     0                        00    i   4,200
             7-                                                                         2,50                           Le
            May-   201   Jun    20         Sala   6/28/20   6/26/           20   683,   0,00   Call     Buy     3.65   um   (4,20
             19     9     e     19   Jul    ry      19      2019     Q3     19   807     0                        60    i     0)

    2. The Financing Agreement, dated September 6, 2017, with Cerberus Business Finance, LLC as Administrative
         Agent and Collateral.
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    3. Master Purchase Agreement with Huawei Device (Dongguan) Co., Ltd., dated August 1, 2017.

    4. The settlement agreement with Dugan settling the Dugan vs. Sizmek, Inc. case which was an employment
       discrimination claim.

    5. Agreements with employees that are not Transferred Employees.

    6. The bank guarantees and any deposits given by Sizmek Israel in connection with its leased facilities in Israel.

    7. Agreements with Transferred Employees who were employed by the Business Entities or their Affiliates
       immediately prior to the Closing and are not automatically transferred to Purchaser by operation of law.

    8. The following real property leases:

     City                Facility                                   Landlord                    Term
     Atlanta             1050 Crown Pointe Parkway, Suite 500,      Peachtree Offices at        4/10/17 - 1/31/20
                         Rooms 524, 528, 530                        Perimeter LLC
                         Dunwoody, GA 30338
     Chicago             101 West Grand Avenue, Suite 650           101 West Grand LLC          9/9/14 - 8/31/21
                         Chicago, IL 60654
     Chicago             101 West Grand Avenue, Suite 650           Waterstone Staffing         4/1/18 - 8/31/21
                         Chicago, IL 60654                          Holdings, LLC -
                                                                    Subtenant
     Chicago             233 N Michigan, Suite 1840                 IC 233 BUILDING             3/1/19 -2/29/24
                         Chicago, IL, 60601                         COMPANY LLC
     Chicago             350 Orleans, Suite 1300                    BRE River North Point       3/27/14 - 6/30/21
                         Chicago, IL 60654                          Owner LLC
     Chicago             350 Orleans, Suite 1350N                   Vokal, LLC - Subtenant      6/25/2016 - 6/30/21
     Chicago             350 Orleans, Suite 1300N                   Nitel Inc - Subtenant       4/1/17 - 6/30/21
     Dallas              1920 McKinney Ave, 5th Floor               WeWork Uptown               1/31/19 -1/31/20
                         Dallas, TX 75201
     Denver              1515 Wazee Street, Suite 380               ASB Hardware Block          12/1/2014 - 4/30/20
                         Denver, CO 80202                           Venture,LLC
     Denver              1515 Wazee Street, Suite 380               Wakely Consulting           2/1/17 - 4/30/20
                         Denver, CO 80202                           Group, LLC - Subtenant
     East Lansing        4050 Hunsaker Street, Suite 100            4050, LLC                    10/31/14 - 3/31/20
                         East Lansing, MI 48823
     El Segundo          2121 Park Place, Suite 250                 2121 Park Place LP           6/1/2014 - 12/31/22
                         El Segundo, CA 90245
     El Segundo          2121 Park Place, Suite 250a                Peer Street Inc -            3/8/17 - 12/31/22
                                                                    Subtenant
     El Segundo          2121 Park Place, Suite 250b                Peer Street Inc -            6/1/19 - 12/31/22
                                                                    Subtenant
     El Segundo          2121 Park Place, Suite 250b                Manduka LLC -                6/1/15 - 5/31/19
                                                                    Subtenant
     Los Angeles         6601 Center Dr West, Suite 350             BRE HH Property             4/1/15 - 7/31/21
                         Los Angeles, CA 90045                      Owner LLC
     New York            401 Park Avenue South, Suite 500           401 Park Avenue South       6/20/14 - 12/31/24
                         New York, NY 10016                         Associates, LLC
     New York            195 Broadway, Suite 1000                   195 Broadway Property       2/8/16 - 1/31/27
                         New York, NY 10007                         LLC
     New York            195 Broadway, Suite 1000                   Getty Images (US) Inc.-     6/8/18 - 1/28/27
                         New York, NY 10007                         Subtenant
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     Redwood City        2000 Seaport Blvd, Suite 400             Informaticia LLC          1/2/17 - 4/30/20
                         Redwood City, CA 94063
     South Norwalk       50 Washington Street, Suite 1101         CREFII-SSC, LLC           11/1/18 - 1/31/24
                         Norwalk, CT 06854
     San Francisco       77 Geary Street, Suite 520               TechSpace Geary, Inc.     7/1/17 -1/31/20
                         San Francisco, CA 94108
     Mexico City,        Homero 407 Piso 11 Polanco 11540         Grupo Rodiedan S.A.       12/13/17 - 12/31/19
     Mexico              MC                                       DE C.V.
     Sao Paulo, Brazil   Rua Desembargador Eliseu Guilherme,      Alvaro Sadek Sarkis &     9/1/17 - 8/31/20
                         53/69, 11º andar, CJ 111/112, 04004-     Astrid Sarkis Atallah
                         030
     Hamburg,            Neuer Dovenhof Brandstwiete 1 20457      Mars PropCo 40 S.a.r.l.   8/1/15 - 7/31/20
     Germany
     New Belgrade,       12 Djordja Stanojevica Street, 11070     TM IMMO d.o.o.            6/2/17 - 3/31/23
     Serbia                                                       Beograd
     Herzelya, Israel    7 Hamada St., 5th and 6th Floor, 46733   Gav-Yam Land Ltd.         4/1/11 - 3/31/21
     Herzelya, Israel    7 Hamada St., Wing 6E                    Parametric Technology     5/15/18 - 3/31/21
                                                                  Israel Ltd. Subtenant
     London, England     34 Bow Street, 3rd & 4th Floors          AUTUMN WINDOW             1/9/14 - 1/8/24
                         London WC2E 7AU                          LTD/Telereal Trillium
     Madrid, Spain       Marques de la Ensenada 16, 2nd floor,    INMOBILIARIA GAL,         8/1/18 - 7/31/19
                         28004                                    SA.
     Manchester,          47-51 Lever Street, Manchester M1       British Overseas Bank     11/21/16 - 11/20/19
     England             1FN                                      Nominees & WGTC
                                                                  Nominees Limited
     Milan, Italy        Via Federico Confalonieri, 36 20124      Rocco Attisani via F.     4/1/15 - 3/31/21
                                                                  Confalonieri
     Paris, France       124 rue la Boëtie, 8ème arrondissement   S.C.I. Boetie             12/1/13 - 11/30/19
                         75008                                    Invest/Euripar
     Prague, Czechia     Vyskočilova 1481/4 BB Centrum,           PASSERINVEST BBC          7/15/17 - 12/14/22
                         Budova Beta Prague 4, 14000              2, s.r.o.
     Stockholm,          Pilen 18, Vasagatan 40, 5th Floor 111    Axcity Pilen 18           1/1/18 - 12/31/20
     Sweden              20                                       Fastighets AB
     Stockholm,          Pilen 18, Vasagatan 40, 5th Floor 111    Swedavia AB -             5/1/18 - 6/30/19
     Sweden              20                                       Subtenant
     Beijing, China      Room A010& B051, B007 Floor 11,          ShiAo International       12/31/18 - 2/1/20
                         Bldg 3, No.8 guang hua dong li,          Business (Beijing) Co.,
                         Chaoyang District 100022                 Ltd 1st Branch
     Guang Zhou,         238 Zhongshan 6 Road, Suite 1109,        Guangzhou Jieyacheng      3/1/17 - 2/29/20
     China               11F, Yuexiu District, Guangzhou          Real Estate
                                                                  Development Co., Ltd.
     Melbourne,          152 Elizabeth Street                     345 Bourke Street         11/1/18 - 12/31/19
     Australia                                                    Tenant Pty Ltd.
                                                                  (WeWork)
     Shanghai, China     Room 7B, Guangdong Development           Shanghai Taiqi Real       3/1/17 - 3/31/20
                         Bank Center, No. 555 Xujiahui Road,      Estate Co., Ltd.
                         Huangpu District, Shanghai
     Shanghai, China     Room 7A, Guangdong Development           Shanghai Taiqi Real       7/1/18 - 3/31/20
                         Bank Center, No. 555 Xujiahui Road,      Estate Co., Ltd.
                         Huangpu District, Shanghai
     Sydney, Australia   Level 5, Suite 5.02 1 Oxford Street      Memocorp Australia        11/1/18 - 10/31/23
                         Darlinghurst, NSW 2010                   PTY LTD



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    9. These contracts are mixed use contracts that have been transferred to DSP buyer.

  Counterparties                                Contract Title                 Effective Date
 Adsige Inc.                                    Adserving, SS DSP, DMP Order   11/1/2018
 Agency of Record, LLC (dba: Quality Produce)   Adserving, Managed DSP         11/1/2018
 Alliance Advertising & Marketing               MSA/SAS, DSP Order             2/19/2019
 AOR Dominicana S.r.l.                          All Srvs Order                 12/1/2018
 Booyah Networks, Inc.                          All Srvs Order                 6/1/2018
 BRAINtrust Marketing + Communications          SS DSP & Adserving Order       10/1/2018
 Brill Media                                    All Srvs Order                 5/1/2018
 Contactica                                     All Srvs Order                 7/1/2018
 Dentsu Dominicana S.r.l.                       Adserving, SS DSP Order        12/1/2018
 Firehouse, Ltd.                                All Srvs Order                 10/1/2018
 Intenseln Pty Ltd                              Adserving, SS DSP Order        1/14/2019
 Lafleur Marketing, LLC                         SS DSP & Adserving Order       9/26/2018
 Nickel Media Inc.                              Combo Order                    1/1/2019
 NVIDIA Corporation                             All Srvs Order                 8/16/2018
 Omnyway Inc.                                   All Srvs Order                 7/11/2018
 Omnyway Inc.                                   MSA DSP, adserving             4/25/2018
 Perfect Media Network Ltd.                     All Srvs Order                 11/1/2018
 Target Marketing & Communications Inc.         Adserving, SS DSP Order        1/1/2019
 Thalamus, Inc.                                 SAS, SS DSP Order              1/1/2019
 The Auto Club Group                            All Srvs Order                 10/1/2018
 Vivalu GmbH                                    Adserving, SS DSP Order        11/14/2018
 XT Media Group                                 All Srvs Order                 9/3/2018
 Yango Media Pty Ltd                            All Srvs Order                 8/1/2018
 ZhaoHui Internet Technology Co., Ltd.          SAS, SS DSP Order              3/19/2019




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                                  Schedule 2.4(b) – Specified Consents

    1. Global Master Services Agreement dated September 1, 2015, by and between Sizmek UK and Richemont
       International SA.

    2. Master Services Agreement dated November 1, 2012, by and between Sizmek UK and Havas Media
       Alliance WW, S.L.

    3. Services Agreement, dated June 1, 2014, by and between Sizmek UK and VivaKi Turkey Medya
       Hizmetleri Anonim Sirketi.




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                            Schedule 6.4 - Legal Proceedings

    (a) None

    (b)

 Name                                             Description
 Arun Chatterjee v. Sizmek Technologies,          Wrongful Dismissal Claim (Canada based
 Inc. and TriNet Employer Group Canada            plaintiff)
 Inc.
 Semaro v. Sizmek Technologies Limited            Breach of Contract (MENA based claim)
 Doria vs. Sizmek Technologies, Inc.              Wrongful Dismissal Claim (US based claim)
 Ashlan Chidester vs. Sizmek Technologies,        Disability Discrimination Claim
 Inc.
 Jared McKinley Kreiner v. Sizmek Inc.            WARN Act adversary Class Action
 (Debtors)                                        Complaint
 Internet Ad Systems LLC (“IAS”) v.               Threatened claim for unpaid patent license
 MediaMind Technologies, Inc.                     payments (dormant since 2014)
 Intertainer, Inc. v. Viacom, Inc.                Potential indemnification claim for patent
                                                  infringement suit (dormant since 2012)
 Intertainer, Inc. v. Discovery                   Potential indemnification claim for patent
 Communications, Inc.                             infringement suit (dormant since 2012)
 Monica Zycinski v. Sizmek Technologies,          Employee wage claim (Illinois DOL) post-
 Inc.                                             petition
 Michelle Tangorra v. Sizmek Technologies,        Employee wage claim (Illinois DOL) post-
 Inc.                                             petition




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                                  Schedule 6.5 - Real Property

See all real property leases set forth in Schedule 2.1(b) and Schedule 2.2(e).

The following real properties leased by Sellers have subtenants:
          1. 101 West Grand Avenue, Suite 650, Chicago, IL 60654
          2. 3200 Horizon Drive, Suite 120, King of Prussia, Pennsylvania 19406
          3. 195 Broadway, Suite 1000, New York, New York
          4. 7 Hamada St., Wing 6E, Herzelya, Israel




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                                Schedule 6.7 – Benefit Plans

Retirement Plans
    Sizmek Inc. 401(k) Plan

Health Plans
    Medical
           o Aetna PPO 500
           o Aetna HAS 1500
           o Kaiser HMO (CA only)
    Dental
           o Aetna Dental PPO
    Vision
           o VSP Vision
    Life and AD&D
           o Lincoln Financial
    Voluntary Life and AD&D
           o Lincoln Financial
    Long-Term Disability (tax choice)
           o Lincoln Financial
    Short-Term Disability
           o Lincoln Financial
    Flexible Spending Account (“FSA”)
           o Pre-tax Health Care (“Health FSA”)
           o Pre-tax Dependent Care (“Dependent Care FSA”)
    Health Spending Account (“HSA”)
    Adoption Assistance
           o Eligible regular full-time employees are eligible for Adoption Assistance not
             exceeding $5000 per child, with a lifetime maximum limit of two adoptions per
             employee.

Welfare Benefits
   Lincoln Financial Travel Assist
   Commuter Program
   Paid Time Off (“PTO”)
   Paid Sick Leave (“PSL”)
   Aetna Beginning Right Maternity Program
   Aetna Teladoc
   Kaiser HealthyLifestyles
   Kaiser Thrive Maternity
   Kaiser Video Visits
   Perkspot

Bonuses and Incentive Plans
    Corporate Bonus Plan

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         Billing Incentive Plan
         Collections Incentive Plan
         Operations Leadership Bonus Plan
         Operations Bonus Plan
         Sales Commission Plan
         Individual Annual Incentive Plan
         Accounts Receivable Bonus
              o Krystle Fassauer
              o Donna McLaughlin
         Spot Bonus
         Project/MBO Plan
         Transition Bonus
         Retention Bonus

Executive Bonus/Incentive Agreements
    Executive Incentive Plans
    Management Incentive Unit (“MIU”) Subscription Agreement
    Phantom MIU Agreement
    Vector Management Incentive Plan – LP Agreement

The following additional benefits for employees of entities in Poland, UK, Serbia:

Poland:
                                                               Life      Commuting      Lunch
Healthcare          Pension                       Gym          Insurance allowance      Vouchers
Sizmek employees -
luxmed: Full                                      Sizmek
comprehensive cover                               employees -
inluding meds. Paid                               Multisport
for by Sizmek       Government                    flexi card  N/A       N/A             N/A


Serbia:
                                                               Life      Commuting       Lunch
Healthcare              Pension                   Gym          Insurance allowance       Vouchers
Government scheme, Government scheme,
contributions to it are contributions to it are   Subsidy of
made both by Sizmek made both by Sizmek           400 GBP               3,275 RSD plus
(5,15% of employee's (12% of employee's           (around               night shift plus
total gross base) and total gross base) and       $452) per             additional
employee (5,15% of employee (14% of               year after            contribution of
employee's total gross employee's total gross     attending 50          150 RSD/day for
base)                   base)                     times        n/a      night work       n/a

UK:


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          Healthcare & Life                                         Life      Commuting           Lunch
          Insurance              Pension               Gym          Insurance allowance           Vouchers
                                                       Sizmek
                                 Sizmek employees - 5% employees - Sizmek
                                 employee + 5%         Subsidy of and
                                 employer, with option 400 GBP per Rocket
                                 to salary sacrifice.  year after  fuel
          Sizmek employees - Rocketfuel employees - attending 50 employees
          All cover options      6% non contributory,  times.      -4x
          available, 15% of cost with option to salary Rocketfuel Gross
          covered by employee sacrifice. 9% must be    employees - salary in
          and 85% by             met. Employee to pay £50 per      the case of
          employer.              minimum of £%.        month       death       N/A                N/A


Israel:
 Healthcare Pension                    Gym     Life      Commuting      Lunch    Company Welfare Policy
                                               Insurance allowance      Vouchers
 ILS 80 per       All contributions    ILS 120 N/A       NIS 600        ILS 45        Recuperation – company policy is
 month,           and employees'       per month         transportation per day.       to pay 10 days a year payable in
 linked to        deductions are in    (not              reimbursemen                  August salary (after 1 year of
 CPI, gross       accordance with      applicable        t defined as                  working in the company)
 up for tax.      the “Expansion       for new           part of the                   regardless of seniority
                  Order of             hires).           monthly                      Vacation – based on seniority
                  Extensive                              compensation                  upon individual employment
                  pension” and                           and is taken                  contract
                  subject to the                         into                         Study funds – From employee
                  Pension Plan                           consideration                 gross: 7.5% employer
                  chosen by the                          for all                       contribution, 2.5% employee's
                  employee (i.e.                         employees’                    deduction, from start date
                  6.5% and up to                         benefits.                    Sick day – payable from the first
                  7.5% on the                                                          day upon doctor certificate (3 days
                  employee gross                                                       a year paid upon employee
                  contributed by the                                                   declaration)
                  employer                                                            Rosh Hashanah and Passover
                  (including                                                           vouchers – ILS 500 twice a year
                  disability and                                                      Present for employee birthday -
                  subject to the                                                       ILS 120
                  Pension Plan
                                                                                      Employee wedding – 3 vacation
                  chosen by the
                                                                                       days compensated by the
                  employee); 6%
                                                                                       employer
                  employee’s
                                                                                      Child birth (for fathers) – 3
                  deduction, 8.33%
                                                                                       vacation days compensated by the
                  funded on
                                                                                       employer and 5 sick days
                  account of the
                                                                                       deducted from employee sick
                  severance
                                                                                       allowance
                  payment.
                                                                                      Child birth present – ILS 200



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                                                              Employee wedding present – ILS
                                                               500
                                                              Condolences package - ILS 500
                                                              Happy hours, Holiday toasts,
                                                               company annual outdoor activity
                                                              Hitech Zone – Annual
                                                               membership in Hitch company
                                                               club allows special discount in
                                                               multiply stores
                                                              Holiday eve. – Half a day
                                                               deducted from employee vacation
                                                               allowance (offices are close on
                                                               that date)




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                                Schedule 6.8 – Labor Matters

Contracts with members of the management team and key engineering employees may include
post-termination obligations which exceed those imposed by Law, and each such contract has been
provided to Purchaser in Folder “F-3 - Executive Contracts” of the Box data room created by
Purchaser.




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                                  Schedule 6.9 - Brokers
FTI Capital Advisors, LLC




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                              Schedule 6.10 - Permits
None




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                                     Schedule 6.11 –Taxes

A. Digital Generation, Inc., predecessor to Sizmek Inc., was involved in merger and spinoff
transaction(s) which were intended to qualify as IRC §355 transaction(s). This event subjects the
shareholders of the Taxpayer and Controlled Corporation involved with the transaction to potential
taxation on the gain from this merger or spinoff, but not the corporation/Taxpayer itself. As such,
though the Taxpayer did not undergo taxable event in New York City during the 2012-2014 period,
the New York City taxing authority has challenged whether the transaction qualifies as an IRC
§355 transaction. New York State had similarly challenged the transaction but after responses and
supporting materials were submitted, New York State agreed with Sizmek Inc.’s position.

B. Parent is undergoing a sales tax analysis to confirm sale tax compliance in the states in which
any Seller conducts business, based on the categories of services provided by each entity in each
state, the locations of each entity’s offices and employees, and the number and aggregate dollar
amount of the transactions completed by each entity in each state, in each case, for calendar year
2018 (and prior years).

C. The following items with respect to Sizmek Israel:

1. Tax Assessment and Audits – As of the Effective Date, there is no ongoing tax audit of
   Sizmek Israel. However, Sizmek Israel has received notice from the ITA regarding ITA's
   intention of auditing Sizmek Israel. The open years for income tax audit are 2015 and onwards.
   The open years for withholding tax audit are 2014 and onwards.

2. Tax Assessment Agreements – Sizmek Israel has signed tax agreements as described below:

               Corporate                             Tax
               Income       Years           Signing  Assessor         Main issues Raised in
               /Withholding Audited         Date     Office           the Audit
               Corporate    2003-           December Kfar- Saba       1. Approval of erosion of
                            2006            30, 2010                     base turnovers.
                                                                      2. Base turnovers for
                                                                         years 2003 and 2006
               Corporate        2011-       February     Kfar- Saba   3. Timing and
                                2014        6, 2017                      quantification of
                                                                         deduction of expenses
                                                                         related to exercise of
                                                                         senior management
                                                                         options.
                                                                      4. "Preferred Enterprise"
                                                                          benefits for companies
                                                                          held by foreign
                                                                          investors.
               Withholding      2011-       January      Kfar- Saba   Employee benefits – such
               (Employee        2013        10, 2017                  as “Yom Gibush”
               Benefits)


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                                                                      including family
                                                                      members.

3. Tax Pre-Rulings – Sizmek Israel received the following tax Pre-Rulings:
   3.1. Tax Decision dated March 1, 2009 regarding the existence of an "Industrial Enterprise"
        under section 51 of the Law for the Encouragement of Capital Investments, 1959
        ("Encouragement of Capital Investments Law").
   3.2. Tax Decision dated February 11, 2013 regarding the existence of an "Industrial Enterprise"
        under section 51 of the Encouragement of Capital Investments Law.
   3.3. Tax Decision dated November 3, 2011 regarding the taxation of option and warrant
        holders.
   3.4. Tax Decision dated August 5, 2014 regarding RSUs.
   3.5. Tax Decision dated August 12, 2014 regarding PRSU's.
   3.6. "Green Track" Tax Decision dated August 5, 2014 regarding a change in the applicable
        track for the 102 employee benefits plan.
   3.7. Tax Decision dated September 8, 2014 regarding electronic signing.

4. Employee Benefits Plans under Section 102 ("Benefits Plans") – Sizmek Israel had 102
   Benefits Plans which have not been effective as from October, 2016.
5. Preferred Enterprise – During 2017, Sizmek Israel submitted a notice to the ITA regarding
   the applicability of Preferred Enterprise Regulations in accordance to section B1 or section B2
   of chapter 7 of the Encouragement of Capital Investments Law.

6. Bookkeeping Management Regulations – on November 11, 2018, Sizmek Israel submitted
   to the ITA a request for using a version of a bookkeeping software which is no longer valid
   under the Income Tax Regulations (Bookkeeping), 1973.

7. Reportable Tax Planning – in the 2016 and 2017 tax returns, Sizmek Israel reported that
   under section 2(9) of the Income tax regulations (tax planning subject to reporting obligation),
   2006, Sizmek Israel owned shares of companies resident in countries which do not have double
   tax treaties ("DTT") with Israel. Sizmek Israel invested in Zestraco Investments Ltd
   (“Zestraco”), a Cypriot resident company. Zestraco was the owner of 100% of the share capital
   of Sizmek d.o.o. Beograd (“Sizmek DOO”), a Serbian resident company. Both Cyprus and
   Serbia do not have DTTs with Israel. The above-mentioned structure was acquired from the
   founder of Sizmek DOO.

8. Transfer Pricing (“TP”) –
   8.1. Currently, Sizmek Israel works under the following TP studies:
       8.1.1. TP studies for the year 2016 for USA and Europe which have been implemented by
              Sizmek Israel in transactions with related parties in the aforementioned countries.
       8.1.2. TP studies for the year 2014 for immaterial countries such as: Japan, China, and
              certain countries in South America. Such studies were implemented by Sizmek
              Israel in transactions with related parties in the aforementioned countries.
   8.2. In September 2017, Sizmek Group acquired Rocket Fuel Inc. However, Sizmek Israel did
        not update the TP study following the acquisition, and all TP calculations in this respect
        were based on existing TP studies and internal discussions.


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9. Chief Science Officer Approvals (“CSO”) – Sizmek Israel received the following approvals
   from the CSO:
   9.1. Sizmek Israel received in previous years (the last year is 2015) annual approvals from the
        CSO to deduct research and development expenses in a single tax year instead of
        deducting it over a three-year period under section 20 A (a)(1)(a) to the Israeli Tax
        Ordinance, (New Version), 1961.
   9.2. Sizmek Israel received in previous years (the last year is 2016) annual approvals from the
        CSO regarding reduction of base turnover in accordance to the Law for the
        Encouragement of Capital Investments Regulations (Reduction of Base Turnover), 2007.

10. Reportable Tax Positions – Sizmek Israel makes payments to third parties, which are wired
    through a foreign bank account (ITA Reportable Tax Position 25/2016). However, this position
    does not apply to Sizmek Israel as this position does not exceed the threshold stated under the
    law. Furthermore, the company has a ”Special Company” approval and reviews each payment
    to third parties in order to examine whether it has to withhold taxes according to the relevant
    tax treaty or ITA instruction.




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                            Schedule 6.12 – Compliance with Law

See items A and B set forth in Schedule 6.11.




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                              Schedule 6.13 – Material Contracts

See all items set forth in Schedule 2.1(b) and Schedule 2.2(e).




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                     Schedule 6.14(c) – Intellectual Property – Contracts

See all reseller agreements set forth in Schedule 2.1(b).

See all software contracts set forth in Schedule 2.1(b).




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                   Schedule 6.14(d) – Intellectual Property – Registrations

See all items set forth in Schedule 2.1(d).




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                Schedule 6.14(i) – Intellectual Property – Open Source Materials

See attached.




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                                                                                                                                                                                                                                                                                                                                                          Executable
   Names of                                                                                                                                                License Name and
                                                                                                                                                                                                                                                                                                                                                          distributed
   Company                                                                                                                                                      Version
                                                                                                                                                                                                                                                                                                                            How is Package Used          externally by                               Source code
                                                                                                                                                                                                                                                                                                                         (please list even if not part Company (e.g., How Integrated or Modified by mods released
    Software        Package Name (please list even if not part of      Package                                                                                (See sample              URL of License in the package’s web documentation, site, or git repo (if no URL
                                                                                                      URL of Package Download Site                                                                                                                                            Brief Description of What the Package Does    of the upload for the         via device,        Linked?    Company? externally by
  Repositories                third-party code scan)                   Version                                                                                identifiers at                            available, insert license text on separate tab)
                                                                                                                                                                                                                                                                                                                                 CodeScan)?               download,                                   Company?
Containing/Using                                                                                                                                          https://spdx.org/lice
                                                                                                                                                                                                                                                                                                                                                       externally facing
  the Package                                                                                                                                                    nses/ )
                                                                                                                                                                                                                                                                                                                                                           JS, etc.)?
                                                                                                                                                                                                                                                                                                                                                                  (use dropdowns)
SAS                br.com.starcode.parccser:parccser                   1.1.2-        https://mvnrepository.com/artifact/br.com.starcode.parccser/parccser MIT                     https://github.com/utluiz/parCSSer/blob/master/LICENSE                                      A CSS Selector Parser for Java             Server-Side                   No                Dynamic Link   No          No
                                                                                     https://mvnrepository.com/artifact/ch.qos.logback/logback-             EPL-1.0, LGPL-2.1-
SAS                ch.qos.logback:logback-access                       1.1.2         access/1.1.2                                                           Only                  https://logback.qos.ch/license.html                                                         Logging                                            Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/ch.qos.logback/logback-             EPL-1.0, LGPL-2.1-
SAS                ch.qos.logback:logback-classic                      1.0.13        classic/1.0.13                                                         Only                  https://logback.qos.ch/license.html                                                         Logging                                            Server-Side      No               Dynamic Link       No          No
                                                                                                                                                            EPL-1.0, LGPL-2.1-
SAS                ch.qos.logback:logback-core                         1.1.2         https://mvnrepository.com/artifact/ch.qos.logback/logback-core/1.1.2 Only                    https://logback.qos.ch/license.html                                                         Logging                                            Server-Side      No               Dynamic Link       No          No
SAS                com.amazonaws:aws-java-sdk-api-gateway              1.11.65       https://mvnrepository.com/artifact/com.amazonaws/aws-java-sdk-api- Apache-2.0                https://aws.amazon.com/apache2.0                                                            AWS SDK                                            Server-Side      No               Dynamic Link       No          No
SAS                com.amazonaws:aws-java-sdk-s3                       1.11.65       https://mvnrepository.com/artifact/com.amazonaws/aws-java-sdk-         Apache-2.0            https://aws.amazon.com/apache2.0                                                            AWS SDK / S3                                       Server-Side      No               Dynamic Link       No          No
SAS                com.amazonaws:aws-java-sdk-ses                      1.11.65       https://mvnrepository.com/artifact/com.amazonaws/aws-java-sdk-         Apache-2.0            https://aws.amazon.com/apache2.0                                                            AWS SDK / SES                                      Server-Side      No               Dynamic Link       No          No
SAS                com.amazonaws:aws-java-sdk-sns                      1.11.65       https://mvnrepository.com/artifact/com.amazonaws/aws-java-sdk-         Apache-2.0            https://aws.amazon.com/apache2.0                                                            AWS SDK / SNS                                      Server-Side      No               Dynamic Link       No          No
SAS                com.amazonaws:aws-java-sdk-sqs                      1.11.65       https://mvnrepository.com/artifact/com.amazonaws/aws-java-sdk-         Apache-2.0            https://aws.amazon.com/apache2.0                                                            AWS SDK / SQS                                      Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.brightcove.zencoder.api/zenco                                                                                                                     Java library for interacting with the Zencoder
SAS                com.brightcove.zencoder.api:zencoder-java           2.0.15        der-java/2.0.15                                                        Apache-2.0            https://github.com/zencoder/zencoder-java/blob/master/LICENSE                               API.                                               Server-Side      No               Dynamic Link       No          No
SAS                com.coralogix.sdk:logback-appender                  2.0.2         https://mvnrepository.com/artifact/com.coralogix.sdk/logback-          Apache-2.0                                                                                                        Log appender for integration with Coralogix        Server-Side      No               Dynamic Link       No          No
SAS                com.couchbase.client:core-io                        1.1.2         https://mvnrepository.com/artifact/com.couchbase.client/core-io/1.1.2 Apache-2.0             https://github.com/couchbase/couchbase-jvm-core/blob/master/LICENSE                         The JVM core for Couchbase SDKs                    Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.couchbase.client/couchbase-                                                                                                                       The official Couchbase Java SDK
SAS                com.couchbase.client:couchbase-client               1.3.2         client/1.3.2                                                           Apache-2.0            https://github.com/couchbase/couchbase-jvm-core/blob/master/LICENSE                                                                            Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.couchbase.client/couchbase-                                                                                                                       The official Couchbase Java SDK
SAS                com.couchbase.client:couchbase-client               1.4.11        client/1.4.11                                                          Apache-2.0            https://github.com/couchbase/couchbase-jvm-core/blob/master/LICENSE                                                                            Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.couchbase.client/java-                                                                                                                            The official Java client for Couchbase Server
SAS                com.couchbase.client:java-client                    2.1.0         client/2.1.0                                                           Apache-2.0            https://github.com/couchbase/couchbase-java-client/blob/master/LICENSE                                                                         Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.couchbase.client/java-                                                                                                                            The official Java client for Couchbase Server
SAS                com.couchbase.client:java-client                    2.2.1         client/2.2.1                                                           Apache-2.0            https://github.com/couchbase/couchbase-java-client/blob/master/LICENSE                                                                         Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.couchbase.client/java-                                                                                                                            The official Java client for Couchbase Server
SAS                com.couchbase.client:java-client                    2.3.1         client/2.3.1                                                           Apache-2.0            https://github.com/couchbase/couchbase-java-client/blob/master/LICENSE                                                                         Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.dyuproject.protostuff/protostuf                                                                                                                   Java serialization library, proto compiler, code
SAS                com.dyuproject.protostuff:protostuff-api            1.0.8         f-api/1.0.8                                                            Apache-2.0            https://github.com/protostuff/protostuff/blob/master/LICENSE.txt                            generator                                          Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.dyuproject.protostuff/protostuf                                                                                                                   Java serialization library, proto compiler, code
SAS                com.dyuproject.protostuff:protostuff-core           1.0.8         f-core/1.0.8                                                           Apache-2.0            https://github.com/protostuff/protostuff/blob/master/LICENSE.txt                            generator                                          Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.dyuproject.protostuff/protostuf                                                                                                                   Java serialization library, proto compiler, code
SAS                com.dyuproject.protostuff:protostuff-json           1.0.8         f-json/1.0.8                                                           Apache-2.0            https://github.com/protostuff/protostuff/blob/master/LICENSE.txt                            generator                                          Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.dyuproject.protostuff/protostuf                                                                                                                   Java serialization library, proto compiler, code
SAS                com.dyuproject.protostuff:protostuff-runtime        1.0.8         f-runtime/1.0.8                                                        Apache-2.0            https://github.com/protostuff/protostuff/blob/master/LICENSE.txt                            generator                                          Server-Side      No               Dynamic Link       No          No
SAS                com.ecwid.consul:consul-api                         1.1.7         https://mvnrepository.com/artifact/com.ecwid.consul/consul-api/1.1.7 Apache-2.0              https://github.com/Ecwid/consul-api/blob/master/LICENSE                                     Java client for Consul HTTP API                    Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.fasterxml.jackson.core/jackso                         https://github.com/FasterXML/jackson-annotations/blob/master/src/main/resources/META-
SAS                com.fasterxml.jackson.core:jackson-annotations      2.4.2         n-annotations/2.4.2                                                    Apache-2.0            INF/LICENSE                                                                                 Annotations for Jackson (JSON library)             Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.fasterxml.jackson.core/jackso                         https://github.com/FasterXML/jackson-annotations/blob/master/src/main/resources/META-
SAS                com.fasterxml.jackson.core:jackson-annotations      2.8.6         n-annotations/2.8.6                                                    Apache-2.0            INF/LICENSE                                                                                 Annotations for Jackson (JSON library)             Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.fasterxml.jackson.core/jackso                         https://github.com/FasterXML/jackson-annotations/blob/master/src/main/resources/META-
SAS                com.fasterxml.jackson.core:jackson-annotations      2.9.7         n-annotations/2.9.7                                                    Apache-2.0            INF/LICENSE                                                                                 Annotations for Jackson (JSON library)             Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.fasterxml.jackson.core/jackso                         https://github.com/FasterXML/jackson-core/blob/master/src/main/resources/META-
SAS                com.fasterxml.jackson.core:jackson-core             2.4.2         n-core/2.4.2                                                           Apache-2.0            INF/LICENSE                                                                                 Core of Jackson (JSON library)                     Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.fasterxml.jackson.core/jackso                         https://github.com/FasterXML/jackson-core/blob/master/src/main/resources/META-
SAS                com.fasterxml.jackson.core:jackson-core             2.8.6         n-core/2.8.6                                                           Apache-2.0            INF/LICENSE                                                                                 Core of Jackson (JSON library)                     Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.fasterxml.jackson.core/jackso                         https://github.com/FasterXML/jackson-core/blob/master/src/main/resources/META-
SAS                com.fasterxml.jackson.core:jackson-core             2.9.7         n-core/2.9.7                                                           Apache-2.0            INF/LICENSE                                                                                 Core of Jackson (JSON library)                     Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.fasterxml.jackson.core/jackso                         https://github.com/FasterXML/jackson-databind/blob/master/src/main/resources/META-
SAS                com.fasterxml.jackson.core:jackson-databind         2.4.2         n-databind/2.4.2                                                       Apache-2.0            INF/LICENSE                                                                                 Data bindings for Jackson (JSON library)           Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.fasterxml.jackson.core/jackso                         https://github.com/FasterXML/jackson-databind/blob/master/src/main/resources/META-
SAS                com.fasterxml.jackson.core:jackson-databind         2.8.6         n-databind/2.8.6                                                       Apache-2.0            INF/LICENSE                                                                                 Data bindings for Jackson (JSON library)           Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.fasterxml.jackson.core/jackso                         https://github.com/FasterXML/jackson-databind/blob/master/src/main/resources/META-
SAS                com.fasterxml.jackson.core:jackson-databind         2.9.7         n-databind/2.9.7                                                       Apache-2.0            INF/LICENSE                                                                                 Data bindings for Jackson (JSON library)           Server-Side      No               Dynamic Link       No          No
                   com.fasterxml.jackson.datatype:jackson-datatype-                  https://mvnrepository.com/artifact/com.fasterxml.jackson.datatype/jac                        https://github.com/FasterXML/jackson-datatype-guava/blob/master/src/main/resources/META-    Jackson module to recognize collections from
SAS                guava                                               2.8.6         kson-datatype-guava/2.8.6                                              Apache-2.0            INF/LICENSE                                                                                 Guava                                              Server-Side      No               Dynamic Link       No          No
                   com.fasterxml.jackson.datatype:jackson-datatype-                  https://mvnrepository.com/artifact/com.fasterxml.jackson.datatype/jac                        https://github.com/FasterXML/jackson-datatype-jsr310/blob/master/src/main/resources/META-   Jackson module to recognize Java 8 Date and
SAS                jsr310                                              2.9.7         kson-datatype-jsr310/2.9.7                                             Apache-2.0            INF/LICENSE                                                                                 Time types                                         Server-Side      No               Dynamic Link       No          No
                   com.fasterxml.jackson.jaxrs:jackson-jaxrs-json-                   https://mvnrepository.com/artifact/com.fasterxml.jackson.jaxrs/jackso                        https://github.com/FasterXML/jackson-jaxrs-
SAS                provider                                            2.3.2         n-jaxrs-json-provider/2.3.2                                            Apache-2.0            providers/blob/master/json/src/main/resources/META-INF/LICENSE                              JAX-RS provider of JSON format                     Server-Side      No               Dynamic Link       No          No
                   com.fasterxml.jackson.jaxrs:jackson-jaxrs-json-                   https://mvnrepository.com/artifact/com.fasterxml.jackson.jaxrs/jackso                        https://github.com/FasterXML/jackson-jaxrs-
SAS                provider                                            2.4.2         n-jaxrs-json-provider/2.4.2                                            Apache-2.0            providers/blob/master/json/src/main/resources/META-INF/LICENSE                              JAX-RS provider of JSON format                     Server-Side      No               Dynamic Link       No          No
                   com.fasterxml.jackson.jaxrs:jackson-jaxrs-json-                   https://mvnrepository.com/artifact/com.fasterxml.jackson.jaxrs/jackso                        https://github.com/FasterXML/jackson-jaxrs-
SAS                provider                                            2.8.6         n-jaxrs-json-provider/2.8.6                                            Apache-2.0            providers/blob/master/json/src/main/resources/META-INF/LICENSE                              JAX-RS provider of JSON format                     Server-Side      No               Dynamic Link       No          No
SAS                com.github.ben-manes.caffeine:caffeine              2.6.2         https://mvnrepository.com/artifact/com.github.ben-                     Apache-2.0            https://github.com/ben-manes/caffeine/blob/master/LICENSE                                   A high performance caching library                 Server-Side      No               Dynamic Link       No          No
                                                                                                                                                                                                                                                                              ll extension to Google's Guava library to allow
                                                                                     https://mvnrepository.com/artifact/com.github.rholder/guava-                                                                                                                             for the creation of configurable retrying
SAS                com.github.rholder:guava-retrying                   1.0.7         retrying/1.0.7                                                         Apache-2.0            https://github.com/rholder/guava-retrying/blob/master/LICENSE                               strategies for an arbitrary function call          Server-Side      No               Dynamic Link       No          No
SAS                com.google.api-ads:adwords-axis                     4.3.0         https://mvnrepository.com/artifact/com.google.api-ads/adwords-         Apache-2.0            https://github.com/googleads/googleads-java-lib/blob/master/LICENSE                         Google Ads APIs Client Library for Java            Server-Side      No               Dynamic Link       No          No
SAS                com.google.cloud:google-cloud-storage               1.57.0        https://mvnrepository.com/artifact/com.google.cloud/google-cloud-      Apache-2.0            https://github.com/googleapis/google-cloud-java/blob/master/LICENSE                         Google Cloud Java Client for Storage               Server-Side      No               Dynamic Link       No          No
SAS                com.google.code.gson:gson                           2.2.4         https://mvnrepository.com/artifact/com.google.code.gson/gson/2.2.4 Apache-2.0                https://github.com/google/gson/blob/master/LICENSE                                          Java serialization/deserialization library         Server-Side      No               Dynamic Link       No          No
SAS                com.google.code.gson:gson                           2.3.1         https://mvnrepository.com/artifact/com.google.code.gson/gson/2.3.1 Apache-2.0                https://github.com/google/gson/blob/master/LICENSE                                          Java serialization/deserialization library         Server-Side      No               Dynamic Link       No          No
SAS                com.google.code.gson:gson                           2.8.2         https://mvnrepository.com/artifact/com.google.code.gson/gson/2.8.2 Apache-2.0                https://github.com/google/gson/blob/master/LICENSE                                          Java serialization/deserialization library         Server-Side      No               Dynamic Link       No          No
SAS                com.google.guava:guava                              15            https://mvnrepository.com/artifact/com.google.guava/guava/15           Apache-2.0            https://github.com/google/guava/blob/master/COPYING                                         Google core libraries for Java                     Server-Side      No               Dynamic Link       No          No
SAS                com.google.guava:guava                              20            https://mvnrepository.com/artifact/com.google.guava/guava/20           Apache-2.0            https://github.com/google/guava/blob/master/COPYING                                         Google core libraries for Java                     Server-Side      No               Dynamic Link       No          No
SAS                com.google.guava:guava                              27.0.1-jre    https://mvnrepository.com/artifact/com.google.guava/guava/27.0.1-jre Apache-2.0              https://github.com/google/guava/blob/master/COPYING                                         Google core libraries for Java                     Server-Side      No               Dynamic Link       No          No
SAS                com.google.inject.extensions:guice-assistedinject   4.2.0         https://mvnrepository.com/artifact/com.google.inject.extensions/guice- Apache-2.0            https://github.com/google/guice/blob/master/COPYING                                         Guice extension to inject multiple constructorss   Server-Side      No               Dynamic Link       No          No
SAS                com.google.inject.extensions:guice-multibindings    4             https://mvnrepository.com/artifact/com.google.inject.extensions/guice- Apache-2.0            https://github.com/google/guice/blob/master/COPYING                                         Guice extension                                    Server-Side      No               Dynamic Link       No          No
SAS                com.google.inject:guice                             4.2.0         https://mvnrepository.com/artifact/com.google.inject/guice/4.2.0       Apache-2.0            https://github.com/google/guice/blob/master/COPYING                                         DI framework                                       Server-Side      No               Dynamic Link       No          No
SAS                com.google.protobuf:protobuf-java                   2.5.0         https://mvnrepository.com/artifact/com.google.protobuf/protobuf-                             https://github.com/protocolbuffers/protobuf/blob/master/LICENSE                             protobuf java bindings                             Server-Side      No               Dynamic Link       No          No
SAS                com.googlecode.json-simple:json-simple              1.1.1         https://mvnrepository.com/artifact/com.googlecode.json-simple/json- Apache-2.0               https://github.com/fangyidong/json-simple/blob/master/LICENSE.txt                           Java toolkit for JSON                              Server-Side      No               Dynamic Link       No          No
SAS                com.itextpdf:itextpdf                               5.0.6         https://mvnrepository.com/artifact/com.itextpdf/itextpdf/5.0.6         AGPL-3.0-only         https://github.com/itext/itextpdf/blob/develop/LICENSE.md                                   PDF editing library                                Server-Side      No               Dynamic Link       No          No
SAS                com.jayway.jsonpath:json-path                       2.2.0         https://mvnrepository.com/artifact/com.jayway.jsonpath/json-           Apache-2.0            https://github.com/json-path/JsonPath/blob/master/LICENSE                                   A Java DSL for reading JSON documents.             Server-Side      No               Dynamic Link       No          No
SAS                com.microsoft.bingads:microsoft.bingads             12.0.3        https://mvnrepository.com/artifact/com.microsoft.bingads/microsoft.bi MIT                    https://github.com/BingAds/BingAds-Java-SDK/blob/master/LICENSE                             Bing Ads Java SDK                                  Server-Side      No               Dynamic Link       No          No
SAS                com.netflix.archaius:archaius-core                  0.5.12        https://mvnrepository.com/artifact/com.netflix.archaius/archaius-      Apache-2.0            https://github.com/Netflix/archaius/blob/master/LICENSE                                     configuration management API                       Server-Side      No               Dynamic Link       No          No
SAS                com.netflix.archaius:archaius-zookeeper             0.5.12        https://mvnrepository.com/artifact/com.netflix.archaius/archaius-      Apache-2.0            https://github.com/Netflix/archaius/blob/master/LICENSE                                     configuration management API                       Server-Side      No               Dynamic Link       No          No
SAS                com.netflix.archaius:archaius-zookeeper             0.6.0         https://mvnrepository.com/artifact/com.netflix.archaius/archaius-      Apache-2.0            https://github.com/Netflix/archaius/blob/master/LICENSE                                     com.netflix.hystrix:hystrix-core                   Server-Side      No               Dynamic Link       No          No
                                                                                     https://mvnrepository.com/artifact/com.netflix.hystrix/hystrix-                                                                                                                          Latency and Fault Tolerance for Distributed
SAS                com.netflix.hystrix:hystrix-core                    1.3.8         core/1.3.8                                                             Apache-2.0            https://github.com/Netflix/Hystrix/blob/master/LICENSE-2.0.txt                              Systems                                            Server-Side      No               Dynamic Link       No          No
SAS                com.netflix.servo:servo-core                        0.12.2        https://mvnrepository.com/artifact/com.netflix.servo/servo-core/0.12.2 Apache-2.0            https://github.com/Netflix/servo/blob/master/LICENSE.txt                                    Application Metrics in Java                        Server-Side      No               Dynamic Link       No          No
SAS                com.netflix.servo:servo-graphite                    0.12.2        https://mvnrepository.com/artifact/com.netflix.servo/servo-            Apache-2.0            https://github.com/Netflix/servo/blob/master/LICENSE.txt                                    Application Metrics in Java                        Server-Side      No               Dynamic Link       No          No
                                                             19-10971-dsj                                      Doc 210                          Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                           Main Document
                                                                                                                                                           Pg 208 of 325
SAS   com.nimbusds:nimbus-jose-jwt                 2.10.1         https://mvnrepository.com/artifact/com.nimbusds/nimbus-jose-            Apache-2.0            https://github.com/gesellix/Nimbus-JOSE-JWT/blob/master/LICENSE.txt                 serializing of JOSE and JWT objects               Server-Side     No   Dynamic Link   No   No
SAS   com.ning:async-http-client                   1.9.36         https://mvnrepository.com/artifact/com.ning/async-http-client/1.9.36    Apache-2.0            https://github.com/AsyncHttpClient/async-http-client/blob/master/LICENSE.txt        Asynchronous Http Client for Java                 Server-Side     No   Dynamic Link   No   No
SAS   com.opencsv:opencsv                          3.3            https://mvnrepository.com/artifact/com.opencsv/opencsv/3.3              Apache-2.0            http://opencsv.sourceforge.net/licenses.html                                        CSV helper library                                Server-Side     No   Dynamic Link   No   No
SAS   com.opencsv:opencsv                          4.5            https://mvnrepository.com/artifact/com.opencsv/opencsv/4.5              Apache-2.0            http://opencsv.sourceforge.net/licenses.html                                        CSV helper library                                Server-Side     No   Dynamic Link   No   No
SAS   com.orbitz.consul:consul-client              0.17.1         https://mvnrepository.com/artifact/com.orbitz.consul/consul-            Apache-2.0            https://github.com/rickfast/consul-client/blob/master/LICENSE                       Consul java client                                Server-Side     No   Dynamic Link   No   No
                                                                                                                                          Apache-2.0, GPL-
SAS   com.rabbitmq:amqp-client                     3.3.0          https://mvnrepository.com/artifact/com.rabbitmq/amqp-client/3.3.0       2.0, MPL-1.1          https://github.com/rabbitmq/rabbitmq-java-client/blob/master/LICENSE                RabbitMQ client                                   Server-Side     No   Dynamic Link   No   No
                                                                                                                                          Apache-2.0, GPL-
SAS   com.rabbitmq:amqp-client                     5.2.0          https://mvnrepository.com/artifact/com.rabbitmq/amqp-client/5.2.0       2.0, MPL-1.1          https://github.com/rabbitmq/rabbitmq-java-client/blob/master/LICENSE                RabbitMQ client                                     Server-Side   No   Dynamic Link   No   No
SAS   com.spotify:completable-futures              0.3.1          https://mvnrepository.com/artifact/com.spotify/completable-             Apache-2.0            https://github.com/spotify/completable-futures/blob/master/LICENSE                  tools for completable futures                       Server-Side   No   Dynamic Link   No   No
SAS   com.sun.jersey:jersey-client                 1.19           https://mvnrepository.com/artifact/com.sun.jersey/jersey-client/1.19    CDDL-1.1              https://github.com/jersey/jersey-1.x/blob/master/legal/LICENSE.txt                  HTTP Client                                         Server-Side   No   Dynamic Link   No   No
SAS   com.timgroup:java-statsd-client              3.1.0          https://mvnrepository.com/artifact/com.timgroup/java-statsd-                                  https://github.com/tim-group/java-statsd-client/blob/master/LICENSE                 a java statsd client library                        Server-Side   No   Dynamic Link   No   No
                                                                  https://mvnrepository.com/artifact/com.typesafe.akka/akka-                                                                                                                        At the core of Akka: A model for concurrency
SAS   com.typesafe.akka:akka-actor_2.11            2.3.8          actor_2.11/2.3.8                                                        Apache-2.0            https://github.com/akka/akka/blob/v2.3.8/LICENSE                                    and distribution                                    Server-Side   No   Dynamic Link   No   No
                                                                  https://mvnrepository.com/artifact/com.typesafe.akka/akka-                                                                                                                        Achieve resilience and elasticity by distributing
SAS   com.typesafe.akka:akka-cluster_2.11          2.3.8          cluster_2.11/2.3.8                                                      Apache-2.0            https://github.com/akka/akka/blob/v2.3.8/LICENSE                                    your system over multiple nodes.                    Server-Side   No   Dynamic Link   No   No
SAS   com.typesafe.akka:akka-testkit_2.11          2.3.8          https://mvnrepository.com/artifact/com.typesafe.akka/akka-              Apache-2.0            https://github.com/akka/akka/blob/v2.3.8/LICENSE                                    Utilities to test Akka Actors                       Server-Side   No   Dynamic Link   No   No
                                                                  https://mvnrepository.com/artifact/com.wordnik/swagger-jersey2-                                                                                                                   Java implementation of the OpenAPI
SAS   com.wordnik:swagger-jersey2-jaxrs_2.10       1.3.9          jaxrs_2.10/1.3.9                                                        Apache-2.0            https://github.com/swagger-api/swagger-core/blob/v1.3.9/LICENSE                     Specification.                                      Server-Side   No   Dynamic Link   No   No
                                                                  https://mvnrepository.com/artifact/commons-beanutils/commons-                                                                                                                     provides an easy-to-use but flexible wrapper
SAS   commons-beanutils:commons-beanutils          1.8.3          beanutils/1.8.3                                                         Apache-2.0            https://github.com/apache/commons-beanutils/blob/master/LICENSE.txt                 around reflection and introspection.                Server-Side   No   Dynamic Link   No   No
                                                                  https://mvnrepository.com/artifact/commons-collections/commons-                                                                                                                   package contains types that extend and
SAS   commons-collections:commons-collections      3.2.2          collections/3.2.2                                                       Apache-2.0            https://github.com/apache/commons-collections/blob/master/LICENSE.txt               augment the Java Collections Framework              Server-Side   No   Dynamic Link   No   No
                                                                  https://mvnrepository.com/artifact/commons-fileupload/commons-                                                                                                                    support for multipart file upload functionality to
SAS   commons-fileupload:commons-fileupload        1.2            fileupload/1.2                                                          Apache-2.0            https://github.com/apache/commons-fileupload/blob/master/LICENSE.txt                servlets and web applications                       Server-Side   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                    Commons IO is a library of utilities to assist with
SAS   commons-io:commons-io                        2.4            https://mvnrepository.com/artifact/commons-io/commons-io/2.4            Apache-2.0            https://github.com/apache/commons-io/blob/master/LICENSE.txt                        developing IO functionality.                        Server-Side   No   Dynamic Link   No   No
                                                                  https://mvnrepository.com/artifact/commons-lang/commons-                                                                                                                          package of Java utility classes for the classes
SAS   commons-lang:commons-lang                    2.4.1          lang/2.4.1                                                              Apache-2.0            https://github.com/apache/commons-lang/blob/master/LICENSE.txt                      that are in java.lang's hierarchy                   Server-Side   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                    package of Java utility classes for the classes
SAS   commons-lang:commons-lang                    2.6            https://mvnrepository.com/artifact/commons-lang/commons-lang/2.6 Apache-2.0                   https://github.com/apache/commons-lang/blob/master/LICENSE.txt                      that are in java.lang's hierarchy                   Server-Side   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                    library contains a collection of network utilities
SAS   commons-net:commons-net                      3.3            https://mvnrepository.com/artifact/commons-net/commons-net/3.3          Apache-2.0            https://github.com/apache/commons-net/blob/master/LICENSE.txt                       and protocol implementations                        Server-Side   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                    library contains a collection of network utilities
SAS   commons-net:commons-net                      3.6            https://mvnrepository.com/artifact/commons-net/commons-net/3.6          Apache-2.0            https://github.com/apache/commons-net/blob/master/LICENSE.txt                       and protocol implementations                        Server-Side   No   Dynamic Link   No   No
                                                                  https://mvnrepository.com/artifact/commons-validator/commons-                                                                                                                     provides the building blocks for both client side
SAS   commons-validator:commons-validator          1.4.0          validator/1.4.0                                                         Apache-2.0            https://github.com/apache/commons-validator/blob/master/LICENSE.txt                 validation and server side data validation          Server-Side   No   Dynamic Link   No   No
                                                                  https://mvnrepository.com/artifact/commons-validator/commons-                                                                                                                     provides the building blocks for both client side
SAS   commons-validator:commons-validator          1.5.1          validator/1.5.1                                                         Apache-2.0            https://github.com/apache/commons-validator/blob/master/LICENSE.txt                 validation and server side data validation          Server-Side   No   Dynamic Link   No   No
SAS   io.dropwizard.metrics:metrics-core           3.1.2          https://mvnrepository.com/artifact/io.dropwizard.metrics/metrics-       Apache-2.0            https://github.com/dropwizard/metrics/blob/4.1-development/LICENSE                  Capturing JVM- and application-level metrics. Server-Side         No   Dynamic Link   No   No
                                                                  https://mvnrepository.com/artifact/io.micrometer/micrometer-registry-                                                                                                             instrumentation library underpinning Spring
SAS   io.micrometer:micrometer-registry-graphite   1.1.1          graphite/1.1.1                                                          Apache-2.0            https://github.com/micrometer-metrics/micrometer/blob/master/LICENSE                Boot 2.0's metrics collection                       Server-Side   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                    a library for composing asynchronous and event-
                                                                                                                                                                                                                                                    based programs by using observable
SAS   io.reactivex:rxjava                          1.0.12         https://mvnrepository.com/artifact/io.reactivex/rxjava/1.0.12           Apache-2.0            https://github.com/ReactiveX/RxJava/blob/2.x/LICENSE                                sequences                                           Server-Side   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                    a library for composing asynchronous and event-
                                                                                                                                                                                                                                                    based programs by using observable
SAS   io.reactivex:rxjava                          1.0.14         https://mvnrepository.com/artifact/io.reactivex/rxjava/1.0.14            Apache-2.0           https://github.com/ReactiveX/RxJava/blob/2.x/LICENSE                                sequences                                           Server-Side   No   Dynamic Link   No   No
SAS   io.undertow:undertow-core                    2.0.15.Final   https://mvnrepository.com/artifact/io.undertow/undertow-                 Apache-2.0           https://github.com/undertow-io/undertow/blob/master/LICENSE.txt                     Java web server based on non-blocking IO            Server-Side   No   Dynamic Link   No   No
SAS   io.undertow:undertow-servlet                 2.0.15.Final   https://mvnrepository.com/artifact/io.undertow/undertow-                 Apache-2.0           https://github.com/undertow-io/undertow/blob/master/LICENSE.txt                     Java web server based on non-blocking IO            Server-Side   No   Dynamic Link   No   No
SAS   io.undertow:undertow-websockets-jsr          2.0.15.Final   https://mvnrepository.com/artifact/io.undertow/undertow-websockets- Apache-2.0                https://github.com/undertow-io/undertow/blob/master/LICENSE.txt                     Java web server based on non-blocking IO            Server-Side   No   Dynamic Link   No   No
                                                                                                                                           CDDL-1.1, GPL-2.0-
                                                                                                                                           with-classpath-
SAS   javax.servlet:javax.servlet-api              3.1.0          https://mvnrepository.com/artifact/javax.servlet/javax.servlet-api/3.1.0 exception            https://oss.oracle.com/licenses/CDDL+GPL-1.1                                        Java Servlet API                                  Server-Side     No   Dynamic Link   No   No
                                                                  https://mvnrepository.com/artifact/javax.validation/validation-                                                                                                                   Bean Validation defines a metadata model and
SAS   javax.validation:validation-api              1.1.0.Final    api/1.1.0.Final                                                          Apache-2.0           https://beanvalidation.org/licensing/                                               API for JavaBean validation                       Server-Side     No   Dynamic Link   No   No
SAS   javax.ws.rs:javax.ws.rs-api                  2              https://mvnrepository.com/artifact/javax.ws.rs/javax.ws.rs-api/2         CDDL-1.1             https://github.com/jax-rs/api/blob/master/LICENSE.txt                               Java API for RESTful Web Services                 Server-Side     No   Dynamic Link   No   No
SAS   javax.ws.rs:javax.ws.rs-api                  2.0.1          https://mvnrepository.com/artifact/javax.ws.rs/javax.ws.rs-api/2.0.1     CDDL-1.1             https://github.com/jax-rs/api/blob/master/LICENSE.txt                               Java API for RESTful Web Services                 Server-Side     No   Dynamic Link   No   No
SAS   jline:jline                                  0.9.94         https://mvnrepository.com/artifact/jline/jline/0.9.94                    BSD-3-Clause         https://github.com/jline/jline3/blob/master/LICENSE.txt                             Java library for handling console input           Server-Side     No   Dynamic Link   No   No
SAS   joda-time:joda-time                          2.2            https://mvnrepository.com/artifact/joda-time/joda-time/2.2               Apache-2.0           https://github.com/JodaOrg/joda-time/blob/master/LICENSE.txt                        DateTime utilities                                Server-Side     No   Dynamic Link   No   No
SAS   joda-time:joda-time                          2.3            https://mvnrepository.com/artifact/joda-time/joda-time/2.3               Apache-2.0           https://github.com/JodaOrg/joda-time/blob/master/LICENSE.txt                        DateTime utilities                                Server-Side     No   Dynamic Link   No   No
SAS   joda-time:joda-time                          2.6            https://mvnrepository.com/artifact/joda-time/joda-time/2.6               Apache-2.0           https://github.com/JodaOrg/joda-time/blob/master/LICENSE.txt                        DateTime utilities                                Server-Side     No   Dynamic Link   No   No
SAS   log4j:log4j                                  1.2.16         https://mvnrepository.com/artifact/log4j/log4j/1.2.16                    Apache-2.0           https://github.com/apache/log4j/blob/trunk/LICENSE                                  Java lib for logging                              Server-Side     No   Dynamic Link   No   No

                                                                                                                                                                                                                                                    Java Bean mapping framework that recursively
SAS   ma.glasnost.orika:orika-core                 1.4.4          https://mvnrepository.com/artifact/ma.glasnost.orika/orika-core/1.4.4   Apache-2.0            https://github.com/orika-mapper/orika/blob/master/LICENSE                           copies data from one object to another              Server-Side   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                    A simple library for reading and writing CSV in
SAS   net.sf.opencsv:opencsv                       2              https://mvnrepository.com/artifact/net.sf.opencsv/opencsv/2             Apache-2.0            http://opencsv.sourceforge.net/licenses.html                                        Java                                                Server-Side   No   Dynamic Link   No   No
SAS   net.sf.saxon:Saxon-HE                        9.5.1-5        https://mvnrepository.com/artifact/net.sf.saxon/Saxon-HE/9.5.1-5        MPL-2.0               http://saxon.sourceforge.net/                                                       The XSLT and XQuery Processor                       Server-Side   No   Dynamic Link   No   No
SAS   one.util:streamex                            0.6.7          https://mvnrepository.com/artifact/one.util/streamex/0.6.7              Apache-2.0            https://github.com/amaembo/streamex/blob/master/LICENSE                             Enhancing Java 8 Streams                            Server-Side   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                    Java Bean Validation specification for Java EE
SAS   org.apache.bval:bval-jsr303                  0.5            https://mvnrepository.com/artifact/org.apache.bval/bval-jsr303/0.5      Apache-2.0            https://github.com/apache/bval/blob/master/LICENSE                                  and Java SE                                         Server-Side   No   Dynamic Link   No   No
                                                                  https://mvnrepository.com/artifact/org.apache.commons/commons-                                                                                                                    defines an API for working with compression
SAS   org.apache.commons:commons-compress          1.8.1          compress/1.8.1                                                          Apache-2.0            https://github.com/apache/commons-compress/blob/master/LICENSE.txt                  and archive formats                                 Server-Side   No   Dynamic Link   No   No
SAS   org.apache.commons:commons-csv               1.4            https://mvnrepository.com/artifact/org.apache.commons/commons-          Apache-2.0            https://github.com/apache/commons-csv/blob/master/LICENSE.txt                       CSV helpers                                         Server-Side   No   Dynamic Link   No   No
SAS   org.apache.commons:commons-csv               1.6            https://mvnrepository.com/artifact/org.apache.commons/commons-          Apache-2.0            https://github.com/apache/commons-csv/blob/master/LICENSE.txt                       CSV helpers                                         Server-Side   No   Dynamic Link   No   No
SAS   org.apache.commons:commons-email             1.3.3          https://mvnrepository.com/artifact/org.apache.commons/commons-          Apache-2.0            https://github.com/apache/commons-email/blob/master/LICENSE.txt                     Email utilities                                     Server-Side   No   Dynamic Link   No   No
                                                                  https://mvnrepository.com/artifact/org.apache.commons/commons-                                                                                                                    Commons IO is a library of utilities to assist with
SAS   org.apache.commons:commons-io                1.3.2          io/1.3.2                                                                Apache-2.0            https://github.com/apache/commons-io/blob/master/LICENSE.txt                        developing IO functionality.                        Server-Side   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                    Apache Commons Lang, a package of Java
                                                                                                                                                                                                                                                    utility classes for the classes that are in
                                                                 https://mvnrepository.com/artifact/org.apache.commons/commons-                                                                                                                     java.lang's hierarchy, or are considered to be so
SAS   org.apache.commons:commons-lang3             3.3.2         lang3/3.3.2                                                            Apache-2.0              https://github.com/apache/commons-lang/blob/master/LICENSE.txt                      standard as to justify existence in java.lang.      Server-Side   No   Dynamic Link   No   No
SAS   org.apache.httpcomponents:httpasyncclient    4.0.2         https://mvnrepository.com/artifact/org.apache.httpcomponents/httpas Apache-2.0                 http://www.apache.org/licenses/LICENSE-2.0.html                                     HTTP client                                         Server-Side   No   Dynamic Link   No   No
SAS   org.apache.httpcomponents:httpclient         4.3.2         https://mvnrepository.com/artifact/org.apache.httpcomponents/httpcli Apache-2.0                http://www.apache.org/licenses/LICENSE-2.0.html                                     HTTP client                                         Server-Side   No   Dynamic Link   No   No
SAS   org.apache.httpcomponents:httpclient         4.3.5         https://mvnrepository.com/artifact/org.apache.httpcomponents/httpcli Apache-2.0                http://www.apache.org/licenses/LICENSE-2.0.html                                     HTTP client                                         Server-Side   No   Dynamic Link   No   No
SAS   org.apache.httpcomponents:httpcore           4.3           https://mvnrepository.com/artifact/org.apache.httpcomponents/httpco Apache-2.0                 http://www.apache.org/licenses/LICENSE-2.0.html                                     HTTP client                                         Server-Side   No   Dynamic Link   No   No
SAS   org.apache.httpcomponents:httpcore           4.3.2         https://mvnrepository.com/artifact/org.apache.httpcomponents/httpco Apache-2.0                 http://www.apache.org/licenses/LICENSE-2.0.html                                     HTTP client                                         Server-Side   No   Dynamic Link   No   No
SAS   org.apache.james:james-server-core-api       3.0-M2        https://mvnrepository.com/artifact/org.apache.james/james-server-      Apache-2.0              https://github.com/apache/james-project/blob/master/LICENSE                         API for Java Apache Mail Enterprise Server          Server-Side   No   Dynamic Link   No   No
SAS   org.apache.poi:poi-excelant                  3.12          https://mvnrepository.com/artifact/org.apache.poi/poi-excelant/3.12    Apache-2.0              https://svn.apache.org/repos/asf/poi/trunk/legal/LICENSE                            MSO formats support                                 Server-Side   No   Dynamic Link   No   No
SAS   org.apache.poi:poi-ooxml                     3.14          https://mvnrepository.com/artifact/org.apache.poi/poi-ooxml/3.14       Apache-2.0              https://svn.apache.org/repos/asf/poi/trunk/legal/LICENSE                            MSO formats support                                 Server-Side   No   Dynamic Link   No   No
SAS   org.apache.poi:poi                           3.14          https://mvnrepository.com/artifact/org.apache.poi/poi/3.14             Apache-2.0              https://svn.apache.org/repos/asf/poi/trunk/legal/LICENSE                            MSO formats support                                 Server-Side   No   Dynamic Link   No   No
SAS   org.apache.shiro:shiro-core                  1.2.2         https://mvnrepository.com/artifact/org.apache.shiro/shiro-core/1.2.2 Apache-2.0                https://github.com/apache/shiro/blob/master/LICENSE                                 Security framework                                  Server-Side   No   Dynamic Link   No   No
SAS   org.apache.shiro:shiro-guice                 1.2.2         https://mvnrepository.com/artifact/org.apache.shiro/shiro-guice/1.2.2 Apache-2.0               https://github.com/apache/shiro/blob/master/LICENSE                                 Security framework                                  Server-Side   No   Dynamic Link   No   No
SAS   org.apache.shiro:shiro-web                   1.2.2         https://mvnrepository.com/artifact/org.apache.shiro/shiro-web/1.2.2 Apache-2.0                 https://github.com/apache/shiro/blob/master/LICENSE                                 Security framework                                  Server-Side   No   Dynamic Link   No   No
SAS   org.apache.velocity:velocity                 1.6.2         https://mvnrepository.com/artifact/org.apache.velocity/velocity/1.6.2  Apache-2.0              https://github.com/apache/velocity-engine/blob/trunk/LICENSE                        Template engine                                     Server-Side   No   Dynamic Link   No   No
SAS   org.aspectj:aspectjrt                        1.8.1         https://mvnrepository.com/artifact/org.aspectj/aspectjrt/1.8.1         EPL-1.0                 https://github.com/eclipse/org.aspectj/blob/master/docs/dist/LICENSE-AspectJ.html   Advices on classes at load                          Server-Side   No   Dynamic Link   No   No
SAS   org.eclipse.jetty:jetty-servlet              9.2           https://mvnrepository.com/artifact/org.eclipse.jetty/jetty-servlet/9.2 Apache-2.0              https://github.com/eclipse/jetty.project/blob/jetty-9.4.x/LICENSE                   Web server                                          Server-Side   No   Dynamic Link   No   No
SAS   org.eclipse.jetty:jetty-servlet              9.4.6.v201705 https://mvnrepository.com/artifact/org.eclipse.jetty/jetty-            Apache-2.0              https://github.com/eclipse/jetty.project/blob/jetty-9.4.x/LICENSE                   Web server                                          Server-Side   No   Dynamic Link   No   No
                                                                               19-10971-dsj                                      Doc 210                         Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                       Main Document
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SAS             org.elasticsearch.client:transport                   5.6.4         https://mvnrepository.com/artifact/org.elasticsearch.client/transport/5. Apache-2.0      https://github.com/elastic/elasticsearch/blob/master/LICENSE.txt                      Search engine suport                             Server-Side        No   Dynamic Link   No   No
SAS             org.elasticsearch:elasticsearch                      5.6.14        https://mvnrepository.com/artifact/org.elasticsearch/elasticsearch/5.6. Apache-2.0       https://github.com/elastic/elasticsearch/blob/master/LICENSE.txt                      Search engine suport                             Server-Side        No   Dynamic Link   No   No
SAS             org.glassfish.hk2.external:cglib                     2.1.96        https://mvnrepository.com/artifact/org.glassfish.hk2.external/cglib/2.1. Apache-2.0      https://github.com/cglib/cglib/blob/master/LICENSE                                    Byte Code Generation Library                     Server-Side        No   Dynamic Link   No   No
SAS             org.glassfish.hk2:hk2-api                            2.3.0         https://mvnrepository.com/artifact/org.glassfish.hk2/hk2-api/2.3.0       CDDL-1.1        https://github.com/javaee/hk2/blob/master/LICENSE.md                                  Dependency injection framework                   Server-Side        No   Dynamic Link   No   No
SAS             org.glassfish.hk2:hk2-locator                        2.3.0         https://mvnrepository.com/artifact/org.glassfish.hk2/hk2-locator/2.3.0 CDDL-1.1          https://github.com/javaee/hk2/blob/master/LICENSE.md                                  Dependency injection framework                   Server-Side        No   Dynamic Link   No   No
SAS             org.glassfish.hk2:hk2-utils                          2.3.0         https://mvnrepository.com/artifact/org.glassfish.hk2/hk2-utils/2.3.0     CDDL-1.1        https://github.com/javaee/hk2/blob/master/LICENSE.md                                  Dependency injection framework                   Server-Side        No   Dynamic Link   No   No
SAS             org.glassfish.hk2:osgi-resource-locator              2.4.0         https://mvnrepository.com/artifact/org.glassfish.hk2/osgi-resource-      CDDL-1.1        https://github.com/javaee/hk2/blob/master/LICENSE.md                                  Dependency injection framework                   Server-Side        No   Dynamic Link   No   No
SAS             org.glassfish.jersey.containers:jersey-container-    2.25.1        https://mvnrepository.com/artifact/org.glassfish.jersey.containers/jers CDDL-1.1         https://github.com/jersey/jersey/blob/master/LICENSE.txt                              Web framework                                    Server-Side        No   Dynamic Link   No   No
SAS             org.glassfish.jersey.containers:jersey-container-    2.25.1        https://mvnrepository.com/artifact/org.glassfish.jersey.containers/jers CDDL-1.1         https://github.com/jersey/jersey/blob/master/LICENSE.txt                              Web framework                                    Server-Side        No   Dynamic Link   No   No
SAS             org.glassfish.jersey.core:jersey-common              2.25.1        https://mvnrepository.com/artifact/org.glassfish.jersey.core/jersey-     CDDL-1.1        https://github.com/jersey/jersey/blob/master/LICENSE.txt                              Web framework                                    Server-Side        No   Dynamic Link   No   No
SAS             org.glassfish.jersey.core:jersey-server              2.25.1        https://mvnrepository.com/artifact/org.glassfish.jersey.core/jersey-     CDDL-1.1        https://github.com/jersey/jersey/blob/master/LICENSE.txt                              Web framework                                    Server-Side        No   Dynamic Link   No   No
SAS             org.glassfish.jersey.media:jersey-media-json-        2.25.1        https://mvnrepository.com/artifact/org.glassfish.jersey.media/jersey- CDDL-1.1           https://github.com/jersey/jersey/blob/master/LICENSE.txt                              Web framework                                    Server-Side        No   Dynamic Link   No   No
                                                                                   https://mvnrepository.com/artifact/org.hibernate/hibernate-              LGPL-2.1-only
SAS             org.hibernate:hibernate-core                         5.4.1.Final   core/5.4.1.Final                                                                         https://github.com/hibernate/hibernate-orm/blob/master/lgpl.txt                       ORM library                                      Server-Side        No   Dynamic Link   No   No
SAS             org.javassist:javassist                              3.18.2-GA     https://mvnrepository.com/artifact/org.javassist/javassist/3.18.2-GA Apache-2.0          https://github.com/jboss-javassist/javassist/blob/master/License.html                 Bytecode engineering toolkit                     Server-Side        No   Dynamic Link   No   No
SAS             org.json:json                                        20090211      https://mvnrepository.com/artifact/org.json/json/20090211                MIT             https://github.com/stleary/JSON-java/blob/master/LICENSE                              JSON library                                     Server-Side        No   Dynamic Link   No   No
SAS             org.jsoup:jsoup                                      1.7.2         https://mvnrepository.com/artifact/org.jsoup/jsoup/1.7.2                 MIT             https://github.com/jhy/jsoup/blob/master/LICENSE                                      HTML library                                     Server-Side        No   Dynamic Link   No   No
SAS             org.mockito:mockito-all                              1.9.5         https://mvnrepository.com/artifact/org.mockito/mockito-all/1.9.5         MIT             https://github.com/mockito/mockito/blob/master/LICENSE                                Testing framework                                Server-Side        No   Dynamic Link   No   No
SAS             org.ow2.asm:asm                                      5.0.4         https://mvnrepository.com/artifact/org.ow2.asm/asm/5.0.4                                 https://github.com/llbit/ow2-asm/blob/master/LICENSE.txt                              Bytecode manipulation framework                  Server-Side        No   Dynamic Link   No   No
SAS             org.postgresql:postgresql                            42.2.5        https://mvnrepository.com/artifact/org.postgresql/postgresql/42.2.5      BSD-2-Clause    https://jdbc.postgresql.org/about/license.html                                        DB driver                                        Server-Side        No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                  richly featured, open source job scheduling
SAS             org.quartz-scheduler:quartz                          2.2.1         https://mvnrepository.com/artifact/org.quartz-scheduler/quartz/2.2.1    Apache-2.0       http://www.quartz-scheduler.org/overview/license.html                                 library                                          Server-Side        No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                  richly featured, open source job scheduling
SAS             org.quartz-scheduler:quartz                          2.3.0         https://mvnrepository.com/artifact/org.quartz-scheduler/quartz/2.3.0 Apache-2.0          http://www.quartz-scheduler.org/overview/license.html                                 library                                          Server-Side        No   Dynamic Link   No   No
SAS             org.reflections:reflections                          0.9.9-RC1     https://mvnrepository.com/artifact/org.reflections/reflections/0.9.9- WTFPL              https://github.com/ronmamo/reflections/blob/master/COPYING.txt                        Java runtime metadata analysis                   Server-Side        No   Dynamic Link   No   No
SAS             org.scala-lang.modules:scala-xml_2.11                1.1.0         https://mvnrepository.com/artifact/org.scala-lang.modules/scala-      Apache-2.0         https://github.com/scala/scala-xml/blob/master/LICENSE                                The standard Scala XML library                   Server-Side        No   Dynamic Link   No   No
                                                                                   https://mvnrepository.com/artifact/org.seleniumhq.selenium/selenium-                                                                                                           A browser automation framework and
SAS             org.seleniumhq.selenium:selenium-java                2.42.2        java/2.42.2                                                           Apache-2.0         https://github.com/SeleniumHQ/selenium/blob/master/LICENSE                            ecosystem.                                       Server-Side        No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                  Write JSON unit tests in less code. Great for
SAS             org.skyscreamer:jsonassert                           1.4.0         https://mvnrepository.com/artifact/org.skyscreamer/jsonassert/1.4.0 Apache-2.0           https://github.com/skyscreamer/JSONassert/blob/master/LICENSE.txt                     testing REST interfaces.                         Server-Side        No   Dynamic Link   No   No
SAS             org.slf4j:slf4j-api                                  1.7.5         https://mvnrepository.com/artifact/org.slf4j/slf4j-api/1.7.5          MIT                https://www.slf4j.org/license.html                                                    Simple Logging Facade for Java                   Server-Side        No   Dynamic Link   No   No
SAS             org.springframework.boot:spring-boot-starter-        2.0.1.RELEA   https://mvnrepository.com/artifact/org.springframework.boot/spring- Apache-2.0           https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt                Web framework                                    Server-Side        No   Dynamic Link   No   No
SAS             org.springframework.boot:spring-boot-starter-web     2.0.1.RELEA   https://mvnrepository.com/artifact/org.springframework.boot/spring- Apache-2.0           https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt                Web framework                                    Server-Side        No   Dynamic Link   No   No
SAS             org.springframework.security:spring-security-core    5.0.2.RELEA   https://mvnrepository.com/artifact/org.springframework.security/sprin Apache-2.0         https://github.com/spring-projects/spring-security/blob/master/license.txt            Security framework                               Server-Side        No   Dynamic Link   No   No
SAS             org.springframework:spring-beans                     3.1.1.RELEA   https://mvnrepository.com/artifact/org.springframework/spring-        Apache-2.0         https://github.com/spring-projects/spring-framework/blob/master/README.md             Web framework                                    Server-Side        No   Dynamic Link   No   No
SAS             org.springframework:spring-context                   3.1.1.RELEA   https://mvnrepository.com/artifact/org.springframework/spring-        Apache-2.0         https://github.com/spring-projects/spring-framework/blob/master/README.md             Web framework                                    Server-Side        No   Dynamic Link   No   No
SAS             org.springframework:spring-core                      3.1.1.RELEA   https://mvnrepository.com/artifact/org.springframework/spring-        Apache-2.0         https://github.com/spring-projects/spring-framework/blob/master/README.md             Web framework                                    Server-Side        No   Dynamic Link   No   No
SAS             org.springframework:spring-web                       3.1.1.RELEA   https://mvnrepository.com/artifact/org.springframework/spring-        Apache-2.0         https://github.com/spring-projects/spring-framework/blob/master/README.md             Web framework                                    Server-Side        No   Dynamic Link   No   No
SAS             org.zeromq:jeromq                                    0.3.4         https://mvnrepository.com/artifact/org.zeromq/jeromq/0.3.4            MPL-2.0            https://github.com/zeromq/jeromq/blob/master/LICENSE                                  Pure Java implementation of libzmq               Server-Side        No   Dynamic Link   No   No
SAS             redis.clients:jedis                                  2.8.0         https://mvnrepository.com/artifact/redis.clients/jedis/2.8.0          MIT                https://github.com/xetorthio/jedis/blob/master/LICENSE.txt                            Jedis is a Redis java client.                    Server-Side        No   Dynamic Link   No   No
SAS             uk.co.jemos.podam:podam                              3.6.0.RELEA   https://mvnrepository.com/artifact/uk.co.jemos.podam/podam/3.6.0.R MIT                   https://github.com/mtedone/podam/blob/develop/LICENSE.txt                             POjo DAta Mocker                                 Server-Side        No   Dynamic Link   No   No
SAS             uk.com.robust-it:cloning                             1.9.2         https://mvnrepository.com/artifact/uk.com.robust-it/cloning/1.9.2     Apache-2.0         https://github.com/kostaskougios/cloning/blob/master/LICENSE.txt                      deep clone java objects                          Server-Side        No   Dynamic Link   No   No
SAS             gradle                                               5.0           https://services.gradle.org/distributions/gradle-5.0-bin.zip          Apache-2.0         https://github.com/gradle/gradle/blob/master/LICENSE                                  Build tool                                       Dev/Build/Test     No   Standalone     No   No
                                                                                                                                                                                                                                                                  Gradle plugin for constructing linux packages,
SAS             nebula.rpm                                           4.5.1         https://plugins.gradle.org/plugin/nebula.ospackage/4.5.1                Apache-2.0       https://github.com/nebula-plugins/gradle-ospackage-plugin/blob/master/LICENSE         specifically RPM and DEBs.                       Dev/Build/Test     No   Standalone     No   No
                                                                                   https://plugins.gradle.org/plugin/com.gorylenko.gradle-git-
SAS             org.ajoberstar.grgit                                 1.5.1         properties/1.5.1                                                        Apache-2.0       https://github.com/n0mer/gradle-git-properties/blob/master/LICENSE.txt                Gradle plugin for `git.properties` file generation Dev/Build/Test   No   Standalone     No   No
                                                                                                                                                                                                                                                                  Gradle plugin to create fat/uber JARs, apply file
                                                                                                                                                                                                                                                                  transforms, and relocate packages for
                                                                                   https://plugins.gradle.org/plugin/com.github.johnrengelman.shadow/2                                                                                                            applications and libraries. Gradle version of
SAS             com.github.johnrengelman.shadow                      2.0.4         .0.4                                                                Apache-2.0           https://github.com/johnrengelman/shadow/blob/master/LICENSE                           Maven's Shade plugin.                              Dev/Build/Test   No   Standalone     No   No
                                                                                                                                                                                                                                                                  Framework for POJOs validation. This project
                                                                                                                                                                                                                                                                  has two main aspects to it: * Make Testing as
                                                                                                                                                                                                                                                                  easy as possible. * Simplifying identity
                                                                                   https://mvnrepository.com/artifact/com.googlecode.openpojo/openpoj                                                                                                             management (hashCode / equals) using
SAS             com.googlecode.openpojo:openpojo                     0.5.0         o/0.5.0                                                                 LGPL 3.0         http://www.gnu.org/licenses/lgpl.html                                                 annotation.                                        Dev/Build/Test   No   Dynamic Link   No   No
SAS             com.h2database:h2                                    1.4.199       https://mvnrepository.com/artifact/com.h2database/h2/1.4.199            MPL 2.0          http://www.h2database.com/html/license.html                                           Java SQL database                                  Dev/Build/Test   No   Dynamic Link   No   No
SAS             com.jayway.jsonpath:json-path                        2.0.0         https://mvnrepository.com/artifact/com.jayway.jsonpath/json-            Apache-2.0       https://github.com/json-path/JsonPath/blob/master/LICENSE                             Java JsonPath implementation                       Dev/Build/Test   No   Dynamic Link   No   No
SAS             com.typesafe.akka:akka-testkit_2.10                  2.3.8         https://mvnrepository.com/artifact/com.typesafe.akka/akka-              Apache-2.0       https://mvnrepository.com/artifact/com.typesafe.akka/akka-testkit_2.10/2.2.1          Testing Framework                                  Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                  The YUI Compressor is a JavaScript
                                                                                                                                                                                                                                                                  compressor which, in addition to removing
                                                                                                                                                                                                                                                                  comments and white-spaces, obfuscates local
                                                                                   https://mvnrepository.com/artifact/com.yahoo.platform.yui/yuicompres                                                                                                           variables using the smallest possible variable
SAS             com.yahoo.platform.yui:yuicompressor                 2.4.7         sor/2.4.7                                                            BSD                 https://github.com/yui/yuicompressor/blob/master/LICENSE.TXT                          name.                                              Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                  s3mock is a web service implementing AWS S3
SAS             io.findify:s3mock_2.11                               0.2.5         https://mvnrepository.com/artifact/io.findify/s3mock_2.11/0.2.5         MIT              https://github.com/findify/s3mock/blob/master/LICENCE.md                              API                                                Dev/Build/Test   No   Dynamic Link   No   No
SAS             io.micrometer:micrometer-registry-jmx                1.1.1         https://mvnrepository.com/artifact/io.micrometer/micrometer-registry-   Apache 2.0       https://github.com/micrometer-metrics/micrometer/blob/master/LICENSE                  Monitoring tools framework                         Dev/Build/Test   No   Dynamic Link   No   No
SAS             junit:junit                                          4.11          https://mvnrepository.com/artifact/junit/junit/4.11                     CPL-1.0          https://mvnrepository.com/artifact/junit/junit/4.11                                   Testing Framework                                  Dev/Build/Test   No   Dynamic Link   No   No
SAS             junit:junit                                          4.12          https://mvnrepository.com/artifact/junit/junit/4.12                     EPL 1.0          https://github.com/junit-team/junit4/blob/master/LICENSE-junit.txt                    Testing Framework                                  Dev/Build/Test   No   Dynamic Link   No   No
SAS             log4j:log4j                                          1.2.17        https://mvnrepository.com/artifact/log4j/log4j/1.2.17                   Apache-2.0       http://logging.apache.org/log4j/1.2/license.html                                      Logging library for Java                           Dev/Build/Test   No   Dynamic Link   No   No
SAS             org.apache.commons:commons-math                      2.2           https://mvnrepository.com/artifact/org.apache.commons/commons-          Apache 2.0       http://www.apache.org/licenses/LICENSE-2.0.txt                                        Math library for Java                              Dev/Build/Test   No   Dynamic Link   No   No
SAS             org.assertj:assertj-core                             3.11.1        https://mvnrepository.com/artifact/org.assertj/assertj-core/3.11.1      Apache-2.0       https://mvnrepository.com/artifact/org.assertj/assertj-core/3.11.1                    Rich and fluent assertions for testing for Java Dev/Build/Test      No   Dynamic Link   No   No

                                                                                   https://mvnrepository.com/artifact/org.elasticmq/elasticmq-rest-                                                                                                               Message queueing system with an actor-based
SAS             org.elasticmq:elasticmq-rest-sqs_2.11                 0.14.6       sqs_2.11/0.14.6                                                         Apache-2.0       https://github.com/softwaremill/elasticmq/blob/develop/LICENSE.txt                    Scala and Amazon SQS-compatible interfaces Dev/Build/Test           No   Dynamic Link   No   No
                org.glassfish.jersey.test-framework.providers:jersey-              https://mvnrepository.com/artifact/org.glassfish.jersey.test-
SAS             test-framework-provider-grizzly2                      2.25.1       framework.providers/jersey-test-framework-provider-grizzly2/2.25.1      CDDL, GPL 1.1    https://oss.oracle.com/licenses/CDDL+GPL-1.1                                          Testing Framework                                Dev/Build/Test     No   Dynamic Link   No   No
SAS             org.glassfish.jersey.test-framework:jersey-test-      2.25.1       https://mvnrepository.com/artifact/org.glassfish.jersey.test-           CDDL, GPL 1.1    https://oss.oracle.com/licenses/CDDL+GPL-1.1                                          Testing Framework                                Dev/Build/Test     No   Dynamic Link   No   No
SAS             org.mockito:mockito-all                               1.9.5        https://mvnrepository.com/artifact/org.mockito/mockito-all/1.9.5        MIT              https://mvnrepository.com/artifact/org.mockito/mockito-all/1.9.5                      Mock objects library for java                    Dev/Build/Test     No   Dynamic Link   No   No
SAS             org.mockito:mockito-all                               2.0.2-beta   https://mvnrepository.com/artifact/org.mockito/mockito-all/2.0.2-beta   MIT              https://mvnrepository.com/artifact/org.mockito/mockito-all                            Mock objects library for java                    Dev/Build/Test     No   Dynamic Link   No   No
SAS             org.mockito:mockito-core                              2.15.0       https://mvnrepository.com/artifact/org.mockito/mockito-core/2.15.0      MIT              https://github.com/mockito/mockito/blob/release/2.x/LICENSE                           Mocking framework for Java                       Dev/Build/Test     No   Dynamic Link   No   No
SAS             org.powermock:powermock-api-mockito                   1.5.6        mockito/1.5.6                                                           Apache-2.0       https://mvnrepository.com/artifact/org.powermock/powermock-api-mockito/1.5.6          PowerMock API for Mockito 1.+..                  Dev/Build/Test     No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                  Single jar containing source and
                                                                                   https://mvnrepository.com/artifact/org.powermock/powermock-                                                                                                                    binaries for PowerMock core and all
SAS             org.powermock:powermock-mockito-release-full         1.5           mockito-release-full/1.5                                                Apache-2.0       https://mvnrepository.com/artifact/org.powermock/powermock-mockito-release-full/1.5   modules.                                         Dev/Build/Test     No   Dynamic Link   No   No
SAS             org.powermock:powermock-mockito-release-full         1.5.6         https://mvnrepository.com/artifact/org.powermock/powermock-             Apache 2.0       http://www.apache.org/licenses/LICENSE-2.0.txt                                        Mocking framework for Java                       Dev/Build/Test     No   Dynamic Link   No   No

                                                                                   https://mvnrepository.com/artifact/org.powermock/powermock-                                                                                                                    PowerMock is a Java framework that allows to
SAS             org.powermock:powermock-module-junit4                1.5.6         module-junit4/1.5.6                                                     Apache-2.0       https://github.com/powermock/powermock/blob/release/2.x/LICENSE.txt                   unit test code normally regarded as untestable. Dev/Build/Test      No   Dynamic Link   No   No
SAS             org.reflections:reflections                          0.9.8         https://mvnrepository.com/artifact/org.reflections/reflections/0.9.8    WTFPL,           https://github.com/ronmamo/reflections                                                Java runtime metadata analysis                  Dev/Build/Test      No   Dynamic Link   No   No
SAS             org.slf4j:slf4j-simple                               1.7.5         https://mvnrepository.com/artifact/org.slf4j/slf4j-simple/1.7.5         MIT              https://www.slf4j.org/license.html                                                    Logging framework                               Dev/Build/Test      No   Dynamic Link   No   No

                                                                     2.0.1.RELEA   https://mvnrepository.com/artifact/org.springframework.boot/spring-                                                                                                            Starter for testing Spring Boot applications with
SAS             org.springframework.boot:spring-boot-starter-test    SE            boot-starter-test/2.0.1.RELEASE                                     Apache-2.0           https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt                libraries including JUnit, Hamcrest and Mockito Dev/Build/Test      No   Dynamic Link   No   No
SAS             pl.pragmatists:JUnitParams                           0.3.6         https://mvnrepository.com/artifact/pl.pragmatists/JUnitParams/0.3.6 Apache-2.0           https://github.com/Pragmatists/JUnitParams/blob/master/LICENSE.txt                    Better parameterised tests for JUnit              Dev/Build/Test    No   Dynamic Link   No   No
SAS             uk.co.jemos.podam:podam                              2.3.5.RELEA   https://mvnrepository.com/artifact/uk.co.jemos.podam/podam/2.3.5.R MIT                   https://github.com/mtedone/podam/blob/develop/LICENSE.txt                             POjo DAta Mocker                                  Dev/Build/Test    No   Dynamic Link   No   No
SAS             uk.co.jemos.podam:podam                              3.3.2.RELEA   https://mvnrepository.com/artifact/uk.co.jemos.podam/podam/3.3.2.R MIT                   https://github.com/mtedone/podam/blob/develop/LICENSE.txt                             POjo DAta Mocker                                  Dev/Build/Test    No   Dynamic Link   No   No
SAS             uk.co.jemos.podam:podam                              3.6.0.RELEA   https://mvnrepository.com/artifact/uk.co.jemos.podam/podam/3.6.0.R MIT                   https://github.com/mtedone/podam/blob/develop/LICENSE.txt                             POjo DAta Mocker                                  Dev/Build/Test    No   Dynamic Link   No   No
SASAutomation   com.amazonaws:aws-java-sdk-core                      1.11.65       core/1.11.65                                                        Apache 2.0           https://aws.amazon.com/apache2.0                                                      The AWS SDK for Java - Core module                Dev/Build/Test    No   Dynamic Link   No   No
                                                                              19-10971-dsj                                   Doc 210                         Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                            Main Document
                                                                                                                                                                        Pg 210 of 325

                                                                                                                                                                                                                                                                 The AWS Java SDK for Amazon S3
                                                                                                                                                                                                                                                                 module holds the client classes that are
                                                                                https:/mvnrepository.com/artifact/com.amazonaws/aws-java-sdk-                                                                                                                    used for communicating with Amazon
SASAutomation   com.amazonaws:aws-java-sdk-s3                       1.11.65     s3/1.11.65                                                           Apache 2.0           https://aws.amazon.com/apache2.0                                                       Simple Storage Service                                Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                 The AWS Java SDK for Amazon SQS module
                                                                                                                                                                                                                                                                 holds the client classes that are used for
                                                                                https:/mvnrepository.com/artifact/com.amazonaws/aws-java-sdk-                                                                                                                    communicating with Amazon Simple Queue
SASAutomation   com.amazonaws:aws-java-sdk-sqs                      1.11.65     sqs/1.11.65                                                           Apache 2.0          https://aws.amazon.com/apache2.0                                                       Service                                               Dev/Build/Test   No   Dynamic Link   No   No
                                                                                https:/mvnrepository.com/artifact/com.applitools/eyes-selenium-java-                                                                                                             Applitools Eyes SDK for Selenium Java
SASAutomation   com.applitools:eyes-selenium-java-jersey1x          2.29        jersey1x/2.29                                                         Apache 2.0          http://www.apache.org/licenses/LICENSE-2.0                                             WebDriver                                             Dev/Build/Test   No   Dynamic Link   No   No
SASAutomation   com.couchbase.client:java-client                    2.6.1       client/2.6.1                                                          Apache 2.0          https://github.com/couchbase/couchbase-java-client/blob/master/LICENSE                 The official Couchbase Java SDK                       Dev/Build/Test   No   Dynamic Link   No   No
                                                                                https:/mvnrepository.com/artifact/com.fasterxml.jackson.core/jackson-                                                                                                            Core annotations used for value types, used by
SASAutomation   com.fasterxml.jackson.core:jackson-annotations      2.5.0       annotations/2.5.0                                                     Apache 2.0          http://www.apache.org/licenses/LICENSE-2.0.txt                                         Jackson data binding package.                         Dev/Build/Test   No   Dynamic Link   No   No
                                                                                https:/mvnrepository.com/artifact/com.fasterxml.jackson.core/jackson-                                                                                                            General data-binding functionality for
SASAutomation   com.fasterxml.jackson.core:jackson-core             2.5.0       core/2.5.0                                                            Apache 2.0          http://www.apache.org/licenses/LICENSE-2.0.txt                                         Jackson: works on core streaming API                  Dev/Build/Test   No   Dynamic Link   No   No
                                                                                https:/mvnrepository.com/artifact/com.fasterxml.jackson.core/jackson-                                                                                                            General data-binding functionality for
SASAutomation   com.fasterxml.jackson.core:jackson-databind         2.5.0       databind/2.5.0                                                        Apache 2.0          http://www.apache.org/licenses/LICENSE-2.0.txt                                         Jackson: works on core streaming API                  Dev/Build/Test   No   Dynamic Link   No   No
SASAutomation   com.github.javafaker:javafaker                      0.13        https:/mvnrepository.com/artifact/com.github.javafaker/javafaker/0.13 Apache 2.0          https://github.com/DiUS/java-faker/blob/master/LICENSE                                 Brings the popular ruby faker gem to Java             Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                 This is a small extension to Google's Guava
                                                                                                                                                                                                                                                                 library to allow for the creation of configurable
                                                                                                                                                                                                                                                                 retrying strategies for an arbitrary function call,
                                                                                https:/mvnrepository.com/artifact/com.github.rholder/guava-                                                                                                                      such as something that talks to a remote
SASAutomation   com.github.rholder:guava-retrying                   1.0.7       retrying/1.0.7                                                       Apache 2.0           https://github.com/rholder/guava-retrying/blob/master/LICENSE                          service with flaky uptime.                            Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                 Guava is a set of core libraries that includes
                                                                                                                                                                                                                                                                 new collection types, immutable collections, a
                                                                                                                                                                                                                                                                 graph library, functional types, an in-memory
SASAutomation   com.google.guava:guava                              21          https://mvnrepository.com/artifact/com.google.guava/guava/21.0       Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         cache and APIs                                        Dev/Build/Test   No   Dynamic Link   No   No
SASAutomation   com.google.inject.extensions:guice-assistedinject   3           assistedinject/3                                                     Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         Google Guice Extensions AssistedInject                Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                 Guice (pronounced 'juice') is a lightweight
                                                                                                                                                                                                                                                                 dependency injection framework for Java 6 and
                                                                                                                                                                                                                                                                 above, brought to you by Google.
SASAutomation   com.google.inject:guice                             3           https:/mvnrepository.com/artifact/com.google.inject/guice/3          Apache 2.0           https://github.com/google/guice/blob/master/COPYING                                    https://github.com/google/guice                       Dev/Build/Test   No   Dynamic Link   No   No
SASAutomation   com.googlecode.json-simple:json-simple              1.1         simple/1.1                                                           Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         A simple Java toolkit for JSON                        Dev/Build/Test   No   Dynamic Link   No   No
SASAutomation   com.jayway.jsonpath:json-path                       2.4.0       path/2.4.0                                                           Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         Java port of Stefan Goessner JsonPath.                Dev/Build/Test   No   Dynamic Link   No   No
                                                                                https:/mvnrepository.com/artifact/com.jayway.restassured/rest-                                                                                                                   Java DSL for easy testing of REST
SASAutomation   com.jayway.restassured:rest-assured                 2.4.1       assured/2.4.1                                                        Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.html                                        services                                              Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                 The Bing Ads Java SDK is a library
                                                                                                                                                                                                                                                                 improving developer experience when
                                                                                                                                                                                                                                                                 working with the Bing Ads services by
                                                                                                                                                                                                                                                                 providing high-level access to features
                                                                                https:/mvnrepository.com/artifact/com.microsoft.bingads/microsoft.bi                                                                                                             such as Bulk API, OAuth Authorization
SASAutomation   com.microsoft.bingads:microsoft.bingads             11.12.6     ngads/11.12.6                                                         MIT                 https://github.com/BingAds/BingAds-Java-SDK/blob/master/LICENSE                        and SOAP API.                                         Dev/Build/Test   No   Dynamic Link   No   No
                                                                                https://mvnrepository.com/artifact/com.microsoft.sqlserver/sqljdbc4/4                     https://support.smartbear.com/support/media/resources/cc/downloads/MsSqlServer-JDBC-
SASAutomation   com.microsoft.sqlserver:sqljdbc4                    4           .0                                                                                        v2.0MsSqlServer-JDBC-v2.0-EULA.htm                                                     Microsoft JDBC driver for SQL server                  Dev/Build/Test   No   Dynamic Link   No   No
SASAutomation   com.netflix.eureka:eureka-client                    1.1.114     client/1.1.114                                                        Apache 2.0          http://www.apache.org/licenses/LICENSE-2.0.txt                                         eureka-client                                         Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                          http://www.apache.org/licenses/LICENSE-2.0.html                                        The RabbitMQ Java client library allows
                                                                                                                                                     Apache 2.0, GPL 2.0, http://www.gnu.org/licenses/gpl-2.0.txt                                                Java applications to interface with
SASAutomation   com.rabbitmq:amqp-client                            3.4.2       https:/mvnrepository.com/artifact/com.rabbitmq/amqp-client/3.4.2     MPL 1.1              http://www.mozilla.org/MPL/MPL-1.1.txt                                                 RabbitMQ.                                             Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                          http://www.apache.org/licenses/LICENSE-2.0.html                                        The RabbitMQ Java client library allows
                                                                                                                                                     Apache 2.0, GPL 2.0, http://www.gnu.org/licenses/gpl-2.0.txt                                                Java applications to interface with
SASAutomation   com.rabbitmq:amqp-client                            3.5.3       https:/mvnrepository.com/artifact/com.rabbitmq/amqp-client/3.5.3     MPL 1.1              http://www.mozilla.org/MPL/MPL-1.1.txt                                                 RabbitMQ.                                             Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                 An HTTP+HTTP/2 client for Android and Java
SASAutomation   com.squareup.okhttp3:okhttp                         3.11.0      https:/mvnrepository.com/artifact/com.squareup.okhttp3/okhttp/3.11.0 Apache 2.0           https://github.com/square/okhttp                                                       applications. http://square.github.io/okhttp/         Dev/Build/Test   No   Dynamic Link   No   No
SASAutomation   com.sun.jersey:jersey-client                        1.19        https:/mvnrepository.com/artifact/com.sun.jersey/jersey-client/1.19  CDDL 1.1, GPL 1.1    https://mvnrepository.com/artifact/com.sun.jersey/jersey-client/1.19                   Jersey Client                                         Dev/Build/Test   No   Dynamic Link   No   No
                                                                                https:/mvnrepository.com/artifact/com.wordnik/swagger-jersey2-                                                                                                                   Swagger Jersey2 JAXRS (Jersey 2.x
SASAutomation   com.wordnik:swagger-jersey2-jaxrs_2.10              1.3.9       jaxrs_2.10/1.3.9                                                     Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         Support)                                              Dev/Build/Test   No   Dynamic Link   No   No
                                                                                https:/mvnrepository.com/artifact/commons-collections/commons-                                                                                                                   Types that extend and augment the Java
SASAutomation   commons-collections:commons-collections             3.2         collections/3.2                                                      Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         Collections Framework.                                Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                 Commons IO is a library of utilities to
SASAutomation   commons-io:commons-io                               2.6         https:/mvnrepository.com/artifact/commons-io/commons-io/2.6          Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         assist with developing IO functionality.              Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                 Apache Commons Validator provides the
                                                                                                                                                                                                                                                                 building blocks for both client side
                                                                                                                                                                                                                                                                 validation and server side data
                                                                                https:/mvnrepository.com/artifact/commons-validator/commons-                                                                                                                     validation. It may be used standalone or
SASAutomation   commons-validator:commons-validator                 1.6         validator/1.6                                                        Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         with a framework like Struts.            Dev/Build/Test                No   Dynamic Link   No   No
SASAutomation   info.cukes:cucumber-core                            1.2.2       https:/mvnrepository.com/artifact/info.cukes/cucumber-core/1.2.2     MIT                  https://opensource.org/licenses/mit-license                                            Cucumber JVM: Core                       Dev/Build/Test                No   Dynamic Link   No   No
SASAutomation   info.cukes:cucumber-java                            1.2.2       https:/mvnrepository.com/artifact/info.cukes/cucumber-java/1.2.2     MIT                  https://opensource.org/licenses/mit-license                                            Cucumber JVM: Java                       Dev/Build/Test                No   Dynamic Link   No   No
SASAutomation   info.cukes:cucumber-junit                           1.2.2       https:/mvnrepository.com/artifact/info.cukes/cucumber-junit/1.2.2    MIT                  https://opensource.org/licenses/mit-license                                            Cucumber JVM: JUnit                      Dev/Build/Test                No   Dynamic Link   No   No

SASAutomation   io.appium:java-client                               3.1.0       https:/mvnrepository.com/artifact/io.appium/java-client/3.1.0        Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         Java client for Appium Mobile Webdriver Dev/Build/Test                 No   Dynamic Link   No   No
                                                                                                                                                                          http://www.sun.com/cddl
SASAutomation   javax.mail:mail                                     1.4.5       https:/mvnrepository.com/artifact/javax.mail/mail/1.4.5              CDDL, GPL 2.0        https://glassfish.dev.java.net/public/CDDL+GPL.html                                    JavaMail API                                    Dev/Build/Test         No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                 Joda-Time is the widely used replacement for
                                                                                                                                                                                                                                                                 the Java date and time classes prior to Java SE
SASAutomation   joda-time:joda-time                                 2.3         https:/mvnrepository.com/artifact/joda-time/joda-time/2.3              Apache 2.0         http://www.apache.org/licenses/LICENSE-2.0.txt                                         8                                               Dev/Build/Test         No   Dynamic Link   No   No
SASAutomation   ma.glasnost.orika:orika-core                        1.4.4       https:/mvnrepository.com/artifact/ma.glasnost.orika/orika-core/1.4.4 { Apache 2.0         http://www.apache.org/licenses/LICENSE-2.0.txt                                         Orika Core                                      Dev/Build/Test         No   Dynamic Link   No   No
SASAutomation   net.javacrumbs.json-unit:json-unit-assertj          2.0.0.RC1   https:/mvnrepository.com/artifact/net.javacrumbs.json-unit/json-unit- Apache 2.0          http://www.apache.org/licenses/LICENSE-2.0.txt                                         JSON Assertions based on AssertJ                Dev/Build/Test         No   Dynamic Link   No   No

                                                                                                                                                                                                                                                                 Apache BVal delivers an implementation
                                                                                                                                                                                                                                                                 of the Java Bean Validation Specification
                                                                                                                                                                                                                                                                 which is TCK compliant, works on Java
                                                                                                                                                                                                                                                                 SE 8 or later, and uses theApache
SASAutomation   org.apache.bval:bval-jsr303                         0.5         https:/mvnrepository.com/artifact/org.apache.bval/bval-jsr303/0.5    Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         Software License v2.0                             Dev/Build/Test       No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                 a package of Java utility classes for the classes
                                                                                                                                                                                                                                                                 that are in java.lang's hierarchy, or are
                                                                                https:/mvnrepository.com/artifact/org.apache.commons/commons-                                                                                                                    considered to be so standard as to justify
SASAutomation   org.apache.commons:commons-lang3                    3.4         lang3/3.4                                                            Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         existence in java.lang                            Dev/Build/Test       No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                 Project is responsible for creating and
                                                                                                                                                                                                                                                                 maintaining a toolset of low level Java
                                                                                https:/mvnrepository.com/artifact/org.apache.httpcomponents/httpclie                                                                                                             components focused on HTTP and associated
SASAutomation   org.apache.httpcomponents:httpclient                4.5.5       nt/4.5.5                                                             Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         protocols.                                        Dev/Build/Test       No   Dynamic Link   No   No
SASAutomation   org.apache.logging.log4j:log4j-api                  2.3         https:/mvnrepository.com/artifact/org.apache.logging.log4j/log4j-    Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         The Apache Log4j API                              Dev/Build/Test       No   Dynamic Link   No   No
SASAutomation   org.apache.logging.log4j:log4j-core                 2.3         https:/mvnrepository.com/artifact/org.apache.logging.log4j/log4j-    Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         The Apache Log4j Implementation                   Dev/Build/Test       No   Dynamic Link   No   No
                                                                                                                                                                                                                                                                 Apache POI - Java API To Access Microsoft
SASAutomation   org.apache.poi:poi-ooxml                            3.17        https:/mvnrepository.com/artifact/org.apache.poi/poi-ooxml/3.17      Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                         Format Files                                      Dev/Build/Test       No   Dynamic Link   No   No
                                                                               19-10971-dsj                                  Doc 210                         Filed 06/03/19 Entered 06/03/19 14:17:12                                                                          Main Document
                                                                                                                                                                        Pg 211 of 325
                                                                                                                                                                                                                                               Apache POI - Java API To Access Microsoft
SASAutomation   org.apache.poi:poi                                3.17           https:/mvnrepository.com/artifact/org.apache.poi/poi/3.17            Apache 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                           Format Files                                        Dev/Build/Test            No    Dynamic Link   No   No
                                                                                                                                                                                                                                               Core Jackson processing abstractions
                                                                                 https:/mvnrepository.com/artifact/org.codehaus.jackson/jackson-core-                                                                                          (aka Streaming API), implementation
SASAutomation   org.codehaus.jackson:jackson-core-asl             1.9.13         asl/1.9.13                                                           Apache 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                           for JSON                                            Dev/Build/Test            No    Dynamic Link   No   No
SASAutomation   guava                                             2.16           aged/jersey-guava/2.16                                               CDDL, GPL 1.1   http://glassfish.java.net/public/CDDL+GPL_1_1.html                       ersey Guava Repackaged                              Dev/Build/Test            No    Dynamic Link   No   No

                                                                                                                                                                                                                                               JSON is a light-weight, language independent,
                                                                                                                                                                                                                                               data interchange format. See
                                                                                                                                                                                                                                               http://www.JSON.org/ The files in this package
                                                                                                                                                                                                                                               implement JSON encoders/decoders in Java. It
                                                                                                                                                                                                                                               also includes the capability to convert between
                                                                                                                                                                                                                                               JSON and XML, HTTP headers, Cookies, and
SASAutomation   org.json:json                                     20150729       https:/mvnrepository.com/artifact/org.json/json/20150729             JSON            https://mvnrepository.com/artifact/org.json/json                         CDL. This is a reference implementation          Dev/Build/Test               No    Dynamic Link   No   No
                                                                                                                                                                                                                                               a Java library for working with real-world HTML.
                                                                                                                                                                                                                                               It provides a very convenient API for extracting
                                                                                                                                                                                                                                               and manipulating data, using the best of DOM,
SASAutomation   org.jsoup:jsoup                                   1.8.2          https:/mvnrepository.com/artifact/org.jsoup/jsoup/1.8.2              MIT             https://opensource.org/licenses/mit-license                              CSS, and jquery-like methods.                    Dev/Build/Test               No    Dynamic Link   No   No

                                                                                                                                                                                                                                               Mockito is a mocking framework that tastes
                                                                                                                                                                                                                                               really good. It lets you write beautiful tests with a
                                                                                                                                                                                                                                               clean & simple API. Mockito doesn’t give you
                                                                                 https:/mvnrepository.com/artifact/org.mockito/mockito-core/2.0.31-                                                                                            hangover because the tests are very readable
SASAutomation   org.mockito:mockito-core                          2.0.31-beta    beta                                                                 MIT             https://opensource.org/licenses/mit-license                              and they produce clean verification errors.           Dev/Build/Test          No    Dynamic Link   No   No
                                                                                                                                                                                                                                               Selenium has the support of some of
                                                                                                                                                                                                                                               the largest browser vendors who have
                                                                                                                                                                                                                                               taken (or are taking) steps to make
                                                                                                                                                                                                                                               Selenium a native part of their browser.
                                                                                                                                                                                                                                               It is also the core technology in
                                                                                 https:/mvnrepository.com/artifact/org.seleniumhq.selenium/selenium-                                                                                           countless other browser automation
SASAutomation   org.seleniumhq.selenium:selenium-firefox-driver   2.52.0         firefox-driver/2.52.0                                               Apache 2.0       http://www.apache.org/licenses/LICENSE-2.0.txt                           tools, APIs and frameworks.              Dev/Build/Test                       No    Dynamic Link   No   No
                                                                                                                                                                                                                                               Selenium has the support of some of
                                                                                                                                                                                                                                               the largest browser vendors who have
                                                                                                                                                                                                                                               taken (or are taking) steps to make
                                                                                                                                                                                                                                               Selenium a native part of their browser.
                                                                                                                                                                                                                                               It is also the core technology in
                                                                                 https:/mvnrepository.com/artifact/org.seleniumhq.selenium/selenium-                                                                                           countless other browser automation
SASAutomation   org.seleniumhq.selenium:selenium-ie-driver        2.52.0         ie-driver/2.52.0                                                    Apache 2.0       http://www.apache.org/licenses/LICENSE-2.0.txt                           tools, APIs and frameworks.              Dev/Build/Test                       No    Dynamic Link   No   No
                                                                                                                                                                                                                                               Selenium has the support of some of
                                                                                                                                                                                                                                               the largest browser vendors who have
                                                                                                                                                                                                                                               taken (or are taking) steps to make
                                                                                                                                                                                                                                               Selenium a native part of their browser.
                                                                                                                                                                                                                                               It is also the core technology in
                                                                                 https:/mvnrepository.com/artifact/org.seleniumhq.selenium/selenium-                                                                                           countless other browser automation
SASAutomation   org.seleniumhq.selenium:selenium-java             2.53.1         java/2.53.1                                                         Apache 2.0       http://www.apache.org/licenses/LICENSE-2.0.txt                           tools, APIs and frameworks.              Dev/Build/Test                       No    Dynamic Link   No   No
                                                                                                                                                                                                                                               a library focused on understanding JSON
                                                                                                                                                                                                                                               data and writing complex JUnit tests using
SASAutomation   org.skyscreamer:jsonassert                        1.4.0          https:/mvnrepository.com/artifact/org.skyscreamer/jsonassert/1.4.0   Apache 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                           that data.                                          Dev/Build/Test            No    Dynamic Link   No   No
                                                                                                                                                                                                                                               Serves as a simple facade or abstraction
                                                                                                                                                                                                                                               for various logging frameworks (e.g.
                                                                                                                                                                                                                                               java.util.logging, logback, log4j)
                                                                                                                                                                                                                                               allowing the end user to plug in the
                                                                                                                                                                                                                                               desired logging framework at
SASAutomation   org.slf4j:slf4j-api                               1.7.12         https:/mvnrepository.com/artifact/org.slf4j/slf4j-api/1.7.12      MIT                https://opensource.org/licenses/mit-license                              deployment time.                               Dev/Build/Test                 No    Dynamic Link   No   No
                                                                  7.0.5.RELEA    https:/mvnrepository.com/artifact/uk.co.jemos.podam/podam/7.0.5.R                                                                                             PODAM is a lightweight tool to auto-fill Java
SASAutomation   uk.co.jemos.podam:podam                           SE             ELEASE                                                            MIT                https://opensource.org/licenses/mit-license                              POJOs with data                                Dev/Build/Test                 No    Dynamic Link   No   No
SAS/Client      @angular-devkit/build-angular                     ^0.7.5         https://www.npmjs.com/package/@angular-devkit/build-angular       MIT                https://github.com/angular/angular-cli/blob/master/LICENSE               Angular Webpack Build Facade                   Javascript-Internally-Facing   No    Standalone     No   No
                                                                                                                                                                                                                                               Angular - animations integration with web-
SAS/Client      @angular/animations                               ^6.0.9         https://www.npmjs.com/package/@angular/animations                    MIT             https://github.com/angular/angular/blob/master/LICENSE                   animations                                     Javascript-Externally-Facing   Yes   Static Link    No   No
SAS/Client      @angular/cdk                                      ^6.4.1         https://www.npmjs.com/package/@angular/cdk                           MIT             https://github.com/angular/components/blob/master/LICENSE                Angular Material Component Development Kit Javascript-Externally-Facing       Yes   Static Link    No   No
SAS/Client      @angular/cli                                      ^6.1.2         https://www.npmjs.com/package/@angular/cli                           MIT             https://github.com/angular/angular-cli/blob/master/LICENSE               CLI tool for Angular                           Javascript-Internally-Facing   No    Standalone     No   No
                                                                                                                                                                                                                                               Common Angular modules, merged with
SAS/Client      @angular/common                                   2.0.0-rc.4     https://www.npmjs.com/package/@angular/common                        MIT             https://github.com/angular/angular/blob/master/LICENSE                   angular repo now                               Javascript-Externally-Facing   Yes   Static Link    No   No
                                                                                                                                                                                                                                               The same as above. Angular - commonly
SAS/Client      @angular/common                                   ^6.0.9         https://www.npmjs.com/package/@angular/common                        MIT             https://github.com/angular/angular/blob/master/LICENSE                   needed directives and services                 Javascript-Externally-Facing   Yes   Static Link    No   No
SAS/Client      @angular/compiler                                 2.0.0-rc.4     https://www.npmjs.com/package/@angular/compiler                      MIT             https://github.com/angular/angular/blob/master/LICENSE                   Angular - the compiler library                 Javascript-Internally-Facing   No    Standalone     No   No
SAS/Client      @angular/compiler                                 ^6.0.9         https://www.npmjs.com/package/@angular/compiler                      MIT             https://github.com/angular/angular/blob/master/LICENSE                   Angular - the compiler library                 Javascript-Internally-Facing   No    Standalone     No   No
SAS/Client      @angular/compiler-cli                             ^6.0.9         https://www.npmjs.com/package/@angular/compiler-cli                  MIT             https://github.com/angular/angular/blob/master/LICENSE                   Angular - the compiler CLI for Node.js         Javascript-Internally-Facing   No    Standalone     No   No
SAS/Client      @angular/core                                     2.0.0-rc.4     https://www.npmjs.com/package/@angular/core                          MIT             https://github.com/angular/angular/blob/master/LICENSE                   Angular - the core framework                   Javascript-Externally-Facing   Yes   Static Link    No   No
SAS/Client      @angular/core                                     ^6.0.9         https://www.npmjs.com/package/@angular/core                          MIT             https://github.com/angular/angular/blob/master/LICENSE                   Angular - the core framework                   Javascript-Externally-Facing   Yes   Static Link    No   No
SAS/Client      @angular/flex-layout                              ^6.0.0-beta.16 https://www.npmjs.com/package/@angular/flex-layout                   MIT             https://github.com/angular/flex-layout/blob/master/LICENSE               Angular Flex-Layout                            Javascript-Externally-Facing   Yes   Static Link    No   No
                                                                                                                                                                                                                                               Angular - directives and services for creating
SAS/Client      @angular/forms                                    0.2.0          https://www.npmjs.com/package/@angular/forms                         MIT             https://github.com/angular/angular/blob/master/LICENSE                   forms                                          Javascript-Externally-Facing   Yes   Static Link    No   No
                                                                                                                                                                                                                                               Angular - directives and services for creating
SAS/Client      @angular/forms                                    ^6.0.9         https://www.npmjs.com/package/@angular/forms                         MIT             https://github.com/angular/angular/blob/master/LICENSE                   forms                                          Javascript-Externally-Facing   Yes   Static Link    No   No
SAS/Client      @angular/http                                     2.0.0-rc.4     https://www.npmjs.com/package/@angular/http                          MIT             https://github.com/angular/angular/blob/master/LICENSE                   Angular - the http service                     Javascript-Externally-Facing   Yes   Static Link    No   No
SAS/Client      @angular/http                                     ^6.0.9         https://www.npmjs.com/package/@angular/http                          MIT             https://github.com/angular/angular/blob/master/LICENSE                   Angular - the http service                     Javascript-Externally-Facing   Yes   Static Link    No   No
SAS/Client      @angular/language-service                         6.1.6          https://www.npmjs.com/package/@angular/language-service              MIT             https://github.com/angular/angular/blob/master/LICENSE                   Angular - language services                    Javascript-Externally-Facing   Yes   Static Link    No   No
                                                                                                                                                                                                                                               Angular - library for using Angular in a web
SAS/Client      @angular/platform-browser                         2.0.0-rc.4     https://www.npmjs.com/package/@angular/platform-browser              MIT             https://github.com/angular/angular/blob/master/LICENSE                   browser                                        Javascript-Externally-Facing   Yes   Static Link    No   No
                                                                                                                                                                                                                                               Angular - library for using Angular in a web
SAS/Client      @angular/platform-browser                         ^6.0.9         https://www.npmjs.com/package/@angular/platform-browser              MIT             https://github.com/angular/angular/blob/master/LICENSE                   browser                                        Javascript-Externally-Facing   Yes   Static Link    No   No
                                                                                 https://www.npmjs.com/package/@angular/platform-browser-                                                                                                      Angular - library for using Angular in a web
SAS/Client      @angular/platform-browser-dynamic                 2.0.0-rc.4     dynamic                                                              MIT             https://github.com/angular/angular/blob/master/LICENSE                   browser with JIT compilation                   Javascript-Externally-Facing   Yes   Static Link    No   No
                                                                                 https://www.npmjs.com/package/@angular/platform-browser-                                                                                                      Angular - library for using Angular in a web
SAS/Client      @angular/platform-browser-dynamic                 ^6.0.9         dynamic                                                              MIT             https://github.com/angular/angular/blob/master/LICENSE                   browser with JIT compilation                   Javascript-Externally-Facing   Yes   Static Link    No   No
SAS/Client      @angular/router                                   3.0.0-beta.2   https://www.npmjs.com/package/@angular/router                        MIT             https://github.com/angular/angular/blob/master/LICENSE                   Angular - the routing library                  Javascript-Externally-Facing   Yes   Static Link    No   No
SAS/Client      @angular/router                                   ^6.0.9         https://www.npmjs.com/package/@angular/router                        MIT             https://github.com/angular/angular/blob/master/LICENSE                   Angular - the routing library                  Javascript-Externally-Facing   Yes   Static Link    No   No
SAS/Client      @types/angular                                    1.5.8          https://www.npmjs.com/package/@types/angular                         MIT             https://github.com/DefinitelyTyped/DefinitelyTyped/blob/master/LICENSE   TypeScript definitions for Angular JS 1.5      Javascript-Externally-Facing   Yes   Static Link    No   No
SAS/Client      @types/jquery                                     1.10.34        https://www.npmjs.com/package/@types/jquery                          MIT             https://github.com/DefinitelyTyped/DefinitelyTyped/blob/master/LICENSE   TypeScript definitions for jQuery              Javascript-Externally-Facing   Yes   Static Link    No   No
SAS/Client      @types/lodash                                     ^4.14.52       https://www.npmjs.com/package/@types/lodash                          MIT             https://github.com/DefinitelyTyped/DefinitelyTyped/blob/master/LICENSE   TypeScript definitions for Lo-Dash             Javascript-Externally-Facing   Yes   Static Link    No   No
SAS/Client      @types/node                                       ^7.0.4         https://www.npmjs.com/package/@types/node                            MIT             https://github.com/DefinitelyTyped/DefinitelyTyped/blob/master/LICENSE   TypeScript definitions for Node.js             Javascript-Internally-Facing   No    Standalone     No   No
SAS/Client      @types/node                                       ~6.0.60        https://www.npmjs.com/package/@types/node                            MIT             https://github.com/DefinitelyTyped/DefinitelyTyped/blob/master/LICENSE   TypeScript definitions for Node.js             Javascript-Internally-Facing   No    Standalone     No   No
SAS/Client      @types/restangular                                ^1.5.34        https://www.npmjs.com/package/@types/restangular                     MIT             https://github.com/DefinitelyTyped/DefinitelyTyped/blob/master/LICENSE   TypeScript definitions for Restangular v1.5.0  Javascript-Externally-Facing   Yes   Static Link    No   No
                                                                19-10971-dsj                                         Doc 210                         Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                       Main Document
                                                                                                                                                                Pg 212 of 325
                                                     http://ilgitlab.e
                                                     yeblaster.com
SAS/Client   Select2                                 :sizmek-ui-       http://ilgitlab.eyeblaster.com:sizmek-ui-infra/fork-select2.git         MIT                 https://github.com/select2/select2/blob/master/LICENSE.md                         customizable select box (jQuery)                     Javascript-Internally-Facing   No    Standalone    Yes   No
                                                                                                                                                                                                                                                     Advanced Data Grid / Data Table supporting
                                                                                                                                                                                                                                                     Javascript / React / AngularJS / Web
SAS/Client   ag-grid                                 10.0.0          https://www.npmjs.com/package/ag-grid                                     MIT                 https://github.com/ag-grid/ag-grid/blob/master/LICENSE.txt                        Components                                           Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   ag-grid-enterprise                      10.0.0          https://www.npmjs.com/package/ag-grid-enterprise                                              https://github.com/ag-grid/ag-grid/blob/master/LICENSE.txt                        ag-Grid Enterprise Features                          Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   ajv                                     ^6.8.1          https://www.npmjs.com/package/ajv                                         MIT                 https://github.com/epoberezkin/ajv/blob/master/LICENSE                            Another JSON Schema Validator                        Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   alphabetize-object-keys                 ^1.0.4          https://www.npmjs.com/package/alphabetize-object-keys                     ISC                 https://github.com/atomantic/alphabetize-object-keys/blob/master/LICENSE          deeply alphabetize object keys                       Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   angular                                 1.5.10          https://www.npmjs.com/package/angular                                     MIT                 https://github.com/angular/angular.js/blob/master/LICENSE                         Angular.js framework                                 Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                                                                                                                                                                                                     AngularJS provided as a CommonJS module.
                                                                                                                                                                                                                                                     Compiled with jsdom when running in Node.
                                                                                                                                                                                                                                                     Useful for client-side apps built with Browserify
                                                                                                                                                                                                                                                     and for testing AngularJS code in Node without
SAS/Client   angular                                 >=1.2.0         https://www.npmjs.com/package/angular                                     MIT                 https://github.com/angular/angular.js/blob/master/LICENSE                         depending on a browser.                              Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   angular-bind-notifier                   1.1.7           https://www.npmjs.com/package/angular-bind-notifier                       MIT                 https://github.com/aeisenberg/angular-bind-notifier/blob/master/LICENSE           on demand refreshing of angular bindings             Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   angular-cookies                         1.5.8           https://www.npmjs.com/package/angular-cookies                             MIT                 https://github.com/angular/angular.js/blob/master/LICENSE                         AngularJS module for cookies                         Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                                                                                                                                                                                                     "This directive allows you to use jQuery UI's
                                                                                                                                                                                                                                                     draggable and droppable plugins with
SAS/Client   angular-dragdrop                        1.0.13          https://www.npmjs.com/package/angular-dragdrop                            MIT                 https://github.com/codef0rmer/angular-dragdrop/blob/master/LICENSE                AngularJS."                                          Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                                                                                                                                                                                                     A minimal module that adds the ability to
SAS/Client   angular-dynamic-locale                  0.1.27          https://www.npmjs.com/package/angular-dynamic-locale                      MIT                 https://github.com/lgalfaso/angular-dynamic-locale/blob/master/LICENSE            dynamically change the locale                        Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                                                                                                                                                                                                     An AngularJS service that implements the
                                                                                                                                                                                                                                                     HTML5 W3C saveAs() in browsers that do not
SAS/Client   angular-file-saver                      1.1.3           https://www.npmjs.com/package/angular-file-saver                          MIT                 https://github.com/alferov/angular-file-saver/blob/master/license.md              natively support it                                  Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                                                                                                                                                                                                     Module for the AngularJS. Supports drag-n-
                                                                                                                                                                                                                                                     drop upload, upload progress, validation filters
SAS/Client   angular-file-upload                     2.5.0           https://www.npmjs.com/package/angular-file-upload                         MIT                 https://github.com/nervgh/angular-file-upload/blob/master/license.txt             and a file upload queue.                             Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   angular-i18n                            1.5.8           https://www.npmjs.com/package/angular-i18n                                MIT                 https://github.com/angular/angular.js/blob/master/LICENSE                         AngularJS module for internationalization            Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   angular-loading-bar                     0.6.0           https://www.npmjs.com/package/angular-loading-bar                         MIT                 https://github.com/chieffancypants/angular-loading-bar/blob/master/LICENSE        An automatic loading bar for AngularJS               Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   angular-mocks                           >=1.2.0         https://www.npmjs.com/package/angular-mocks                               MIT                 https://github.com/angular/angular.js/blob/master/LICENSE                         Npm package for angular-mocks.js                     Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   angular-qrcode                          7.2.0           https://www.npmjs.com/package/angular-qrcode                              MIT                 https://github.com/monospaced/angular-qrcode/blob/master/LICENCE.txt              QR Code elements for AngularJS.                      Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                                                                                                                                                                                                     AngularJS module for interacting with RESTful
SAS/Client   angular-resource                        1.5.8           https://www.npmjs.com/package/angular-resource                            MIT                 https://github.com/angular/angular.js/blob/master/LICENSE                         server-side data sources                             Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   angular-sanitize                        1.5.8           https://www.npmjs.com/package/angular-sanitize                            MIT                 https://github.com/angular/angular.js/blob/master/LICENSE                         AngularJS module for sanitizing HTML                 Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   angular-sanitize                        >=1.2.0         https://www.npmjs.com/package/angular-sanitize                            MIT                 https://github.com/angular/angular.js/blob/master/LICENSE                         AngularJS module for sanitizing HTML                 Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   angular-scenario                        >=1.2.0         https://www.npmjs.com/package/angular-scenario                            MIT                 https://github.com/angular/angular.js/blob/master/LICENSE                         AngularJS module for end-to-end testing              Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                                     Angular directive for a colorpicker, that bases
SAS/Client   angular-spectrum-colorpicker            1.4.5           https://www.npmjs.com/package/angular-spectrum-colorpicker                MIT                 https://github.com/Jimdo/angular-spectrum-colorpicker/blob/master/LICENSE         on http://bgrins.github.io/spectrum/                 Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   angular-translate                       2.8.1           https://www.npmjs.com/package/angular-translate                           MIT                 https://github.com/angular-translate/angular-translate/blob/master/LICENSE        A translation module for AngularJS                   Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   angular-translate                       ~2.6.1          https://www.npmjs.com/package/angular-translate                           MIT                 https://github.com/angular-translate/angular-translate/blob/master/LICENSE        A translation module for AngularJS                   Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                                                                                                                                                                                                     Creates a loading function for a typical static file
                                                                                                                                                                                                                                                     url pattern: "lang-en_US.json", "lang-
                                                                                                                                                                                                                                                     de_DE.json", etc. Using this builder, the
                                                                                                                                                                                                                                                     response of these urls must be an object of key-
SAS/Client   angular-translate-loader-static-files   2.8.1           https://www.npmjs.com/package/angular-translate-loader-static-files       MIT                 https://github.com/angular-translate/angular-translate/blob/master/LICENSE        value pairs.                                         Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                                                                                                                                                                                                     Abstraction layer for cookieStore. This service
                                                                                                                                                                                                                                                     is used when telling angular-translate to use
SAS/Client   angular-translate-storage-cookie        2.8.1           https://www.npmjs.com/package/angular-translate-storage-cookie            MIT                 https://github.com/angular-translate/angular-translate/blob/master/LICENSE        cookieStore as storage.                              Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                                                                                                                                                                                                     Abstraction layer for localStorage. This service
                                                                                                                                                                                                                                                     is used when telling angular-translate to use
SAS/Client   angular-translate-storage-local         2.8.1           https://www.npmjs.com/package/angular-translate-storage-local             MIT                 https://github.com/angular-translate/angular-translate/blob/master/LICENSE        localStorage as storage.                             Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                                                                                                                                                                                                     This directive allows you to add ACE editor
SAS/Client   angular-ui-ace                          0.2.3           https://www.npmjs.com/package/angular-ui-ace                              MIT                 https://github.com/angular-ui/ui-ace/blob/master/LICENSE                          elements.                                            Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   angular-ui-bootstrap                    0.13.4          https://www.npmjs.com/package/angular-ui-bootstrap                        MIT                 https://github.com/angular-ui/bootstrap/blob/master/LICENSE                       Bootstrap widgets for Angular                        Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   angular-ui-router                       0.2.15          https://www.npmjs.com/package/angular-ui-router                           MIT                 https://github.com/angular-ui/ui-router/blob/master/LICENSE                       State-based routing for AngularJS                    Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                     http://ilgitlab.eyeblaster.com:sizmek-ui-infra/fork-angular1-                                                                                                                   allow you to store data in the web storage of
SAS/Client   angular-webstorage                      0.0.1           webstorage.git#0.0.1                                                      MIT                 https://github.com/william57m/angular-webstorage/blob/master/LICENSE              your browser.                                        Javascript-Externally-Facing   Yes   Static Link   Yes   No
                                                                                                                                                                                                                                                     XML to JSON and vice versa javascript
SAS/Client   angular-x2js                            0.2.0           http://ilgitlab.eyeblaster.com:mdx-ui-infra/fork-angular-x2js.git#0.2.0   Apache Licence v2   https://github.com/abdolence/x2js/blob/master/package.json                        conversion functions                                 Javascript-Externally-Facing   Yes   Static Link   Yes   No
                                                                                                                                                                                                                                                     An Angular Toaster Notification library based on
SAS/Client   angular2-toaster                        6.0.0           https://www.npmjs.com/package/angular2-toaster                            MIT                 https://github.com/Stabzs/Angular2-Toaster/blob/master/LICENSE                    AngularJS-Toaster                                    Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                                                                                                                                                                                                     Vendor-agnostic analytics for AngularJS
SAS/Client   angulartics                             0.20.0          https://www.npmjs.com/package/angulartics                                 MIT                 https://github.com/angulartics/angulartics/blob/master/LICENSE                    applications                                         Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   angulartics-google-analytics            0.1.1           https://www.npmjs.com/package/angulartics-google-analytics                MIT                 https://github.com/angulartics/angulartics-google-analytics/blob/master/LICENSE   Google Analytics plugin for Angulartics              Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                                                                                                                                                                                                     Higher-order functions and common patterns
SAS/Client   async                                   ^2.0.0          https://www.npmjs.com/package/async                                       MIT                 https://github.com/caolan/async/blob/master/LICENSE                               for asynchronous code                                Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                                                                                                                                                                                                     Parse CSS and add vendor prefixes to CSS
SAS/Client   autoprefixer                            ^6.3.7          https://www.npmjs.com/package/autoprefixer                                MIT                 https://github.com/postcss/autoprefixer/blob/master/LICENSE                       rules using values from the Can I Use website Javascript-Internally-Facing          No    Standalone    No    No
SAS/Client   awesome-typescript-loader               3.1.2           https://www.npmjs.com/package/awesome-typescript-loader                   MIT                 https://github.com/s-panferov/awesome-typescript-loader/blob/master/LICENSE.md    Awesome TS loader for webpack                        Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   babel-core                              ^6.26.3         https://www.npmjs.com/package/babel-core                                  MIT                 https://github.com/babel/babel/blob/master/LICENSE                                Babel compiler core.                                 Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   babel-loader                            ^7.1.4          https://www.npmjs.com/package/babel-loader                                MIT                 https://github.com/babel/babel/blob/master/LICENSE                                babel module loader for webpack                      Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                                     Externalise references to helpers and builtins,
                                                                                                                                                                                                                                                     automatically polyfilling your code without
SAS/Client   babel-plugin-transform-runtime          ^6.23.0         https://www.npmjs.com/package/babel-plugin-transform-runtime              MIT                 https://github.com/babel/babel/blob/master/LICENSE                                polluting globals                                    Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                                     Provides polyfills necessary for a full ES2015+
SAS/Client   babel-polyfill                          ^6.26.0         https://www.npmjs.com/package/babel-polyfill                              MIT                 https://github.com/babel/babel/blob/master/LICENSE                                environment                                          Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   babel-preset-env                        ^1.7.0          https://www.npmjs.com/package/babel-preset-env                            MIT                 https://github.com/babel/babel/blob/master/LICENSE                                A Babel preset for each environment.                 Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   babel-preset-es2015                     ^6.24.1         https://www.npmjs.com/package/babel-preset-es2015                         MIT                 https://github.com/babel/babel/blob/master/LICENSE                                Babel preset for all es2015 plugins.                 Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                                     The most popular front-end framework for
                                                                                                                                                                                                                                                     developing responsive, mobile first projects on
SAS/Client   bootstrap                               3.3.6           https://www.npmjs.com/package/bootstrap                                   MIT                 https://github.com/twbs/bootstrap/blob/master/LICENSE                             the web.                                             Javascript-Externally-Facing   Yes   Static Link   No    No
                                                                                                                                                                                                                                                     bootstrap-sass is a Sass-powered version of
                                                                                                                                                                                                                                                     Bootstrap, ready to drop right into your Sass
SAS/Client   bootstrap-sass                          3.1.1           https://www.npmjs.com/package/bootstrap-sass                              MIT                 https://github.com/twbs/bootstrap-sass/blob/master/LICENSE                        powered applications.                                Javascript-Internally-Facing   No    Standalone    No    No

SAS/Client   brace                                   0.6.0           https://www.npmjs.com/package/brace                                       MIT                 https://github.com/thlorenz/brace/blob/master/LICENSE                             browserify compatible version of the ace editor.   Javascript-Externally-Facing Yes       Static Link   No    No
SAS/Client   browser-sync                            ^2.13.0         https://www.npmjs.com/package/browser-sync                                Apache-2.0          https://github.com/BrowserSync/browser-sync/blob/master/LICENSE                   Live CSS Reload & Browser Syncing                  Javascript-Internally-Facing No        Standalone    No    No
SAS/Client   browser-sync                            ^2.18.2         https://www.npmjs.com/package/browser-sync                                Apache-2.0          https://github.com/BrowserSync/browser-sync/blob/master/LICENSE                   Live CSS Reload & Browser Syncing                  Javascript-Internally-Facing No        Standalone    No    No
                                                                                                                                                                                                                                                     BDD/TDD assertion library for node.js and the
SAS/Client   chai                                    ^1.9.1          https://www.npmjs.com/package/chai                                        MIT                 https://github.com/chaijs/chai/blob/master/LICENSE                                browser. Test framework agnostic.                  Javascript-Internally-Facing     No    Standalone    No    No
                                                                                                                                                                                                                                                     extension to the chai assertion library that
SAS/Client   chai-jquery                             ^1.2.3          https://www.npmjs.com/package/chai-jquery                                 MIT                 https://github.com/chaijs/chai-jquery/blob/master/LICENSE                         provides a set of jQuery-specific assertions       Javascript-Internally-Facing     No    Standalone    No    No
SAS/Client   chalk                                   ^2.4.1          https://www.npmjs.com/package/chalk                                       MIT                 https://github.com/chalk/chalk/blob/master/license                                Terminal string styling done right                 Javascript-Internally-Facing     No    Standalone    No    No
                                                                                                                                                                                                                                                     dom class helper functions, browserified,
SAS/Client   classie                                 ^1.0.0          https://www.npmjs.com/package/classie                                     MIT                 https://github.com/yawetse/classie/blob/master/LICENSE                            classie -from bonzo                                Javascript-Externally-Facing Yes       Static Link   No    No
                                                       19-10971-dsj                                     Doc 210                        Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                         Main Document
                                                                                                                                                  Pg 213 of 325
                                                                                                                                                                                                                                         A webpack plugin to remove your build folder(s)
SAS/Client   clean-webpack-plugin           ^0.1.19        https://www.npmjs.com/package/clean-webpack-plugin                   MIT                https://github.com/johnagan/clean-webpack-plugin/blob/master/LICENSE                  before building                                 Javascript-Internally-Facing      No    Standalone    No    No
SAS/Client   clipboard                      1.5.8          https://www.npmjs.com/package/clipboard                              MIT                https://github.com/zenorocha/clipboard.js/blob/master/package.json                    Modern copy to clipboard. No Flash. Just 2kb    Javascript-Externally-Facing      Yes   Static Link   No    No
                                                                                                                                                                                                                                         A set of linters for Angular 2 applications,
SAS/Client   codelyzer                      0.0.25         https://www.npmjs.com/package/codelyzer                              MIT                https://github.com/mgechev/codelyzer/blob/master/LICENSE                              following https:/angular.io/styleguide.         Javascript-Internally-Facing      No    Standalone    No    No
                                                                                                                                                                                                                                         Linting for Angular applications, following
SAS/Client   codelyzer                      ^4.0.1         https://www.npmjs.com/package/codelyzer                              MIT                https://github.com/mgechev/codelyzer/blob/master/LICENSE                              angular.io/styleguide.                          Javascript-Internally-Facing      No    Standalone    No    No
SAS/Client   colorguard                     ^1.2.0         https://www.npmjs.com/package/colorguard                             MIT                https://github.com/mgechev/codelyzer/blob/master/LICENSE                              Keep a watchful eye on your css colors          Javascript-Internally-Facing      No    Standalone    No    No
SAS/Client   compass                        ^0.1.1         https://www.npmjs.com/package/compass                                MIT                https://github.com/ngryman/compass/blob/master/package.json                           Compass for node.js                             Javascript-Internally-Facing      No    Standalone    No    No
                                                                                                                                MIT "slightly
SAS/Client   compass-mixins                 0.12.10        https://www.npmjs.com/package/compass-mixins                         modified" (c)      https://github.com/Igosuki/compass-mixins/blob/master/LICENSE.markdown                Compass stylesheets                                Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   compass-mixins                 ^0.12.10       https://www.npmjs.com/package/compass-mixins                         MIT                https://github.com/Igosuki/compass-mixins/blob/master/LICENSE.markdown                Compass stylesheets                                Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   compass-sass-mixins            ^0.12.7        https://www.npmjs.com/package/compass-sass-mixins                    MIT                https://github.com/askucher/compass-sass-mixins/blob/master/LICENSE.md                Compass sass stylesheets                           Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   compression                    ^1.6.2         https://www.npmjs.com/package/compression                            MIT                https://github.com/expressjs/compression/blob/master/LICENSE                          Node.js compression middleware                     Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   connect                        ^3.4.1         https://www.npmjs.com/package/connect                                MIT                https://github.com/senchalabs/connect/blob/master/LICENSE                             High performance middleware framework              Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         Provides a fallback for non-existing directories
SAS/Client   connect-history-api-fallback   ^1.2.0         https://www.npmjs.com/package/connect-history-api-fallback           MIT                https://github.com/bripkens/connect-history-api-fallback/blob/master/LICENSE          so that the HTML 5 history API can be used.        Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         connect middleware for adding the livereload
SAS/Client   connect-livereload             ^0.5.4         https://www.npmjs.com/package/connect-livereload                     MIT                https://github.com/intesso/connect-livereload/blob/master/LICENSE                     script to the response                             Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   copy-webpack-plugin            ^4.5.1         https://www.npmjs.com/package/copy-webpack-plugin                    MIT                https://github.com/webpack-contrib/copy-webpack-plugin/blob/master/LICENSE            Copy files && directories with webpack             Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   core-js                        ^2.4.0         https://www.npmjs.com/package/core-js                                MIT                https://github.com/zloirock/core-js/blob/master/LICENSE                               Standard library                                   Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   core-js                        ^2.4.1         https://www.npmjs.com/package/core-js                                MIT                https://github.com/zloirock/core-js/blob/master/LICENSE                               Standard library                                   Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   css-loader                     ^0.28.11       https://www.npmjs.com/package/css-loader                             MIT                https://github.com/webpack-contrib/css-loader/blob/master/LICENSE                     CSS loader module for webpack                      Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         A modular minifier, built on top of the PostCSS
SAS/Client   cssnano                        ^3.7.3         https://www.npmjs.com/package/cssnano                                MIT                https://github.com/cssnano/cssnano/blob/master/LICENSE-MIT                            ecosystem.                                         Javascript-Internally-Facing No      Standalone    No    No
SAS/Client   deep-extend                    ^0.4.1         https://www.npmjs.com/package/deep-extend                            MIT                https://github.com/unclechu/node-deep-extend/blob/master/LICENSE                      Recursive object extending                         Javascript-Externally-Facing Yes     Static Link   No    No
                                                                                                                                                                                                                                         Lint CSS for browser support against caniuse
SAS/Client   doiuse                         ^2.4.1            https://www.npmjs.com/package/doiuse                              MIT                https://github.com/anandthakker/doiuse/blob/master/LICENSE                            database.                                          Javascript-Internally-Facing   No    Standalone    No    No
                                            http://ilgitlab.e
                                            yeblaster.com http://ilgitlab.eyeblaster.com:sizmek-ui-infra/fork-dotjem-angular-                                                                                                            Small set of directives that helps to render
SAS/Client   dotjem-angular-tree            :sizmek-ui-       tree.git                                                          MIT                https://github.com/dotJEM/angular-tree/blob/master/LICENSE                            templates based on tree's                          Javascript-Externally-Facing Yes     Static Link   Yes   No
SAS/Client   draggabilly                    2.2.0             https://www.npmjs.com/package/draggabilly                         MIT                https://github.com/desandro/draggabilly/blob/master/package.json                      Provides draggability feature                      Javascript-Externally-Facing Yes     Static Link   No    No
                                                                                                                                                                                                                                         ECMAScript 5 compatibility shims for legacy
SAS/Client   es5-shim                       3.4.0          https://www.npmjs.com/package/es5-shim                               MIT                https://github.com/es-shims/es5-shim/blob/master/LICENSE                              JavaScript engines                                 Javascript-Externally-Facing Yes     Static Link   No    No
                                                                                                                                                                                                                                         Dynamically loads ES6 modules in browsers
SAS/Client   es6-module-loader              ^0.17.8        https://www.npmjs.com/package/es6-module-loader                      MIT                https://github.com/ModuleLoader/es-module-loader/blob/master/LICENSE-MIT              and NodeJS                                         Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         A lightweight library that provides tools for
SAS/Client   es6-promise                    ^4.0.5         https://www.npmjs.com/package/es6-promise                            MIT                https://github.com/stefanpenner/es6-promise/blob/master/LICENSE                       organizing asynchronous code                       Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   event-stream                   ^3.3.3         https://www.npmjs.com/package/event-stream                           MIT                https://github.com/dominictarr/event-stream/blob/master/LICENCE                       Construct pipes of streams of events               Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   event-stream                   ^3.3.4         https://www.npmjs.com/package/event-stream                           MIT                https://github.com/dominictarr/event-stream/blob/master/LICENCE                       Construct pipes of streams of events               Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   expose-loader                  ^0.7.5         https://www.npmjs.com/package/expose-loader                          MIT                https://github.com/webpack-contrib/expose-loader/blob/master/LICENSE                  Expose loader module for webpack                   Javascript-Internally-Facing   No    Standalone    No    No

SAS/Client   express                        ~4.14.0        https://www.npmjs.com/package/express                                MIT                https://github.com/expressjs/express/blob/master/LICENSE                              Fast, unopinionated, minimalist web framework      Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         Simple fallback for Express-served single page
                                                                                                                                                                                                                                         apps that use the HTML5 History API for client
SAS/Client   express-history-api-fallback   ^2.0.0         https://www.npmjs.com/package/express-history-api-fallback           ISC                https://gitlab.com/sebdeckers/express-history-api-fallback/blob/master/package.json   side routing.                                      Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         Port of jQuery.extend for node.js and the
SAS/Client   extend                         ^3.0.0         https://www.npmjs.com/package/extend                                 MIT                https://github.com/justmoon/node-extend/blob/master/LICENSE                           browser                                            Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         Webpack loader to extract HTML and CSS
SAS/Client   extract-loader                 ^2.0.1         https://www.npmjs.com/package/extract-loader                         Unlicense          https://github.com/peerigon/extract-loader/blob/master/LICENSE                        from the bundle                                    Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   file-loader                    ^1.1.11        https://www.npmjs.com/package/file-loader                            MIT                https://github.com/webpack-contrib/file-loader/blob/master/LICENSE                    File loader module for webpack                     Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   file-saver                     1.3.3          https://www.npmjs.com/package/file-saver                             MIT                https://github.com/eligrey/FileSaver.js/blob/master/LICENSE.md                        An HTML5 saveAs() FileSaver implementation         Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   font-awesome                   4.7.0          https://www.npmjs.com/package/font-awesome                           CC, OFL-1.1, MIT   https://github.com/FortAwesome/Font-Awesome/blob/master/LICENSE.txt                   The iconic font and CSS framework                  Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   fs                             0.0.1-security https://www.npmjs.com/package/fs                                     ISC                https://github.com/nodejs/node/blob/master/LICENSE                                    File system module for nodejs                      Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         An embeddable script that makes source-code
SAS/Client   google-code-prettify           ^1.0.1         https://www.npmjs.com/package/google-code-prettify                   Apache 2.0         https://github.com/google/code-prettify/blob/master/COPYING                           snippets in HTML prettier.                         Javascript-Externally-Facing   Yes   Static Link   No    No
SAS/Client   gulp                           ^3.8.7         https://www.npmjs.com/package/gulp                                   MIT                https://github.com/gulpjs/gulp/blob/master/LICENSE                                    The streaming build system                         Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp                           ^3.9.0         https://www.npmjs.com/package/gulp                                   MIT                https://github.com/gulpjs/gulp/blob/master/LICENSE                                    The streaming build system                         Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp                           ^3.9.1         https://www.npmjs.com/package/gulp                                   MIT                https://github.com/gulpjs/gulp/blob/master/LICENSE                                    The streaming build system                         Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         Concatenates and registers AngularJS
SAS/Client   gulp-angular-templatecache     ^2.0.0         https://www.npmjs.com/package/gulp-angular-templatecache             MIT                https://github.com/miickel/gulp-angular-templatecache/blob/master/LICENSE             templates in the $templateCache.                   Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-autoprefixer              ^3.0.2         https://www.npmjs.com/package/gulp-autoprefixer                      MIT                https://github.com/sindresorhus/gulp-autoprefixer/blob/master/license                 Prefix CSS with Autoprefixer                       Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-babel                     ^7.0.1         https://www.npmjs.com/package/gulp-babel                             MIT                https://github.com/babel/gulp-babel/blob/master/LICENSE.md                            Use next generation JavaScript, today              Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-cached                    ^1.1.0         https://www.npmjs.com/package/gulp-cached                            MIT                https://github.com/gulp-community/gulp-cached/blob/master/LICENSE                     A simple in-memory file cache for gulp             Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-clean                     ^0.3.1         https://www.npmjs.com/package/gulp-clean                             MIT                https://github.com/peter-vilja/gulp-clean/blob/master/package.json                    A gulp plugin for removing files and folders.      Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-clean-css                 ^2.0.11        https://www.npmjs.com/package/gulp-clean-css                         MIT                https://github.com/scniro/gulp-clean-css/blob/master/LICENSE                          Minify css with clean-css.                         Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-compass                   ^2.1.0         https://www.npmjs.com/package/gulp-compass                           MIT                https://github.com/appleboy/gulp-compass/blob/master/LICENSE                          Compile Compass files                              Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-concat                    ^2.3.4         https://www.npmjs.com/package/gulp-concat                            MIT                https://github.com/gulp-community/gulp-concat/blob/master/LICENSE                     Concatenates files                                 Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-concat                    ^2.6.0         https://www.npmjs.com/package/gulp-concat                            MIT                https://github.com/gulp-community/gulp-concat/blob/master/LICENSE                     Concatenates files                                 Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-concat-css                ^2.3.0         https://www.npmjs.com/package/gulp-concat-css                        MIT                https://github.com/mariocasciaro/gulp-concat-css/blob/master/LICENSE                  Concatenates css files                             Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-exec                      ^3.0.2         https://www.npmjs.com/package/gulp-exec                              MIT                https://github.com/robrich/gulp-exec/blob/master/LICENSE                              Exec plugin for gulp                               Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         Create vinyl files from a string or buffer and
SAS/Client   gulp-file                      ^0.4.0         https://www.npmjs.com/package/gulp-file                              BSD                https://github.com/alexmingoia/gulp-file/blob/master/package.json                     insert into the Gulp pipeline.                     Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-filter                    ^4.0.0         https://www.npmjs.com/package/gulp-filter                            MIT                https://github.com/sindresorhus/gulp-filter/blob/master/license                       Filter files in a vinyl stream                     Javascript-Internally-Facing   No    Standalone    No    No

SAS/Client   gulp-foreach                   ^0.1.0         https://www.npmjs.com/package/gulp-foreach                           MIT                https://github.com/mariusGundersen/gulp-flatMap/blob/master/package.json              Send each file in a stream down its own stream Javascript-Internally-Facing       No    Standalone    No    No
SAS/Client   gulp-htmlmin                   ^1.1.1         https://www.npmjs.com/package/gulp-htmlmin                           MIT                https://github.com/jonschlinkert/gulp-htmlmin/blob/master/LICENSE                     Gulp plugin to minify HTML                         Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-if                        ^2.0.0         https://www.npmjs.com/package/gulp-if                                MIT                https://github.com/robrich/gulp-if/blob/master/LICENSE                                Conditionally run a task                           Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-imagemin                  ^2.3.0         https://www.npmjs.com/package/gulp-imagemin                          MIT                https://github.com/sindresorhus/gulp-imagemin/blob/master/license                     Minify PNG, JPEG, GIF and SVG images               Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         A javascript, stylesheet and webcomponent
                                                                                                                                                                                                                                         injection plugin for Gulp, i.e. inject file
SAS/Client   gulp-inject                    ^4.1.0         https://www.npmjs.com/package/gulp-inject                            MIT                https://github.com/klei/gulp-inject/blob/master/LICENSE                               references into your index.html                    Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         Gulp plugin to inline HTML and CSS into
SAS/Client   gulp-inline-ng2-template       ^2.0.5         https://www.npmjs.com/package/gulp-inline-ng2-template               MIT                https://github.com/ludohenin/gulp-inline-ng2-template/blob/master/LICENSE             Angular 2 component views                          Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-jshint                    ^1.8.4         https://www.npmjs.com/package/gulp-jshint                            MIT                https://github.com/spalger/gulp-jshint/blob/master/LICENSE                            JSHint plugin for gulp                             Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         Automatically load any gulp plugins in your
SAS/Client   gulp-load-plugins              ^1.2.4         https://www.npmjs.com/package/gulp-load-plugins                      MIT                https://github.com/jackfranklin/gulp-load-plugins/blob/master/LICENSE                 package.json                                       Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-minify-css                ^1.2.1         https://www.npmjs.com/package/gulp-minify-css                        MIT                https://github.com/nfroidure/gulp-minify-css/blob/master/LICENSE                      Minify css with clean-css.                         Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-minify-html               ^1.0.4         https://www.npmjs.com/package/gulp-minify-html                       MIT                https://github.com/sanfords/gulp-minify-html/blob/master/LICENSE                      Minify html with minimize.                         Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-modify-file               ^1.0.1         https://www.npmjs.com/package/gulp-modify-file                       MIT                https://github.com/ifedu/gulp-modify-file/blob/master/LICENSE                         Gulp plugin allow modify file in .pipe             Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         Add angularjs dependency injection annotations
SAS/Client   gulp-ng-annotate               ^1.1.0         https://www.npmjs.com/package/gulp-ng-annotate                       CC0-1.0            https://github.com/Kagami/gulp-ng-annotate/blob/master/package.json                   with ng-annotate                                   Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         Build all of your angular templates in just one js
SAS/Client   gulp-ng-templates              0.0.5          https://www.npmjs.com/package/gulp-ng-templates                      MIT                https://github.com/VictorQueiroz/gulp-ng-templates/blob/master/package.json           file using $templateCache provider                 Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         Prevent pipe breaking caused by errors from
SAS/Client   gulp-plumber                   ^0.6.6         https://www.npmjs.com/package/gulp-plumber                           MIT                https://github.com/floatdrop/gulp-plumber/blob/master/LICENSE                         gulp plugins                                       Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                         Prevent pipe breaking caused by errors from
SAS/Client   gulp-plumber                   ~1.1.0         https://www.npmjs.com/package/gulp-plumber                           MIT                https://github.com/floatdrop/gulp-plumber/blob/master/LICENSE                         gulp plugins                                       Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-postcss                   ^6.1.1         https://www.npmjs.com/package/gulp-postcss                           MIT                https://github.com/postcss/gulp-postcss/blob/master/LICENSE                           PostCSS gulp plugin                                Javascript-Internally-Facing   No    Standalone    No    No
                                                           19-10971-dsj                                        Doc 210                      Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                    Main Document
                                                                                                                                                       Pg 214 of 325
SAS/Client   gulp-progeny                       ^0.3.1          https://www.npmjs.com/package/gulp-progeny                            Apache, MIT   https://github.com/HerringtonDarkholme/gulp-progeny/blob/master/LICENSE               Gulp plugin for dependencies building             Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-protractor                    ^2.4.0          https://www.npmjs.com/package/gulp-protractor                         MIT           https://github.com/mllrsohn/gulp-protractor/blob/master/LICENSE                       A helper for protactor and gulp                   Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-rename                        ^1.2.0          https://www.npmjs.com/package/gulp-rename                             MIT           https://github.com/hparra/gulp-rename/blob/master/LICENSE                             Rename files                                      Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-replace                       ^0.5.4          https://www.npmjs.com/package/gulp-replace                            MIT           https://github.com/lazd/gulp-replace/blob/master/LICENSE                              A string replace plugin for gulp                  Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-replace-task                  ^0.11.0         https://www.npmjs.com/package/gulp-replace-task                       MIT           https://github.com/outaTiME/gulp-replace-task/blob/master/LICENSE-MIT                 Replace text patterns with applause.              Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                          Static asset revisioning by appending content
                                                                                                                                                                                                                                          hash to filenames: unicorn.css => unicorn-
SAS/Client   gulp-rev                           ^6.0.1          https://www.npmjs.com/package/gulp-rev                                MIT           https://github.com/sindresorhus/gulp-rev/blob/master/license                          d41d8cd98f.css                                    Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                          Rewrite occurences of filenames which have
SAS/Client   gulp-rev-replace                   ^0.4.2          https://www.npmjs.com/package/gulp-rev-replace                        MIT           https://github.com/jamesknelson/gulp-rev-replace/blob/master/LICENSE                  been renamed by gulp-rev                          Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-sass                          ^2.3.2          https://www.npmjs.com/package/gulp-sass                               MIT           https://github.com/dlmanning/gulp-sass/blob/master/LICENSE                            Gulp plugin for sass                              Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-sass-lint                     ^1.2.0          https://www.npmjs.com/package/gulp-sass-lint                          MIT           https://github.com/sasstools/gulp-sass-lint/blob/master/LICENSE                       Gulp plugin for Sass Lint                         Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-sequence                      ^0.4.1          https://www.npmjs.com/package/gulp-sequence                           MIT           https://github.com/teambition/gulp-sequence/blob/master/LICENSE                       Run a series of gulp tasks in order               Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-shell                         ~0.5.2          https://www.npmjs.com/package/gulp-shell                              MIT           https://github.com/sun-zheng-an/gulp-shell/blob/master/LICENSE                        A handy command line interface for gulp           Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-sourcemaps                    2.0.0-alpha     https://www.npmjs.com/package/gulp-sourcemaps                         ISC           https://github.com/gulp-sourcemaps/gulp-sourcemaps/blob/master/LICENSE.md             Source map support for Gulp.js                    Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-sourcemaps                    ^1.6.0          https://www.npmjs.com/package/gulp-sourcemaps                         ISC           https://github.com/gulp-sourcemaps/gulp-sourcemaps/blob/master/LICENSE.md             Source map support for Gulp.js                    Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                          Render/precompile Lo-Dash/Underscore
SAS/Client   gulp-template                      ^4.0.0          https://www.npmjs.com/package/gulp-template                           MIT           https://github.com/sindresorhus/gulp-template/blob/master/license                     templates                                         Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-tslint                        ^6.0.1          https://www.npmjs.com/package/gulp-tslint                             MIT           https://github.com/panuhorsmalahti/gulp-tslint/blob/master/LICENSE                    TypeScript linter Gulp plugin                     Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                          A typescript compiler for gulp with incremental
SAS/Client   gulp-typescript                    ^2.13.6         https://www.npmjs.com/package/gulp-typescript                         MIT           https://github.com/ivogabe/gulp-typescript/blob/master/package.json                   compilation support.                              Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                          A typescript compiler for gulp with incremental
SAS/Client   gulp-typescript                    ~2.13.6         https://www.npmjs.com/package/gulp-typescript                         MIT           https://github.com/ivogabe/gulp-typescript/blob/master/package.json                   compilation support.                              Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-uglify                        ^0.3.1          https://www.npmjs.com/package/gulp-uglify                             MIT           https://github.com/terinjokes/gulp-uglify/blob/master/LICENSE.md                      Minify files with UglifyJS.                       Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-uglify                        ^1.4.1          https://www.npmjs.com/package/gulp-uglify                             MIT           https://github.com/terinjokes/gulp-uglify/blob/master/LICENSE.md                      Minify files with UglifyJS.                       Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-uglify                        ^1.5.4          https://www.npmjs.com/package/gulp-uglify                             MIT           https://github.com/terinjokes/gulp-uglify/blob/master/LICENSE.md                      Minify files with UglifyJS.                       Javascript-Internally-Facing   No    Standalone    No    No
                                                                                                                                                                                                                                          Parse build blocks in HTML files to replace
                                                                                                                                                                                                                                          references to non-optimized scripts or
SAS/Client   gulp-useref                        ^1.3.0            https://www.npmjs.com/package/gulp-useref                           MIT           https://github.com/jonkemp/gulp-useref/blob/master/LICENSE                            stylesheets.                                      Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-util                          ^3.0.7            https://www.npmjs.com/package/gulp-util                             MIT           https://github.com/gulpjs/gulp-util/blob/master/LICENSE                               Utility functions for gulp plugins                Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-watch                         ^4.3.5            https://www.npmjs.com/package/gulp-watch                            MIT           https://github.com/floatdrop/gulp-watch/blob/master/LICENSE                           Watch, that actually is an endless stream         Javascript-Internally-Facing   No    Standalone    No    No
SAS/Client   gulp-watch                         ^4.3.8            https://www.npmjs.com/package/gulp-watch                            MIT           https://github.com/floatdrop/gulp-watch/blob/master/LICENSE                           Watch, that actually is an endless stream         Javascript-Internally-Facing   No    Standalone    No    No
                                                http://ilgitlab.e
                                                yeblaster.com                                                                                                                                                                             JavaScript/HTML5 data grid component with
SAS/Client   handsontable-pro                   :mdx-ui-          http://ilgitlab.eyeblaster.com:mdx-ui-infra/handsontable-fork.git                 https://github.com/handsontable/handsontable-pro/blob/master/LICENSE                  spreadsheet look & feel.                         Javascript-Externally-Facing    Yes   Static Link   Yes   No
SAS/Client   i                                  ^0.3.6            https://www.npmjs.com/package/i                                     MIT           https://github.com/pksunkara/inflect/blob/master/LICENSE                              Custom inflections for nodejs                    Javascript-Internally-Facing    No    Standalone    No    No
SAS/Client   imports-loader                     ^0.8.0            https://www.npmjs.com/package/imports-loader                        MIT           https://github.com/webpack-contrib/imports-loader/blob/master/LICENSE                 imports loader module for webpack                Javascript-Internally-Facing    No    Standalone    No    No
SAS/Client   install                            ^0.12.1           https://www.npmjs.com/package/install                               MIT           https://github.com/benjamn/install/blob/master/LICENSE                                Minimal JavaScript module loader                 Javascript-Externally-Facing    Yes   Static Link   No    No
SAS/Client   is-ci                              ^1.0.9            https://www.npmjs.com/package/is-ci                                 MIT           https://github.com/watson/is-ci/blob/master/LICENSE                                   Detect if your code is running on a CI server    Javascript-Internally-Facing    No    Standalone    No    No
SAS/Client   isstream                           ^0.1.2            https://www.npmjs.com/package/isstream                              MIT           https://github.com/rvagg/isstream/blob/master/LICENSE.md                              Determine if an object is a Stream               Javascript-Internally-Facing    No    Standalone    No    No
                                                                                                                                                                                                                                          Official packaging of Jasmine's core files for
SAS/Client   jasmine-core                       ^2.2.0          https://www.npmjs.com/package/jasmine-core                            MIT           https://github.com/jasmine/jasmine/blob/master/MIT.LICENSE                            use by Node.js projects.                         Javascript-Internally-Facing    No    Standalone    No    No
                                                                                                                                                                                                                                          Official packaging of Jasmine's core files for
SAS/Client   jasmine-core                       ~2.4.1          https://www.npmjs.com/package/jasmine-core                            MIT           https://github.com/jasmine/jasmine/blob/master/MIT.LICENSE                            use by Node.js projects.                         Javascript-Internally-Facing    No    Standalone    No    No
                                                                                                                                                                                                                                          Official packaging of Jasmine's core files for
SAS/Client   jasmine-core                       ~2.8.0          https://www.npmjs.com/package/jasmine-core                            MIT           https://github.com/jasmine/jasmine/blob/master/MIT.LICENSE                            use by Node.js projects.                         Javascript-Internally-Facing    No    Standalone    No    No
                                                                                                                                                                                                                                          Extensions for the Jasmine JavaScript Testing
SAS/Client   jasmine-jquery                     ~1.7.0          https://www.npmjs.com/package/jasmine-jquery                          MIT           https://github.com/velesin/jasmine-jquery/blob/master/LICENSE                         Framework                                        Javascript-Internally-Facing    No    Standalone    No    No
                                                                                                                                                                                                                                          Spec reporter for jasmine behavior-driven
SAS/Client   jasmine-spec-reporter              ^2.5.0          https://www.npmjs.com/package/jasmine-spec-reporter                   Apache-2.0    https://github.com/bcaudan/jasmine-spec-reporter/blob/master/LICENSE                  development framework                            Javascript-Internally-Facing    No    Standalone    No    No
                                                                                                                                                                                                                                          Spec reporter for jasmine behavior-driven
SAS/Client   jasmine-spec-reporter              ~4.2.1          https://www.npmjs.com/package/jasmine-spec-reporter                   Apache-2.0    https://github.com/bcaudan/jasmine-spec-reporter/blob/master/LICENSE                  development framework                            Javascript-Internally-Facing    No    Standalone    No    No
SAS/Client   jquery                             2.1.1           https://www.npmjs.com/package/jquery                                  MIT           https://github.com/jquery/jquery/blob/master/LICENSE.txt                              JavaScript library for DOM operations            Javascript-Externally-Facing    Yes   Static Link   No    No
                                                                                                                                                                                                                                          A curated set of user interface interactions,
                                                                                                                                                                                                                                          effects, widgets, and themes built on top of the
SAS/Client   jquery-ui                          1.12.1          https://www.npmjs.com/package/jquery-ui                               MIT           https://github.com/jquery/jquery-ui/blob/master/LICENSE.txt                           jQuery JavaScript Library.                       Javascript-Externally-Facing    Yes   Static Link   No    No
SAS/Client   jshint-stylish                     ^0.4.0          https://www.npmjs.com/package/jshint-stylish                          MIT           https://github.com/sindresorhus/jshint-stylish/blob/master/license                    Stylish reporter for JSHint                      Javascript-Internally-Facing    No    Standalone    No    No
SAS/Client   json3                              3.2.4           https://www.npmjs.com/package/json3                                   MIT           https://github.com/bestiejs/json3/blob/master/LICENSE                                 modern JSON implementation                       Javascript-Externally-Facing    Yes   Static Link   No    No
SAS/Client   jsonformatter                      0.6.0           https://www.npmjs.com/package/jsonformatter                           Apache-2.0    https://github.com/mohsen1/json-formatter/blob/master/LICENSE.md                      Angular Publishable Directive Boilerplate        Javascript-Externally-Facing    Yes   Static Link   No    No
                                                                                                                                                                                                                                          opensource free pure JavaScript cryptographic
                                                                                                                                                                                                                                          library supports RSA/RSAPSS/ECDSA/DSA
                                                                                                                                                                                                                                          signing/validation, ASN.1, PKCS#1/5/8
                                                                                                                                                                                                                                          private/public key, X.509 certificate, CRL, CMS
                                                                                                                                                                                                                                          SignedData, TimeStamp and CAdES and
                                                                                                                                                                                                                                          JSON Web
SAS/Client   jsrsasign                          4.8.2           https://www.npmjs.com/package/jsrsasign                               MIT           https://github.com/kjur/jsrsasign/blob/master/LICENSE.txt                             Signature(JWS)/Token(JWT)/Key(JWK). This Javascript-Externally-Facing            Yes   Static Link   No    No
                                                                                                                                                                                                                                          opensource free pure JavaScript cryptographic
                                                                                                                                                                                                                                          library supports RSA/RSAPSS/ECDSA/DSA
                                                                                                                                                                                                                                          signing/validation, ASN.1, PKCS#1/5/8
                                                                                                                                                                                                                                          private/public key, X.509 certificate, CRL,
                                                                                                                                                                                                                                          OCSP, CMS SignedData, TimeStamp and
                                                                                                                                                                                                                                          CAdES and JSON Web
SAS/Client   jsrsasign                          ^8.0.12         https://www.npmjs.com/package/jsrsasign                               MIT           https://github.com/kjur/jsrsasign/blob/master/LICENSE.txt                             Signature(JWS)/Token(JWT)/Key(JWK)               Javascript-Externally-Facing    Yes   Static Link   No    No
SAS/Client   jstree                             3.0.8           https://www.npmjs.com/package/jstree                                  MIT           https://github.com/vakata/jstree/blob/master/LICENSE-MIT                              jQuery tree plugin                               Javascript-Externally-Facing    Yes   Static Link   No    No
SAS/Client   karma                              0.12.28         https://www.npmjs.com/package/karma                                   MIT           https://github.com/karma-runner/karma/blob/master/LICENSE                             Spectacular Test Runner for JavaScript.          Javascript-Internally-Facing    No    Standalone    No    No
SAS/Client   karma                              ~0.13.22        https://www.npmjs.com/package/karma                                   MIT           https://github.com/karma-runner/karma/blob/master/LICENSE                             Spectacular Test Runner for JavaScript.          Javascript-Internally-Facing    No    Standalone    No    No
SAS/Client   karma                              ~2.0.0          https://www.npmjs.com/package/karma                                   MIT           https://github.com/karma-runner/karma/blob/master/LICENSE                             Spectacular Test Runner for JavaScript.          Javascript-Internally-Facing    No    Standalone    No    No
SAS/Client   karma-chai                         ^0.1.0          https://www.npmjs.com/package/karma-chai                              MIT           https://github.com/xdissent/karma-chai/blob/master/LICENSE                            Chai for Karma                                   Javascript-Internally-Facing    No    Standalone    No    No
SAS/Client   karma-chai-jquery                  ^1.0.0          https://www.npmjs.com/package/karma-chai-jquery                       MIT           https://github.com/eclifford/karma-chai-jquery/blob/master/LICENSE                    Chai Jquery for Karma                            Javascript-Internally-Facing    No    Standalone    No    No
                                                                                                                                                                                                                                          A Karma plugin. Launcher for Chrome and
SAS/Client   karma-chrome-launcher              ^0.1.4          https://www.npmjs.com/package/karma-chrome-launcher                   MIT           https://github.com/karma-runner/karma-chrome-launcher/blob/master/LICENSE             Chrome Canary.                                   Javascript-Internally-Facing    No    Standalone    No    No
                                                                                                                                                                                                                                          A Karma plugin. Launcher for Chrome and
SAS/Client   karma-chrome-launcher              ~1.0.1          https://www.npmjs.com/package/karma-chrome-launcher                   MIT           https://github.com/karma-runner/karma-chrome-launcher/blob/master/LICENSE             Chrome Canary.                                   Javascript-Internally-Facing    No    Standalone    No    No
                                                                                                                                                                                                                                          A Karma plugin. Launcher for Chrome and
SAS/Client   karma-chrome-launcher              ~2.2.0          https://www.npmjs.com/package/karma-chrome-launcher                   MIT           https://github.com/karma-runner/karma-chrome-launcher/blob/master/LICENSE             Chrome Canary.                                   Javascript-Internally-Facing    No    Standalone    No    No
SAS/Client   karma-coverage                     ^1.1.0          https://www.npmjs.com/package/karma-coverage                          MIT           https://github.com/karma-runner/karma-coverage/blob/master/LICENSE                    A Karma plugin. Generate code coverage.          Javascript-Internally-Facing    No    Standalone    No    No
                                                                                                                                                                                                                                          A karma reporter that uses the latest istanbul
                                                                                                                                                                                                                                          1.x APIs (with full sourcemap support) to report
SAS/Client   karma-coverage-istanbul-reporter   ^1.2.1          https://www.npmjs.com/package/karma-coverage-istanbul-reporter        MIT           https://github.com/mattlewis92/karma-coverage-istanbul-reporter/blob/master/LICENSE   coverage.                                        Javascript-Internally-Facing    No    Standalone    No    No
                                                                                                                                                                                                                                          A Karma plugin - adapter for Jasmine testing
SAS/Client   karma-jasmine                      ^0.3.5          https://www.npmjs.com/package/karma-jasmine                           MIT           https://github.com/karma-runner/karma-jasmine/blob/master/LICENSE                     framework.                                       Javascript-Internally-Facing    No    Standalone    No    No
                                                                                                                                                                                                                                          A Karma plugin - adapter for Jasmine testing
SAS/Client   karma-jasmine                      ~1.0.2          https://www.npmjs.com/package/karma-jasmine                           MIT           https://github.com/karma-runner/karma-jasmine/blob/master/LICENSE                     framework.                                       Javascript-Internally-Facing    No    Standalone    No    No
                                                                                                                                                                                                                                          A Karma plugin - adapter for Jasmine testing
SAS/Client   karma-jasmine                      ~1.1.0          https://www.npmjs.com/package/karma-jasmine                           MIT           https://github.com/karma-runner/karma-jasmine/blob/master/LICENSE                     framework.                                       Javascript-Internally-Facing    No    Standalone    No    No
                                                                                                                                                                                                                                          A Karma plugin. Dynamically displays tests
SAS/Client   karma-jasmine-html-reporter        ^0.2.2          https://www.npmjs.com/package/karma-jasmine-html-reporter             MIT           https://github.com/dfederm/karma-jasmine-html-reporter/blob/master/LICENSE            results at debug.html page                       Javascript-Internally-Facing    No    Standalone    No    No

SAS/Client   karma-jquery                       ^0.1.0          https://www.npmjs.com/package/karma-jquery                            MIT           https://github.com/scf2k/karma-jquery/blob/master/LICENSE                             A Karma plugin - adapter for jQuery framework. Javascript-Internally-Facing      No    Standalone    No    No
                                                        19-10971-dsj                                   Doc 210                    Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                        Main Document
                                                                                                                                             Pg 215 of 325
                                                                                                                                                                                                                                  A Karma plugin. Adapter for Mocha testing
SAS/Client   karma-mocha                     ^0.1.8         https://www.npmjs.com/package/karma-mocha                     MIT                 https://github.com/karma-runner/karma-mocha/blob/master/LICENSE                     framework.                                      Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   karma-mocha-reporter            ^2.0.4         https://www.npmjs.com/package/karma-mocha-reporter            MIT                 https://github.com/litixsoft/karma-mocha-reporter/blob/master/LICENSE               Karma reporter with mocha style logging.        Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  A Karma plugin. Compile AngularJS templates
SAS/Client   karma-ng-html2js-preprocessor   ^0.1.2         https://www.npmjs.com/package/karma-ng-html2js-preprocessor   MIT                 https://github.com/karma-runner/karma-ng-html2js-preprocessor/blob/master/LICENSE   to JavaScript on the fly.                       Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   karma-phantomjs-launcher        ^0.1.4         https://www.npmjs.com/package/karma-phantomjs-launcher        MIT                 https://github.com/karma-runner/karma-phantomjs-launcher/blob/master/LICENSE        A Karma plugin. Launcher for PhantomJS.         Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   karma-sinon-chai                ^0.2.0         https://www.npmjs.com/package/karma-sinon-chai                MIT                 https://github.com/kmees/karma-sinon-chai/blob/master/LICENSE                       Sinon and Chai for Karma                        Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  "A Karma plugin. Report all spec-results to
SAS/Client   karma-spec-reporter             ^0.0.18        https://www.npmjs.com/package/karma-spec-reporter             MIT                 https://github.com/mlex/karma-spec-reporter/blob/master/LICENSE                     console (like mocha's spec reporter)."          Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   load-json-file                  ^4.0.0         https://www.npmjs.com/package/load-json-file                  MIT                 https://github.com/sindresorhus/load-json-file/blob/master/license                  Read and parse a JSON file                      Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  A utility library delivering consistency,
SAS/Client   lodash                          2.4.1          https://www.npmjs.com/package/lodash                          MIT                 https://github.com/lodash/lodash/blob/master/LICENSE                                customization, performance, & extras.           Javascript-Externally-Facing         Yes   Static Link   No   No
                                                                                                                                                                                                                                  Create a stream that emits events from multiple
SAS/Client   merge-stream                    ^1.0.0         https://www.npmjs.com/package/merge-stream                    MIT                 https://github.com/grncdr/merge-stream/blob/master/LICENSE                          other streams                                   Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   mini-css-extract-plugin         ^0.4.0         https://www.npmjs.com/package/mini-css-extract-plugin         MIT                 https://github.com/webpack-contrib/mini-css-extract-plugin/blob/master/LICENSE      desc                                            Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   mocha                           ^1.21.4        https://www.npmjs.com/package/mocha                           MIT                 https://github.com/mochajs/mocha/blob/master/LICENSE                                simple, flexible, fun test framework            Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   moment                          2.9.0          https://www.npmjs.com/package/moment                          MIT                 https://github.com/moment/moment/blob/develop/LICENSE                               Parse, validate, manipulate, and display dates Javascript-Externally-Facing          Yes   Static Link   No   No
                                                                                                                                                                                                                                  An AngularJS simple directive that turns arrays
SAS/Client   ng-csv                          0.3.3          https://www.npmjs.com/package/ng-csv                          MIT                 https://github.com/asafdav/ng-csv/blob/master/LICENSE                               and objects into downloadable CSV files         Javascript-Externally-Facing         Yes   Static Link   No   No
                                                                                                                                                                                                                                  Uses user-agent to set css classes or directly
SAS/Client   ng-device-detector              3.0.1          https://www.npmjs.com/package/ng-device-detector              MIT                 https://github.com/srfrnk/ng-device-detector/blob/master/license.txt                usable via JS.                                  Javascript-Externally-Facing         Yes   Static Link   No   No
                                                                                                                                                                                                                                  Standalone script to turn Angular template into
SAS/Client   ng-html2js                      ^2.0.0         https://www.npmjs.com/package/ng-html2js                      MIT                 https://github.com/yaru22/ng-html2js/blob/master/package.json                       js and put it in a module.                      Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   node-sass                       ^4.9.0         https://www.npmjs.com/package/node-sass                       MIT                 https://github.com/sass/node-sass/blob/master/LICENSE                               Wrapper around libsass                          Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   npm                             ^6.0.1         https://www.npmjs.com/package/npm                             Artistic-2.0        https://github.com/npm/cli/blob/latest/LICENSE                                      A package manager for JavaScript                Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  "open a file or url in the user's preferred
SAS/Client   open                            0.0.5          https://www.npmjs.com/package/open                            MIT                 https://github.com/sindresorhus/open/blob/master/license                            application"                                    Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  Fast and powerful CSV parser for the browser
                                                                                                                                                                                                                                  that supports web workers and streaming large
                                                                                                                                                                                                                                  files. Converts CSV to JSON and JSON to
SAS/Client   papaparse                       4.3.2          https://www.npmjs.com/package/papaparse                       MIT                 https://github.com/mholt/PapaParse/blob/master/LICENSE                              CSV.                                            Javascript-Externally-Facing         Yes   Static Link   No   No
SAS/Client   postcss-load-plugins            ^2.3.0         https://www.npmjs.com/package/postcss-load-plugins            MIT                 https://github.com/michael-ciniawsky/postcss-load-plugins/blob/master/LICENSE       Autoload Plugins for PostCSS                    Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   postcss-loader                  ^2.1.5         https://www.npmjs.com/package/postcss-loader                  MIT                 https://github.com/postcss/postcss-loader/blob/master/LICENSE                       PostCSS loader for webpack                      Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   postcss-reporter                ^1.4.1         https://www.npmjs.com/package/postcss-reporter                MIT                 https://github.com/postcss/postcss-reporter/blob/master/LICENSE                     Log PostCSS messages in the console             Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   protractor                      ^4.0.0         https://www.npmjs.com/package/protractor                      MIT                 https://github.com/angular/protractor/blob/master/LICENSE                           Webdriver E2E test wrapper for Angular.         Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   protractor                      ~5.1.2         https://www.npmjs.com/package/protractor                      MIT                 https://github.com/angular/protractor/blob/master/LICENSE                           Webdriver E2E test wrapper for Angular.         Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  React is a JavaScript library for building user
SAS/Client   react                           15.6.1         https://www.npmjs.com/package/react                           BSD-3-Clause, MIT   https://github.com/facebook/react/blob/master/LICENSE                               interfaces.                                     Javascript-Externally-Facing         Yes   Static Link   No   No
SAS/Client   react-dom                       15.6.1         https://www.npmjs.com/package/react-dom                       BSD-3-Clause, MIT   https://github.com/facebook/react/blob/master/LICENSE                               React package for working with the DOM.         Javascript-Externally-Facing         Yes   Static Link   No   No
                                                                                                                                                                                                                                  A tool for remapping Istanbul coverage via
SAS/Client   remap-istanbul                  ^0.6.4         https://www.npmjs.com/package/remap-istanbul                  BSD-3-Clause        https://github.com/SitePen/remap-istanbul/blob/master/LICENSE                       Source Maps                                     Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  Webpack loader that resolves relative paths in
                                                                                                                                                                                                                                  url() statements based on the original source
SAS/Client   resolve-url-loader              ^2.3.0         https://www.npmjs.com/package/resolve-url-loader              MIT                 https://github.com/bholloway/resolve-url-loader/blob/master/package.json            file                                            Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   restangular                     1.4.0          https://www.npmjs.com/package/restangular                     MIT                 https://github.com/mgonto/restangular/blob/master/license.md                        Restful Resources service for AngularJS apps Javascript-Externally-Facing            Yes   Static Link   No   No
SAS/Client   rimraf                          ^2.5.3         https://www.npmjs.com/package/rimraf                          ISC                 https://github.com/isaacs/rimraf/blob/master/LICENSE                                A deep deletion module for node (like `rm -rf`) Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   run-sequence                    ^1.0.2         https://www.npmjs.com/package/run-sequence                    MIT                 https://github.com/OverZealous/run-sequence/blob/master/LICENSE                     Run a series of dependent gulp tasks in order Javascript-Internally-Facing           No    Standalone    No   No
SAS/Client   run-sequence                    ^1.1.4         https://www.npmjs.com/package/run-sequence                    MIT                 https://github.com/OverZealous/run-sequence/blob/master/LICENSE                     Run a series of dependent gulp tasks in order Javascript-Internally-Facing           No    Standalone    No   No
SAS/Client   run-sequence                    ^1.2.2         https://www.npmjs.com/package/run-sequence                    MIT                 https://github.com/OverZealous/run-sequence/blob/master/LICENSE                     Run a series of dependent gulp tasks in order Javascript-Internally-Facing           No    Standalone    No   No
                                                                                                                                                                                                                                  Library for bridging between RxJS and
SAS/Client   rx-angular                      1.1.3          https://www.npmjs.com/package/rx-angular                      Apache-2.0          https://github.com/Reactive-Extensions/rx.angular.js/blob/master/license.txt        AngularJS.                                      Javascript-Externally-Facing         Yes   Static Link   No   No
SAS/Client   rxjs                            5.0.0-beta.6   https://www.npmjs.com/package/rxjs                            Apache-2.0          https://github.com/ReactiveX/rxjs/blob/master/LICENSE.txt                           Reactive Extensions for modern JavaScript       Javascript-Externally-Facing         Yes   Static Link   No   No
SAS/Client   rxjs                            ^6.2.2         https://www.npmjs.com/package/rxjs                            Apache-2.0          https://github.com/ReactiveX/rxjs/blob/master/LICENSE.txt                           Reactive Extensions for modern JavaScript       Javascript-Externally-Facing         Yes   Static Link   No   No
SAS/Client   sass-loader                     ^7.0.1         https://www.npmjs.com/package/sass-loader                     MIT                 https://github.com/webpack-contrib/sass-loader/blob/master/LICENSE                  Sass loader for webpack                         Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   script-loader                   ^0.7.2         https://www.npmjs.com/package/script-loader                   MIT                 https://github.com/webpack-contrib/script-loader/blob/master/LICENSE                script loader module for webpack                Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   semver                          ^5.3.0         https://www.npmjs.com/package/semver                          ISC                 https://github.com/npm/node-semver/blob/master/LICENSE                              The semantic version parser used by npm.        Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   serve-static                    ^1.11.1        https://www.npmjs.com/package/serve-static                    MIT                 https://github.com/expressjs/serve-static/blob/master/LICENSE                       Serve static files                              Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   sha-1                           ^0.1.1         https://www.npmjs.com/package/sha-1                           MIT                 https://github.com/linkgod/SHA-1/blob/master/LICENSE                                This is a SHA-1 hash generator by JavaScript. Javascript-Externally-Facing           Yes   Static Link   No   No
SAS/Client   shelljs                         ^0.8.2         https://www.npmjs.com/package/shelljs                         BSD-3-Clause        https://github.com/shelljs/shelljs/blob/master/LICENSE                              Portable Unix shell commands for Node.js        Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   sinon                           ^1.10.3        https://www.npmjs.com/package/sinon                           BSD-3-Clause        https://github.com/sinonjs/sinon/blob/master/LICENSE                                JavaScript test spies, stubs and mocks.         Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  Extends Chai with assertions for the Sinon.JS
SAS/Client   sinon-chai                      ^2.5.0         https://www.npmjs.com/package/sinon-chai                      WTFPL, BSD          https://github.com/domenic/sinon-chai/blob/master/LICENSE.txt                       mocking framework.                              Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  Convert Windows backslash paths to slash
SAS/Client   slash                           ~1.0.0         https://www.npmjs.com/package/slash                           MIT                 https://github.com/sindresorhus/slash/blob/master/license                           paths                                           Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   socket.io                       1.4.5          https://www.npmjs.com/package/socket.io                       MIT                 https://github.com/socketio/socket.io/blob/master/LICENSE                           node.js realtime framework server               Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   stream-series                   ^0.1.1         https://www.npmjs.com/package/stream-series                   MIT                 https://github.com/rschmukler/stream-series/blob/master/package.json                Waterfalls for streams                          Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   string-replace-loader           ^2.1.1         https://www.npmjs.com/package/string-replace-loader           MIT                 https://github.com/Va1/string-replace-loader/blob/master/LICENCE                    Replace loader for Webpack                      Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   style-loader                    ^0.21.0        https://www.npmjs.com/package/style-loader                    MIT                 https://github.com/webpack-contrib/style-loader/blob/master/LICENSE                 style loader module for webpack                 Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   stylelint                       ^7.0.2         https://www.npmjs.com/package/stylelint                       MIT                 https://github.com/stylelint/stylelint/blob/master/LICENSE                          Modern CSS linter                               Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   stylelint-config-standard       ^11.0.0        https://www.npmjs.com/package/stylelint-config-standard       MIT                 https://github.com/stylelint/stylelint-config-standard/blob/master/LICENSE          Standard shareable config for stylelint         Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  A Javascript library for working with native
SAS/Client   sugar                           ^1.4.1         https://www.npmjs.com/package/sugar                           MIT                 https://github.com/andrewplummer/Sugar/blob/master/LICENSE                          objects.                                        Javascript-Externally-Facing         Yes   Static Link   No   No
SAS/Client   systemjs                        0.19.27        https://www.npmjs.com/package/systemjs                        MIT                 https://github.com/systemjs/systemjs/blob/master/LICENSE                            Universal dynamic module loader                 Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   systemjs-builder                0.15.14        https://www.npmjs.com/package/systemjs-builder                MIT                 https://github.com/systemjs/builder/blob/master/LICENSE                             SystemJS Build Tool                             Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  JavaScript parser, mangler/compressor and
SAS/Client   terser                          3.14.1         https://www.npmjs.com/package/terser                          BSD-2-Clause        https://github.com/terser-js/terser/blob/master/LICENSE                             beautifier toolkit for ES6+                     Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  Convert an absolute path to a tilde path:
SAS/Client   tildify                         ^1.2.0         https://www.npmjs.com/package/tildify                         MIT                 https://github.com/sindresorhus/tildify/blob/master/license                         `/Users/sindresorhus/dev` → `~/dev`             Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   tiny-lr                         ^0.2.1         https://www.npmjs.com/package/tiny-lr                         MIT                 https://github.com/mklabs/tiny-lr/blob/master/LICENSE-MIT                           Tiny LiveReload server, background-friendly     Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   traceur                         ^0.0.111       https://www.npmjs.com/package/traceur                         Apache-2.0          https://github.com/google/traceur-compiler/blob/master/LICENSE                      ES6 to ES5 compiler                             Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   ts-loader                       ^4.4.1         https://www.npmjs.com/package/ts-loader                       MIT                 https://github.com/TypeStrong/ts-loader/blob/master/LICENSE                         TypeScript loader for webpack                   Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  TypeScript execution environment and REPL
SAS/Client   ts-node                         ^1.0.0         https://www.npmjs.com/package/ts-node                         MIT                 https://github.com/TypeStrong/ts-node/blob/master/LICENSE                           for node                                        Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  TypeScript execution environment and REPL
SAS/Client   ts-node                         ~4.1.0         https://www.npmjs.com/package/ts-node                         MIT                 https://github.com/TypeStrong/ts-node/blob/master/LICENSE                           for node                                        Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  An extensible static analysis linter for the
SAS/Client   tslint                          ^3.13.0        https://www.npmjs.com/package/tslint                          Apache-2.0          https://github.com/palantir/tslint/blob/master/LICENSE                              TypeScript language                             Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  An extensible static analysis linter for the
SAS/Client   tslint                          ^5.10.0        https://www.npmjs.com/package/tslint                          Apache-2.0          https://github.com/palantir/tslint/blob/master/LICENSE                              TypeScript language                             Javascript-Internally-Facing         No    Standalone    No   No
                                                                                                                                                                                                                                  An extensible static analysis linter for the
SAS/Client   tslint                          ~5.9.1         https://www.npmjs.com/package/tslint                          Apache-2.0          https://github.com/palantir/tslint/blob/master/LICENSE                              TypeScript language                             Javascript-Internally-Facing         No    Standalone    No   No
SAS/Client   tslint-loader                   ^3.6.0         https://www.npmjs.com/package/tslint-loader                   MIT                 https://github.com/wbuchwalter/tslint-loader#license                                tslint loader for webpack                       Javascript-Internally-Facing         No    Standalone    No   No

SAS/Client   tslint-stylish                  2.1.0-beta     https://www.npmjs.com/package/tslint-stylish                  MIT                 https://github.com/adamfitzpatrick/tslint-stylish/blob/master/package.json          Reporter for tslint along the lines of jshint-stylish Javascript-Internally-Facing   No    Standalone    No   No
                                                                                                                                                                                                                                  TypeScript is a language for application scale
SAS/Client   typescript                      2.8.3          https://www.npmjs.com/package/typescript                      Apache-2.0          https://github.com/microsoft/TypeScript/blob/master/LICENSE.txt                     JavaScript development                                Javascript-Internally-Facing   No    Standalone    No   No
                                                                                                                                                                                                                                  TypeScript is a language for application scale
SAS/Client   typescript                      2.9.2          https://www.npmjs.com/package/typescript                      Apache-2.0          https://github.com/microsoft/TypeScript/blob/master/LICENSE.txt                     JavaScript development                                Javascript-Internally-Facing   No    Standalone    No   No
                                                                                19-10971-dsj                                     Doc 210                         Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                                Main Document
                                                                                                                                                                            Pg 216 of 325
                                                                                                                                                                                                                                                                         TypeScript is a language for application scale
SAS/Client        typescript                                          ~1.8.10        https://www.npmjs.com/package/typescript                            Apache-2.0            https://github.com/microsoft/TypeScript/blob/master/LICENSE.txt                           JavaScript development                              Javascript-Internally-Facing   No    Standalone     No   No
SAS/Client        typings                                             ^1.3.1         https://www.npmjs.com/package/typings                               MIT                   https://github.com/typings/typings/blob/master/LICENSE                                    The TypeScript Definition Manager                   Javascript-Internally-Facing   No    Standalone     No   No
                                                                                                                                                                                                                                                                         A proxy to `path`, replacing `\\` with `/` for all
                                                                                                                                                                                                                                                                         results & new methods to normalize & join
                                                                                                                                                                                                                                                                         keeping leading `./` and add, change, default,
SAS/Client        upath                                               ^1.1.0         https://www.npmjs.com/package/upath                                 MIT                   https://github.com/anodynos/upath/blob/master/LICENSE                                     trim file extensions.                               Javascript-Internally-Facing   No    Standalone     No   No
SAS/Client        vinyl-buffer                                        ^1.0.0         https://www.npmjs.com/package/vinyl-buffer                          MIT                   https://github.com/hughsk/vinyl-buffer/blob/master/LICENSE.md                             Convert streaming vinyl files to use buffers        Javascript-Internally-Facing   No    Standalone     No   No
                                                                                                                                                                                                                                                                         Use conventional text streams at the start of
SAS/Client        vinyl-source-stream                                 ^1.1.0         https://www.npmjs.com/package/vinyl-source-stream                   MIT               https://github.com/hughsk/vinyl-source-stream/blob/master/LICENSE.md                          your gulp or vinyl pipelines                        Javascript-Internally-Facing   No    Standalone     No   No
SAS/Client        walk                                                ^2.3.9         https://www.npmjs.com/package/walk                                  MIT OR Apache-2.0 https://git.coolaj86.com/coolaj86/fs-walk.js/src/branch/master/LICENSE                        "A node port of python's os.walk"                   Javascript-Internally-Facing   No    Standalone     No   No
                                                                                                                                                                                                                                                                         Easily execute a function when you scroll to an
SAS/Client        waypoints                                           3.1.1          https://www.npmjs.com/package/waypoints                             MIT                   https://github.com/imakewebthings/waypoints/blob/master/licenses.txt                      element                                             Javascript-Externally-Facing   Yes   Static Link    No   No
                                                                                                                                                                                                                                                                         Packs CommonJs/AMD modules for the
                                                                                                                                                                                                                                                                         browser. Allows to split your codebase into
                                                                                                                                                                                                                                                                         multiple bundles, which can be loaded on
                                                                                                                                                                                                                                                                         demand. Support loaders to preprocess files,
                                                                                                                                                                                                                                                                         i.e. json, jsx, es7, css, less, ... and your custom
SAS/Client        webpack                                             ^4.12.1        https://www.npmjs.com/package/webpack                               MIT                   https://github.com/webpack/webpack/blob/master/LICENSE                                    stuff.                                              Javascript-Internally-Facing   No    Standalone     No   No
                                                                                                                                                                                                                                                                         Webpack plugin and CLI utility that represents
                                                                                                                                                                                                                                                                         bundle content as convenient interactive
SAS/Client        webpack-bundle-analyzer                             ^2.13.0        https://www.npmjs.com/package/webpack-bundle-analyzer               MIT                   https://github.com/webpack-contrib/webpack-bundle-analyzer/blob/master/LICENSE            zoomable treemap                                    Javascript-Internally-Facing   No    Standalone     No   No
SAS/Client        webpack-cli                                         ^3.0.8         https://www.npmjs.com/package/webpack-cli                           MIT                   https://github.com/webpack/webpack-cli/blob/master/LICENSE                                CLI for webpack & friends                           Javascript-Internally-Facing   No    Standalone     No   No
                                                                                                                                                                                                                                                                         Serves a webpack app. Updates the browser on
SAS/Client        webpack-dev-server                                  ^3.1.4         https://www.npmjs.com/package/webpack-dev-server                    MIT                   https://github.com/webpack/webpack-dev-server/blob/master/LICENSE                         changes.                                            Javascript-Internally-Facing   No    Standalone     No   No
SAS/Client        webpack-jquery-ui                                   ^2.0.1         https://www.npmjs.com/package/webpack-jquery-ui                     MIT                   https://www.npmjs.com/package/webpack-jquery-ui                                           jQuery (+jQuery UI) for webpack                     Javascript-Internally-Facing   No    Standalone     No   No
                                                                                                                                                                                                                                                                         "Webpack plugin to strip blocks of code that's
SAS/Client        webpack-strip-block                                 ^0.2.0         https://www.npmjs.com/package/webpack-strip-block                   MIT                   https://github.com/jballant/webpack-strip-block/blob/master/LICENSE                       only intended for development purposes"             Javascript-Internally-Facing   No    Standalone     No   No

SAS/Client        wiredep                                             ^3.0.0-beta    https://www.npmjs.com/package/wiredep                               MIT                   https://github.com/taptapship/wiredep/blob/master/LICENSE                                 Wire Bower dependencies to your source code. Javascript-Internally-Facing          No    Standalone     No   No
                                                                                                                                                                                                                                                                         Excel (XLSB/XLSX/XLS/XML) ODS and other
                                                                                                                                                                                                                                                                         spreadsheet format (CSV/DIF/DBF/SYLK)
SAS/Client        xlsx                                                0.10.3         https://www.npmjs.com/package/xlsx                                  Apache-2.0            https://github.com/SheetJS/js-xlsx/blob/master/LICENSE                                    parser and writer                              Javascript-Externally-Facing        Yes   Static Link    No   No
                                                                                                                                                                                                                                                                         Light-weight option parsing with an argv hash.
SAS/Client        yargs                                               ^3.29.0        https://www.npmjs.com/package/yargs                                 MIT/X11               https://github.com/yargs/yargs/blob/master/LICENSE                                        No optstrings attached.                        Javascript-Internally-Facing        No    Standalone     No   No
                                                                                                                                                                                                                                                                         yargs the modern, pirate-themed, successor to
SAS/Client        yargs                                               ^4.8.0         https://www.npmjs.com/package/yargs                                 MIT/X11               https://github.com/yargs/yargs/blob/master/LICENSE                                        optimist.                                      Javascript-Internally-Facing        No    Standalone     No   No

                                                                                                                                                                                                                                                                         The ZeroClipboard library provides an easy way
                                                                                                                                                                                                                                                                         to copy text to the clipboard using an invisible
SAS/Client     zeroclipboard                                          2.2.0          https://www.npmjs.com/package/zeroclipboard                           MIT                 https://github.com/zeroclipboard/zeroclipboard/blob/master/LICENSE                        Adobe Flash movie and a JavaScript interface. Javascript-Externally-Facing Yes           Static Link    No   No
SAS/Client     zone.js                                                ^0.6.12        https://www.npmjs.com/package/zone.js                                 MIT                 https://github.com/angular/zone.js/blob/master/LICENSE                                    Zones for JavaScript                             Javascript-Externally-Facing Yes        Static Link    No   No
SAS/Client     zone.js                                                ~0.8.26        https://www.npmjs.com/package/zone.js                                 MIT                 https://github.com/angular/zone.js/blob/master/LICENSE                                    Zones for JavaScript                             Javascript-Externally-Facing Yes        Static Link    No   No
DEM/BDB/NXTCli                                                                       https:/mvnrepository.com/artifact/com.fasterxml.jackson.core/jackson-                     https://github.com/FasterXML/jackson-databind/blob/master/src/main/resources/META-
ent            com.fasterxml.jackson.core:jackson-databind            2.2.3          databind/2.2.3                                                        Apache 2.0          INF/LICENSE                                                                               Data bindings for Jackson (JSON library)          Server-Side                      No    Dynamic Link   No   No
DEM/BDB/NXTCli                                                                       https:/mvnrepository.com/artifact/com.fasterxml.jackson.core/jackson-                     https://github.com/FasterXML/jackson-databind/blob/master/src/main/resources/META-
ent            com.fasterxml.jackson.core:jackson-databind            2.5.3          databind/2.5.3                                                        Apache 2.0          INF/LICENSE                                                                               Data bindings for Jackson (JSON library)          Server-Side                      No    Dynamic Link   No   No
DEM/BDB/NXTCli io.springfox:springfox-swagger-ui                      2.2.2          https:/mvnrepository.com/artifact/io.springfox/springfox-swagger-     Apache 2.0          https://github.com/springfox/springfox/blob/master/LICENSE                                Automated JSON API documentation                  Server-Side                      No    Dynamic Link   No   No
DEM/BDB/NXTCli io.springfox:springfox-swagger2                        2.2.2          https:/mvnrepository.com/artifact/io.springfox/springfox-             Apache 2.0          https://github.com/springfox/springfox/blob/master/LICENSE                                Automated JSON API documentation                  Server-Side                      No    Dynamic Link   No   No
DEM/BDB/NXTCli junit:junit                                            4.12           https:/mvnrepository.com/artifact/junit/junit/4.12                    EPL 1.0             https://github.com/junit-team/junit4/blob/master/LICENSE-junit.txt                        Testing Framework                                 Dev/Build/Test                   No    Dynamic Link   No   No
DEM/BDB/NXTCli org.apache.poi:poi-ooxml                               3.10-FINAL     https:/mvnrepository.com/artifact/org.apache.poi/poi-ooxml/3.10-      Apache 2.0          https://svn.apache.org/repos/asf/poi/trunk/legal/LICENSE                                  MSO formats support                               Server-Side                      No    Dynamic Link   No   No
DEM/BDB/NXTCli org.apache.poi:poi                                     3.10-FINAL     https:/mvnrepository.com/artifact/org.apache.poi/poi/3.10-FINAL       Apache 2.0          https://svn.apache.org/repos/asf/poi/trunk/legal/LICENSE                                  MSO formats support                               Server-Side                      No    Dynamic Link   No   No
DEM/BDB/NXTCli                                                                                                                                                                                                                                                           Java library for integration testing, mocking,
ent            org.jmockit:jmockit                                    1.26        https:/mvnrepository.com/artifact/org.jmockit/jmockit/1.26              MIT                  https://github.com/jmockit/jmockit1/blob/master/LICENSE.txt                               faking, and code coverag                          Dev/Build/Test                   No    Dynamic Link   No   No
DEM/BDB/NXTCli org.springframework.amqp:spring-rabbit                 1.4.6.RELEA https:/mvnrepository.com/artifact/org.springframework.amqp/spring- Apache 2.0                http://www.apache.org/licenses/LICENSE-2.0.txt                                            Spring RabbitMQ Support                           Server-Side                      No    Dynamic Link   No   No
DEM/BDB/NXTCli org.springframework.integration:spring-integration-    1.0.0.201602https:/mvnrepository.com/artifact/org.springframework.integration/spri Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                                            Spring Integration AWS Support                    Server-Side                      No    Dynamic Link   No   No
DEM/BDB/NXTCli org.springframework.integration:spring-integration-    4.1.6.RELEA https:/mvnrepository.com/artifact/org.springframework.integration/spri Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                                            Spring Integration FTP Support                    Server-Side                      No    Dynamic Link   No   No
DEM/BDB/NXTCli org.springframework:spring-test                        4.1.7.RELEA https:/mvnrepository.com/artifact/org.springframework/spring-           Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                            Spring TestContext Framework                      Server-Side                      No    Dynamic Link   No   No
DEM/BDB/NXTCli org.springframework:spring-webmvc                      4.1.7.RELEA https:/mvnrepository.com/artifact/org.springframework/spring-           Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                            Web MVC Framework                                 Server-Side                      No    Dynamic Link   No   No
DEM            com.eclipsesource.minimal-json:minimal-json            0.9.4       https:/mvnrepository.com/artifact/com.eclipsesource.minimal-            MIT                  https://github.com/ralfstx/minimal-json/blob/master/LICENSE                               A Minimal JSON Parser and Writer                  Server-Side                      No    Dynamic Link   No   No
               com.fasterxml.jackson.core:jackson-databind,                       https:/mvnrepository.com/artifact/com.fasterxml.jackson.core/jackson-                        https://github.com/FasterXML/jackson-databind/blob/master/src/main/resources/META-
DEM            version                                                2.2.3       databind, version/2.2.3                                                 Apache 2.0           INF/LICENSE                                                                               Data bindings for Jackson (JSON library)          Server-Side                      No    Dynamic Link   No   No
DEM            com.jolbox:bonecp-spring                               0.8.0.RELEA https:/mvnrepository.com/artifact/com.jolbox/bonecp-                    Apache 2.0           https://github.com/wwadge/bonecp/blob/master/LICENSE                                      Java JDBC connection pool implementation          Server-Side                      No    Dynamic Link   No   No
DEM            io.springfox:springfox-swagger-ui                      2.2.2       https:/mvnrepository.com/artifact/io.springfox/springfox-swagger-       Apache 2.0           https://github.com/springfox/springfox/blob/master/LICENSE                                Automated JSON API documentation                  Server-Side                      No    Dynamic Link   No   No
DEM            io.springfox:springfox-swagger2                        2.2.2       https:/mvnrepository.com/artifact/io.springfox/springfox-               Apache 2.0           https://github.com/springfox/springfox/blob/master/LICENSE                                Automated JSON API documentation                  Server-Side                      No    Dynamic Link   No   No
                                                                                                                                                          CDDL-1.1, GPL-2.0-
                                                                                                                                                          with-classpath-
DEM               javax.servlet:javax.servlet-api                     3.1.0       https:/mvnrepository.com/artifact/javax.servlet/javax.servlet-api/3.1.0 exception              https://oss.oracle.com/licenses/CDDL+GPL-1.1                                            Java Servlet API                                  Server-Side                      No    Dynamic Link   No   No
DEM               junit:junit                                         4.12        https:/mvnrepository.com/artifact/junit/junit/4.12                      EPL 1.0                http://www.eclipse.org/legal/epl-v10.html                                               unit testing framework for Java                   Dev/Build/Test                   No    Dynamic Link   No   No
DEM               org.apache.avro:avro                                1.8.2       https:/mvnrepository.com/artifact/org.apache.avro/avro/1.8.2            Apache 2.0             http://www.apache.org/licenses/LICENSE-2.0                                              Avro core components                              Server-Side                      No    Dynamic Link   No   No
DEM               org.apache.hadoop:hadoop-core                       1.2.1       https:/mvnrepository.com/artifact/org.apache.hadoop/hadoop-             Apache 2.0             http://www.apache.org/licenses/LICENSE-2.0                                              Hadoop Core                                       Server-Side                      No    Dynamic Link   No   No
DEM               org.apache.parquet:parquet-hadoop                   1.9.0       https:/mvnrepository.com/artifact/org.apache.parquet/parquet-           Apache 2.0             http://www.apache.org/licenses/LICENSE-2.0                                              Apache Parquet Hadoop                             Server-Side                      No    Dynamic Link   No   No
DEM               org.aspectj:aspectjtools                            1.6.2       https:/mvnrepository.com/artifact/org.aspectj/aspectjtools/1.6.2        EPL 1.0                http://www.eclipse.org/legal/epl-v10.html                                               Tools from the AspectJ project                    Server-Side                      No    Dynamic Link   No   No
DEM               org.assertj:assertj-core                            3.11.1      https:/mvnrepository.com/artifact/org.assertj/assertj-core/3.11.1       Apache 2.0             http://www.apache.org/licenses/LICENSE-2.0                                              Rich and fluent assertions for testing for Java   Server-Side                      No    Dynamic Link   No   No
                                                                                                                                                                                 http://www.apache.org/licenses/LICENSE-2.0, http://www.eclipse.org/org/documents/epl-
DEM               org.eclipse.jetty:jetty-servlet                     9.2            https:/mvnrepository.com/artifact/org.eclipse.jetty/jetty-servlet/9.2   Apache 2.0, EPL 1.0 v10.php                                                                                 Jetty Servlet Container                         Server-Side                        No    Dynamic Link   No   No
DEM               org.glassfish.jersey.containers:jersey-container-   2.22.2         https:/mvnrepository.com/artifact/org.glassfish.jersey.containers/jerse CDDL, GPL 1.1       http://glassfish.java.net/public/CDDL+GPL_1_1.html                                      Jersey core Servlet 2.x implementation          Server-Side                        No    Dynamic Link   No   No
DEM               org.hibernate:hibernate-core                        5.0.7.Final    https:/mvnrepository.com/artifact/org.hibernate/hibernate-              LGPL 2.1            http://www.gnu.org/licenses/lgpl-2.1.html                                               Hibernate's core ORM functionality              Server-Side                        No    Dynamic Link   No   No
                                                                                                                                                                                                                                                                         (deprecated - use hibernate-core instead)
                                                                                     https:/mvnrepository.com/artifact/org.hibernate/hibernate-                                                                                                                          Hibernate O/RM implementation of the JPA
DEM               org.hibernate:hibernate-entitymanager               5.0.7.Final    entitymanager/5.0.7.Final                                           LGPL 2.1              http://www.gnu.org/licenses/lgpl-2.1.html                                                 specification                                   Server-Side                        No    Dynamic Link   No   No
DEM               org.hibernate:hibernate-validator                   5.0.3.Final    https:/mvnrepository.com/artifact/org.hibernate/hibernate-          Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0                                                Hibernate Validator Engine Relocation Artifact Server-Side                         No    Dynamic Link   No   No
                                                                                                                                                                                                                                                                         The Kite Data Core module provides simple,
                                                                                                                                                                                                                                                                         intuitive APIs for working with datasets in the
DEM               org.kitesdk:kite-data-core                          1.1.0          https:/mvnrepository.com/artifact/org.kitesdk/kite-data-core/1.1.0   Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0                                                Hadoop Platform.                                Server-Side                        No    Dynamic Link   No   No
DEM               org.mockito:mockito-all                             1.10.19        https:/mvnrepository.com/artifact/org.mockito/mockito-all/1.10.19    MIT                  http://www.opensource.org/licenses/mit-license.php                                        Mock objects library for java                   Dev/Build/Test                     No    Dynamic Link   No   No
DEM               org.slf4j:jcl-over-slf4j                            1.7.16         https:/mvnrepository.com/artifact/org.slf4j/jcl-over-slf4j/1.7.16    MIT                  http://www.opensource.org/licenses/mit-license.php                                        JCL 1.2 implemented over SLF4J                  Server-Side                        No    Dynamic Link   No   No
DEM               org.springframework.amqp:spring-rabbit              1.4.6.RELEA    https:/mvnrepository.com/artifact/org.springframework.amqp/spring- Apache 2.0             http://www.apache.org/licenses/LICENSE-2.0                                                Spring RabbitMQ Support                         Server-Side                        No    Dynamic Link   No   No
DEM               org.springframework:spring-context                  4.2.9.RELEA    https:/mvnrepository.com/artifact/org.springframework/spring-        Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0                                                Spring Context                                  Server-Side                        No    Dynamic Link   No   No
DEM               org.springframework:spring-orm                      4.2.9.RELEA    https:/mvnrepository.com/artifact/org.springframework/spring-        Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0                                                Spring Object/Relational Mapping                Server-Side                        No    Dynamic Link   No   No
DEM               org.springframework:spring-test                     4.2.9.RELEA    https:/mvnrepository.com/artifact/org.springframework/spring-        Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0                                                Spring TestContext Framework                    Dev/Build/Test                     No    Dynamic Link   No   No
DEM               org.springframework:spring-webmvc                   4.2.9.RELEA    https:/mvnrepository.com/artifact/org.springframework/spring-        Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0                                                Spring Web MVC                                  Server-Side                        No    Dynamic Link   No   No
                                                                                     https:/mvnrepository.com/artifact/tech.allegro.schema.json2avro/conv                                                                                                                JSON to Avro conversion tool designed to make
DEM               tech.allegro.schema.json2avro:converter             0.2.5          erter/0.2.5                                                          Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0                                                migration to Avro easier                        Server-Side                        No    Dynamic Link   No   No
                                                                         19-10971-dsj                                       Doc 210                         Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                      Main Document
                                                                                                                                                                       Pg 217 of 325
                                                                                                                                                                                                                                                            The cloning library is a small, open source
                                                                                                                                                                                                                                                            (Apache licensed) Java library which deep-
                                                                                                                                                                                                                                                            clones objects. The objects do not have to
                                                                                                                                                                                                                                                            implement the Cloneable interface. Effectively,
                                                                                                                                                                                                                                                            this library can clone ANY Java object. It can be
                                                                                                                                                                                                                                                            used i.e. in cache implementations, if you don't
                                                                                                                                                                                                                                                            want the cached object to be modified or
                                                                                                                                                                                                                                                            whenever you want to create a deep copy of an
DEM              uk.com.robust-it:cloning                      1.9.12         https:/mvnrepository.com/artifact/uk.com.robust-it/cloning/1.9.12      Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0                                       object.                                           Server-Side      No   Dynamic Link   No   No
                                                                                                                                                                                                                                                            JUnit is a unit testing framework for Java,
DEM/Libraries    junit:junit                                   4.12           https:/mvnrepository.com/artifact/junit/junit/4.12                     EPL 1.0               http://www.eclipse.org/legal/epl-v10.html                                        created by Erich Gamma and Kent Beck.             Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                            JMockit is a Java toolkit for automated
                                                                                                                                                                                                                                                            developer testing. It contains APIs for the
                                                                                                                                                                                                                                                            creation of the objects to be tested, for mocking
                                                                                                                                                                                                                                                            dependencies, and for faking external APIs;
                                                                                                                                                                                                                                                            JUnit (4 & 5) and TestNG test runners are
                                                                                                                                                                                                                                                            supported. It also contains an advanced code
DEM/Libraries    org.jmockit:jmockit                           1.33           https:/mvnrepository.com/artifact/org.jmockit/jmockit/1.33             MIT                  http://www.opensource.org/licenses/mit-license.php                                coverage tool.                                    Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                     Apache 2.0, GPL 2.0,                                                                                   The RabbitMQ Java client library allows Java
DEM/Libraries    com.rabbitmq:amqp-client                      4.8.1          https:/mvnrepository.com/artifact/com.rabbitmq/amqp-client/4.8.1       MPL 1.1              http://www.gnu.org/licenses/gpl-2.0.txt, http://www.mozilla.org/MPL/MPL-1.1.txt   applications to interface with RabbitMQ.          Server-Side      No   Dynamic Link   No   No
                                                                                                                                                     CDDL, GPL, GPL
DEM/Libraries    javax.servlet:javax.servlet-api               3.1.0       https:/mvnrepository.com/artifact/javax.servlet/javax.servlet-api/3.1.0   2.0                  https://glassfish.dev.java.net/nonav/public/CDDL+GPL.html                         Java Servlet API                                  Server-Side      No   Dynamic Link   No   No
DEM/Libraries    org.springframework.amqp:spring-rabbit        1.4.6.RELEA https:/mvnrepository.com/artifact/org.springframework.amqp/spring-        Apache 2.0           http://www.apache.org/licenses/LICENSE-2.0.txt                                    Spring RabbitMQ Support                           Server-Side      No   Dynamic Link   No   No
                                                                                                                                                                                                                                                            The Amazon Web Services SDK for Java
                                                                                                                                                                                                                                                            provides Java APIs for building software on
                                                                                                                                                                                                                                                            AWS' cost-effective, scalable, and reliable
                                                                                                                                                                                                                                                            infrastructure products. The AWS Java SDK
                                                                                                                                                                                                                                                            allows developers to code against APIs for all of
                                                                                                                                                                                                                                                            Amazon's infrastructure web services (Amazon
                                                                                                                                                                                                                                                            S3, Amazon EC2, Amazon SQS, Amazon
                                                                              https:/mvnrepository.com/artifact/com.amazonaws/aws-java-                                                                                                                     Relational Database Service, Amazon
DEM/Libraries    com.amazonaws:aws-java-sdk                    1.10.77        sdk/1.10.77                                                            Apache 2.0            https://aws.amazon.com/apache2.0                                                 AutoScaling, etc).                                Server-Side      No   Dynamic Link   No   No
                                                                                                                                                                                                                                                            Apache Commons Lang, a package of Java
                                                                                                                                                                                                                                                            utility classes for the classes that are in
                                                                              https:/mvnrepository.com/artifact/org.apache.commons/commons-                                                                                                                 java.lang's hierarchy, or are considered to be so
DEM/Libraries    org.apache.commons:commons-lang3              3.3.2          lang3/3.3.2                                                            Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                                   standard as to justify existence in java.lang.    Server-Side      No   Dynamic Link   No   No
DEM/Libraries    org.slf4j:slf4j-api                           1.7.10         https:/mvnrepository.com/artifact/org.slf4j/slf4j-api/1.7.10           MIT                   http://www.opensource.org/licenses/mit-license.php                               The slf4j API                                     Server-Side      No   Dynamic Link   No   No
DEM/Libraries    org.hibernate:hibernate-core                  5.0.7.Final    https:/mvnrepository.com/artifact/org.hibernate/hibernate-             LGPL 2.1              http://www.gnu.org/licenses/lgpl-2.1.html                                        Hibernate's core ORM functionality                Server-Side      No   Dynamic Link   No   No
                                                                                                                                                                                                                                                            Provides programmatic exclusion/inclusion for
DEM/Libraries    com.monitorjbl:json-view                      0.1            https:/mvnrepository.com/artifact/com.monitorjbl/json-view/0.1         GPL 3.0               https://raw.githubusercontent.com/monitorjbl/json-view/master/LICENSE            Jackson JSON serialization                        Server-Side      No   Dynamic Link   No   No
                                                                              https:/mvnrepository.com/artifact/com.couchbase.client/dcp-
DEM/Libraries    com.couchbase.client:dcp-client               0.12.0         client/0.12.0                                                          Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                                   The official, lightweight DCP Client for the JVM. Server-Side      No   Dynamic Link   No   No
DEM/Libraries    com.couchbase.client:java-client              2.5.2          https:/mvnrepository.com/artifact/com.couchbase.client/java-           Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                                   The official Couchbase Java SDK                   Server-Side      No   Dynamic Link   No   No
                                                                                                                                                                                                                                                            Java client for Consul HTTP API
DEM/Libraries    com.ecwid.consul:consul-api                   1.1.4          https:/mvnrepository.com/artifact/com.ecwid.consul/consul-api/1.1.4 Apache 2.0               http://www.apache.org/licenses/LICENSE-2.0.txt                                   (http://consul.io)                                Server-Side      No   Dynamic Link   No   No
                                                                              https:/mvnrepository.com/artifact/com.timgroup/java-statsd-                                                                                                                   A tiny library allowing Java applications to
DEM/Libraries    com.timgroup:java-statsd-client               3.0.1          client/3.0.1                                                        MIT                      http://www.opensource.org/licenses/mit-license.php                               communicate with statsd instances easily.         Server-Side      No   Dynamic Link   No   No
                                                                                                                                                                                                                                                            Apache Commons Net library contains a
                                                                                                                                                                                                                                                            collection of network utilities and protocol
                                                                                                                                                                                                                                                            implementations. Supported protocols include:
                                                                                                                                                                                                                                                            Echo, Finger, FTP, NNTP, NTP, POP3(S),
DEM/Libraries    commons-net:commons-net                       3.1            https:/mvnrepository.com/artifact/commons-net/commons-net/3.1          Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                                   SMTP(S), Telnet, Whois                            Server-Side      No   Dynamic Link   No   No
                                                                              https:/mvnrepository.com/artifact/org.apache.commons/commons-                                                                                                                 Apache Commons VFS is a Virtual File System
DEM/Libraries    org.apache.commons:commons-vfs2               2.2            vfs2/2.2                                                               Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                                   library.                                          Server-Side      No   Dynamic Link   No   No
DEM/Libraries    org.apache.kafka:kafka-clients                1.0.0          https:/mvnrepository.com/artifact/org.apache.kafka/kafka-clients/1.0.0 Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                                   Apache Kafka                                      Server-Side      No   Dynamic Link   No   No
DEM/Libraries    org.apache.spark:spark-core_2.11              2.0.2          https:/mvnrepository.com/artifact/org.apache.spark/spark-              Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                                   Spark Project Core                                Server-Side      No   Dynamic Link   No   No
DEM/Libraries    org.apache.spark:spark-sql_2.11               2.0.2          https:/mvnrepository.com/artifact/org.apache.spark/spark-              Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                                   Spark Project SQL                                 Server-Side      No   Dynamic Link   No   No
                                                                                                                                                                                                                                                            The Amazon Kinesis Client Library for Java
                                                                              https:/mvnrepository.com/artifact/com.amazonaws/amazon-kinesis-                                                                                                               enables Java developers to easily consume and
DEM/Automation   com.amazonaws:amazon-kinesis-client           1.4.0          client/1.4.0                                                           Amazon                https://aws.amazon.com/asl                                                       process data from Amazon Kinesis.                 Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                            The AWS Java SDK for Amazon Kinesis
                                                                                                                                                                                                                                                            module holds the client classes that are used
                                                                              https:/mvnrepository.com/artifact/com.amazonaws/aws-java-sdk-                                                                                                                 for communicating with Amazon Kinesis
DEM/Automation   com.amazonaws:aws-java-sdk-kinesis            1.9.38         kinesis/1.9.38                                                         Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                                   Service                                           Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                            The Amazon Web Services SDK for Java
                                                                                                                                                                                                                                                            provides Java APIs for building software on
                                                                                                                                                                                                                                                            AWS' cost-effective, scalable, and reliable
                                                                                                                                                                                                                                                            infrastructure products. The AWS Java SDK
                                                                                                                                                                                                                                                            allows developers to code against APIs for all of
                                                                                                                                                                                                                                                            Amazon's infrastructure web services (Amazon
                                                                                                                                                                                                                                                            S3, Amazon EC2, Amazon SQS, Amazon
                                                                              https:/mvnrepository.com/artifact/com.amazonaws/aws-java-                                                                                                                     Relational Database Service, Amazon
DEM/Automation   com.amazonaws:aws-java-sdk                    1.10.1         sdk/1.10.1                                                             Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                                   AutoScaling, etc).                                Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                            The Amazon Web Services SDK for Java
                                                                                                                                                                                                                                                            provides Java APIs for building software on
                                                                                                                                                                                                                                                            AWS' cost-effective, scalable, and reliable
                                                                                                                                                                                                                                                            infrastructure products. The AWS Java SDK
                                                                                                                                                                                                                                                            allows developers to code against APIs for all of
                                                                                                                                                                                                                                                            Amazon's infrastructure web services (Amazon
                                                                                                                                                                                                                                                            S3, Amazon EC2, Amazon SQS, Amazon
                                                                              https:/mvnrepository.com/artifact/com.amazonaws/aws-java-                                                                                                                     Relational Database Service, Amazon
DEM/Automation   com.amazonaws:aws-java-sdk                    1.2.1          sdk/1.2.1                                                              Apache 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                                   AutoScaling, etc).                                Dev/Build/Test   No   Dynamic Link   No   No

DEM/Automation   com.cdancy:jenkins-rest                       0.0.11         https:/mvnrepository.com/artifact/com.cdancy/jenkins-rest/0.0.11      Apache 2.0             http://www.apache.org/licenses/LICENSE-2.0.txt                                   Java client for working with Jenkins REST API. Dev/Build/Test      No   Dynamic Link   No   No
                                                                              https:/mvnrepository.com/artifact/com.fasterxml.jackson.core/jackson-                                                                                                         General data-binding functionality for Jackson:
DEM/Automation   com.fasterxml.jackson.core:jackson-databind   2.5.3          databind/2.5.3                                                        Apache 2.0             http://www.apache.org/licenses/LICENSE-2.0.txt                                   works on core streaming API                     Dev/Build/Test     No   Dynamic Link   No   No
DEM/Automation   info.cukes:cucumber-core                      1.1.8          https:/mvnrepository.com/artifact/info.cukes/cucumber-core/1.1.8      MIT                    http://www.opensource.org/licenses/mit-license.php                               Cucumber JVM: Core                              Dev/Build/Test     No   Dynamic Link   No   No

                                                                                                                                                                                                                                                            Cucumber-HTML is a cross-platform HTML
DEM/Automation   info.cukes:cucumber-html                      0.2.3          https:/mvnrepository.com/artifact/info.cukes/cucumber-html/0.2.3       MIT                   http://www.opensource.org/licenses/mit-license.php                               formatter for all the Cucumber implementations. Dev/Build/Test     No   Dynamic Link   No   No
DEM/Automation   info.cukes:cucumber-java                      1.1.8          https:/mvnrepository.com/artifact/info.cukes/cucumber-java/1.1.8       MIT                   http://www.opensource.org/licenses/mit-license.php                               Cucumber JVM: Java                              Dev/Build/Test     No   Dynamic Link   No   No
DEM/Automation   info.cukes:cucumber-java                      1.2.5          https:/mvnrepository.com/artifact/info.cukes/cucumber-java/1.2.5       MIT                   http://www.opensource.org/licenses/mit-license.php                               Cucumber JVM: Java                              Dev/Build/Test     No   Dynamic Link   No   No
DEM/Automation   info.cukes:cucumber-junit                     1.1.8          https:/mvnrepository.com/artifact/info.cukes/cucumber-junit/1.1.8      MIT                   http://www.opensource.org/licenses/mit-license.php                               Cucumber JVM: JUnit                             Dev/Build/Test     No   Dynamic Link   No   No
DEM/Automation   info.cukes:cucumber-junit                     1.2.5          https:/mvnrepository.com/artifact/info.cukes/cucumber-junit/1.2.5      MIT                   http://www.opensource.org/licenses/mit-license.php                               Cucumber JVM: JUnit                             Dev/Build/Test     No   Dynamic Link   No   No
DEM/Automation   info.cukes:cucumber-jvm-deps                  1.0.3          https:/mvnrepository.com/artifact/info.cukes/cucumber-jvm-             MIT                   http://www.opensource.org/licenses/mit-license.php                               Cucumber JVM Repackaged Dependencies            Dev/Build/Test     No   Dynamic Link   No   No
DEM/Automation   info.cukes:cucumber-picocontainer             1.1.8          https:/mvnrepository.com/artifact/info.cukes/cucumber-                 MIT                   http://www.opensource.org/licenses/mit-license.php                               Cucumber JVM: PicoContainer                     Dev/Build/Test     No   Dynamic Link   No   No

DEM/Automation   info.cukes:gherkin                            2.12.2         https:/mvnrepository.com/artifact/info.cukes/gherkin/2.12.2            MIT                   https://github.com/cucumber/cucumber/blob/master/gherkin/LICENSE                 Cross platform parser for the Gherkin language Dev/Build/Test      No   Dynamic Link   No   No
DEM/Automation   junit:junit                                   4.11           https:/mvnrepository.com/artifact/junit/junit/4.11                     CPAL 1.0, CPL 1.0     https://github.com/junit-team/junit4/blob/master/LICENSE-junit.txt               unit testing framework for Java                Dev/Build/Test      No   Dynamic Link   No   No
                                                                        19-10971-dsj                                       Doc 210                      Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                          Main Document
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DEM/Automation   org.apache.commons:commons-lang3              3.1           https:/mvnrepository.com/artifact/org.apache.commons/commons-        Apache 2.0          https://github.com/apache/commons-lang/blob/master/LICENSE.txt                       Common utilities for Java                          Dev/Build/Test   No   Dynamic Link   No   No
DEM/Automation   org.apache.httpcomponents:httpclient          4.3.5         https:/mvnrepository.com/artifact/org.apache.httpcomponents/httpclie Apache 2.0          https://github.com/apache/httpcomponents-client/blob/master/LICENSE.txt              HTTP client library                                Dev/Build/Test   No   Dynamic Link   No   No
DEM/Automation   org.apache.httpcomponents:httpcore            4.3.2         https:/mvnrepository.com/artifact/org.apache.httpcomponents/httpcor Apache 2.0           https://github.com/apache/httpcomponents-client/blob/master/LICENSE.txt              HTTP client library                                Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                           Advanced Java library for integration testing,
DEM/Automation   org.jmockit:jmockit                           1.8           https:/mvnrepository.com/artifact/org.jmockit/jmockit/1.8               MIT              https://github.com/jmockit/jmockit1/blob/master/LICENSE.txt                          mocking, faking, and code coverage                 Dev/Build/Test   No   Dynamic Link   No   No
DEM/Automation   org.slf4j:slf4j-api                           1.5.8         https:/mvnrepository.com/artifact/org.slf4j/slf4j-api/1.5.8             MIT              https://www.slf4j.org/license.html                                                   Simple Logging Facade for Java                     Dev/Build/Test   No   Dynamic Link   No   No
DEM/Automation   org.slf4j:slf4j-api                           1.7.10        https:/mvnrepository.com/artifact/org.slf4j/slf4j-api/1.7.10            MIT              https://www.slf4j.org/license.html                                                   Simple Logging Facade for Java                     Dev/Build/Test   No   Dynamic Link   No   No
DEM/Automation   xml-apis:xml-apis                             1.3.04        https:/mvnrepository.com/artifact/xml-apis/xml-apis/1.3.04              Apache 2.0       https://github.com/apache/xerces2-j/blob/trunk/LICENSE                               Apache-hosted set of DOM, SAX, and                 Dev/Build/Test   No   Dynamic Link   No   No
                                                                             https:/mvnrepository.com/artifact/com.fasterxml.jackson.core/jackson- Apache 2.0, LGPL   https://github.com/FasterXML/jackson-databind/blob/master/src/main/resources/META-
EntityService    com.fasterxml.jackson.core:jackson-databind   2.2.3         databind/2.2.3                                                          2.1              INF/LICENSE                                                                          JAXP interfaces                                    Server-Side      No   Dynamic Link   No   No
                                                                             https:/mvnrepository.com/artifact/io.springfox/springfox-swagger-                                                                                                             Automated JSON API documentation for API's
EntityService    io.springfox:springfox-swagger-ui             2.2.2         ui/2.2.2                                                                Apache 2.0       https://github.com/springfox/springfox/blob/master/LICENSE                           built with Spring                                  Server-Side      No   Dynamic Link   No   No
                                                                             https:/mvnrepository.com/artifact/io.springfox/springfox-                                                                                                                     Automated JSON API documentation for API's
EntityService    io.springfox:springfox-swagger2               2.2.2         swagger2/2.2.2                                                          Apache 2.0       https://github.com/springfox/springfox/blob/master/LICENSE                           built with Spring                                  Server-Side      No   Dynamic Link   No   No
                                                                                                                                                     CDDL, GPL, GPL                                                                                        Java Servlet is the foundation web specification
EntityService    javax.servlet:javax.servlet-api               3.1.0         https:/mvnrepository.com/artifact/javax.servlet/javax.servlet-api/3.1.0 2.0              https://glassfish.dev.java.net/nonav/public/CDDL+GPL.html                            in the Java Enterprise Platform                    Server-Side      No   Dynamic Link   No   No
                                                                                                                                                                                                                                                           A programmer-oriented testing framework for
EntityService    junit:junit                                   4.12          https:/mvnrepository.com/artifact/junit/junit/4.12                  EPL 1.0              https://github.com/junit-team/junit4/blob/master/LICENSE-junit.txt                   Java.                                              Dev/Build/Test   No   Dynamic Link   No   No
                                                                                                                                                                                                                                                           Advanced Java library for integration testing,
EntityService    org.jmockit:jmockit                           1.26          https:/mvnrepository.com/artifact/org.jmockit/jmockit/1.26          MIT                  https://github.com/jmockit/jmockit1/blob/master/LICENSE.txt                          mocking, faking, and code coverage                 Dev/Build/Test   No   Dynamic Link   No   No

EntityService    org.mockito:mockito-all                       1.10.19       https:/mvnrepository.com/artifact/org.mockito/mockito-all/1.10.19   MIT                  https://github.com/mockito/mockito/blob/release/2.x/LICENSE                          Mocking framework for unit tests written in Java Dev/Build/Test     No   Dynamic Link   No   No
EntityService    org.springframework:spring-test               4.1.7.RELEA   https:/mvnrepository.com/artifact/org.springframework/spring-       Apache 2.0           https://github.com/spring-projects/spring-framework                                  Spring Framework testing                         Dev/Build/Test     No   Dynamic Link   No   No
EntityService    org.springframework:spring-webmvc             4.1.7.RELEA   https:/mvnrepository.com/artifact/org.springframework/spring-       Apache 2.0           https://github.com/spring-projects/spring-framework                                  Spring Framework                                 Server-Side        No   Dynamic Link   No   No
EntityService    uk.com.robust-it:cloning                      1.9.2         https:/mvnrepository.com/artifact/uk.com.robust-it/cloning/1.9.2    Apache 2.0           https://github.com/kostaskougios/cloning/blob/master/LICENSE.txt                     deep clone java objects                          Server-Side        No   Dynamic Link   No   No
                                                                                      19-10971-dsj                                         Doc 210                               Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                                                         Main Document
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                                                                                                                                                                                                                                                                                                                                                                                            Executable
                                                                                                                                                                                                                                                                                                                                                                                            distributed
                                                                                                                                                                                                                                                                                                                                                                                            externally
                                                                                                                                                                                                                                                                                                                                                                   How is Package Used by Company                                                       Source code
Names of Company Software                                                                                                                                                       License Name and Version                                                                                                                                                           (please list even if not (e.g., via                                                 mods released
                                  Package Name (please list even if not part of                                                                                                                                       URL of License in the package’s web documentation, site, or git                                                                                                                   How Integrated or Linked? Modified by Company?
Repositories Containing/Using                                                        Package Version                  URL of Package Download Site                               (See sample identifiers at                                                                                            Brief Description of What the Package Does                   part of the upload for    device,                                                  externally by
                                            third-party code scan)                                                                                                                                                     repo (if no URL available, insert license text on separate tab)
        the Package                                                                                                                                                             https://spdx.org/licenses/ )                                                                                                                                                          the CodeScan)?        download,                                                    Company?
                                                                                                                                                                                                                                                                                                                                                                                            externally
                                                                                                                                                                                                                                                                                                                                                                                            facing JS,
                                                                                                                                                                                                                                                                                                                                                                                               etc.)?
                                                                                                                                                                                                                                                                                                                                                                                                              (use dropdowns)
                                                                                                         https://mvnrepository.com/artifact/org.liquibase/liquibase-
AnalyticsDB/Vertica             org.liquibase:liquibase-core                              3.5.3          core                                                             Apache-2.0                                 https://github.com/liquibase/liquibase/blob/master/LICENSE.txt            DB change management tool                                           Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/org.liquibase/liquibase-                                                 https://github.com/liquibase/liquibase-gradle-
AnalyticsDB/Vertica             org.liquibase:liquibase-gradle-plugin                     1.2.4          gradle-plugin                                                    Apache-2.0                                 plugin/blob/master/LICENSE.txt                                            DB change management tool                                           Dev/Test/Build       No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/ch.qos.logback/logback-
AnalyticsDB/Infra               ch.qos.logback:logback-classic                           1.1.6           classic                                                          EPL-1.0, LGPL-2.1-Only                     https://logback.qos.ch/license.html                                       Logging                                                             Server-Side          No           Dynamic Link             No                     No
AnalyticsDB/Infra               log4j:log4j                                              1.2.17          https://mvnrepository.com/artifact/log4j/log4j                   Apache-2.0                                 https://github.com/apache/log4j/blob/trunk/LICENSE                        Java lib for logging                                                Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/org.eclipse.jetty/jetty-
AnalyticsDB/Infra               org.eclipse.jetty:jetty-servlet                      9.4.0.v20161208     servlet                                                          Apache-2.0                                 https://github.com/eclipse/jetty.project/blob/jetty-9.4.x/LICENSE         Web server                                                          Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/org.glassfish.jersey.core/je
AnalyticsDB/Infra               org.glassfish.jersey.core:jersey-server                  2.22.2          rsey-server                                                      CDDL-1.1                                   https://github.com/jersey/jersey/blob/master/LICENSE.txt                  Web framework                                                       Server-Side          No           Dynamic Link             No                     No
                                com.fasterxml.jackson.datatype:jackson-datatype-                         https://mvnrepository.com/artifact/com.fasterxml.jackson.dat                                                https://github.com/FasterXML/jackson-datatype-
AnalyticsDB/Infra               jsr310                                                    2.8.5          atype/jackson-datatype-jsr310                                    Apache-2.0                                 jsr310/blob/master/src/main/resources/META-INF/LICENSE                    Jackson module to recognize Java 8 Date and Time types              Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/javax.servlet/javax.servlet-
AnalyticsDB/Infra               javax.servlet:javax.servlet-api                           3.1.0          api                                                              CDDL-1.1, GPL-2.0-with-classpath-exception https://oss.oracle.com/licenses/CDDL+GPL-1.1                              Java Servlet API                                                    Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/com.orbitz.consul/consul-
AnalyticsDB/Infra               com.orbitz.consul:consul-client                          0.13.8          client                                                           Apache-2.0                                 https://github.com/rickfast/consul-client/blob/master/LICENSE             Consul java client                                                  Server-Side          No           Dynamic Link             No                     No
AnalyticsDB/Infra               com.google.inject:guice                                     4            https://mvnrepository.com/artifact/com.google.inject/guice       Apache-2.0                                 https://github.com/google/guice/blob/master/COPYING                       DI framework                                                        Server-Side          No           Dynamic Link             No                     No
AnalyticsDB/Infra               org.cfg4j:cfg4j-core                                     4.4.0           https://mvnrepository.com/artifact/org.cfg4j/cfg4j-core          Apache-2.0                                 https://github.com/cfg4j/cfg4j/blob/master/LICENSE                        Configuration libarry                                               Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/com.bealetech/metrics-                                                   https://github.com/organicveggie/metrics-
AnalyticsDB/Infra               com.bealetech:metrics-statsd                              2.3.0          statsd                                                           Apache-2.0                                 statsd/blob/master/LICENSE                                                Metrics reporter                                                    Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/commons-
AnalyticsDB/Infra               commons-dbutils:commons-dbutils                            1.6           dbutils/commons-dbutils                                          Apache-2.0                                 https://github.com/apache/commons-dbutils/blob/master/LICENSE.txt JDBC utilities                                                              Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/io.swagger/swagger-
AnalyticsDB/Infra               io.swagger:swagger-jersey2-jaxrs                         1.5.18          jersey2-jaxrs                                                    Apache-2.0                                 https://github.com/swagger-api/swagger-core/blob/v1.3.9/LICENSE           Java implementation of the OpenAPI Specification.                   Server-Side          No           Dynamic Link             No                     No
AnalyticsDB/Infra               org.webjars:swagger-ui                                   3.9.3           https://mvnrepository.com/artifact/org.webjars/swagger-ui        Apache 2.0                                 https://github.com/springfox/springfox/blob/master/LICENSE                Automated JSON API documentation                                    Server-Side          No           Dynamic Link             No                     No
                                                                                                                                                                                                                     https://github.com/rabbitmq/rabbitmq-java-
AnalyticsDB/Infra               com.rabbitmq:amqp-client                                  3.6.5          https://mvnrepository.com/artifact/com.rabbitmq/amqp-client Apache-2.0                                      client/blob/master/LICENSE-APACHE2                                        MQ client library                                                   Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/com.palominolabs.metrics                                                 https://github.com/palominolabs/metrics-
AnalyticsDB/Infra               com.palominolabs.metrics:metrics-guice                    3.1.3          /metrics-guice                                                                                              guice/blob/master/LICENSE.txt                                             Metrics library                                                     Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/com.timgroup/java-statsd-                                                                                                                          A tiny library allowing Java applications to communicate with
AnalyticsDB/Infra               com.timgroup:java-statsd-client                           3.1.0          client                                                           MIT                                        http://www.opensource.org/licenses/mit-license.php                        statsd instances easily.                                            Server-Side          No           Dynamic Link             No                     No
                                                                                                                                                                                                                                                                                               Commons IO is a library of utilities to assist with developing IO
AnalyticsDB/Infra               commons-io:commons-io                                      2.6           https://mvnrepository.com/artifact/commons-io/commons-io Apache-2.0                                         https://github.com/apache/commons-io/blob/master/LICENSE.txt              functionality.                                                      Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/com.univocity/univocity-                                                 https://github.com/uniVocity/univocity-parsers/blob/master/LICENSE-
AnalyticsDB/Infra               com.univocity:univocity-parsers                           2.7.6          parsers                                                          Apache-2.0                                 2.0.html                                                                  Parsers collection library                                          Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/com.cwbase/logback-redis-
AnalyticsDB/Infra               com.cwbase:logback-redis-appender                         1.1.5          appender                                                         Apache-2.0                                 https://github.com/idealo/logback-redis/blob/master/LICENSE               Logging framework backend                                           Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/org.apache.commons/com                                                   https://github.com/apache/commons-
AnalyticsDB/Infra               org.apache.commons:commons-compress                       1.12           mons-compress                                                    Apache-2.0                                 compress/blob/master/LICENSE.txt                                          defines an API for working with compression and archive formats     Server-Side          No           Dynamic Link             No                     No
AnalyticsDB/DataLoader          junit:junit                                               4.11           https://mvnrepository.com/artifact/junit/junit                   EPL-1.0                                    https://github.com/junit-team/junit4/blob/master/LICENSE-junit.txt        Testing framework                                                   Dev/Test/Build       No           Dynamic Link             No                     No
AnalyticsDB/DataLoader          javax.mail:mail                                           1.4.7          https://mvnrepository.com/artifact/javax.mail/mail               CDDL, GPL 2.0                              https://mvnrepository.com/artifact/javax.mail/mail/1.4.5                  JavaMail API                                                        Dev/Test/Build       No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/com.typesafe.akka/akka-
AnalyticsDB/DataLoader          com.typesafe.akka:akka-actor_2.11                        2.4.14          actor_2.11                                                       Apache-2.0                                 https://github.com/akka/akka/blob/v2.3.8/LICENSE                          At the core of Akka: A model for concurrency and distribution       Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/org.apache.commons/com
AnalyticsDB/DataLoader          org.apache.commons:commons-dbcp2                          2.1.1          mons-dbcp2                                                       Apache-2.0                                 https://github.com/apache/commons-dbcp/blob/master/LICENSE.txt DB connection pool                                                             Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/commons-
AnalyticsDB/DataLoader          commons-dbutils:commons-dbutils                            1.6           dbutils/commons-dbutils                                          Apache-2.0                                 https://github.com/apache/commons-dbutils/blob/master/LICENSE.txt JDBC utilities                                                              Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/org.glassfish.jersey.ext.rx/j                                            https://mvnrepository.com/artifact/org.glassfish.jersey.ext.rx/jersey-rx-
AnalyticsDB/DataLoader          org.glassfish.jersey.ext.rx:jersey-rx-client-java8       2.24.1          ersey-rx-client-java8                                            CDDL-1.1                                   client-java8                                                              Jersey JavaRx extension                                             Server-Side          No           Dynamic Link             No                     No
AnalyticsDB/DataLoader          org.postgresql:postgresql                               9.4.1212         https://mvnrepository.com/artifact/org.postgresql/postgresql BSD-2-Clause                                   https://jdbc.postgresql.org/about/license.html                            DB driver                                                           Server-Side          No           Dynamic Link             No                     No
                                com.fasterxml.jackson.datatype:jackson-datatype-                         https://mvnrepository.com/artifact/com.fasterxml.jackson.dat                                                https://github.com/FasterXML/jackson-datatype-
AnalyticsDB/DataLoader          jsr310                                                    2.7.4          atype/jackson-datatype-jsr310                                    Apache-2.0                                 jsr310/blob/master/src/main/resources/META-INF/LICENSE                    Jackson module to recognize Java 8 Date and Time types              Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/org.apache.camel/camel-
AnalyticsDB/DataLoader          org.apache.camel:camel-rabbitmq                          2.18.1          rabbitmq                                                         Apache-2.0                                 https://github.com/apache/camel/blob/master/LICENSE.txt                   Camel connector for RMQ                                             Server-Side          No           Dynamic Link             No                     No
                                                                                                                                                                                                                                                                                               Project is responsible for creating and maintaining a toolset of
                                                                                                         https://mvnrepository.com/artifact/org.apache.httpcomponent                                                 https://mvnrepository.com/artifact/org.apache.httpcomponents/httpclie low level Java components focused on HTTP and associated
AnalyticsDB/FeedManager         org.apache.httpcomponents:httpclient                      4.5.2          s/httpclient                                                     Apache-2.0                                 nt                                                                        protocols.                                                          Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/com.typesafe.akka/akka-
AnalyticsDB/FeedManager         com.typesafe.akka:akka-camel_2.12                        2.5.13          camel_2.12                                                       Apache-2.0                                 https://github.com/akka/akka/blob/master/LICENSE                          Camel connector for Akka                                            Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/org.apache.camel/camel-
AnalyticsDB/FeedManager         org.apache.camel:camel-rabbitmq                          2.18.1          rabbitmq                                                         Apache 2.0                                 https://github.com/apache/camel/blob/master/LICENSE.txt                   Cammel connector for RMQ                                            Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/org.apache.commons/com
AnalyticsDB/FeedManager         org.apache.commons:commons-lang3                           3.7           mons-lang3                                                       Apache-2.0                                 https://github.com/apache/commons-lang/blob/master/LICENSE.txt            General utility library                                             Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/org.apache.commons/com
AnalyticsDB/FeedManager         org.apache.commons:commons-dbcp2                          2.1.1          mons-dbcp2                                                       Apache-2.0                                 https://github.com/apache/commons-dbcp/blob/master/LICENSE.txt DB connection pool                                                             Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/commons-
AnalyticsDB/FeedManager         commons-dbutils:commons-dbutils                            1.6           dbutils/commons-dbutils                                          Apache-2.0                                 https://github.com/apache/commons-dbutils/blob/master/LICENSE.txt JDBC utilities                                                              Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/com.hortonworks.registrie
AnalyticsDB/FeedManager         com.hortonworks.registries:schema-registry-client         0.5.1          s/schema-registry-client                                         Apache-2.0                                 https://github.com/hortonworks/registry/blob/master/LICENSE.txt           Metadata repo builder                                               Server-Side          No           Dynamic Link             No                     No
                                org.glassfish.jersey.media:jersey-media-json-                            https://mvnrepository.com/artifact/org.glassfish.jersey.media/
AnalyticsDB/FeedManager         jackson                                                  2.22.1          jersey-media-json-jackson                                        CDDL-1.1                                   https://github.com/jersey/jersey/blob/master/LICENSE.txt                  JSON binder for Jersey                                              Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/ch.qos.logback/logback-
AnalyticsDB/FeedManager         ch.qos.logback:logback-core                               1.2.3          core                                                             EPL-1.0, LGPL-2.1-Only                     https://logback.qos.ch/license.html                                       Logging                                                             Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/org.glassfish.jersey.core/je
AnalyticsDB/FeedManager         org.glassfish.jersey.core:jersey-server                   2.22.1         rsey-server                                                      CDDL-1.1                                   https://github.com/jersey/jersey/blob/master/LICENSE.txt                  Web framework                                                       Server-Side          No           Dynamic Link             No                     No
AnalyticsDB/FeedManager         org.javassist:javassist                                 3.18.1-GA        https://mvnrepository.com/artifact/org.javassist/javassist       Apache-2.0                                 https://github.com/jboss-javassist/javassist/blob/master/License.html Bytecode engineering toolkit                                            Server-Side          No           Dynamic Link             No                     No
                                                                                                                                                                                                                     https://github.com/rabbitmq/rabbitmq-java-
AnalyticsDB/FeedManager         com.rabbitmq:amqp-client                                  5.3.0          https://mvnrepository.com/artifact/com.rabbitmq/amqp-client Apache-2.0                                      client/blob/master/LICENSE-APACHE2                                        MQ client library                                                   Server-Side          No           Dynamic Link             No                     No
AnalyticsDB/FeedManager         org.yaml:snakeyaml                                        1.15           https://mvnrepository.com/artifact/org.yaml/snakeyaml            Apache-2.0                                 https://bitbucket.org/asomov/snakeyaml/src/default/LICENSE.txt            YAML processor                                                      Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/com.fasterxml.jackson.cor                                                https://github.com/FasterXML/jackson-
AnalyticsDB/FeedManager         com.fasterxml.jackson.core:jackson-core                   2.7.3          e/jackson-core                                                   Apache-2.0                                 core/blob/master/src/main/resources/META-INF/LICENSE                      json serialization                                                  Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/com.mashape.unirest/unir
AnalyticsDB/FeedManager         com.mashape.unirest:unirest-java                          1.4.9          est-java                                                         MIT                                        https://github.com/Moesif/unirest-java/blob/master/LICENSE                REST library                                                        Server-Side          No           Dynamic Link             No                     No
AnalyticsDB/FeedManager         javax.mail:mail                                           1.4.7          https://mvnrepository.com/artifact/javax.mail/mail               CDDL, GPL 2.0                              https://mvnrepository.com/artifact/javax.mail/mail/1.4.5                  JavaMail API                                                        Server-Side          No           Dynamic Link             No                     No
AnalyticsDB/FeedManager         junit:junit                                               4.12           https://mvnrepository.com/artifact/junit/junit                   EPL-1.0                                    https://github.com/junit-team/junit4/blob/master/LICENSE-junit.txt        Testing framework                                                   Dev/Test/Build       No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/com.google.code.findbugs/                                                https://github.com/findbugsproject/findbugs/blob/3.0.1/findbugs/licens
AnalyticsDB/FeedManager         com.google.code.findbugs:jsr305                           3.0.2          jsr305                                                           BSD-3-Clause                               es/LICENSE-jsr305.txt                                                     JSR305 utilities                                                    Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/com.databricks/spark-
AnalyticsDB/FeedHandler         com.databricks:spark-avro_2.11                            4.0.0          avro_2.11                                                        Apache-2.0                                 https://github.com/databricks/spark-avro/blob/branch-4.0/LICENSE          Avro format support                                                 Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/com.hortonworks.registrie
AnalyticsDB/FeedHandler         com.hortonworks.registries:schema-registry-client         0.5.4          s/schema-registry-client                                         Apache-2.0                                 https://github.com/hortonworks/registry/blob/master/LICENSE.txt           Metadata repo builder                                               Server-Side          No           Dynamic Link             No                     No
AnalyticsDB/FeedHandler         com.vertica:vertica-jdbc                                  9.0.1
AnalyticsDB/FeedHandler         antlr:stringtemplate                                       2.2           https://mvnrepository.com/artifact/antlr/stringtemplate       BSD-3-Clause                                   https://github.com/antlr/stringtemplate4/blob/master/LICENSE.txt        Template engine                                                      Server-Side          No           Dynamic Link             No                     No
                                                                                                         https://mvnrepository.com/artifact/org.apache.spark/spark-
AnalyticsDB/FeedHandler         org.apache.spark:spark-sql_2.11                           2.2.0          sql_2.11                                                      Apache-2.0                                     https://github.com/apache/spark/blob/master/LICENSE                     Spart SQL language support                                           Server-Side          No           Dynamic Link             No                     No
                                                                                                          http://public-repo-
                                                                                                          1.hortonworks.com/ambari/centos7/2.x/update
RDF                             Apache Ambari Server + Monitor                                      2.6.2 s/2.6.2.0/ambari.repo                                                                                       https://hortonworks.com/licenses/                                       Cluster Monitor / Administration                                     Server-Side          No           Standalone               No                     No
                                                                                                          http://public-repo-
RDF                             Apache NiFi (Hortonworks)                                           1.5.0 1.hortonworks.com/HDF/centos7/3.x/updates/3.1.0.0            Apache-2.0                                     https://hortonworks.com/licenses/                                       Data Flow Tool                                                       Server-Side          No           Standalone               No                     No
                                                                                                          http://public-repo-
RDF                             Apache NiFi Registry (Hortonworks)                                  0.1.0 1.hortonworks.com/HDF/centos7/3.x/updates/3.1.0.0            Apache-2.0                                     https://hortonworks.com/licenses/                                       Data Flow Tool - Flow Registry                                       Server-Side          No           Standalone               No                     No
                                                                       19-10971-dsj                                           Doc 210                          Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                                                 Main Document
                                                                                                                                                                          Pg 220 of 325
                                                                                         http://public-repo-
RDF           Hortonworks Schema Registry                                          0.5.0 1.hortonworks.com/HDF/centos7/3.x/updates/3.1.0.0           Apache-2.0                                   https://hortonworks.com/licenses/                                   Schema Registry Service                                         Server-Side    No   Standalone   No   No
                                                                                         http://public-repo-
RDF           Apache HDFS (Hortonworks)                                            2.7.3 1.hortonworks.com/HDP/centos7/2.x/updates/2.6.5.1100        Apache-2.0                                   https://hortonworks.com/licenses/                                   Distributed File System                                         Server-Side    No   Standalone   No   No
                                                                                         http://public-repo-
RDF           Apache Yarn (Hortonworks)                                            2.7.3 1.hortonworks.com/HDP/centos7/2.x/updates/2.6.5.1100        Apache-2.0                                   https://hortonworks.com/licenses/                                   Resource Manager                                                 Server-Side   No   Standalone   No   No
                                                                                         http://public-repo-                                                                                                                                                          software framework for easily writing applications which process
RDF           Apache MapReduce (Hortonworks)                                       2.7.3 1.hortonworks.com/HDP/centos7/2.x/updates/2.6.5.1100        Apache-2.0                                   https://hortonworks.com/licenses/                                   vast amounts of data                                             Server-Side   No   Standalone   No   No
                                                                                         http://public-repo-
RDF           Apache Zookeeper (Hortonworks)                                       3.4.6 1.hortonworks.com/HDP/centos7/2.x/updates/2.6.5.1100        Apache-2.0                                   https://hortonworks.com/licenses/                                   Object State Manager                                            Server-Side    No   Standalone   No   No
              Postgresql (Hortonworks Schema Registry                                    http://public-repo-
RDF           Embeded)                                                               9.6 1.hortonworks.com/HDF/centos7/3.x/updates/3.1.0.0           The PostgreSQL Licence                         https://hortonworks.com/licenses/                                 Relational Database                                             Server-Side    No   Standalone   No   No
Attribution   aopalliance:aopalliance:1.0                                              1 http://aopalliance.sourceforge.net                          Public Domain                                  http://aopalliance.sourceforge.net                                                                                                                                 No   No
                                                                                                                                                     http://www.eclipse.org/legal/epl-v10.html,
                                                                                                                                                     http://www.gnu.org/licenses/old-licenses/lgpl-
Attribution   ch.qos.logback:logback-core:1.1.2                   1.1.2                  http://www.qos.ch                                           2.1.html                                       http://www.qos.ch                                                                                                                                                  No   No
Attribution   com.amazonaws:amazon-kinesis-client:1.6.1           1.6.1                  https://aws.amazon.com/kinesis                              Amazon Software License                        https://aws.amazon.com/kinesis                                                                                                                                     No   No
Attribution   com.amazonaws:aws-java-sdk-cloudwatch:1.10.20       1.10.20                https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                    https://aws.amazon.com/sdkforjava                                                                                                                                  No   No
Attribution   com.amazonaws:aws-java-sdk-core:1.10.20             1.10.20                https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                    https://aws.amazon.com/sdkforjava                                                                                                                                  No   No
Attribution   com.amazonaws:aws-java-sdk-dynamodb:1.10.20         1.10.20                https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                    https://aws.amazon.com/sdkforjava                                                                                                                                  No   No
Attribution   com.amazonaws:aws-java-sdk-kinesis:1.10.20          1.10.20                https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                    https://aws.amazon.com/sdkforjava                                                                                                                                  No   No
Attribution   com.amazonaws:aws-java-sdk-kms:1.10.20              1.10.20                https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                    https://aws.amazon.com/sdkforjava                                                                                                                                  No   No
Attribution   com.amazonaws:aws-java-sdk-s3:1.10.20               1.10.20                https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                    https://aws.amazon.com/sdkforjava                                                                                                                                  No   No
Attribution   com.couchbase.client:core-io:1.4.1                  1.4.1                  http://couchbase.com                                        The Apache Software License, Version 2.0 http://couchbase.com                                                                                                                                                     No   No
Attribution   com.couchbase.client:java-client:2.4.1              2.4.1                  http://couchbase.com                                        The Apache Software License, Version 2.0 http://couchbase.com                                                                                                                                                     No   No
Attribution   com.cwbase:logback-redis-appender:1.1.1             1.1.1                  https://github.com/kmtong/logback-redis-appender            Apache License, Version 2.0                    https://github.com/kmtong/logback-redis-appender                                                                                                                   No   No
Attribution   com.eclipsesource.minimal-json:minimal-json:0.9.4   0.9.4                  https://github.com/ralfstx/minimal-json                     MIT License                                    https://github.com/ralfstx/minimal-json                                                                                                                            No   No
Attribution   com.esotericsoftware:kryo:3.0.3                     3.0.3                                                                              New BSD License                                                                                                                                                                                                   No   No
Attribution   com.esotericsoftware:minlog:1.3.0                   1.3.0                  https://github.com/EsotericSoftware/minlog                  New BSD License                                https://github.com/EsotericSoftware/minlog                                                                                                                         No   No
Attribution   com.esotericsoftware:reflectasm:1.10.1              1.10.1                 https://github.com/EsotericSoftware/reflectasm              New BSD License                                https://github.com/EsotericSoftware/reflectasm                                                                                                                     No   No
              com.fasterxml.jackson.core:jackson-
Attribution   annotations:2.6.3                                   2.6.3                  http://github.com/FasterXML/jackson                         The Apache Software License, Version 2.0     http://github.com/FasterXML/jackson                                                                                                                                  No   No
Attribution   com.fasterxml.jackson.core:jackson-core:2.6.3       2.6.3                  https://github.com/FasterXML/jackson-core                   The Apache Software License, Version 2.0     https://github.com/FasterXML/jackson-core                                                                                                                            No   No
Attribution   com.fasterxml.jackson.core:jackson-databind:2.6.3   2.6.3                  http://github.com/FasterXML/jackson                         The Apache Software License, Version 2.0     http://github.com/FasterXML/jackson                                                                                                                                  No   No
              com.fasterxml.jackson.datatype:jackson-datatype-
Attribution   guava:2.6.3                                         2.6.3                  https://github.com/FasterXML/jackson-datatype-guava         The Apache Software License, Version 2.0     https://github.com/FasterXML/jackson-datatype-guava                                                                                                                  No   No

Attribution   com.fasterxml.jackson.jaxrs:jackson-jaxrs-base:2.6.3 2.6.3                 http://wiki.fasterxml.com/JacksonHome/jackson-jaxrs-base    The Apache Software License, Version 2.0     http://wiki.fasterxml.com/JacksonHome/jackson-jaxrs-base                                                                                                             No   No
              com.fasterxml.jackson.jaxrs:jackson-jaxrs-json-                            http://wiki.fasterxml.com/JacksonHome/jackson-jaxrs-json-
Attribution   provider:2.6.3                                       2.6.3                 provider                                                    The Apache Software License, Version 2.0     http://wiki.fasterxml.com/JacksonHome/jackson-jaxrs-json-provider                                                                                                    No   No
              com.fasterxml.jackson.module:jackson-module-jaxb-
Attribution   annotations:2.6.3                                    2.6.3                 http://wiki.fasterxml.com/JacksonJAXBAnnotations            The Apache Software License, Version 2.0     http://wiki.fasterxml.com/JacksonJAXBAnnotations                                                                                                                     No   No
Attribution   com.google.guava:guava:18.0                                             18 https://guava-libraries.googlecode.com/                     The Apache Software License, Version 2.0     https://guava-libraries.googlecode.com/                                                                                                                              No   No
Attribution   com.google.protobuf:protobuf-java:2.6.1              2.6.1                 https://developers.google.com/protocol-buffers/             The Apache Software License, Version 2.0     https://developers.google.com/protocol-buffers/                                                                                                                      No   No
Attribution   com.jakewharton.android.repackaged:dalvik-dx:1                        0.01                                                             Apache License Version 2.0                                                                                                                                                                                        No   No
Attribution   com.jakewharton.android.repackaged:libcore-dex:2                         2                                                             Apache License Version 2.0                                                                                                                                                                                        No   No
Attribution   com.lmax:disruptor:3.3.2                             3.3.2                 http://lmax-exchange.github.com/disruptor                   The Apache Software License, Version 2.0     http://lmax-exchange.github.com/disruptor                                                                                                                            No   No
Attribution   com.netflix.curator:curator-client:1.1.3             1.1.3                                                                             The Apache Software License, Version 2.0                                                                                                                                                                          No   No
Attribution   com.netflix.curator:curator-framework:1.1.3          1.1.3                                                                             The Apache Software License, Version 2.0                                                                                                                                                                          No   No
Attribution   com.orbitz.consul:consul-client:0.9.14               0.9.14                https://github.com/OrbitzWorldwide/consul-client            The Apache Software License, Version 2.0     https://github.com/OrbitzWorldwide/consul-client                                                                                                                     No   No
Attribution   com.timgroup:java-statsd-client:3.1.0                3.1.0                 http://github.com/tim-group/java-statsd-client              The MIT License (MIT)                        http://github.com/tim-group/java-statsd-client                                                                                                                       No   No
Attribution   commons-codec:commons-codec:1.9                                        1.9 http://commons.apache.org/proper/commons-codec/             The Apache Software License, Version 2.0     http://commons.apache.org/proper/commons-codec/                                                                                                                      No   No
Attribution   commons-lang:commons-lang:2.6                                          2.6 http://commons.apache.org/lang/                             The Apache Software License, Version 2.0     http://commons.apache.org/lang/                                                                                                                                      No   No
Attribution   commons-logging:commons-logging:1.2                                    1.2 http://commons.apache.org/proper/commons-logging/           The Apache Software License, Version 2.0     http://commons.apache.org/proper/commons-logging/                                                                                                                    No   No
Attribution   io.reactivex:rxjava:1.2.3                            1.2.3                 https://github.com/ReactiveX/RxJava                         The Apache Software License, Version 2.0     https://github.com/ReactiveX/RxJava                                                                                                                                  No   No
                                                                                                                                                     Common Development and Distribution
Attribution   javax.activation:activation:1.1                                        1.1 http://java.sun.com/products/javabeans/jaf/index.jsp        License (CDDL) v1.0                          http://java.sun.com/products/javabeans/jaf/index.jsp                                                                                                                 No   No
                                                                                                                                                     COMMON DEVELOPMENT AND
                                                                                                                                                     DISTRIBUTION LICENSE (CDDL) Version
Attribution   javax.annotation:javax.annotation-api:1.2                              1.2 https://glassfish.java.net                                  1.0                                          https://glassfish.java.net                                                                                                                                           No   No
Attribution   javax.inject:javax.inject:1                                              1 http://code.google.com/p/atinject/                          The Apache Software License, Version 2.0     http://code.google.com/p/atinject/                                                                                                                                   No   No
                                                                                                                                                     Common Development and Distribution
Attribution   javax.mail:mail:1.4                                                    1.4 https://glassfish.dev.java.net/javaee5/mail/                License (CDDL) v1.0                          https://glassfish.dev.java.net/javaee5/mail/                                                                                                                         No   No
Attribution   javax.servlet:servlet-api:2.5                                          2.5                                                                                                                                                                                                                                                                               No   No
Attribution   javax.validation:validation-api:1.0.0.GA            1.0.0.GA                                                                           Apache License, Version 2.0                                                                                                                                                                                       No   No
                                                                                                                                                     http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                                     _1.html,
                                                                                                                                                     http://glassfish.java.net/public/CDDL+GPL_1
Attribution   javax.ws.rs:javax.ws.rs-api:2.0.1                   2.0.1                  http://www.oracle.com/                                      _1.html                                     http://www.oracle.com/                                                                                                                                                No   No
Attribution   jline:jline:0.9.94                                  0.9.94                 http://jline.sourceforge.net                                BSD                                         http://jline.sourceforge.net                                                                                                                                          No   No
Attribution   joda-time:joda-time:2.8.1                           2.8.1                  http://www.joda.org/joda-time/                              Apache License, Version 2.0                 http://www.joda.org/joda-time/                                                                                                                                        No   No
Attribution   log4j:log4j:1.2.15                                  1.2.15                 http://logging.apache.org:80/log4j/1.2/                     The Apache Software License, Version 2.0 http://logging.apache.org:80/log4j/1.2/                                                                                                                                  No   No
Attribution   net.bytebuddy:byte-buddy:1.6.9                      1.6.9                                                                              The Apache Software License, Version 2.0                                                                                                                                                                          No   No
Attribution   net.bytebuddy:byte-buddy-agent:1.6.9                1.6.9                                                                              The Apache Software License, Version 2.0                                                                                                                                                                          No   No
Attribution   net.bytebuddy:byte-buddy-android:1.6.5              1.6.5                                                                              The Apache Software License, Version 2.0                                                                                                                                                                          No   No
Attribution   net.logstash.logback:logstash-logback-encoder:4.2                      4.2 https://github.com/logstash/logstash-logback-encoder        Apache License, Version 2.0                 https://github.com/logstash/logstash-logback-encoder                                                                                                                  No   No
Attribution   net.sf.ehcache:ehcache:2.10.0                       2.10.0                 http://www.terracotta.org                                   The Apache Software License, Version 2.0 http://www.terracotta.org                                                                                                                                                No   No
Attribution   org.apache.commons:commons-lang3:3.4                                   3.4 http://commons.apache.org/proper/commons-lang/              Apache License, Version 2.0                 http://commons.apache.org/proper/commons-lang/                                                                                                                        No   No
Attribution   org.apache.commons:commons-pool2:2.0                                     2 http://commons.apache.org/proper/commons-pool/              The Apache Software License, Version 2.0 http://commons.apache.org/proper/commons-pool/                                                                                                                           No   No
Attribution   org.apache.httpcomponents:httpclient:4.5.2          4.5.2                  http://hc.apache.org/httpcomponents-client                  The Apache Software License, Version 2.0 http://hc.apache.org/httpcomponents-client                                                                                                                               No   No
Attribution   org.apache.httpcomponents:httpcore:4.4.4            4.4.4                  http://hc.apache.org/httpcomponents-core-ga                 The Apache Software License, Version 2.0 http://hc.apache.org/httpcomponents-core-ga                                                                                                                              No   No
Attribution   org.apache.logging.log4j:log4j-api:2.1                                 2.1 http://www.apache.org                                       The Apache Software License, Version 2.0 http://www.apache.org                                                                                                                                                    No   No
Attribution   org.apache.logging.log4j:log4j-core:2.1                                2.1 http://www.apache.org                                       The Apache Software License, Version 2.0 http://www.apache.org                                                                                                                                                    No   No
Attribution   org.apache.logging.log4j:log4j-slf4j-impl:2.1                          2.1 http://www.apache.org                                       The Apache Software License, Version 2.0 http://www.apache.org                                                                                                                                                    No   No
Attribution   org.apache.storm:storm-core:1.0.2                   1.0.2                                                                              The Apache Software License, Version 2.0                                                                                                                                                                          No   No
Attribution   org.apache.zookeeper:zookeeper:3.4.2                3.4.2                  http://hadoop.apache.org/zookeeper                          Apache License, Version 2.0                 http://hadoop.apache.org/zookeeper                                                                                                                                    No   No
Attribution   org.clojure:clojure:1.7.0                           1.7.0                  http://clojure.org/                                         Eclipse Public License 1.0                  http://clojure.org/                                                                                                                                                   No   No
Attribution   org.ehcache:ehcache:3.1.2                           3.1.2                  http://ehcache.org                                          The Apache Software License, Version 2.0 http://ehcache.org                                                                                                                                                       No   No
Attribution   org.glassfish.hk2:hk2-api:2.4.0-b31                 2.4.0-b31              http://www.oracle.com                                       CDDL + GPLv2 with classpath exception       http://www.oracle.com                                                                                                                                                 No   No
Attribution   org.glassfish.hk2:hk2-locator:2.4.0-b31             2.4.0-b31              http://www.oracle.com                                       CDDL + GPLv2 with classpath exception       http://www.oracle.com                                                                                                                                                 No   No
Attribution   org.glassfish.hk2:hk2-utils:2.4.0-b31               2.4.0-b31              http://www.oracle.com                                       CDDL + GPLv2 with classpath exception       http://www.oracle.com                                                                                                                                                 No   No
Attribution   org.glassfish.hk2:osgi-resource-locator:1.0.1       1.0.1                  https://glassfish.dev.java.net                              CDDL + GPLv2 with classpath exception       https://glassfish.dev.java.net                                                                                                                                        No   No
              org.glassfish.hk2.external:aopalliance-
Attribution   repackaged:2.4.0-b31                                2.4.0-b31              http://www.oracle.com                                       CDDL + GPLv2 with classpath exception        http://www.oracle.com                                                                                                                                                No   No
Attribution   org.glassfish.hk2.external:javax.inject:2.4.0-b31   2.4.0-b31              http://www.oracle.com                                       CDDL + GPLv2 with classpath exception        http://www.oracle.com                                                                                                                                                No   No
              org.glassfish.jersey.bundles.repackaged:jersey-
Attribution   guava:2.22.1                                        2.22.1                 http://www.oracle.com/                                      CDDL+GPL License                             http://www.oracle.com/                                                                                                                                               No   No
Attribution   org.glassfish.jersey.core:jersey-client:2.22.1      2.22.1                 http://www.oracle.com/                                      CDDL+GPL License                             http://www.oracle.com/                                                                                                                                               No   No
Attribution   org.glassfish.jersey.core:jersey-common:2.22.1      2.22.1                 http://www.oracle.com/                                      CDDL+GPL License                             http://www.oracle.com/                                                                                                                                               No   No
Attribution   org.immutables:value:2.0.16                         2.0.16                                                                             The Apache Software License, Version 2.0                                                                                                                                                                          No   No
                                                                                                                                                     http://www.mozilla.org/MPL/MPL-1.1.html,
                                                                                                                                                     http://www.gnu.org/licenses/lgpl-2.1.html,
Attribution   org.javassist:javassist:3.18.1-GA                   3.18.1-GA             http://www.javassist.org/                                    http://www.apache.org/licenses/              http://www.javassist.org/                                                                                                                                            No   No
Attribution   org.jboss.netty:netty:3.2.2.Final                   3.2.2.Final           http://www.jboss.org/netty/                                  lgpl                                         http://www.jboss.org/netty/                                                                                                                                          No   No
Attribution   org.json:json:20090211                                          20090211 http://www.json.org/java/index.html                           provided without support or warranty         http://www.json.org/java/index.html                                                                                                                                  No   No
Attribution   org.mockito:mockito-android:2.7.13                  2.7.13                http://mockito.org                                           The MIT License                              http://mockito.org                                                                                                                                                   No   No
Attribution   org.mockito:mockito-core:2.7.13                     2.7.13                http://mockito.org                                           The MIT License                              http://mockito.org                                                                                                                                                   No   No
Attribution   org.objenesis:objenesis:2.5                                           2.5 http://objenesis.org                                         Apache License, Version 2.0                  http://objenesis.org                                                                                                                                                 No   No
Attribution   org.ow2.asm:asm:5.0.3                               5.0.3                 http://asm.objectweb.org                                     The Apache Software License, Version 2.0     http://asm.objectweb.org                                                                                                                                             No   No
Attribution   org.skyscreamer:jsonassert:1.3.0                    1.3.0                 https://github.com/skyscreamer/JSONassert                    The Apache Software License, Version 2.0     https://github.com/skyscreamer/JSONassert                                                                                                                            No   No
Attribution   org.slf4j:jcl-over-slf4j:1.7.12                     1.7.12                http://www.slf4j.org                                         MIT License                                  http://www.slf4j.org                                                                                                                                                 No   No
Attribution   org.slf4j:log4j-over-slf4j:1.6.6                    1.6.6                 http://www.slf4j.org                                         MIT License                                  http://www.slf4j.org                                                                                                                                                 No   No
Attribution   org.slf4j:slf4j-api:1.7.12                          1.7.12                http://www.slf4j.org                                         MIT License                                  http://www.slf4j.org                                                                                                                                                 No   No
Attribution   org.springframework:spring-aop:4.1.4.RELEASE        4.1.4.RELEASE         https://github.com/spring-projects/spring-framework          The Apache Software License, Version 2.0     https://github.com/spring-projects/spring-framework                                                                                                                  No   No
Attribution   org.springframework:spring-beans:4.1.4.RELEASE      4.1.4.RELEASE         https://github.com/spring-projects/spring-framework          The Apache Software License, Version 2.0     https://github.com/spring-projects/spring-framework                                                                                                                  No   No
Attribution   org.springframework:spring-context:4.1.4.RELEASE    4.1.4.RELEASE         https://github.com/spring-projects/spring-framework          The Apache Software License, Version 2.0     https://github.com/spring-projects/spring-framework                                                                                                                  No   No
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Attribution   org.springframework:spring-core:4.1.4.RELEASE    4.1.4.RELEASE      https://github.com/spring-projects/spring-framework           The Apache Software License, Version 2.0       https://github.com/spring-projects/spring-framework                                No   No
              org.springframework:spring-
Attribution   expression:4.1.4.RELEASE                         4.1.4.RELEASE       https://github.com/spring-projects/spring-framework            The Apache Software License, Version 2.0 https://github.com/spring-projects/spring-framework                                    No   No
Attribution   redis.clients:jedis:2.5.2                        2.5.2               https://github.com/xetorthio/jedis                             MIT                                            https://github.com/xetorthio/jedis                                               No   No
Attribution   com.amazonaws:aws-java-sdk-kinesis               1.9.38              https://aws.amazon.com/sdkforjava                              Apache License, Version 2.0                    https://aws.amazon.com/sdkforjava                                                No   No
Attribution   org.apache.commons:commons-lang                                  3.4 http://commons.apache.org/lang/                                The Apache Software License, Version 2.0 http://commons.apache.org/lang/                                                        No   No
                                                                                   https://mvnrepository.com/artifact/org.apache.storm/storm-
Attribution   org.apache.storm:storm-core                      1.0.2               core                                                           Apache License, Version 2.0                    https://mvnrepository.com/artifact/org.apache.storm/storm-core                   No   No
                                                                                   https://mvnrepository.com/artifact/org.apache.curator/curator- //mvnrepository.com/artifact/org.apache.curat https://mvnrepository.com/artifact/org.apache.curator/curator-
Attribution   om.netflix.curator:curator-framework             1.1.3               framework                                                      or/curator-framework                           framework                                                                        No   No
Attribution   com.timgroup:java-statsd-client                  3.1.0               http://github.com/tim-group/java-statsd-client                 MIT                                            http://github.com/tim-group/java-statsd-client                                   No   No
Attribution   org.slf4j:jcl-over-slf4j                         1.7.12              http://www.apache.org                                          The Apache Software License, Version 2.0 http://www.apache.org                                                                  No   No
Attribution   org.slf4j:slf4j-api                              1.7.12              http://www.apache.org                                          The Apache Software License, Version 2.0 http://www.apache.org                                                                  No   No
AggService    aopalliance:aopalliance:1.0                      1.0                 http://aopalliance.sourceforge.net                             Public Domain                                                                                                                   No   No
AggService    args4j:args4j:2.0.29                             2.0.29              http://www.kohsuke.org/                                        MIT license                                    http://www.opensource.org/licenses/mit-license.php                               No   No
AggService    asm:asm:3.3.1                                    3.3.1                                                                              BSD                                            http://asm.objectweb.org/license.html                                            No   No
AggService    asm:asm-all:3.3.1                                3.3.1               http://asm.objectweb.org                                       BSD                                            http://asm.objectweb.org/license.html                                            No   No
AggService    asm:asm-analysis:3.3.1                           3.3.1                                                                              BSD                                            http://asm.objectweb.org/license.html                                            No   No
AggService    asm:asm-tree:3.3.1                               3.3.1                                                                              BSD                                            http://asm.objectweb.org/license.html                                            No   No
AggService    asm:asm-util:3.3.1                               3.3.1                                                                              BSD                                            http://asm.objectweb.org/license.html                                            No   No
                                                                                                                                                  http://www.eclipse.org/legal/epl-v10.html,
                                                                                                                                                  http://www.gnu.org/licenses/old-licenses/lgpl-
AggService    ch.qos.logback:logback-classic:1.1.2             1.1.2               http://www.qos.ch                                              2.1.html                                                                                                                        No   No
                                                                                                                                                  http://www.eclipse.org/legal/epl-v10.html,
                                                                                                                                                  http://www.gnu.org/licenses/old-licenses/lgpl-
AggService    ch.qos.logback:logback-core:1.1.2                1.1.2               http://www.qos.ch                                              2.1.html                                                                                                                        No   No
AggService    com.amazonaws:aws-java-sdk:1.11.160              1.11.160            https://aws.amazon.com/sdkforjava                              Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                 No   No
AggService    com.amazonaws:aws-java-sdk-acm:1.11.160          1.11.160            https://aws.amazon.com/sdkforjava                              Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                 No   No

AggService    com.amazonaws:aws-java-sdk-api-gateway:1.11.160 1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    applicationautoscaling:1.11.160                 1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-appstream:1.11.160 1.11.160              https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-athena:1.11.160      1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-autoscaling:1.11.160 1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-batch:1.11.160       1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-budgets:1.11.160     1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    clouddirectory:1.11.160                         1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    cloudformation:1.11.160                         1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-cloudfront:1.11.160 1.11.160             https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-cloudhsm:1.11.160 1.11.160               https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No

AggService    com.amazonaws:aws-java-sdk-cloudsearch:1.11.160 1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-cloudtrail:1.11.160  1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-cloudwatch:1.11.160 1.11.160             https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    cloudwatchmetrics:1.11.160                      1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-codebuild:1.11.160   1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No

AggService    com.amazonaws:aws-java-sdk-codecommit:1.11.160 1.11.160             https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No

AggService    com.amazonaws:aws-java-sdk-codedeploy:1.11.160   1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    codepipeline:1.11.160                            1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-codestar:1.11.160     1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    cognitoidentity:1.11.160                         1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-cognitoidp:1.11.160   1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No

AggService    com.amazonaws:aws-java-sdk-cognitosync:1.11.160 1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-config:1.11.160      1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-core:1.11.160        1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    costandusagereport:1.11.160                     1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No

AggService    com.amazonaws:aws-java-sdk-datapipeline:1.11.160 1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-dax:1.11.160          1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-devicefarm:1.11.160 1.11.160             https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    directconnect:1.11.160                           1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-directory:1.11.160    1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-discovery:1.11.160    1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-dms:1.11.160          1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-dynamodb:1.11.160 1.11.160               https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-ec2:1.11.160          1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-ecr:1.11.160          1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-ecs:1.11.160          1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-efs:1.11.160          1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-elasticache:1.11.160 1.11.160            https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    elasticbeanstalk:1.11.160                        1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    elasticloadbalancing:1.11.160                    1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    elasticloadbalancingv2:1.11.160                  1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    elasticsearch:1.11.160                           1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    elastictranscoder:1.11.160                       1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-emr:1.11.160          1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-events:1.11.160       1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-gamelift:1.11.160     1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-glacier:1.11.160      1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-greengrass:1.11.160 1.11.160             https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-health:1.11.160       1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-iam:1.11.160          1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    importexport:1.11.160                            1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-inspector:1.11.160    1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-iot:1.11.160          1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-kinesis:1.11.160      1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-kms:1.11.160          1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-lambda:1.11.160       1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-lex:1.11.160          1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
              com.amazonaws:aws-java-sdk-
AggService    lexmodelbuilding:1.11.160                        1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-lightsail:1.11.160    1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
AggService    com.amazonaws:aws-java-sdk-logs:1.11.160         1.11.160           https://aws.amazon.com/sdkforjava                             Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                                   No   No
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             com.amazonaws:aws-java-sdk-
AggService   machinelearning:1.11.160                           1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
             com.amazonaws:aws-java-sdk-
AggService   marketplacecommerceanalytics:1.11.160              1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
             com.amazonaws:aws-java-sdk-
AggService   marketplaceentitlement:1.11.160                    1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
             com.amazonaws:aws-java-sdk-
AggService   marketplacemeteringservice:1.11.160                1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
             com.amazonaws:aws-java-sdk-
AggService   mechanicalturkrequester:1.11.160                   1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-models:1.11.160         1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-opsworks:1.11.160       1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
             com.amazonaws:aws-java-sdk-
AggService   opsworkscm:1.11.160                                1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
             com.amazonaws:aws-java-sdk-
AggService   organizations:1.11.160                             1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-pinpoint:1.11.160       1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-polly:1.11.160          1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-rds:1.11.160            1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-redshift:1.11.160       1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-rekognition:1.11.160    1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
             com.amazonaws:aws-java-sdk-
AggService   resourcegroupstaggingapi:1.11.160                  1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-route53:1.11.160        1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-s3:1.11.160             1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
             com.amazonaws:aws-java-sdk-
AggService   servermigration:1.11.160                           1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
             com.amazonaws:aws-java-sdk-
AggService   servicecatalog:1.11.160                            1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-ses:1.11.160            1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-shield:1.11.160         1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-simpledb:1.11.160       1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
             com.amazonaws:aws-java-sdk-
AggService   simpleworkflow:1.11.160                            1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-snowball:1.11.160       1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-sns:1.11.160            1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-sqs:1.11.160            1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-ssm:1.11.160            1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
             com.amazonaws:aws-java-sdk-
AggService   stepfunctions:1.11.160                             1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
             com.amazonaws:aws-java-sdk-
AggService   storagegateway:1.11.160                            1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-sts:1.11.160            1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-support:1.11.160        1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-swf-libraries:1.11.22   1.11.22             https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-waf:1.11.160            1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-workdocs:1.11.160       1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No

AggService   com.amazonaws:aws-java-sdk-workspaces:1.11.160 1.11.160                https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:aws-java-sdk-xray:1.11.160           1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.amazonaws:jmespath-java:1.11.160               1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                     No   No
AggService   com.chuusai:shapeless_2.11:2.3.2                   2.3.2               https://github.com/milessabin/shapeless            Apache 2                                    http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
AggService   com.clearspring.analytics:stream:2.7.0             2.7.0               https://github.com/addthis/stream-lib              Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
AggService   com.cwbase:logback-redis-appender:1.1.0            1.1.0               https://github.com/kmtong/logback-redis-appender   Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
AggService   com.databricks:spark-avro_2.10:3.1.0               3.1.0               https://github.com/databricks/spark-avro           Apache-2.0                                  http://www.apache.org/licenses/LICENSE-2.0                           No   No
AggService   com.databricks:spark-csv_2.10:1.5.0                1.5.0               https://github.com/databricks/spark-csv            Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0.html                      No   No
AggService   com.ecwid.consul:consul-api:1.2.1                  1.2.1               https://github.com/Ecwid/consul-api                The Apache License, Version 2.0             http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
AggService   com.esotericsoftware:kryo-shaded:3.0.3             3.0.3                                                                  New BSD License                             http://www.opensource.org/licenses/bsd-license.php                   No   No
AggService   com.esotericsoftware:minlog:1.3.0                  1.3.0               https://github.com/EsotericSoftware/minlog         New BSD License                             http://www.opensource.org/licenses/bsd-license.php                   No   No
             com.fasterxml.jackson.core:jackson-
AggService   annotations:2.6.5                                  2.6.5               http://github.com/FasterXML/jackson                The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
AggService   com.fasterxml.jackson.core:jackson-core:2.6.6      2.6.6               https://github.com/FasterXML/jackson-core          The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
AggService   com.fasterxml.jackson.core:jackson-databind:2.6.6 2.6.6                http://github.com/FasterXML/jackson                The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
             com.fasterxml.jackson.dataformat:jackson-
AggService   dataformat-cbor:2.6.6                              2.6.6               http://wiki.fasterxml.com/JacksonForCbor           The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
             com.fasterxml.jackson.module:jackson-module-
AggService   paranamer:2.6.5                                    2.6.5               http://wiki.fasterxml.com/JacksonHome              The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
             com.fasterxml.jackson.module:jackson-module-
AggService   scala_2.11:2.6.5                                   2.6.5               http://wiki.fasterxml.com/JacksonModuleScala       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
AggService   com.fasterxml.uuid:java-uuid-generator:3.1.4       3.1.4               http://wiki.fasterxml.com/JugHome                  The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
AggService   com.github.fommil.netlib:core:1.1.2                1.1.2                                                                  BSD 3 Clause                                http://opensource.org/licenses/BSD-3-Clause                          No   No
AggService   com.github.rwl:jtransforms:2.4.0                   2.4.0               http://sourceforge.net/projects/jtransforms/       MPL                                         http://www.mozilla.org/MPL/2.0/index.txt                             No   No
AggService   com.google.code.findbugs:jsr305:1.3.9              1.3.9               http://findbugs.sourceforge.net/                   The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
AggService   com.google.code.gson:gson:2.3.1                    2.3.1               http://code.google.com/p/google-gson/              The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
AggService   com.google.guava:guava:16.0.1                      16.0.1                                                                 The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
AggService   com.google.inject:guice:3.0                        3.0                 http://code.google.com/p/google-guice/             The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
AggService   com.google.inject.extensions:guice-servlet:3.0     3.0                 http://code.google.com/p/google-guice/             The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
AggService   com.google.protobuf:protobuf-java:2.5.0            2.5.0               http://code.google.com/p/protobuf                  The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
             com.holdenkarau:spark-testing-
AggService   base_2.11:2.1.0_0.6.0                              2.1.0_0.6.0         https://github.com/holdenk/spark-testing-base      Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                      No   No
AggService   com.jamesmurty.utils:java-xmlbuilder:1.0           1.0                 https://github.com/jmurty/java-xmlbuilder          Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                           No   No
AggService   com.jcraft:jsch:0.1.42                             0.1.42              http://www.jcraft.com/jsch/                        BSD                                         http://www.jcraft.com/jsch/LICENSE.txt                               No   No
AggService   com.ning:compress-lzf:1.0.3                        1.0.3               http://github.com/ning/compress                    Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                      No   No
AggService   com.rabbitmq:amqp-client:3.4.3                     3.4.3               http://www.rabbitmq.com                            MPL 1.1                                     http://www.mozilla.org/MPL/MPL-1.1.txt                               No   No
AggService   com.sizmek:Distcp:1.0-20190205104953               20190205104953                                                                                                                                                                          No   No
             com.sizmek.dataconnect:infrastructure:1.0.20190129 1.0.2019012917074
AggService   170741                                             1                                                                                                                                                                                       No   No
AggService   com.sizmek.dataplatform:nereus:0.5.0-SNAPSHOT 0.5.0-SNAPSHOT                                                                                                                                                                               No   No
             com.sizmek.dataplatform:nereus-entities:0.0.2-
AggService   SNAPSHOT                                           0.0.2-SNAPSHOT                                                                                                                                                                          No   No
             com.sizmek.dataplatform.aws:dbProvider:0.0.1-
AggService   SNAPSHOT                                           0.0.1-SNAPSHOT                                                                                                                                                                          No   No
AggService   com.squareup.retrofit:retrofit:1.9.0               1.9.0                                                                  Apache 2.0                                  http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                       _1.html,
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
AggService   com.sun.jersey:jersey-client:1.9                   1.9                 http://www.oracle.com/                             _1.html                                                                                                          No   No
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                       _1.html,
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
AggService   com.sun.jersey:jersey-core:1.9                     1.9                 http://www.oracle.com/                             _1.html                                                                                                          No   No
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                       _1.html,
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
AggService   com.sun.jersey:jersey-json:1.9                     1.9                 http://www.oracle.com/                             _1.html                                                                                                          No   No
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                       _1.html,
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
AggService   com.sun.jersey:jersey-server:1.9                   1.9                 http://www.oracle.com/                             _1.html                                                                                                          No   No
AggService   com.sun.jersey.contribs:jersey-guice:1.9           1.9                                                                    GPL2 w/ CPE                                 http://glassfish.java.net/public/CDDL+GPL_1_1.html                   No   No
                                                                      19-10971-dsj                                       Doc 210                          Filed 06/03/19 Entered 06/03/19 14:17:12                                                            Main Document
                                                                                                                                                                     Pg 223 of 325
AggService   com.sun.xml.bind:jaxb-impl:2.2.3-1              2.2.3-1             http://jaxb.java.net/                                          GPL2 w/ CPE                                  https://glassfish.java.net/public/CDDL+GPL_1_1.html                              No   No
AggService   com.thoughtworks.paranamer:paranamer:2.6        2.6                                                                                BSD                                          LICENSE.txt                                                                      No   No
AggService   com.timgroup:java-statsd-client:3.0.2           3.0.2               http://github.com/tim-group/java-statsd-client                 The MIT License (MIT)                        http://opensource.org/licenses/MIT                                               No   No
AggService   com.twitter:chill-java:0.8.0                    0.8.0               https://github.com/twitter/chill                               Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
AggService   com.twitter:chill_2.11:0.8.0                    0.8.0               https://github.com/twitter/chill                               Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
AggService   com.univocity:univocity-parsers:2.2.1           2.2.1               www.univocity.com                                              Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
                                                             9.01_spark2.1_scala
AggService   com.vertica:spark:9.01_spark2.1_scala2.11       2.11                                                                                                                                                                                                             No   No
AggService   com.vertica:vertica-jdbc:9.0.1                  9.0.1                                                                                                                                                                                                            No   No
AggService   commons-beanutils:commons-beanutils:1.7.0       1.7.0                                                                               Apache License, Version 2.0                 https://www.apache.org/licenses/LICENSE-2.0                                      No   No
AggService   commons-beanutils:commons-beanutils-core:1.8.0 1.8.0                http://commons.apache.org/beanutils/                            The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                      No   No
AggService   commons-cli:commons-cli:1.4                     1.4                 http://commons.apache.org/proper/commons-cli/                   Apache License, Version 2.0                 https://www.apache.org/licenses/LICENSE-2.0.txt                                  No   No
AggService   commons-codec:commons-codec:1.10                1.10                http://commons.apache.org/proper/commons-codec/                 Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
AggService   commons-collections:commons-collections:3.2.2   3.2.2               http://commons.apache.org/collections/                          Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
AggService   commons-configuration:commons-configuration:1.6 1.6                 http://commons.apache.org/configuration/                        The Apache Software License, Version 2.0 /LICENSE.txt                                                                        No   No
AggService   commons-daemon:commons-daemon:1.0.13            1.0.13              http://commons.apache.org/daemon/                               The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                      No   No
AggService   commons-digester:commons-digester:1.8           1.8                 http://jakarta.apache.org/commons/digester/                     The Apache Software License, Version 2.0 /LICENSE.txt                                                                        No   No
AggService   commons-el:commons-el:1.0                       1.0                 http://jakarta.apache.org/commons/el/                           The Apache Software License, Version 2.0 /LICENSE.txt                                                                        No   No
AggService   commons-httpclient:commons-httpclient:3.1       3.1                 http://jakarta.apache.org/httpcomponents/httpclient-3.x/        Apache License                              http://www.apache.org/licenses/LICENSE-2.0                                       No   No
AggService   commons-io:commons-io:2.4                       2.4                 http://commons.apache.org/io/                                   The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                      No   No
AggService   commons-lang:commons-lang:2.6                   2.6                 http://commons.apache.org/lang/                                 The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                      No   No
AggService   commons-logging:commons-logging:1.2             1.2                 http://commons.apache.org/proper/commons-logging/               The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                      No   No
AggService   commons-net:commons-net:3.1                     3.1                 http://commons.apache.org/net/                                  The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                      No   No
AggService   io.dropwizard.metrics:metrics-core:3.1.2        3.1.2                                                                               Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                                  No   No
AggService   io.dropwizard.metrics:metrics-graphite:3.1.2    3.1.2                                                                               Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                                  No   No
AggService   io.dropwizard.metrics:metrics-json:3.1.2        3.1.2                                                                               Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                                  No   No
AggService   io.dropwizard.metrics:metrics-jvm:3.1.2         3.1.2                                                                               Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                                  No   No
AggService   io.github.nicolasstucki:multisets_2.11:0.4      0.4                 https://github.com/nicolasstucki/multisets                      BSD-style                                   http://www.opensource.org/licenses/bsd-license.php                               No   No
AggService   io.netty:netty:3.9.9.Final                      3.9.9.Final         http://netty.io/                                                Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                                       No   No
AggService   io.netty:netty-all:4.0.43.Final                 4.0.43.Final                                                                        Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                                       No   No
AggService   it.unimi.dsi:fastutil:6.5.7                     6.5.7               http://fasutil.di.unimi.it/                                     Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0.html                                  No   No
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                                                                                     http://java.sun.com/javase/technologies/desktop/javabeans/j DISTRIBUTION LICENSE (CDDL) Version
AggService   javax.activation:activation:1.1.1                  1.1.1                af/index.jsp                                                1.0                                         https://glassfish.dev.java.net/public/CDDLv1.0.html                              No   No
                                                                                                                                                 COMMON DEVELOPMENT AND
                                                                                                                                                 DISTRIBUTION LICENSE (CDDL) Version
AggService   javax.annotation:javax.annotation-api:1.2          1.2                  https://glassfish.java.net                                  1.0                                         https://opensource.org/licenses/CDDL-1.0                                         No   No
AggService   javax.inject:javax.inject:1                        1                    http://code.google.com/p/atinject/                          The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                      No   No
                                                                                                                                                 http://www.sun.com/cddl,
                                                                                                                                                 https://glassfish.java.net/public/CDDL+GPL_
AggService   javax.mail:mail:1.4.7                              1.4.7                http://www.oracle.com                                       1_1.html                                                                                                                     No   No
                                                                                                                                                 COMMON DEVELOPMENT AND
                                                                                                                                                 DISTRIBUTION LICENSE (CDDL) Version
AggService   javax.servlet:javax.servlet-api:3.1.0              3.1.0                https://glassfish.dev.java.net                              1.0                                         https://opensource.org/licenses/CDDL-1.0                                         No   No
AggService   javax.servlet:servlet-api:2.5                      2.5                                                                                                                                                                                                           No   No
AggService   javax.servlet.jsp:jsp-api:2.1                      2.1                                                                                                                                                                                                           No   No
AggService   javax.validation:validation-api:1.1.0.Final        1.1.0.Final          http://beanvalidation.org                                  The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
                                                                                                                                                http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                                _1.html,
                                                                                                                                                http://glassfish.java.net/public/CDDL+GPL_1
AggService   javax.ws.rs:javax.ws.rs-api:2.0.1                  2.0.1                http://www.oracle.com/                                     _1.html                                                                                                                       No   No
AggService   javax.xml.bind:jaxb-api:2.2.2                      2.2.2                https://jaxb.dev.java.net/                                 GPL2 w/ CPE                                 https://glassfish.dev.java.net/public/CDDL+GPL_1_1.html                           No   No
AggService   javax.xml.stream:stax-api:1.0-2                    1.0-2                                                                           GNU General Public Library                  http://www.gnu.org/licenses/gpl.txt                                               No   No
AggService   jline:jline:0.9.94                                 0.9.94               http://jline.sourceforge.net                               BSD                                         LICENSE.txt                                                                       No   No
AggService   joda-time:joda-time:2.9.2                          2.9.2                http://www.joda.org/joda-time/                             Apache License, Version 2.0                 https://www.apache.org/licenses/LICENSE-2.0                                       No   No
AggService   junit:junit:4.12                                   4.12                 http://junit.org                                           Eclipse Public License 1.0                  http://www.eclipse.org/legal/epl-v10.html                                         No   No
AggService   log4j:log4j:1.2.17                                 1.2.17               http://logging.apache.org/log4j/1.2/                       The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
AggService   mx4j:mx4j:3.0.2                                    3.0.2                http://mx4j.sourceforge.net                                The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
AggService   net.iharder:base64:2.3.8                           2.3.8                http://iharder.net/base64/                                 Public domain                                                                                                                 No   No
AggService   net.java.dev.jets3t:jets3t:0.9.3                   0.9.3                https://bitbucket.org/jmurty/jets3t/overview               Apache 2.0                                  http://www.apache.org/licenses/LICENSE-2.0                                        No   No
AggService   net.jpountz.lz4:lz4:1.3.0                          1.3.0                https://github.com/jpountz/lz4-java                        The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
AggService   net.logstash.log4j:jsonevent-layout:1.7            1.7                  http://logstash.net                                        The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
AggService   net.minidev:json-smart:1.1.1                       1.1.1                                                                           The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
AggService   net.razorvine:pyrolite:4.13                        4.13                 https://github.com/irmen/Pyrolite                          MIT License                                 https://raw.githubusercontent.com/irmen/Pyrolite/master/LICENSE                   No   No
AggService   net.sf.opencsv:opencsv:2.3                         2.3                  http://opencsv.sf.net                                      Apache 2                                    http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
AggService   net.sf.py4j:py4j:0.10.4                            0.10.4                                                                          The New BSD License                         http://www.opensource.org/licenses/bsd-license.html                               No   No
AggService   net.sourceforge.f2j:arpack_combined_all:0.1        0.1                  http://f2j.sourceforge.net                                 The BSD License                             http://www.opensource.org/licenses/bsd-license.php                                No   No
AggService   org.antlr:antlr4-runtime:4.5.3                     4.5.3                http://www.antlr.org                                       The BSD License                             http://www.antlr.org/license.html                                                 No   No
AggService   org.apache.avro:avro:1.7.7                         1.7.7                http://www.apache.org/                                     The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
AggService   org.apache.avro:avro-ipc:1.7.7                     1.7.7                http://www.apache.org/                                     The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
AggService   org.apache.avro:avro-mapred:1.7.7                  1.7.7                                                                           The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
AggService   org.apache.commons:commons-collections4:4.0        4.0                  http://commons.apache.org/proper/commons-collections/      The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
AggService   org.apache.commons:commons-compress:1.4.1          1.4.1                http://commons.apache.org/compress/                        The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
AggService   org.apache.commons:commons-crypto:1.0.0            1.0.0                http://commons.apache.org/proper/commons-crypto/           Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
AggService   org.apache.commons:commons-csv:1.4                 1.4                  http://commons.apache.org/proper/commons-csv/              Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
AggService   org.apache.commons:commons-dbcp2:2.0.1             2.0.1                http://commons.apache.org/proper/commons-dbcp/             The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
AggService   org.apache.commons:commons-lang3:3.5               3.5                  http://commons.apache.org/proper/commons-lang/             Apache License, Version 2.0                 https://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
AggService   org.apache.commons:commons-math3:3.4.1             3.4.1                http://commons.apache.org/proper/commons-math/             The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
AggService   org.apache.commons:commons-pool2:2.3               2.3                  http://commons.apache.org/proper/commons-pool/             The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
AggService   org.apache.curator:curator-client:2.6.0            2.6.0                http://www.apache.org/                                     The Apache Software License, Version 2.0 file://${basedir}/LICENSE                                                            No   No
AggService   org.apache.curator:curator-framework:2.6.0         2.6.0                http://www.apache.org/                                     The Apache Software License, Version 2.0 file://${basedir}/LICENSE                                                            No   No
AggService   org.apache.curator:curator-recipes:2.6.0           2.6.0                http://www.apache.org/                                     The Apache Software License, Version 2.0 file://${basedir}/LICENSE                                                            No   No
AggService   org.apache.directory.api:api-asn1-api:1.0.0-M20    1.0.0-M20            http://www.apache.org/                                     The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
AggService   org.apache.directory.api:api-util:1.0.0-M20        1.0.0-M20            http://www.apache.org/                                     The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
             org.apache.directory.server:apacheds-i18n:2.0.0-
AggService   M15                                                2.0.0-M15            http://www.apache.org/                                     The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
             org.apache.directory.server:apacheds-kerberos-
AggService   codec:2.0.0-M15                                    2.0.0-M15            http://www.apache.org/                                     The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
AggService   org.apache.hadoop:hadoop-annotations:2.6.5         2.6.5                                                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
AggService   org.apache.hadoop:hadoop-auth:2.6.5                2.6.5                                                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
AggService   org.apache.hadoop:hadoop-client:2.6.5              2.6.5                                                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
AggService   org.apache.hadoop:hadoop-common:2.6.5              2.6.5                                                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
AggService   org.apache.hadoop:hadoop-hdfs:2.6.5                2.6.5                                                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
             org.apache.hadoop:hadoop-mapreduce-client-
AggService   app:2.6.5                                          2.6.5                                                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
             org.apache.hadoop:hadoop-mapreduce-client-
AggService   common:2.6.5                                       2.6.5                                                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
             org.apache.hadoop:hadoop-mapreduce-client-
AggService   core:2.6.5                                         2.6.5                                                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
             org.apache.hadoop:hadoop-mapreduce-client-
AggService   hs:2.6.4                                           2.6.4                                                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
             org.apache.hadoop:hadoop-mapreduce-client-
AggService   jobclient:2.6.5                                    2.6.5                                                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
             org.apache.hadoop:hadoop-mapreduce-client-
AggService   shuffle:2.6.5                                      2.6.5                                                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
AggService   org.apache.hadoop:hadoop-minicluster:2.6.4         2.6.4                                                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
AggService   org.apache.hadoop:hadoop-yarn-api:2.6.5            2.6.5                                                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
                                                                       19-10971-dsj                                        Doc 210                      Filed 06/03/19 Entered 06/03/19 14:17:12                                                        Main Document
                                                                                                                                                                   Pg 224 of 325
AggService   org.apache.hadoop:hadoop-yarn-client:2.6.5            2.6.5                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.hadoop:hadoop-yarn-common:2.6.5            2.6.5                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
             org.apache.hadoop:hadoop-yarn-server-
AggService   applicationhistoryservice:2.6.4                       2.6.4                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
             org.apache.hadoop:hadoop-yarn-server-
AggService   common:2.6.5                                          2.6.5                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
             org.apache.hadoop:hadoop-yarn-server-
AggService   nodemanager:2.6.5                                     2.6.5                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
             org.apache.hadoop:hadoop-yarn-server-
AggService   resourcemanager:2.6.4                                 2.6.4                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.hadoop:hadoop-yarn-server-tests:2.6.4      2.6.4                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
             org.apache.hadoop:hadoop-yarn-server-web-
AggService   proxy:2.6.5                                           2.6.5                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.httpcomponents:httpclient:4.5.2            4.5.2              http://hc.apache.org/httpcomponents-client               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.httpcomponents:httpcore:4.4.5              4.4.5              http://hc.apache.org/httpcomponents-core-ga              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.ivy:ivy:2.4.0                              2.4.0              http://ant.apache.org/ivy/                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.parquet:parquet-avro:1.8.0                 1.8.0              https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.parquet:parquet-column:1.8.2               1.8.2              https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.parquet:parquet-common:1.8.2               1.8.2              https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.parquet:parquet-encoding:1.8.2             1.8.2              https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.parquet:parquet-format:2.3.1               2.3.1              http://parquet.apache.org/                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.parquet:parquet-hadoop:1.8.2               1.8.2              https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.parquet:parquet-jackson:1.8.2              1.8.2              https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.spark:spark-catalyst_2.11:2.2.0            2.2.0              http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.spark:spark-core_2.11:2.2.0                2.2.0              http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.spark:spark-graphx_2.11:2.2.0              2.2.0              http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.spark:spark-launcher_2.11:2.2.0            2.2.0              http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.spark:spark-mllib-local_2.11:2.2.0         2.2.0              http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.spark:spark-mllib_2.11:2.2.0               2.2.0              http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No

AggService   org.apache.spark:spark-network-common_2.11:2.2.0 2.2.0                   http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.spark:spark-network-shuffle_2.11:2.2.0 2.2.0                  http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.spark:spark-sketch_2.11:2.2.0          2.2.0                  http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.spark:spark-sql_2.11:2.2.0             2.2.0                  http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.spark:spark-streaming_2.11:2.2.0       2.2.0                  http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.spark:spark-tags_2.11:2.2.0            2.2.0                  http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.spark:spark-unsafe_2.11:2.2.0          2.2.0                  http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
                                                                                      http://geronimo.apache.org/maven/xbean/4.4/xbean-asm5-
AggService   org.apache.xbean:xbean-asm5-shaded:4.4                4.4                shaded                                                   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.apache.zookeeper:zookeeper:3.4.6                  3.4.6              http://hadoop.apache.org/zookeeper                       Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                 No   No
AggService   org.aspectj:aspectjrt:1.8.2                           1.8.2              http://www.aspectj.org                                   Eclipse Public License - v 1.0               http://www.eclipse.org/legal/epl-v10.html                                   No   No
AggService   org.aspectj:aspectjweaver:1.8.2                       1.8.2              http://www.aspectj.org                                   Eclipse Public License - v 1.0               http://www.eclipse.org/legal/epl-v10.html                                   No   No
AggService   org.bouncycastle:bcprov-jdk15on:1.51                  1.51               http://www.bouncycastle.org/java.html                    Bouncy Castle Licence                        http://www.bouncycastle.org/licence.html                                    No   No
AggService   org.codehaus.groovy:groovy-all:2.4.7                  2.4.7              http://groovy-lang.org                                   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.codehaus.jackson:jackson-core-asl:1.9.13          1.9.13             http://jackson.codehaus.org                              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.codehaus.jackson:jackson-jaxrs:1.9.13             1.9.13             http://jackson.codehaus.org                              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.codehaus.jackson:jackson-mapper-asl:1.9.13        1.9.13             http://jackson.codehaus.org                              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.codehaus.jackson:jackson-xc:1.9.13                1.9.13             http://jackson.codehaus.org                              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.codehaus.janino:commons-compiler:3.0.0            3.0.0                                                                       New BSD License                              http://dist.codehaus.org/janino/new_bsd_license.txt                         No   No
AggService   org.codehaus.janino:janino:3.0.0                      3.0.0                                                                       New BSD License                              http://dist.codehaus.org/janino/new_bsd_license.txt                         No   No
AggService   org.codehaus.jettison:jettison:1.1                    1.1                                                                         Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                 No   No
                                                                                                                                               http://www.apache.org/licenses/LICENSE-
                                                                                                                                               2.0,
                                                                                                                                               http://www.eclipse.org/org/documents/epl-
AggService   org.eclipse.jetty:jetty-util:9.3.11.v20160721         9.3.11.v20160721   http://www.eclipse.org/jetty                             v10.php                                                                                                                  No   No
AggService   org.fusesource.leveldbjni:leveldbjni-all:1.8          1.8                http://fusesource.com/                                   The BSD 3-Clause License                     http://www.opensource.org/licenses/BSD-3-Clause                             No   No
AggService   org.glassfish.hk2:hk2-api:2.4.0-b34                   2.4.0-b34          http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
AggService   org.glassfish.hk2:hk2-locator:2.4.0-b34               2.4.0-b34          http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
AggService   org.glassfish.hk2:hk2-utils:2.4.0-b34                 2.4.0-b34          http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
AggService   org.glassfish.hk2:osgi-resource-locator:1.0.1         1.0.1              https://glassfish.dev.java.net                           CDDL + GPLv2 with classpath exception        https://glassfish.dev.java.net/nonav/public/CDDL+GPL.html                   No   No
             org.glassfish.hk2.external:aopalliance-
AggService   repackaged:2.4.0-b34                                  2.4.0-b34          http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
AggService   org.glassfish.hk2.external:javax.inject:2.4.0-b34     2.4.0-b34          http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
             org.glassfish.jersey.bundles.repackaged:jersey-
AggService   guava:2.22.2                                          2.22.2             http://www.oracle.com/                                   CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
             org.glassfish.jersey.containers:jersey-container-
AggService   servlet:2.22.2                                        2.22.2             http://www.oracle.com/                                   CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
             org.glassfish.jersey.containers:jersey-container-
AggService   servlet-core:2.22.2                                   2.22.2             http://www.oracle.com/                                   CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
AggService   org.glassfish.jersey.core:jersey-client:2.22.2        2.22.2             http://www.oracle.com/                                   CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
AggService   org.glassfish.jersey.core:jersey-common:2.22.2        2.22.2             http://www.oracle.com/                                   CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
AggService   org.glassfish.jersey.core:jersey-server:2.22.2        2.22.2             http://www.oracle.com/                                   CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
AggService   org.glassfish.jersey.media:jersey-media-jaxb:2.22.2   2.22.2             http://www.oracle.com/                                   CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
AggService   org.hamcrest:hamcrest-core:1.3                        1.3                                                                         New BSD License                              http://www.opensource.org/licenses/bsd-license.php                          No   No
AggService   org.htrace:htrace-core:3.0.4                          3.0.4              https://github.com/cloudera/htrace                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
                                                                                                                                               http://www.mozilla.org/MPL/MPL-1.1.html,
                                                                                                                                               http://www.gnu.org/licenses/lgpl-2.1.html,
AggService   org.javassist:javassist:3.18.1-GA                     3.18.1-GA          http://www.javassist.org/                                http://www.apache.org/licenses/                                                                                          No   No
AggService   org.jpmml:pmml-model:1.2.15                           1.2.15                                                                      BSD 3-Clause License                         http://opensource.org/licenses/BSD-3-Clause                                 No   No
AggService   org.jpmml:pmml-schema:1.2.15                          1.2.15                                                                      BSD 3-Clause License                         http://opensource.org/licenses/BSD-3-Clause                                 No   No
AggService   org.json4s:json4s-ast_2.11:3.2.11                     3.2.11             https://github.com/json4s/json4s                         ASL                                          http://github.com/json4s/json4s/raw/HEAD/LICENSE                            No   No
AggService   org.json4s:json4s-core_2.11:3.2.11                    3.2.11             https://github.com/json4s/json4s                         ASL                                          http://github.com/json4s/json4s/raw/HEAD/LICENSE                            No   No
AggService   org.json4s:json4s-jackson_2.11:3.2.11                 3.2.11             https://github.com/json4s/json4s                         ASL                                          http://github.com/json4s/json4s/raw/HEAD/LICENSE                            No   No
                                                                                                                                               http://www.apache.org/licenses/LICENSE-
                                                                                                                                               2.0,
                                                                                                                                               http://www.eclipse.org/org/documents/epl-
AggService   org.mortbay.jetty:jetty:6.1.26                        6.1.26             http://jetty.mortbay.org                                 v10.php                                                                                                                  No   No
                                                                                                                                               http://www.apache.org/licenses/LICENSE-
                                                                                                                                               2.0,
                                                                                                                                               http://www.eclipse.org/org/documents/epl-
AggService   org.mortbay.jetty:jetty-util:6.1.26                   6.1.26             http://jetty.mortbay.org                                 v10.php                                                                                                                  No   No
AggService   org.objenesis:objenesis:2.1                           2.1                http://objenesis.org                                     Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                 No   No
AggService   org.parboiled:parboiled-core:1.0.2                    1.0.2              http://parboiled.org/                                    Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.parboiled:parboiled-java:1.0.2                    1.0.2              http://parboiled.org/                                    Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.pegdown:pegdown:1.1.0                             1.1.0              http://www.pegdown.org                                   Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                 No   No
AggService   org.postgresql:postgresql:9.3-1102-jdbc41             9.3-1102-jdbc41    http://jdbc.postgresql.org                               BSD License                                  http://jdbc.postgresql.org/license.html                                     No   No
AggService   org.roaringbitmap:RoaringBitmap:0.5.11                0.5.11             https://github.com/lemire/RoaringBitmap                  Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
AggService   org.scala-lang:scala-compiler:2.11.0                  2.11.0             http://www.scala-lang.org/                               BSD 3-Clause                                 http://www.scala-lang.org/license.html                                      No   No
AggService   org.scala-lang:scala-library:2.11.8                   2.11.8             http://www.scala-lang.org/                               BSD 3-Clause                                 http://www.scala-lang.org/license.html                                      No   No
AggService   org.scala-lang:scala-reflect:2.11.8                   2.11.8             http://www.scala-lang.org/                               BSD 3-Clause                                 http://www.scala-lang.org/license.html                                      No   No
AggService   org.scala-lang:scalap:2.11.0                          2.11.0             http://www.scala-lang.org/                               BSD 3-Clause                                 http://www.scala-lang.org/license.html                                      No   No
             org.scala-lang.modules:scala-parser-
AggService   combinators_2.11:1.0.4                                1.0.4              http://www.scala-lang.org/                               BSD 3-clause                                 http://opensource.org/licenses/BSD-3-Clause                                 No   No
AggService   org.scala-lang.modules:scala-xml_2.11:1.0.5           1.0.5              http://www.scala-lang.org/                               BSD 3-clause                                 http://opensource.org/licenses/BSD-3-Clause                                 No   No
AggService   org.scala-sbt:test-interface:1.0                      1.0                http://www.scala-sbt.org                                 BSD                                          https://github.com/sbt/test-interface/blob/master/LICENSE                   No   No
AggService   org.scalacheck:scalacheck_2.11:1.13.4                 1.13.4             http://www.scalacheck.org                                BSD-style                                    http://www.opensource.org/licenses/bsd-license.php                          No   No
AggService   org.scalactic:scalactic_2.10:3.0.1                    3.0.1              http://www.scalatest.org                                 the Apache License, ASL Version 2.0          http://www.apache.org/licenses/LICENSE-2.0                                  No   No
AggService   org.scalactic:scalactic_2.11:3.0.1                    3.0.1              http://www.scalatest.org                                 the Apache License, ASL Version 2.0          http://www.apache.org/licenses/LICENSE-2.0                                  No   No
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AggService       org.scalanlp:breeze-macros_2.11:0.13.1                   0.13.1                 http://scalanlp.org/                                       Apache 2                                      http://www.apache.org/licenses/LICENSE-2.0.html                            No   No
AggService       org.scalanlp:breeze_2.11:0.13.1                          0.13.1                 http://scalanlp.org/                                       Apache 2                                      http://www.apache.org/licenses/LICENSE-2.0.html                            No   No
AggService       org.scalatest:scalatest_2.10:3.0.1                       3.0.1                  http://www.scalatest.org/                                  the Apache License, ASL Version 2.0           http://www.apache.org/licenses/LICENSE-2.0                                 No   No
AggService       org.scalatest:scalatest_2.11:3.0.1                       3.0.1                  http://www.scalatest.org/                                  the Apache License, ASL Version 2.0           http://www.apache.org/licenses/LICENSE-2.0                                 No   No
AggService       org.slf4j:jcl-over-slf4j:1.7.16                          1.7.16                 http://www.slf4j.org                                       MIT License                                   http://www.opensource.org/licenses/mit-license.php                         No   No
AggService       org.slf4j:jul-to-slf4j:1.7.16                            1.7.16                 http://www.slf4j.org                                       MIT License                                   http://www.opensource.org/licenses/mit-license.php                         No   No
AggService       org.slf4j:slf4j-api:1.7.21                               1.7.21                 http://www.slf4j.org                                       MIT License                                   http://www.opensource.org/licenses/mit-license.php                         No   No
AggService       org.slf4j:slf4j-log4j12:1.7.21                           1.7.21                 http://www.slf4j.org                                       MIT License                                   http://www.opensource.org/licenses/mit-license.php                         No   No
AggService       org.sonatype.sisu.inject:cglib:2.2.1-v20090111           2.2.1-v20090111        http://sourceforge.net/projects/cglib/                     The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       org.spark-project.spark:unused:1.0.0                     1.0.0                                                                             The Apache License, Version 2.0               http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       org.spire-math:spire-macros_2.11:0.13.0                  0.13.0                 http://spire-math.org                                      MIT                                           http://opensource.org/licenses/MIT                                         No   No
AggService       org.spire-math:spire_2.11:0.13.0                         0.13.0                 http://spire-math.org                                      MIT                                           http://opensource.org/licenses/MIT                                         No   No
AggService       org.springframework:spring-aop:4.1.6.RELEASE             4.1.6.RELEASE          https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       org.springframework:spring-beans:4.1.6.RELEASE           4.1.6.RELEASE          https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       org.springframework:spring-context:4.1.6.RELEASE         4.1.6.RELEASE          https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                 org.springframework:spring-context-
AggService       support:4.1.0.RELEASE                                    4.1.0.RELEASE          https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       org.springframework:spring-core:4.1.6.RELEASE            4.1.6.RELEASE          https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                 org.springframework:spring-
AggService       expression:4.1.6.RELEASE                                 4.1.6.RELEASE          https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       org.springframework:spring-jdbc:4.1.6.RELEASE            4.1.6.RELEASE          https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       org.springframework:spring-tx:4.1.6.RELEASE              4.1.6.RELEASE          https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       org.tukaani:xz:1.0                                       1.0                    http://tukaani.org/xz/java.html                            Public Domain                                                                                                            No   No
AggService       org.typelevel:machinist_2.11:0.6.1                       0.6.1                  http://github.com/typelevel/machinist                      MIT                                           http://opensource.org/licenses/MIT                                         No   No
AggService       org.typelevel:macro-compat_2.11:1.1.1                    1.1.1                  https://github.com/milessabin/macro-compat                 Apache 2                                      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       org.xerial.snappy:snappy-java:1.1.2.6                    1.1.2.6                https://github.com/xerial/snappy-java                      The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       oro:oro:2.0.8                                            2.0.8                                                                             Apache Software License, Version 1.1          https://www.apache.org/licenses/LICENSE-1.1                                No   No
AggService       redis.clients:jedis:2.8.0                                2.8.0                  https://github.com/xetorthio/jedis                         MIT                                           http://github.com/xetorthio/jedis/raw/master/LICENSE.txt                   No   No
AggService       software.amazon.ion:ion-java:1.0.2                       1.0.2                  https://github.com/amznlabs/ion-java/                      The Apache License, Version 2.0               http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       tomcat:jasper-compiler:5.5.23                            5.5.23                                                                            The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       tomcat:jasper-runtime:5.5.23                             5.5.23                                                                            The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       xerces:xercesImpl:2.9.1                                  2.9.1                  http://xerces.apache.org/xerces2-j                         The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       xml-apis:xml-apis:1.3.04                                 1.3.04                 http://xml.apache.org/commons/components/external/         The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
AggService       xmlenc:xmlenc:0.52                                       0.52                   http://xmlenc.sourceforge.net                              The BSD License                               http://www.opensource.org/licenses/bsd-license.php                         No   No
Report Builder   com.cwbase:logback-redis-appender:1.1.5'                 1.1.5'                                                                                                                                                                                                     No   No
Report Builder   org.postgresql:postgresql:9.4.1212'                      9.4.1212'                                                                                                                                                                                                  No   No
Report Builder   com.amazonaws:aws-java-sdk:1.11.222'                     1.11.222'                                                                                                                                                                                                  No   No
Report Builder   org.apache.commons:commons-dbcp2:2.1.1'                  2.1.1'                                                                                                                                                                                                     No   No
Report Builder   org.apache.camel:camel-rabbitmq:2.20.0'                  2.20.0'                                                                                                                                                                                                    No   No
Report Builder   org.apache.camel:camel-jms:2.20.0'                       2.20.0'                                                                                                                                                                                                    No   No
Report Builder   org.glassfish.web', name: 'javax.el', version: '2.2.6'   '2.2.6'                                                                                                                                                                                                    No   No
Report Builder   com.cronutils', name: 'cron-utils', version: '7.0.2'     '7.0.2'                                                                                                                                                                                                    No   No
                 org.apache.commons', name: 'commons-
Report Builder   collections4', version: '4.2'                            '4.2'                                                                                                                                                                                                      No   No
Report Builder   junit:junit:4.12'                                        4.12'                                                                                                                                                                                                      No   No
Report Builder   org.mockito:mockito-core:2.+'                            2.+'                                                                                                                                                                                                       No   No
Report Builder   com.typesafe.akka:akka-camel_2.11:2.5.2'                 2.5.2'                                                                                                                                                                                                     No   No
Report Builder   org.quartz-scheduler:quartz:2.3.0'                       2.3.0'                                                                                                                                                                                                     No   No
Report Builder   org.apache.camel:guice-maven-plugin:2.17.2'              2.17.2'                                                                                                                                                                                                    No   No
Report Builder   org.apache.poi', name: 'poi-ooxml', version: '3.9'       '3.9'                                                                                                                                                                                                      No   No
Report Builder   com.opencsv', name: 'opencsv', version: '3.5'            '3.5'                                                                                                                                                                                                      No   No
Report Builder   org.apache.camel:camel-ftp:2.17.2'                       2.17.2'                                                                                                                                                                                                    No   No
Report Builder   org.apache.camel:camel-mail:2.17.2'                      2.17.2'                                                                                                                                                                                                    No   No
Report Builder   log4j:log4j:1.2.17'                                      1.2.17'                                                                                                                                                                                                    No   No
Report Builder   org.eclipse.jetty:jetty-servlet:9.4.0.v20161208'         9.4.0.v20161208'                                                                                                                                                                                           No   No
Report Builder   org.glassfish.jersey.core:jersey-server:2.22.2'          2.22.2'                                                                                                                                                                                                    No   No
                 org.glassfish.jersey.containers:jersey-container-
Report Builder   servlet:2.22.2'                                          2.22.2'                                                                                                                                                                                                    No   No
                 org.glassfish.jersey.media:jersey-media-json-
Report Builder   jackson:2.22.2'                                          2.22.2'                                                                                                                                                                                                    No   No
                 com.fasterxml.jackson.datatype', name: 'jackson-
Report Builder   datatype-jsr310', version: '2.8.5'                       '2.8.5'                                                                                                                                                                                                    No   No
Report Builder   com.orbitz.consul:consul-client:0.13.8'                  0.13.8'                                                                                                                                                                                                    No   No
Report Builder   com.google.inject:guice:4.0'                             4.0'                                                                                                                                                                                                       No   No
Report Builder   org.cfg4j:cfg4j-core:4.4.0'                              4.4.0'                                                                                                                                                                                                     No   No
Report Builder   org.cfg4j:cfg4j-consul:4.4.0'                            4.4.0'                                                                                                                                                                                                     No   No
Report Builder   com.bealetech:metrics-statsd:2.3.0'                      2.3.0'                                                                                                                                                                                                     No   No
                 io.swagger', name: 'swagger-jersey2-jaxrs', version:
Report Builder   '1.5.18'                                                 '1.5.18'                                                                                                                                                                                                   No   No
Report Builder   org.webjars', name: 'swagger-ui', version: '3.9.3'       '3.9.3'                                                                                                                                                                                                    No   No
Report Builder   com.rabbitmq', name: 'amqp-client', version: '3.6.5'     '3.6.5'                                                                                                                                                                                                    No   No
Report Builder   com.palominolabs.metrics:metrics-guice:3.1.3'            3.1.3'                                                                                                                                                                                                     No   No
Report Builder   com.timgroup:java-statsd-client:3.1.0'                   3.1.0'                                                                                                                                                                                                     No   No
                 com.univocity', name: 'univocity-parsers', version:
Report Builder   '2.7.6'                                                  '2.7.6'                                                                                                                                                                                                    No   No
Transformer      antlr:antlr:2.7.7                                        2.7.7                  http://www.antlr.org/                                      BSD License                                   http://www.antlr.org/license.html                                          No   No
Transformer      aopalliance:aopalliance:1.0                                                   1 http://aopalliance.sourceforge.net                         Public Domain                                                                                                            No   No
Transformer      asm:asm:1.5.3                                            1.5.3                  http://asm.objectweb.org/                                                                                                                                                           No   No
Transformer      asm:asm-attrs:1.5.3                                      1.5.3                  http://asm.objectweb.org/                                                                                                                                                           No   No
Transformer      be.cyberelf.nanoxml:nanoxml:2.2.3                        2.2.3                  http://nanoxml.cyberelf.be/                                The zlib/libpng License                        http://www.opensource.org/licenses/zlib-license.html                      No   No
Transformer      bouncycastle:bcmail-jdk14:138                                               138 http://www.bouncycastle.org/java.html                      Bouncy Castle License                          http://www.bouncycastle.org/licence.html                                  No   No
Transformer      bouncycastle:bcprov-jdk14:138                                               138 http://www.bouncycastle.org/java.html                      Bouncy Castle License                          http://www.bouncycastle.org/licence.html                                  No   No
Transformer      cglib:cglib:2.1_3                                        2.1_3                  http://cglib.sourceforge.net/                              Apache License, Version 2.0                    https://www.apache.org/licenses/LICENSE-2.0                               No   No
                                                                                                                                                            http://www.eclipse.org/legal/epl-v10.html,
                                                                                                                                                            http://www.gnu.org/licenses/old-licenses/lgpl-
Transformer      ch.qos.logback:logback-classic:1.2.1                     1.2.1                  http://www.qos.ch                                          2.1.html                                                                                                                 No   No
                                                                                                                                                            http://www.eclipse.org/legal/epl-v10.html,
                                                                                                                                                            http://www.gnu.org/licenses/old-licenses/lgpl-
Transformer      ch.qos.logback:logback-core:1.2.1                        1.2.1                  http://www.qos.ch                                          2.1.html                                                                                                                 No   No
Transformer      com.amazonaws:aws-java-sdk-cloudwatch:1.9.40             1.9.40                 https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                          No   No
Transformer      com.amazonaws:aws-java-sdk-core:1.9.40                   1.9.40                 https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                          No   No
Transformer      com.amazonaws:aws-java-sdk-kinesis:1.9.40                1.9.40                 https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                          No   No
Transformer      com.amazonaws:aws-java-sdk-kms:1.9.40                    1.9.40                 https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                          No   No
Transformer      com.amazonaws:aws-java-sdk-s3:1.9.40                     1.9.40                 https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                          No   No
Transformer      com.amazonaws:aws-java-sdk-sqs:1.9.40                    1.9.40                 https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                          No   No
Transformer      com.couchbase.client:core-io:1.2.5                       1.2.5                  http://couchbase.com                                       The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                  No   No
Transformer      com.couchbase.client:java-client:2.2.5                   2.2.5                  http://couchbase.com                                       The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                  No   No
Transformer      com.cwbase:logback-redis-appender:1.1.2                  1.1.2                  https://github.com/kmtong/logback-redis-appender           Apache License, Version 2.0                    http://www.apache.org/licenses/LICENSE-2.0.txt                            No   No
Transformer      com.eclipsesource.minimal-json:minimal-json:0.9.2        0.9.2                  https://github.com/ralfstx/minimal-json                    MIT License                                    http://opensource.org/licenses/MIT                                        No   No
Transformer      com.ecwid.consul:consul-api:1.1.4                        1.1.4                  https://github.com/Ecwid/consul-api                        The Apache License, Version 2.0                http://www.apache.org/licenses/LICENSE-2.0.txt                            No   No
                 com.fasterxml.jackson.core:jackson-
Transformer      annotations:2.7.0                                        2.7.0                  http://github.com/FasterXML/jackson                        The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
Transformer      com.fasterxml.jackson.core:jackson-core:2.7.3            2.7.3                  https://github.com/FasterXML/jackson-core                  The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
Transformer      com.fasterxml.jackson.core:jackson-databind:2.7.3        2.7.3                  http://github.com/FasterXML/jackson                        The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                 com.fasterxml.jackson.datatype:jackson-datatype-
Transformer      guava:2.6.3                                              2.6.3                  https://github.com/FasterXML/jackson-datatype-guava        The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No

Transformer      com.fasterxml.jackson.jaxrs:jackson-jaxrs-base:2.6.3 2.6.3                      http://wiki.fasterxml.com/JacksonHome/jackson-jaxrs-base   The Apache Software License, Version 2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
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              com.fasterxml.jackson.jaxrs:jackson-jaxrs-json-                            http://wiki.fasterxml.com/JacksonHome/jackson-jaxrs-json-
Transformer   provider:2.6.3                                        2.6.3                provider                                                    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
              com.fasterxml.jackson.module:jackson-module-jaxb-
Transformer   annotations:2.6.3                                     2.6.3              http://wiki.fasterxml.com/JacksonJAXBAnnotations              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   com.google.code.findbugs:jsr305:1.3.9                 1.3.9              http://findbugs.sourceforge.net/                              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   com.google.code.gson:gson:2.3                                        2.3 http://code.google.com/p/google-gson/                         The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   com.google.gdata:core:1.47.1                          1.47.1             http://code.google.com/p/gdata-java-client/                   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   com.google.guava:guava:18.0                                           18 https://guava-libraries.googlecode.com/                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   com.google.http-client:google-http-client:1.11.0-beta 1.11.0-beta                                                                      The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
              com.google.oauth-client:google-oauth-client:1.11.0-
Transformer   beta                                                  1.11.0-beta                                                                      The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
              com.google.oauth-client:google-oauth-client-
Transformer   java6:1.11.0-beta                                     1.11.0-beta                                                                      The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
              com.google.oauth-client:google-oauth-client-
Transformer   jetty:1.11.0-beta                                     1.11.0-beta                                                                      The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   com.googlecode.jmockit:jmockit:1.0                                     1 http://code.google.com/p/jmockit                              MIT LICENSE                                  http://www.opensource.org/licenses/mit-license.php                          No   No
Transformer   com.googlecode.json-simple:json-simple:1.1.1          1.1.1              http://code.google.com/p/json-simple/                         The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   com.jayway.jsonpath:json-path:2.2.0                   2.2.0              https://github.com/jayway/JsonPath                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   com.jcraft:jsch:0.1.50                                0.1.50             http://www.jcraft.com/jsch/                                   Revised BSD                                  http://www.jcraft.com/jsch/LICENSE.txt                                      No   No
Transformer   com.jidesoft:jide-oss:2.4.8                           2.4.8              https://jide-oss.dev.java.net                                 GPL with classpath exception                 http://www.gnu.org/licenses/gpl.txt                                         No   No
Transformer   com.lowagie:itext:2.1.5                               2.1.5              http://www.lowagie.com/iText/                                 Mozilla Public License                       http://www.mozilla.org/MPL/MPL-1.1.html                                     No   No
Transformer   com.maxmind.geoip:geoip-api:1.2.10                    1.2.10             https://github.com/maxmind/geoip-api-java                     Lesser General Public License (LGPL) v 2.1   http://www.gnu.org/licenses/lgpl-2.1.txt                                    No   No
                                                                                                                                                                                                  https://raw.githubusercontent.com/monitorjbl/json-
Transformer   com.monitorjbl:json-view:0.10                                        0.1 https://github.com/monitorjbl/json-view                       GPLv3                                        view/master/LICENSE                                                         No   No
Transformer   com.orbitz.consul:consul-client:0.9.14               0.9.14              https://github.com/OrbitzWorldwide/consul-client              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
                                                                                                                                                     http://www.apache.org/licenses/LICENSE-
                                                                                                                                                     2.0.html, http://www.gnu.org/licenses/gpl-
                                                                                                                                                     2.0.txt, http://www.mozilla.org/MPL/MPL-
Transformer   com.rabbitmq:amqp-client:4.8.1                       4.8.1                 http://www.rabbitmq.com                                     1.1.txt                                                                                                                  No   No
Transformer   com.sizmek.peer39:peer39-buncher:1-1-3-6             1-1-3-6                                                                                                                                                                                                    No   No
Transformer   com.sizmek.peer39:peer39-orgcms:1-1-6-19             1-1-6-19                                                                                                                                                                                                   No   No
Transformer   com.sizmek.peer39:peer39-schema:1-1-14-97            1-1-14-97                                                                                                                                                                                                  No   No
              com.sizmek.peer39.binext.core:peer39-binext-
Transformer   infra:1.2.15                                         1.2.15                                                                                                                                                                                                     No   No
Transformer   com.sizmek.peer39.infra:peer39-commons:1.0.56        1.0.56                                                                                                                                                                                                     No   No
Transformer   com.timgroup:java-statsd-client:3.0.2                3.0.2               http://github.com/tim-group/java-statsd-client                The MIT License (MIT)                        http://opensource.org/licenses/MIT                                          No   No
Transformer   commons-cli:commons-cli:1.2                                          1.2 http://commons.apache.org/cli/                                The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   commons-codec:commons-codec:1.6                                      1.6 http://commons.apache.org/codec/                              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   commons-collections:commons-collections:3.2.1        3.2.1               http://commons.apache.org/collections/                        The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   commons-httpclient:commons-httpclient:3.1                            3.1 http://jakarta.apache.org/httpcomponents/httpclient-3.x/      Apache License                               http://www.apache.org/licenses/LICENSE-2.0                                  No   No
Transformer   commons-io:commons-io:1.4                                            1.4 http://commons.apache.org/io/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   commons-lang:commons-lang:2.6                                        2.6 http://commons.apache.org/lang/                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   commons-logging:commons-logging:1.1.3                1.1.3               http://commons.apache.org/proper/commons-logging/             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   commons-logging:commons-logging-api:1.1                              1.1 http://jakarta.apache.org/commons/logging/                    The Apache Software License, Version 2.0     /LICENSE.txt                                                                No   No
                                                                                       http://jakarta.apache.org/commons/${pom.artifactId.substrin
Transformer   commons-net:commons-net:1.4.1                        1.4.1               g(8)}/                                                        The Apache Software License, Version 2.0     /LICENSE.txt                                                                No   No
                                                                                       http://jakarta.apache.org/commons/${pom.artifactId.substrin
Transformer   commons-pool:commons-pool:1.3                                        1.3 g(8)}/                                                        The Apache Software License, Version 2.0     /LICENSE.txt                                                                No   No
Transformer   dk.brics.automaton:automaton:1.11-8                  1.11-8              http://www.brics.dk/automaton/                                BSD                                          http://www.opensource.org/licenses/bsd-license.php                          No   No
Transformer   dom4j:dom4j:1.6.1                                    1.6.1               http://dom4j.org                                                                                                                                                                       No   No
Transformer   io.reactivex:rxjava:1.0.15                           1.0.15              https://github.com/ReactiveX/RxJava                           The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                  No   No
                                                                                                                                                     Common Development and Distribution
Transformer   javax.activation:activation:1.1                                      1.1 http://java.sun.com/products/javabeans/jaf/index.jsp          License (CDDL) v1.0                         https://glassfish.dev.java.net/public/CDDLv1.0.html                          No   No
                                                                                                                                                     COMMON DEVELOPMENT AND
                                                                                                                                                     DISTRIBUTION LICENSE (CDDL) Version
Transformer   javax.annotation:javax.annotation-api:1.2                            1.2 https://glassfish.java.net                                    1.0                                         https://opensource.org/licenses/CDDL-1.0                                     No   No
Transformer   javax.inject:javax.inject:1                                            1 http://code.google.com/p/atinject/                            The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                  No   No
                                                                                                                                                     Common Development and Distribution
Transformer   javax.mail:mail:1.4                                                  1.4 https://glassfish.dev.java.net/javaee5/mail/                  License (CDDL) v1.0                         https://glassfish.dev.java.net/public/CDDLv1.0.html                          No   No
                                                                                                                                                     Common Development and Distribution
Transformer   javax.persistence:persistence-api:1.0                                  1 http://www.jcp.org/en/jsr/detail?id=220                       License (CDDL) v1.0                         http://www.sun.com/cddl/cddl.html                                            No   No
                                                                                                                                                     http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                                     _1.html,
                                                                                                                                                     http://glassfish.java.net/public/CDDL+GPL_1
Transformer   javax.ws.rs:javax.ws.rs-api:2.0.1                    2.0.1               http://www.oracle.com/                                        _1.html                                                                                                                  No   No
Transformer   javax.xml:jaxrpc:1.1                                                 1.1                                                                                                                                                                                        No   No
Transformer   javax.xml:jaxrpc-api:1.1                                             1.1 http://java.sun.com/webservices/jaxrpc/index.jsp                                                                                                                                       No   No
Transformer   javolution:javolution:5.5.1                          5.5.1               http://javolution.org                                         BSD License                                  http://javolution.org/LICENSE.txt                                           No   No
Transformer   jgoodies:forms:1.0.5                                 1.0.5               http://www.jgoodies.com/freeware/forms/index.html                                                                                                                                      No   No
Transformer   joda-time:joda-time:2.10.2                           2.10.2              https://www.joda.org/joda-time/                               Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                 No   No
Transformer   junit:junit:4.11                                                    4.11 http://junit.org                                              Common Public License Version 1.0            http://www.opensource.org/licenses/cpl1.0.txt                               No   No
Transformer   net.jodah:lyra:0.5.2                                 0.5.2               http://github.com/jhalterman/lyra/                            Apache License, Version 2.0                  http://apache.org/licenses/LICENSE-2.0                                      No   No
Transformer   net.logstash.log4j:jsonevent-layout:1.7                              1.7 http://logstash.net                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   net.logstash.logback:logstash-logback-encoder:3.4                    3.4 https://github.com/logstash/logstash-logback-encoder          Apache License, Version 2.0                  http://www.apache.org/licenses/LICENSE-2.0                                  No   No
Transformer   net.minidev:accessors-smart:1.1                                      1.1 http://www.minidev.net/                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   net.minidev:json-smart:2.2.1                         2.2.1               http://www.minidev.net/                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   net.sf.ehcache:ehcache-core:2.0.0                    2.0.0               http://ehcache.org                                            The Apache Software License, Version 2.0     /LICENSE.txt                                                                No   No
Transformer   net.sf.squirrel-sql:fw:3.5.0                         3.5.0               http://www.squirrelsql.org/                                   GNU Lesser General Public License            http://www.gnu.org/licenses/old-licenses/lgpl-2.1.txt                       No   No
Transformer   net.sf.squirrel-sql:squirrel-sql:3.5.0               3.5.0               http://www.squirrelsql.org/                                   GNU Lesser General Public License            http://www.gnu.org/licenses/old-licenses/lgpl-2.1.txt                       No   No
Transformer   net.sf.squirrel-sql.plugins:netezza:3.5.0            3.5.0               http://www.squirrelsql.org/                                   GNU Lesser General Public License            http://www.gnu.org/licenses/old-licenses/lgpl-2.1.txt                       No   No
Transformer   net.sf.trove4j:trove4j:3.0.3                         3.0.3               http://trove4j.sf.net                                         GNU Lesser General Public License 2.1        http://www.gnu.org/licenses/lgpl-2.1.txt                                    No   No
Transformer   net.sourceforge.jexcelapi:jxl:2.6.10                 2.6.10              http://www.jexcelapi.org                                      GNU Lesser General Public License            http://www.opensource.org/licenses/lgpl-license.php                         No   No
Transformer   net.sourceforge.jregex:jregex:1.2_01                 1.2_01              http://jregex.sourceforge.net/                                BSD                                          http://jregex.sourceforge.net/license.txt                                   No   No
Transformer   org.antlr:stringtemplate:3.1-b1                      3.1-b1              http://www.stringtemplate.org                                 BSD licence                                  http://www.stringtemplate.org/license.html                                  No   No
Transformer   org.apache.activemq:activemq-core:5.1.0              5.1.0               http://www.apache.org/                                        The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   org.apache.ant:ant:1.7.0                             1.7.0                                                                             Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                 No   No
Transformer   org.apache.ant:ant-launcher:1.7.0                    1.7.0                                                                                                                                                                                                      No   No
Transformer   org.apache.axis:axis:1.4                                             1.4                                                                                                                                                                                        No   No
Transformer   org.apache.camel:camel-core:1.3.0                    1.3.0               http://www.apache.org/                                        The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   org.apache.commons:commons-lang3:3.3.2               3.3.2               http://commons.apache.org/proper/commons-lang/                The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   org.apache.commons:commons-pool2:2.3                                 2.3 http://commons.apache.org/proper/commons-pool/                The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
              org.apache.geronimo.specs:geronimo-j2ee-
Transformer   management_1.0_spec:1.0                                                1                                                                                                                                                                                        No   No
              org.apache.geronimo.specs:geronimo-
Transformer   jms_1.1_spec:1.1.1                                   1.1.1                 http://www.apache.org                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
              org.apache.geronimo.specs:geronimo-
Transformer   jta_1.1_spec:1.1.1                                   1.1.1                 http://www.apache.org                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   org.apache.httpcomponents:httpclient:4.3.6           4.3.6                 http://hc.apache.org/httpcomponents-client                  The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   org.apache.httpcomponents:httpcore:4.3.3             4.3.3                 http://hc.apache.org/httpcomponents-core-ga                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   org.codehaus.groovy:groovy:2.5.2                     2.5.2                 http://groovy-lang.org                                      The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   org.codehaus.groovy:groovy-all:2.5.2                 2.5.2                 http://groovy-lang.org                                      The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
Transformer   org.glassfish.hk2:hk2-api:2.4.0-b31                  2.4.0-b31             http://www.oracle.com                                       CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
Transformer   org.glassfish.hk2:hk2-locator:2.4.0-b31              2.4.0-b31             http://www.oracle.com                                       CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
Transformer   org.glassfish.hk2:hk2-utils:2.4.0-b31                2.4.0-b31             http://www.oracle.com                                       CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
Transformer   org.glassfish.hk2:osgi-resource-locator:1.0.1        1.0.1                 https://glassfish.dev.java.net                              CDDL + GPLv2 with classpath exception        https://glassfish.dev.java.net/nonav/public/CDDL+GPL.html                   No   No
              org.glassfish.hk2.external:aopalliance-
Transformer   repackaged:2.4.0-b31                                 2.4.0-b31             http://www.oracle.com                                       CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
Transformer   org.glassfish.hk2.external:javax.inject:2.4.0-b31    2.4.0-b31             http://www.oracle.com                                       CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
              org.glassfish.jersey.bundles.repackaged:jersey-
Transformer   guava:2.22.1                                         2.22.1                http://www.oracle.com/                                      CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
Transformer   org.glassfish.jersey.core:jersey-client:2.22.1       2.22.1                http://www.oracle.com/                                      CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
Transformer   org.glassfish.jersey.core:jersey-common:2.22.1       2.22.1                http://www.oracle.com/                                      CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
Transformer   org.hamcrest:hamcrest-core:1.3                                       1.3                                                               New BSD License                              http://www.opensource.org/licenses/bsd-license.php                          No   No
Transformer   org.hibernate:hibernate-core:5.0.7.Final             5.0.7.Final           http://hibernate.org                                        GNU Lesser General Public License            http://www.gnu.org/licenses/lgpl-2.1.html                                   No   No
              org.hibernate.common:hibernate-commons-
Transformer   annotations:5.0.1.Final                              5.0.1.Final           http://hibernate.org                                        GNU Lesser General Public License            http://www.gnu.org/licenses/lgpl-2.1.html                                   No   No
                                                                         19-10971-dsj                                      Doc 210                        Filed 06/03/19 Entered 06/03/19 14:17:12                                                       Main Document
                                                                                                                                                                     Pg 227 of 325
                org.hibernate.javax.persistence:hibernate-jpa-2.1-
Transformer     api:1.0.0.Final                                      1.0.0.Final          http://hibernate.org                                   Eclipse Public License (EPL), Version 1.0    http://www.eclipse.org/legal/epl-v10.html                                  No   No
Transformer     org.immutables:value:2.0.16                          2.0.16                                                                      The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                                                                                                                                                 http://www.mozilla.org/MPL/MPL-1.1.html,
                                                                                                                                                 http://www.gnu.org/licenses/lgpl-2.1.html,
Transformer     org.javassist:javassist:3.18.1-GA                    3.18.1-GA            http://www.javassist.org/                              http://www.apache.org/licenses/                                                                                         No   No
Transformer     org.jboss:jandex:2.0.0.Final                         2.0.0.Final          http://www.jboss.org                                   Public Domain                                http://repository.jboss.org/licenses/cc0-1.0.txt                           No   No
Transformer     org.jboss.logging:jboss-logging:3.3.0.Final          3.3.0.Final          http://www.jboss.org                                   Public Domain                                http://repository.jboss.org/licenses/cc0-1.0.txt                           No   No
Transformer     org.jfree:jcommon:1.0.17                             1.0.17               http://www.jfree.org/jcommon/                          GNU Lesser General Public Licence            http://www.gnu.org/licenses/lgpl.txt                                       No   No
Transformer     org.jfree:jfreechart:1.0.14                          1.0.14               http://www.jfree.org/jfreechart/                       GNU Lesser General Public Licence            http://www.gnu.org/licenses/lgpl.txt                                       No   No
Transformer     org.ostermiller:utils:1.07.00                        1.07.00              http://ostermiller.org/utils/                          GNU General Public License, version 2        http://www.gnu.org/licenses/old-licenses/gpl-2.0.txt                       No   No
Transformer     org.ow2.asm:asm:5.0.3                                5.0.3                http://asm.objectweb.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
Transformer     org.postgresql:postgresql:9.3-1102-jdbc41            9.3-1102-jdbc41      http://jdbc.postgresql.org                             BSD License                                  http://jdbc.postgresql.org/license.html                                    No   No
Transformer     org.slf4j:log4j-over-slf4j:1.7.25                    1.7.25               http://www.slf4j.org                                   MIT License                                  http://www.opensource.org/licenses/mit-license.php                         No   No
Transformer     org.slf4j:slf4j-api:1.7.25                           1.7.25               http://www.slf4j.org                                   MIT License                                  http://www.opensource.org/licenses/mit-license.php                         No   No
Transformer     org.springframework:spring-aop:4.1.0.RELEASE         4.1.0.RELEASE        https://github.com/spring-projects/spring-framework    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
Transformer     org.springframework:spring-beans:4.1.0.RELEASE       4.1.0.RELEASE        https://github.com/spring-projects/spring-framework    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
Transformer     org.springframework:spring-context:4.1.0.RELEASE     4.1.0.RELEASE        https://github.com/spring-projects/spring-framework    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
Transformer     org.springframework:spring-core:4.1.0.RELEASE        4.1.0.RELEASE        https://github.com/spring-projects/spring-framework    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                org.springframework:spring-
Transformer     expression:4.1.0.RELEASE                             4.1.0.RELEASE        https://github.com/spring-projects/spring-framework    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
Transformer     oro:oro:2.0.8                                        2.0.8                                                                       Apache Software License, Version 1.1         https://www.apache.org/licenses/LICENSE-1.1                                No   No
Transformer     quartz:quartz:1.5.2                                  1.5.2                                                                                                                                                                                               No   No
Transformer     redis.clients:jedis:2.7.2                            2.7.2                 https://github.com/xetorthio/jedis                    MIT                                          http://github.com/xetorthio/jedis/raw/master/LICENSE.txt                   No   No
Transformer     xml-apis:xml-apis:1.3.04                             1.3.04                http://xml.apache.org/commons/components/external/    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
Transformer     xpp3:xpp3:1.1.4c                                     1.1.4c                http://www.extreme.indiana.edu/xgws/xsoap/xpp/mxp1/   Public Domain                                http://creativecommons.org/licenses/publicdomain                           No   No
BigData Infra   aopalliance:aopalliance:1.0                                              1 http://aopalliance.sourceforge.net                    Public Domain                                                                                                           No   No
BigData Infra   args4j:args4j:2.0.29                                 2.0.29                http://www.kohsuke.org/                               MIT license                                  http://www.opensource.org/licenses/mit-license.php                         No   No
BigData Infra   asm:asm:3.1                                                            3.1                                                                                                                                                                               No   No
                                                                                                                                                 http://www.eclipse.org/legal/epl-v10.html,
                                                                                                                                                 http://www.gnu.org/licenses/old-licenses/lgpl-
BigData Infra   ch.qos.logback:logback-classic:1.1.2                 1.1.2                http://www.qos.ch                                      2.1.html                                                                                                                No   No
                                                                                                                                                 http://www.eclipse.org/legal/epl-v10.html,
                                                                                                                                                 http://www.gnu.org/licenses/old-licenses/lgpl-
BigData Infra   ch.qos.logback:logback-core:1.1.2               1.1.2                     http://www.qos.ch                                      2.1.html                                                                                                                No   No
BigData Infra   com.amazonaws:aws-java-sdk:1.11.66              1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                         No   No
BigData Infra   com.amazonaws:aws-java-sdk-acm:1.11.66          1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                         No   No
BigData Infra   com.amazonaws:aws-java-sdk-api-gateway:1.11.66 1.11.66                    https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                         No   No
                com.amazonaws:aws-java-sdk-
BigData Infra   applicationautoscaling:1.11.66                  1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-appstream:1.11.66    1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-autoscaling:1.11.66 1.11.66                    https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-budgets:1.11.66      1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
                com.amazonaws:aws-java-sdk-
BigData Infra   cloudformation:1.11.66                          1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-cloudfront:1.11.66   1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-cloudhsm:1.11.66     1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-cloudsearch:1.11.66 1.11.66                    https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-cloudtrail:1.11.66   1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-cloudwatch:1.11.66 1.11.66                     https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
                com.amazonaws:aws-java-sdk-
BigData Infra   cloudwatchmetrics:1.11.66                       1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-codebuild:1.11.66    1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-codecommit:1.11.66 1.11.66                     https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-codedeploy:1.11.66 1.11.66                     https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-codepipeline:1.11.66 1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
                com.amazonaws:aws-java-sdk-
BigData Infra   cognitoidentity:1.11.66                         1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-cognitoidp:1.11.66   1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-cognitosync:1.11.66 1.11.66                    https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-config:1.11.66       1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-core:1.11.66         1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-datapipeline:1.11.66 1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-devicefarm:1.11.66 1.11.66                     https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No

BigData Infra   com.amazonaws:aws-java-sdk-directconnect:1.11.66 1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-directory:1.11.66     1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-discovery:1.11.66     1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-dms:1.11.66           1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-dynamodb:1.11.66      1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-ec2:1.11.66           1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-ecr:1.11.66           1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-ecs:1.11.66           1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-efs:1.11.66           1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-elasticache:1.11.66 1.11.66                    https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
                com.amazonaws:aws-java-sdk-
BigData Infra   elasticbeanstalk:1.11.66                         1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
                com.amazonaws:aws-java-sdk-
BigData Infra   elasticloadbalancing:1.11.66                     1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
                com.amazonaws:aws-java-sdk-
BigData Infra   elasticloadbalancingv2:1.11.66                   1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No

BigData Infra   com.amazonaws:aws-java-sdk-elasticsearch:1.11.66 1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
                com.amazonaws:aws-java-sdk-
BigData Infra   elastictranscoder:1.11.66                        1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-emr:1.11.66           1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-events:1.11.66        1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-gamelift:1.11.66      1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-glacier:1.11.66       1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-health:1.11.66        1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-iam:1.11.66           1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-importexport:1.11.66 1.11.66                   https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-inspector:1.11.66     1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-iot:1.11.66           1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-kinesis:1.11.66       1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-kms:1.11.66           1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-lambda:1.11.66        1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-lightsail:1.11.66     1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-logs:1.11.66          1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
                com.amazonaws:aws-java-sdk-
BigData Infra   machinelearning:1.11.66                          1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
                com.amazonaws:aws-java-sdk-
BigData Infra   marketplacecommerceanalytics:1.11.66             1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
                com.amazonaws:aws-java-sdk-
BigData Infra   marketplacemeteringservice:1.11.66               1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-models:1.11.66        1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-opsworks:1.11.66      1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-opsworkscm:1.11.66 1.11.66                     https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-pinpoint:1.11.66      1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-polly:1.11.66         1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-rds:1.11.66           1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-redshift:1.11.66      1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-rekognition:1.11.66 1.11.66                    https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-route53:1.11.66       1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
BigData Infra   com.amazonaws:aws-java-sdk-s3:1.11.66            1.11.66                  https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                           No   No
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                com.amazonaws:aws-java-sdk-
BigData Infra   servermigration:1.11.66                             1.11.66            https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
                com.amazonaws:aws-java-sdk-
BigData Infra   servicecatalog:1.11.66                              1.11.66            https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.amazonaws:aws-java-sdk-ses:1.11.66              1.11.66            https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.amazonaws:aws-java-sdk-shield:1.11.66           1.11.66            https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.amazonaws:aws-java-sdk-simpledb:1.11.66         1.11.66            https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
                com.amazonaws:aws-java-sdk-
BigData Infra   simpleworkflow:1.11.66                              1.11.66            https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.amazonaws:aws-java-sdk-snowball:1.11.66         1.11.66            https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.amazonaws:aws-java-sdk-sns:1.11.66              1.11.66            https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.amazonaws:aws-java-sdk-sqs:1.11.66              1.11.66            https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.amazonaws:aws-java-sdk-ssm:1.11.66              1.11.66            https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No

BigData Infra   com.amazonaws:aws-java-sdk-stepfunctions:1.11.66 1.11.66               https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
                com.amazonaws:aws-java-sdk-
BigData Infra   storagegateway:1.11.66                            1.11.66              https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.amazonaws:aws-java-sdk-sts:1.11.66            1.11.66              https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.amazonaws:aws-java-sdk-support:1.11.66        1.11.66              https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.amazonaws:aws-java-sdk-swf-libraries:1.11.22 1.11.22               https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.amazonaws:aws-java-sdk-waf:1.11.66            1.11.66              https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.amazonaws:aws-java-sdk-workspaces:1.11.66 1.11.66                  https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.amazonaws:aws-java-sdk-xray:1.11.66           1.11.66              https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.amazonaws:jmespath-java:1.11.66               1.11.66              https://aws.amazon.com/sdkforjava                          Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                      No   No
BigData Infra   com.clearspring.analytics:stream:2.7.0            2.7.0                https://github.com/addthis/stream-lib                      Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.cwbase:logback-redis-appender:1.1.0           1.1.0                https://github.com/kmtong/logback-redis-appender           Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.ecwid.consul:consul-api:1.2.1                 1.2.1                https://github.com/Ecwid/consul-api                        The Apache License, Version 2.0             http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.esotericsoftware:kryo-shaded:3.0.3            3.0.3                                                                           New BSD License                             http://www.opensource.org/licenses/bsd-license.php                    No   No
BigData Infra   com.esotericsoftware:minlog:1.3.0                 1.3.0                https://github.com/EsotericSoftware/minlog                 New BSD License                             http://www.opensource.org/licenses/bsd-license.php                    No   No
                com.fasterxml.jackson.core:jackson-
BigData Infra   annotations:2.6.5                                 2.6.5                http://github.com/FasterXML/jackson                        The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.fasterxml.jackson.core:jackson-core:2.6.6     2.6.6                https://github.com/FasterXML/jackson-core                  The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.fasterxml.jackson.core:jackson-databind:2.6.6 2.6.6                http://github.com/FasterXML/jackson                        The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
                com.fasterxml.jackson.dataformat:jackson-
BigData Infra   dataformat-cbor:2.6.6                             2.6.6                http://wiki.fasterxml.com/JacksonForCbor                   The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
                com.fasterxml.jackson.module:jackson-module-
BigData Infra   paranamer:2.6.5                                   2.6.5                http://wiki.fasterxml.com/JacksonHome                      The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
                com.fasterxml.jackson.module:jackson-module-
BigData Infra   scala_2.11:2.6.5                                  2.6.5                http://wiki.fasterxml.com/JacksonModuleScala               The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.fasterxml.uuid:java-uuid-generator:3.1.4      3.1.4                http://wiki.fasterxml.com/JugHome                          The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.google.code.findbugs:jsr305:1.3.9             1.3.9                http://findbugs.sourceforge.net/                           The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.google.code.gson:gson:2.3.1                   2.3.1                http://code.google.com/p/google-gson/                      The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.google.guava:guava:14.0.1                     14.0.1                                                                          The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.google.inject:guice:3.0                       3.0                  http://code.google.com/p/google-guice/                     The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.google.protobuf:protobuf-java:2.5.0           2.5.0                http://code.google.com/p/protobuf                          The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.jamesmurty.utils:java-xmlbuilder:0.4          0.4                  http://code.google.com/p/java-xmlbuilder/                  Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                            No   No
BigData Infra   com.jcraft:jsch:0.1.42                            0.1.42               http://www.jcraft.com/jsch/                                BSD                                         http://www.jcraft.com/jsch/LICENSE.txt                                No   No
BigData Infra   com.ning:compress-lzf:1.0.3                       1.0.3                http://github.com/ning/compress                            Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                       No   No
BigData Infra   com.rabbitmq:amqp-client:3.4.3                    3.4.3                http://www.rabbitmq.com                                    MPL 1.1                                     http://www.mozilla.org/MPL/MPL-1.1.txt                                No   No
BigData Infra   com.sizmek:Distcp:1.0-20161213182608              1.0-20161213182608                                                                                                                                                                                No   No
BigData Infra   com.sizmek.dataplatform:nereus:0.5.0-SNAPSHOT 0.5.0-SNAPSHOT                                                                                                                                                                                        No   No
                com.sizmek.dataplatform:nereus-entities:0.0.2-
BigData Infra   SNAPSHOT                                          0.0.2-SNAPSHOT                                                                                                                                                                                    No   No
                com.sizmek.dataplatform.aws:dbProvider:0.0.1-
BigData Infra   SNAPSHOT                                          0.0.1-SNAPSHOT                                                                                                                                                                                    No   No
BigData Infra   com.squareup.retrofit:retrofit:1.9.0              1.9.0                                                                           Apache 2.0                                  http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
                                                                                                                                                  http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                                  _1.html,
                                                                                                                                                  http://glassfish.java.net/public/CDDL+GPL_1
BigData Infra   com.sun.jersey:jersey-client:1.9                    1.9                http://www.oracle.com/                                     _1.html                                                                                                           No   No
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BigData Infra   com.sun.jersey:jersey-core:1.9                      1.9                http://www.oracle.com/                                     _1.html                                                                                                           No   No
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                                                                                                                                                  http://glassfish.java.net/public/CDDL+GPL_1
BigData Infra   com.sun.jersey:jersey-grizzly2:1.9                  1.9                http://www.oracle.com/                                     _1.html                                                                                                           No   No
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                                                                                                                                                  http://glassfish.java.net/public/CDDL+GPL_1
BigData Infra   com.sun.jersey:jersey-json:1.9                      1.9                http://www.oracle.com/                                     _1.html                                                                                                           No   No
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                                                                                                                                                  _1.html,
                                                                                                                                                  http://glassfish.java.net/public/CDDL+GPL_1
BigData Infra   com.sun.jersey:jersey-server:1.9                    1.9                http://www.oracle.com/                                     _1.html                                                                                                           No   No
BigData Infra   com.sun.jersey.contribs:jersey-guice:1.9            1.9                                                                           GPL2 w/ CPE                                 http://glassfish.java.net/public/CDDL+GPL_1_1.html                    No   No
                com.sun.jersey.jersey-test-framework:jersey-test-
BigData Infra   framework-core:1.9                                  1.9                                                                           GPL2 w/ CPE                                 http://glassfish.java.net/public/CDDL+GPL_1_1.html                    No   No
                com.sun.jersey.jersey-test-framework:jersey-test-
BigData Infra   framework-grizzly2:1.9                              1.9                                                                           GPL2 w/ CPE                                 http://glassfish.java.net/public/CDDL+GPL_1_1.html                    No   No
BigData Infra   com.sun.xml.bind:jaxb-impl:2.2.3-1                  2.2.3-1            http://jaxb.java.net/                                      GPL2 w/ CPE                                 https://glassfish.java.net/public/CDDL+GPL_1_1.html                   No   No
BigData Infra   com.thoughtworks.paranamer:paranamer:2.6            2.6                                                                           BSD                                         LICENSE.txt                                                           No   No
BigData Infra   com.timgroup:java-statsd-client:3.0.2               3.0.2              http://github.com/tim-group/java-statsd-client             The MIT License (MIT)                       http://opensource.org/licenses/MIT                                    No   No
BigData Infra   com.twitter:chill-java:0.8.0                        0.8.0              https://github.com/twitter/chill                           Apache 2                                    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.twitter:chill_2.11:0.8.0                        0.8.0              https://github.com/twitter/chill                           Apache 2                                    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.univocity:univocity-parsers:2.2.1               2.2.1              www.univocity.com                                          Apache 2                                    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   com.vertica:vertica-jdbc:9.0.1                      9.0.1                                                                                                                                                                                           No   No
BigData Infra   commons-beanutils:commons-beanutils:1.7.0           1.7.0                                                                         Apache License, Version 2.0                 https://www.apache.org/licenses/LICENSE-2.0                           No   No
BigData Infra   commons-beanutils:commons-beanutils-core:1.8.0      1.8.0              http://commons.apache.org/beanutils/                       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   commons-cli:commons-cli:1.4                         1.4                http://commons.apache.org/proper/commons-cli/              Apache License, Version 2.0                 https://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
BigData Infra   commons-codec:commons-codec:1.10                    1.10               http://commons.apache.org/proper/commons-codec/            Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   commons-collections:commons-collections:3.2.1       3.2.1              http://commons.apache.org/collections/                     The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   commons-configuration:commons-configuration:1.6     1.6                http://commons.apache.org/configuration/                   The Apache Software License, Version 2.0    /LICENSE.txt                                                          No   No
BigData Infra   commons-digester:commons-digester:1.8               1.8                http://jakarta.apache.org/commons/digester/                The Apache Software License, Version 2.0    /LICENSE.txt                                                          No   No
BigData Infra   commons-el:commons-el:1.0                           1.0                http://jakarta.apache.org/commons/el/                      The Apache Software License, Version 2.0    /LICENSE.txt                                                          No   No
BigData Infra   commons-httpclient:commons-httpclient:3.1           3.1                http://jakarta.apache.org/httpcomponents/httpclient-3.x/   Apache License                              http://www.apache.org/licenses/LICENSE-2.0                            No   No
BigData Infra   commons-io:commons-io:2.4                           2.4                http://commons.apache.org/io/                              The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   commons-lang:commons-lang:2.6                       2.6                http://commons.apache.org/lang/                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   commons-logging:commons-logging:1.2                 1.2                http://commons.apache.org/proper/commons-logging/          The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   commons-net:commons-net:3.1                         3.1                http://commons.apache.org/net/                             The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
BigData Infra   io.dropwizard.metrics:metrics-core:3.1.2            3.1.2                                                                         Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                       No   No
BigData Infra   io.dropwizard.metrics:metrics-graphite:3.1.2        3.1.2                                                                         Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                       No   No
BigData Infra   io.dropwizard.metrics:metrics-json:3.1.2            3.1.2                                                                         Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                       No   No
BigData Infra   io.dropwizard.metrics:metrics-jvm:3.1.2             3.1.2                                                                         Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                       No   No
BigData Infra   io.netty:netty:3.8.0.Final                          3.8.0.Final        http://netty.io/                                           Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                            No   No
BigData Infra   io.netty:netty-all:4.0.42.Final                     4.0.42.Final                                                                  Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                            No   No
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BigData Infra   javax.activation:activation:1.1                     1.1                http://java.sun.com/products/javabeans/jaf/index.jsp       License (CDDL) v1.0                         https://glassfish.dev.java.net/public/CDDLv1.0.html                   No   No
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BigData Infra   javax.annotation:javax.annotation-api:1.2           1.2                https://glassfish.java.net                                 1.0                                         https://opensource.org/licenses/CDDL-1.0                              No   No
BigData Infra   javax.inject:javax.inject:1                         1                  http://code.google.com/p/atinject/                         The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                        No   No
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BigData Infra   javax.servlet:javax.servlet-api:3.1.0               3.1.0              https://glassfish.dev.java.net                             1.0                                         https://opensource.org/licenses/CDDL-1.0                              No   No
                                                                          19-10971-dsj                                      Doc 210                         Filed 06/03/19 Entered 06/03/19 14:17:12                                                            Main Document
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BigData Infra   javax.servlet:servlet-api:2.5                         2.5                                                                                                                                                                                                       No   No
BigData Infra   javax.servlet.jsp:jsp-api:2.1                         2.1                                                                                                                                                                                                       No   No
BigData Infra   javax.validation:validation-api:1.1.0.Final           1.1.0.Final        http://beanvalidation.org                                The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
                                                                                                                                                  http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                                  _1.html,
                                                                                                                                                  http://glassfish.java.net/public/CDDL+GPL_1
BigData Infra   javax.ws.rs:javax.ws.rs-api:2.0.1                     2.0.1              http://www.oracle.com/                                   _1.html                                                                                                                       No   No
BigData Infra   javax.xml.bind:jaxb-api:2.2.2                         2.2.2              https://jaxb.dev.java.net/                               GPL2 w/ CPE                                 https://glassfish.dev.java.net/public/CDDL+GPL_1_1.html                           No   No
BigData Infra   javax.xml.stream:stax-api:1.0-2                       1.0-2                                                                       GNU General Public Library                  http://www.gnu.org/licenses/gpl.txt                                               No   No
BigData Infra   jline:jline:0.9.94                                    0.9.94             http://jline.sourceforge.net                             BSD                                         LICENSE.txt                                                                       No   No
BigData Infra   joda-time:joda-time:2.9.2                             2.9.2              http://www.joda.org/joda-time/                           Apache License, Version 2.0                 https://www.apache.org/licenses/LICENSE-2.0                                       No   No
BigData Infra   junit:junit:4.8.2                                     4.8.2              http://junit.org                                         Common Public License Version 1.0           http://www.opensource.org/licenses/cpl1.0.txt                                     No   No
BigData Infra   log4j:log4j:1.2.17                                    1.2.17             http://logging.apache.org/log4j/1.2/                     The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
BigData Infra   net.java.dev.jets3t:jets3t:0.9.0                      0.9.0              http://www.jets3t.org                                    Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                                        No   No
BigData Infra   net.jpountz.lz4:lz4:1.3.0                             1.3.0              https://github.com/jpountz/lz4-java                      The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
BigData Infra   net.razorvine:pyrolite:4.13                           4.13               https://github.com/irmen/Pyrolite                        MIT License                                 https://raw.githubusercontent.com/irmen/Pyrolite/master/LICENSE                   No   No
BigData Infra   net.sf.py4j:py4j:0.10.4                               0.10.4                                                                      The New BSD License                         http://www.opensource.org/licenses/bsd-license.html                               No   No
BigData Infra   org.antlr:antlr4-runtime:4.5.3                        4.5.3              http://www.antlr.org                                     The BSD License                             http://www.antlr.org/license.html                                                 No   No
BigData Infra   org.apache.avro:avro:1.7.7                            1.7.7              http://www.apache.org/                                   The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
BigData Infra   org.apache.avro:avro-ipc:1.7.7                        1.7.7              http://www.apache.org/                                   The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
BigData Infra   org.apache.avro:avro-mapred:1.7.7                     1.7.7                                                                       The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
BigData Infra   org.apache.commons:commons-collections4:4.0           4.0                http://commons.apache.org/proper/commons-collections/    The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
BigData Infra   org.apache.commons:commons-compress:1.4.1             1.4.1              http://commons.apache.org/compress/                      The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
BigData Infra   org.apache.commons:commons-crypto:1.0.0               1.0.0              http://commons.apache.org/proper/commons-crypto/         Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
BigData Infra   org.apache.commons:commons-dbcp2:2.0.1                2.0.1              http://commons.apache.org/proper/commons-dbcp/           The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
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BigData Infra   org.apache.commons:commons-math3:3.4.1                3.4.1              http://commons.apache.org/proper/commons-math/           The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
BigData Infra   org.apache.commons:commons-pool2:2.3                  2.3                http://commons.apache.org/proper/commons-pool/           The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
BigData Infra   org.apache.curator:curator-client:2.4.0               2.4.0              http://www.apache.org/                                   The Apache Software License, Version 2.0 file://${basedir}/LICENSE                                                            No   No
BigData Infra   org.apache.curator:curator-framework:2.4.0            2.4.0              http://www.apache.org/                                   The Apache Software License, Version 2.0 file://${basedir}/LICENSE                                                            No   No
BigData Infra   org.apache.curator:curator-recipes:2.4.0              2.4.0              http://www.apache.org/                                   The Apache Software License, Version 2.0 file://${basedir}/LICENSE                                                            No   No
BigData Infra   org.apache.hadoop:hadoop-annotations:2.4.0            2.4.0                                                                       The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
BigData Infra   org.apache.hadoop:hadoop-auth:2.4.0                   2.4.0                                                                       The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
BigData Infra   org.apache.hadoop:hadoop-client:2.2.0                 2.2.0                                                                       The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
BigData Infra   org.apache.hadoop:hadoop-common:2.4.0                 2.4.0                                                                       The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
BigData Infra   org.apache.hadoop:hadoop-hdfs:2.2.0                   2.2.0                                                                       The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
                org.apache.hadoop:hadoop-mapreduce-client-
BigData Infra   app:2.2.0                                             2.2.0                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
                org.apache.hadoop:hadoop-mapreduce-client-
BigData Infra   common:2.2.0                                          2.2.0                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
                org.apache.hadoop:hadoop-mapreduce-client-
BigData Infra   core:2.2.0                                            2.2.0                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
                org.apache.hadoop:hadoop-mapreduce-client-
BigData Infra   jobclient:2.2.0                                       2.2.0                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
                org.apache.hadoop:hadoop-mapreduce-client-
BigData Infra   shuffle:2.2.0                                         2.2.0                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.hadoop:hadoop-yarn-api:2.2.0               2.2.0                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.hadoop:hadoop-yarn-client:2.2.0            2.2.0                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.hadoop:hadoop-yarn-common:2.2.0            2.2.0                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
                org.apache.hadoop:hadoop-yarn-server-
BigData Infra   common:2.2.0                                          2.2.0                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
                org.apache.hadoop:hadoop-yarn-server-
BigData Infra   nodemanager:2.2.0                                     2.2.0                                                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.httpcomponents:httpclient:4.5.2            4.5.2              http://hc.apache.org/httpcomponents-client               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.httpcomponents:httpcore:4.4.5              4.4.5              http://hc.apache.org/httpcomponents-core-ga              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.ivy:ivy:2.4.0                              2.4.0              http://ant.apache.org/ivy/                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.parquet:parquet-column:1.8.1               1.8.1              https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.parquet:parquet-common:1.8.1               1.8.1              https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.parquet:parquet-encoding:1.8.1             1.8.1              https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.parquet:parquet-format:2.3.0-incubating    2.3.0-incubating   http://parquet.incubator.apache.org/                     The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.parquet:parquet-hadoop:1.8.1               1.8.1              https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.parquet:parquet-jackson:1.8.1              1.8.1              https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.spark:spark-catalyst_2.11:2.1.0            2.1.0              http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.spark:spark-core_2.11:2.1.0                2.1.0              http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.spark:spark-launcher_2.11:2.1.0            2.1.0              http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No

BigData Infra   org.apache.spark:spark-network-common_2.11:2.1.0 2.1.0                   http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.spark:spark-network-shuffle_2.11:2.1.0 2.1.0                  http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.spark:spark-sketch_2.11:2.1.0          2.1.0                  http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.spark:spark-sql_2.11:2.1.0             2.1.0                  http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
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BigData Infra   org.apache.spark:spark-unsafe_2.11:2.1.0          2.1.0                  http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
                                                                                         http://geronimo.apache.org/maven/xbean/4.4/xbean-asm5-
BigData Infra   org.apache.xbean:xbean-asm5-shaded:4.4                4.4                shaded                                                   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.apache.zookeeper:zookeeper:3.4.5                  3.4.5              http://hadoop.apache.org/zookeeper                       Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                      No   No
BigData Infra   org.aspectj:aspectjrt:1.8.2                           1.8.2              http://www.aspectj.org                                   Eclipse Public License - v 1.0               http://www.eclipse.org/legal/epl-v10.html                                        No   No
BigData Infra   org.aspectj:aspectjweaver:1.8.2                       1.8.2              http://www.aspectj.org                                   Eclipse Public License - v 1.0               http://www.eclipse.org/legal/epl-v10.html                                        No   No
BigData Infra   org.codehaus.groovy:groovy-all:2.4.7                  2.4.7              http://groovy-lang.org                                   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.codehaus.jackson:jackson-core-asl:1.9.13          1.9.13             http://jackson.codehaus.org                              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.codehaus.jackson:jackson-jaxrs:1.8.3              1.8.3              http://jackson.codehaus.org                              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.codehaus.jackson:jackson-mapper-asl:1.9.13        1.9.13             http://jackson.codehaus.org                              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.codehaus.jackson:jackson-xc:1.8.3                 1.8.3              http://jackson.codehaus.org                              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
BigData Infra   org.codehaus.janino:commons-compiler:3.0.0            3.0.0                                                                       New BSD License                              http://dist.codehaus.org/janino/new_bsd_license.txt                              No   No
BigData Infra   org.codehaus.janino:janino:3.0.0                      3.0.0                                                                       New BSD License                              http://dist.codehaus.org/janino/new_bsd_license.txt                              No   No
BigData Infra   org.codehaus.jettison:jettison:1.1                    1.1                                                                         Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                      No   No
BigData Infra   org.fusesource.leveldbjni:leveldbjni-all:1.8          1.8                http://fusesource.com/                                   The BSD 3-Clause License                     http://www.opensource.org/licenses/BSD-3-Clause                                  No   No
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BigData Infra   org.glassfish:javax.servlet:3.1                       3.1                https://glassfish.dev.java.net                           1.0                                          https://opensource.org/licenses/CDDL-1.0                                         No   No
BigData Infra   org.glassfish.external:management-api:3.0.0-b012      3.0.0-b012         http://kenai.com/hg/gmbal~gf_common                      CDDL+GPL                                     https://glassfish.dev.java.net/public/CDDL+GPL.html                              No   No
BigData Infra   org.glassfish.gmbal:gmbal-api-only:3.0.0-b023         3.0.0-b023         http://kenai.com/hg/gmbal~master                         CDDL+GPL                                     https://glassfish.dev.java.net/public/CDDL+GPL.html                              No   No
BigData Infra   org.glassfish.grizzly:grizzly-framework:2.1.2         2.1.2              http://www.oracle.com                                    CDDL+GPL                                     http://glassfish.java.net/public/CDDL+GPL.html                                   No   No
BigData Infra   org.glassfish.grizzly:grizzly-http:2.1.2              2.1.2              http://www.oracle.com                                    CDDL+GPL                                     http://glassfish.java.net/public/CDDL+GPL.html                                   No   No
BigData Infra   org.glassfish.grizzly:grizzly-http-server:2.1.2       2.1.2              http://www.oracle.com                                    CDDL+GPL                                     http://glassfish.java.net/public/CDDL+GPL.html                                   No   No
BigData Infra   org.glassfish.grizzly:grizzly-http-servlet:2.1.2      2.1.2              http://www.oracle.com                                    CDDL+GPL                                     http://glassfish.java.net/public/CDDL+GPL.html                                   No   No
BigData Infra   org.glassfish.grizzly:grizzly-rcm:2.1.2               2.1.2              http://www.oracle.com                                    CDDL+GPL                                     http://glassfish.java.net/public/CDDL+GPL.html                                   No   No
BigData Infra   org.glassfish.hk2:hk2-api:2.4.0-b34                   2.4.0-b34          http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                        No   No
BigData Infra   org.glassfish.hk2:hk2-locator:2.4.0-b34               2.4.0-b34          http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                        No   No
BigData Infra   org.glassfish.hk2:hk2-utils:2.4.0-b34                 2.4.0-b34          http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                        No   No
BigData Infra   org.glassfish.hk2:osgi-resource-locator:1.0.1         1.0.1              https://glassfish.dev.java.net                           CDDL + GPLv2 with classpath exception        https://glassfish.dev.java.net/nonav/public/CDDL+GPL.html                        No   No
                org.glassfish.hk2.external:aopalliance-
BigData Infra   repackaged:2.4.0-b34                                  2.4.0-b34          http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                        No   No
BigData Infra   org.glassfish.hk2.external:javax.inject:2.4.0-b34     2.4.0-b34          http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                        No   No
                org.glassfish.jersey.bundles.repackaged:jersey-
BigData Infra   guava:2.22.2                                          2.22.2             http://www.oracle.com/                                   CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                               No   No
                org.glassfish.jersey.containers:jersey-container-
BigData Infra   servlet:2.22.2                                        2.22.2             http://www.oracle.com/                                   CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                               No   No
                org.glassfish.jersey.containers:jersey-container-
BigData Infra   servlet-core:2.22.2                                   2.22.2             http://www.oracle.com/                                   CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                               No   No
BigData Infra   org.glassfish.jersey.core:jersey-client:2.22.2        2.22.2             http://www.oracle.com/                                   CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                               No   No
BigData Infra   org.glassfish.jersey.core:jersey-common:2.22.2        2.22.2             http://www.oracle.com/                                   CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                               No   No
BigData Infra   org.glassfish.jersey.core:jersey-server:2.22.2        2.22.2             http://www.oracle.com/                                   CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                               No   No
BigData Infra   org.glassfish.jersey.media:jersey-media-jaxb:2.22.2   2.22.2             http://www.oracle.com/                                   CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                               No   No
                                                                                                                                                  http://www.mozilla.org/MPL/MPL-1.1.html,
                                                                                                                                                  http://www.gnu.org/licenses/lgpl-2.1.html,
BigData Infra   org.javassist:javassist:3.18.1-GA                     3.18.1-GA          http://www.javassist.org/                                http://www.apache.org/licenses/                                                                                               No   No
                                                                        19-10971-dsj                                       Doc 210                   Filed 06/03/19 Entered 06/03/19 14:17:12                                                      Main Document
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BigData Infra    org.json4s:json4s-ast_2.11:3.2.11                  3.2.11            https://github.com/json4s/json4s                      ASL                                         http://github.com/json4s/json4s/raw/HEAD/LICENSE                           No   No
BigData Infra    org.json4s:json4s-core_2.11:3.2.11                 3.2.11            https://github.com/json4s/json4s                      ASL                                         http://github.com/json4s/json4s/raw/HEAD/LICENSE                           No   No
BigData Infra    org.json4s:json4s-jackson_2.11:3.2.11              3.2.11            https://github.com/json4s/json4s                      ASL                                         http://github.com/json4s/json4s/raw/HEAD/LICENSE                           No   No
                                                                                                                                            http://www.apache.org/licenses/LICENSE-
                                                                                                                                            2.0,
                                                                                                                                            http://www.eclipse.org/org/documents/epl-
BigData Infra    org.mortbay.jetty:jetty:6.1.26                     6.1.26            http://jetty.mortbay.org                              v10.php                                                                                                                No   No
                                                                                                                                            http://www.apache.org/licenses/LICENSE-
                                                                                                                                            2.0,
                                                                                                                                            http://www.eclipse.org/org/documents/epl-
BigData Infra    org.mortbay.jetty:jetty-util:6.1.26                6.1.26            http://jetty.mortbay.org                              v10.php                                                                                                                No   No
BigData Infra    org.objenesis:objenesis:2.1                        2.1               http://objenesis.org                                  Apache License, Version 2.0                 https://www.apache.org/licenses/LICENSE-2.0                                No   No
BigData Infra    org.postgresql:postgresql:9.3-1102-jdbc41          9.3-1102-jdbc41   http://jdbc.postgresql.org                            BSD License                                 http://jdbc.postgresql.org/license.html                                    No   No
BigData Infra    org.roaringbitmap:RoaringBitmap:0.5.11             0.5.11            https://github.com/lemire/RoaringBitmap               Apache 2                                    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData Infra    org.scala-lang:scala-compiler:2.11.0               2.11.0            http://www.scala-lang.org/                            BSD 3-Clause                                http://www.scala-lang.org/license.html                                     No   No
BigData Infra    org.scala-lang:scala-library:2.11.8                2.11.8            http://www.scala-lang.org/                            BSD 3-Clause                                http://www.scala-lang.org/license.html                                     No   No
BigData Infra    org.scala-lang:scala-reflect:2.11.8                2.11.8            http://www.scala-lang.org/                            BSD 3-Clause                                http://www.scala-lang.org/license.html                                     No   No
BigData Infra    org.scala-lang:scalap:2.11.0                       2.11.0            http://www.scala-lang.org/                            BSD 3-Clause                                http://www.scala-lang.org/license.html                                     No   No
                 org.scala-lang.modules:scala-parser-
BigData Infra    combinators_2.11:1.0.1                             1.0.1             http://www.scala-lang.org/                            BSD 3-clause                                http://opensource.org/licenses/BSD-3-Clause                                No   No
BigData Infra    org.scala-lang.modules:scala-xml_2.11:1.0.2        1.0.2             http://www.scala-lang.org/                            BSD 3-clause                                http://opensource.org/licenses/BSD-3-Clause                                No   No
BigData Infra    org.scalatest:scalatest_2.11:2.2.6                 2.2.6             http://www.scalatest.org/                             the Apache License, ASL Version 2.0         http://www.apache.org/licenses/LICENSE-2.0                                 No   No
BigData Infra    org.slf4j:jcl-over-slf4j:1.7.16                    1.7.16            http://www.slf4j.org                                  MIT License                                 http://www.opensource.org/licenses/mit-license.php                         No   No
BigData Infra    org.slf4j:jul-to-slf4j:1.7.16                      1.7.16            http://www.slf4j.org                                  MIT License                                 http://www.opensource.org/licenses/mit-license.php                         No   No
BigData Infra    org.slf4j:slf4j-api:1.7.16                         1.7.16            http://www.slf4j.org                                  MIT License                                 http://www.opensource.org/licenses/mit-license.php                         No   No
BigData Infra    org.slf4j:slf4j-log4j12:1.7.16                     1.7.16            http://www.slf4j.org                                  MIT License                                 http://www.opensource.org/licenses/mit-license.php                         No   No
BigData Infra    org.sonatype.sisu.inject:cglib:2.2.1-v20090111     2.2.1-v20090111   http://sourceforge.net/projects/cglib/                The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData Infra    org.spark-project.spark:unused:1.0.0               1.0.0                                                                   The Apache License, Version 2.0             http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData Infra    org.springframework:spring-aop:4.1.6.RELEASE       4.1.6.RELEASE     https://github.com/spring-projects/spring-framework   The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData Infra    org.springframework:spring-beans:4.1.6.RELEASE     4.1.6.RELEASE     https://github.com/spring-projects/spring-framework   The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData Infra    org.springframework:spring-context:4.1.6.RELEASE   4.1.6.RELEASE     https://github.com/spring-projects/spring-framework   The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                 org.springframework:spring-context-
BigData Infra    support:4.1.0.RELEASE                              4.1.0.RELEASE     https://github.com/spring-projects/spring-framework   The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData Infra    org.springframework:spring-core:4.1.6.RELEASE      4.1.6.RELEASE     https://github.com/spring-projects/spring-framework   The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                 org.springframework:spring-
BigData Infra    expression:4.1.6.RELEASE                           4.1.6.RELEASE     https://github.com/spring-projects/spring-framework   The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData Infra    org.springframework:spring-jdbc:4.1.6.RELEASE      4.1.6.RELEASE     https://github.com/spring-projects/spring-framework   The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData Infra    org.springframework:spring-tx:4.1.6.RELEASE        4.1.6.RELEASE     https://github.com/spring-projects/spring-framework   The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData Infra    org.tukaani:xz:1.0                                 1.0               http://tukaani.org/xz/java.html                       Public Domain                                                                                                          No   No
BigData Infra    org.xerial.snappy:snappy-java:1.1.2.6              1.1.2.6           https://github.com/xerial/snappy-java                 The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData Infra    oro:oro:2.0.8                                      2.0.8                                                                   Apache Software License, Version 1.1        https://www.apache.org/licenses/LICENSE-1.1                                No   No
BigData Infra    redis.clients:jedis:2.8.0                          2.8.0             https://github.com/xetorthio/jedis                    MIT                                         http://github.com/xetorthio/jedis/raw/master/LICENSE.txt                   No   No
BigData Infra    software.amazon.ion:ion-java:1.0.1                 1.0.1             https://github.com/amznlabs/ion-java/                 The Apache License, Version 2.0             http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData Infra    stax:stax-api:1.0.1                                1.0.1             http://stax.codehaus.org/                             The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData Infra    tomcat:jasper-compiler:5.5.23                      5.5.23                                                                  The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData Infra    tomcat:jasper-runtime:5.5.23                       5.5.23                                                                  The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData Infra    xmlenc:xmlenc:0.52                                 0.52              http://xmlenc.sourceforge.net                         The BSD License                             http://www.opensource.org/licenses/bsd-license.php                         No   No
BigData DistCP   aopalliance:aopalliance:1.0                        1.0               http://aopalliance.sourceforge.net                    Public Domain                                                                                                          No   No
BigData DistCP   args4j:args4j:2.0.29                               2.0.29            http://www.kohsuke.org/                               MIT license                                 http://www.opensource.org/licenses/mit-license.php                         No   No
BigData DistCP   asm:asm:3.1                                        3.1                                                                                                                                                                                            No   No
                                                                                                                                            http://www.eclipse.org/legal/epl-v10.html,
                                                                                                                                            http://www.gnu.org/licenses/old-licenses/lgpl-
BigData DistCP   ch.qos.logback:logback-classic:1.1.2               1.1.2             http://www.qos.ch                                     2.1.html                                                                                                               No   No
                                                                                                                                            http://www.eclipse.org/legal/epl-v10.html,
                                                                                                                                            http://www.gnu.org/licenses/old-licenses/lgpl-
BigData DistCP   ch.qos.logback:logback-core:1.1.2                  1.1.2             http://www.qos.ch                                     2.1.html                                                                                                               No   No
BigData DistCP   com.amazonaws:aws-java-sdk:1.11.160                1.11.160          https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                        No   No
BigData DistCP   com.amazonaws:aws-java-sdk-acm:1.11.160            1.11.160          https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                        No   No

BigData DistCP   com.amazonaws:aws-java-sdk-api-gateway:1.11.160 1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   applicationautoscaling:1.11.160                 1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-appstream:1.11.160 1.11.160               https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-athena:1.11.160      1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-autoscaling:1.11.160 1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-batch:1.11.160       1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-budgets:1.11.160     1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   clouddirectory:1.11.160                         1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   cloudformation:1.11.160                         1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-cloudfront:1.11.160 1.11.160              https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-cloudhsm:1.11.160 1.11.160                https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No

BigData DistCP   com.amazonaws:aws-java-sdk-cloudsearch:1.11.160 1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-cloudtrail:1.11.160  1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-cloudwatch:1.11.160 1.11.160              https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   cloudwatchmetrics:1.11.160                      1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-codebuild:1.11.160 1.11.160               https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No

BigData DistCP   com.amazonaws:aws-java-sdk-codecommit:1.11.160 1.11.160              https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No

BigData DistCP   com.amazonaws:aws-java-sdk-codedeploy:1.11.160     1.11.160          https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   codepipeline:1.11.160                              1.11.160          https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-codestar:1.11.160       1.11.160          https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   cognitoidentity:1.11.160                           1.11.160          https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-cognitoidp:1.11.160     1.11.160          https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No

BigData DistCP   com.amazonaws:aws-java-sdk-cognitosync:1.11.160 1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-config:1.11.160      1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-core:1.11.160        1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   costandusagereport:1.11.160                     1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No

BigData DistCP   com.amazonaws:aws-java-sdk-datapipeline:1.11.160 1.11.160            https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-dax:1.11.160          1.11.160            https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-devicefarm:1.11.160 1.11.160              https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   directconnect:1.11.160                           1.11.160            https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-directory:1.11.160    1.11.160            https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-discovery:1.11.160    1.11.160            https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-dms:1.11.160          1.11.160            https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-dynamodb:1.11.160 1.11.160                https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-ec2:1.11.160          1.11.160            https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-ecr:1.11.160          1.11.160            https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-ecs:1.11.160          1.11.160            https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-efs:1.11.160          1.11.160            https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
BigData DistCP   com.amazonaws:aws-java-sdk-elasticache:1.11.160 1.11.160             https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   elasticbeanstalk:1.11.160                        1.11.160            https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   elasticloadbalancing:1.11.160                    1.11.160            https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                 https://aws.amazon.com/apache2.0                                           No   No
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                 com.amazonaws:aws-java-sdk-
BigData DistCP   elasticloadbalancingv2:1.11.160                    1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   elasticsearch:1.11.160                             1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   elastictranscoder:1.11.160                         1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-emr:1.11.160            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-events:1.11.160         1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-gamelift:1.11.160       1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-glacier:1.11.160        1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-greengrass:1.11.160     1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-health:1.11.160         1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-iam:1.11.160            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   importexport:1.11.160                              1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-inspector:1.11.160      1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-iot:1.11.160            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-kinesis:1.11.160        1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-kms:1.11.160            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-lambda:1.11.160         1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-lex:1.11.160            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   lexmodelbuilding:1.11.160                          1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-lightsail:1.11.160      1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-logs:1.11.160           1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   machinelearning:1.11.160                           1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   marketplacecommerceanalytics:1.11.160              1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   marketplaceentitlement:1.11.160                    1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   marketplacemeteringservice:1.11.160                1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   mechanicalturkrequester:1.11.160                   1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-models:1.11.160         1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-opsworks:1.11.160       1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   opsworkscm:1.11.160                                1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   organizations:1.11.160                             1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-pinpoint:1.11.160       1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-polly:1.11.160          1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-rds:1.11.160            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-redshift:1.11.160       1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-rekognition:1.11.160    1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   resourcegroupstaggingapi:1.11.160                  1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-route53:1.11.160        1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-s3:1.11.160             1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   servermigration:1.11.160                           1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   servicecatalog:1.11.160                            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-ses:1.11.160            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-shield:1.11.160         1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-simpledb:1.11.160       1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   simpleworkflow:1.11.160                            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-snowball:1.11.160       1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-sns:1.11.160            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-sqs:1.11.160            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-ssm:1.11.160            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   stepfunctions:1.11.160                             1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
                 com.amazonaws:aws-java-sdk-
BigData DistCP   storagegateway:1.11.160                            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-sts:1.11.160            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-support:1.11.160        1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-swf-libraries:1.11.22   1.11.22         https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-waf:1.11.160            1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-workdocs:1.11.160       1.11.160        https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No

BigData DistCP   com.amazonaws:aws-java-sdk-workspaces:1.11.160 1.11.160            https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:aws-java-sdk-xray:1.11.160          1.11.160         https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.amazonaws:jmespath-java:1.11.160              1.11.160         https://aws.amazon.com/sdkforjava                  Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                  No   No
BigData DistCP   com.cwbase:logback-redis-appender:1.1.0           1.1.0            https://github.com/kmtong/logback-redis-appender   Apache License, Version 2.0                http://www.apache.org/licenses/LICENSE-2.0.txt                    No   No
BigData DistCP   com.ecwid.consul:consul-api:1.2.1                 1.2.1            https://github.com/Ecwid/consul-api                The Apache License, Version 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                    No   No
                 com.fasterxml.jackson.core:jackson-
BigData DistCP   annotations:2.6.0                                 2.6.0            http://github.com/FasterXML/jackson                The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                    No   No
BigData DistCP   com.fasterxml.jackson.core:jackson-core:2.6.6     2.6.6            https://github.com/FasterXML/jackson-core          The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                    No   No
BigData DistCP   com.fasterxml.jackson.core:jackson-databind:2.6.6 2.6.6            http://github.com/FasterXML/jackson                The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                    No   No
                 com.fasterxml.jackson.dataformat:jackson-
BigData DistCP   dataformat-cbor:2.6.6                             2.6.6            http://wiki.fasterxml.com/JacksonForCbor           The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                    No   No
BigData DistCP   com.fasterxml.uuid:java-uuid-generator:3.1.4      3.1.4            http://wiki.fasterxml.com/JugHome                  The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                    No   No
BigData DistCP   com.google.code.findbugs:jsr305:1.3.9             1.3.9            http://findbugs.sourceforge.net/                   The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                    No   No
BigData DistCP   com.google.code.gson:gson:2.3.1                   2.3.1            http://code.google.com/p/google-gson/              The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                    No   No
BigData DistCP   com.google.guava:guava:12.0.1                     12.0.1                                                              The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                    No   No
BigData DistCP   com.google.inject:guice:3.0                       3.0              http://code.google.com/p/google-guice/             The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                    No   No
BigData DistCP   com.google.protobuf:protobuf-java:2.5.0           2.5.0            http://code.google.com/p/protobuf                  The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                    No   No
BigData DistCP   com.rabbitmq:amqp-client:3.4.3                    3.4.3            http://www.rabbitmq.com                            MPL 1.1                                    http://www.mozilla.org/MPL/MPL-1.1.txt                            No   No
BigData DistCP   com.sizmek.dataplatform:nereus:0.5.0-SNAPSHOT 0.5.0-SNAPSHOT                                                                                                                                                                       No   No
                 com.sizmek.dataplatform:nereus-entities:0.0.2-
BigData DistCP   SNAPSHOT                                          0.0.2-SNAPSHOT                                                                                                                                                                   No   No
                 com.sizmek.dataplatform.aws:dbProvider:0.0.1-
BigData DistCP   SNAPSHOT                                          0.0.1-SNAPSHOT                                                                                                                                                                   No   No
BigData DistCP   com.squareup.retrofit:retrofit:1.9.0              1.9.0                                                               Apache 2.0                                  http://www.apache.org/licenses/LICENSE-2.0.txt                   No   No
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                       _1.html,
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
BigData DistCP   com.sun.jersey:jersey-client:1.9                   1.9             http://www.oracle.com/                             _1.html                                                                                                      No   No
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                       _1.html,
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
BigData DistCP   com.sun.jersey:jersey-core:1.9                     1.9             http://www.oracle.com/                             _1.html                                                                                                      No   No
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                       _1.html,
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
BigData DistCP   com.sun.jersey:jersey-grizzly2:1.9                 1.9             http://www.oracle.com/                             _1.html                                                                                                      No   No
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                       _1.html,
                                                                                                                                       http://glassfish.java.net/public/CDDL+GPL_1
BigData DistCP   com.sun.jersey:jersey-json:1.9                     1.9             http://www.oracle.com/                             _1.html                                                                                                      No   No
                                                                           19-10971-dsj                                       Doc 210                           Filed 06/03/19 Entered 06/03/19 14:17:12                                                     Main Document
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                                                                                                                                                      http://glassfish.java.net/public/CDDL+GPL_1
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BigData DistCP   com.sun.jersey:jersey-server:1.9                    1.9                   http://www.oracle.com/                                     _1.html                                                                                                                No   No
BigData DistCP   com.sun.jersey.contribs:jersey-guice:1.9            1.9                                                                              GPL2 w/ CPE                                 http://glassfish.java.net/public/CDDL+GPL_1_1.html                         No   No
                 com.sun.jersey.jersey-test-framework:jersey-test-
BigData DistCP   framework-core:1.9                                  1.9                                                                              GPL2 w/ CPE                                 http://glassfish.java.net/public/CDDL+GPL_1_1.html                         No   No
                 com.sun.jersey.jersey-test-framework:jersey-test-
BigData DistCP   framework-grizzly2:1.9                              1.9                                                                              GPL2 w/ CPE                                 http://glassfish.java.net/public/CDDL+GPL_1_1.html                         No   No
BigData DistCP   com.sun.xml.bind:jaxb-impl:2.2.3-1                  2.2.3-1               http://jaxb.java.net/                                      GPL2 w/ CPE                                 https://glassfish.java.net/public/CDDL+GPL_1_1.html                        No   No
BigData DistCP   com.thoughtworks.paranamer:paranamer:2.3            2.3                                                                              BSD                                         LICENSE.txt                                                                No   No
BigData DistCP   com.timgroup:java-statsd-client:3.0.2               3.0.2                 http://github.com/tim-group/java-statsd-client             The MIT License (MIT)                       http://opensource.org/licenses/MIT                                         No   No
BigData DistCP   commons-beanutils:commons-beanutils:1.7.0           1.7.0                                                                            Apache License, Version 2.0                 https://www.apache.org/licenses/LICENSE-2.0                                No   No
BigData DistCP   commons-beanutils:commons-beanutils-core:1.8.0      1.8.0                 http://commons.apache.org/beanutils/                       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   commons-cli:commons-cli:1.2                         1.2                   http://commons.apache.org/cli/                             The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   commons-codec:commons-codec:1.9                     1.9                   http://commons.apache.org/proper/commons-codec/            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   commons-collections:commons-collections:3.2.1       3.2.1                 http://commons.apache.org/collections/                     The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   commons-configuration:commons-configuration:1.6     1.6                   http://commons.apache.org/configuration/                   The Apache Software License, Version 2.0    /LICENSE.txt                                                               No   No
BigData DistCP   commons-digester:commons-digester:1.8               1.8                   http://jakarta.apache.org/commons/digester/                The Apache Software License, Version 2.0    /LICENSE.txt                                                               No   No
BigData DistCP   commons-httpclient:commons-httpclient:3.1           3.1                   http://jakarta.apache.org/httpcomponents/httpclient-3.x/   Apache License                              http://www.apache.org/licenses/LICENSE-2.0                                 No   No
BigData DistCP   commons-io:commons-io:2.4                           2.4                   http://commons.apache.org/io/                              The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   commons-lang:commons-lang:2.6                       2.6                   http://commons.apache.org/lang/                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   commons-logging:commons-logging:1.2                 1.2                   http://commons.apache.org/proper/commons-logging/          The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   commons-net:commons-net:3.1                         3.1                   http://commons.apache.org/net/                             The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                                                                                                                                                      Common Development and Distribution
BigData DistCP   javax.activation:activation:1.1                     1.1                   http://java.sun.com/products/javabeans/jaf/index.jsp       License (CDDL) v1.0                         https://glassfish.dev.java.net/public/CDDLv1.0.html                        No   No
BigData DistCP   javax.inject:javax.inject:1                         1                     http://code.google.com/p/atinject/                         The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                                                                                                                                                      COMMON DEVELOPMENT AND
                                                                                                                                                      DISTRIBUTION LICENSE (CDDL) Version
BigData DistCP   javax.servlet:javax.servlet-api:3.0.1               3.0.1                 https://glassfish.dev.java.net                             1.0                                         https://opensource.org/licenses/CDDL-1.0                                   No   No
BigData DistCP   javax.xml.bind:jaxb-api:2.2.2                       2.2.2                 https://jaxb.dev.java.net/                                 GPL2 w/ CPE                                 https://glassfish.dev.java.net/public/CDDL+GPL_1_1.html                    No   No
BigData DistCP   javax.xml.stream:stax-api:1.0-2                     1.0-2                                                                            GNU General Public Library                  http://www.gnu.org/licenses/gpl.txt                                        No   No
BigData DistCP   jline:jline:0.9.94                                  0.9.94                http://jline.sourceforge.net                               BSD                                         LICENSE.txt                                                                No   No
BigData DistCP   joda-time:joda-time:2.8.1                           2.8.1                 http://www.joda.org/joda-time/                             Apache License, Version 2.0                 https://www.apache.org/licenses/LICENSE-2.0                                No   No
BigData DistCP   junit:junit:4.8.2                                   4.8.2                 http://junit.org                                           Common Public License Version 1.0           http://www.opensource.org/licenses/cpl1.0.txt                              No   No
BigData DistCP   log4j:log4j:1.2.17                                  1.2.17                http://logging.apache.org/log4j/1.2/                       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.avro:avro:1.7.4                          1.7.4                 http://avro.apache.org                                     The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.commons:commons-collections4:4.0         4.0                   http://commons.apache.org/proper/commons-collections/      The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.commons:commons-compress:1.4.1           1.4.1                 http://commons.apache.org/compress/                        The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.commons:commons-dbcp2:2.0.1              2.0.1                 http://commons.apache.org/proper/commons-dbcp/             The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.commons:commons-math3:3.1.1              3.1.1                 http://commons.apache.org/math/                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.commons:commons-pool2:2.2                2.2                   http://commons.apache.org/proper/commons-pool/             The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.hadoop:hadoop-annotations:2.4.0          2.4.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.hadoop:hadoop-auth:2.4.0                 2.4.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.hadoop:hadoop-client:2.2.0               2.2.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.hadoop:hadoop-common:2.4.0               2.4.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.hadoop:hadoop-hdfs:2.2.0                 2.2.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                 org.apache.hadoop:hadoop-mapreduce-client-
BigData DistCP   app:2.2.0                                           2.2.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                 org.apache.hadoop:hadoop-mapreduce-client-
BigData DistCP   common:2.2.0                                        2.2.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                 org.apache.hadoop:hadoop-mapreduce-client-
BigData DistCP   core:2.2.0                                          2.2.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                 org.apache.hadoop:hadoop-mapreduce-client-
BigData DistCP   jobclient:2.2.0                                     2.2.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                 org.apache.hadoop:hadoop-mapreduce-client-
BigData DistCP   shuffle:2.2.0                                       2.2.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.hadoop:hadoop-yarn-api:2.2.0             2.2.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.hadoop:hadoop-yarn-client:2.2.0          2.2.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.hadoop:hadoop-yarn-common:2.2.0          2.2.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                 org.apache.hadoop:hadoop-yarn-server-
BigData DistCP   common:2.2.0                                        2.2.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                 org.apache.hadoop:hadoop-yarn-server-
BigData DistCP   nodemanager:2.2.0                                   2.2.0                                                                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.httpcomponents:httpclient:4.5.2          4.5.2                 http://hc.apache.org/httpcomponents-client                 The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.httpcomponents:httpcore:4.4.5            4.4.5                 http://hc.apache.org/httpcomponents-core-ga                The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.apache.zookeeper:zookeeper:3.4.5                3.4.5                 http://hadoop.apache.org/zookeeper                         Apache License, Version 2.0                 https://www.apache.org/licenses/LICENSE-2.0                                No   No
BigData DistCP   org.aspectj:aspectjrt:1.8.2                         1.8.2                 http://www.aspectj.org                                     Eclipse Public License - v 1.0              http://www.eclipse.org/legal/epl-v10.html                                  No   No
BigData DistCP   org.aspectj:aspectjweaver:1.8.2                     1.8.2                 http://www.aspectj.org                                     Eclipse Public License - v 1.0              http://www.eclipse.org/legal/epl-v10.html                                  No   No
BigData DistCP   org.codehaus.groovy:groovy-all:2.4.7                2.4.7                 http://groovy-lang.org                                     The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.codehaus.jackson:jackson-core-asl:1.8.8         1.8.8                 http://jackson.codehaus.org                                The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.codehaus.jackson:jackson-jaxrs:1.8.3            1.8.3                 http://jackson.codehaus.org                                The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.codehaus.jackson:jackson-mapper-asl:1.8.8       1.8.8                 http://jackson.codehaus.org                                The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.codehaus.jackson:jackson-xc:1.8.3               1.8.3                 http://jackson.codehaus.org                                The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.codehaus.jettison:jettison:1.1                  1.1                                                                              Apache License, Version 2.0                 https://www.apache.org/licenses/LICENSE-2.0                                No   No
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BigData DistCP   org.glassfish:javax.servlet:3.1                     3.1                   https://glassfish.dev.java.net                             1.0                                         https://opensource.org/licenses/CDDL-1.0                                   No   No
BigData DistCP   org.glassfish.external:management-api:3.0.0-b012    3.0.0-b012            http://kenai.com/hg/gmbal~gf_common                        CDDL+GPL                                    https://glassfish.dev.java.net/public/CDDL+GPL.html                        No   No
BigData DistCP   org.glassfish.gmbal:gmbal-api-only:3.0.0-b023       3.0.0-b023            http://kenai.com/hg/gmbal~master                           CDDL+GPL                                    https://glassfish.dev.java.net/public/CDDL+GPL.html                        No   No
BigData DistCP   org.glassfish.grizzly:grizzly-framework:2.1.2       2.1.2                 http://www.oracle.com                                      CDDL+GPL                                    http://glassfish.java.net/public/CDDL+GPL.html                             No   No
BigData DistCP   org.glassfish.grizzly:grizzly-http:2.1.2            2.1.2                 http://www.oracle.com                                      CDDL+GPL                                    http://glassfish.java.net/public/CDDL+GPL.html                             No   No
BigData DistCP   org.glassfish.grizzly:grizzly-http-server:2.1.2     2.1.2                 http://www.oracle.com                                      CDDL+GPL                                    http://glassfish.java.net/public/CDDL+GPL.html                             No   No
BigData DistCP   org.glassfish.grizzly:grizzly-http-servlet:2.1.2    2.1.2                 http://www.oracle.com                                      CDDL+GPL                                    http://glassfish.java.net/public/CDDL+GPL.html                             No   No
BigData DistCP   org.glassfish.grizzly:grizzly-rcm:2.1.2             2.1.2                 http://www.oracle.com                                      CDDL+GPL                                    http://glassfish.java.net/public/CDDL+GPL.html                             No   No
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                                                                                                                                                      2.0,
                                                                                                                                                      http://www.eclipse.org/org/documents/epl-
BigData DistCP   org.mortbay.jetty:jetty-util:6.1.26                 6.1.26                http://jetty.mortbay.org                                   v10.php                                                                                                                No   No
BigData DistCP   org.postgresql:postgresql:9.3-1102-jdbc41           9.3-1102-jdbc41       http://jdbc.postgresql.org                                 BSD License                                 http://jdbc.postgresql.org/license.html                                    No   No
BigData DistCP   org.slf4j:jcl-over-slf4j:1.7.7                      1.7.7                 http://www.slf4j.org                                       MIT License                                 http://www.opensource.org/licenses/mit-license.php                         No   No
BigData DistCP   org.slf4j:slf4j-api:1.7.7                           1.7.7                 http://www.slf4j.org                                       MIT License                                 http://www.opensource.org/licenses/mit-license.php                         No   No
BigData DistCP   org.slf4j:slf4j-log4j12:1.7.5                       1.7.5                 http://www.slf4j.org                                       MIT License                                 http://www.opensource.org/licenses/mit-license.php                         No   No
BigData DistCP   org.sonatype.sisu.inject:cglib:2.2.1-v20090111      2.2.1-v20090111       http://sourceforge.net/projects/cglib/                     The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.springframework:spring-aop:4.1.6.RELEASE        4.1.6.RELEASE         https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.springframework:spring-beans:4.1.6.RELEASE      4.1.6.RELEASE         https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.springframework:spring-context:4.1.6.RELEASE    4.1.6.RELEASE         https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                 org.springframework:spring-context-
BigData DistCP   support:4.1.0.RELEASE                               4.1.0.RELEASE         https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.springframework:spring-core:4.1.6.RELEASE       4.1.6.RELEASE         https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                 org.springframework:spring-
BigData DistCP   expression:4.1.6.RELEASE                            4.1.6.RELEASE         https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.springframework:spring-jdbc:4.1.6.RELEASE       4.1.6.RELEASE         https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.springframework:spring-tx:4.1.6.RELEASE         4.1.6.RELEASE         https://github.com/spring-projects/spring-framework        The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   org.tukaani:xz:1.0                                  1.0                   http://tukaani.org/xz/java.html                            Public Domain                                                                                                          No   No
BigData DistCP   org.xerial.snappy:snappy-java:1.0.4.1               1.0.4.1               http://www.xerial.org/                                     The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   redis.clients:jedis:2.5.2                           2.5.2                 https://github.com/xetorthio/jedis                         MIT                                         http://github.com/xetorthio/jedis/raw/master/LICENSE.txt                   No   No
BigData DistCP   software.amazon.ion:ion-java:1.0.2                  1.0.2                 https://github.com/amznlabs/ion-java/                      The Apache License, Version 2.0             http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   stax:stax-api:1.0.1                                 1.0.1                 http://stax.codehaus.org/                                  The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
BigData DistCP   xmlenc:xmlenc:0.52                                  0.52                  http://xmlenc.sourceforge.net                              The BSD License                             http://www.opensource.org/licenses/bsd-license.php                         No   No
ESP S3 Saver     antlr:antlr:2.7.7                                   2.7.7                 http://www.antlr.org/                                      BSD License                                 http://www.antlr.org/license.html                                          No   No
ESP S3 Saver     asm:asm:1.5.3                                       1.5.3                 http://asm.objectweb.org/                                                                                                                                                         No   No
ESP S3 Saver     asm:asm-attrs:1.5.3                                 1.5.3                 http://asm.objectweb.org/                                                                                                                                                         No   No
ESP S3 Saver     be.cyberelf.nanoxml:nanoxml:2.2.3                   2.2.3                 http://nanoxml.cyberelf.be/                                The zlib/libpng License                     http://www.opensource.org/licenses/zlib-license.html                       No   No
ESP S3 Saver     bouncycastle:bcmail-jdk14:138                                         138 http://www.bouncycastle.org/java.html                      Bouncy Castle License                       http://www.bouncycastle.org/licence.html                                   No   No
ESP S3 Saver     bouncycastle:bcprov-jdk14:138                                         138 http://www.bouncycastle.org/java.html                      Bouncy Castle License                       http://www.bouncycastle.org/licence.html                                   No   No
                                                                         19-10971-dsj                                       Doc 210                           Filed 06/03/19 Entered 06/03/19 14:17:12                                                 Main Document
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ESP S3 Saver   cglib:cglib:2.1_3                                    2.1_3                http://cglib.sourceforge.net/                               Apache License, Version 2.0                    https://www.apache.org/licenses/LICENSE-2.0                        No   No
                                                                                                                                                     http://www.eclipse.org/legal/epl-v10.html,
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ESP S3 Saver   ch.qos.logback:logback-classic:1.1.2                 1.1.2                http://www.qos.ch                                           2.1.html                                                                                                          No   No
                                                                                                                                                     http://www.eclipse.org/legal/epl-v10.html,
                                                                                                                                                     http://www.gnu.org/licenses/old-licenses/lgpl-
ESP S3 Saver   ch.qos.logback:logback-core:1.1.2                    1.1.2                http://www.qos.ch                                           2.1.html                                                                                                          No   No
ESP S3 Saver   com.amazonaws:amazon-kinesis-client:1.7.0            1.7.0                https://aws.amazon.com/kinesis                              Amazon Software License                        https://aws.amazon.com/asl                                         No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk:1.9.40                    1.9.40               https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                   No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-autoscaling:1.9.40        1.9.40               https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                    https://aws.amazon.com/apache2.0                                   No   No
               com.amazonaws:aws-java-sdk-
ESP S3 Saver   cloudformation:1.9.40                                1.9.40               https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-cloudfront:1.9.40         1.9.40               https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-cloudhsm:1.9.40           1.9.40               https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-cloudsearch:1.9.40        1.9.40               https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-cloudtrail:1.9.40         1.9.40               https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-cloudwatch:1.11.14        1.11.14              https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP S3 Saver   cloudwatchmetrics:1.9.40                             1.9.40               https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-codedeploy:1.9.40         1.9.40               https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No

ESP S3 Saver   com.amazonaws:aws-java-sdk-cognitoidentity:1.9.40 1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-cognitosync:1.9.40     1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-config:1.9.40          1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-core:1.11.14           1.11.14                 https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-datapipeline:1.9.40 1.9.40                     https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-directconnect:1.9.40 1.9.40                    https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-directory:1.9.40       1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-dynamodb:1.11.14       1.11.14                 https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-ec2:1.9.40             1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-ecs:1.9.40             1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-efs:1.9.40             1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-elasticache:1.9.40     1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP S3 Saver   elasticbeanstalk:1.9.40                           1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP S3 Saver   elasticloadbalancing:1.9.40                       1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP S3 Saver   elastictranscoder:1.9.40                          1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-emr:1.9.40             1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-glacier:1.9.40         1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-iam:1.9.40             1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-importexport:1.9.40 1.9.40                     https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-kinesis:1.11.14        1.11.14                 https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-kms:1.11.14            1.11.14                 https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-lambda:1.9.40          1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-logs:1.9.40            1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP S3 Saver   machinelearning:1.9.40                            1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-opsworks:1.9.40        1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-rds:1.9.40             1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-redshift:1.9.40        1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-route53:1.9.40         1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-s3:1.11.14             1.11.14                 https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-ses:1.9.40             1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
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               com.amazonaws:aws-java-sdk-
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ESP S3 Saver   com.amazonaws:aws-java-sdk-sns:1.9.40             1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-sqs:1.9.40             1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-ssm:1.9.40             1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP S3 Saver   storagegateway:1.9.40                             1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-sts:1.9.40             1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-support:1.9.40         1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-swf-libraries:1.9.40 1.9.40                    https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.amazonaws:aws-java-sdk-workspaces:1.9.40      1.9.40                  https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP S3 Saver   com.cwbase:logback-redis-appender:1.1.1           1.1.1                   https://github.com/kmtong/logback-redis-appender            Apache License, Version 2.0                  http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP S3 Saver   com.eclipsesource.minimal-json:minimal-json:0.9.2 0.9.2                   https://github.com/ralfstx/minimal-json                     MIT License                                  http://opensource.org/licenses/MIT                                   No   No
ESP S3 Saver   com.ecwid.consul:consul-api:1.1.4                 1.1.4                   https://github.com/Ecwid/consul-api                         The Apache License, Version 2.0              http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.fasterxml.jackson.core:jackson-
ESP S3 Saver   annotations:2.6.3                                 2.6.3                   http://github.com/FasterXML/jackson                         The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP S3 Saver   com.fasterxml.jackson.core:jackson-core:2.6.6     2.6.6                   https://github.com/FasterXML/jackson-core                   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP S3 Saver   com.fasterxml.jackson.core:jackson-databind:2.6.6 2.6.6                   http://github.com/FasterXML/jackson                         The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.fasterxml.jackson.dataformat:jackson-
ESP S3 Saver   dataformat-cbor:2.6.6                             2.6.6                   http://wiki.fasterxml.com/JacksonForCbor                    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.fasterxml.jackson.datatype:jackson-datatype-
ESP S3 Saver   guava:2.6.3                                       2.6.3                   https://github.com/FasterXML/jackson-datatype-guava         The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No

ESP S3 Saver   com.fasterxml.jackson.jaxrs:jackson-jaxrs-base:2.6.3 2.6.3                http://wiki.fasterxml.com/JacksonHome/jackson-jaxrs-base    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.fasterxml.jackson.jaxrs:jackson-jaxrs-json-                           http://wiki.fasterxml.com/JacksonHome/jackson-jaxrs-json-
ESP S3 Saver   provider:2.6.3                                        2.6.3               provider                                                    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.fasterxml.jackson.module:jackson-module-jaxb-
ESP S3 Saver   annotations:2.6.3                                     2.6.3               http://wiki.fasterxml.com/JacksonJAXBAnnotations            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.github.jk1.dependency-license-
               report:com.github.jk1.dependency-license-
ESP S3 Saver   report.gradle.plugin:1.6                                            1.6                                                                                                                                                                                 No   No
ESP S3 Saver   com.google.code.findbugs:jsr305:1.3.9                 1.3.9             http://findbugs.sourceforge.net/                              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP S3 Saver   com.google.code.gson:gson:2.3                                       2.3 http://code.google.com/p/google-gson/                         The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP S3 Saver   com.google.gdata:core:1.47.1                          1.47.1            http://code.google.com/p/gdata-java-client/                   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP S3 Saver   com.google.guava:guava:18.0                                          18 https://guava-libraries.googlecode.com/                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP S3 Saver   com.google.http-client:google-http-client:1.11.0-beta 1.11.0-beta                                                                     The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.google.oauth-client:google-oauth-client:1.11.0-
ESP S3 Saver   beta                                                  1.11.0-beta                                                                     The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.google.oauth-client:google-oauth-client-
ESP S3 Saver   java6:1.11.0-beta                                     1.11.0-beta                                                                     The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.google.oauth-client:google-oauth-client-
ESP S3 Saver   jetty:1.11.0-beta                                     1.11.0-beta                                                                     The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP S3 Saver   com.google.protobuf:protobuf-java:2.6.1               2.6.1            https://developers.google.com/protocol-buffers/                The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP S3 Saver   com.googlecode.jmockit:jmockit:1.0                                   1 http://code.google.com/p/jmockit                               MIT LICENSE                                  http://www.opensource.org/licenses/mit-license.php                   No   No
ESP S3 Saver   com.jayway.jsonpath:json-path:2.2.0                   2.2.0            https://github.com/jayway/JsonPath                             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP S3 Saver   com.jcraft:jsch:0.1.50                                0.1.50           http://www.jcraft.com/jsch/                                    Revised BSD                                  http://www.jcraft.com/jsch/LICENSE.txt                               No   No
ESP S3 Saver   com.jidesoft:jide-oss:2.4.8                           2.4.8            https://jide-oss.dev.java.net                                  GPL with classpath exception                 http://www.gnu.org/licenses/gpl.txt                                  No   No
ESP S3 Saver   com.lowagie:itext:2.1.5                               2.1.5            http://www.lowagie.com/iText/                                  Mozilla Public License                       http://www.mozilla.org/MPL/MPL-1.1.html                              No   No
ESP S3 Saver   com.maxmind.geoip:geoip-api:1.2.10                    1.2.10           https://github.com/maxmind/geoip-api-java                      Lesser General Public License (LGPL) v 2.1   http://www.gnu.org/licenses/lgpl-2.1.txt                             No   No
                                                                                                                                                                                                  https://raw.githubusercontent.com/monitorjbl/json-
ESP S3 Saver   com.monitorjbl:json-view:0.10                                       0.1 https://github.com/monitorjbl/json-view                       GPLv3                                        view/master/LICENSE                                                  No   No
ESP S3 Saver   com.orbitz.consul:consul-client:0.9.14               0.9.14             https://github.com/OrbitzWorldwide/consul-client              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP S3 Saver   com.rabbitmq:amqp-client:3.6.1                       3.6.1              http://www.rabbitmq.com                                       MPL 1.1                                      http://www.mozilla.org/MPL/MPL-1.1.txt                               No   No
ESP S3 Saver   com.sizmek.peer39:peer39-buncher:1-1-3-6             1-1-3-6                                                                                                                                                                                            No   No
ESP S3 Saver   com.sizmek.peer39:peer39-orgcms:1-1-6-19             1-1-6-19                                                                                                                                                                                           No   No
ESP S3 Saver   com.sizmek.peer39:peer39-schema:1-1-14-97            1-1-14-97                                                                                                                                                                                          No   No
               com.sizmek.peer39.binext.core:peer39-binext-
ESP S3 Saver   infra:1.2.15                                         1.2.15                                                                                                                                                                                             No   No
ESP S3 Saver   com.sizmek.peer39.infra:peer39-commons:1.0.56        1.0.56                                                                                                                                                                                             No   No
ESP S3 Saver   com.timgroup:java-statsd-client:3.1.0                3.1.0                http://github.com/tim-group/java-statsd-client              The MIT License (MIT)                        http://opensource.org/licenses/MIT                                   No   No
                                                                        19-10971-dsj                                        Doc 210                           Filed 06/03/19 Entered 06/03/19 14:17:12                                                        Main Document
                                                                                                                                                                         Pg 234 of 325
ESP S3 Saver   commons-cli:commons-cli:1.2                                         1.2 http://commons.apache.org/cli/                                The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
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                                                                                       http://jakarta.apache.org/commons/${pom.artifactId.substrin
ESP S3 Saver   commons-net:commons-net:1.4.1                        1.4.1              g(8)}/                                                        The Apache Software License, Version 2.0     /LICENSE.txt                                                                No   No
                                                                                       http://jakarta.apache.org/commons/${pom.artifactId.substrin
ESP S3 Saver   commons-pool:commons-pool:1.3                                       1.3 g(8)}/                                                        The Apache Software License, Version 2.0     /LICENSE.txt                                                                No   No
ESP S3 Saver   dk.brics.automaton:automaton:1.11-8                  1.11-8             http://www.brics.dk/automaton/                                BSD                                          http://www.opensource.org/licenses/bsd-license.php                          No   No
ESP S3 Saver   dom4j:dom4j:1.6.1                                    1.6.1              http://dom4j.org                                                                                                                                                                       No   No
                                                                                                                                                     Common Development and Distribution
ESP S3 Saver   javax.activation:activation:1.1                                     1.1 http://java.sun.com/products/javabeans/jaf/index.jsp          License (CDDL) v1.0                         https://glassfish.dev.java.net/public/CDDLv1.0.html                          No   No
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ESP S3 Saver   javax.annotation:javax.annotation-api:1.2                           1.2 https://glassfish.java.net                                    1.0                                         https://opensource.org/licenses/CDDL-1.0                                     No   No
ESP S3 Saver   javax.inject:javax.inject:1                                           1 http://code.google.com/p/atinject/                            The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                  No   No
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                                                                                                                                                     http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                                     _1.html,
                                                                                                                                                     http://glassfish.java.net/public/CDDL+GPL_1
ESP S3 Saver   javax.ws.rs:javax.ws.rs-api:2.0.1                    2.0.1              http://www.oracle.com/                                        _1.html                                                                                                                  No   No
ESP S3 Saver   javax.xml:jaxrpc:1.1                                                1.1                                                                                                                                                                                        No   No
ESP S3 Saver   javax.xml:jaxrpc-api:1.1                                            1.1 http://java.sun.com/webservices/jaxrpc/index.jsp                                                                                                                                       No   No
ESP S3 Saver   javolution:javolution:5.5.1                          5.5.1              http://javolution.org                                         BSD License                                  http://javolution.org/LICENSE.txt                                           No   No
ESP S3 Saver   jgoodies:forms:1.0.5                                 1.0.5              http://www.jgoodies.com/freeware/forms/index.html                                                                                                                                      No   No
ESP S3 Saver   joda-time:joda-time:2.8.1                            2.8.1              http://www.joda.org/joda-time/                                Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                 No   No
ESP S3 Saver   junit:junit:4.11                                                   4.11 http://junit.org                                              Common Public License Version 1.0            http://www.opensource.org/licenses/cpl1.0.txt                               No   No
ESP S3 Saver   log4j:apache-log4j-extras:1.2.17                     1.2.17             http://logging.apache.org/log4j/extras/index.html             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP S3 Saver   log4j:log4j:1.2.17                                   1.2.17             http://logging.apache.org/log4j/1.2/                          The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP S3 Saver   net.jodah:lyra:0.5.2                                 0.5.2              http://github.com/jhalterman/lyra/                            Apache License, Version 2.0                  http://apache.org/licenses/LICENSE-2.0                                      No   No
ESP S3 Saver   net.logstash.log4j:jsonevent-layout:1.7                             1.7 http://logstash.net                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP S3 Saver   net.logstash.logback:logstash-logback-encoder:4.2                   4.2 https://github.com/logstash/logstash-logback-encoder          Apache License, Version 2.0                  http://www.apache.org/licenses/LICENSE-2.0                                  No   No
ESP S3 Saver   net.minidev:accessors-smart:1.1                                     1.1 http://www.minidev.net/                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP S3 Saver   net.minidev:json-smart:2.2.1                         2.2.1              http://www.minidev.net/                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP S3 Saver   net.sf.ehcache:ehcache-core:2.0.0                    2.0.0              http://ehcache.org                                            The Apache Software License, Version 2.0     /LICENSE.txt                                                                No   No
ESP S3 Saver   net.sf.squirrel-sql:fw:3.5.0                         3.5.0              http://www.squirrelsql.org/                                   GNU Lesser General Public License            http://www.gnu.org/licenses/old-licenses/lgpl-2.1.txt                       No   No
ESP S3 Saver   net.sf.squirrel-sql:squirrel-sql:3.5.0               3.5.0              http://www.squirrelsql.org/                                   GNU Lesser General Public License            http://www.gnu.org/licenses/old-licenses/lgpl-2.1.txt                       No   No
ESP S3 Saver   net.sf.squirrel-sql.plugins:netezza:3.5.0            3.5.0              http://www.squirrelsql.org/                                   GNU Lesser General Public License            http://www.gnu.org/licenses/old-licenses/lgpl-2.1.txt                       No   No
ESP S3 Saver   net.sf.trove4j:trove4j:3.0.3                         3.0.3              http://trove4j.sf.net                                         GNU Lesser General Public License 2.1        http://www.gnu.org/licenses/lgpl-2.1.txt                                    No   No
ESP S3 Saver   net.sourceforge.jexcelapi:jxl:2.6.10                 2.6.10             http://www.jexcelapi.org                                      GNU Lesser General Public License            http://www.opensource.org/licenses/lgpl-license.php                         No   No
ESP S3 Saver   net.sourceforge.jregex:jregex:1.2_01                 1.2_01             http://jregex.sourceforge.net/                                BSD                                          http://jregex.sourceforge.net/license.txt                                   No   No
ESP S3 Saver   org.antlr:stringtemplate:3.1-b1                      3.1-b1             http://www.stringtemplate.org                                 BSD licence                                  http://www.stringtemplate.org/license.html                                  No   No
ESP S3 Saver   org.apache.activemq:activemq-core:5.1.0              5.1.0              http://www.apache.org/                                        The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP S3 Saver   org.apache.ant:ant:1.7.0                             1.7.0                                                                            Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                 No   No
ESP S3 Saver   org.apache.ant:ant-launcher:1.7.0                    1.7.0                                                                                                                                                                                                     No   No
ESP S3 Saver   org.apache.axis:axis:1.4                                            1.4                                                                                                                                                                                        No   No
ESP S3 Saver   org.apache.camel:camel-core:1.3.0                    1.3.0              http://www.apache.org/                                        The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP S3 Saver   org.apache.commons:commons-lang3:3.3.2               3.3.2              http://commons.apache.org/proper/commons-lang/                The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP S3 Saver   org.apache.commons:commons-pool2:2.3                                2.3 http://commons.apache.org/proper/commons-pool/                The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
               org.apache.geronimo.specs:geronimo-j2ee-
ESP S3 Saver   management_1.0_spec:1.0                                               1                                                                                                                                                                                        No   No
               org.apache.geronimo.specs:geronimo-
ESP S3 Saver   jms_1.1_spec:1.1.1                                   1.1.1                http://www.apache.org                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
               org.apache.geronimo.specs:geronimo-
ESP S3 Saver   jta_1.1_spec:1.1.1                                   1.1.1                http://www.apache.org                                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP S3 Saver   org.apache.httpcomponents:httpclient:4.5.2           4.5.2                http://hc.apache.org/httpcomponents-client                  The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP S3 Saver   org.apache.httpcomponents:httpcore:4.4.4             4.4.4                http://hc.apache.org/httpcomponents-core-ga                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP S3 Saver   org.codehaus.groovy:groovy-all:2.1.6                 2.1.6                http://groovy.codehaus.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP S3 Saver   org.glassfish.hk2:hk2-api:2.4.0-b31                  2.4.0-b31            http://www.oracle.com                                       CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
ESP S3 Saver   org.glassfish.hk2:hk2-locator:2.4.0-b31              2.4.0-b31            http://www.oracle.com                                       CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
ESP S3 Saver   org.glassfish.hk2:hk2-utils:2.4.0-b31                2.4.0-b31            http://www.oracle.com                                       CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
ESP S3 Saver   org.glassfish.hk2:osgi-resource-locator:1.0.1        1.0.1                https://glassfish.dev.java.net                              CDDL + GPLv2 with classpath exception        https://glassfish.dev.java.net/nonav/public/CDDL+GPL.html                   No   No
               org.glassfish.hk2.external:aopalliance-
ESP S3 Saver   repackaged:2.4.0-b31                                 2.4.0-b31            http://www.oracle.com                                       CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
ESP S3 Saver   org.glassfish.hk2.external:javax.inject:2.4.0-b31    2.4.0-b31            http://www.oracle.com                                       CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
               org.glassfish.jersey.bundles.repackaged:jersey-
ESP S3 Saver   guava:2.22.1                                         2.22.1               http://www.oracle.com/                                      CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
ESP S3 Saver   org.glassfish.jersey.core:jersey-client:2.22.1       2.22.1               http://www.oracle.com/                                      CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
ESP S3 Saver   org.glassfish.jersey.core:jersey-common:2.22.1       2.22.1               http://www.oracle.com/                                      CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
ESP S3 Saver   org.hamcrest:hamcrest-core:1.3                                      1.3                                                               New BSD License                              http://www.opensource.org/licenses/bsd-license.php                          No   No
ESP S3 Saver   org.hibernate:hibernate-core:5.0.7.Final             5.0.7.Final          http://hibernate.org                                        GNU Lesser General Public License            http://www.gnu.org/licenses/lgpl-2.1.html                                   No   No
               org.hibernate.common:hibernate-commons-
ESP S3 Saver   annotations:5.0.1.Final                              5.0.1.Final          http://hibernate.org                                        GNU Lesser General Public License            http://www.gnu.org/licenses/lgpl-2.1.html                                   No   No
               org.hibernate.javax.persistence:hibernate-jpa-2.1-
ESP S3 Saver   api:1.0.0.Final                                      1.0.0.Final          http://hibernate.org                                        Eclipse Public License (EPL), Version 1.0    http://www.eclipse.org/legal/epl-v10.html                                   No   No
ESP S3 Saver   org.immutables:value:2.0.16                          2.0.16                                                                           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
                                                                                                                                                     http://www.mozilla.org/MPL/MPL-1.1.html,
                                                                                                                                                     http://www.gnu.org/licenses/lgpl-2.1.html,
ESP S3 Saver   org.javassist:javassist:3.18.1-GA                    3.18.1-GA            http://www.javassist.org/                                   http://www.apache.org/licenses/                                                                                          No   No
ESP S3 Saver   org.jboss:jandex:2.0.0.Final                         2.0.0.Final          http://www.jboss.org                                        Public Domain                                http://repository.jboss.org/licenses/cc0-1.0.txt                            No   No
ESP S3 Saver   org.jboss.logging:jboss-logging:3.3.0.Final          3.3.0.Final          http://www.jboss.org                                        Public Domain                                http://repository.jboss.org/licenses/cc0-1.0.txt                            No   No
ESP S3 Saver   org.jfree:jcommon:1.0.17                             1.0.17               http://www.jfree.org/jcommon/                               GNU Lesser General Public Licence            http://www.gnu.org/licenses/lgpl.txt                                        No   No
ESP S3 Saver   org.jfree:jfreechart:1.0.14                          1.0.14               http://www.jfree.org/jfreechart/                            GNU Lesser General Public Licence            http://www.gnu.org/licenses/lgpl.txt                                        No   No
ESP S3 Saver   org.ostermiller:utils:1.07.00                        1.07.00              http://ostermiller.org/utils/                               GNU General Public License, version 2        http://www.gnu.org/licenses/old-licenses/gpl-2.0.txt                        No   No
ESP S3 Saver   org.ow2.asm:asm:5.0.3                                5.0.3                http://asm.objectweb.org                                    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP S3 Saver   org.slf4j:slf4j-api:1.7.16                           1.7.16               http://www.slf4j.org                                        MIT License                                  http://www.opensource.org/licenses/mit-license.php                          No   No
ESP S3 Saver   org.slf4j:slf4j-log4j12:1.7.12                       1.7.12               http://www.slf4j.org                                        MIT License                                  http://www.opensource.org/licenses/mit-license.php                          No   No
ESP S3 Saver   oro:oro:2.0.8                                        2.0.8                                                                            Apache Software License, Version 1.1         https://www.apache.org/licenses/LICENSE-1.1                                 No   No
ESP S3 Saver   quartz:quartz:1.5.2                                  1.5.2                                                                                                                                                                                                     No   No
ESP S3 Saver   redis.clients:jedis:2.7.2                            2.7.2             https://github.com/xetorthio/jedis                             MIT                                          http://github.com/xetorthio/jedis/raw/master/LICENSE.txt                    No   No
ESP S3 Saver   xml-apis:xml-apis:1.3.04                             1.3.04            http://xml.apache.org/commons/components/external/             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP S3 Saver   xpp3:xpp3:1.1.4c                                     1.1.4c            http://www.extreme.indiana.edu/xgws/xsoap/xpp/mxp1/            Public Domain                                http://creativecommons.org/licenses/publicdomain                            No   No
ESP Splitter   antlr:antlr:2.7.7                                    2.7.7             http://www.antlr.org/                                          BSD License                                  http://www.antlr.org/license.html                                           No   No
ESP Splitter   aopalliance:aopalliance:1.0                                          1 http://aopalliance.sourceforge.net                             Public Domain                                                                                                            No   No
ESP Splitter   asm:asm:1.5.3                                        1.5.3             http://asm.objectweb.org/                                                                                                                                                               No   No
ESP Splitter   asm:asm-attrs:1.5.3                                  1.5.3             http://asm.objectweb.org/                                                                                                                                                               No   No
ESP Splitter   be.cyberelf.nanoxml:nanoxml:2.2.3                    2.2.3             http://nanoxml.cyberelf.be/                                    The zlib/libpng License                      http://www.opensource.org/licenses/zlib-license.html                        No   No
ESP Splitter   bouncycastle:bcmail-jdk14:138                                      138 http://www.bouncycastle.org/java.html                          Bouncy Castle License                        http://www.bouncycastle.org/licence.html                                    No   No
ESP Splitter   bouncycastle:bcprov-jdk14:138                                      138 http://www.bouncycastle.org/java.html                          Bouncy Castle License                        http://www.bouncycastle.org/licence.html                                    No   No
ESP Splitter   cglib:cglib:2.1_3                                    2.1_3             http://cglib.sourceforge.net/                                  Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                 No   No
ESP Splitter   com.amazonaws:aws-java-sdk:1.10.77                   1.10.77           https://aws.amazon.com/sdkforjava                              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                            No   No
ESP Splitter   com.amazonaws:aws-java-sdk-acm:1.10.77               1.10.77           https://aws.amazon.com/sdkforjava                              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                            No   No
ESP Splitter   com.amazonaws:aws-java-sdk-api-gateway:1.10.77       1.10.77           https://aws.amazon.com/sdkforjava                              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                            No   No
ESP Splitter   com.amazonaws:aws-java-sdk-autoscaling:1.10.77       1.10.77           https://aws.amazon.com/sdkforjava                              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                            No   No
               com.amazonaws:aws-java-sdk-
ESP Splitter   cloudformation:1.10.77                               1.10.77              https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                            No   No
ESP Splitter   com.amazonaws:aws-java-sdk-cloudfront:1.10.77        1.10.77              https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                            No   No
ESP Splitter   com.amazonaws:aws-java-sdk-cloudhsm:1.10.77          1.10.77              https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                            No   No
ESP Splitter   com.amazonaws:aws-java-sdk-cloudsearch:1.10.77       1.10.77              https://aws.amazon.com/sdkforjava                           Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                            No   No
                                                                         19-10971-dsj                                      Doc 210                Filed 06/03/19 Entered 06/03/19 14:17:12                                                 Main Document
                                                                                                                                                             Pg 235 of 325
ESP Splitter   com.amazonaws:aws-java-sdk-cloudtrail:1.10.77   1.10.77                    https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-cloudwatch:1.10.77 1.10.77                      https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP Splitter   cloudwatchmetrics:1.10.77                       1.10.77                    https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-codecommit:1.10.77 1.10.77                      https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-codedeploy:1.10.77 1.10.77                      https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-codepipeline:1.10.77 1.10.77                    https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP Splitter   cognitoidentity:1.10.77                         1.10.77                    https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-cognitoidp:1.10.77   1.10.77                    https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-cognitosync:1.10.77 1.10.77                     https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-config:1.10.77       1.10.77                    https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-core:1.11.78         1.11.78                    https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-datapipeline:1.10.77 1.10.77                    https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-devicefarm:1.10.77 1.10.77                      https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No

ESP Splitter   com.amazonaws:aws-java-sdk-directconnect:1.10.77 1.10.77                   https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-directory:1.10.77     1.10.77                   https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-dms:1.10.77           1.10.77                   https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-dynamodb:1.10.77      1.10.77                   https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-ec2:1.10.77           1.10.77                   https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-ecr:1.10.77           1.10.77                   https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-ecs:1.10.77           1.10.77                   https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-efs:1.10.77           1.10.77                   https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-elasticache:1.10.77 1.10.77                     https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP Splitter   elasticbeanstalk:1.10.77                         1.10.77                   https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP Splitter   elasticloadbalancing:1.10.77                     1.10.77                   https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No

ESP Splitter   com.amazonaws:aws-java-sdk-elasticsearch:1.10.77 1.10.77                   https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP Splitter   elastictranscoder:1.10.77                             1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-emr:1.10.77                1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-events:1.10.77             1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-gamelift:1.10.77           1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-glacier:1.10.77            1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-iam:1.10.77                1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-importexport:1.10.77 1.10.77                    https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-inspector:1.10.77          1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-iot:1.10.77                1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-kinesis:1.10.77            1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-kms:1.11.78                1.11.78              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-lambda:1.10.77             1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-logs:1.10.77               1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP Splitter   machinelearning:1.10.77                               1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP Splitter   marketplacecommerceanalytics:1.10.77                  1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP Splitter   marketplacemeteringservice:1.10.77                    1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-opsworks:1.10.77           1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-rds:1.10.77                1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-redshift:1.10.77           1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-route53:1.10.77            1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-s3:1.11.78                 1.11.78              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-ses:1.10.77                1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-simpledb:1.10.77           1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP Splitter   simpleworkflow:1.10.77                                1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-sns:1.10.77                1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-sqs:1.10.77                1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-ssm:1.10.77                1.10.77              https://aws.amazon.com/sdkforjava              Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
               com.amazonaws:aws-java-sdk-
ESP Splitter   storagegateway:1.10.77                                1.10.77            https://aws.amazon.com/sdkforjava                Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-sts:1.10.77                1.10.77            https://aws.amazon.com/sdkforjava                Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-support:1.10.77            1.10.77            https://aws.amazon.com/sdkforjava                Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-swf-libraries:1.10.77 1.10.77                 https://aws.amazon.com/sdkforjava                Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-waf:1.10.77                1.10.77            https://aws.amazon.com/sdkforjava                Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:aws-java-sdk-workspaces:1.10.77 1.10.77                    https://aws.amazon.com/sdkforjava                Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.amazonaws:jmespath-java:1.11.78                   1.11.78            https://aws.amazon.com/sdkforjava                Apache License, Version 2.0                  https://aws.amazon.com/apache2.0                                     No   No
ESP Splitter   com.beust:jcommander:1.58                                           1.58 http://jcommander.org                            Apache 2.0                                   http://www.apache.org/licenses/LICENSE-2.0                           No   No
ESP Splitter   com.clearspring.analytics:stream:2.7.0                2.7.0              https://github.com/addthis/stream-lib            Apache License, Version 2.0                  http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP Splitter   com.ecwid.consul:consul-api:1.1.4                     1.1.4              https://github.com/Ecwid/consul-api              The Apache License, Version 2.0              http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP Splitter   com.esotericsoftware:kryo-shaded:3.0.3                3.0.3                                                               New BSD License                              http://www.opensource.org/licenses/bsd-license.php                   No   No
ESP Splitter   com.esotericsoftware:minlog:1.3.0                     1.3.0                https://github.com/EsotericSoftware/minlog     New BSD License                              http://www.opensource.org/licenses/bsd-license.php                   No   No
               com.fasterxml.jackson.core:jackson-
ESP Splitter   annotations:2.6.5                                     2.6.5                http://github.com/FasterXML/jackson            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP Splitter   com.fasterxml.jackson.core:jackson-core:2.6.6         2.6.6                https://github.com/FasterXML/jackson-core      The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP Splitter   com.fasterxml.jackson.core:jackson-databind:2.6.6 2.6.6                    http://github.com/FasterXML/jackson            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.fasterxml.jackson.dataformat:jackson-
ESP Splitter   dataformat-cbor:2.6.6                                 2.6.6                http://wiki.fasterxml.com/JacksonForCbor       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.fasterxml.jackson.module:jackson-module-
ESP Splitter   paranamer:2.6.5                                       2.6.5                http://wiki.fasterxml.com/JacksonHome          The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.fasterxml.jackson.module:jackson-module-
ESP Splitter   scala_2.11:2.6.5                                      2.6.5                http://wiki.fasterxml.com/JacksonModuleScala   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP Splitter   com.github.jk1:gradle-license-report:1.6                             1.6                                                                                                                                                                    No   No
               com.github.jk1.dependency-license-
               report:com.github.jk1.dependency-license-
ESP Splitter   report.gradle.plugin:1.6                                             1.6                                                                                                                                                                    No   No
               com.github.stephenc.findbugs:findbugs-
ESP Splitter   annotations:1.3.9-1                                   1.3.9-1           http://stephenc.github.com/findbugs-annotations   Apache License, Version 2.0                  http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP Splitter   com.google.code.findbugs:jsr305:1.3.9                 1.3.9             http://findbugs.sourceforge.net/                  The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP Splitter   com.google.code.gson:gson:2.3.1                       2.3.1             http://code.google.com/p/google-gson/             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP Splitter   com.google.gdata:core:1.47.1                          1.47.1            http://code.google.com/p/gdata-java-client/       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP Splitter   com.google.guava:guava:19.0                                          19 https://guava-libraries.googlecode.com/           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP Splitter   com.google.http-client:google-http-client:1.11.0-beta 1.11.0-beta                                                         The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP Splitter   com.google.inject:guice:3.0                                            3 http://code.google.com/p/google-guice/           The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.google.oauth-client:google-oauth-client:1.11.0-
ESP Splitter   beta                                                  1.11.0-beta                                                         The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.google.oauth-client:google-oauth-client-
ESP Splitter   java6:1.11.0-beta                                     1.11.0-beta                                                         The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
               com.google.oauth-client:google-oauth-client-
ESP Splitter   jetty:1.11.0-beta                                     1.11.0-beta                                                         The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP Splitter   com.google.protobuf:protobuf-java:2.5.0               2.5.0              http://code.google.com/p/protobuf                The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP Splitter   com.googlecode.jmockit:jmockit:1.0                                     1 http://code.google.com/p/jmockit                 MIT LICENSE                                  http://www.opensource.org/licenses/mit-license.php                   No   No
ESP Splitter   com.jayway.jsonpath:json-path:2.2.0                   2.2.0              https://github.com/jayway/JsonPath               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
ESP Splitter   com.jcraft:jsch:0.1.50                                0.1.50             http://www.jcraft.com/jsch/                      Revised BSD                                  http://www.jcraft.com/jsch/LICENSE.txt                               No   No
ESP Splitter   com.jidesoft:jide-oss:2.4.8                           2.4.8              https://jide-oss.dev.java.net                    GPL with classpath exception                 http://www.gnu.org/licenses/gpl.txt                                  No   No
ESP Splitter   com.lowagie:itext:2.1.5                               2.1.5              http://www.lowagie.com/iText/                    Mozilla Public License                       http://www.mozilla.org/MPL/MPL-1.1.html                              No   No
ESP Splitter   com.maxmind.geoip:geoip-api:1.2.10                    1.2.10             https://github.com/maxmind/geoip-api-java        Lesser General Public License (LGPL) v 2.1   http://www.gnu.org/licenses/lgpl-2.1.txt                             No   No
                                                                                                                                                                                      https://raw.githubusercontent.com/monitorjbl/json-
ESP Splitter   com.monitorjbl:json-view:0.10                                        0.1 https://github.com/monitorjbl/json-view          GPLv3                                        view/master/LICENSE                                                  No   No
ESP Splitter   com.ning:compress-lzf:1.0.3                          1.0.3               http://github.com/ning/compress                  Apache License 2.0                           http://www.apache.org/licenses/LICENSE-2.0.html                      No   No
ESP Splitter   com.orbitz.consul:consul-client:0.12.8               0.12.8              http://maven.apache.org                          The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                       No   No
                                                                     19-10971-dsj                                         Doc 210                         Filed 06/03/19 Entered 06/03/19 14:17:12                                                             Main Document
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                                                                                                                                                http://www.apache.org/licenses/LICENSE-
                                                                                                                                                2.0.html, http://www.gnu.org/licenses/gpl-
                                                                                                                                                2.0.txt, http://www.mozilla.org/MPL/MPL-
ESP Splitter   com.rabbitmq:amqp-client:4.8.1                    4.8.1                 http://www.rabbitmq.com                                  1.1.txt                                                                                                                        No   No
ESP Splitter   com.ryantenney.log4j:redis-appender:1.0.1         1.0.1                 http://github.com/ryantenney/log4j-redis-appender/       Apache License 2.0                           http://www.apache.org/licenses/LICENSE-2.0.html                                   No   No
ESP Splitter   com.sizmek.dataplatform:applicationConfig:2.0.2   2.0.2                                                                                                                                                                                                         No   No
ESP Splitter   com.sizmek.peer39:peer39-buncher:1-1-3-6          1-1-3-6                                                                                                                                                                                                       No   No
ESP Splitter   com.sizmek.peer39:peer39-orgcms:1-1-6-19          1-1-6-19                                                                                                                                                                                                      No   No
ESP Splitter   com.sizmek.peer39:peer39-schema:1-1-14-97         1-1-14-97                                                                                                                                                                                                     No   No
               com.sizmek.peer39.binext.core:peer39-binext-
ESP Splitter   infra:2.1.54                                      2.1.54                                                                                                                                                                                                        No   No
               com.sizmek.peer39.binext.core:peer39-binext-
ESP Splitter   rabbit:2.1.54                                     2.1.54                                                                                                                                                                                                        No   No
ESP Splitter   com.sizmek.peer39.infra:peer39-commons:1.0.56     1.0.56                                                                                                                                                                                                        No   No
ESP Splitter   com.thoughtworks.paranamer:paranamer:2.7                          2.7                                                            BSD                                          LICENSE.txt                                                                       No   No
ESP Splitter   com.timgroup:java-statsd-client:3.1.0             3.1.0                 http://github.com/tim-group/java-statsd-client           The MIT License (MIT)                        http://opensource.org/licenses/MIT                                                No   No
ESP Splitter   com.twitter:chill-java:0.8.0                      0.8.0                 https://github.com/twitter/chill                         Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   com.twitter:chill_2.11:0.8.0                      0.8.0                 https://github.com/twitter/chill                         Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   com.univocity:univocity-parsers:2.2.1             2.2.1                 www.univocity.com                                        Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   commons-beanutils:commons-beanutils:1.7.0         1.7.0                                                                          Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                       No   No
ESP Splitter   commons-beanutils:commons-beanutils-core:1.8.0    1.8.0               http://commons.apache.org/beanutils/                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   commons-cli:commons-cli:1.2                                       1.2 http://commons.apache.org/cli/                             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   commons-codec:commons-codec:1.10                                  1.1 http://commons.apache.org/proper/commons-codec/            Apache License, Version 2.0                  http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   commons-collections:commons-collections:3.2.1     3.2.1               http://commons.apache.org/collections/                     The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   commons-configuration:commons-configuration:1.6                   1.6 http://commons.apache.org/configuration/                   The Apache Software License, Version 2.0     /LICENSE.txt                                                                      No   No
ESP Splitter   commons-digester:commons-digester:1.8                             1.8 http://jakarta.apache.org/commons/digester/                The Apache Software License, Version 2.0     /LICENSE.txt                                                                      No   No
ESP Splitter   commons-httpclient:commons-httpclient:3.1                         3.1 http://jakarta.apache.org/httpcomponents/httpclient-3.x/   Apache License                               http://www.apache.org/licenses/LICENSE-2.0                                        No   No
ESP Splitter   commons-io:commons-io:2.1                                         2.1 http://commons.apache.org/io/                              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   commons-lang:commons-lang:2.6                                     2.6 http://commons.apache.org/lang/                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   commons-logging:commons-logging:1.2                               1.2 http://commons.apache.org/proper/commons-logging/          The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   commons-logging:commons-logging-api:1.1                           1.1 http://jakarta.apache.org/commons/logging/                 The Apache Software License, Version 2.0     /LICENSE.txt                                                                      No   No
ESP Splitter   commons-net:commons-net:3.1                                       3.1 http://commons.apache.org/net/                             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   commons-pool:commons-pool:1.5.4                   1.5.4               http://commons.apache.org/pool/                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   dk.brics.automaton:automaton:1.11-8               1.11-8              http://www.brics.dk/automaton/                             BSD                                          http://www.opensource.org/licenses/bsd-license.php                                No   No
ESP Splitter   dom4j:dom4j:1.6.1                                 1.6.1               http://dom4j.org                                                                                                                                                                          No   No
ESP Splitter   io.dropwizard.metrics:metrics-core:3.1.2          3.1.2                                                                          Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                                    No   No
ESP Splitter   io.dropwizard.metrics:metrics-graphite:3.1.2      3.1.2                                                                          Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                                    No   No
ESP Splitter   io.dropwizard.metrics:metrics-json:3.1.2          3.1.2                                                                          Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                                    No   No
ESP Splitter   io.dropwizard.metrics:metrics-jvm:3.1.2           3.1.2                                                                          Apache License 2.0                          http://www.apache.org/licenses/LICENSE-2.0.html                                    No   No
ESP Splitter   io.netty:netty:3.8.0.Final                        3.8.0.Final           http://netty.io/                                         Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                                         No   No
ESP Splitter   io.netty:netty-all:4.0.42.Final                   4.0.42.Final                                                                   Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                                         No   No
ESP Splitter   it.unimi.dsi:fastutil:6.5.7                       6.5.7                 http://fasutil.di.unimi.it/                              Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0.html                                    No   No
                                                                                                                                                Common Development and Distribution
ESP Splitter   javax.activation:activation:1.1                                   1.1 http://java.sun.com/products/javabeans/jaf/index.jsp       License (CDDL) v1.0                         https://glassfish.dev.java.net/public/CDDLv1.0.html                                No   No
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ESP Splitter   javax.annotation:javax.annotation-api:1.2                         1.2 https://glassfish.java.net                                 1.0                                         https://opensource.org/licenses/CDDL-1.0                                           No   No
ESP Splitter   javax.inject:javax.inject:1                                         1 http://code.google.com/p/atinject/                         The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                        No   No
                                                                                                                                                Common Development and Distribution
ESP Splitter   javax.mail:mail:1.4                                               1.4 https://glassfish.dev.java.net/javaee5/mail/               License (CDDL) v1.0                         https://glassfish.dev.java.net/public/CDDLv1.0.html                                No   No
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ESP Splitter   javax.persistence:persistence-api:1.0                              1 http://www.jcp.org/en/jsr/detail?id=220                     License (CDDL) v1.0                         http://www.sun.com/cddl/cddl.html                                                  No   No
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ESP Splitter   javax.servlet:javax.servlet-api:3.1.0             3.1.0                 https://glassfish.dev.java.net                           1.0                                         https://opensource.org/licenses/CDDL-1.0                                           No   No
ESP Splitter   javax.validation:validation-api:1.1.0.Final       1.1.0.Final           http://beanvalidation.org                                The Apache Software License, Version 2.0 http://www.apache.org/licenses/LICENSE-2.0.txt                                        No   No
                                                                                                                                                http://glassfish.java.net/public/CDDL+GPL_1
                                                                                                                                                _1.html,
                                                                                                                                                http://glassfish.java.net/public/CDDL+GPL_1
ESP Splitter   javax.ws.rs:javax.ws.rs-api:2.0.1                 2.0.1               http://www.oracle.com/                                     _1.html                                                                                                                        No   No
ESP Splitter   javax.xml:jaxrpc:1.1                                              1.1                                                                                                                                                                                           No   No
ESP Splitter   javax.xml:jaxrpc-api:1.1                                          1.1 http://java.sun.com/webservices/jaxrpc/index.jsp                                                                                                                                          No   No
ESP Splitter   javolution:javolution:5.5.1                       5.5.1               http://javolution.org                                      BSD License                                  http://javolution.org/LICENSE.txt                                                 No   No
ESP Splitter   jgoodies:forms:1.0.5                              1.0.5               http://www.jgoodies.com/freeware/forms/index.html                                                                                                                                         No   No
ESP Splitter   jline:jline:0.9.94                                0.9.94              http://jline.sourceforge.net                               BSD                                          LICENSE.txt                                                                       No   No
ESP Splitter   joda-time:joda-time:2.8.1                         2.8.1               http://www.joda.org/joda-time/                             Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                       No   No
ESP Splitter   junit:junit:4.12                                                 4.12 http://junit.org                                           Eclipse Public License 1.0                   http://www.eclipse.org/legal/epl-v10.html                                         No   No
ESP Splitter   log4j:apache-log4j-extras:1.2.17                  1.2.17              http://logging.apache.org/log4j/extras/index.html          The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   log4j:log4j:1.2.17                                1.2.17              http://logging.apache.org/log4j/1.2/                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   net.java.dev.jets3t:jets3t:0.7.1                  0.7.1               http://jets3t.s3.amazonaws.com/index.html                  Apache License, Version 2.0                  http://www.apache.org/licenses/LICENSE-2.0                                        No   No
ESP Splitter   net.jpountz.lz4:lz4:1.3.0                         1.3.0               https://github.com/jpountz/lz4-java                        The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   net.logstash.log4j:jsonevent-layout:1.7                           1.7 http://logstash.net                                        The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   net.minidev:accessors-smart:1.1                                   1.1 http://www.minidev.net/                                    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   net.minidev:json-smart:2.2.1                      2.2.1               http://www.minidev.net/                                    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   net.razorvine:pyrolite:4.13                                      4.13 https://github.com/irmen/Pyrolite                          MIT License                                  https://raw.githubusercontent.com/irmen/Pyrolite/master/LICENSE                   No   No
ESP Splitter   net.sf.ehcache:ehcache-core:2.0.0                 2.0.0               http://ehcache.org                                         The Apache Software License, Version 2.0     /LICENSE.txt                                                                      No   No
ESP Splitter   net.sf.py4j:py4j:0.10.4                           0.10.4                                                                         The New BSD License                          http://www.opensource.org/licenses/bsd-license.html                               No   No
ESP Splitter   net.sf.squirrel-sql:fw:3.5.0                      3.5.0                 http://www.squirrelsql.org/                              GNU Lesser General Public License            http://www.gnu.org/licenses/old-licenses/lgpl-2.1.txt                             No   No
ESP Splitter   net.sf.squirrel-sql:squirrel-sql:3.5.0            3.5.0                 http://www.squirrelsql.org/                              GNU Lesser General Public License            http://www.gnu.org/licenses/old-licenses/lgpl-2.1.txt                             No   No
ESP Splitter   net.sf.squirrel-sql.plugins:netezza:3.5.0         3.5.0                 http://www.squirrelsql.org/                              GNU Lesser General Public License            http://www.gnu.org/licenses/old-licenses/lgpl-2.1.txt                             No   No
ESP Splitter   net.sf.trove4j:trove4j:3.0.3                      3.0.3                 http://trove4j.sf.net                                    GNU Lesser General Public License 2.1        http://www.gnu.org/licenses/lgpl-2.1.txt                                          No   No
ESP Splitter   net.sourceforge.jexcelapi:jxl:2.6.10              2.6.10                http://www.jexcelapi.org                                 GNU Lesser General Public License            http://www.opensource.org/licenses/lgpl-license.php                               No   No
ESP Splitter   net.sourceforge.jregex:jregex:1.2_01              1.2_01                http://jregex.sourceforge.net/                           BSD                                          http://jregex.sourceforge.net/license.txt                                         No   No
ESP Splitter   org.antlr:antlr4-runtime:4.5.3                    4.5.3                 http://www.antlr.org                                     The BSD License                              http://www.antlr.org/license.html                                                 No   No
ESP Splitter   org.antlr:stringtemplate:3.1-b1                   3.1-b1                http://www.stringtemplate.org                            BSD licence                                  http://www.stringtemplate.org/license.html                                        No   No
ESP Splitter   org.apache.activemq:activemq-core:5.1.0           5.1.0                 http://www.apache.org/                                   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.ant:ant:1.7.0                          1.7.0                                                                          Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                       No   No
ESP Splitter   org.apache.ant:ant-launcher:1.7.0                 1.7.0                                                                                                                                                                                                         No   No
ESP Splitter   org.apache.avro:avro:1.8.0                        1.8.0                 http://www.apache.org/                                   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.avro:avro-ipc:1.7.7                    1.7.7                 http://www.apache.org/                                   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.avro:avro-mapred:1.7.7                 1.7.7                                                                          The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.axis:axis:1.4                                          1.4                                                                                                                                                                                           No   No
ESP Splitter   org.apache.camel:camel-core:1.3.0                 1.3.0               http://www.apache.org/                                     The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.commons:commons-compress:1.8.1         1.8.1               http://commons.apache.org/proper/commons-compress/         The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.commons:commons-crypto:1.0.0           1.0.0               http://commons.apache.org/proper/commons-crypto/           Apache License, Version 2.0                  http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.commons:commons-lang3:3.5                              3.5 http://commons.apache.org/proper/commons-lang/             Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0.txt                                   No   No
ESP Splitter   org.apache.commons:commons-math:2.1                               2.1 http://commons.apache.org/math/                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.commons:commons-math3:3.4.1            3.4.1               http://commons.apache.org/proper/commons-math/             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.commons:commons-pool2:2.4.2            2.4.2               http://commons.apache.org/proper/commons-pool/             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.curator:curator-client:2.4.0           2.4.0               http://www.apache.org/                                     The Apache Software License, Version 2.0     file://${basedir}/LICENSE                                                         No   No
ESP Splitter   org.apache.curator:curator-framework:2.4.0        2.4.0               http://www.apache.org/                                     The Apache Software License, Version 2.0     file://${basedir}/LICENSE                                                         No   No
ESP Splitter   org.apache.curator:curator-recipes:2.4.0          2.4.0               http://www.apache.org/                                     The Apache Software License, Version 2.0     file://${basedir}/LICENSE                                                         No   No
               org.apache.geronimo.specs:geronimo-j2ee-
ESP Splitter   management_1.0_spec:1.0                                            1                                                                                                                                                                                            No   No
               org.apache.geronimo.specs:geronimo-
ESP Splitter   jms_1.1_spec:1.1.1                                1.1.1                 http://www.apache.org                                    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
               org.apache.geronimo.specs:geronimo-
ESP Splitter   jta_1.1_spec:1.1.1                                1.1.1                 http://www.apache.org                                    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.hadoop:hadoop-annotations:2.2.0        2.2.0                                                                          The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.hadoop:hadoop-auth:2.2.0               2.2.0                                                                          The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.hadoop:hadoop-client:2.2.0             2.2.0                                                                          The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.hadoop:hadoop-common:2.2.0             2.2.0                                                                          The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
ESP Splitter   org.apache.hadoop:hadoop-hdfs:2.2.0               2.2.0                                                                          The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
               org.apache.hadoop:hadoop-mapreduce-client-
ESP Splitter   app:2.2.0                                         2.2.0                                                                          The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                                    No   No
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               org.apache.hadoop:hadoop-mapreduce-client-
ESP Splitter   common:2.2.0                                          2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
               org.apache.hadoop:hadoop-mapreduce-client-
ESP Splitter   core:2.2.0                                            2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
               org.apache.hadoop:hadoop-mapreduce-client-
ESP Splitter   jobclient:2.2.0                                       2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
               org.apache.hadoop:hadoop-mapreduce-client-
ESP Splitter   shuffle:2.2.0                                         2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.hadoop:hadoop-yarn-api:2.2.0               2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.hadoop:hadoop-yarn-client:2.2.0            2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.hadoop:hadoop-yarn-common:2.2.0            2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
               org.apache.hadoop:hadoop-yarn-server-
ESP Splitter   common:2.2.0                                          2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
               org.apache.hadoop:hadoop-yarn-server-
ESP Splitter   nodemanager:2.2.0                                     2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.hbase:hbase:1.3.1                          1.3.1                                                                                                                                                                                                     No   No
ESP Splitter   org.apache.httpcomponents:httpclient:4.5.2            4.5.2                     http://hc.apache.org/httpcomponents-client             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.httpcomponents:httpcore:4.4.4              4.4.4                     http://hc.apache.org/httpcomponents-core-ga            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.ivy:ivy:2.4.0                              2.4.0                     http://ant.apache.org/ivy/                             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.kafka:kafka-clients:1.0.0                  1.0.0                     http://kafka.apache.org                                The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.parquet:parquet-avro:1.9.0                 1.9.0                     https://parquet.apache.org                             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.parquet:parquet-column:1.9.0               1.9.0                     https://parquet.apache.org                             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.parquet:parquet-common:1.9.0               1.9.0                     https://parquet.apache.org                             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.parquet:parquet-encoding:1.9.0             1.9.0                     https://parquet.apache.org                             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.parquet:parquet-format:2.3.1               2.3.1                     http://parquet.apache.org/                             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.parquet:parquet-hadoop:1.9.0               1.9.0                     https://parquet.apache.org                             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.parquet:parquet-jackson:1.9.0              1.9.0                     https://parquet.apache.org                             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.spark:spark-catalyst_2.11:2.1.0            2.1.0                     http://spark.apache.org/                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.spark:spark-core_2.11:2.1.0                2.1.0                     http://spark.apache.org/                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.spark:spark-launcher_2.11:2.1.0            2.1.0                     http://spark.apache.org/                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No

ESP Splitter   org.apache.spark:spark-network-common_2.11:2.1.0 2.1.0                        http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.spark:spark-network-shuffle_2.11:2.1.0 2.1.0                       http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.spark:spark-sketch_2.11:2.1.0          2.1.0                       http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.spark:spark-sql_2.11:2.1.0             2.1.0                       http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.spark:spark-tags_2.11:2.1.0            2.1.0                       http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.spark:spark-unsafe_2.11:2.1.0          2.1.0                       http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
                                                                                             http://geronimo.apache.org/maven/xbean/4.4/xbean-asm5-
ESP Splitter   org.apache.xbean:xbean-asm5-shaded:4.4                                    4.4 shaded                                                   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.apache.zookeeper:zookeeper:3.4.5                  3.4.5                                                                                                                                                                                                     No   No
ESP Splitter   org.codehaus.jackson:jackson-core-asl:1.9.13          1.9.13                    http://jackson.codehaus.org                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.codehaus.jackson:jackson-mapper-asl:1.9.13        1.9.13                    http://jackson.codehaus.org                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.codehaus.janino:commons-compiler:3.0.0            3.0.0                                                                            New BSD License                              http://dist.codehaus.org/janino/new_bsd_license.txt                         No   No
ESP Splitter   org.codehaus.janino:janino:3.0.0                      3.0.0                                                                            New BSD License                              http://dist.codehaus.org/janino/new_bsd_license.txt                         No   No
ESP Splitter   org.fusesource.leveldbjni:leveldbjni-all:1.8                              1.8 http://fusesource.com/                                   The BSD 3-Clause License                     http://www.opensource.org/licenses/BSD-3-Clause                             No   No
ESP Splitter   org.glassfish.hk2:hk2-api:2.4.0-b34                   2.4.0-b34               http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
ESP Splitter   org.glassfish.hk2:hk2-locator:2.4.0-b34               2.4.0-b34               http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
ESP Splitter   org.glassfish.hk2:hk2-utils:2.4.0-b34                 2.4.0-b34               http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
ESP Splitter   org.glassfish.hk2:osgi-resource-locator:1.0.1         1.0.1                   https://glassfish.dev.java.net                           CDDL + GPLv2 with classpath exception        https://glassfish.dev.java.net/nonav/public/CDDL+GPL.html                   No   No
               org.glassfish.hk2.external:aopalliance-
ESP Splitter   repackaged:2.4.0-b34                                  2.4.0-b34                 http://www.oracle.com                                  CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
ESP Splitter   org.glassfish.hk2.external:javax.inject:2.4.0-b34     2.4.0-b34                 http://www.oracle.com                                  CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
               org.glassfish.jersey.bundles.repackaged:jersey-
ESP Splitter   guava:2.22.2                                          2.22.2                    http://www.oracle.com/                                 CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
               org.glassfish.jersey.containers:jersey-container-
ESP Splitter   servlet:2.22.2                                        2.22.2                    http://www.oracle.com/                                 CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
               org.glassfish.jersey.containers:jersey-container-
ESP Splitter   servlet-core:2.22.2                                   2.22.2                    http://www.oracle.com/                                 CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
ESP Splitter   org.glassfish.jersey.core:jersey-client:2.22.2        2.22.2                    http://www.oracle.com/                                 CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
ESP Splitter   org.glassfish.jersey.core:jersey-common:2.22.2        2.22.2                    http://www.oracle.com/                                 CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
ESP Splitter   org.glassfish.jersey.core:jersey-server:2.22.2        2.22.2                    http://www.oracle.com/                                 CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
ESP Splitter   org.glassfish.jersey.media:jersey-media-jaxb:2.22.2   2.22.2                    http://www.oracle.com/                                 CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
ESP Splitter   org.hamcrest:hamcrest-core:1.3                                            1.3                                                          New BSD License                              http://www.opensource.org/licenses/bsd-license.php                          No   No
ESP Splitter   org.hibernate:hibernate-core:5.0.7.Final              5.0.7.Final               http://hibernate.org                                   GNU Lesser General Public License            http://www.gnu.org/licenses/lgpl-2.1.html                                   No   No
               org.hibernate.common:hibernate-commons-
ESP Splitter   annotations:5.0.1.Final                               5.0.1.Final               http://hibernate.org                                   GNU Lesser General Public License            http://www.gnu.org/licenses/lgpl-2.1.html                                   No   No
               org.hibernate.javax.persistence:hibernate-jpa-2.1-
ESP Splitter   api:1.0.0.Final                                       1.0.0.Final               http://hibernate.org                                   Eclipse Public License (EPL), Version 1.0    http://www.eclipse.org/legal/epl-v10.html                                   No   No
                                                                                                                                                      http://www.mozilla.org/MPL/MPL-1.1.html,
                                                                                                                                                      http://www.gnu.org/licenses/lgpl-2.1.html,
ESP Splitter   org.javassist:javassist:3.18.1-GA                     3.18.1-GA               http://www.javassist.org/                                http://www.apache.org/licenses/                                                                                          No   No
ESP Splitter   org.jboss:jandex:2.0.0.Final                          2.0.0.Final             http://www.jboss.org                                     Public Domain                                http://repository.jboss.org/licenses/cc0-1.0.txt                            No   No
ESP Splitter   org.jboss.logging:jboss-logging:3.3.0.Final           3.3.0.Final             http://www.jboss.org                                     Public Domain                                http://repository.jboss.org/licenses/cc0-1.0.txt                            No   No
ESP Splitter   org.jfree:jcommon:1.0.17                              1.0.17                  http://www.jfree.org/jcommon/                            GNU Lesser General Public Licence            http://www.gnu.org/licenses/lgpl.txt                                        No   No
ESP Splitter   org.jfree:jfreechart:1.0.14                           1.0.14                  http://www.jfree.org/jfreechart/                         GNU Lesser General Public Licence            http://www.gnu.org/licenses/lgpl.txt                                        No   No
ESP Splitter   org.json4s:json4s-ast_2.11:3.2.11                     3.2.11                  https://github.com/json4s/json4s                         ASL                                          http://github.com/json4s/json4s/raw/HEAD/LICENSE                            No   No
ESP Splitter   org.json4s:json4s-core_2.11:3.2.11                    3.2.11                  https://github.com/json4s/json4s                         ASL                                          http://github.com/json4s/json4s/raw/HEAD/LICENSE                            No   No
ESP Splitter   org.json4s:json4s-jackson_2.11:3.2.11                 3.2.11                  https://github.com/json4s/json4s                         ASL                                          http://github.com/json4s/json4s/raw/HEAD/LICENSE                            No   No
ESP Splitter   org.lz4:lz4-java:1.4                                                      1.4 https://github.com/lz4/lz4-java                          The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
                                                                                                                                                      http://www.apache.org/licenses/LICENSE-
                                                                                                                                                      2.0,
                                                                                                                                                      http://www.eclipse.org/org/documents/epl-
ESP Splitter   org.mortbay.jetty:jetty-util:6.1.26                   6.1.26                  http://jetty.mortbay.org                                 v10.php                                                                                                                  No   No
ESP Splitter   org.objenesis:objenesis:2.1                                               2.1 http://objenesis.org                                     Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                 No   No
ESP Splitter   org.ostermiller:utils:1.07.00                         1.07.00                 http://ostermiller.org/utils/                            GNU General Public License, version 2        http://www.gnu.org/licenses/old-licenses/gpl-2.0.txt                        No   No
ESP Splitter   org.ow2.asm:asm:5.0.3                                 5.0.3                   http://asm.objectweb.org                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.roaringbitmap:RoaringBitmap:0.5.11                0.5.11                  https://github.com/lemire/RoaringBitmap                  Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.scala-lang:scala-compiler:2.11.0                  2.11.0                  http://www.scala-lang.org/                               BSD 3-Clause                                 http://www.scala-lang.org/license.html                                      No   No
ESP Splitter   org.scala-lang:scala-library:2.11.8                   2.11.8                  http://www.scala-lang.org/                               BSD 3-Clause                                 http://www.scala-lang.org/license.html                                      No   No
ESP Splitter   org.scala-lang:scala-reflect:2.11.8                   2.11.8                  http://www.scala-lang.org/                               BSD 3-Clause                                 http://www.scala-lang.org/license.html                                      No   No
ESP Splitter   org.scala-lang:scalap:2.11.0                          2.11.0                  http://www.scala-lang.org/                               BSD 3-Clause                                 http://www.scala-lang.org/license.html                                      No   No
               org.scala-lang.modules:scala-parser-
ESP Splitter   combinators_2.11:1.0.1                                1.0.1                     http://www.scala-lang.org/                             BSD 3-clause                                 http://opensource.org/licenses/BSD-3-Clause                                 No   No
ESP Splitter   org.scala-lang.modules:scala-xml_2.11:1.0.2           1.0.2                     http://www.scala-lang.org/                             BSD 3-clause                                 http://opensource.org/licenses/BSD-3-Clause                                 No   No
ESP Splitter   org.scalatest:scalatest_2.11:2.2.6                    2.2.6                     http://www.scalatest.org/                              the Apache License, ASL Version 2.0          http://www.apache.org/licenses/LICENSE-2.0                                  No   No
ESP Splitter   org.slf4j:jcl-over-slf4j:1.7.16                       1.7.16                    http://www.slf4j.org                                   MIT License                                  http://www.opensource.org/licenses/mit-license.php                          No   No
ESP Splitter   org.slf4j:jul-to-slf4j:1.7.16                         1.7.16                    http://www.slf4j.org                                   MIT License                                  http://www.opensource.org/licenses/mit-license.php                          No   No
ESP Splitter   org.slf4j:slf4j-api:1.7.25                            1.7.25                    http://www.slf4j.org                                   MIT License                                  http://www.opensource.org/licenses/mit-license.php                          No   No
ESP Splitter   org.slf4j:slf4j-log4j12:1.7.25                        1.7.25                    http://www.slf4j.org                                   MIT License                                  http://www.opensource.org/licenses/mit-license.php                          No   No
ESP Splitter   org.sonatype.sisu.inject:cglib:2.2.1-v20090111        2.2.1-v20090111           http://sourceforge.net/projects/cglib/                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.spark-project.spark:unused:1.0.0                  1.0.0                                                                            The Apache License, Version 2.0              http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   org.tukaani:xz:1.5                                                        1.5 http://tukaani.org/xz/java.html                          Public Domain                                                                                                            No   No
ESP Splitter   org.xerial.snappy:snappy-java:1.1.4                   1.1.4                   https://github.com/xerial/snappy-java                    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   oro:oro:2.0.8                                         2.0.8                                                                            Apache Software License, Version 1.1         https://www.apache.org/licenses/LICENSE-1.1                                 No   No
               postgresql:postgresql:9.4.1208-jdbc42-atlassian-      9.4.1208-jdbc42-
ESP Splitter   hosted                                                atlassian-hosted          http://jdbc.postgresql.org/                                                                         http://www.postgresql.org/about/licence/                                    No   No
ESP Splitter   quartz:quartz:1.5.2                                   1.5.2                                                                                                                                                                                                     No   No
ESP Splitter   redis.clients:jedis:2.9.0                             2.9.0                   https://github.com/xetorthio/jedis                       MIT                                          http://github.com/xetorthio/jedis/raw/master/LICENSE.txt                    No   No
ESP Splitter   software.amazon.ion:ion-java:1.0.1                    1.0.1                   https://github.com/amznlabs/ion-java/                    The Apache License, Version 2.0              http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   xml-apis:xml-apis:1.3.04                              1.3.04                  http://xml.apache.org/commons/components/external/       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP Splitter   xmlenc:xmlenc:0.52                                                       0.52 http://xmlenc.sourceforge.net                            The BSD License                              http://www.opensource.org/licenses/bsd-license.php                          No   No
ESP Splitter   xpp3:xpp3:1.1.4c                                      1.1.4c                  http://www.extreme.indiana.edu/xgws/xsoap/xpp/mxp1/      Public Domain                                http://creativecommons.org/licenses/publicdomain                            No   No
ESP AdESP      antlr:antlr:2.7.7                                     2.7.7                   http://www.antlr.org/                                    BSD License                                  http://www.antlr.org/license.html                                           No   No
ESP AdESP      aopalliance:aopalliance:1.0                                                 1 http://aopalliance.sourceforge.net                       Public Domain                                                                                                            No   No
ESP AdESP      args4j:args4j:2.33                                                       2.33 http://www.kohsuke.org/                                  MIT license                                  http://www.opensource.org/licenses/mit-license.php                          No   No
ESP AdESP      asm:asm:1.5.3                                         1.5.3                   http://asm.objectweb.org/                                                                                                                                                         No   No
                                                                      19-10971-dsj                                 Doc 210                      Filed 06/03/19 Entered 06/03/19 14:17:12                                                 Main Document
                                                                                                                                                           Pg 238 of 325
ESP AdESP   asm:asm-attrs:1.5.3                                  1.5.3           http://asm.objectweb.org/                                                                                                                                               No   No
                                                                                 http://www.mathcs.emory.edu/dcl/util/backport-util-
ESP AdESP   backport-util-concurrent:backport-util-concurrent:2.1            2.1 concurrent/                                           Public Domain                              http://creativecommons.org/licenses/publicdomain                       No   No
ESP AdESP   be.cyberelf.nanoxml:nanoxml:2.2.3                     2.2.3          http://nanoxml.cyberelf.be/                           The zlib/libpng License                    http://www.opensource.org/licenses/zlib-license.html                   No   No
ESP AdESP   bouncycastle:bcmail-jdk14:138                                   138 http://www.bouncycastle.org/java.html                  Bouncy Castle License                      http://www.bouncycastle.org/licence.html                               No   No
ESP AdESP   bouncycastle:bcprov-jdk14:138                                   138 http://www.bouncycastle.org/java.html                  Bouncy Castle License                      http://www.bouncycastle.org/licence.html                               No   No
ESP AdESP   cglib:cglib:2.1_3                                     2.1_3          http://cglib.sourceforge.net/                         Apache License, Version 2.0                https://www.apache.org/licenses/LICENSE-2.0                            No   No
ESP AdESP   com.amazonaws:amazon-kinesis-client:1.6.1             1.6.1          https://aws.amazon.com/kinesis                        Amazon Software License                    https://aws.amazon.com/asl                                             No   No
ESP AdESP   com.amazonaws:aws-java-sdk:1.10.77                    1.10.77        https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-acm:1.10.77                1.10.77        https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-api-gateway:1.10.77 1.10.77               https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-autoscaling:1.10.77 1.10.77               https://aws.amazon.com/sdkforjava                     Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
            com.amazonaws:aws-java-sdk-
ESP AdESP   cloudformation:1.10.77                                1.10.77       https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-cloudfront:1.10.77         1.10.77       https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-cloudhsm:1.10.77           1.10.77       https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-cloudsearch:1.10.77 1.10.77              https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-cloudtrail:1.10.77         1.10.77       https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-cloudwatch:1.10.20 1.10.20               https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-cloudwatch:1.10.77 1.10.77               https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
            com.amazonaws:aws-java-sdk-
ESP AdESP   cloudwatchmetrics:1.10.77                             1.10.77       https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-codecommit:1.10.77 1.10.77               https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-codedeploy:1.10.77 1.10.77               https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-codepipeline:1.10.77 1.10.77             https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
            com.amazonaws:aws-java-sdk-
ESP AdESP   cognitoidentity:1.10.77                               1.10.77       https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-cognitoidp:1.10.77         1.10.77       https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-cognitosync:1.10.77 1.10.77              https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-config:1.10.77             1.10.77       https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-core:1.10.20               1.10.20       https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-core:1.10.77               1.10.77       https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-datapipeline:1.10.77 1.10.77             https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-devicefarm:1.10.77 1.10.77               https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No

ESP AdESP   com.amazonaws:aws-java-sdk-directconnect:1.10.77 1.10.77            https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-directory:1.10.77     1.10.77            https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-dms:1.10.77           1.10.77            https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-dynamodb:1.10.20      1.10.20            https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-dynamodb:1.10.77      1.10.77            https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-ec2:1.10.77           1.10.77            https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-ecr:1.10.77           1.10.77            https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-ecs:1.10.77           1.10.77            https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-efs:1.10.77           1.10.77            https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-elasticache:1.10.77 1.10.77              https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
            com.amazonaws:aws-java-sdk-
ESP AdESP   elasticbeanstalk:1.10.77                         1.10.77            https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
            com.amazonaws:aws-java-sdk-
ESP AdESP   elasticloadbalancing:1.10.77                     1.10.77            https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No

ESP AdESP   com.amazonaws:aws-java-sdk-elasticsearch:1.10.77 1.10.77            https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
            com.amazonaws:aws-java-sdk-
ESP AdESP   elastictranscoder:1.10.77                         1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-emr:1.10.77            1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-events:1.10.77         1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-gamelift:1.10.77       1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-glacier:1.10.77        1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-iam:1.10.77            1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-importexport:1.10.77 1.10.77             https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-inspector:1.10.77      1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-iot:1.10.77            1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-kinesis:1.10.20        1.10.20           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-kinesis:1.10.77        1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-kms:1.10.20            1.10.20           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-kms:1.10.77            1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-lambda:1.10.77         1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-logs:1.10.77           1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
            com.amazonaws:aws-java-sdk-
ESP AdESP   machinelearning:1.10.77                           1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
            com.amazonaws:aws-java-sdk-
ESP AdESP   marketplacecommerceanalytics:1.10.77              1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
            com.amazonaws:aws-java-sdk-
ESP AdESP   marketplacemeteringservice:1.10.77                1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-opsworks:1.10.77       1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-rds:1.10.77            1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-redshift:1.10.77       1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-route53:1.10.77        1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-s3:1.10.20             1.10.20           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-s3:1.10.77             1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-ses:1.10.77            1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-simpledb:1.10.77       1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
            com.amazonaws:aws-java-sdk-
ESP AdESP   simpleworkflow:1.10.77                            1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-sns:1.10.77            1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-sqs:1.10.77            1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-ssm:1.10.77            1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
            com.amazonaws:aws-java-sdk-
ESP AdESP   storagegateway:1.10.77                            1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-sts:1.10.77            1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-support:1.10.77        1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-swf-libraries:1.10.77 1.10.77            https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-waf:1.10.77            1.10.77           https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.amazonaws:aws-java-sdk-workspaces:1.10.77 1.10.77               https://aws.amazon.com/sdkforjava                      Apache License, Version 2.0                https://aws.amazon.com/apache2.0                                       No   No
ESP AdESP   com.clearspring.analytics:stream:2.7.0            2.7.0             https://github.com/addthis/stream-lib                  Apache License, Version 2.0                http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
ESP AdESP   com.couchbase.client:core-io:1.3.3                1.3.3             http://couchbase.com                                   The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
ESP AdESP   com.couchbase.client:core-io:1.5.2                1.5.2             http://couchbase.com                                   The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
ESP AdESP   com.couchbase.client:dcp-client:0.12.0            0.12.0            http://couchbase.com                                   The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
ESP AdESP   com.couchbase.client:java-client:2.3.3            2.3.3             http://couchbase.com                                   The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
ESP AdESP   com.couchbase.client:java-client:2.5.2            2.5.2             http://couchbase.com                                   The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
ESP AdESP   com.databricks:spark-csv_2.11:1.4.0               1.4.0             https://github.com/databricks/spark-csv                Apache License, Version 2.0                http://www.apache.org/licenses/LICENSE-2.0.html                        No   No
ESP AdESP   com.ecwid.consul:consul-api:1.1.4                 1.1.4             https://github.com/Ecwid/consul-api                    The Apache License, Version 2.0            http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
ESP AdESP   com.esotericsoftware:kryo-shaded:3.0.3            3.0.3                                                                    New BSD License                            http://www.opensource.org/licenses/bsd-license.php                     No   No
ESP AdESP   com.esotericsoftware:minlog:1.3.0                 1.3.0             https://github.com/EsotericSoftware/minlog             New BSD License                            http://www.opensource.org/licenses/bsd-license.php                     No   No
ESP AdESP   com.fasterxml:classmate:1.2.0                     1.2.0             http://github.com/cowtowncoder/java-classmate          The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
            com.fasterxml.jackson.core:jackson-
ESP AdESP   annotations:2.5.0                                 2.5.0             http://github.com/FasterXML/jackson                    The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
            com.fasterxml.jackson.core:jackson-
ESP AdESP   annotations:2.6.5                                 2.6.5             http://github.com/FasterXML/jackson                    The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
ESP AdESP   com.fasterxml.jackson.core:jackson-core:2.5.3     2.5.3             https://github.com/FasterXML/jackson                   The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
ESP AdESP   com.fasterxml.jackson.core:jackson-core:2.6.5     2.6.5             https://github.com/FasterXML/jackson-core              The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
ESP AdESP   com.fasterxml.jackson.core:jackson-databind:2.5.3 2.5.3             http://github.com/FasterXML/jackson                    The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
ESP AdESP   com.fasterxml.jackson.core:jackson-databind:2.6.5 2.6.5             http://github.com/FasterXML/jackson                    The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
            com.fasterxml.jackson.dataformat:jackson-
ESP AdESP   dataformat-cbor:2.5.3                             2.5.3             http://wiki.fasterxml.com/JacksonForCbor               The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
            com.fasterxml.jackson.dataformat:jackson-
ESP AdESP   dataformat-csv:2.5.3                              2.5.3             https://github.com/FasterXML/jackson-dataformat-csv    The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                         No   No
                                                                    19-10971-dsj                                            Doc 210                           Filed 06/03/19 Entered 06/03/19 14:17:12                                                        Main Document
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ESP AdESP   com.fasterxml.jackson.jaxrs:jackson-jaxrs-base:2.4.4 2.4.4                   http://wiki.fasterxml.com/JacksonHome/jackson-jaxrs-base    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            com.fasterxml.jackson.jaxrs:jackson-jaxrs-json-                              http://wiki.fasterxml.com/JacksonHome/jackson-jaxrs-json-
ESP AdESP   provider:2.4.4                                        2.4.4                  provider                                                    The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            com.fasterxml.jackson.module:jackson-module-jaxb-
ESP AdESP   annotations:2.4.4                                     2.4.4                  http://wiki.fasterxml.com/JacksonJAXBAnnotations            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            com.fasterxml.jackson.module:jackson-module-
ESP AdESP   paranamer:2.6.5                                       2.6.5                  http://wiki.fasterxml.com/JacksonHome                       The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            com.fasterxml.jackson.module:jackson-module-
ESP AdESP   scala_2.11:2.6.5                                      2.6.5                  http://wiki.fasterxml.com/JacksonModuleScala                The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.github.ben-manes.caffeine:caffeine:2.7.0          2.7.0                  https://github.com/ben-manes/caffeine                       Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   com.github.fommil.netlib:core:1.1.2                   1.1.2                                                                              BSD 3 Clause                                 http://opensource.org/licenses/BSD-3-Clause                                 No   No
ESP AdESP   com.github.rwl:jtransforms:2.4.0                      2.4.0                http://sourceforge.net/projects/jtransforms/                  MPL                                          http://www.mozilla.org/MPL/2.0/index.txt                                    No   No
ESP AdESP   com.goldmansachs:gs-collections:5.1.0                 5.1.0                https://github.com/goldmansachs/gs-collections                The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.goldmansachs:gs-collections-api:5.1.0             5.1.0                https://github.com/goldmansachs/gs-collections                The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.google.code.findbugs:jsr305:1.3.9                 1.3.9                http://findbugs.sourceforge.net/                              The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.google.code.gson:gson:2.3                                          2.3 http://code.google.com/p/google-gson/                         The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            com.google.errorprone:error_prone_annotations:2.3.
ESP AdESP   3                                                     2.3.3                                                                              Apache 2.0                                   http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.google.gdata:core:1.47.1                          1.47.1                 http://code.google.com/p/gdata-java-client/                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.google.guava:guava:14.0.1                         14.0.1                                                                             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.google.guava:guava:18.0                                            18 https://guava-libraries.googlecode.com/                        The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.google.guava:guava:20.0                                            20 https://github.com/google/guava/                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.google.http-client:google-http-client:1.11.0-beta 1.11.0-beta                                                                        The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.google.inject:guice:3.0                                              3 http://code.google.com/p/google-guice/                        The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            com.google.oauth-client:google-oauth-client:1.11.0-
ESP AdESP   beta                                                  1.11.0-beta                                                                        The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            com.google.oauth-client:google-oauth-client-
ESP AdESP   java6:1.11.0-beta                                     1.11.0-beta                                                                        The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            com.google.oauth-client:google-oauth-client-
ESP AdESP   jetty:1.11.0-beta                                     1.11.0-beta                                                                        The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.google.protobuf:protobuf-java:2.5.0               2.5.0                http://code.google.com/p/protobuf                             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.google.protobuf:protobuf-java:2.6.1               2.6.1                https://developers.google.com/protocol-buffers/               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.googlecode.javaewah:JavaEWAH:0.3.2                0.3.2                http://code.google.com/p/javaewah/                            Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.googlecode.jmockit:jmockit:1.0                                       1 http://code.google.com/p/jmockit                              MIT LICENSE                                  http://www.opensource.org/licenses/mit-license.php                          No   No
ESP AdESP   com.googlecode.json-simple:json-simple:1.1                             1.1 http://code.google.com/p/json-simple/                         The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.jayway.jsonpath:json-path:2.2.0                   2.2.0                https://github.com/jayway/JsonPath                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.jcraft:jsch:0.1.50                                0.1.50               http://www.jcraft.com/jsch/                                   Revised BSD                                  http://www.jcraft.com/jsch/LICENSE.txt                                      No   No
ESP AdESP   com.jidesoft:jide-oss:2.4.8                           2.4.8                https://jide-oss.dev.java.net                                 GPL with classpath exception                 http://www.gnu.org/licenses/gpl.txt                                         No   No
ESP AdESP   com.jolbox:bonecp:0.8.0.RELEASE                       0.8.0.RELEASE        http://jolbox.com                                             Apache v2                                    http://www.apache.org/licenses/LICENSE-2.0.html                             No   No
ESP AdESP   com.lmax:disruptor:3.2.1                              3.2.1                http://lmax-exchange.github.com/disruptor                     The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.lowagie:itext:2.1.5                               2.1.5                http://www.lowagie.com/iText/                                 Mozilla Public License                       http://www.mozilla.org/MPL/MPL-1.1.html                                     No   No
ESP AdESP   com.maxmind.geoip:geoip-api:1.2.10                    1.2.10               https://github.com/maxmind/geoip-api-java                     Lesser General Public License (LGPL) v 2.1   http://www.gnu.org/licenses/lgpl-2.1.txt                                    No   No
                                                                                                                                                                                                  https://raw.githubusercontent.com/monitorjbl/json-
ESP AdESP   com.monitorjbl:json-view:0.10                                          0.1 https://github.com/monitorjbl/json-view                       GPLv3                                        view/master/LICENSE                                                         No   No
ESP AdESP   com.neovisionaries:nv-i18n:1.22                                       1.22 https://github.com/TakahikoKawasaki/nv-i18n                   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.ning:compress-lzf:1.0.3                        1.0.3                   http://github.com/ning/compress                               Apache License 2.0                           http://www.apache.org/licenses/LICENSE-2.0.html                             No   No
ESP AdESP   com.opencsv:opencsv:3.9                                                3.9 http://opencsv.sf.net                                         Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.rabbitmq:amqp-client:3.3.5                     3.3.5                   http://www.rabbitmq.com                                       MPL 1.1                                      http://www.mozilla.org/MPL/MPL-1.1.txt                                      No   No
ESP AdESP   com.rabbitmq:amqp-client:3.5.5                     3.5.5                   http://www.rabbitmq.com                                       MPL 1.1                                      http://www.mozilla.org/MPL/MPL-1.1.txt                                      No   No
                                                                                                                                                                                                  http://user-agent-
ESP AdESP   com.sizmek.peer39:UserAgentUtils:1.19                                 1.19 http://www.bitwalker.eu/software/user-agent-utils             New BSD License                              utils.googlecode.com/svn/trunk/UserAgentUtils/LICENSE.txt                   No   No
ESP AdESP   com.sizmek.peer39:peer39-buncher:1-1-3-6           1-1-3-6                                                                                                                                                                                                        No   No
ESP AdESP   com.sizmek.peer39:peer39-edgeupdater:1-1-24-63     1-1-24-63                                                                                                                                                                                                      No   No
ESP AdESP   com.sizmek.peer39:peer39-orgcms:1-1-6-19           1-1-6-19                                                                                                                                                                                                       No   No
            com.sizmek.peer39:peer39-
ESP AdESP   ruleenginebusiness:1.0.31                          1.0.31                                                                                                                                                                                                         No   No
ESP AdESP   com.sizmek.peer39:peer39-schema:1-1-14-97          1-1-14-97                                                                                                                                                                                                      No   No
ESP AdESP   com.sizmek.peer39:peer39-schema:1-1-15-9           1-1-15-9                                                                                                                                                                                                       No   No
            com.sizmek.peer39.binext.core:peer39-binext-
ESP AdESP   couchbase:1.1.36                                   1.1.36                                                                                                                                                                                                         No   No
            com.sizmek.peer39.binext.core:peer39-binext-
ESP AdESP   couchbase:2.1.22                                   2.1.22                                                                                                                                                                                                         No   No
            com.sizmek.peer39.binext.core:peer39-binext-
ESP AdESP   couchbase:2.1.67                                   2.1.67                                                                                                                                                                                                         No   No
            com.sizmek.peer39.binext.core:peer39-binext-
ESP AdESP   infra:2.1.35                                       2.1.35                                                                                                                                                                                                         No   No
            com.sizmek.peer39.binext.core:peer39-binext-
ESP AdESP   infra:2.1.67                                       2.1.67                                                                                                                                                                                                         No   No
            com.sizmek.peer39.binext.core:peer39-binext-
ESP AdESP   spark:2.1.67                                       2.1.67                                                                                                                                                                                                         No   No
            com.sizmek.peer39.binext.entityservice:peer39-
ESP AdESP   binext-entityservice-common:1.1.10                 1.1.10                                                                                                                                                                                                         No   No
            com.sizmek.peer39.frauddetector:peer39-
ESP AdESP   frauddetector-common:1.0.21                        1.0.21                                                                                                                                                                                                         No   No
            com.sizmek.peer39.infra:peer39-common-
ESP AdESP   internal:1.0.8                                     1.0.8                                                                                                                                                                                                          No   No
ESP AdESP   com.sizmek.peer39.infra:peer39-commons:1.0.56      1.0.56                                                                                                                                                                                                         No   No
ESP AdESP   com.thoughtworks.paranamer:paranamer:2.6                               2.6                                                               BSD                                          LICENSE.txt                                                                 No   No
ESP AdESP   com.timgroup:java-statsd-client:3.0.1              3.0.1                     http://github.com/tim-group/java-statsd-client              The MIT License (MIT)                        http://opensource.org/licenses/MIT                                          No   No
ESP AdESP   com.twitter:chill-java:0.8.0                       0.8.0                     https://github.com/twitter/chill                            Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.twitter:chill_2.11:0.8.0                       0.8.0                     https://github.com/twitter/chill                            Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.twitter:parquet-hadoop-bundle:1.6.0            1.6.0                     https://parquet.incubator.apache.org                        The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   com.univocity:univocity-parsers:2.1.1              2.1.1                     www.univocity.com                                           Apache 2                                     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   commons-beanutils:commons-beanutils:1.7.0          1.7.0                                                                                 Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0                                 No   No
ESP AdESP   commons-beanutils:commons-beanutils:1.9.3          1.9.3                   https://commons.apache.org/proper/commons-beanutils/          Apache License, Version 2.0                  https://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
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                                                                                       http://jakarta.apache.org/commons/${pom.artifactId.substrin
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ESP AdESP   dom4j:dom4j:1.6.1                                  1.6.1                   http://dom4j.org                                                                                                                                                                       No   No
                                                                      19-10971-dsj                                             Doc 210                      Filed 06/03/19 Entered 06/03/19 14:17:12                                                              Main Document
                                                                                                                                                                       Pg 240 of 325
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ESP AdESP   io.dropwizard.metrics:metrics-graphite:3.1.2          3.1.2                                                                           Apache License 2.0                         http://www.apache.org/licenses/LICENSE-2.0.html                                      No   No
ESP AdESP   io.dropwizard.metrics:metrics-json:3.1.2              3.1.2                                                                           Apache License 2.0                         http://www.apache.org/licenses/LICENSE-2.0.html                                      No   No
ESP AdESP   io.dropwizard.metrics:metrics-jvm:3.1.2               3.1.2                                                                           Apache License 2.0                         http://www.apache.org/licenses/LICENSE-2.0.html                                      No   No
ESP AdESP   io.gatling:jsr166e:1.0                                                     1 https://github.com/gatling/jsr166e                       Public Domain                              http://creativecommons.org/publicdomain/zero/1.0/                                    No   No
ESP AdESP   io.netty:netty:3.8.0.Final                            3.8.0.Final            http://netty.io/                                         Apache License, Version 2.0                http://www.apache.org/licenses/LICENSE-2.0                                           No   No
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ESP AdESP   io.reactivex:rxjava:1.3.3                             1.3.3                     https://github.com/ReactiveX/RxJava                   The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
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                                                                                                                                                  http://glassfish.java.net/public/CDDL+GPL_1
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ESP AdESP   javax.ws.rs:javax.ws.rs-api:2.0.1                     2.0.1                   http://www.oracle.com/                                  _1.html                                                                                                                         No   No
ESP AdESP   javax.xml:jaxrpc:1.1                                                      1.1                                                                                                                                                                                         No   No
ESP AdESP   javax.xml:jaxrpc-api:1.1                                                  1.1 http://java.sun.com/webservices/jaxrpc/index.jsp                                                                                                                                        No   No
ESP AdESP   javolution:javolution:5.5.1                           5.5.1                   http://javolution.org                                   BSD License                                http://javolution.org/LICENSE.txt                                                    No   No
                                                                                                                                                                                             http://cvs.sourceforge.net/cgi-
                                                                                                                                                                                             bin/viewcvs.cgi/*checkout*/jboss/javassist/License.html?rev=HEAD&c
ESP AdESP   jboss:javassist:3.3.ga                                3.3.ga                    http://www.jboss.org/products/javassist               MPL 1.1                                    ontent-type=text/html                                                                No   No
ESP AdESP   jboss:jboss-common-core:2.0.4.GA                      2.0.4.GA                                                                                                                                                                                                        No   No
ESP AdESP   jgoodies:forms:1.0.5                                  1.0.5                   http://www.jgoodies.com/freeware/forms/index.html                                                                                                                                       No   No
ESP AdESP   jline:jline:0.9.94                                    0.9.94                  http://jline.sourceforge.net                            BSD                                        LICENSE.txt                                                                          No   No
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ESP AdESP   net.java.dev.jets3t:jets3t:0.7.1                      0.7.1                   http://jets3t.s3.amazonaws.com/index.html               Apache License, Version 2.0                http://www.apache.org/licenses/LICENSE-2.0                                           No   No
ESP AdESP   net.jpountz.lz4:lz4:1.3.0                             1.3.0                   https://github.com/jpountz/lz4-java                     The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
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ESP AdESP   org.apache.activemq:activeio-core:3.1.0               3.1.0                                                                           The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
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ESP AdESP   org.apache.ant:ant:1.7.0                              1.7.0                                                                           Apache License, Version 2.0                https://www.apache.org/licenses/LICENSE-2.0                                          No   No
ESP AdESP   org.apache.ant:ant-launcher:1.7.0                     1.7.0                                                                                                                                                                                                           No   No
ESP AdESP   org.apache.avro:avro:1.7.7                            1.7.7                     http://www.apache.org/                                The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
ESP AdESP   org.apache.avro:avro-ipc:1.7.7                        1.7.7                     http://www.apache.org/                                The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
ESP AdESP   org.apache.avro:avro-mapred:1.7.7                     1.7.7                                                                           The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
ESP AdESP   org.apache.axis:axis:1.4                                                  1.4                                                                                                                                                                                         No   No
ESP AdESP   org.apache.calcite:calcite-avatica:1.2.0-incubating   1.2.0-incubating                                                                Apache License, Version 2.0                http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
ESP AdESP   org.apache.calcite:calcite-core:1.2.0-incubating      1.2.0-incubating                                                                Apache License, Version 2.0                http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
ESP AdESP   org.apache.calcite:calcite-linq4j:1.2.0-incubating    1.2.0-incubating                                                                Apache License, Version 2.0                http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
ESP AdESP   org.apache.camel:camel-core:1.3.0                     1.3.0                   http://www.apache.org/                                  The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
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ESP AdESP   org.apache.commons:commons-csv:1.1                                        1.1 http://commons.apache.org/proper/commons-csv/           Apache License, Version 2.0                http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
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ESP AdESP   org.apache.curator:curator-framework:2.4.0            2.4.0                   http://www.apache.org/                                  The Apache Software License, Version 2.0   file://${basedir}/LICENSE                                                            No   No
ESP AdESP   org.apache.curator:curator-recipes:2.4.0              2.4.0                   http://www.apache.org/                                  The Apache Software License, Version 2.0   file://${basedir}/LICENSE                                                            No   No
ESP AdESP   org.apache.derby:derby:10.10.2.0                      10.10.2.0                                                                       The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
            org.apache.geronimo.specs:geronimo-j2ee-
ESP AdESP   management_1.0_spec:1.0                                                    1                                                                                                                                                                                          No   No
            org.apache.geronimo.specs:geronimo-
ESP AdESP   jms_1.1_spec:1.1.1                                    1.1.1                     http://www.apache.org                                 The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
            org.apache.geronimo.specs:geronimo-
ESP AdESP   jta_1.1_spec:1.1.1                                    1.1.1                     http://www.apache.org                                 The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
ESP AdESP   org.apache.hadoop:hadoop-annotations:2.2.0            2.2.0                                                                           The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
ESP AdESP   org.apache.hadoop:hadoop-auth:2.2.0                   2.2.0                                                                           The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
ESP AdESP   org.apache.hadoop:hadoop-client:2.2.0                 2.2.0                                                                           The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
ESP AdESP   org.apache.hadoop:hadoop-common:2.2.0                 2.2.0                                                                           The Apache Software License, Version 2.0   http://www.apache.org/licenses/LICENSE-2.0.txt                                       No   No
                                                                         19-10971-dsj                                               Doc 210                     Filed 06/03/19 Entered 06/03/19 14:17:12                                                       Main Document
                                                                                                                                                                           Pg 241 of 325
ESP AdESP   org.apache.hadoop:hadoop-hdfs:2.2.0                      2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            org.apache.hadoop:hadoop-mapreduce-client-
ESP AdESP   app:2.2.0                                                2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            org.apache.hadoop:hadoop-mapreduce-client-
ESP AdESP   common:2.2.0                                             2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            org.apache.hadoop:hadoop-mapreduce-client-
ESP AdESP   core:2.2.0                                               2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            org.apache.hadoop:hadoop-mapreduce-client-
ESP AdESP   jobclient:2.2.0                                          2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            org.apache.hadoop:hadoop-mapreduce-client-
ESP AdESP   shuffle:2.2.0                                            2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
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ESP AdESP   org.apache.hadoop:hadoop-yarn-client:2.2.0               2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.hadoop:hadoop-yarn-common:2.2.0               2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            org.apache.hadoop:hadoop-yarn-server-
ESP AdESP   common:2.2.0                                             2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            org.apache.hadoop:hadoop-yarn-server-
ESP AdESP   nodemanager:2.2.0                                        2.2.0                                                                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.httpcomponents:httpclient:4.3.6               4.3.6                   http://hc.apache.org/httpcomponents-client               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
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ESP AdESP   org.apache.kafka:kafka-clients:1.0.0                     1.0.0                   http://kafka.apache.org                                  The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.mesos:mesos:0.21.1                            0.21.1                  http://mesos.apache.org                                  The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.parquet:parquet-column:1.7.0                  1.7.0                   https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.parquet:parquet-common:1.7.0                  1.7.0                   https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.parquet:parquet-encoding:1.7.0                1.7.0                   https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.parquet:parquet-format:2.3.0-incubating       2.3.0-incubating        http://parquet.incubator.apache.org/                     The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.parquet:parquet-generator:1.7.0               1.7.0                   https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.parquet:parquet-hadoop:1.7.0                  1.7.0                   https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.parquet:parquet-jackson:1.7.0                 1.7.0                   https://parquet.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.poi:poi:3.10-FINAL                            3.10-FINAL              http://poi.apache.org/                                   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
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ESP AdESP   org.apache.spark:spark-catalyst_2.11:2.0.2               2.0.2                   http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.spark:spark-core_2.11:2.0.2                   2.0.2                   http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.spark:spark-graphx_2.11:2.0.2                 2.0.2                   http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.spark:spark-hive_2.11:2.0.2                   2.0.2                   http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.spark:spark-launcher_2.11:2.0.2               2.0.2                   http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.spark:spark-mllib-local_2.11:2.0.2            2.0.2                   http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.spark:spark-mllib_2.11:2.0.2                  2.0.2                   http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No

ESP AdESP   org.apache.spark:spark-network-common_2.11:2.0.2 2.0.2                             http://spark.apache.org/                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.spark:spark-network-shuffle_2.11:2.0.2 2.0.2                            http://spark.apache.org/                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
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ESP AdESP   org.apache.spark:spark-sql_2.11:2.0.2             2.0.2                            http://spark.apache.org/                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            org.apache.spark:spark-streaming-kinesis-
ESP AdESP   asl_2.11:2.0.2                                    2.0.2                                                                                   The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.spark:spark-streaming_2.11:2.0.2       2.0.2                          http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.spark:spark-tags_2.11:2.0.2            2.0.2                          http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.spark:spark-unsafe_2.11:2.0.2          2.0.2                          http://spark.apache.org/                                 The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
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                                                                                             http://geronimo.apache.org/maven/xbean/4.4/xbean-asm5-
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ESP AdESP   org.apache.xmlbeans:xmlbeans:2.3.0                       2.3.0                   http://xmlbeans.apache.org                               The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.apache.zookeeper:zookeeper:3.4.5                     3.4.5                                                                                                                                                                                                     No   No
ESP AdESP   org.aspectj:aspectjrt:1.8.6                              1.8.6                     http://www.aspectj.org                                 Eclipse Public License - v 1.0               http://www.eclipse.org/legal/epl-v10.html                                   No   No
ESP AdESP   org.aspectj:aspectjweaver:1.8.6                          1.8.6                     http://www.aspectj.org                                 Eclipse Public License - v 1.0               http://www.eclipse.org/legal/epl-v10.html                                   No   No
ESP AdESP   org.checkerframework:checker-qual:2.6.0                  2.6.0                     https://checkerframework.org                           The MIT License                              http://opensource.org/licenses/MIT                                          No   No
ESP AdESP   org.codehaus.jackson:jackson-core-asl:1.9.13             1.9.13                    http://jackson.codehaus.org                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.codehaus.jackson:jackson-mapper-asl:1.9.13           1.9.13                    http://jackson.codehaus.org                            The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
ESP AdESP   org.codehaus.janino:commons-compiler:2.7.8               2.7.8                                                                            New BSD License                              http://dist.codehaus.org/janino/new_bsd_license.txt                         No   No
ESP AdESP   org.codehaus.janino:janino:2.7.8                         2.7.8                                                                            New BSD License                              http://dist.codehaus.org/janino/new_bsd_license.txt                         No   No
ESP AdESP   org.datanucleus:datanucleus-api-jdo:3.2.6                3.2.6                     http://www.datanucleus.org                             The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
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ESP AdESP   org.ehcache:ehcache:3.2.2                                3.2.2                     http://ehcache.org                                     The Apache Software License, Version 2.0     http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
                                                                                               https://github.com/everit-org/everit-maven-
ESP AdESP   org.everit.json:org.everit.json.schema:1.1.1             1.1.1                     oss/org.everit.json.schema                             Apache License, Version 2.0                  http://www.apache.org/licenses/LICENSE-2.0.txt                              No   No
            org.everit.osgi.bundles:org.everit.osgi.bundles.org.js
ESP AdESP   on:1.0.0-v20140107                                       1.0.0-v20140107         https://github.com/douglascrockford/JSON-java            The JSON License                             http://json.org/license.html                                                No   No
ESP AdESP   org.fusesource.leveldbjni:leveldbjni-all:1.8                                 1.8 http://fusesource.com/                                   The BSD 3-Clause License                     http://www.opensource.org/licenses/BSD-3-Clause                             No   No
ESP AdESP   org.glassfish.hk2:hk2-api:2.4.0-b34                      2.4.0-b34               http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
ESP AdESP   org.glassfish.hk2:hk2-locator:2.4.0-b34                  2.4.0-b34               http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
ESP AdESP   org.glassfish.hk2:hk2-utils:2.4.0-b34                    2.4.0-b34               http://www.oracle.com                                    CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
ESP AdESP   org.glassfish.hk2:osgi-resource-locator:1.0.1            1.0.1                   https://glassfish.dev.java.net                           CDDL + GPLv2 with classpath exception        https://glassfish.dev.java.net/nonav/public/CDDL+GPL.html                   No   No
            org.glassfish.hk2.external:aopalliance-
ESP AdESP   repackaged:2.4.0-b34                                     2.4.0-b34                 http://www.oracle.com                                  CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
ESP AdESP   org.glassfish.hk2.external:javax.inject:2.4.0-b34        2.4.0-b34                 http://www.oracle.com                                  CDDL + GPLv2 with classpath exception        https://glassfish.java.net/nonav/public/CDDL+GPL_1_1.html                   No   No
            org.glassfish.jersey.bundles.repackaged:jersey-
ESP AdESP   guava:2.22.2                                             2.22.2                    http://www.oracle.com/                                 CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
            org.glassfish.jersey.containers:jersey-container-
ESP AdESP   servlet:2.22.2                                           2.22.2                    http://www.oracle.com/                                 CDDL+GPL License                             http://glassfish.java.net/public/CDDL+GPL_1_1.html                          No   No
            org.glassfish.jersey.containers:jersey-container-
ESP AdESP   servlet-core:2.22.2                                      2.22.2                    http://www.oracle.com/                                 CDDL+GPL License                  http://glassfish.java.net/public/CDDL+GPL_1_1.html                                     No   No
ESP AdESP   org.glassfish.jersey.core:jersey-client:2.22.2           2.22.2                    http://www.oracle.com/                                 CDDL+GPL License                  http://glassfish.java.net/public/CDDL+GPL_1_1.html                                     No   No
ESP AdESP   org.glassfish.jersey.core:jersey-common:2.22.2           2.22.2                    http://www.oracle.com/                                 CDDL+GPL License                  http://glassfish.java.net/public/CDDL+GPL_1_1.html                                     No   No
ESP AdESP   org.glassfish.jersey.core:jersey-server:2.22.2           2.22.2                    http://www.oracle.com/                                 CDDL+GPL License                  http://glassfish.java.net/public/CDDL+GPL_1_1.html                                     No   No
ESP AdESP   org.glassfish.jersey.media:jersey-media-jaxb:2.22.2      2.22.2                    http://www.oracle.com/                                 CDDL+GPL License                  http://glassfish.java.net/public/CDDL+GPL_1_1.html                                     No   No
ESP AdESP   org.hamcrest:hamcrest-core:1.3                                               1.3                                                          New BSD License                   http://www.opensource.org/licenses/bsd-license.php                                     No   No
ESP AdESP   org.hibernate:hibernate:3.2.6.ga                         3.2.6.ga                  http://www.hibernate.org                               GNU LESSER GENERAL PUBLIC LICENSE http://www.gnu.org/licenses/lgpl.txt                                                   No   No
ESP AdESP   org.hibernate:hibernate-annotations:3.3.0.ga             3.3.0.ga                  http://annotations.hibernate.org                       GNU LESSER GENERAL PUBLIC LICENSE http://www.gnu.org/licenses/lgpl.txt                                                   No   No
            org.hibernate:hibernate-commons-
ESP AdESP   annotations:3.3.0.ga                                     3.3.0.ga                                                                                                                                                                                                  No   No
ESP AdESP   org.hibernate:hibernate-core:5.0.7.Final                 5.0.7.Final               http://hibernate.org                                   GNU Lesser General Public License http://www.gnu.org/licenses/lgpl-2.1.html                                              No   No
ESP AdESP   org.hibernate:hibernate-entitymanager:3.3.1.ga           3.3.1.ga                  http://entitymanager.hibernate.org                     GNU LESSER GENERAL PUBLIC LICENSE http://www.gnu.org/licenses/lgpl.txt                                                   No   No
ESP AdESP   org.hibernate:hibernate-validator:3.0.0.ga               3.0.0.ga                  http://validator.hibernate.org                         GNU LESSER GENERAL PUBLIC LICENSE http://www.gnu.org/licenses/lgpl.txt                                                   No   No
            org.hibernate.common:hibernate-commons-
ESP AdESP   annotations:5.0.1.Final                                  5.0.1.Final               http://hibernate.org                                   GNU Lesser General Public License            http://www.gnu.org/licenses/lgpl-2.1.html                                   No   No
            org.hibernate.javax.persistence:hibernate-jpa-2.1-
ESP AdESP   api:1.0.0.Final                                          1.0.0.Final             http://hibernate.org                                     Eclipse Public License (EPL), Version 1.0    http://www.eclipse.org/legal/epl-v10.html                                   No   No
ESP AdESP   org.iq80.snappy:snappy:0.2                                                   0.2 http://github.com/dain/snappy                            Apache License 2.0                           http://www.apache.org/licenses/LICENSE-2.0.html                             No   No
                                                                                                                                                      http://www.mozilla.org/MPL/MPL-1.1.html,
                                                                                                                                                      http://www.gnu.org/licenses/lgpl-2.1.html,
ESP AdESP   org.javassist:javassist:3.18.1-GA                        3.18.1-GA                 http://www.javassist.org/                              http://www.apache.org/licenses/                                                                                          No   No
                                                                                                                                                      http://www.mozilla.org/MPL/MPL-1.1.html,
                                                                                                                                                      http://www.gnu.org/licenses/lgpl-2.1.html,
ESP AdESP   org.javassist:javassist:3.21.0-GA                        3.21.0-GA                 http://www.javassist.org/                              http://www.apache.org/licenses/                                                                                          No   No
ESP AdESP   org.jboss:jandex:2.0.0.Final                             2.0.0.Final               http://www.jboss.org                                   Public Domain                                http://repository.jboss.org/licenses/cc0-1.0.txt                            No   No
ESP AdESP   org.jboss.logging:jboss-logging:3.3.0.Final              3.3.0.Final               http://www.jboss.org                                   Public Domain                                http://repository.jboss.org/licenses/cc0-1.0.txt                            No   No
ESP AdESP   org.jfree:jcommon:1.0.17                                 1.0.17                    http://www.jfree.org/jcommon/                          GNU Lesser General Public Licence            http://www.gnu.org/licenses/lgpl.txt                                        No   No
ESP AdESP   org.jfree:jfreechart:1.0.14                              1.0.14                    http://www.jfree.org/jfreechart/                       GNU Lesser General Public Licence            http://www.gnu.org/licenses/lgpl.txt                                        No   No
ESP AdESP   org.jodd:jodd-core:3.5.2                                 3.5.2                     http://jodd.org                                        The New BSD License                          http://jodd.org/license.html                                                No   No
                                                                     19-10971-dsj                                            Doc 210                       Filed 06/03/19 Entered 06/03/19 14:17:12                                                      Main Document
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ESP AdESP   org.jpmml:pmml-model:1.2.15                          1.2.15                                                                           BSD 3-Clause License                        http://opensource.org/licenses/BSD-3-Clause                                No   No
ESP AdESP   org.jpmml:pmml-schema:1.2.15                         1.2.15                                                                           BSD 3-Clause License                        http://opensource.org/licenses/BSD-3-Clause                                No   No
ESP AdESP   org.json:json:20090211                                           20090211 http://www.json.org/java/index.html                         provided without support or warranty        http://www.json.org/license.html                                           No   No
ESP AdESP   org.json4s:json4s-ast_2.11:3.2.11                    3.2.11                https://github.com/json4s/json4s                           ASL                                         http://github.com/json4s/json4s/raw/HEAD/LICENSE                           No   No
ESP AdESP   org.json4s:json4s-core_2.11:3.2.11                   3.2.11                https://github.com/json4s/json4s                           ASL                                         http://github.com/json4s/json4s/raw/HEAD/LICENSE                           No   No
ESP AdESP   org.json4s:json4s-jackson_2.11:3.2.11                3.2.11                https://github.com/json4s/json4s                           ASL                                         http://github.com/json4s/json4s/raw/HEAD/LICENSE                           No   No
ESP AdESP   org.lz4:lz4-java:1.4                                                   1.4 https://github.com/lz4/lz4-java                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.mapstruct:mapstruct:1.0.0.CR1                    1.0.0.CR1                                                                        The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.mockito:mockito-core:1.10.19                     1.10.19                http://www.mockito.org                                    The MIT License                             http://github.com/mockito/mockito/blob/master/LICENSE                      No   No
                                                                                                                                                  http://www.apache.org/licenses/LICENSE-
                                                                                                                                                  2.0,
                                                                                                                                                  http://www.eclipse.org/org/documents/epl-
ESP AdESP   org.mortbay.jetty:jetty:6.1.26                       6.1.26                 http://jetty.mortbay.org                                  v10.php                                                                                                                No   No
                                                                                                                                                  http://www.apache.org/licenses/LICENSE-
                                                                                                                                                  2.0,
                                                                                                                                                  http://www.eclipse.org/org/documents/epl-
ESP AdESP   org.mortbay.jetty:jetty-util:6.1.26                  6.1.26                 http://jetty.mortbay.org                                  v10.php                                                                                                                No   No
ESP AdESP   org.mortbay.jetty:servlet-api:2.5-20081211           2.5-20081211           http://www.mortbay.com                                    Apache License Version 2.0                  http://www.apache.org/licenses/LICENSE-2.0                                 No   No
ESP AdESP   org.objenesis:objenesis:2.1                                             2.1 http://objenesis.org                                      Apache License, Version 2.0                 https://www.apache.org/licenses/LICENSE-2.0                                No   No
ESP AdESP   org.ostermiller:utils:1.07.00                        1.07.00                http://ostermiller.org/utils/                             GNU General Public License, version 2       http://www.gnu.org/licenses/old-licenses/gpl-2.0.txt                       No   No
ESP AdESP   org.ow2.asm:asm:5.0.3                                5.0.3                  http://asm.objectweb.org                                  The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.projectreactor:reactor-core:1.1.4.RELEASE        1.1.4.RELEASE          https://github.com/reactor/reactor                        The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
                                                                                                                                                  http://www.wtfpl.net/,
                                                                                                                                                  http://www.opensource.org/licenses/bsd-
ESP AdESP   org.reflections:reflections:0.9.11                   0.9.11                 http://github.com/ronmamo/reflections                     license.html                                                                                                           No   No
ESP AdESP   org.roaringbitmap:RoaringBitmap:0.5.11               0.5.11                 https://github.com/lemire/RoaringBitmap                   Apache 2                                    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.scala-lang:scala-compiler:2.11.0                 2.11.0                 http://www.scala-lang.org/                                BSD 3-Clause                                http://www.scala-lang.org/license.html                                     No   No
ESP AdESP   org.scala-lang:scala-library:2.11.8                  2.11.8                 http://www.scala-lang.org/                                BSD 3-Clause                                http://www.scala-lang.org/license.html                                     No   No
ESP AdESP   org.scala-lang:scala-reflect:2.11.7                  2.11.7                 http://www.scala-lang.org/                                BSD 3-Clause                                http://www.scala-lang.org/license.html                                     No   No
ESP AdESP   org.scala-lang:scala-reflect:2.11.8                  2.11.8                 http://www.scala-lang.org/                                BSD 3-Clause                                http://www.scala-lang.org/license.html                                     No   No
ESP AdESP   org.scala-lang:scalap:2.11.0                         2.11.0                 http://www.scala-lang.org/                                BSD 3-Clause                                http://www.scala-lang.org/license.html                                     No   No
            org.scala-lang.modules:scala-parser-
ESP AdESP   combinators_2.11:1.0.1                               1.0.1                  http://www.scala-lang.org/                                BSD 3-clause                                http://opensource.org/licenses/BSD-3-Clause                                No   No
ESP AdESP   org.scala-lang.modules:scala-xml_2.11:1.0.2          1.0.2                  http://www.scala-lang.org/                                BSD 3-clause                                http://opensource.org/licenses/BSD-3-Clause                                No   No
ESP AdESP   org.scalanlp:breeze-macros_2.11:0.11.2               0.11.2                 http://scalanlp.org/                                      Apache 2                                    http://www.apache.org/licenses/LICENSE-2.0.html                            No   No
ESP AdESP   org.scalanlp:breeze_2.11:0.11.2                      0.11.2                 http://scalanlp.org/                                      Apache 2                                    http://www.apache.org/licenses/LICENSE-2.0.html                            No   No
ESP AdESP   org.scalatest:scalatest_2.11:2.2.6                   2.2.6                  http://www.scalatest.org/                                 the Apache License, ASL Version 2.0         http://www.apache.org/licenses/LICENSE-2.0                                 No   No
ESP AdESP   org.slf4j:jcl-over-slf4j:1.7.16                      1.7.16                 http://www.slf4j.org                                      MIT License                                 http://www.opensource.org/licenses/mit-license.php                         No   No
ESP AdESP   org.slf4j:jul-to-slf4j:1.7.16                        1.7.16                 http://www.slf4j.org                                      MIT License                                 http://www.opensource.org/licenses/mit-license.php                         No   No
ESP AdESP   org.slf4j:slf4j-api:1.7.16                           1.7.16                 http://www.slf4j.org                                      MIT License                                 http://www.opensource.org/licenses/mit-license.php                         No   No
ESP AdESP   org.slf4j:slf4j-api:1.7.25                           1.7.25                 http://www.slf4j.org                                      MIT License                                 http://www.opensource.org/licenses/mit-license.php                         No   No
ESP AdESP   org.slf4j:slf4j-log4j12:1.7.12                       1.7.12                 http://www.slf4j.org                                      MIT License                                 http://www.opensource.org/licenses/mit-license.php                         No   No
ESP AdESP   org.slf4j:slf4j-log4j12:1.7.16                       1.7.16                 http://www.slf4j.org                                      MIT License                                 http://www.opensource.org/licenses/mit-license.php                         No   No
ESP AdESP   org.sonatype.sisu.inject:cglib:2.2.1-v20090111       2.2.1-v20090111        http://sourceforge.net/projects/cglib/                    The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.spark-project.hive:hive-exec:1.2.1.spark2        1.2.1.spark2                                                                     The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.spark-project.hive:hive-metastore:1.2.1.spark2   1.2.1.spark2                                                                     The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.spark-project.spark:unused:1.0.0                 1.0.0                                                                            The Apache License, Version 2.0             http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.spire-math:spire-macros_2.11:0.7.4               0.7.4                  http://spire-math.org                                     BSD-style                                   http://opensource.org/licenses/MIT                                         No   No
ESP AdESP   org.spire-math:spire_2.11:0.7.4                      0.7.4                  http://spire-math.org                                     BSD-style                                   http://opensource.org/licenses/MIT                                         No   No
ESP AdESP   org.springframework:spring-aop:4.1.7.RELEASE         4.1.7.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.springframework:spring-aop:4.2.4.RELEASE         4.2.4.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.springframework:spring-beans:2.5.2               2.5.2                  http://www.springframework.org                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.springframework:spring-beans:4.1.7.RELEASE       4.1.7.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.springframework:spring-beans:4.2.4.RELEASE       4.2.4.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.springframework:spring-context:2.5.2             2.5.2                  http://www.springframework.org                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.springframework:spring-context:4.1.7.RELEASE     4.1.7.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.springframework:spring-context:4.2.4.RELEASE     4.2.4.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.springframework:spring-context-support:2.5.2     2.5.2                  http://www.springframework.org                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
            org.springframework:spring-context-
ESP AdESP   support:4.1.6.RELEASE                                4.1.6.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.springframework:spring-core:2.5.2                2.5.2                  http://www.springframework.org                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.springframework:spring-core:4.1.7.RELEASE        4.1.7.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.springframework:spring-core:4.2.4.RELEASE        4.2.4.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
            org.springframework:spring-
ESP AdESP   expression:4.1.7.RELEASE                             4.1.7.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
            org.springframework:spring-
ESP AdESP   expression:4.2.4.RELEASE                             4.2.4.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
            org.springframework:spring-
ESP AdESP   messaging:4.1.7.RELEASE                              4.1.7.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
            org.springframework:spring-
ESP AdESP   messaging:4.2.4.RELEASE                              4.2.4.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.springframework:spring-tx:4.1.6.RELEASE          4.1.6.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.springframework:spring-tx:4.1.7.RELEASE          4.1.7.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.springframework:spring-web:4.1.7.RELEASE         4.1.7.RELEASE          https://github.com/spring-projects/spring-framework       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No

ESP AdESP   org.springframework:spring-webmvc:4.1.7.RELEASE 4.1.7.RELEASE             https://github.com/spring-projects/spring-framework         The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
            org.springframework.amqp:spring-
ESP AdESP   amqp:1.4.6.RELEASE                                  1.4.6.RELEASE         http://www.spring.io/spring-amqp                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
            org.springframework.amqp:spring-
ESP AdESP   rabbit:1.4.6.RELEASE                                1.4.6.RELEASE         http://www.spring.io/spring-amqp                            The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
            org.springframework.cloud:spring-cloud-aws-
ESP AdESP   context:1.1.0.M2                                    1.1.0.M2                                                                          Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                                 No   No
            org.springframework.cloud:spring-cloud-aws-
ESP AdESP   core:1.1.0.M2                                       1.1.0.M2                                                                          Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                                 No   No
            org.springframework.cloud:spring-cloud-aws-
ESP AdESP   messaging:1.1.0.M2                                  1.1.0.M2                                                                          Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                                 No   No
            org.springframework.hateoas:spring-
ESP AdESP   hateoas:0.18.0.RELEASE                              0.18.0.RELEASE        http://github.com/SpringSource/spring-hateoas               Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                                 No   No
            org.springframework.integration:spring-integration- 1.0.0.20160223184231
ESP AdESP   aws:1.0.0.2016022318423114                          14                    https://github.com/spring-projects/spring-integration-aws   The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
            org.springframework.integration:spring-integration-
ESP AdESP   core:4.1.6.RELEASE                                  4.1.6.RELEASE         https://projects.spring.io/spring-integration               The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
            org.springframework.integration:spring-integration-
ESP AdESP   file:4.1.6.RELEASE                                  4.1.6.RELEASE         https://projects.spring.io/spring-integration               The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
            org.springframework.integration:spring-integration-
ESP AdESP   ftp:4.1.6.RELEASE                                   4.1.6.RELEASE         https://projects.spring.io/spring-integration               The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
            org.springframework.plugin:spring-plugin-
ESP AdESP   core:1.2.0.RELEASE                                  1.2.0.RELEASE                                                                     Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                                 No   No
            org.springframework.plugin:spring-plugin-
ESP AdESP   metadata:1.2.0.RELEASE                              1.2.0.RELEASE                                                                     Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0                                 No   No
            org.springframework.retry:spring-
ESP AdESP   retry:1.1.1.RELEASE                                 1.1.1.RELEASE         http://www.springsource.org                                 Apache 2.0                                  http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
            org.springframework.retry:spring-
ESP AdESP   retry:1.1.2.RELEASE                                 1.1.2.RELEASE         http://www.springsource.org                                 Apache 2.0                                  http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.tukaani:xz:1.0                                                      1 http://tukaani.org/xz/java.html                             Public Domain                                                                                                          No   No
ESP AdESP   org.xerial.snappy:snappy-java:1.1.2.6               1.1.2.6               https://github.com/xerial/snappy-java                       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.xerial.snappy:snappy-java:1.1.4                 1.1.4                 https://github.com/xerial/snappy-java                       The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   org.yaml:snakeyaml:1.18                                              1.18 http://www.snakeyaml.org                                    Apache License, Version 2.0                 http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   oro:oro:2.0.8                                       2.0.8                                                                             Apache Software License, Version 1.1        https://www.apache.org/licenses/LICENSE-1.1                                No   No
ESP AdESP   postgresql:postgresql:9.0-801.jdbc4                 9.0-801.jdbc4         http://jdbc.postgresql.org                                  BSD License                                 http://jdbc.postgresql.org/license.html                                    No   No
ESP AdESP   postgresql:postgresql:9.1-901.jdbc4                 9.1-901.jdbc4         http://jdbc.postgresql.org                                  BSD License                                 http://jdbc.postgresql.org/license.html                                    No   No
ESP AdESP   quartz:quartz:1.5.2                                 1.5.2                                                                                                                                                                                                    No   No
ESP AdESP   redis.clients:jedis:2.7.2                           2.7.2                 https://github.com/xetorthio/jedis                          MIT                                         http://github.com/xetorthio/jedis/raw/master/LICENSE.txt                   No   No
ESP AdESP   stax:stax-api:1.0.1                                 1.0.1                 http://stax.codehaus.org/                                   The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   xerces:xercesImpl:2.11.0                            2.11.0                https://xerces.apache.org/xerces2-j/                        The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
ESP AdESP   xml-apis:xml-apis:1.3.04                            1.3.04                http://xml.apache.org/commons/components/external/          The Apache Software License, Version 2.0    http://www.apache.org/licenses/LICENSE-2.0.txt                             No   No
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                                                                                                                             http://www.w3.org/TR/2004/REC-DOM-Level-3-Core-20040407/java-
ESP AdESP   xml-apis:xml-apis:1.4.01   1.4.01        http://xml.apache.org/commons/components/external/    The W3C License   binding.zip                                                                     No   No
ESP AdESP   xmlenc:xmlenc:0.52                  0.52 http://xmlenc.sourceforge.net                         The BSD License   http://www.opensource.org/licenses/bsd-license.php                              No   No
ESP AdESP   xpp3:xpp3:1.1.4c           1.1.4c        http://www.extreme.indiana.edu/xgws/xsoap/xpp/mxp1/   Public Domain     http://creativecommons.org/licenses/publicdomain                                No   No
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Containing/Using                                                                                                     https://spdx.or                                                                                                       CodeScan)?
                                                                                                                                                                                                                                                            externally facing
  the Package                                                                                                         g/licenses/ )
                                                                                                                                                                                                                                                                JS, etc.)?
                                                                                                                                                                                                                                                                           (use dropdowns)
DEX/Ingest-S3,
DEX/DEX-Crypto,
DEX/Beholder,                                                                   https://services.gradle.org/distributi
ADH/Service     gradle                                             5.0          ons/gradle-5.0-bin.zip                 Apache-2.0   https://github.com/gradle/gradle/blob/master/LICENSE                   Build tool                   Dev/Build/Test    No              Standalone        No          No

                                                                                https://mvnrepository.com/artifact/c
                                                                                om.amazonaws/aws-java-sdk-
DEX/Ingest-S3    com.amazonaws:aws-java-sdk-s3                     1.11.451     s3/1.11.451                          Apache-2.0     https://github.com/aws/aws-sdk-java/blob/master/LICENSE.txt            Amazon S3 SDK library        Server-Side       No              Dynamic Link      No          No
                                                                                https://mvnrepository.com/artifact/c                                                                                                                                                                        No
                                                                                om.amazonaws/aws-lambda-java-                                                                                              Amazon AWS Lambda SDK
DEX/Ingest-S3    com.amazonaws:aws-lambda-java-core                1.2.0        core/1.2.0                           Apache-2.0     https://github.com/aws/aws-lambda-java-libs/blob/master/LICENSE        library                      Server-Side       No              Dynamic Link                  No
                                                                                https://mvnrepository.com/artifact/c                                                                                                                                                                                    No
                                                                                om.amazonaws/aws-lambda-java-                                                                                              Amazon AWS Lambda SDK
DEX/Ingest-S3    com.amazonaws:aws-lambda-java-events              2.2.4        events/2.2.4                         Apache-2.0     https://github.com/aws/aws-lambda-java-libs/blob/master/LICENSE        library                      Server-Side       No              Dynamic Link      No
                                                                                https://mvnrepository.com/artifact/c
                                                                                om.amazonaws/aws-lambda-java-                                                                                              Amazon AWS Lambda SDK
DEX/Ingest-S3    com.amazonaws:aws-lambda-java-log4j2              1.0.0        log4j2/1.0.0                         Apache-2.0     https://github.com/aws/aws-lambda-java-libs/blob/master/LICENSE        library                      Server-Side       No              Dynamic Link      No          No
                                                                                https://mvnrepository.com/artifact/c
                                                                                om.github.stefanbirkner/system-
DEX/Ingest-S3    com.github.stefanbirkner:system-rules             1.19.0       rules/1.19.0                         CPL-1.0        https://github.com/stefanbirkner/system-rules/blob/master/LICENSE      JUnit rules for testing      Server-Side       No              Dynamic Link      No          No
                                                                                https://mvnrepository.com/artifact/c
DEX/Ingest-S3   com.typesafe:config                                1.3.2        om.typesafe/config/1.3.2             Apache-2.0     https://github.com/lightbend/config/blob/master/LICENSE-2.0.txt        Configuration library        Server-Side       No              Dynamic Link      No          No
DEX/Ingest-S3,
DEX/DEX-Crypto,
ESP/Fraud-                                                                      https://mvnrepository.com/artifact/j
detector        junit:junit                                        4.12         unit/junit/4.12                      EPL-1.0        https://github.com/junit-team/junit4/blob/master/LICENSE-junit.txt     Testing framework            Dev/Build/Test    No              Dynamic Link      No          No
                                                                                https://mvnrepository.com/artifact/n
                                                                                et.snowflake/snowflake-ingest-                      https://github.com/snowflakedb/snowflake-ingest-
DEX/Ingest-S3    net.snowflake:snowflake-ingest-sdk                0.9.5        sdk/0.9.5                            Apache-2.0     java/blob/master/LICENSE                                               Snowflake DB SDK library     Server-Side       No              Dynamic Link      No          No
                                                                                https://mvnrepository.com/artifact/o
                                                                                rg.apache.logging.log4j/log4j-slf4j-
DEX/Ingest-S3    org.apache.logging.log4j:log4j-slf4j-impl         2.9.0        impl/2.9.0                           Apache-2.0     https://github.com/apache/logging-log4j2/blob/master/LICENSE.txt       Logging framework            Server-Side       No              Dynamic Link      No          No

DEX/Sqitch       Sqitch                                            0.9999       https://github.com/sqitchers/sqitch MIT             https://github.com/sqitchers/sqitch/blob/develop/LICENSE.md            DB change management tool    Dev/Build/Test    No              Standalone        No          No
                                                                                https://sfc-
                                                                                repo.snowflakecomputing.com/odb
DEX/Sqitch       Snowflake ODBC driver                             2.17.2       c/index.html                        Commercial                                                                             Snowflake DB driver          Dev/Build/Test    No              Dynamic Link      No          No
                                                                                https://search.maven.org/classic/#s
                                                                                earch%7Cga%7C1%7Csnowflake-
DEX/Sqitch       Snowflake JDBC driver                             3.7.2        jdbc                                Commercial                                                                             Snowflake DB driver          Dev/Build/Test    No              Dynamic Link      No          No
                                                                                https://docs.snowflake.net/manuals/
DEX/Sqitch       snowsql (CLI)                                     1.1.76       user-guide/snowsql.html             Commercial                                                                             Snowflake CLI interface      Dev/Build/Test    No              Standalone        No          No


DEX/Zefir        apache-airflow[crypto,hdfs,postgres,s3,vertica]   1.10.2       http://airflow.apache.org/           Apache-2.0     http://airflow.apache.org/license.html                                 Workflows engine             Server-Side       No              Standalone        No          No
DEX/Zefir        hdfscli                                           2.2.2        https://hdfscli.readthedocs.io       MIT            https://github.com/mtth/hdfs/blob/master/LICENSE                       API and CLI for HDFS         Server-Side       No              Dynamic Link      No          No
                                                                                                                     LGPL-3.0-or-
DEX/Zefir        psycopg2-binary                                   2.7.7        http://initd.org/psycopg/            later          http://initd.org/psycopg/license/                                      PostgreSQL Python driver     Server-Side       No              Dynamic Link      No          No

                                                                                https://mvnrepository.com/artifact/c
                                                                                om.pholser/junit-quickcheck-
DEX/DEX-Crypto com.pholser:junit-quickcheck-core                   0.8.1        core/0.8.1                            MIT           http://pholser.github.io/junit-quickcheck/site/0.8.2/license.html      Testing library              Dev/Build/Test    No              Dynamic Link      No          No
                                                                                https://mvnrepository.com/artifact/c
                                                                                om.pholser/junit-quickcheck-
DEX/DEX-Crypto com.pholser:junit-quickcheck-generators             0.8.1        generators/0.8.1                      MIT           http://pholser.github.io/junit-quickcheck/site/0.8.2/license.html      Testing library              Dev/Build/Test    No              Dynamic Link      No          No
                                                                                https://mvnrepository.com/artifact/c
                                                                                ommons-codec/commons-                                                                                                      Encoder and decoders for
DEX/DEX-Crypto commons-codec:commons-codec                         1.11         codec/1.11                            Apache-2.0    https://github.com/apache/commons-codec/blob/master/LICENSE.txt        various formats              Server-Side       No              Dynamic Link      No          No
                                                                                https://plugins.gradle.org/plugin/co                https://github.com/ben-manes/gradle-versions-
DEX/DEX-Crypto com.github.ben-manes:gradle-versions-plugin         0.20.0       m.github.ben-manes.versions           Apache-2.0    plugin/blob/master/LICENSE.txt                                         Build tool plugin            Dev/Build/Test    No              Dynamic Link      No          No
                                                                                https://plugins.gradle.org/plugin/net
DEX/DEX-Crypto net.researchgate.release                            2.7.0        .researchgate.release                 MIT           https://github.com/researchgate/gradle-release/blob/master/LICENSE     Build tool plugin            Dev/Build/Test    No              Dynamic Link      No          No
DEX/DEX-Crypto,                                                                 https://mvnrepository.com/artifact/o
ADH/Service     org.jacoco:org.jacoco.report                       0.8.2        rg.jacoco/org.jacoco.report/0.8.2     EPL-1.0       https://github.com/jacoco/jacoco/blob/master/LICENSE.md                Test coverage library        Dev/Build/Test    No              Dynamic Link      No          No
                                                                                https://mvnrepository.com/artifact/o
DEX/DEX-Crypto org.slf4j:slf4j-simple                              1.7.25       rg.slf4j/slf4j-simple/1.7.25          MIT           https://github.com/qos-ch/slf4j/blob/master/slf4j-simple/LICENSE.txt   Logging framework            Server-Side       No              Dynamic Link      No          No

                                                                                https://mvnrepository.com/artifact/c
                                                                                om.amazonaws/aws-java-sdk-
DEX/Booster      com.amazonaws:aws-java-sdk-s3                     1.11.507     s3/1.11.507                          Apache-2.0     https://github.com/aws/aws-sdk-java/blob/master/LICENSE.txt            Amazon S3 SDK library        Dev/Build/Test    No              Dynamic Link      No          No




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                                                                               https://mvnrepository.com/artifact/c
DEX/Booster      com.squareup.okhttp3:okhttp                        3.11.0     om.squareup.okhttp3/okhttp/3.11.0 Apache-2.0        https://github.com/square/okhttp/blob/master/LICENSE.txt                HTTP client                     Dev/Build/Test   No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/c
                                                                               ommons-beanutils/commons-                                                                                                   Wrapper around reflection and
DEX/Booster      commons-beanutils:commons-beanutils                1.9.3      beanutils/1.9.3                      Apache-2.0     https://github.com/apache/commons-beanutils/blob/master/LICENSE.txt     introspection                 Dev/Build/Test     No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/j CDDL-1.1, GPL-
DEX/Booster      javax.json:javax.json-api                          1.1.4      avax.json/javax.json-api/1.1.4       2.0            https://oss.oracle.com/licenses/CDDL+GPL-1.1                            JSON library                    Dev/Build/Test   No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/o
                                                                               rg.apache.commons/commons-                          https://github.com/apache/commons-
DEX/Booster      org.apache.commons:commons-configuration2          2.4        configuration2/2.4                   Apache-2.0     configuration/blob/master/LICENSE.txt                                   Configuration helpers library   Dev/Build/Test   No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/o
                                                                               rg.apache.hadoop/hadoop-
DEX/Booster      org.apache.hadoop:hadoop-common                    3.2.0      common/3.2.0                         Apache-2.0     https://github.com/apache/hadoop/blob/trunk/LICENSE.txt                 Hadoop API library              Dev/Build/Test   No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/o
                                                                               rg.apache.hadoop/hadoop-
DEX/Booster      org.apache.hadoop:hadoop-mapreduce-client-core     3.2.0      mapreduce-client-core/3.2.0          Apache-2.0     https://github.com/apache/hadoop/blob/trunk/LICENSE.txt                 Hadoop API library              Dev/Build/Test   No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/o
                                                                               rg.apache.parquet/parquet-
DEX/Booster      org.apache.parquet:parquet-hadoop                  1.10.1     hadoop/1.10.1                        Apache-2.0     https://github.com/apache/parquet-mr/blob/master/LICENSE                Parquet file format library     Dev/Build/Test   No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/o
DEX/Booster      org.cfg4j:cfg4j-core                               4.4.1      rg.cfg4j/cfg4j-core/4.4.1            Apache-2.0     https://github.com/cfg4j/cfg4j/blob/master/LICENSE                      Configuration library           Dev/Build/Test   No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/o CDDL-1.1, GPL-
DEX/Booster      org.glassfish:javax.json                           1.1.4      rg.glassfish/javax.json/1.1.4        2.0            https://oss.oracle.com/licenses/CDDL+GPL-1.1                            JSON library                    Dev/Build/Test   No   Dynamic Link   No   No

                                                                               https://mvnrepository.com/artifact/o
DEX/Booster      org.junit.jupiter:junit-jupiter-api                5.3.1      rg.junit.jupiter/junit-jupiter-api/5.3.1 EPL-2.0    https://github.com/junit-team/junit5/blob/master/LICENSE.md             Testing framework               Dev/Build/Test   No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/o
                                                                               rg.junit.jupiter/junit-jupiter-
DEX/Booster      org.junit.jupiter:junit-jupiter-engine             5.3.1      engine/5.3.1                             EPL-2.0    https://github.com/junit-team/junit5/blob/master/LICENSE.md             Testing framework               Dev/Build/Test   No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/o
                                                                               rg.junit.jupiter/junit-jupiter-
DEX/Booster      org.junit.jupiter:junit-jupiter-params             5.3.1      params/5.3.1                             EPL-2.0    https://github.com/junit-team/junit5/blob/master/LICENSE.md             Testing framework               Dev/Build/Test   No   Dynamic Link   No   No

                                                                              https://mvnrepository.com/artifact/c
DEX/Beholder     com.google.guava:guava                             27.0-jre  om.google.guava/guava/27.0-jre       Apache-2.0      http://www.apache.org/licenses/LICENSE-2.0.txt                          Collections library             Server-Side      No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/c
                 com.graphql-java-kickstart:graphiql-spring-boot-             om.graphql-java-kickstart/graphiql-                  https://github.com/graphql-java-kickstart/spring-boot-
DEX/Beholder     starter                                            5.4       spring-boot-starter/5.4              MIT             graphql/blob/master/LICENSE.md                                          GraphQL support library         Server-Side      No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/c
                                                                              om.graphql-java-kickstart/graphql-
DEX/Beholder     com.graphql-java-kickstart:graphql-java-tools      5.4.1     java-tools/5.4.1                     MIT             http://www.opensource.org/licenses/mit-license.php                      GraphQL support library         Server-Side      No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/c
                 com.graphql-java-kickstart:graphql-spring-boot-              om.graphql-java-kickstart/graphql-                   https://github.com/graphql-java-kickstart/spring-boot-
DEX/Beholder     starter                                            5.4       spring-boot-starter/5.4              MIT             graphql/blob/master/LICENSE.md                                          GraphQL support library         Server-Side      No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/c
                 com.graphql-java-kickstart:graphql-spring-boot-              om.graphql-java-kickstart/graphql-                   https://github.com/graphql-java-kickstart/spring-boot-
DEX/Beholder     starter-test                                       5.4       spring-boot-starter-test/5.4         MIT             graphql/blob/master/LICENSE.md                                          GraphQL support library         Server-Side      No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/c
                                                                              om.squareup.okhttp3/mockwebserv
DEX/Beholder     com.squareup.okhttp3:mockwebserver                 3.2.0     er/3.2.0                             Apache-2.0      https://github.com/square/okhttp/blob/master/LICENSE.txt                Mock web server libarry         Dev/Build/Test   No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/d
                                                                              e.idealo.logback/logback-
DEX/Beholder     de.idealo.logback:logback-redis                    1.1.0     redis/1.1.0                          Apache-2.0      https://github.com/idealo/logback-redis/blob/master/LICENSE             Logging framework backend       Server-Side      No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/i
                                                                              o.micrometer/micrometer-registry-
DEX/Beholder     io.micrometer:micrometer-registry-graphite         1.0.6     graphite/1.0.6                       Apache-2.0      https://github.com/micrometer-metrics/micrometer/blob/master/LICENSE    Metrics framework               Server-Side      No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/i
                                                                              o.springfox/springfox-swagger-
DEX/Beholder     io.springfox:springfox-swagger-ui                  2.9.2     ui/2.9.2                             Apache-2.0      https://github.com/springfox/springfox/blob/master/LICENSE              API dev tool                    Server-Side      No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/i
                                                                              o.springfox/springfox-
DEX/Beholder     io.springfox:springfox-swagger2                    2.9.2     swagger2/2.9.2                       Apache-2.0      https://github.com/springfox/springfox/blob/master/LICENSE              API dev tool                    Server-Side      No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/j                 https://oss.oracle.com/licenses/CDDL+GPL-1.1,
DEX/Beholder     javax.xml.bind:jaxb-api                            2.3.0     avax.xml.bind/jaxb-api/2.3.0         CDDL 1.1        https://oss.oracle.com/licenses/CDDL+GPL-1.1                            XML library                     Server-Side      No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/n
DEX/Beholder     net.bytebuddy:byte-buddy                           1.9.5     et.bytebuddy/byte-buddy/1.9.5        Apache-2.0      https://github.com/raphw/byte-buddy/blob/master/LICENSE                 Runtime code generation         Server-Side      No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/n
                                                                              et.logstash.logback/logstash-                        https://github.com/logstash/logstash-logback-
DEX/Beholder     net.logstash.logback:logstash-logback-encoder      5.2       logback-encoder/5.2                  Apache-2.0      encoder/blob/master/LICENSE                                             Logging framework               Server-Side      No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/n
DEX/Beholder     net.snowflake:snowflake-jdbc                       3.6.17    et.snowflake/snowflake-jdbc/3.6.17 Apache-2.0        https://github.com/snowflakedb/snowflake-jdbc/blob/master/LICENSE.txt   Snowflake JDBC connector        Server-Side      No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/o
                                                                              rg.apache.commons/commons-
DEX/Beholder     org.apache.commons:commons-lang3                   3.8.1     lang3/3.8.1                          Apache-2.0      https://github.com/apache/commons-lang/blob/master/LICENSE.txt          General utility library         Server-Side      No   Dynamic Link   No   No
                                                                              https://mvnrepository.com/artifact/o
DEX/Beholder     org.flywaydb:flyway-core                           5.2.0     rg.flywaydb/flyway-core/5.2.0        Apache-2.0      https://flywaydb.org/licenses/flyway-community                          DB migration tool               Server-Side      No   Dynamic Link   No   No
                                                                                                                   Apache-2.0,
                                                                              https://mvnrepository.com/artifact/o LGPL-2.1+, MPL-
DEX/Beholder     org.javassist:javassist                            3.23.1-GA rg.javassist/javassist/3.23.1-GA     1.1             https://github.com/jboss-javassist/javassist/blob/master/License.html   Bitecode manipulation library   Server-Side      No   Dynamic Link   No   No




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                                                                                  https://mvnrepository.com/artifact/o
DEX/Beholder     org.junit.jupiter:junit-jupiter-api                   5.1.1      rg.junit.jupiter/junit-jupiter-api/5.1.1 EPL-2.0        https://github.com/junit-team/junit5/blob/master/LICENSE.md              Testing framework             Dev/Build/Test   No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.junit.jupiter/junit-jupiter-
DEX/Beholder     org.junit.jupiter:junit-jupiter-engine                5.1.0      engine/5.1.0                             EPL-2.0        https://github.com/junit-team/junit5/blob/master/LICENSE.md              Testing framework             Dev/Build/Test   No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.junit.jupiter/junit-jupiter-
DEX/Beholder     org.junit.jupiter:junit-jupiter-params                5.1.0      params/5.1.0                             EPL-2.0        https://github.com/junit-team/junit5/blob/master/LICENSE.md              Testing framework             Dev/Build/Test   No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.junit.platform/junit-platform-
DEX/Beholder     org.junit.platform:junit-platform-engine              1.1.0      engine/1.1.0                             EPL-2.0        https://github.com/junit-team/junit5/blob/master/LICENSE.md              Testing framework             Dev/Build/Test   No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.junit.platform/junit-platform-
DEX/Beholder     org.junit.platform:junit-platform-launcher            1.1.0      launcher/1.1.0                           EPL-2.0        https://github.com/junit-team/junit5/blob/master/LICENSE.md              Testing framework             Dev/Build/Test   No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
DEX/Beholder     org.mockito:mockito-core                              2.23.0     rg.mockito/mockito-core/2.23.0           MIT            https://github.com/mockito/mockito/blob/master/LICENSE                   Testing framework             Dev/Build/Test   No   Dynamic Link   No   No
DEX/Beholder,                                                                     https://mvnrepository.com/artifact/o
ADH/Service      org.postgresql:postgresql                             42.2.5     rg.postgresql/postgresql/42.2.5          BSD-2-Clause   https://jdbc.postgresql.org/about/license.html                           DB driver                     Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                       5.0.9.RELE rg.springframework/spring-context-
DEX/Beholder     org.springframework:spring-context-support            ASE        support/5.0.9.RELEASE                    Apache-2.0     https://github.com/spring-projects/spring-framework                      App web framework             Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                       2.0.5.RELE rg.springframework.boot/spring-
DEX/Beholder     org.springframework.boot:spring-boot-actuator         ASE        boot-actuator/2.0.5.RELEASE              Apache-2.0     https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt   App web framework             Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.springframework.boot/spring-
                 org.springframework.boot:spring-boot-configuration- 2.0.5.RELE boot-configuration-
DEX/Beholder     processor                                             ASE        processor/2.0.5.RELEASE                  Apache-2.0     https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt   App web framework             Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.springframework.boot/spring-
                                                                       2.0.5.RELE boot-starter-data-
DEX/Beholder     org.springframework.boot:spring-boot-starter-data-jpa ASE        jpa/2.0.5.RELEASE                        Apache-2.0     https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt   App web framework             Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                       2.0.5.RELE rg.springframework.boot/spring-
DEX/Beholder     org.springframework.boot:spring-boot-starter-mail     ASE        boot-starter-mail/2.0.5.RELEASE Apache-2.0              https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt   App web framework             Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                       2.0.5.RELE rg.springframework.boot/spring-
DEX/Beholder     org.springframework.boot:spring-boot-starter-web      ASE        boot-starter-web/2.0.5.RELEASE           Apache-2.0     https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt   App web framework             Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.springframework.boot/spring-
                                                                       2.0.5.RELE boot-starter-
DEX/Beholder     org.springframework.boot:spring-boot-starter-webflux ASE         webflux/2.0.5.RELEASE                    Apache-2.0     https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt   App web framework             Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                       1.2.2.RELE rg.springframework.retry/spring-
DEX/Beholder     org.springframework.retry:spring-retry                ASE        retry/1.2.2.RELEASE                      Apache-2.0     https://github.com/spring-projects/spring-retry/blob/master/LICENSE-2.0.txt App web framework          Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/s
DEX/Beholder     software.amazon.awssdk:s3                             2.1.0      oftware.amazon.awssdk/s3/2.1.0           Apache-2.0     https://aws.amazon.com/apache2.0                                         Amazon S3 SDK library         Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/s
DEX/Beholder     software.amazon.awssdk:ses                            2.1.0      oftware.amazon.awssdk/ses/2.1.0 Apache-2.0              https://aws.amazon.com/apache2.0                                         Amazon SES SDK library        Server-Side      No   Dynamic Link   No   No

                                                                                 https://mvnrepository.com/artifact/c
                                                                                 om.github.scopt/scopt_2.11/4.0.0-
DEX/Alchemist    com.github.scopt:scopt_2.11:4.0.0-RC2                 4.0.0-RC2 RC2                                  MIT                 https://github.com/scopt/scopt/blob/scopt4/LICENSE.md                    Cmd line parsing library      Server-Side      No   Dynamic Link   No   No
                                                                                 https://mvnrepository.com/artifact/o
                                                                                 rg.apache.spark/spark-
DEX/Alchemist    org.apache.spark:spark-avro_2.11:2.4.0                2.4.0     avro_2.11/2.4.0                      Apache-2.0          https://github.com/apache/spark/blob/master/LICENSE                      Avro file format support      Server-Side      No   Dynamic Link   No   No
                                                                                 https://mvnrepository.com/artifact/o
                                                                                 rg.apache.spark/spark-
DEX/Alchemist    org.apache.spark:spark-sql_2.11:2.4.0                 2.4.0     sql_2.11/2.4.0                       Apache-2.0          https://github.com/apache/spark/blob/master/LICENSE                      Spart SQL language support    Server-Side      No   Dynamic Link   No   No
                                                                                 https://mvnrepository.com/artifact/o
DEX/Alchemist    org.scala-lang:scala-library:2.11.12                  2.11.12   rg.scala-lang/scala-library/2.11.12 BSD 3-Clause         http://www.scala-lang.org/license.html                                   Scala runtime                 Server-Side      No   Dynamic Link   No   No
                                                                                 https://mvnrepository.com/artifact/o
DEX/Alchemist    org.scalatest:scalatest_2.11:3.0.1                    3.0.1     rg.scalatest/scalatest_2.11/3.0.1    Apache-2.0          https://github.com/scalatest/scalatest/blob/master/LICENSE               Testing framework             Dev/Build/Test   No   Dynamic Link   No   No
DEX/Alchemist,
ESP/Fraud-                                                                          https://mvnrepository.com/artifact/o
detector         org.pegdown:pegdown:1.4.2                             1.4.2        rg.pegdown/pegdown/1.4.2             Apache-2.0       https://github.com/sirthias/pegdown/blob/master/LICENSE                  Markdown library              Server-Side      No   Dynamic Link   No   No

                                                                                  https://mvnrepository.com/artifact/o
                                                                       2.1.1.RELE rg.springframework.boot/spring-
ADH/Service      org.springframework.boot:spring-boot-starter-web      ASE        boot-starter-web/2.1.1.RELEASE       Apache-2.0         https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt   Spring boot Starter for web   Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.springframework.boot/spring-
                                                                       2.1.1.RELE boot-starter-                                                                                                                    Spring Boot Health check and
ADH/Service      org.springframework.boot:spring-boot-starter-actuator ASE        actuator/2.1.1.RELEASE               Apache-2.0         https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt   metrics                      Dev/Build/Test    No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/i
                                                                                  o.micrometer/micrometer-registry-                                                                                                Application metrics facade.
ADH/Service      io.micrometer:micrometer-registry-influx              1.1.1      influx/1.1.1                         Apache-2.0         https://github.com/micrometer-metrics/micrometer/blob/master/LICENSE                                   Dev/Build/Test   No   Dynamic Link   No   No




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                                                                                  https://mvnrepository.com/artifact/i
                                                                                  o.micrometer/micrometer-registry-                                                                                              Application metrics facade.
ADH/Service      io.micrometer:micrometer-registry-graphite          1.1.1        graphite/1.1.1                       Apache-2.0      https://github.com/micrometer-metrics/micrometer/blob/master/LICENSE                                       Dev/Build/Test   No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.springframework.boot/spring-
                                                                       2.1.1.RELE boot-starter-data-
ADH/Service      org.springframework.boot:spring-boot-starter-data-jpa ASE        jpa/2.1.1.RELEASE                    Apache-2.0      https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt    Spring Boot JPA integration      Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                       2.1.1.RELE rg.springframework.boot/spring-
ADH/Service      org.springframework.boot:spring-boot-starter-jooq     ASE        boot-starter-jooq/2.1.1.RELEASE Apache-2.0           https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt    Spring Boot Jooq integration     Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                       2.1.1.RELE rg.springframework.boot/spring-
ADH/Service      org.springframework.boot:spring-boot-devtools         ASE        boot-devtools/2.1.1.RELEASE          Apache-2.0      https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt    Spring Boot tooling              Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
ADH/Service      org.flywaydb:flyway-core                              5.2.4      rg.flywaydb/flyway-core/5.2.4        Apache-2.0      https://github.com/flyway/flyway/blob/master/LICENSE.txt                  DB Migrations management         Dev/Build/Test   No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                       2.1.1.RELE rg.springframework.boot/spring-
ADH/Service      org.springframework.boot:spring-boot-starter-amqp     ASE        boot-starter-amqp/2.1.1.RELEASE Apache-2.0           https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt    Spring Boot AMQP integration Server-Side          No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/c
ADH/Service      com.sun.mail:javax.mail                               1.6.2      om.sun.mail/javax.mail/1.6.2         CDDL-1.1        https://javaee.github.io/javamail/LICENSE                                 Mail client                      Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/c
                                                                                  om.amazonaws/aws-java-sdk-
ADH/Service      com.amazonaws:aws-java-sdk-s3                         1.11.475   s3/1.11.475                          Apache-2.0      https://github.com/aws/aws-sdk-java/blob/master/LICENSE.txt               SDK for AWS S3                   Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/c
                                                                                  om.amazonaws/aws-java-sdk-
ADH/Service      com.amazonaws:aws-java-sdk-ses                        1.11.475   ses/1.11.475                         Apache-2.0      https://github.com/aws/aws-sdk-java/blob/master/LICENSE.txt               SDK for AWS SES                  Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/c
                                                                                  om.google.cloud/google-cloud-
ADH/Service      com.google.cloud:google-cloud-bigquery                1.50.0     bigquery/1.50.0                      Apache-2.0      https://github.com/googleapis/google-cloud-java/blob/master/LICENSE       Client for Google BigQuery       Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/c
                                                                                  om.google.api-client/google-api-
ADH/Service      com.google.api-client:google-api-client               1.27.0     client/1.27.0                        Apache-2.0      https://github.com/googleapis/google-api-java-client/blob/master/LICENSE Google API client                 Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/c
                                                                                  om.google.http-client/google-http-
ADH/Service      com.google.http-client:google-http-client             1.27.0     client/1.27.0                        Apache-2.0      https://github.com/googleapis/google-http-java-client/blob/master/LICENSE Google Http client               Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/c
                                                                                  om.google.oauth-client/google-                       https://github.com/googleapis/google-oauth-java-
ADH/Service      com.google.oauth-client:google-oauth-client-jetty     1.27.0     oauth-client-jetty/1.27.0            Apache-2.0      client/blob/master/LICENSE                                                OAuth client                     Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                       1.2.2.RELE rg.springframework.retry/spring-
ADH/Service      org.springframework.retry:spring-retry                ASE        retry/1.2.2.RELEASE                  Apache-2.0      https://github.com/spring-projects/spring-retry/blob/master/LICENSE-2.0.txt Spring Retry mechanism         Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/c
ADH/Service      commons-io:commons-io                                 2.6        ommons-io/commons-io/2.6             Apache-2.0      https://github.com/apache/commons-io/blob/master/LICENSE.txt              Utilities for IO functionality   Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.apache.commons/commons-
ADH/Service      org.apache.commons:commons-text                       1.6        text/1.6                             Apache-2.0      https://github.com/apache/commons-text/blob/master/LICENSE.txt            Utilities to help with Strings   Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.apache.commons/commons-
ADH/Service      org.apache.commons:commons-csv                        1.6        csv/1.6                              Apache-2.0      https://github.com/apache/commons-csv/blob/master/LICENSE.txt             CSV helpers                      Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.apache.commons/commons-
ADH/Service      org.apache.commons:commons-collections4               4.2        collections4/4.2                     Apache-2.0      https://github.com/apache/commons-collections/blob/master/LICENSE.txt     Collections utilities            Server-Side      No   Dynamic Link   No   No
                                                                                                                       Apache-2.0,
                                                                                  https://mvnrepository.com/artifact/c GPL-2.0, MPL-
ADH/Service      com.rabbitmq:amqp-client                              5.4.3      om.rabbitmq/amqp-client/5.4.3        1.1             https://github.com/rabbitmq/rabbitmq-java-client/blob/master/LICENSE      RabbitMQ client                  Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/d
                                                                                  e.idealo.logback/logback-
ADH/Service      de.idealo.logback:logback-redis                       1.1.0      redis/1.1.0                          Apache-2.0      https://github.com/idealo/logback-redis/blob/master/LICENSE               Logback to REdis                 Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/n
                                                                                  et.logstash.logback/logstash-                        https://github.com/logstash/logstash-logback-                             Logback appenders for JSON
ADH/Service      net.logstash.logback:logstash-logback-encoder         5.2        logback-encoder/5.2                  Apache-2.0      encoder/blob/master/LICENSE                                               format                     Server-Side            No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
ADH/Service      org.apache.poi:poi                                    4.0.0      rg.apache.poi/poi/4.0.0              Apache-2.0      https://poi.apache.org/legal.html                                         work with Excel                  Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/i
ADH/Service      io.vavr:vavr                                          0.9.2      o.vavr/vavr/0.9.2                    Apache-2.0      https://github.com/vavr-io/vavr/blob/master/LICENSE                       Functional language extension Server-Side         No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.springframework.boot/spring-
                 org.springframework.boot:spring-boot-configuration- 2.1.1.RELE boot-configuration-
ADH/Service      processor                                             ASE        processor/2.1.1.RELEASE              Apache-2.0      https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt    ConfigurationSpring Boot         Server-Side      No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                       2.1.1.RELE rg.springframework.boot/spring-
ADH/Service      org.springframework.boot:spring-boot-starter-test     ASE        boot-starter-test/2.1.1.RELEASE      Apache-2.0      https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt    Test helpers for Spring Boot     Dev/Build/Test   No   Dynamic Link   No   No

                                                                                 https://mvnrepository.com/artifact/o
ADH/Service      org.junit.jupiter:junit-jupiter-api                 5.3.1       rg.junit.jupiter/junit-jupiter-api/5.3.1 EPL-2.0      https://github.com/junit-team/junit5/blob/master/LICENSE.md               Unit/Integration tests           Dev/Build/Test   No   Dynamic Link   No   No
                                                                                 https://mvnrepository.com/artifact/o
                                                                                 rg.junit.jupiter/junit-jupiter-
ADH/Service      org.junit.jupiter:junit-jupiter-params              5.3.1       params/5.3.1                             EPL-2.0      https://github.com/junit-team/junit5/blob/master/LICENSE.md               Parametrized tests               Dev/Build/Test   No   Dynamic Link   No   No




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                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.junit.platform/junit-platform-
ADH/Service      org.junit.platform:junit-platform-engine             1.3.1       engine/1.3.1                           EPL-2.0      https://github.com/junit-team/junit5/blob/master/LICENSE.md                Unit/Integration tests         Dev/Build/Test     No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.junit.platform/junit-platform-
ADH/Service      org.junit.platform:junit-platform-launcher            1.3.1      launcher/1.3.1                         EPL-2.0      https://github.com/junit-team/junit5/blob/master/LICENSE.md                Unit/Integration tests         Dev/Build/Test     No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/c
                                                                                  om.github.docker-java/docker-
ADH/Service      com.github.docker-java:docker-java                    3.1.0-rc-5 java/3.1.0-rc-5                        Apache-2.0   https://github.com/docker-java/docker-java/blob/master/LICENSE             run docker image               Dev/Build/Test     No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.glassfish.jersey.inject/jersey-
ADH/Service      org.glassfish.jersey.inject:jersey-hk2                2.27       hk2/2.27                               CDDL-1.1     https://github.com/jersey/jersey/blob/master/LICENSE.txt                   required for docker java       Dev/Build/Test     No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/c
                                                                                  loud.localstack/localstack-                                                                                                    test/mocking framework for
ADH/Service      cloud.localstack:localstack-utils                     0.1.15     utils/0.1.15                           Apache-2.0   https://github.com/localstack/localstack/blob/master/LICENSE.txt           cloud apps                     Dev/Build/Test     No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
ADH/Service      org.mockito:mockito-core                              2.27.0     rg.mockito/mockito-core/2.27.0         MIT          https://github.com/mockito/mockito/blob/release/2.x/LICENSE                mocking framework              Dev/Build/Test     No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.mockito/mockito-junit-
ADH/Service      org.mockito:mockito-junit-jupiter                     2.23.4     jupiter/2.23.4                         MIT          https://github.com/mockito/mockito/blob/release/2.x/LICENSE                mocking framework              Dev/Build/Test     No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.subethamail/subethasmtp-                                                                                                    Java library for receiving
ADH/Service      org.subethamail:subethasmtp-wiser                     1.2        wiser/1.2                              Apache-2.0   https://github.com/voodoodyne/subethasmtp/blob/master/LICENSE.txt          SMTP mail                      Server-Side        No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.apache.qpid/qpid-broker-
ADH/Service      org.apache.qpid:qpid-broker-core                      7.0.6      core/7.0.6                             Apache-2.0   https://github.com/apache/qpid-broker-j/blob/master/LICENSE                Message brocker                Server-Side        No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                 org.apache.qpid:qpid-broker-plugins-amqp-0-8-                    rg.apache.qpid/qpid-broker-plugins-
ADH/Service      protocol                                              7.0.6      amqp-0-8-protocol/7.0.6                Apache-2.0   https://github.com/apache/qpid-broker-j/blob/master/LICENSE                plugin for message broker      Server-Side        No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.apache.qpid/qpid-broker-plugins-
ADH/Service      org.apache.qpid:qpid-broker-plugins-memory-store      7.0.6      memory-store/7.0.6                     Apache-2.0   https://github.com/apache/qpid-broker-j/blob/master/LICENSE                inmeemory message store        Server-Side        No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.junit.jupiter/junit-jupiter-
ADH/Service      org.junit.jupiter:junit-jupiter-engine                5.3.1      engine/5.3.1                           EPL-2.0      https://github.com/junit-team/junit5/blob/master/LICENSE.md                Unit/Integration tests         Dev/Build/Test     No   Dynamic Link   No   No
                                                                       2.1.1.RELE https://plugins.gradle.org/plugin/org
ADH/Service      org.springframework.boot:spring-boot-gradle-plugin ASE           .springframework.boot                  Apache-2.0   https://github.com/spring-projects/spring-boot/blob/master/LICENSE.txt     Spring Boot Support in gradle Dev/Build/Test      No   Standalone     No   No
                 gradle.plugin.com.gorylenko.gradle-git-                          https://plugins.gradle.org/plugin/co                                                                                           Gradle plugin to add git info to
ADH/Service      properties:gradle-git-properties                      1.5.2      m.gorylenko.gradle-git-properties Apache-2.0        https://github.com/n0mer/gradle-git-properties/blob/master/LICENSE.txt     build                            Dev/Build/Test   No   Standalone     No   No
                                                                                  https://plugins.gradle.org/plugin/org                                                                                          Gradle plugin to work with git
ADH/Service      org.ajoberstar:grgit                                  2.3.0      .ajoberstar.grgit                      Apache-2.0   https://github.com/ajoberstar/grgit/blob/master/LICENSE                    repositories                     Dev/Build/Test   No   Standalone     No   No
                                                                                  https://plugins.gradle.org/plugin/nu.                                                                                          Gradle plugin to generate jooq
ADH/Service      nu.studer.jooq                                        3.0.2      studer.jooq                            Apache-2.0   https://github.com/etiennestuder/gradle-jooq-plugin/blob/master/LICENSE    models                           Dev/Build/Test   No   Standalone     No   No
                                                                                  https://plugins.gradle.org/plugin/neb               https://github.com/nebula-plugins/gradle-ospackage-
ADH/Service      nebula.ospackage                                      5.0.4      ula.ospackage                          Apache-2.0   plugin/blob/master/LICENSE                                                 Os packaging gradle plugin     Dev/Build/Test     No   Standalone     No   No
                                                                                  https://plugins.gradle.org/plugin/ru.i
                 ru.itbasis.gradle.plugins.postgresql-embedded-gradle-            tbasis.gradle.plugins.postgresql-                   https://github.com/itbasis/postgresql-embedded-gradle-                     Plugin to start inmemory
ADH/Service      plugin                                                2.1.1      embedded-gradle-plugin                 MIT          plugin/blob/master/LICENSE                                                 postgresql                     Dev/Build/Test     No   Standalone     No   No
                                                                                  https://plugins.gradle.org/plugin/co                https://github.com/ben-manes/gradle-versions-                              Gradle plugin for
ADH/Service      com.github.ben-manes.versions                         0.20.0     m.github.ben-manes.versions            Apache-2.0   plugin/blob/master/LICENSE.txt                                             dependencies update checks     Dev/Build/Test     No   Standalone     No   No
                                                                                  https://github.com/google/apis-
ADH/Service      com.google.api.services.fullcirclequery.v2                       client-generator/                      Apache-2.0   https://github.com/google/apis-client-generator/blob/master/README         Gogle ADH API support          Server-Side        No   Static Link    No   No

                                                                                   https://bintray.com/johnrengelman/                                                                                                                                                                       No
ESP/Fraud-                                                                            gradle-plugins/gradle-shadow-
detector         com.github.jengelman.gradle.plugins:shadow           1.2.3                     plugin/1.2.3          Apache-2.0           https://github.com/johnrengelman/shadow/blob/master/LICENSE           Build tool plugin              Dev/Build/Test     No   Dynamic Link   No
ESP/Fraud-                                                                         https://bintray.com/bintray/jcenter/o
detector         org.jmockit:jmockit                                  1.33              rg.jmockit%3Ajmockit/1.33        MIT                 https://github.com/jmockit/jmockit1/blob/master/LICENSE.txt         Testing library                Dev/Build/Test     No   Dynamic Link   No   No
                                                                                   https://bintray.com/bintray/jcenter/o
ESP/Fraud-                                                                         rg.apache.commons%3Acommons-
detector         org.apache.commons:commons-lang3                     3.3.2                       lang3/3.3.2            Apache-2.0   https://github.com/apache/commons-lang/blob/master/LICENSE.txt             General utility library        Server-Side        No   Dynamic Link   No   No
                                                                                   https://bintray.com/bintray/jcenter/c
ESP/Fraud-                                                                           ommons-validator%3Acommons-
detector         org.apache.commons:commons-validator                 1.6                        validator/1.6           Apache-2.0    https://github.com/apache/commons-validator/blob/master/LICENSE.txt       Data validation                Server-Side        No   Dynamic Link   No   No
ESP/Fraud-                                                                         https://bintray.com/bintray/jcenter/c
detector         org.apache.commons:commons-net                       3.5           ommons-net%3Acommons-net/3.5 Apache-2.0               https://github.com/apache/commons-net/blob/master/LICENSE.txt          Network utilities              Server-Side        No   Dynamic Link   No   No
ESP/Fraud-                                                                         https://bintray.com/bintray/jcenter/o
detector         org.slf4j:slf4j-api                                  1.7.10             rg.slf4j%3Aslf4j-api/1.7.10     MIT               https://github.com/qos-ch/slf4j/blob/master/slf4j-api/LICENSE.txt     Logging framework              Server-Side        No   Dynamic Link   No   No
ESP/Fraud-                                                                         https://bintray.com/bintray/jcenter/o
detector         org.slf4j:slf4j-log4j12                              1.7.12          rg.slf4j%3Aslf4j-log4j12/1.7.12 MIT                https://github.com/qos-ch/slf4j/blob/master/slf4j-log4j12/LICENSE.txt   Logging framework              Server-Side        No   Dynamic Link   No   No
                                                                                   https://bintray.com/bintray/jcenter/o
ESP/Fraud-                                                                          rg.zenframework.z8.dependencies.
detector         org.zenframework.z8.dependencies.commons:log4j       1.2.17            commons%3Alog4j-1.2.17           Apache-2.0              https://github.com/apache/log4j/blob/trunk/LICENSE              Logging framework              Server-Side        No   Dynamic Link   No   No
                                                                                   https://bintray.com/bintray/jcenter/o
ESP/Fraud-                                                                              rg.apache.spark%3Aspark-
detector         org.apache.spark:spark-sql_2.11                      2.0.2                     sql_2.11/2.0.2           Apache-2.0             https://github.com/apache/spark/blob/master/LICENSE              Apache Spark support library   Server-Side        No   Dynamic Link   No   No
                                                                                   https://bintray.com/bintray/jcenter/o
ESP/Fraud-                                                                              rg.apache.spark%3Aspark-
detector         org.apache.spark:spark-core_2.11                     2.0.2                    core_2.11/2.0.2           Apache-2.0             https://github.com/apache/spark/blob/master/LICENSE              Apache Spark support library   Server-Side        No   Dynamic Link   No   No




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                                                                                 https://bintray.com/bintray/jcenter/o
ESP/Fraud-                                                                            rg.apache.spark%3Aspark-
detector         org.apache.spark:spark-hive_2.11                   2.0.2                   hive_2.11/2.0.2            Apache-2.0                https://github.com/apache/spark/blob/master/LICENSE             Apache Spark support library   Server-Side      No   Dynamic Link   No   No
                                                                                 https://bintray.com/bintray/jcenter/o
ESP/Fraud-                                                                            rg.apache.spark%3Aspark-
detector         org.apache.spark:spark-mllib_2.11                  2.0.2                   mllib_2.11/2.0.2           Apache-2.0                https://github.com/apache/spark/blob/master/LICENSE             Apache Spark support library   Server-Side      No   Dynamic Link   No   No
ESP/Fraud-                                                                       https://bintray.com/falaki/maven/sp
detector         com.databricks:spark-csv_2.11                      1.4.0                     ark-csv/1.4.0            Apache-2.0             https://github.com/databricks/spark-csv/blob/master/LICENSE        Apache Spark support library   Server-Side      No   Dynamic Link   No   No
ESP/Fraud-                                                                       https://bintray.com/bintray/jcenter/o
detector         org.jpmml:jpmml-sparkml                            1.3.2         rg.jpmml%3Ajpmml-sparkml/1.3.2 AGPL 3.0                  https://github.com/jpmml/jpmml-sparkml/blob/master/LICENSE.txt        Apache Spark support library   Server-Side      No   Dynamic Link   No   No
ESP/Fraud-                                                                       https://bintray.com/bintray/jcenter/o
detector         org.jpmml:pmml-evaluator                           1.3.8        rg.jpmml%3Apmml-evaluator/1.3.8 AGPL 3.0                  https://github.com/jpmml/jpmml-evaluator/blob/master/LICENSE.txt      Apache Spark support library   Server-Side      No   Dynamic Link   No   No
                                                                                 https://bintray.com/bintray/jcenter/c
ESP/Fraud-                                                                       om.fasterxml.jackson.core%3Ajack                                        https://github.com/FasterXML/jackson-
detector         com.fasterxml.jackson.core:jackson-databind        2.6.5                  son-databind/2.6.5          Apache-2.0            databind/blob/master/src/main/resources/META-INF/LICENSE            JSON library                   Server-Side      No   Dynamic Link   No   No

ESP/Fraud-                                                          4.1.7.RELE https://mvnrepository.com/artifact/o                                      https://github.com/spring-projects/spring-
detector         org.springframework:spring-webmvc                  ASE        rg.springframework/spring-webmvc Apache-2.0                                 framework/blob/master/README.md                       Web app framework              Server-Side      No   Dynamic Link   No   No
ESP/Fraud-                                                                     https://bintray.com/bintray/jcenter/c
detector         com.google.guava:guava                             20.0        om.google.guava%3Aguava/20.0 Apache-2.0                          https://github.com/google/guava/blob/master/COPYING             Collections libarry            Server-Side      No   Dynamic Link   No   No
ESP/Fraud-                                                                     https://bintray.com/springfox/mave
detector         io.springfox:springfox-swagger2                    2.2.2              n-repo/springfox/2.2.2        Apache-2.0        https://github.com/springfox/springfox/blob/master/LICENSE                API dev tool                   Server-Side      No   Dynamic Link   No   No
ESP/Fraud-                                                                     https://bintray.com/springfox/mave
detector         io.springfox:springfox-swagger-ui                  2.2.2              n-repo/springfox/2.2.2        Apache-2.0        https://github.com/springfox/springfox/blob/master/LICENSE                API dev tool                   Server-Side      No   Dynamic Link   No   No
ESP/Fraud-                                                          4.1.7.RELE https://mvnrepository.com/artifact/o                                      https://github.com/spring-projects/spring-
detector         org.springframework:spring-test                    ASE           rg.springframework/spring-test     Apache-2.0                            framework/blob/master/README.md                       Testing library                Dev/Build/Test   No   Dynamic Link   No   No
                                                                               https://bintray.com/bintray/jcenter/j
ESP/Fraud-                                                                        avax.servlet%3Ajavax.servlet-
detector         javax.servlet:javax.servlet-api                    3.1.0                       api/3.1.0            CDDL-1.1                         https://javaee.github.io/servlet-spec/LICENSE              JavaEE servlet api.            Dev/Build/Test   No   Dynamic Link   No   No
ESP/Fraud-                                                                     https://bintray.com/jodastephen/ma
detector         joda-time:joda-time                                2.9.9       ven/joda-time%3Ajoda-time/2.9.9 Apache-2.0                   https://github.com/JodaOrg/joda-time/blob/master/LICENSE.txt        DateTime utilities             Server-Side      No   Dynamic Link   No   No
                                                                               https://bintray.com/bintray/jcenter/c
ESP/Fraud-                                                                     om.fasterxml.jackson.core%3Ajack                                          https://github.com/FasterXML/jackson-
detector         com.fasterxml.jackson.core:jackson-annotations     2.6.5              son-annotations/2.6.5         Apache-2.0             annotations/blob/master/src/main/resources/META-INF/LICENSE          JSON library                   Server-Side      No   Dynamic Link   No   No
ESP/Fraud-                                                                     https://bintray.com/bintray/jcenter/o
detector         org.reflections:reflections                        0.9.11     rg.reflections%3Areflections/0.9.11 WTFPL                    https://github.com/ronmamo/reflections/blob/master/COPYING.txt       Runtime reflection library     Server-Side      No   Dynamic Link   No   No
                                                                               https://bintray.com/bintray/jcenter/o
ESP/Fraud-                                                                      rg.aerysoft.minijson%3Aminijson-                            https://jar-download.com/artifacts/org.aerysoft.minijson/minijson-
detector         org.aerysoft.minijson:minijson-core                0.9.2                      core/0.9.2                                                        core/0.9.2/source-code                          JSON library                   Server-Side      No   Dynamic Link   No   No
ESP/Fraud-       org.github.ngbinh.scalastyle:gradle-scalastyle-               https://bintray.com/ngbinh/maven/g
detector         plugin_2.11                                        0.8.2       radle-scalastyle-plugin_2.11/0.8.2 Apache-2.0             https://bintray.com/ngbinh/maven/gradle-scalastyle-plugin_2.11/0.8.2   Build tool plugin              Dev/Build/Test   No   Dynamic Link   No   No
                                                                               https://bintray.com/bintray/jcenter/o
ESP/Fraud-                                                                     rg.scalastyle%3Ascalastyle_2.11/1.
detector         org.scalastyle:scalastyle_2.11                     1.0.0                          0.0               Apache-2.0             https://github.com/scalastyle/scalastyle/blob/master/LICENCE.txt     Code style tool                Dev/Build/Test   No   Dynamic Link   No   No
                                                                               https://bintray.com/bintray/jcenter/o
ESP/Fraud-                                                                            rg.scala-lang%3Ascala-
detector         org.scala-lang:scala-library                       2.11.12                 library/2.11.12          Apache-2.0                https://github.com/scala/scala-lang/blob/master/license.md        Scala language runtime         Server-Side      No   Dynamic Link   No   No
                                                                               https://bintray.com/bintray/jcenter/c
                                                                                        om.typesafe.scala-
ESP/Fraud-                                                                                logging%3Ascala-
detector         com.typesafe.scala-logging:scala-logging_2.11      3.8.0                logging_2.11/3.8.0          Apache-2.0             https://github.com/lightbend/scala-logging/blob/master/LICENSE       Logging framework              Server-Side      No   Dynamic Link   No   No
                                                                               https://bintray.com/bintray/jcenter/c
ESP/Fraud-                                                                       om.couchbase.client%3Aspark-                                        https://github.com/couchbase/couchbase-spark-
detector         com.couchbase.client:spark-connector_2.11          2.2.0              connector_2.11/2.2.0          Apache-2.0                               connector/blob/master/LICENSE                      Apache Spark support library   Server-Side      No   Dynamic Link   No   No
                                                                               https://bintray.com/bintray/jcenter/c
ESP/Fraud-                                                                         om.timgroup%3Ajava-statsd-
detector         com.timgroup:java-statsd-client                    3.1.0                     client/3.1.0           MIT                  https://github.com/tim-group/java-statsd-client/blob/master/LICENSE    Metrics libarry                Server-Side      No   Dynamic Link   No   No

ESP/Fraud-                                                                       https://bintray.com/bintray/jcenter/o
detector         org.vegas-viz:vegas_2.11                           0.3.11       rg.vegas-viz%3Avegas_2.11/0.3.11 MIT                           https://github.com/vegas-viz/Vegas/blob/master/LICENSE           Plotting library               Server-Side      No   Dynamic Link   No   No
                                                                                 https://bintray.com/bintray/jcenter/o
ESP/Fraud-                                                                       rg.scoverage%3Ascalac-scoverage-                                    https://github.com/scoverage/scalac-scoverage-
detector         org.scoverage:scalac-scoverage-plugin_2.11         1.3.1                  plugin_2.11/1.3.1           Apache-2.0                               plugin/blob/master/LICENSE                       Test coverage                  Dev/Build/Test   No   Dynamic Link   No   No
                                                                                 https://bintray.com/bintray/jcenter/o
ESP/Fraud-                                                                       rg.scoverage%3Ascalac-scoverage-
detector         org.scoverage:scalac-scoverage-runtime_2.11        1.3.1                 runtime_2.11/1.3.1           Apache-2.0       https://github.com/scoverage/gradle-scoverage/blob/master/LICENSE.txt Test coverage                     Dev/Build/Test   No   Dynamic Link   No   No

                                                                                https://mvnrepository.com/artifact/j
                                                                                avax.validation/validation-
ADH/model        javax.validation:validation-api                    2.0.1.Final api/2.0.1.Final                           Apache-2.0   https://beanvalidation.org/licensing/                                     pojo validation                Dev/Build/Test   No   Dynamic Link   No   No
                                                                                https://mvnrepository.com/artifact/c
                                                                                om.fasterxml.jackson.core/jackson-                     https://github.com/FasterXML/jackson-
ADH/model        com.fasterxml.jackson.core:jackson-databind        2.9.6       databind/2.9.6                            Apache-2.0   core/blob/master/src/main/resources/META-INF/LICENSE                      json serialization             Dev/Build/Test   No   Dynamic Link   No   No
                                                                                https://mvnrepository.com/artifact/c
                 com.fasterxml.jackson.datatype:jackson-datatype-               om.fasterxml.jackson.datatype/jack                     https://github.com/FasterXML/jackson-datatype-
ADH/model        jsr310                                             2.9.8       son-datatype-jsr310/2.9.8                 Apache-2.0   jsr310/blob/master/src/main/resources/META-INF/LICENSE                    json serialization             Dev/Build/Test   No   Dynamic Link   No   No
                                                                                https://mvnrepository.com/artifact/o
                                                                                rg.junit.jupiter/junit-jupiter-api/5.3.0-
ADH/model        org.junit.jupiter:junit-jupiter-api                5.3.0-M1    M1                                        EPL-2.0      https://github.com/junit-team/junit5/blob/master/LICENSE.md               Unit/Integration tests         Dev/Build/Test   No   Dynamic Link   No   No




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                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.junit.jupiter/junit-jupiter-
ADH/model        org.junit.jupiter:junit-jupiter-engine                5.3.0-M1   engine/5.3.0-M1                      EPL-2.0        https://github.com/junit-team/junit5/blob/master/LICENSE.md               Unit/Integration tests           Dev/Build/Test    No   Dynamic Link   No   No
                                                                                  https://plugins.gradle.org/plugin/co                https://github.com/ben-manes/gradle-versions-                             Gradle plugin for
ADH/model        com.github.ben-manes.versions                         0.20.0     m.github.ben-manes.versions          Apache-2.0     plugin/blob/master/LICENSE.txt                                            dependencies update checks       Dev/Build/Test    No   Standalone     No   No
                                                                                  https://www.npmjs.com/package/aj
ADH/model        ajv-cli                                               3.0.0      v-cli                                MIT            https://github.com/jessedc/ajv-cli                                        Json Schema validator            Dev/Build/Test    No   Standalone     No   No

                                                                               https://mvnrepository.com/artifact/o                   https://github.com/eclipse/org.aspectj/blob/master/docs/dist/LICENSE-
ADH/test         org.aspectj:aspectjweaver                          1.9.2      rg.aspectj/aspectjweaver/1.9.2       EPL-1.0           AspectJ.html                                                              advices on classes at load       Dev/Build/Test    No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/c
                                                                               om.amazonaws/aws-java-sdk-
ADH/test         com.amazonaws:aws-java-sdk-s3                      1.11.466   s3/1.11.466                          Apache-2.0        https://github.com/aws/aws-sdk-java/blob/master/LICENSE.txt               upload test data on s3           Dev/Build/Test    No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/i
ADH/test         io.qameta.allure:allure-junit5                     2.8.1      o.qameta.allure/allure-junit5/2.8.1 Apache-2.0         https://github.com/allure-framework/allure-java/blob/master/LICENSE       test reports                     Dev/Build/Test    No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/c
                                                                               om.fasterxml.jackson.module/jacks
ADH/test         com.fasterxml.jackson.module:jackson-module-kotlin 2.9.4      on-module-kotlin/2.9.4               Apache-2.0        https://github.com/FasterXML/jackson-module-kotlin/wiki                   jackson support for kotlin       Dev/Build/Test    No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/o
                                                                    5.1.3.RELE rg.springframework/spring-
ADH/test         org.springframework:spring-web                     ASE        web/5.1.3.RELEASE                    Apache-2.0        https://github.com/spring-projects/spring-framework                       Spring web(http client)          Dev/Build/Test    No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/o
                                                                               rg.apache.httpcomponents/httpclien
ADH/test         org.apache.httpcomponents:httpclient               4.5.6      t/4.5.6                              Apache-2.0        https://github.com/apache/httpcomponents-client/blob/master/LICENSE.txt http client                        Dev/Build/Test    No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/o
ADH/test         org.cfg4j:cfg4j-core                               4.4.1      rg.cfg4j/cfg4j-core/4.4.1            Apache-2.0        https://github.com/cfg4j/cfg4j/blob/master/LICENSE                        configuration library            Dev/Build/Test    No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/c
ADH/test         com.google.inject:guice                            4.2.2      om.google.inject/guice/4.2.2         Apache-2.0        https://github.com/google/guice/blob/master/COPYING                       DI framework                     Dev/Build/Test    No   Dynamic Link   No   No
                                                                               https://mvnrepository.com/artifact/c
                                                                               om.google.cloud/google-cloud-
ADH/test         com.google.cloud:google-cloud-bigquery             1.55.0     bigquery/1.55.0                      Apache-2.0        https://github.com/googleapis/google-cloud-java/blob/master/LICENSE       Client for Google BigQuery       Dev/Build/Test    No   Dynamic Link   No   No

                                                                                  https://mvnrepository.com/artifact/o
ADH/test         org.junit.jupiter:junit-jupiter-api                   5.3.2      rg.junit.jupiter/junit-jupiter-api/5.3.2 EPL-2.0    https://github.com/junit-team/junit5/blob/master/LICENSE.md               Unit/Integration tests           Dev/Build/Test    No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.junit.jupiter/junit-jupiter-
ADH/test         org.junit.jupiter:junit-jupiter-params                5.3.2      params/5.3.2                             EPL-2.0    https://github.com/junit-team/junit5/blob/master/LICENSE.md               Parametrized tests               Dev/Build/Test    No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/n
                                                                                  ame.falgout.jeffrey.testing.junit5/gu                                                                                         Junit extension to use with
ADH/test         name.falgout.jeffrey.testing.junit5:guice-extension   1.1.0      ice-extension/1.1.0                      MIT        https://github.com/JeffreyFalgout/junit5-extensions/blob/master/LICENSE   guice                            Dev/Build/Test    No   Dynamic Link   No   No

                                                                                  https://mvnrepository.com/artifact/o
ADH/test         org.hamcrest:java-hamcrest                            2.0.0.0    rg.hamcrest/java-hamcrest/2.0.0.0 BSD-3-Clause      https://github.com/hamcrest/JavaHamcrest/blob/master/LICENSE.txt          java matchers                    Dev/Build/Test    No   Dynamic Link   No   No

                                                                                  https://mvnrepository.com/artifact/o
ADH/test         org.jetbrains.kotlin:kotlin-test                      1.3.11     rg.jetbrains.kotlin/kotlin-test/1.3.11 Apache-2.0   https://github.com/JetBrains/kotlin/blob/master/license/LICENSE.txt       kotlin test framework            Dev/Build/Test    No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.jetbrains.kotlin/kotlin-test-
ADH/test         org.jetbrains.kotlin:kotlin-test-junit                1.3.11     junit/1.3.11                           Apache-2.0   https://github.com/JetBrains/kotlin/blob/master/license/LICENSE.txt       Junit integration with kotlintest Dev/Build/Test   No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/c
                                                                                  om.willowtreeapps.assertk/assertk/
ADH/test         com.willowtreeapps.assertk:assertk                    0.10       0.10                                   EPL-2.0      https://github.com/willowtreeapps/assertk/blob/master/LICENSE             Kotlin assertion library         Dev/Build/Test    No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/i
                                                                                  o.github.microutils/kotlin-
ADH/test         io.github.microutils:kotlin-logging                   1.6.22     logging/1.6.22                         Apache-2.0   https://github.com/MicroUtils/kotlin-logging/blob/master/LICENSE          Kotlin logging framework         Dev/Build/Test    No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.junit.jupiter/junit-jupiter-
ADH/test         org.junit.jupiter:junit-jupiter-engine                5.3.2      engine/5.3.2                           EPL-2.0      https://github.com/junit-team/junit5/blob/master/LICENSE.md               Unit/Integration tests           Dev/Build/Test    No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/c
                                                                       1.3.0-     h.qos.logback/logback-classic/1.3.0-
ADH/test         ch.qos.logback:logback-classic                        alpha4     alpha4                                 EPL-1.0      https://github.com/qos-ch/logback/blob/master/LICENSE.txt                 logging framework                Dev/Build/Test    No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.apache.commons/commons-
ADH/test         org.apache.commons:commons-text                       1.6        text/1.6                               Apache-2.0   https://github.com/apache/commons-text/blob/master/LICENSE.txt            Utilities to help with Strings   Dev/Build/Test    No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.apache.commons/commons-
ADH/test         org.apache.commons:commons-csv                        1.6        csv/1.6                                Apache-2.0   https://github.com/apache/commons-csv/blob/master/LICENSE.txt             CSV helpers                      Dev/Build/Test    No   Dynamic Link   No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.jetbrains.kotlin/kotlin-stdlib-
ADH/test         org.jetbrains.kotlin:kotlin-stdlib-jdk8               1.3.11     jdk8/1.3.11                            Apache-2.0   https://github.com/JetBrains/kotlin/blob/master/license/LICENSE.txt       Kotlin STD libs for jdk8         Dev/Build/Test    No   Dynamic Link   No   No
                                                                                  https://plugins.gradle.org/plugin/co                https://github.com/ben-manes/gradle-versions-                             Gradle plugin for
ADH/test         com.github.ben-manes.versions                         0.20.0     m.github.ben-manes.versions            Apache-2.0   plugin/blob/master/LICENSE.txt                                            dependencies update checks       Dev/Build/Test    No   Standalone     No   No
                                                                                  https://plugins.gradle.org/plugin/io.q
ADH/test         io.qameta.allure:allure-gradle                        2.5        ameta.allure                           Apache-2.0   https://github.com/allure-framework/allure-gradle/blob/master/LICENSE     Allure gradle plugin             Dev/Build/Test    No   Standalone     No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.jetbrains.kotlin/kotlin-gradle-
ADH/test         org.jetbrains.kotlin:kotlin-gradle-plugin             1.3.11     plugin/1.3.11                          Apache-2.0   https://github.com/JetBrains/kotlin/blob/master/license/LICENSE.txt       build Kotlin project             Dev/Build/Test    No   Standalone     No   No
                                                                                  https://mvnrepository.com/artifact/o
                                                                                  rg.junit.platform/junit-platform-
ADH/test         org.junit.platform:junit-platform-gradle-plugin       1.2.0      gradle-plugin/1.2.0                    EPL-2.0      https://github.com/junit-team/junit5/blob/master/LICENSE.md               run junit tests                  Dev/Build/Test    No   Standalone     No   No




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                                         https://pypi.org/project/ansible/2.7.5                                                                      Deployment and configuration
ADH/Falcon       Ansible      2.7.5      /                                      GPL-3.0      https://github.com/ansible/ansible/blob/devel/COPYING   management tool              Dev/Build/Test   No   Standalone   No   No
                                         https://pypi.org/project/pipenv/2018                                                                        Python package management
ADH/Falcon       pipenv       2018.11.26 .11.26/                                MIT          https://github.com/pypa/pipenv/blob/master/LICENSE      tool                         Dev/Build/Test   No   Standalone   No   No
                                         https://pypi.org/project/boto3/1.7.19
ADH/Falcon       boto3        1.7.19     /                                      Apache-2.0   https://github.com/boto/boto3/blob/develop/LICENSE      AWS SDK For python           Dev/Build/Test   No   Standalone   No   No
                                                                                                                                                     interfaces to Amazon Web
ADH/Falcon       boto         2.48.0      https://pypi.org/project/boto/2.48.0/ MIT          https://github.com/boto/boto/blob/develop/LICENSE       Services                     Dev/Build/Test   No   Standalone   No   No




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                                                                                                                              License Name and                                                             externally by
                                                                                                                                                    package’s web                         Used (please                                                 Source code
                                                                                                                                   Version                                  Brief                         Company (e.g.,
 Names of Company Software        Package Name (please                                                                                             documentation,                        list even if not                  How Integrated Modified by mods released
                                                                                                                                 (See sample                           Description of                       via device,
 Repositories Containing/Using     list even if not part of   Package Version       URL of Package Download Site                                    site, or git repo                       part of the                       or Linked?  Company? externally by
                                                                                                                                 identifiers at                          What the                           download,
         the Package              third-party code scan)
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                                                                                                                                                      separate tab)
                                                                                                                                                                                                                        (use dropdowns)
                                                                                                                                                   https://github.co
                                                                                                                                                   m/twbs/bootstrap
                                                                                                                                                   /blob/master/LIC                     Javascript-
MDX2.0 Client                    bootstrap                    2.3.2             http://getbootstrap.com                      MIT                   ENSE               Migration tool UI Internally-Facing No               Static Link    No          No
                                                                                                                                                   https://github.co
                                                                                                                                                   m/angular/angula
                                                                                                                                                   r.js/blob/master/L                   Javascript-
MDX2.0 Client                    angular                      1.3.10            git://github.com/angular/bower-angular.git   MIT                   ICENSE             Migration tool UI Internally-Facing No               Static Link    No          No
                                                                                                                                                                      Used for
                                                                                                                                                   https://github.co uploading Ads
                                                                                                                                                   m/aws/aws-sdk- as a part of the
                                                                                                                                                   net/blob/master/ migration
Migration tool (server)          AWSSDK.Core.dll              3.1.5.1           https://github.com/aws/aws-sdk-net                                 License.txt        process           Server-Side       No               Static Link    No          No
                                                                                                                                                                      Used for
                                                                                                                                                   https://github.co uploading Ads
                                                                                                                                                   m/aws/aws-sdk- as a part of the
                                                                                                                                                   net/blob/master/ migration
Migration tool (server)          AWSSDK.S3.dll                3.1.4.0           https://github.com/aws/aws-sdk-net                                 License.txt        process           Server-Side       No               Static Link    No          No
                                                                                                                                                   https://github.co Used for
                                                                                                                                                   m/googleads/goo uploading Ads
                                                                                                                                                   gleads-dotnet-     as a part of the
                                                                                https://github.com/googleads/googleads-                            lib/blob/master/LI migration
Google integration (cc4s)        Google.Ads.Common.dll        9.4.0.0           dotnet-lib                                                         CENSE              process           Server-Side       No               Static Link    No          No
                                                                                                                                                   https://github.co Used for
                                                                                                                                                   m/googleads/goo uploading Ads
                                                                                                                                                   gleads-dotnet-     as a part of the
                                                                                https://github.com/googleads/googleads-                            lib/blob/master/LI migration
Google integration (cc4s)        Google.Ads.OAuth.dll         1.1.0.0           dotnet-lib                                                         CENSE              process           Server-Side       No               Static Link    No          No
                                                                                                                                                   https://github.co Used for
                                                                                                                                                   m/googleads/goo uploading Ads
                                                                                                                                                   gleads-dotnet-     as a part of the
                                                                                https://github.com/googleads/googleads-                            lib/blob/master/LI migration
Google integration (cc4s)        Google.AdWords.dll           24.2.0.0          dotnet-lib                                                         CENSE              process           Server-Side       No               Static Link    No          No
                                                                                                                                                   https://github.co Used for
                                                                                                                                                   m/googleads/goo uploading Ads
                                                                                                                                                   gleads-dotnet-     as a part of the
                                                                                https://github.com/googleads/googleads-                            lib/blob/master/LI migration
Google integration (cc4s)        Google.Apis.Auth.dll         1.33.1.0          dotnet-lib                                                         CENSE              process           Server-Side       No               Static Link    No          No
                                                                                                                                                   https://github.co Used for
                                                                                                                                                   m/googleads/goo uploading Ads
                                                                                                                                                   gleads-dotnet-     as a part of the
                                 Google.Apis.Auth.Platform                      https://github.com/googleads/googleads-                            lib/blob/master/LI migration
Google integration (cc4s)        Services.dll              1.33.1.0             dotnet-lib                                                         CENSE              process           Server-Side       No               Static Link    No          No
                                                                                                                                                   https://github.co Used for
                                                                                                                                                   m/googleads/goo uploading Ads
                                                                                                                                                   gleads-dotnet-     as a part of the
                                                                                https://github.com/googleads/googleads-                            lib/blob/master/LI migration
Google integration (cc4s)        Google.Apis.Core.dll         1.33.1.0          dotnet-lib                                                         CENSE              process           Server-Side       No               Static Link    No          No
                                                                                                                                                   https://github.co Used for
                                                                                                                                                   m/googleads/goo uploading Ads
                                                                                                                                                   gleads-dotnet-     as a part of the
                                                                                https://github.com/googleads/googleads-                            lib/blob/master/LI migration
Google integration (cc4s)        Google.Apis.dll              1.33.1.0          dotnet-lib                                                         CENSE              process           Server-Side       No               Static Link    No          No
                                                                                                                                                   https://github.co Used for
                                                                                                                                                   m/googleads/goo uploading Ads
                                                                                                                                                   gleads-dotnet-     as a part of the
                                 Google.Apis.PlatformServic                     https://github.com/googleads/googleads-                            lib/blob/master/LI migration
Google integration (cc4s)        es.dll                     1.33.1.0            dotnet-lib                                                         CENSE              process           Server-Side       No               Static Link    No          No
                                          19-10971-dsj               Doc 210           Filed 06/03/19 Entered 06/03/19 14:17:12                                    Main Document
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                                                                                                                 https://github.co
                                                                                                                 m/JamesNK/New
                                                                                                                 tonsoft.Json/blob Working with
Server side integrations and work                                     https://github.com/JamesNK/Newtonsoft.Js   /master/LICENS Json data
with Rest API's                   Newtonsoft.Json.dll   7, 10 & 11    on                                         E.md              (serialization)   Server-Side    No     Static Link   No   No
                                          19-10971-dsj                    Doc 210               Filed 06/03/19 Entered 06/03/19 14:17:12                                                     Main Document
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                                                                                                                                                                                                              Executable
                                                                                                                                                                                                              distributed
   Names of                                                                                                                                                                               How is Package
                                                                                                                                                                                                             externally by
   Company                                                                                                                                                                                  Used (please                                                 Source code
                                                                                                                            URL of License in the package’s                                                 Company (e.g.,
                                                                                            License Name and Version                                                                       list even if not                  How Integrated Modified by mods released
    Software     Package Name (please list even if not Package     URL of Package                                           web documentation, site, or git Brief Description of What the                     via device,
                                                                                             (See sample identifiers at                                                                       part of the                      or Linked?   Company? externally by
  Repositories      part of third-party code scan)     Version     Download Site
                                                                                            https://spdx.org/licenses/ )
                                                                                                                            repo (if no URL available, insert          Package Does                           download,
                                                                                                                                                                                           upload for the                                                 Company?
Containing/Using                                                                                                              license text on separate tab)
                                                                                                                                                                                             CodeScan)?
                                                                                                                                                                                                               externally
  the Package                                                                                                                                                                                                  facing JS,
                                                                                                                                                                                                                 etc.)?
                                                                                                                                                                                                                          (use dropdowns)
                                                                                                                           https://docs.google.com/document/
                                                                 https://asstoredproced                                    d/1seBAHh-
                                                                 ures.github.io/ASStore                                    5Pg3WNRRe0_JE7O_EAEsRXO
                 ASSP - Analysis Services Stored                 dProcedures/download                                      WHxxKzQZnM9Ps/edit?usp=shari
MDX              Procedure Project                      1.3.6    s/                     Shared Source Permissive License   ng                                  SSAS Extentions (UDF)      Server-Side       No               Standalone     No          No
                                                                                                                           https://codeplexarchive.blob.core.w
                                                                                                                           indows.net/archive/projects/SQLSr
                                                                                                                           vAnalysisSrvcs/SQLSrvAnalysisSr Provide Load balancing
MDX              ASLB - Analysis Services Load Balancer 1.0.0                        Microsoft Public License (Ms-PL)      vcs.zip                             Specific for SSAS          Server-Side       No               Standalone     Yes         No
                                                       19-10971-dsj                           Doc 210             Filed 06/03/19 Entered 06/03/19 14:17:12                                                              Main Document
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                                                                                                                                                                                                                                                   Executable
                                                                                                                                                                                                                                                   distributed
                                                                                                                                                                                                                               How is Package
                                                                                                                                                                                                                                                  externally by
  Names of Company                                                                                                                                                                                                             Used (please list                                              Source code
                           Package Name                                                                                                                                                                            Brief                         Company (e.g.,
                                                                                                                       License Name and Version             URL of License in the package’s web                                even if not part                   How Integrated Modified by mods released
 Software Repositories    (please list even                                                                                                                                                                    Description of                      via device,
                                               Package Version             URL of Package Download Site                 (See sample identifiers at       documentation, site, or git repo (if no URL                            of the upload                       or Linked?   Company? externally by
 Containing/Using the    if not part of third-                                                                                                                                                                   What the                           download,
                                                                                                                       https://spdx.org/licenses/ )     available, insert license text on separate tab)                             for the                                                    Company?
       Package            party code scan)                                                                                                                                                                     Package Does                         externally
                                                                                                                                                                                                                                 CodeScan)?
                                                                                                                                                                                                                                                    facing JS,
                                                                                                                                                                                                                                                      etc.)?
                                                                                                                                                                                                                                                               (use dropdowns)
                                                                                                                                                                                                             Boost provides
                                                                                                                                                                                                             free peer-
                                                                                                                                                                                                             reviewed
                                                                                                                                                                                                             portable C++
MDX2/SAS                 boost              1.69.0               https://www.boost.org/                                                               https://www.boost.org/LICENSE_1_0.txt                  source libraries. Server-Side       No               Static Link    No          No

                                                                                                                                                                                                            Breakpad is a set
                                                                                                                                                                                                            of client and
                                                                                                                                                                                                            server
                                                                                                                                                                                                            components
                                                                                                                                                                                                            which implement
                                                                 https://chromium.googlesource.com/breakpad/break                                     https://chromium.googlesource.com/breakpad/break a crash-reporting
MDX2/SAS                 breakpad                                pad/                                                                                 pad/+/refs/heads/master/LICENSE                       system.              Server-Side   No             Static Link     No           No
                                                                                                                                                                                                            CityHash
                                                                                                                                                                                                            provides hash
                                                                                                                                                                                                            functions for
MDX2/SAS                 cityhash                                https://github.com/google/cityhash                                                   Text : added in seperate Tab                          strings              Server-Side   No             Static Link     No           No
                                                                                                                                                                                                            provide easy to
                                                                                                                                                                                                            use libraries for
                                                                                                                                                                                                            network
MDX2/SAS                 cpp-netlib                              https://cpp-netlib.org/                                                              http://www.boost.org/LICENSE_1_0.txt                  programming          Server-Side   No             Dynamic Link    No           No
                                                                                                                                                                                                            The C++ REST
                                                                                                                                                                                                            SDK is a
                                                                                                                                                                                                            Microsoft project
                                                                                                                                                                                                            for cloud-based
                                                                                                                                                                                                            client-server
                                                                                                                                                                                                            communication in
                                                                                                                                                                                                            native code
                                                                                                                                                                                                            using a modern
                                                                                                                                                      https://github.com/microsoft/cpprestsdk/blob/master/l asynchronous
MDX2/SAS                 cpprestsdk         140_2_10             https://github.com/microsoft/cpprestsdk               MIT                            icense.txt                                            C++ API design. Server-Side        No             Dynamic Link    No           No
                                                                                                                                                                                                            FastFormat is a
                                                                                                                                                                                                            flexible, efficient,
                                                                                                                                                                                                            C++
                                                                                                                                                                                                            output/formatting
                                                                                                                                                                                                            library that
                                                                                                                                                                                                            eliminates the
                                                                                                                                                                                                            problems
                                                                                                                                                                                                            suffered by
                                                                                                                                                                                                            existing standard
                                                                                                                                                      http://www.fastformat.org/documentation/index.html# and third-party
MDX2/SAS                 fastformat                              http://www.fastformat.org/                            BSD-2-Clause                   License                                               libraries            Server-Side   No             Static Link     No           No

                                                                                                                                                                                                          Google's
                                                                                                                                                                                                          framework for
                                                                                                                                                                                                          writing and using
                                                                                                                                                                                                          C++ mock
                                                                                                                                                                                                          classes. It can
                                                                                                                                                                                                          help you derive
                                                                                                                                                                                                          better designs of
                                                                 https://github.com/google/googletest/blob/master/go                                  https://github.com/google/googletest/blob/master/LI your system and
MDX2/SAS                 gmock                                   oglemock/README.md                                                                   CENSE                                               write better tests. Dev/Test/Build   No             Dynamic Link    No           No
                                                                                                                                                                                                          googletest is a
                                                                 https://github.com/google/googletest/tree/master/go                                  https://github.com/google/googletest/blob/master/go testing
MDX2/SAS                 gtest                                   ogletest                                                                             ogletest/LICENSE                                    framework           Dev/Test/Build   No             Dynamic Link    No           No
                                  19-10971-dsj                   Doc 210           Filed 06/03/19 Entered 06/03/19 14:17:12                                         Main Document
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                                                                                                                                                         This is the C
                                                                                                                                                         client library for
                                                                                                                                                         Couchbase It
                                                                                                                                                         communicates
                                                                                                                                                         with the cluster
                                                                                                                                                         and speaks the
                                                                                                                                                         relevant
                                                                                                                                                         protocols
                                                                                                                                                         necessary to
                                                                                                                                                         connect to the
                                                                                                                                                         cluster and
                                                                                                    https://github.com/couchbase/libcouchbase/blob/ma execute data
MDX2/SAS   libcouchbase   2.5.2      https://github.com/couchbase/libcouchbase       Apache-2.0     ster/LICENSE                                         operations.        Server-Side   No   Dynamic Link   No   No
                                                                                                                                                         Protocol Buffers
                                                                                                                                                         (a.k.a., protobuf)
                                                                                                                                                         are Google's
                                                                                                                                                         language-
                                                                                                                                                         neutral, platform-
                                                                                                                                                         neutral,
                                                                                                                                                         extensible
                                                                                                                                                         mechanism for
                                                                                                    https://github.com/protocolbuffers/protobuf/blob/mas serializing
MDX2/SAS   libprotobuf               https://github.com/protocolbuffers/protobuf                    ter/LICENSE                                          structured data. Server-Side     No   Dynamic Link   No   No
                                                                                                                                                         OpenSSL is a
                                                                                                                                                         robust,
                                                                                                                                                         commercial-
                                                                                                                                                         grade, and full-
                                                                                                                                                         featured toolkit
                                                                                                                                                         for the Transport
                                                                                                                                                         Layer Security
                                                                                                                                                         (TLS) and
                                                                                                                                                         Secure Sockets
                                                                                                    https://www.openssl.org/source/license-openssl-      Layer (SSL)
MDX2/SAS   openssl        1.0.2      https://www.openssl.org/                                       ssleay.txt                                           protocols.         Server-Side   No   Dynamic Link   No   No
                                                                                                                                                         Pantheios is an
                                                                                                                                                         Open Source
                                                                                                                                                         C/C++
                                                                                                                                                         Diagnostic
                                                                                                    https://github.com/zvelo/pantheios/blob/master/LICE Logging API
MDX2/SAS   pantheios                 http://www.pantheios.org/                                      NSE.txt                                              library            Server-Side   No   Static Link    No   No
                                                                                                                                                         Light-weight,
                                                                                                                                                         simple and fast
                                                                                                                                                         XML parser for
                                                                                                                                                         C++ with XPath
MDX2/SAS   pugixml                   https://pugixml.org/                            MIT            https://pugixml.org/license.html                     support            Server-Side   No   Static Link    No   No


                                                                                                                                                      C/C++ library for
                                                                                                                                                      fast compression
                                                                                                                                                      and intersection
                                                                                                                                                      of lists of sorted
                                     https://github.com/lemire/SIMDCompressionAndInter              https://github.com/lemire/SIMDCompressionAndInter integers using
MDX2/SAS   SIMDCnl                   section                                           Apache-2.0   section/blob/master/LICENSE                       SIMD instructions Server-Side       No   Static Link    No   No
                                                                                                                                                      Robust,
                                                                                                                                                      Lightweight,
                                                                                                                                                      Cross-platform,
                                                                                                                                                      Template
                                                                                                                                                      Software.
                                                                                                                                                      STLSoft is a
                                                                                                                                                      collection of STL
                                                                                                                                                      and standard
                                                                                                                                                      library
                                                                                                                                                      extensions, and
                                                                                                                                                      facades over
                                                                                                                                                      operating-system
                                                                                                    https://github.com/synesissoftware/STLSoft-       and 3rd-party
MDX2/SAS   stlsoft                   http://www.stlsoft.org/                                        1.9/blob/master/LICENSE.txt                       APIs               Server-Side      No   Static Link    No   No
                                            19-10971-dsj                 Doc 210            Filed 06/03/19 Entered 06/03/19 14:17:12                                   Main Document
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                                                                                                                                                             A Massively
                                                                                                                                                             Spiffy Yet
                                                                                                                                                             Delicately
                                                                                                                                                             Unobtrusive
                                                                                                                                                             Compression
                                                                                                                                                             Library
                                                                                                                                                             (Also Free, Not
                                                                                                                                                             to Mention
                                                                                                                                                             Unencumbered
MDX2/SAS      zlib               1.2.11.0      https://www.zlib.net/                                      https://www.zlib.net/zlib_license.html             by Patents)      Server-Side   No   Dynamic Link   No   No
                                                                                                                                                             C/C++ client
                                                                                                                                                             library for
                                                                                                          https://github.com/datastax/cpp-                   Apache
MDX2/SAS      cassandra                        https://github.com/datastax/cpp-driver        Apache-2.0   driver/blob/master/LICENSE.txt                     Cassandra 2.1    Server-Side   No   Dynamic Link   No   No
                                                                                                                                                             easy-to-use C++
                                                                                                                                                             wrapper around
                                                                                                          https://github.com/alanxz/SimpleAmqpClient/blob/ma the rabbitmq-c C
SAS/EDS NXT   SimpleAmqpClient                 https://github.com/alanxz/SimpleAmqpClient    MIT          ster/LICENSE-MIT                                   library          Server-Side   No   Dynamic Link   No   No
                19-10971-dsj                                             Doc 210                                     Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                                                               Main Document
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                                                                                                                                                                                                                                                                                    Executable
                                                                                                                                                                                                                                                                                    distributed
                                                                                                                                     License Name and                                                                                                                              externally by                            Source code
 Names of Company                                                                                                                          Version                                                                                                  How is Package Used (please Company (e.g.,                                  mods
                         Package Name (please list                                                                                                                URL of License in the package’s web                                                                                            How Integrated Modified by
Software Repositories                                                                                                                   (See sample                                                                  Brief Description of What        list even if not part of the  via device,                               released
                          even if not part of third- Package Version                     URL of Package Download Site                                          documentation, site, or git repo (if no URL                                                                                         or Linked?   Company?
Containing/Using the                                                                                                                    identifiers at                                                                   the Package Does            upload for the CodeScan)?      download,                               externally by
                             party code scan)                                                                                                                 available, insert license text on separate tab)
      Package                                                                                                                      https://spdx.org/licens                                                                                                                          externally                               Company?
                                                                                                                                             es/ )                                                                                                                                  facing JS,
                                                                                                                                                                                                                                                                                       etc.)?
                                                                                                                                                                                                                                                                                        (use dropdowns)
                                                                                                                                                                                                               detects the availability of next-
                                                                                                                                                                                                               generation web technologies
Display                 Modernizr                       3.3.1                   https://modernizr.com/                             MIT                       https://modernizr.com/license/                    and fixes it if needed            Javascript-Externaly-Facing        No          Static Link    No          No
                                                                                                                                                             https://github.com/daepark/postmessage/blob/mast making sure postMessage is
Display                 postmessage                     Not mentioned           https://github.com/daepark/postmessage             MIT                       er/postmessage.js                                 supported in the browser          Javascript-Externaly-Facing        No          Static Link    Yes         Yes
                                                                                                                                                                                                               making sure JSON is
Display                 json2                           Not mentioned           https://www.json.org/                              JSON                      https://www.json.org/license.html                 supported in the browser          Javascript-Externaly-Facing        No          Static Link    No          No
New Display             webpack                         4.16.5                  https://webpack.js.org                             MIT                       https://webpack.js.org/license/                   module bundler                    Dev/Build/Test                     No          Static Link    No          No
                                                                                                                                                                                                               webpack plugin and cli utility
                                                                                                                                                             https://github.com/webpack-contrib/webpack-bundle-that represents bundle content
                                                                                https://www.npmjs.com/package/webpack-bundle-                                analyzer/commit/54dd89419a82c72b6303fd9400a0 as convenient interactive
New Display             webpack-bundle-analyzer         3.0.2                   analyzer                                      MIT                            a33bdfa6d00c                                      treemap                           Dev/Build/Test                     No          Static Link    No          No
                                                                                https://www.npmjs.com/package/merge-webpack-
New Display             webpack-merge                   4.1.2                   plugin#install                                MIT                            Webpack plugin with loader for merge sources                                            Dev/Test/Build                 No          Static Link    No          No
                                                                                                                                                             https://github.com/yarnpkg/yarn/blob/master/LICEN
New Display             yarn                            1.10.1                  https://yarnpkg.com/en/                            BSD                       SE                                                    package manager                   Dev/Build/Test                 No          Static Link    No          No
                                                                                                                                                                                                                   converter of ECMAScript to be
                                                                                                                                                             https://github.com/babel/babel/blob/master/LICENS backward compatible with
New Display             babel                           6.26.3                  https://babeljs.io/                                MIT                       E                                                     older javascript                  Dev/Build/Test                 No          Static Link    No          No
                                                                                                                                                             https://github.com/eslint/eslint/blob/master/LICENS makes sure everyone write
New Display             eslint                          4.19.1                  https://eslint.org/                                MIT                       E                                                     with the same set of rules        Dev/Build/Test                 No          Static Link    No          No
                                                                                                                                                             https://github.com/jprichardson/node-fs-
New Display             fs-extra                        7.0.1                   https://www.npmjs.com/package/fs-extra             MIT                       extra/blob/master/LICENSE                             file system support for node.js Dev/Build/Test                   No          Static Link    No          No
                                                                                                                                                             https://github.com/typicode/husky/blob/master/LICE makes sure commits looks
New Display             husky                           1.0.0                   https://www.npmjs.com/package/husky                MIT                       NSE                                                   better                            Dev/Build/Test                 No          Static Link    No          No
                                                                                                                                                             https://github.com/facebook/jest/blob/master/LICEN
New Display             jest                            22.4.3                  https://jestjs.io/                                 MIT                       SE                                                    testing framework                 Dev/Build/Test                 No          Static Link    No          No
                                                                                                                                                             https://github.com/AvianFlu/ncp/blob/master/LICEN
New Display             ncp                             2.0.0                   https://www.npmjs.com/package/ncp                  MIT                       SE.md                                                 async copy of files               Dev/Build/Test                 No          Static Link    No          No
                                                                                                                                                             https://github.com/Leonidas-from-XIV/node-
New Display             xml2js                          0.4.19                  https://www.npmjs.com/package/xml2js               MIT                       xml2js/blob/master/LICENSE                            xml parser                        Dev/Build/Test                 No          Static Link    No          No
                                                                                                                                                             https://github.com/feross/fromentries/blob/master/LI
New Display             fromentries                     1.1.0                   https://www.npmjs.com/package/fromentries     MIT                            CENSE                                                                                   Javascript-Internally-Facing   No          Static Link    No          No
                                                                                https://www.npmjs.com/package/brotli-webpack-                                https://github.com/mynameiswhm/brotli-webpack-
New Display             brotli-webpack                  1.0.0                   plugin                                        MIT                            plugin/blob/master/LICENSE                            file compressor                   Dev/Build/Test                 No          Static Link    No          No
                                                                                https://www.npmjs.com/package/clean-webpack-                                 https://github.com/johnagan/clean-webpack-
New Display             clean-webpack                   0.1.19                  plugin                                        MIT                            plugin/blob/master/LICENSE                            remove/clean builds               Dev/Build/Test                 No          Static Link    No          No
                                                                                https://www.npmjs.com/package/compression-                                   https://github.com/webpack-contrib/compression-
New Display             compression-webpack             2.0.0                   webpack-plugin                                MIT                            webpack-plugin/blob/master/LICENSE                    file compressor                   Dev/Build/Test                 No          Static Link    No          No
                                                                                https://www.npmjs.com/package/terser-webpack-                                https://github.com/webpack-contrib/terser-webpack-
New Display             terser-webpack                  1.1.0                   plugin                                        MIT                            plugin/blob/master/LICENSE                            javascript minifier               Dev/Build/Test                 No          Static Link    No          No
                                                                                https://www.npmjs.com/package/wrapper-                                       https://github.com/levp/wrapper-webpack-
New Display             wrapper-webpack                 2.0.0                   webpack-plugin                                ISC                            plugin#License                                        code wrapper                      Dev/Build/Test                 No          Static Link    No          No
                                                                                https://www.npmjs.com/package/uglifyjs-                                      https://github.com/webpack-contrib/uglifyjs-
New Display             uglifyjs-webpack                1.2.7                   webpack-plugin                                MIT                            webpack-plugin/blob/master/LICENSE                    javascript uglifier               Dev/Build/Test                 No          Static Link    No          No
                                                                                                                                                             https://github.com/prettier/prettier/blob/master/LICE
New Display             prettier                        1.14.2                  https://prettier.io/                               MIT                       NSE                                                   makes the code look better        Dev/Build/Test                 No          Static Link    No          No
                                                                                https://www.npmjs.com/package/regenerator-                                   https://www.npmjs.com/package/regenerator-            handlers async loading of
New Display             regenerator-runtime             0.12.1                  runtime                                            MIT                       runtime                                               modules in runtime                Dev/Build/Test                 No          Static Link    No          No
                                                                                                                                                             https://github.com/jonschlinkert/kind-
New Display             kind-of                         6.0.2                   https://www.npmjs.com/package/kind-of              MIT                       of/blob/HEAD/LICENSE                                  Get the native type of value      Javascript-Internally-Facing   No          Static Link    No          No
                                                                                                                                                             https://github.com/gruntjs/grunt/blob/master/LICEN
Display                 Grunt                           0.4.1                   https://gruntjs.com/                               MIT                       SE                                                    build manager                     Dev/Build/Test                 No          Static Link    No          No
                                                                                https://www.npmjs.com/package/grunt-                                         https://github.com/dcodeIO/grunt-
Display                 Grunt-ClosureCompiler           0.9.3                   closurecompiler                                    Apache                    closurecompiler/blob/master/LICENSE                   module bundler                    Dev/Build/Test                 No          Static Link    No          No
                                                                                                                                                             https://github.com/krampstudio/grunt-
Display                 Grunt-jsdoc                     1.0.0                   https://www.npmjs.com/package/grunt-jsdoc          MIT                       jsdoc/blob/master/LICENSE-MIT                         creates API doc                   Dev/Build/Test                 No          Static Link    No          No
Display                 JsCompressor                    didn't find details     didn't find details                                didn't find details       didn't find details                                   javascript compressor             Dev/Build/Test                 No          Static Link    No          No
                                                                                                                                                                                                                   A simple tool that allows you
                                                                                                                                                             https://github.com/karma-runner/grunt-                to execute JavaScript code in
Display                 Grunt-Karma                     0.6.2                   https://www.npmjs.com/package/grunt-karma          MIT                       karma/blob/master/LICENSE                             multiple real browsers            Dev/Build/Test                 No          Static Link    No          No
                                                                                https://www.npmjs.com/package/grunt-contrib-                                 https://github.com/gruntjs/grunt-contrib-
Display                 grunt-contrib-clean             0.4.1                   clean                                              MIT                       clean/blob/master/LICENSE-MIT                         Clean files and folders           Dev/Build/Test                 No          Static Link    No          No
                                                                                https://www.npmjs.com/package/grunt-contrib-                                 https://github.com/gruntjs/grunt-contrib-
Display                 grunt-contrib-concat            0.2.0                   concat                                             MIT                       concat/blob/master/LICENSE-MIT                        Concatenate files                 Dev/Build/Test                 No          Static Link    No          No
                                                                                https://www.npmjs.com/package/grunt-contrib-                                 https://github.com/gruntjs/grunt-contrib-
Display                 grunt-contrib-copy              0.4.1                   copy                                               MIT                       copy/blob/master/LICENSE-MIT                          Copy files and folders            Dev/Build/Test                 No          Static Link    No          No
                                                                                https://www.npmjs.com/package/grunt-contrib-                                 https://github.com/gruntjs/grunt-contrib-             Minify JavaScript files with
Display                 grunt-contrib-uglify            2.0.0                   uglify                                             MIT                       uglify/blob/master/LICENSE-MIT                        UglifyJS                          Dev/Build/Test                 No          Static Link    No          No
                                                                                                                                                                                                                   javascript plugin to pretty-print
                                                                                                                                                                                                                   or minify text in XML, JSON,
Instream QA player      vkBeautify                      0.99.00.beta            http://www.eslinstructor.net/vkbeautify/           MIT                       http://www.opensource.org/licenses/mit-license.php CSS and SQL formats                  Javascript-Externaly-Facing    No          Static Link    No          No
                                                                                                                                                                                                                   SWFObject is a free, open-
                                                                                                                                                             https://github.com/swfobject/swfobject/blob/master/ source tool for embedding swf
Instream QA player      SWFObject                                        2.2 https://www.npmjs.com/package/swfobject               MIT                       LICENSE                                               content in websites.              Javascript-Internally-Facing   No          Static Link    No          No
                                                                                                                                                             https://github.com/ooc-                               compaile our coffee script
Instream QA player      OOC                             0.0.1                   https://ooc-lang.org/install/                      MIT                       lang/rock/blob/master/LICENSE                         code to js file                   Dev/Build/Test                 No          Static Link    No          No
                                                                                                                                                                                                                   Installs React which is used to
QA tool react           Create React App                16.3.2                  npx create-react-app (Node Package)                 MIT                      https://github.com/facebook/create-react-app          develop web application           Javascript-Internally-Facing   No          Static Link    No          No
                                                                                yarn add @material-ui/core (Node package) /
                        Material-UI (React                                      https://unpkg.com/@material-
QA tool react           dependancy)                     3.9.2                   ui/core/umd/material-ui.production.min.js           MIT                      https://github.com/mui-org/material-ui                UI components for REACT          Javascript-Internally-Facing    No          Static Link    No          No
                                                                                yarn add PostScribe (Node package) /
                                                                                https://cdnjs.cloudflare.com/ajax/libs/postscribe/2                                                                             overwrites document.write
QA tool react           PostScribe                      2.0.8                   .0.8/postscribe.min.js                              MIT                      https://github.com/krux/postscribe                 methods                             Javascript-Internally-Facing    No          Static Link    Don't Know Don't Know
                                                                                                                                                                                                                Color picker component for
QA tool react           react-color                     2.17.0                  yarn add react-color (Node Package)                MIT                       https://github.com/casesandberg/react-color        React                               Javascript-Internally-Facing    No          Static Link    Don't Know Don't Know
                                                                                                                                                                                                                (shipped dependacy of react
                                                                                                                                                             https://github.com/facebook/react/tree/master/pack which gives React access to
QA tool react           react-dom                       16.3.2                  yarn add react react-dom (Node Package)            MIT                       ages/react-dom                                     the DOM)                            Javascript-Internally-Facing    No          Static Link    Don't Know Don't Know
                                                                                                                                                                                                                A resizable and draggable
QA tool react           react-rnd                       7.4.0                   yarn add react-rnd (node Package)                  MIT                       https://github.com/bokuweb/react-rnd               component for React                 Javascript-Internally-Facing    No          Static Link    Don't Know Don't Know
                                                                                N /A core depedancy of Create React App)
                                                                                packaged and installed with the create React                                 https://github.com/facebook/create-react-
QA tool react           react-scripts                   1.1.4                   App package                                        MIT                       app/blob/master/LICENSE                                                                Javascript-Internally-Facing    No          Static Link    Yes         Yes
                                                                                https://mvnrepository.com/artifact/net.lightbody.b
Client QA Automation    BrowserMob Proxy                2.1.4                   mp/browsermob-core/2.1.4                           NONE                      NONE                                                  Creates a proxy server           Dev/Build/Test                  No          Static Link    No          No
                                                                                https://mvnrepository.com/artifact/org.seleniumhq
Client QA Automation    Selenium-Java                   3.4.0                   .selenium/selenium-java/3.4.0                      Apache 2.0                http://www.apache.org/licenses/LICENSE-2.0            Selenium automates browsers Dev/Build/Test                       No          Static Link    No          No
                                                                                https://mvnrepository.com/artifact/org.seleniumhq
Client QA Automation    Selenium-support                3.4.0                   .selenium/selenium-support/3.4.0                   Apache 2.0                http://www.apache.org/licenses/LICENSE-2.0.txt        Selenium automates browsers Dev/Build/Test                       No          Static Link    No          No
                                                                                                                                                                                                                   Provides proxy to automate
Client QA Automation    Chrome Driver                   74.0.3729.6             https://www.seleniumhq.org/download/               Apache 2.0                https://www.seleniumhq.org/about/license.jsp          browser                       Dev/Build/Test                     No          Static Link    No          No
                                                                                                                                                                                                                   Provides proxy to automate
Client QA Automation    IE Driver                       3.14.0                  https://www.seleniumhq.org/download/               Apache 2.0                https://www.seleniumhq.org/about/license.jsp          browser                       Dev/Build/Test                     No          Static Link    No          No
                                                                                                                                                                                                                   Provides proxy to automate
Client QA Automation    Mozilla Gecko Driver            0.24.0              https://www.seleniumhq.org/download/              Apache 2.0                     https://www.seleniumhq.org/about/license.jsp          browser                       Dev/Build/Test                     No          Static Link    No          No
                                                                            https://mvnrepository.com/artifact/org.seleniumhq                                                                                      WebDriver compatible driver
Client QA Automation    HtmlUnit Driver                                2.27 .selenium/htmlunit-driver/2.27                    Apache 2.0                     http://www.apache.org/licenses/LICENSE-2.0.txt        for HtmlUnit headless browser Dev/Build/Test                     No          Static Link    No          No
                                                                                                                                   Common Public License                                                           A unit testing framework for
Client QA Automation    JUint                                          4.12 https://mvnrepository.com/artifact/junit/junit/4.12    Version 1.0           http://www.opensource.org/licenses/cpl1.0.txt             Java                          Dev/Build/Test                     No          Static Link    No          No
                                                                            https://mvnrepository.com/artifact/com.google.inj
Client QA Automation    Guice                           3(3.0)              ect/guice/3.0                                       Apache 2.0                   http://www.apache.org/licenses/LICENSE-2.0            Dependency injection             Dev/Build/Test                  No          Static Link    No          No
                                                                            https://mvnrepository.com/artifact/com.fasterxml.j                                                                                     Transfers objects to JSON
Client QA Automation    Jackson                         2.8.5               ackson.core/jackson-core/2.8.5                      Apache 2.0                   http://www.apache.org/licenses/LICENSE-2.0.txt        structure and vice versa         Dev/Build/Test                  No          Static Link    No          No
                                                                            https://mvnrepository.com/artifact/info.cukes/cuc
Client QA Automation    Cucumber-junit                  1.2.5               umber-junit/1.2.5                                   MIT                          http://www.opensource.org/licenses/mit-license        Provides testing enviorment      Dev/Build/Test                  No          Static Link    No          No
                                                                            https://mvnrepository.com/artifact/io.cucumber/cu
Client QA Automation    Cucumber-java                   1.2.5               cumber-java/1.2.5                                   MIT                          http://www.opensource.org/licenses/mit-license        Provides testing enviorment      Dev/Build/Test                  No          Static Link    No          No
                                                                            https://mvnrepository.com/artifact/info.cukes/cuc
Client QA Automation    Cucumber-java8                  1.2.5               umber-java8/1.2.5                                   MIT                          http://www.opensource.org/licenses/mit-license        Provides testing enviorment      Dev/Build/Test                  No          Static Link    No          No
                                                                            https://mvnrepository.com/artifact/info.cukes/cuc
Client QA Automation    Cucumber-core                   1.2.5               umber-core/1.2.5                                    MIT                          http://www.opensource.org/licenses/mit-license        Provides testing enviorment      Dev/Build/Test                  No          Static Link    No          No
                                                                            https://mvnrepository.com/artifact/info.cukes/cuc
Client QA Automation    Cucumber-html                   0.2.3               umber-html/0.2.3                                    NONE                         NONE                                                  Provides testing enviorment    Dev/Build/Test                    No          Static Link    No          No
                                                                            https://jar-                                                                                                                           Provides a platform to monitor
                                                                            download.com/artifacts/com.applitools/eyes-                                                                                            pixle changes in browser
Client QA Automation    Applitools eyes-selenium-java                  2.56 selenium-java                                       NONE                         NONE                                                  testing                        Dev/Build/Test                    No          Static Link    No          No
                                                                                                                                                             http://www.robertpenner.com/easing_terms_of_use.
Flash Extension         Easing                                                                                                     BSD                       html                                                 Easing Equations
Debugr - Ask the                                                                                                                                             https://github.com/FFmpeg/FFmpeg/blob/master/LI
Oracle                  ffmpeg                          3.4.4.1                 https://github.com/FFmpeg/FFmpeg                   LGPL v2.1+, GPL v2+       CENSE.md                                             Video Encoder              Server-side                            No          Standalone     No          No
Debugr - Ask the                                                                                                                                             https://github.com/MediaArea/MediaInfo/blob/maste
Oracle                  Media Info                      0.7.82                  https://github.com/MediaArea/MediaInfo             2-Clause BSD              r/LICENSE                                            Video spec analyzer        Server-side                            No          Standalone     No          No
Debugr - Eye of                                                                                                                                              https://github.com/ariya/phantomjs/blob/master/LIC
Sauron                  PhantomJS                       2.1.1                   https://github.com/ariya/phantomjs                 3-Clause BSD              ENSE.BSD                                             Headless browser           Server-side                            No          Standalone     No          No
                                                                                                                                                             https://github.com/GoogleChrome/puppeteer/blob/m
Debugr - Zuul           Puppeteer                       1.4.0                   https://github.com/GoogleChrome/puppeteer          Apache-2.0                aster/LICENSE                                        Headless Browser           Server-side                            No          Standalone     No          No
                                                                                                                                                             https://github.com/neitanod/forceutf8/blob/master/sr
Debugr - Feedifier      ForceUTF8                                             2 https://github.com/neitanod/forceutf8              Revised BSD               c/ForceUTF8/Encoding.php                             Character Encoding         Server-side                            No          Dynamic Link   No          No
Debugr (old)            BitlyPHP                                                https://github.com/Falicon/BitlyPHP                GPL-3.0                   http://www.gnu.org/licenses/gpl.html                 PHP wrapper for Bitly API  Server-side                            No          Dynamic Link   No          No
                                                                                                                                                             https://github.com/phpmyadmin/phpmyadmin/blob/
Debugr                  PHPMyAdmin                      4.5.4.1                 https://github.com/phpmyadmin/phpmyadmin           GPLv2                     master/LICENSE                                       Database Admin UI          Server-side                            No          Standalone     No          No
                                                                                                                                                             https://www.gnu.org/licenses/old-licenses/gpl-
Debugr                 htop                             2.0.1                   https://github.com/hishamhm/htop                   GPLv2                     2.0.html                                             Server resource monitor    Server-side                            No          Standalone     No          No
Debugr - Liquid Status                                                                                                                                       https://github.com/zachwick/TableCSVExport/blob/
Page                   jQuery Table CSV Export                                  https://github.com/zachwick/TableCSVExport         ???                       master/jquery.TableCSVExport.js                      CSV library                Client-side                            Yes         Dynamic Link   No          No
                                                                                                                                                             https://github.com/codemirror/CodeMirror/blob/mast
Debugr - Sandbox        Codemirror                      5.25.2                  https://github.com/codemirror/CodeMirror           MIT                       er/LICENSE                                           In-browser code editor     Client-side                            Yes         Dynamic Link   No          No
                                                                                                                                                             https://github.com/ghinda/jotted/blob/master/LICEN Code showcase for executable
Debugr - Sandbox        Jotted                          1.5.2                   https://github.com/ghinda/jotted                   MIT                       SE                                                   JS                         Client-side                            Yes         Dynamic Link   No          No
               19-10971-dsj                                           Doc 210                                    Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                               Main Document
                                                                                                                            Pg 259 of 325
                                                                                                                                            https://github.com/jquery/jquery/blob/master/LICEN
Debugr (old)             jQuery                      1.10.2              https://github.com/jquery/jquery                   MIT             SE.txt                                              JS Framework                       Client-side    Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/jquery/jquery/blob/master/LICEN
Debugr (old)             jQuery                      1.7.1               https://github.com/jquery/jquery                   MIT             SE.txt                                              JS Framework                       Client-side    Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/jashkenas/backbone/blob/master
Debugr (old)             backbone.js                 0.9.9               https://github.com/jashkenas/backbone              MIT             /LICENSE                                                                               Client-side    Yes   Dynamic Link   No    No
                                                                         https://github.com/farbelous/bootstrap-                            https://github.com/farbelous/bootstrap-
Debugr (old)             Bootstrap Colorpicker       2.5.1               colorpicker/tree/v2.x                              Apache-2.0      colorpicker/blob/v2.x/LICENSE                       Color picker UI                    Client-side    Yes   Dynamic Link   No    No
Debugr (old)             jQuery Base64                                   https://github.com/yckart/jquery.base64.js         ???             https://github.com/yckart/jquery.base64.js          Base64 string conversions          Client-side    Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/carhartl/jquery-
Debugr (old)             jQuery Cookie                                   https://github.com/carhartl/jquery-cookie          MIT             cookie/blob/master/MIT-LICENSE.txt                  Cookie library                     Client-side    Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/jquery/jquery-
Debugr (old)             jQuery UI                   1.10.4              https://github.com/jquery/jquery-ui                MIT             ui/blob/master/LICENSE.txt                          JS UI Framework                    Client-side    Yes   Dynamic Link   No    No
                                                                         https://github.com/douglascrockford/JSON-                          https://github.com/douglascrockford/JSON-
Debugr (old)             json2.js                                        js/blob/master/json2.js                            Public Domain   js/blob/master/json2.js                             JSON Parser for pre-ES5            Client-side    Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/jwplayer/jwplayer/blob/master/LI
Debugr (old)             JW Player                   6.8.4616            https://github.com/jwplayer/jwplayer               CC BY-NC 3.0    CENSE                                               Video Player                       Client-side    Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/jashkenas/underscore/blob/mast
Debugr (old)             Underscore.js                                   https://github.com/jashkenas/underscore            MIT             er/LICENSE                                          JS Library                         Client-side    Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/vkiryukhin/vkBeautify/blob/maste
Debugr (old)             vkbeautify                  0.9.9               https://github.com/vkiryukhin/vkBeautify           MIT             r/LICENSE                                           JS Beautifier                      Client-side    Yes   Dynamic Link   No    No
                                                                         https://github.com/danielfarrell/bootstrap-
Debugr                   Bootstrap Combobox          1.1.6               combobox                                           Apache-2.0      http://www.apache.org/licenses/LICENSE-2.0          Combobox UI element                Client-side    Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/jquery/jquery-
Debugr                   jQuery UI                   1.11.4              https://github.com/jquery/jquery-ui                MIT             ui/blob/master/LICENSE.txt                          JS Framework                       Client-side    Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/gdsmith/jquery.easing/blob/mast
Debugr                   jQuery Easing                                1.3 https://github.com/gdsmith/jquery.easing          3-Clause BSD    er/LICENSE                                          Easing plugin                      Client-side    Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/davidshimjs/qrcodejs/blob/master
Debugr                   QRCode                                          https://github.com/davidshimjs/qrcodejs            MIT             /LICENSE                                            QRCode Generator                   Client-side    Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/twbs/bootstrap/blob/master/LICE
Debug                    Bootstrap                   3.3.6               https://github.com/twbs/bootstrap                  MIT             NSE                                                 CSS Framework                      Client-side    Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/jquery/jquery/blob/master/LICEN
Debugr                   jQuery                      1.11.3              https://github.com/jquery/jquery                   MIT             SE.txt                                              JS Framework                       Client-side    Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/jquery/jquery/blob/master/LICEN
Debugr                   jQuery                      3.3.1               https://github.com/jquery/jquery                  MIT              SE.txt                                              JS Framework                       Client-side    Yes   Dynamic Link   No    No
                                                                         https://github.com/client9/stringencoders/tree/ma                  https://github.com/client9/stringencoders/blob/mast
Debugr                   base64.js                                       ster/javascript                                   MIT              er/LICENSE                                          Base64 string conversions          Client-side    Yes   Dynamic Link   No    No
                                                                         https://github.com/dcompute/really-simple-color-
Debugr                   jQuery Color Picker                             picker                                            MIT              https://opensource.org/licenses/MIT                    Color picker UI element          Client-side   Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/iamceege/tooltipster/blob/master/
Debugr                   Tooltipster                 3.2.6               https://github.com/iamceege/tooltipster            MIT             LICENSE                                                Tooltips                         Client-side   Yes   Dynamic Link   No    No
Debugr                   Fancybox                    2.1.5               https://github.com/fancyapps/fancyBox              CC BY-NC 3.0    http://fancyapps.com/fancybox/#license                 Lightbox Library                 Client-side   Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/videojs/video.js/blob/master/LICE
Debugr                   VideoJS                     6.4.0               https://github.com/videojs/video.js                Apache-2.0      NSE                                                    Video Player                     Client-side   Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/videojs/video.js/blob/master/LICE
Debugr                   VideoJS                     5.16.0              https://github.com/videojs/video.js                Apache-2.0      NSE                                                    Video Player                     Client-side   Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/MailOnline/videojs-vast-
Debugr                   VideoJS VAST/VPAID Plugin                       https://github.com/MailOnline/videojs-vast-vpaid   MIT             vpaid/blob/master/LICENSE                              Ads Plugin                       Client-side   Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/videojs/videojs-contrib-
Debugr                   VideoJS HLS                 5.12.2              https://github.com/videojs/videojs-contrib-hls     Apache-2.0      hls/blob/master/LICENSE                                HLS Plugin                       Client-side   Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/seiyria/bootstrap-
Debugr                   Bootstrap Slider            9.8.0               https://github.com/seiyria/bootstrap-slider        MIT             slider/blob/master/LICENSE.md                          Slider UI element                Client-side   Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/aFarkas/html5shiv/blob/master/M
Debugr                   HTML5 Shiv                  3.7.2               https://github.com/aFarkas/html5shiv               MIT             IT%20and%20GPL2%20licenses.md                          Backwards compatibility          Client-side   Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/scottjehl/Respond/blob/master/LI
Debugr                   Respond.js                  1.4.2               https://github.com/scottjehl/Respond               MIT             CENSE-MIT                                              Backwards compatibility          Client-side   Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/highlightjs/highlight.js/blob/maste
Debugr                   highlight.js                9.1.0               https://github.com/highlightjs/highlight.js        ???             r/LICENSE                                              Syntax highlighter               Client-side   Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/jquery/jquery/blob/master/LICEN
PS Request Form          jQuery                      2.1.4               https://github.com/jquery/jquery                   MIT             SE.txt                                                 JS Framework                     Client-side   Yes   Dynamic Link   No    No
PS Request Form          jQuery Table Sorter         2.23.4              https://github.com/Mottie/tablesorter              MIT             https://opensource.org/licenses/mit-license.php        Table sort library               Client-side   Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/bestiejs/platform.js/blob/master/L
Debugr - Sidebar         Platform.js                 1.3.3?              https://github.com/bestiejs/platform.js/           MIT             ICENSE                                                 Platform detection               Client-side   Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/swfobject/swfobject/blob/master/
Debugr - Sidebar         SWFObject                                    2.2 https://github.com/swfobject/swfobject            MIT             LICENSE                                                Flash Detection                  Client-side   Yes   Dynamic Link   No    No
Features - 3D Product                                                                                                                       https://github.com/jquery/jquery/blob/master/LICEN
Viewer                   jQuery                      1.10.2              jquery-1.10.2.min.js                               MIT             SE.txt                                                 JS Framework                     Client-side   Yes   Dynamic Link   No    No
Custom Variable                                                                                                                             https://github.com/eligrey/FileSaver.js/blob/master/L Save/Export Table to local
Checker                  File Saver                  1.3.2               https://github.com/eligrey/FileSaver.js/           MIT             ICENSE.md                                              machine                          Client-side   No    Standalone     No    No
List of Testing Device   jQuery                      1.9.1               http://jquery.com/                                 MIT             https://jquery.org/license/                            JS Library                       Client-side   No    Standalone     No    No
List of Testing Device   jQuery UI                   1.10.3              https://jqueryui.com/                              MIT             https://jquery.org/license/                            UI library                       Client-side   No    Standalone     No    No
                                                                                                                            GPL v2          http://datatables.net/license_gpl2
List of Testing Device   DataTable                   1.9.4               https://datatables.net/                            BSD             http://datatables.net/license_bsd                      Data table library               Client-side   No    Standalone     No    No
                                                                                                                                            https://github.com/facebook/jest/blob/master/LICEN
Local build tools        Jest                        23.6.0              https://github.com/facebook/jest                   MIT             SE                                                     Unit Testing                     Local         No    Standalone     No    No
                                                                                                                                            https://github.com/facebook/jest/blob/master/LICEN
Local build tools        babel-jest                  23.6.0              https://github.com/facebook/jest                   MIT             SE                                                     Unit Testing                     Local         No    Standalone     No    No
                                                                                                                                            https://github.com/jsdoc/jsdoc/blob/master/LICENS Code Documentation
Local build tools        JSDoc                       3.5.5               https://github.com/jsdoc/jsdoc                     Apache-2.0      E                                                      generator                        Local         No    Standalone     No    No
                                                                                                                                            https://github.com/babel/babel/blob/master/LICENS
Local build tools        babel-core                  7.2.2               https://github.com/babel/babel                     MIT             E                                                      Transpiler                       Local         No    Standalone     No    No
                                                                                                                                            https://github.com/babel/babel/blob/master/LICENS
Local build tools        babel-core                  7.0.0-bridge.0      https://github.com/babel/babel                     MIT             E                                                      Transpiler                       Local         No    Standalone     No    No
                                                                                                                                            https://github.com/babel/babel/blob/master/LICENS
Local build tools        babel-cli                   7.2.0               https://github.com/babel/babel                     MIT             E                                                      Transpiler                       Local         No    Standalone     No    No
                                                                                                                                            https://github.com/babel/babel/blob/master/LICENS
Local build tools        babel-cli                   6.26.0              https://github.com/babel/babel                     MIT             E                                                      Transpiler                       Local         No    Standalone     No    No
                                                                                                                                            https://github.com/babel/babel/blob/master/LICENS
Local build tools        babel-polyfill              7.0.0               https://github.com/babel/babel                     MIT             E                                                      Transpiler polyfills             Local         No    Standalone     No    No
                                                                                                                                            https://github.com/babel/babel/blob/master/LICENS Transpiler environment
Local build tools        babel-preset-env            7.2.0               https://github.com/babel/babel                     MIT             E                                                      settings                         Local         No    Standalone     No    No
                                                                                                                                            https://github.com/babel/babel/blob/master/LICENS Transpiler environment
Local build tools        babel-preset-env            1.7.0               https://github.com/babel/babel                     MIT             E                                                      settings                         Local         No    Standalone     No    No
                                                                                                                                            https://github.com/eslint/eslint/blob/master/LICENS
Local build tools        eslint                      5.9.0               https://github.com/eslint/eslint                   MIT             E                                                      Linter                           Local         No    Standalone     No    No
                                                                         https://github.com/standard/eslint-config-                         https://github.com/standard/eslint-config-
Local build tools        eslint-config-standard      12.0.0              standard                                           MIT             standard/blob/master/LICENSE                           Linter config                    Local         No    Standalone     No    No
                                                                         https://github.com/benmosher/eslint-plugin-                        https://github.com/benmosher/eslint-plugin-
Local build tools        eslint-plugin-import        2.14.0              import                                             MIT             import/blob/master/LICENSE                             Linter plugin for imports        Local         No    Standalone     No    No
                                                                                                                                            https://github.com/mysticatea/eslint-plugin-
Local build tools        eslint-plugin-node          8.0.0               https://github.com/mysticatea/eslint-plugin-node   MIT             node/blob/master/LICENSE                               Linter plugin for node           Local         No    Standalone     No    No
                                                                                                                                            https://github.com/xjamundx/eslint-plugin-
Local build tools        eslint-plugin-promise       4.0.1               https://github.com/xjamundx/eslint-plugin-promise ISC              promise#license                                        Linter plugin for promises       Local         No    Standalone     No    No
                                                                         https://github.com/standard/eslint-plugin-                         https://github.com/standard/eslint-plugin-
Local build tools        eslint-plugin-standard      4.0.0               standard                                          MIT              standard/blob/master/LICENSE                           Linter plugin for standard rules Local         No    Standalone     No    No
                                                                                                                                            https://github.com/terser-
Local build tools        terser                      3.13.1              https://github.com/terser-js/terser                BSD             js/terser/blob/master/LICENSE                          Minifier                         Local         No    Standalone     No    No
Local build tools        terser-folder               2.0.0               https://www.npmjs.com/package/terser-folder        ???             https://www.npmjs.com/package/terser-folder            Bulk minifier runner             Local         No    Standalone     No    No
                                                                                                                                            https://github.com/srod/node-
Local build tools        node-minify                 3.6.0               https://github.com/srod/node-minify             MIT                minify/blob/develop/LICENSE                            Node minifer module              Local         No    Standalone     No    No
                                                                         https://github.com/documentationjs/documentatio                    https://github.com/documentationjs/documentation/
Local build tools        documentationJS             9.0.0-alpha.1       n                                               ISC                blob/master/LICENSE                                    JSDocs generator/styles          Local         No    Standalone     No    No
                                                                                                                                            https://github.com/aframevr/aframe/blob/master/LIC
Features - 360 Viewer AFrame                         0.8.2               aframe.min.js                                      MIT             ENSE                                                   VR Web Framework                 Client-side   Yes   Dynamic Link   Yes   Yes
                                                                                                                                            https://github.com/petkaantonov/bluebird/blob/mast
Features - 360 Viewer    BlueBird                    3.5.0               bluebird.min.js                                    MIT             er/LICENSE                                             Promise Polyfil                  Client-side   Yes   Dynamic Link   No    No
Features - Dynamic                                                                                                                          https://github.com/jquery/jquery/blob/master/LICEN
Creative Features        jQuery                      1.8.2               jquery.min.js                                      MIT             SE.txt                                                 JS Framework                     Client-side   Yes   Dynamic Link   No    No
Features - Outstream                                                                                                                        https://github.com/videojs/video.js/blob/master/LICE
Player                   VideoJS                     6.2.4               video.min.js                                       Apache-2.0      NSE                                                    Video Player                     Client-side   Yes   Dynamic Link   Yes   Yes
Features - Outstream                                                                                                                        https://github.com/MailOnline/videojs-vast-
Player                   VideoJS VAST/VPAID Plugin   5.0.0               videojs_5.vast.vpaid.min.js                        MIT             vpaid/blob/master/LICENSE                              Ads Plugin                       Client-side   Yes   Dynamic Link   Yes   Yes
Features -                                                                                                                                  https://github.com/Leaflet/Leaflet/blob/master/LICE
StoreLocator             Leaflet                     0.7.7               leaflet.js                                         ???             NSE                                                    Maps Framework                   Client-side   Yes   Dynamic Link   No    No
Features -                                                                                                                                  https://github.com/jquery/jquery/blob/master/LICEN
StoreLocator             jQuery                      1.9.1               jquery.min.js                                      MIT             SE.txt                                                 JS Framework                     Client-side   Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/jquery/jquery/blob/master/LICEN
Features - Twitter       jQuery                      1.9.1               jquery.min.js                                      MIT             SE.txt                                                 JS Framework                     Client-side   Yes   Dynamic Link   No    No
                                                                                                                                            https://github.com/wieringen/tinyscrollbar/blob/mast
Features - Twitter     jQuery Tiny Scrollbar         2.5.0               jquery.tinyscrollbar.min.js                        MIT             er/MIT-LICENSE.txt                                     UI library                       Client-side   Yes   Dynamic Link   No    No
LDM - Programmatic                                                                                                                          https://github.com/jquery/jquery/blob/master/LICEN
Preview Tool           jQuery                        1.11.2              https://github.com/jquery/jquery                   MIT             SE.txt                                                 JS Framework                     Client-side   Yes   Dynamic Link   No    No
LDM - Programmatic                                                       https://github.com/jquery-validation/jquery-                       https://github.com/jquery-validation/jquery-
Preview Tool           jQuery Validate               1.13.1              validation                                         MIT             validation/blob/master/LICENSE.md                      JS Framework                     Client-side   Yes   Dynamic Link   No    No
LDM - Programmatic                                                                                                                          https://github.com/redbadger/jquery-
Preview Tool           jQuery XDR                    1.11.2              https://github.com/redbadger/jquery-xdr            MIT             xdr/blob/master/LICENSE                                JS Framework                     Client-side   Yes   Dynamic Link   No    No
LDM - Programmatic                                                                                                                          https://github.com/jquery/jquery/blob/master/LICEN
Settings Admin Tool    jQuery                        1.7.2               https://github.com/jquery/jquery                   MIT             SE.txt                                                 JS Framework                     Client-side   Yes   Dynamic Link   No    No
LDM - Programmatic                                                                                                                          https://github.com/jquery/jquery-
Settings Admin Tool    jQuery UI                     1.8.18              https://github.com/jquery/jquery-ui                MIT             ui/blob/master/LICENSE.txt                             JS Framework                     Client-side   Yes   Dynamic Link   No    No
LDM - Programmatic                                                                                                                          https://github.com/phpmyadmin/phpmyadmin/blob/
Settings Admin Tool    PHPMyAdmin                    4.2.10              https://github.com/phpmyadmin/phpmyadmin           GPLv2           master/LICENSE                                         Database Admin UI                Server-side   No    Standalone     No    No
LDM (DEV) -
Programmatic Settings                                                                                                                       https://github.com/jquery/jquery/blob/master/LICEN
Admin Tool             jQuery                        1.7.2               https://github.com/jquery/jquery                   MIT             SE.txt                                             JS Framework                        Client-side    Yes   Standalone     No    No
LDM (DEV) -
Programmatic Settings                                                                                                                       https://github.com/jquery/jquery-
Admin Tool             jQuery UI                     1.8.18              https://github.com/jquery/jquery-ui                MIT             ui/blob/master/LICENSE.txt                            JS Framework                     Client-side    Yes   Standalone     No    No
LDM (DEV) -
Programmatic Settings                                                                                                                       https://github.com/phpmyadmin/phpmyadmin/blob/
Admin Tool             PHPMyAdmin                    4.4.15.10           https://github.com/phpmyadmin/phpmyadmin           GPLv2           master/LICENSE                                     Database Admin UI                   Server-side    No    Standalone     No    No
TestPagesCreator (for                                                                                                                       https://github.com/necolas/normalize.css/blob/mast
CIT)                   Normalize                     1.1.0               https://github.com/necolas/normalize.css/          MIT             er/LICENSE.md                                      CSS Framework                       Client-side    Yes   Standalone     No    No
Sizmek Tools PRO
(plugin extension only                                                                                                                      https://github.com/jquery/jquery/blob/master/LICEN
for Chrome)            jQuery                        2.1.1               https://github.com/jquery/jquery                   MIT             SE.txt                                             JS Framework                        Client-side    Yes   Standalone     No    No
Sizmek Tools (DEV)
(plugin extension for                                                                                                                       https://github.com/jquery/jquery/blob/master/LICEN
Chrome and FF)         jQuery                        2.1.1               https://github.com/jquery/jquery                   MIT             SE.txt                                             JS Framework                        Client-side    Yes   Standalone     No    No
                                                                                                                                            https://github.com/jquery/jquery/blob/master/LICEN
portal.sizmek.es         jQuery                      2.1.1               https://github.com/jquery/jquery                   MIT             SE.txt                                             JS Framework                        Client-side    Yes   Standalone     No    No
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Template - McDonalds                                                                              GreenSock’s standard
xAd                  GreenSock - TweenLite   1.19.1   https://greensock.com/tweenlite             “No Charge” license    https://greensock.com/standard-license              Animation Library            Client-side   Yes              Integrated     No   No
Template - McDonalds                                                                              GreenSock’s standard
xAd                  GreenSock - EasePack    1.15.5   https://greensock.com/tweenlite             “No Charge” license    https://greensock.com/standard-license              Animation Library - Module   Client-side   Yes              Integrated     No   No
Template - McDonalds                                                                              GreenSock’s standard
xAd                  GreenSock - CSSPlugin   1.19.1   https://greensock.com/tweenlite             “No Charge” license    https://greensock.com/standard-license              Animation Library - Plugin   Client-side   Yes              Integrated     No   No
Template - McDonalds                                                                                                     https://github.com/Leaflet/Leaflet/blob/master/LICE
xAd                  Leaflet                 0.7.7    leaflet.js                                  ???                    NSE                                                 Maps Framework               Client-side   Yes              Dynamic Link   No   No
                                                                                                                                                                                                                        No - was
HTML5 Video Alpha                                                                                                                                                                                                       research stage
Transparency - Testing jQuery seeThru        ???      https://github.com/m90/seeThru              MIT                    https://opensource.org/licenses/mit-license.php     Transparent HTML5 video      Client-side   only             Integrated     No   No
                                                                                                                                                                                                                        No - was
HTML5 Video Alpha                                                                                                                                                                                                       research stage
Transparency - Testing normalize.css         4.1.1    github.com/necolas/normalize.css            MIT                    https://opensource.org/licenses/mit-license.php     Alternative to CSS resets    Client-side   only             Integrated     No   No
                                                                                                                                                                             FontPrep takes your TTF and
                                                                                                                                                                             OTF font files and generates
                                                                                                                                                                             all of the respective font-
                                                                                                                                                                             formats for the web: WOFF,
Infrastructure        FontPrep               3.1.1    https://github.com/briangonzalez/fontprep   GNU V3.0               https://www.gnu.org/licenses/gpl-3.0.en.html        EOT, and SVG.                Local         No               N/A            No   No
Infrastructure        ImageOptim             1.6.3    https://imageoptim.com/mac                  GPL v2 or later        https://www.gnu.org/licenses/gpl-2.0.txt            Reduces image k weight       Local         No               N/A            No   No
                                                         19-10971-dsj                            Doc 210                     Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                                   Main Document
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                                                                                                                                                                                                                                                                                                     Executable
                                                                                                                                                                                                                                                                                                     distributed
                                                                                                                                                                                                                                                                                                    externally by
Names of Company Software                                                                                                                                                                                                                                                How is Package Used
                                                                                                                                                                                                                                                                                                   Company (e.g.,                             Modified
                                                                                                                                                                                                                                                                                                                                                        Source code
                           Package Name (please list                                                                     License Name and Version        URL of License in the package’s web documentation,                                                              (please list even if not                      How Integrated or               mods released
       Repositories                                           Package                                                                                                                                                                                                                                via device,                                by
                          even if not part of third-party                         URL of Package Download Site            (See sample identifiers at     site, or git repo (if no URL available, insert license text     Brief Description of What the Package Does     part of the upload for the                         Linked?                     externally by
   Containing/Using the            code scan)
                                                              Version
                                                                                                                         https://spdx.org/licenses/ )                          on separate tab)
                                                                                                                                                                                                                                                                                                     download,                               Company?
                                                                                                                                                                                                                                                                               CodeScan)?                                                                Company?
         Package                                                                                                                                                                                                                                                                                     externally
                                                                                                                                                                                                                                                                                                     facing JS,
                                                                                                                                                                                                                                                                                                        etc.)?
                                                                                                                                                                                                                                                                                                                 (use dropdowns)
                                                                                                                                                        https://github.com/ajcrowe/puppet-
Analytics Puppet Module     ajcrowe-supervisord             0.6.1       https://github.com/ajcrowe/puppet-supervisord MIT                               supervisord/blob/master/LICENSE                                Module supervisord class and functions          Other (provide description) No             Other (provide description) No       No
                                                                                                                      Apache License, Version           https://github.com/voxpupuli/puppet-
Analytics Puppet Module     arioch-keepalived               1.2.5       https://github.com/arioch/puppet-keepalived   2.0                               keepalived/blob/master/LICENSE                                 Keepalived module                               Other (provide description) No             Other (provide description) No       No
                                                                                                                                                        https://github.com/arioch/puppet-
Analytics Puppet Module     arioch-redis                    1.2.4       https://github.com/arioch/puppet-redis        Apache-2.0                        redis/blob/master/LICENSE                                      Redis module                                    Other (provide description) No             Other (provide description) No       No
                                                                        https://github.com/badgerious/puppet-windows- Apache License, Version           https://github.com/badgerious/puppet-windows-
Analytics Puppet Module     badgerious-windows_env          2.2.2       env                                           2.0                               env/blob/master/LICENSE                                        Manages Windows environment variables           Other (provide description) No             Other (provide description) No       No
                                                                                                                                                        https://github.com/camptocamp/puppet-
Analytics Puppet Module     camptocamp-archive              0.9.0       https://github.com/camptocamp/puppet-archive Apache-2.0                         archive/blob/master/LICENSE                                    Camptocamp Archive Module                       Other (provide description) No             Other (provide description) No       No
                                                                        https://github.com/deadpoint/puppet-                                            https://github.com/deadpoint/puppet-
Analytics Puppet Module     darin/zypprepo                  1.0.2       zypprepo.git                                 Apache-2.0                         zypprepo/blob/master/LICENSE                                   A Puppet description of a zypper repository     Other (provide description) No             Other (provide description) No       No
                                                                                                                                                        https://github.com/devin-c/puppet-
Analytics Puppet Module     dchristensen-statsite           0.2.6       https://github.com/devin-c/puppet-statsite.git   The MIT License (MIT)          statsite/blob/master/LICENSE                                   Statsite installation and configuration         Other (provide description) No             Other (provide description) No       No
                                                                                                                                                        https://github.com/elastic/puppet-                             Module for managing and configuring
Analytics Puppet Module     elasticsearch-logstash          0.6.4       https://github.com/elastic/puppet-logstash       Apache-2.0                     logstash/blob/master/LICENSE                                   Logstash                                        Other (provide description) No             Other (provide description) No       No
                                                                        http://github.com/electrical/puppet-lib-                                        http://github.com/electrical/puppet-lib-
Analytics Puppet Module     electrical-file_concat          1.0.1       file_concat                                      Apache 2.0                     file_concat/blob/master/LICENSE                                Library for concatenating multiple files into 1 Other (provide description) No             Other (provide description) No       No
                                                                                                                         Apache License, Version        https://github.com/garethr/garethr-                            Module for installing and managing the
Analytics Puppet Module     garethr-diamond                 1.0.0       https://github.com/garethr/garethr-diamond       2.0                            diamond/blob/master/LICENSE                                    Diamond stats collection tool                   Other (provide description) No             Other (provide description) No       No
                                                                                                                                                        https://github.com/garethr/garethr-
Analytics Puppet Module     garethr-docker                  5.3.0       https://github.com/garethr/garethr-docker.git    Apache-2.0                     docker/blob/master/LICENSE                                     Module for installing and managing docker       Other (provide description) No             Other (provide description) No       No
                                                                                                                                                        https://github.com/garethr/garethr-
Analytics Puppet Module     garethr-sysdig                  0.1.2       https://github.com/garethr/garethr-sysdig.git    Apache 2.0                     sysdig/blob/master/LICENSE                                     Install sysdig from the official repositories   Other (provide description) No             Other (provide description) No       No
                                                                        https://github.com/justindowning/puppet-                                        https://github.com/justindowning/puppet-
Analytics Puppet Module     jdowning-statsd                 2.6.0       statsd.git                                       Apache-2.0                     statsd/blob/master/LICENSE                                     Setup and manage statsd                         Other (provide description) No             Other (provide description) No       No
                                                                        https://github.com/justindowning/puppet-                                        https://github.com/justindowning/puppet-
Analytics Puppet Module     jdowning/awscli                 1.3.0       awscli.git                                       Apache-2.0                     awscli/blob/master/LICENSE                                     Install awscli                                Other (provide description) No               Other (provide description) No       No
                                                                                                                                                        https://github.com/jethrocarr/puppet-                          Small Puppet fact to return the initsystem on
Analytics Puppet Module     jethrocarr-initfact             1.0.1       https://github.com/jethrocarr/puppet-initfact    Apache 2.0                     initfact/blob/master/LICENSE                                   this OS version                               Other (provide description) No               Other (provide description) No       No
                                                                                                                                                        https://github.com/justicel/puppet-
Analytics Puppet Module     jlondon-couchbase               1.0.5       https://github.com/justicel/puppet-couchbase.git Apache-2.0                     couchbase/blob/master/LICENSE                                  Puppet Couchbase module                         Other (provide description) No             Other (provide description) No       No
                                                                                                                                                        https://github.com/solarkennedy/puppet-
Analytics Puppet Module     KyleAnderson-consul             2.1.1       https://github.com/solarkennedy/puppet-consul Apache-2.0                        consul/blob/master/LICENSE                                     Configures Consul by Hashicorp                  Other (provide description) No             Other (provide description) No       No
                                                                                                                                                        https://github.com/lwf/puppet-
Analytics Puppet Module     lwf-remote_file                 1.1.3       https://github.com/lwf/puppet-remote_file        Apache-2.0                     remote_file/blob/master/LICENSE                                A resource/provider for remote files.           Other (provide description) No             Other (provide description) No       No
                                                                                                                                                        https://github.com/maestrodev/puppet-
Analytics Puppet Module     maestrodev-wget                 1.7.3       https://github.com/maestrodev/puppet-wget.git Apache-2.0                        wget/blob/master/LICENSE                                       Download files with wget                        Other (provide description) No             Other (provide description) No       No
                                                                        https://github.com/openshift/puppet-                                            https://github.com/openshift/puppet-
Analytics Puppet Module     openshift-openshift_origin      4.1.3       openshift_origin.git                          Apache-2.0                        openshift_origin/blob/master/LICENSE                           Module for installing Red Hat Openshift         Other (provide description) No             Other (provide description) No       No
                                                                                                                                                        https://github.com/pcfens/puppet-                              A module to install and manage the filebeat
Analytics Puppet Module     pcfens-filebeat                 0.12.0      https://github.com/pcfens/puppet-filebeat        Apache-2.0                     filebeat/blob/master/LICENSE                                   log shipper                                     Other (provide description) No             Other (provide description) No       No
                                                                                                                                                        https://github.com/pcfens/puppet-                              A module to install and manage yas3fs
Analytics Puppet Module     pcfens-yas3fs                   0.3.2       https://github.com/pcfens/puppet-yas3fs          Apache-2.0                     yas3fs/blob/master/LICENSE                                     mounts                                          Other (provide description) No             Other (provide description) No       No
                                                                                                                                                        https://github.com/voxpupuli/puppet-
Analytics Puppet Module     puppet-rabbitmq                 8.4.0       https://github.com/voxpupuli/puppet-rabbitmq     Apache-2.0                     rabbitmq/blob/master/LICENSE                                   Installs, configures, and manages RabbitMQ. Other (provide description) No                 Other (provide description) No       No
                                                                                                                                                        https://github.com/voxpupuli/puppet-
Analytics Puppet Module     puppet-staging                  1.0.7       https://github.com/voxpupuli/puppet-staging      Apache-2.0                     staging/blob/master/LICENSE                                    Compressed file staging and deployment          Other (provide description) No             Other (provide description) No       No
                                                                                                                                                        https://github.com/puppetlabs/puppetlabs-                      Provides an interface for managing Apt
Analytics Puppet Module     puppetlabs-apt                  2.2.2       https://github.com/puppetlabs/puppetlabs-apt     Apache-2.0                     apt/blob/master/LICENSE                                        source, key, and definitions with Puppet        Other (provide description) No             Other (provide description) No       No
                                                                        https://github.com/puppetlabs/puppetlabs-                                       https://github.com/puppetlabs/puppetlabs-
Analytics Puppet Module     puppetlabs-chocolatey           0.7.0       chocolatey                                       Apache-2.0                     chocolatey/blob/master/LICENSE                                 Chocolatey package provider for Puppet          Other (provide description) No             Other (provide description) No       No
                                                                        https://github.com/puppetlabs/puppetlabs-                                       https://github.com/puppetlabs/puppetlabs-
Analytics Puppet Module     puppetlabs-concat               1.2.5       concat                                           Apache-2.0                     concat/blob/master/LICENSE                                     Construct files from multiple fragments.        Other (provide description) No             Other (provide description) No       No
                                                                                                                                                        https://github.com/puppetlabs/puppetlabs-
Analytics Puppet Module     puppetlabs-git                  0.4.0       https://github.com/puppetlabs/puppetlabs-git     Apache-2.0                     git/blob/master/LICENSE                                        Module for installing Git or Gitosis.           Other (provide description) No             Other (provide description) No       No
                                                                        https://github.com/puppetlabs/puppetlabs-                                       https://github.com/puppetlabs/puppetlabs-                      Configures HAProxy servers and manages the
Analytics Puppet Module     puppetlabs-haproxy              1.5.0       haproxy                                          Apache-2.0                     haproxy/blob/master/LICENSE                                    configuration of backend member servers.     Other (provide description) No                Other (provide description) No       No
                                                                                                                                                        https://github.com/puppetlabs/puppetlabs-                      Resource types for managing settings in INI
Analytics Puppet Module     puppetlabs-inifile              1.5.0       https://github.com/puppetlabs/puppetlabs-inifile Apache-2.0                     inifile/blob/master/LICENSE                                    files                                        Other (provide description) No                Other (provide description) No       No
                                                                                                                                                        https://github.com/puppetlabs/puppetlabs-                      Installs the correct Java package on various
Analytics Puppet Module     puppetlabs-java                 3.2.0       https://github.com/puppetlabs/puppetlabs-java    Apache-2.0                     java/blob/master/LICENSE                                       platforms.                                   Other (provide description) No                Other (provide description) No       No
                                                                                                                                                                                                                       A simple module to demonstrate managing
                                                                                                                                                        https://github.com/puppetlabs/puppetlabs-                      /etc/motd or Windows Logon Message as a
Analytics Puppet Module     puppetlabs-motd                 1.4.0       https://github.com/puppetlabs/puppetlabs-motd Apache-2.0                        motd/blob/master/LICENSE                                       template                                     Other (provide description) No                Other (provide description) No       No
                                                                        https://github.com/puppetlabs/puppetlabs-                                       https://github.com/puppetlabs/puppetlabs-                      Provides the mounttab and mountpoint
Analytics Puppet Module     puppetlabs-mount_providers 0.0.3            mount_providers                               Apache-2.0                        mount_providers/blob/master/LICENSE                            resource types.                              Other (provide description) No                Other (provide description) No       No
                                                                        https://github.com/puppetlabs/puppetlabs-                                       https://github.com/puppetlabs/puppetlabs-                      Install Node.js package and npm package
Analytics Puppet Module     puppetlabs-nodejs               0.8.0       nodejs                                        Apache-2.0                        nodejs/blob/master/LICENSE                                     provider.                                    Other (provide description) No                Other (provide description) No       No
                                                                                                                                                        https://github.com/puppetlabs/puppetlabs-                      Installs, configures, and manages the NTP
Analytics Puppet Module     puppetlabs-ntp                  4.2.0       https://github.com/puppetlabs/puppetlabs-ntp     Apache-2.0                     ntp/blob/master/LICENSE                                        service.                                     Other (provide description) No                Other (provide description) No       No
                                                     19-10971-dsj                           Doc 210                          Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                                 Main Document
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                                                              https://github.com/puppetlabs/puppetlabs-                                             https://github.com/puppetlabs/puppetlabs-                    Adds a new exec provider for executing
Analytics Puppet Module    puppetlabs-powershell     1.0.6    powershell                                              Apache-2.0                    powershell/blob/master/LICENSE                               PowerShell commands.                                Other (provide description) No   Other (provide description) No   No
                                                              https://github.com/puppetlabs/puppetlabs-                                             https://github.com/puppetlabs/puppetlabs-                    Upgrades Puppet 3.8 and All-In-One Puppet
Analytics Puppet Module    puppetlabs-puppet_agent   1.2.0    puppet_agent                                            Apache-2.0                    puppet_agent/blob/master/LICENSE                             Agents                                              Other (provide description) No   Other (provide description) No   No
                                                              https://github.com/puppetlabs/puppetlabs-                                             https://github.com/puppetlabs/puppetlabs-                    Adds a type and provider for managing
Analytics Puppet Module    puppetlabs-reboot         1.2.1    reboot.git                                              Apache-2.0                    reboot/blob/master/LICENSE                                   system reboots.                                     Other (provide description) No   Other (provide description) No   No
                                                                                                                                                                                                                 This module provides a native type and
                                                              https://github.com/puppetlabs/puppetlabs-                                             https://github.com/puppetlabs/puppetlabs-                    provider to manage keys and values in the
Analytics Puppet Module    puppetlabs-registry       1.1.3    registry.git                                            Apache-2.0                    registry/blob/master/LICENSE                                 Windows Registry                                    Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-                    Standard library of resources for Puppet
Analytics Puppet Module    puppetlabs-stdlib         5.1.0    https://github.com/puppetlabs/puppetlabs-stdlib Apache-2.0                            stdlib/blob/master/LICENSE                                   modules.                                            Other (provide description) No   Other (provide description) No   No
                                                              https://github.com/puppetlabs/puppetlabs-                                             https://github.com/puppetlabs/puppetlabs-
Analytics Puppet Module    puppetlabs-stunnel        0.1.0    stunnel                                         Apache 2.0                            stunnel/blob/master/LICENSE                                  A module for creating secure tunnels                Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    http://github.com/puppetlabs/puppetlabs-                     Installs, deploys, and configures Apache
Analytics Puppet Module    puppetlabs-tomcat         1.4.1    http://github.com/puppetlabs/puppetlabs-tomcat Apache 2.0                             tomcat/blob/master/LICENSE                                   Tomcat web services.                                Other (provide description) No   Other (provide description) No   No
                                                              https://github.com/puppetlabs/puppetlabs-                                             https://github.com/puppetlabs/puppetlabs-
Analytics Puppet Module    puppetlabs-transition     0.1.0    transition                                     Apache-2.0                             transition/blob/master/LICENSE                               Transition state resource type                      Other (provide description) No   Other (provide description) No   No
                                                                                                                                                                                                                 Puppet module providing a type to manage
                                                              https://github.com/puppetlabs/puppetlabs-                                             https://github.com/puppetlabs/puppetlabs-                    repositories from various version control
Analytics Puppet Module    puppetlabs-vcsrepo        1.3.2    vcsrepo                                                 GPLv2                         vcsrepo/blob/master/LICENSE                                  systems                                             Other (provide description) No   Other (provide description) No   No
                                                                                                                                                                                                                 Use lokkit to manage the iptables firewall.
                                                                                                                                                    https://github.com/rharrison10/puppet-                       More convenient than working with iptables
Analytics Puppet Module    rharrison-lokkit          0.5.0    https://github.com/rharrison10/puppet-lokkit            GPLv3+                        lokkit/blob/master/LICENSE                                   directly.                                           Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/jenkinsci/puppet-                         Manage the Jenkins continuous integration
Analytics Puppet Module    rtyler-jenkins            1.6.1    https://github.com/jenkinsci/puppet-jenkins             Apache-2.0                    jenkins/blob/master/LICENSE                                  service with Puppet                                 Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/saz/puppet-
Analytics Puppet Module    saz-limits                3.0.3    https://github.com/saz/puppet-limits.git                Apache-2.0                    limits/blob/master/LICENSE                                   Manage user limits via puppet                       Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/sensu/sensu-                              A module to install the Sensu monitoring
Analytics Puppet Module    sensu-sensu               2.1.0    https://github.com/sensu/sensu-puppet                   MIT                           puppet/blob/master/LICENSE                                   framework                                           Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    http://github.com/stahnma/puppet-module-
Analytics Puppet Module    stahnma-epel              1.2.2    http://github.com/stahnma/puppet-module-epel Apache-2.0                               epel/blob/master/LICENSE                                     Setup the EPEL package repo                         Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/stankevich/puppet-
Analytics Puppet Module    stankevich-python         1.12.0   https://github.com/stankevich/puppet-python.git Apache-2.0                            python/blob/master/LICENSE                                   Python Module                                       Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/thias/puppet-
Analytics Puppet Module    thias-nginx               1.0.9    https://github.com/thias/puppet-nginx                   Apache-2.0                    nginx/blob/master/LICENSE                                    NGINX web server module.                            Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/thias/puppet-
Analytics Puppet Module    thias-sysctl              1.0.6    https://github.com/thias/puppet-sysctl.git              Apache-2.0                    sysctl/blob/master/LICENSE                                   Sysctl module                                       Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    github.com/yelp/puppet-
Analytics Puppet Module    yelp-uchiwa               1.0.1    github.com/yelp/puppet-uchiwa                           Apache 2.0                    uchiwa/blob/master/LICENSE                                   Puppet module for installing Uchiwa                 Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/yo61/puppet-
Analytics Puppet Module    yo61-logrotate            1.4.0    https://github.com/yo61/puppet-logrotate                MIT                           logrotate/blob/master/LICENSE                                Manage logrotate                                    Other (provide description) No   Other (provide description) No   No
                                                              https://github.com/jgoldschrafe/puppet-                                               https://github.com/jgoldschrafe/puppet-
Analytics Puppet Module    puppet-selinux_types      0.1.0    selinux_types                                           No License                    selinux_types/blob/master/LICENSE                            SELinux Types                                       Other (provide description) No   Other (provide description) No   No

                                                                                                                                                                                                                 Foreman is a free open source project
                                                                                                                                                                                                                 that gives you the power to easily
                                                                                                                                                                                                                 automate repetitive tasks, quickly deploy
                                                                                                                                                                                                                 applications, and proactively manage your
                                                              http://yum.theforeman.org/releases/1.14/el7/so                                        https://github.com/theforeman/foreman/blob/1.14-             servers lifecyle, on-premises or in the
Analytivs Puppet Foreman   foreman                   1.14.3   urce                                           GPLv3+                                 stable/LICENSE                                               cloud.                                    Other (provide description) No             Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetserver/blob/2.x/LICENSE
Analytics Puppet Server    puppetserver              2.7.2    http://yum.puppetlabs.com/el/7/PC1/SRPMS                ASL 2.0                       .md                                                         Puppet Labs - puppetserver                           Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppet-                       A network tool for managing many disparate
Analytics Puppet Agent     puppet-agent              1.10.1   http://yum.puppetlabs.com/el/7Client/PC1/x86_64/        Apache-2.0                    agent/blob/1.10.x/LICENSE                                   systems                                              Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/justindowning/puppet-
UV Puppet Module           jdowning/awscli           1.3.0    https://github.com/justindowning/puppet-awscli.git      Apache-2.0                    awscli/blob/master/LICENSE                                   Install awscli                                      Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/deadpoint/puppet-
UV Puppet Module           darin/zypprepo            1.0.2    https://github.com/deadpoint/puppet-zypprepo.git        ASL2                          zypprepo/blob/master/LICENSE                                 A Puppet description of a zypper repository         Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-
UV Puppet Module           puppetlabs-stdlib         4.12.0   https://github.com/puppetlabs/puppetlabs-stdlib         Apache-2.0                    stdlib/blob/master/LICENSE                                   Standard library of resources for Puppet modules.   Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/pcfens/puppet-
UV Puppet Module           pcfens-yas3fs             0.3.2    https://github.com/pcfens/puppet-yas3fs                 Apache-2.0                    yas3fs/blob/master/LICENSE                                   A module to install and manage yas3fs mounts        Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/elastic/puppet-
UV Puppet Module           elasticsearch-logstash    0.6.4    https://github.com/elastic/puppet-logstash              Apache-2.0                    logstash/blob/master/LICENSE                                 Module for managing and configuring Logstash        Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-                    Installs the correct Java package on various
UV Puppet Module           puppetlabs-java           1.6.0    https://github.com/puppetlabs/puppetlabs-java           Apache-2.0                    java/blob/master/LICENSE                                     platforms.                                          Other (provide description) No   Other (provide description) No   No
UV Puppet Module           thias-sysctl              1.0.6    https://github.com/thias/puppet-sysctl.git              Apache-2.0                    https://github.com/thias/puppet-sysctl/blob/master/LICENSE   Sysctl module                                       Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/garethr/garethr-                          Module for installing and managing the Diamond
UV Puppet Module           garethr-diamond           1.0.0    https://github.com/garethr/garethr-diamond              Apache License, Version 2.0   diamond/blob/master/LICENSE                                  stats collection tool                               Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/yo61/puppet-
UV Puppet Module           yo61-logrotate            1.4.0    https://github.com/yo61/puppet-logrotate                MIT                           logrotate/blob/master/LICENSE                                Manage logrotate                                    Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-                    Adds a type and provider for managing system
UV Puppet Module           puppetlabs-reboot         1.2.1    https://github.com/puppetlabs/puppetlabs-reboot.git     Apache-2.0                    reboot/blob/master/LICENSE                                   reboots.                                            Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    http://github.com/stahnma/puppet-module-
UV Puppet Module           stahnma-epel              1.2.2    http://github.com/stahnma/puppet-module-epel            Apache-2.0                    epel/blob/master/LICENSE                                     Setup the EPEL package repo                         Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/maestrodev/puppet-
UV Puppet Module           maestrodev-wget           1.7.3    https://github.com/maestrodev/puppet-wget.git           Apache-2.0                    wget/blob/master/LICENSE                                     Download files with wget                            Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/garethr/garethr-
UV Puppet Module           garethr-sysdig            0.1.2    https://github.com/garethr/garethr-sysdig.git           Apache 2.0                    sysdig/blob/master/LICENSE                                   Install sysdig from the official repositories       Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-                    Provides an interface for managing Apt source, key,
UV Puppet Module           puppetlabs-apt            2.2.2    https://github.com/puppetlabs/puppetlabs-apt            Apache-2.0                    apt/blob/master/LICENSE                                      and definitions with Puppet                         Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/ajcrowe/puppet-
UV Puppet Module           ajcrowe-supervisord       0.6.1    https://github.com/ajcrowe/puppet-supervisord           MIT                           supervisord/blob/master/LICENSE                              Module supervisord class and functions              Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-                    Upgrades Puppet 3.8 and All-In-One Puppet
UV Puppet Module           puppetlabs-puppet_agent   1.2.0    https://github.com/puppetlabs/puppetlabs-puppet_agent   Apache-2.0                    puppet_agent/blob/master/LICENSE                             Agents                                              Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-                    Puppet module providing a type to manage
UV Puppet Module           puppetlabs-vcsrepo        1.3.2    https://github.com/puppetlabs/puppetlabs-vcsrepo        GPLv2                         vcsrepo/blob/master/LICENSE                                  repositories from various version control systems   Other (provide description) No   Other (provide description) No   No
                                                                                                                                                    https://github.com/camptocamp/puppet-
UV Puppet Module           camptocamp-archive        0.9.0    https://github.com/camptocamp/puppet-archive            Apache-2.0                    archive/blob/master/LICENSE                                  Camptocamp Archive Module                           Other (provide description) No   Other (provide description) No   No
                                                     19-10971-dsj                            Doc 210                        Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                                Main Document
                                                                                                                                       Pg 263 of 325
                                                                                                                                                    http://github.com/puppetlabs/puppetlabs-                    Installs, deploys, and configures Apache Tomcat
UV Puppet Module        puppetlabs-tomcat            1.4.1    http://github.com/puppetlabs/puppetlabs-tomcat          Apache 2.0                    tomcat/blob/master/LICENSE                                  web services.                                      Other (provide description) No    Other (provide description) No   No

UV Puppet Module        sensu-sensu                  2.1.0    https://github.com/sensu/sensu-puppet                   MIT                           https://github.com/sensu/sensu-puppet/blob/master/LICENSE A module to install the Sensu monitoring framework Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-
UV Puppet Module        puppetlabs-chocolatey        0.7.0    https://github.com/puppetlabs/puppetlabs-chocolatey     Apache-2.0                    chocolatey/blob/master/LICENSE                            Chocolatey package provider for Puppet             Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/nanliu/puppet-
UV Puppet Module        nanliu-staging               1.0.3    https://github.com/nanliu/puppet-staging                Apache-2.0                    staging/blob/master/LICENSE                               Compressed file staging and deployment             Other (provide description)   No    Other (provide description) No   No
UV Puppet Module        yelp-uchiwa                  1.0.1    github.com/yelp/puppet-uchiwa                           Apache 2.0                    github.com/yelp/puppet-uchiwa/blob/master/LICENSE         Puppet module for installing Uchiwa                Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-
UV Puppet Module        puppetlabs-ntp               4.2.0    https://github.com/puppetlabs/puppetlabs-ntp            Apache-2.0                    ntp/blob/master/LICENSE                                   Installs, configures, and manages the NTP service. Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-                 This module provides a native type and provider to
UV Puppet Module        puppetlabs-registry          1.1.3    https://github.com/puppetlabs/puppetlabs-registry.git   Apache-2.0                    registry/blob/master/LICENSE                              manage keys and values in the Windows Registry Other (provide description)       No    Other (provide description) No   No
                                                                                                                                                    https://github.com/lwf/puppet-
UV Puppet Module        lwf-remote_file              1.1.3    https://github.com/lwf/puppet-remote_file               Apache-2.0                    remote_file/blob/master/LICENSE                           A resource/provider for remote files.              Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/justindowning/puppet-
UV Puppet Module        jdowning-statsd              2.6.0    https://github.com/justindowning/puppet-statsd.git      Apache-2.0                    statsd/blob/master/LICENSE                                Setup and manage statsd                            Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/justicel/puppet-
UV Puppet Module        jlondon-couchbase            1.0.5    https://github.com/justicel/puppet-couchbase.git        Apache-2.0                    couchbase/blob/master/LICENSE                             Puppet Couchbase module                            Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/jenkinsci/puppet-                      Manage the Jenkins continuous integration service
UV Puppet Module        rtyler-jenkins               1.6.1    https://github.com/jenkinsci/puppet-jenkins             Apache-2.0                    jenkins/blob/master/LICENSE                               with Puppet                                        Other (provide description)   No    Other (provide description) No   No
                                                              https://github.com/puppetlabs/puppetlabs-                                             https://github.com/puppetlabs/puppetlabs-                 Provides the mounttab and mountpoint resource
UV Puppet Module        puppetlabs-mount_providers   0.0.3    mount_providers                                         Apache-2.0                    mount_providers/blob/master/LICENSE                       types.                                             Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                                                                              A simple module to demonstrate managing
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-                 /etc/motd or Windows Logon Message as a
UV Puppet Module        puppetlabs-motd              1.4.0    https://github.com/puppetlabs/puppetlabs-motd           Apache-2.0                    motd/blob/master/LICENSE                                  template                                           Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-
UV Puppet Module        puppetlabs-git               0.4.0    https://github.com/puppetlabs/puppetlabs-git            Apache-2.0                    git/blob/master/LICENSE                                   Module for installing Git or Gitosis.              Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-
UV Puppet Module        puppetlabs-stunnel           0.1.0    https://github.com/puppetlabs/puppetlabs-stunnel        Apache 2.0                    stunnel/blob/master/LICENSE                               A module for creating secure tunnels               Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-
UV Puppet Module        puppetlabs-nodejs            0.8.0    https://github.com/puppetlabs/puppetlabs-nodejs         Apache-2.0                    nodejs/blob/master/LICENSE                                Install Node.js package and npm package provider. Other (provide description)    No    Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-
UV Puppet Module        puppetlabs-rabbitmq          5.5.0    https://github.com/puppetlabs/puppetlabs-rabbitmq       Apache-2.0                    rabbitmq/blob/master/LICENSE                              Installs, configures, and manages RabbitMQ.        Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-
UV Puppet Module        puppetlabs-concat            1.2.5    https://github.com/puppetlabs/puppetlabs-concat         Apache-2.0                    concat/blob/master/LICENSE                                Construct files from multiple fragments.           Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/devin-c/puppet-
UV Puppet Module        dchristensen-statsite        0.2.6    https://github.com/devin-c/puppet-statsite.git          The MIT License (MIT)         statsite/blob/master/LICENSE                              Statsite installation and configuration            Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-                 Adds a new exec provider for executing PowerShell
UV Puppet Module        puppetlabs-powershell        1.0.6    https://github.com/puppetlabs/puppetlabs-powershell     Apache-2.0                    powershell/blob/master/LICENSE                            commands.                                          Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/stankevich/puppet-
UV Puppet Module        stankevich-python            1.12.0   https://github.com/stankevich/puppet-python.git         Apache-2.0                    python/blob/master/LICENSE                                Python Module                                      Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-
UV Puppet Module        puppetlabs-inifile           1.5.0    https://github.com/puppetlabs/puppetlabs-inifile        Apache-2.0                    inifile/blob/master/LICENSE                               Resource types for managing settings in INI files  Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/badgerious/puppet-windows-
UV Puppet Module        badgerious-windows_env       2.2.2    https://github.com/badgerious/puppet-windows-env        Apache License, Version 2.0   env/blob/master/LICENSE                                   Manages Windows environment variables              Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/electrical/puppet-lib-
UV Puppet Module        electrical-file_concat       1.0.1    https://github.com/electrical/puppet-lib-file_concat    Apache License, Version 2.0   file_concat/blob/master/LICENSE                           Library for concatenating different files into 1   Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/puppetlabs/puppetlabs-
UV Puppet Module        puppetlabs-transition        0.1.0    https://github.com/puppetlabs/puppetlabs-transition     Apache-2.0                    transition/blob/master/LICENSE                            Transition state resource type                     Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                    https://github.com/jethrocarr/puppet-                     Small Puppet fact to return the initsystem on this
UV Puppet Module        jethrocarr-initfact          1.0.1    https://github.com/jethrocarr/puppet-initfact           Apache 2.0                    initfact/blob/master/LICENSE                              OS version                                         Other (provide description)   No    Other (provide description) No   No
                                                                                                                                                                                                                Foreman is a free open source project
                                                                                                                                                                                                                that gives you the power to easily
                                                                                                                                                                                                                automate repetitive tasks, quickly deploy
                                                                                                                                                                                                                applications, and proactively manage your
                                                                                                                                                    https://github.com/theforeman/foreman/blob/1.12-            servers lifecyle, on-premises or in the
UV Puppet Foreman       foreman                      1.12.3   http://yum.theforeman.org/releases/1.12/el6/source/     GPLv3+                        stable/LICENSE                                              cloud.                                    Other (provide description) No             Other (provide description) No   No
UV Puppet Server        puppet-server                3.8.7    http://yum.puppetlabs.com/el/6/products/SRPMS           ASL 2.0                                                                                   Puppet Labs - puppetserver                         Other (provide description) No    Other (provide description) No   No
                                                                                                                                                                                                                A network tool for managing many disparate
UV Puppet Agent         puppet                       3.8.7    http://yum.puppetlabs.com/el/6/products/SRPMS           ASL 2.0                                                                                   systems                                            Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                         https://github.com/puppetlabs/puppetlabs-                                  https://github.com/puppetlabs/puppetlabs-
Module                  puppetlabs-mongodb           0.10.0   mongodb                                                 Apache-2.0         mongodb/blob/master/LICENSE                                            Installs MongoDB on RHEL/Ubuntu/Debian.            Other (provide description) ć     Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/puppetlabs/puppetlabs-                              Provides an interface for managing Apt source, key,
Module                  puppetlabs-apt               1.8.0    https://github.com/puppetlabs/puppetlabs-apt Apache-2.0                    apt/blob/master/LICENSE                                                and definitions with Puppet                         Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/bfraser/puppet-                                     This module provides Grafana, a dashboard and
Module                  bfraser-grafana              1.0.1    https://github.com/bfraser/puppet-grafana.git    Apache-2.0                grafana/blob/master/LICENSE                                            graph editor for Graphite and InfluxDB.            Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/camptocamp/puppet-
Module                  camptocamp-archive           0.5.0    https://github.com/camptocamp/puppet-archive Apache-2.0                    archive/blob/master/LICENSE                                            Camptocamp Archive Module                          Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                         https://github.com/puppetlabs/puppetlabs-                                  https://github.com/puppetlabs/puppetlabs-                              Installs, configures, and manages Apache virtual
Module                  puppetlabs-apache            1.4.0    apache.git                                       Apache-2.0                apache/blob/master/LICENSE                                             hosts, web services, and modules.                  Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                         https://github.com/puppetlabs/puppetlabs-                                  https://github.com/puppetlabs/puppetlabs-
Module                  puppetlabs-concat            1.2.0    concat                                           Apache-2.0                concat/blob/master/LICENSE                                             Construct files from multiple fragments.           Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                                                                                                    http://github.com/stahnma/puppet-module-
Module                  stahnma-epel                 1.0.2    http://github.com/stahnma/puppet-module-epel Apache License, Version 2 epel/blob/master/LICENSE                                                   Setup the EPEL package repo                        Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/example42/puppet-
Module                  example42-yum                2.1.17   https://github.com/example42/puppet-yum          Apache2                   yum/blob/master/LICENSE                                                Puppet module for yum                              Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/example42/puppi/blob/master/LI
Module                  example42-puppi              2.1.10   https://github.com/example42/puppi               Apache                    CENSE                                                                  Installs and configures Puppi                      Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/garethr/garethr-
Module                  garethr-erlang               0.3.0    https://github.com/garethr/garethr-erlang.git    Apache License, Version 2 erlang/blob/master/LICENSE                                             Module for installing erlang from official repos   Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/nanliu/puppet-
Module                  nanliu-staging               1.0.3    https://github.com/nanliu/puppet-staging         Apache-2.0                staging/blob/master/LICENSE                                            Compressed file staging and deployment             Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                         https://github.com/justindowning/puppet-                                   https://github.com/justindowning/puppet-
Module                  jdowning/awscli              1.1.1    awscli.git                                       Apache-2.0                awscli/blob/master/LICENSE                                             Install awscli                                     Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/puppetlabs/puppetlabs-                              Installs the correct Java package on various
Module                  puppetlabs-java              1.3.0    https://github.com/puppetlabs/puppetlabs-java Apache-2.0                   java/blob/master/LICENSE                                               platforms.                                         Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/rfletcher/puppet-
Module                  rfletcher-jq                 0.0.2    https://github.com/rfletcher/puppet-jq           MIT License               jq/blob/master/LICENSE                                                 A puppet module for jq                             Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/elasticsearch/puppet-
Module                  elasticsearch-logstash       0.5.1    https://github.com/elasticsearch/puppet-logstash Apache License, Version 2 logstash/blob/master/LICENSE                                           Module for managing and configuring Logstash       Other (provide description) No    Other (provide description) No   No
                                                      19-10971-dsj                      Doc 210                        Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                       Main Document
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ESP Production Puppet                                         https://github.com/electrical/puppet-lib-                                  https://github.com/electrical/puppet-lib-
Module                  ispavailability-file_concat   0.3.0   file_concat                                      Apache License, Version 2 file_concat/blob/master/LICENSE                   Library for concatenating different files into 1         Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                         https://github.com/puppetlabs/puppetlabs-                                  https://github.com/puppetlabs/puppetlabs-
Module                  puppetlabs-gcc                0.2.0   gcc.git                                          Apache 2                  gcc/blob/master/LICENSE                           module for installing gcc build utils                    Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                         https://github.com/puppetlabs/puppetlabs-                                  https://github.com/puppetlabs/puppetlabs-         Puppet module providing a type to manage
Module                  puppetlabs-vcsrepo            1.2.0   vcsrepo                                          GPLv2                     vcsrepo/blob/master/LICENSE                       repositories from various version control systems        Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/puppetlabs/puppetlabs-
Module                  puppetlabs-git                0.3.0   https://github.com/puppetlabs/puppetlabs-git     Apache License, Version 2 git/blob/master/LICENSE                           Module for installing git.                               Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/stankevich/puppet-
Module                  stankevich-python             1.9.1   https://github.com/stankevich/puppet-python.git Apache License, Version 2 python/blob/master/LICENSE                         Python Module                                            Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/biemond/biemond-               Oracle JDK7 & JDK8 puppet module optimized for
Module                  biemond-jdk7                  0.4.8   https://github.com/biemond/biemond-jdk7          Apache-2.0                jdk7/blob/master/LICENSE                          weblogic urandom rngd entropy                            Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/evenup/evenup-                 Installs elasticsearch curator and schedules cron
Module                  evenup-curator                2.0.1   https://github.com/evenup/evenup-curator         Apache-2.0                curator/blob/master/LICENSE                       jobs                                                     Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/torrancew/puppet-
Module                  torrancew-cron                0.1.0   https://github.com/torrancew/puppet-cron         Apache License, Version 2 cron/blob/master/LICENSE                          A module    to manage   cron  jobs via /etc/cron.d       Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/justicel/puppet-
Module                  jlondon-couchbase             1.0.2   https://github.com/justicel/puppet-couchbase.git Apache License, Version 2 couchbase/blob/master/LICENSE                     Puppet Couchbase module                                  Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/richardc/puppet-
Module                  richardc-datacat              0.6.1   https://github.com/richardc/puppet-datacat.git Apache 2                    datacat/blob/master/LICENSE                       Puppet type for handling data fragments                  Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                         https://github.com:puppetlabs/puppetlabs-                                  https://github.com:puppetlabs/puppetlabs-
Module                  puppetlabs-ruby               0.4.0   ruby.git                                         Apache-2.0                ruby/blob/master/LICENSE                          Manage Ruby                                              Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                         https://github.com/puppetlabs/puppetlabs-                                  https://github.com/puppetlabs/puppetlabs-
Module                  puppetlabs-pe_gem             0.1.0   pe_gem                                           Apache License, Version 2 pe_gem/blob/master/LICENSE                        Puppet Labs PE Gem Module                                Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/puppetlabs/puppetlabs-
Module                  puppetlabs-stdlib             4.6.0   https://github.com/puppetlabs/puppetlabs-stdlib Apache-2.0                 stdlib/blob/master/LICENSE                        Standard library of resources for Puppet modules. Other (provide description) No          Other (provide description) No   No
ESP Production Puppet                                                                                                                    http://github.com/maestrodev/puppet-
Module                  maestrodev-maven              1.4.0   http://github.com/maestrodev/puppet-maven        Apache License, Version 2 maven/blob/master/LICENSE                         Apache Maven module for Puppet                           Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/sund/puppet-
Module                  sund-htop                     0.1.1   https://github.com/sund/puppet-htop              Apache License, Version 2 htop/blob/master/LICENSE                          a puppet module for htop                                 Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/TracyWebTech/puppet-
Module                  tracywebtech-pip              1.3.3   https://github.com/TracyWebTech/puppet-pip       Apache 2                  pip/blob/master/LICENSE                           Install pip using  get-pip.py  script                    Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/jethrocarr/puppet-             Small Puppet fact to return the initsystem on this
Module                  jethrocarr-initfact           1.0.0   https://github.com/jethrocarr/puppet-initfact    Apache 2                  initfact/blob/master/LICENSE                      OS version                                               Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/arioch/puppet-
Module                  arioch-ulimit                 0.0.2   https://github.com/arioch/puppet-ulimit          Apache License, Version 2 ulimit/blob/master/LICENSE                        Ulimit module                                            Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/arioch/puppet-
Module                  arioch-redis                  1.0.5   https://github.com/arioch/puppet-redis           Apache License, Version 2 redis/blob/master/LICENSE                         Redis module                                             Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/ajcrowe/puppet-
Module                  ajcrowe-supervisord           0.6.0   https://github.com/ajcrowe/puppet-supervisord MIT                          supervisord/blob/master/LICENSE                   Module supervisord class and functions                   Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/willdurand/puppet-
Module                  willdurand-nodejs             1.9.5   https://github.com/willdurand/puppet-nodejs      MIT                       nodejs/blob/master/LICENSE                        A module to install Node.js and NPM.                     Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                         https://github.com/attachmentgenie/attachment                              https://github.com/attachmentgenie/attachmentgeni
Module                  attachmentgenie-timezone      1.1.1   genie-timezone                                   MIT                       e-timezone/blob/master/LICENSE                    Puppet timezone Module                                   Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/garethr/garethr-
Module                  garethr-docker                5.2.0   https://github.com/garethr/garethr-docker.git    Apache-2.0                docker/blob/master/LICENSE                        Module for installing and managing docker                Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/petems/petems-
Module                  petems-swap_file              2.2.2   https://github.com/petems/petems-swap_file       Apache-2.0                swap_file/blob/master/LICENSE                     Create swap files for Linux systems with Puppet          Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/puppetlabs/puppetlabs-
Module                  puppetlabs-ntp                4.1.2   https://github.com/puppetlabs/puppetlabs-ntp Apache License, Version 2 ntp/blob/master/LICENSE                               Installs, configures,  and  manages    the NTP  service. Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/pcfens/puppet-
Module                  pcfens-yas3fs                 0.3.2   https://github.com/pcfens/puppet-yas3fs          Apache-2.0                yas3fs/blob/master/LICENSE                        A module to install and manage yas3fs mounts             Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/thias/puppet-
Module                  thias-sysctl                  1.0.6   https://github.com/thias/puppet-sysctl.git       Apache-2.0                sysctl/blob/master/LICENSE                        Sysctl module                                            Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/maestrodev/puppet-
Module                  maestrodev-wget               1.7.3   https://github.com/maestrodev/puppet-wget.git Apache-2.0                   wget/blob/master/LICENSE                          Download files with wget                                 Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/thias/puppet-
Module                  thias-nginx                   1.0.8   https://github.com/thias/puppet-nginx            Apache-2.0                nginx/blob/master/LICENSE                         NGINX web server module.                                 Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                         https://github.com/puppetlabs/puppetlabs-                                  https://github.com/puppetlabs/puppetlabs-
Module                  puppetlabs-rabbitmq           5.4.0   rabbitmq                                         Apache-2.0                rabbitmq/blob/master/LICENSE                      Installs, configures, and manages RabbitMQ.              Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    http://github.com/puppetlabs/puppetlabs-          Installs, deploys, and configures Apache Tomcat
Module                  puppetlabs-tomcat             1.5.0   http://github.com/puppetlabs/puppetlabs-tomcat Apache-2.0                  tomcat/blob/master/LICENSE                        web services.                                            Other (provide description) No   Other (provide description) No   No
ESP Production Puppet   gdhbashton-                           https://github.com/gdhbashton/puppet-                                      https://github.com/gdhbashton/puppet-
Module                  consul_template               0.2.8   consul_template                                  Apache-2.0                consul_template/blob/master/LICENSE               Install and manage Consul Template and its jobs          Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/fraenki/puppet-
Module                  fraenki-proftpd               1.4.2   https://github.com/fraenki/puppet-proftpd        BSD-2-Clause              proftpd/blob/master/LICENSE                       Puppet    module  to manage    ProFTPD                   Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/saz/puppet-
Module                  saz-limits                    2.3.0   https://github.com/saz/puppet-limits.git         Apache License, Version 2 limits/blob/master/LICENSE                        Manage user limits via puppet                            Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/sensu/sensu-
Module                  sensu-sensu                   2.1.0   https://github.com/sensu/sensu-puppet            MIT                       puppet/blob/master/LICENSE                        A module to install the Sensu monitoring framework Other (provide description) No         Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/garethr/garethr-               Module for installing and managing the Diamond
Module                  garethr-diamond               1.0.0   https://github.com/garethr/garethr-diamond       Apache License, Version 2 diamond/blob/master/LICENSE                       stats collection tool                                    Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    http://github.com/stahnma/puppet-module-
Module                  stahnma-epel                  1.0.2   http://github.com/stahnma/puppet-module-epel Apache License, Version 2 epel/blob/master/LICENSE                              Setup the EPEL package repo                              Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/evenup/evenup-                 Installs elasticsearch curator and schedules cron
Module                  evenup-curator                2.0.1   https://github.com/evenup/evenup-curator         Apache-2.0                curator/blob/master/LICENSE                       jobs                                                     Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/echocat/puppet-                Installs and configures graphite, carbon
Module                  dwerder-graphite              6.0.4   https://github.com/echocat/puppet-graphite.git Apache-2.0                  graphite/blob/master/LICENSE                      (caches,relays,aggregators) and whisper                  Other (provide description) No   Other (provide description) No   No
ESP Production Puppet                                                                                                                    https://github.com/deric/puppet-
Module                  deric-storm                   0.3.1   https://github.com/deric/puppet-storm.git        Apache-2.0                storm/blob/master/LICENSE                         Module for managing Storm installation                   Other (provide description) No   Other (provide description) No   No
                                                           19-10971-dsj                                   Doc 210                           Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                              Main Document
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ESP Production Puppet                                                                                                                                 https://github.com/justicel/puppet-
Module                        jlondon-couchbase            1.0.2           https://github.com/justicel/puppet-couchbase.git Apache License, Version 2 couchbase/blob/master/LICENSE                                         Puppet Couchbase module                              Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                                      All versions of this module have been deleted by                                    All versions of this module have been deleted by the
Module                        adobe-zookeeper              0.0.1           the author.                                       Apache License, Version 2 author.                                              zookeeper installation                                               Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                                      https://ilgitlab.eyeblaster.com/AnalyticsPuppet/p                           https://ilgitlab.eyeblaster.com/AnalyticsPuppet/pupp
Module                        Anonymous-sensu_agent        0.1.0           uppet-module-sensu_agent.git                      Apache-2.0                et-module-sensu_agent/blob/master/LICENSE            Installes sensu client on the machine and plugins                    Other (provide description) No    Other (provide description) No   No
ESP Production Puppet                                                                                                                                  https://github.com/devin-c/puppet-
Module                        dchristensen-statsite        0.2.5           https://github.com/devin-c/puppet-statsite.git    MIT License               statsite/blob/master/LICENSE                         Statsite installation and configuration                              Other (provide description) No    Other (provide description) No   No

                                                                                                                                                                                                                            Foreman is a free open source project
                                                                                                                                                                                                                            that gives you the power to easily
                                                                                                                                                                                                                            automate repetitive tasks, quickly deploy
                                                                                                                                                                                                                            applications, and proactively manage your
ESP Production Puppet                                                                                                                                          https://github.com/theforeman/foreman/blob/1.7-              servers lifecyle, on-premises or in the
Foreman                       foreman                      1.7.4           http://yum.theforeman.org/releases/1.7/el7/x86_64/         GPLv3+ with exceptions   stable/LICENSE                                               cloud.                                    Other (provide description) No               Other (provide description) No   No
ESP Production Puppet Server puppet-server                 3.7.5           http://yum.puppetlabs.com/el/7/products/SRPMS/             ASL 2.0                                                                               Server for the puppet system management tool        Other (provide description)   No   Other (provide description) No   No
                                                                                                                                                                                                                            A network tool for managing many disparate
ESP Production Puppet Server puppet                        3.7.5           http://yum.puppetlabs.com/el/7/products/SRPMS/             ASL 2.0                                                                               systems                                             Other (provide description)   No   Other (provide description) No   No
                                                                                                                                                               https://github.com/voxpupuli/puppet-                         Compressed archive file download and extraction
MDX external puppet modules   puppet-archive               v3.2.1          https://github.com/voxpupuli/puppet-archive.git            Apache-2.0               archive/blob/master/LICENSE                                  with native types/providers for Windows and Unix    Other (provide description)   No   Other (provide description) No   No
                                                                                                                                                               https://github.com/puppetlabs/puppetlabs-                    Provides an interface for managing Apt source, key,
MDX external puppet modules   puppetlabs-apt               4.1.0           https://github.com/puppetlabs/puppetlabs-apt.git           Apache-2.0               apt/blob/master/LICENSE                                      and definitions with Puppet                         Other (provide description)   No   Other (provide description) No   No
                                                                                                                                                               https://github.com/camptocamp/puppet-
MDX external puppet modules   camptocamp-augeas            1.6.1           https://github.com/camptocamp/puppet-augeas.git            Apache-2.0               augeas/blob/master/LICENSE                                   Camptocamp Augeas module                             Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/jdowning/puppet-
MDX external puppet modules   awscli                       2.0.0           https://github.com/jdowning/puppet-awscli.git              MIT                      awscli/blob/master/LICENSE                                   Install awscli                                       Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/puppetlabs/puppetlabs-                    Installs, configures, and manages Apache virtual
MDX external puppet modules   puppetlabs-apache            3.4.0           https://github.com/puppetlabs/puppetlabs-apache.git        Apache-2.0               apache/blob/master/LICENSE                                   hosts, web services, and modules.                    Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/puppetlabs/puppetlabs-
MDX external puppet modules   puppetlabs-chocolatey        3.0.0           https://github.com/puppetlabs/puppetlabs-chocolatey.git    Apache-2.0               chocolatey/blob/master/LICENSE                               Chocolatey package provider for Puppet               Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/puppetlabs/puppetlabs-
MDX external puppet modules   puppetlabs-concat            4.0.1           https://github.com/puppetlabs/puppetlabs-concat.git        Apache-2.0               concat/blob/master/LICENSE                                   Construct files from multiple fragments.             Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/solarkennedy/puppet-
MDX external puppet modules   KyleAnderson-consul          v2.1.1          https://github.com/solarkennedy/puppet-consul.git          Apache-2.0               consul/blob/master/LICENSE                                   Configures Consul by Hashicorp                       Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/richardc/puppet-
MDX external puppet modules   richardc-datacat             0.6.2           https://github.com/richardc/puppet-datacat.git             Apache-2.0               datacat/blob/master/metadata.json                            Puppet type for handling data fragments              Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/garethr/garethr-
MDX external puppet modules   garethr-docker               v5.3.0          https://github.com/garethr/garethr-docker.git              Apache-2.0               docker/blob/master/LICENSE                                   Module for installing and managing docker         Other (provide description) No       Other (provide description) No   No
                                                                                                                                                               https://github.com/elastic/puppet-                           Module for managing and configuring Elasticsearch
MDX external puppet modules   elastic-elasticsearch        6.1.0           https://github.com/elastic/puppet-elasticsearch.git        Apache-2.0               elasticsearch/blob/master/LICENSE                            nodes                                             Other (provide description) No       Other (provide description) No   No
                                                                                                                                                               https://github.com/stahnma/puppet-module-
MDX external puppet modules   stahnma-epel                 1.2.2           https://github.com/stahnma/puppet-module-epel.git          Apache-2.0               epel/blob/master/LICENSE                                     Setup the EPEL package repo                          Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/electrical/puppet-lib-
MDX external puppet modules   electrical-file_concat       1.0.1           https://github.com/electrical/puppet-lib-file_concat.git   Apache-2.0               file_concat/blob/master/LICENSE                              Library for concatenating multiple files into 1      Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/pcfens/puppet-                            A module to install and manage the filebeat log
MDX external puppet modules   pcfens-filebeat              v2.4.0          https://github.com/pcfens/puppet-filebeat.git              Apache-2.0               filebeat/blob/master/LICENSE                                 shipper                                              Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/puppetlabs/puppetlabs-
MDX external puppet modules   puppetlabs-git               0.5.0           https://github.com/puppetlabs/puppetlabs-git.git           Apache-2.0               git/blob/master/LICENSE                                      Module for installing Git or Gitosis.                Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/puppetlabs/puppetlabs-
MDX external puppet modules   puppetlabs-inifile           2.0.0           https://github.com/puppetlabs/puppetlabs-inifile.git       Apache-2.0               inifile/blob/master/LICENSE                                  Resource types for managing settings in INI files    Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/jethrocarr/puppet-                        Small Puppet fact to return the initsystem on this
MDX external puppet modules   jethrocarr-initfact          1.0.1           https://github.com/jethrocarr/puppet-initfact.git          Apache 2.0               initfact/blob/master/LICENSE                                 OS version                                           Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/puppetlabs/puppetlabs-                    Installs the correct Java package on various
MDX external puppet modules   puppetlabs-java              2.1.0           https://github.com/puppetlabs/puppetlabs-java.git          Apache-2.0               java/blob/master/LICENSE                                     platforms.                                           Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/jenkinsci/puppet-                         Manage the Jenkins continuous integration service
MDX external puppet modules   rtyler-jenkins               v1.7.0          https://github.com/jenkinsci/puppet-jenkins.git            Apache-2.0               jenkins/blob/master/LICENSE                                  with Puppet                                          Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/puppetlabs/puppetlabs-                    Defined resource type for managing
MDX external puppet modules   puppetlabs-limits            0.1.0           https://github.com/puppetlabs/puppetlabs-limits.git        Apache-2.0               limits/blob/master/LICENSE                                   /etc/security/limits                                 Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/voxpupuli/puppet-
MDX external puppet modules   puppet-logrotate             v2.0.0          https://github.com/voxpupuli/puppet-logrotate.git          MIT                      logrotate/blob/master/LICENSE                                Manage logrotate                                     Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/elastic/puppet-
MDX external puppet modules   elastic-logstash             5.3.0           https://github.com/elastic/puppet-logstash.git             Apache-2.0               logstash/blob/master/LICENSE                                 Module for managing and configuring Logstash         Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/maestrodev/puppet-
MDX external puppet modules   maestrodev-maven             v1.4.0          https://github.com/maestrodev/puppet-maven.git             Apache-2.0               maven/blob/master/LICENSE                                    Apache Maven module for Puppet                       Other (provide description) No    Other (provide description) No   No
                                                                                                                                                                                                                            A simple module to demonstrate managing
                                                                                                                                                               https://github.com/puppetlabs/puppetlabs-                    /etc/motd or Windows Logon Message as a
MDX external puppet modules   puppetlabs-motd              1.4.0           https://github.com/puppetlabs/puppetlabs-motd.git          Apache-2.0               motd/blob/master/LICENSE                                     template                                             Other (provide description) No    Other (provide description) No   No
                                                                           https://github.com/puppetlabs/puppetlabs-                                           https://github.com/puppetlabs/puppetlabs-                    Provides the mounttab and mountpoint resource
MDX external puppet modules   puppetlabs-mount_providers   1.0.0           mount_providers.git                                        Apache-2.0               mount_providers/blob/master/LICENSE                          types.                                               Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/newrelic/infrastructure-agent-            A Puppet module for installing New Relic
MDX external puppet modules   newrelic-newrelic_infra      0.5.1           https://github.com/newrelic/infrastructure-agent-puppet                             puppet/blob/master/LICENSE.md                                Infrastructure Agent                                 Other (provide description) No    Other (provide description) No   No
MDX external puppet modules   thias-nginx                  1.0.9           https://github.com/thias/puppet-nginx.git                  Apache-2.0               https://github.com/thias/puppet-nginx/blob/master/LICENSE    NGINX web server module.                             Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/voxpupuli/puppet-
MDX external puppet modules   puppet-nodejs                v3.0.0          https://github.com/voxpupuli/puppet-nodejs.git             Apache-2.0               nodejs/blob/master/LICENSE                                   Install Node.js package and npm package provider. Other (provide description) No       Other (provide description) No   No
                                                                                                                                                               https://github.com/puppetlabs/puppetlabs-
MDX external puppet modules   puppetlabs-ntp               7.1.1           https://github.com/puppetlabs/puppetlabs-ntp.git           Apache-2.0               ntp/blob/master/LICENSE                                      Installs, configures, and manages the NTP service. Other (provide description) No      Other (provide description) No   No
                                                                                                                                                               https://github.com/dschaaff/puppet-
MDX external puppet modules   dschaaff-nxlog               release-0.3.3   https://github.com/dschaaff/puppet-nxlog.git               Apache-2.0               nxlog/blob/master/LICENSE                                    Puppet module for managing nxlog on windows       Other (provide description) No       Other (provide description) No   No
                                                                                                                                                               https://github.com/puppetlabs/puppetlabs-                    Adds a new exec provider for executing PowerShell
MDX external puppet modules   puppetlabs-powershell        2.1.2           https://github.com/puppetlabs/puppetlabs-powershell.git    Apache-2.0               powershell/blob/master/LICENSE                               commands.                                         Other (provide description) No       Other (provide description) No   No
                                                                           https://github.com/puppetlabs/puppetlabs-                                           https://github.com/puppetlabs/puppetlabs-
MDX external puppet modules   puppetlabs-puppet_agent      1.4.1           puppet_agent.git                                           Apache-2.0               puppet_agent/blob/master/LICENSE                             Upgrades All-In-One Puppet Agents                    Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/stankevich/puppet-
MDX external puppet modules   puppet-python                1.18.2          https://github.com/stankevich/puppet-python.git            Apache-2.0               python/blob/master/LICENSE                                   Python Module                                        Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/voxpupuli/puppet-
MDX external puppet modules   puppet-rabbitmq              v8.0.0          https://github.com/voxpupuli/puppet-rabbitmq.git           Apache-2.0               rabbitmq/blob/master/LICENSE                                 Installs, configures, and manages RabbitMQ.          Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/puppetlabs/puppetlabs-                    Adds a type and provider for managing system
MDX external puppet modules   puppetlabs-reboot            1.2.1           https://github.com/puppetlabs/puppetlabs-reboot.git        Apache-2.0               reboot/blob/master/LICENSE                                   reboots.                                             Other (provide description) No    Other (provide description) No   No
MDX external puppet modules   puppet-redis                 v3.2.0          https://github.com/arioch/puppet-redis.git                 Apache-2.0               https://github.com/arioch/puppet-redis/blob/master/LICENSE   Redis module                                         Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/puppetlabs/puppetlabs-                    This module provides a native type and provider to
MDX external puppet modules   puppetlabs-registry          1.1.4           https://github.com/puppetlabs/puppetlabs-registry.git      Apache-2.0               registry/blob/master/LICENSE                                 manage keys and values in the Windows Registry       Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/lwf/puppet-
MDX external puppet modules   lwf-remote_file              v1.1.3          https://github.com/lwf/puppet-remote_file.git              Apache-2.0               remote_file/blob/master/LICENSE                              A resource/provider for remote files.                Other (provide description) No    Other (provide description) No   No
                                                                                                                                                               https://github.com/branan/puppet-module-
MDX external puppet modules   s3file                       v1.0.1          https://github.com/branan/puppet-module-s3file.git         Apache-2.0               s3file/blob/master/Modulefile                                S3 File Synchronization                              Other (provide description) No    Other (provide description) No   No

MDX external puppet modules   sensu-sensu                  v2.33.1         https://github.com/sensu/sensu-puppet.git                  MIT                      https://github.com/sensu/sensu-puppet/blob/master/LICENSE A module to install the Sensu monitoring framework Other (provide description) No         Other (provide description) No   No
                                                            19-10971-dsj                              Doc 210                           Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                       Main Document
                                                                                                                                                   Pg 266 of 325
                                                                                                                                                 https://github.com/fiddyspence/puppet-
MDX external puppet modules   fiddyspence-sleep             1.2.0       https://github.com/fiddyspence/puppet-sleep.git           Apache-2.0     sleep/blob/master/LICENSE                                        sleep type and provider                             Other (provide description) No   Other (provide description) No    No
                                                                                                                                                 https://github.com/nanliu/puppet-
MDX external puppet modules   nanliu-staging                1.0.3       https://github.com/nanliu/puppet-staging.git              Apache-2.0     staging/blob/master/LICENSE                                      Compressed file staging and deployment              Other (provide description) No   Other (provide description) No    No
                                                                                                                                                 https://github.com/jdowning/puppet-
MDX external puppet modules   statsd                        3.1.0       https://github.com/justindowning/puppet-statsd.git        Apache-2.0     statsd/blob/master/LICENSE                                       Setup and manage statsd                             Other (provide description) No   Other (provide description) No    No
                                                                                                                                                 https://github.com/puppetlabs/puppetlabs-
MDX external puppet modules   puppetlabs-stdlib             4.19.0      https://github.com/puppetlabs/puppetlabs-stdlib.git       Apache-2.0     stdlib/blob/master/LICENSE                                       Standard library of resources for Puppet modules.   Other (provide description) No   Other (provide description) No    No
                                                                                                                                                 https://github.com/puppetlabs/puppetlabs-
MDX external puppet modules   puppetlabs-stunnel            0.3.0       https://github.com/puppetlabs/puppetlabs-stunnel.git      Apache-2.0     stunnel/blob/master/LICENSE                                      A module for creating secure tunnels                Other (provide description) No   Other (provide description) No    No
                                                                                                                                                 https://github.com/ajcrowe/puppet-
MDX external puppet modules   ajcrowe-supervisord           v0.6.1      https://github.com/ajcrowe/puppet-supervisord.git         MIT            supervisord/blob/master/LICENSE                            Module supervisord class and functions             Other (provide description)       No    Other (provide description) No    No
                                                                                                                                                                                                            Common platform packages, resources and
MDX external puppet modules   counsyl-sys                   0.9.20      https://github.com/counsyl/puppet-sys.git                 Apache-2.0     https://github.com/counsyl/puppet-sys/blob/master/LICENSE modules                                             Other (provide description)       No    Other (provide description) No    No
MDX external puppet modules   thias-sysctl                  1.0.6       https://github.com/thias/puppet-sysctl.git                Apache-2.0     https://github.com/thias/puppet-sysctl/blob/master/LICENSE Sysctl module                                      Other (provide description)       No    Other (provide description) No    No
                                                                                                                                                 https://github.com/camptocamp/puppet-
MDX external puppet modules   camptocamp-systemd            2.1.0       https://github.com/camptocamp/puppet-systemd.git          Apache-2.0     systemd/blob/master/LICENSE                                Puppet Systemd module                              Other (provide description)       No    Other (provide description) No    No
                                                                                                                                                 https://github.com/yankcrime/puppet-                       Configuration and management of InfluxData's
MDX external puppet modules   puppet-telegraf               1.5.0       https://github.com/yankcrime/puppet-telegraf.git          GPL-3.0        telegraf/blob/master/LICENSE                               Telegraf metrics collection agent                  Other (provide description)       No    Other (provide description) No    No
                                                                                                                                                 https://github.com/puppetlabs/puppetlabs-                  Installs, deploys, and configures Apache Tomcat
MDX external puppet modules   puppetlabs-tomcat             2.0.0       https://github.com/puppetlabs/puppetlabs-tomcat.git       Apache-2.0     tomcat/blob/master/LICENSE                                 web services.                                      Other (provide description)       No    Other (provide description) No    No
                                                                                                                                                 https://github.com/puppetlabs/puppetlabs-                  Provides a Puppet type and provider for describing
MDX external puppet modules   puppetlabs-transition         0.1.1       https://github.com/puppetlabs/puppetlabs-transition.git   Apache-2.0     transition/blob/master/LICENSE                             conditional transition states.                     Other (provide description)       No    Other (provide description) No    No
MDX external puppet modules   yelp-uchiwa                   v1.0.1      https://github.com/yelp/puppet-uchiwa.git                 Apache 2.0     https://github.com/yelp/puppet-uchiwa/blob/master/LICENSE Puppet module for installing Uchiwa                 Other (provide description)       No    Other (provide description) No    No
                                                                                                                                                 https://github.com/puppetlabs/puppetlabs-                  Puppet module providing a type to manage
MDX external puppet modules   puppetlabs-vcsrepo            2.0.0       https://github.com/puppetlabs/puppetlabs-vcsrepo.git      GPL-2.0+       vcsrepo/blob/master/LICENSE                                repositories from various version control systems  Other (provide description)       No    Other (provide description) No    No
                                                                                                                                                 https://github.com/maestrodev/puppet-
MDX external puppet modules   puppet-wget                   v1.7.3      https://github.com/maestrodev/puppet-wget.git             Apache-2.0     wget/blob/master/LICENSE                                   Download files with wget                           Other (provide description)       No    Other (provide description) No    No
                                                                                                                                                 https://github.com/counsyl/puppet-                         Collection of useful Puppet manifests for Windows-
MDX external puppet modules   counsyl-windows               1.0.6       https://github.com/counsyl/puppet-windows.git             Apache-2.0     windows/blob/master/LICENSE                                based platforms.                                   Other (provide description)       No    Other (provide description) No    No
                                                                                                                                                 https://github.com/badgerious/puppet-windows-
MDX external puppet modules   puppet-windows_env            v2.3.0      https://github.com/badgerious/puppet-windows-env.git      Apache-2.0     env/blob/master/LICENSE                                    Manages Windows environment variables              Other (provide description)       No    Other (provide description) No    No
                                                                                                                                                 https://github.com/pcfens/puppet-
MDX external puppet modules   pcfens-yas3fs                 v0.3.3      https://github.com/pcfens/puppet-yas3fs.git               Apache-2.0     yas3fs/blob/master/metadata.json                           A module to install and manage yas3fs mounts       Other (provide description)       No    Other (provide description) No    No
                                                                                                                                                 https://github.com/elastic/puppet-                         Module for installing, configuring, and managing
MDX external puppet modules   elastic-kibana                6.0.0       https://github.com/elastic/puppet-kibana.git              Apache-2.0     kibana/blob/master/LICENSE                                 Kibana.                                            Other (provide description)       No    Other (provide description) No    No
                                                                                                                                                 https://github.com/voxpupuli/puppet-
MDX external puppet modules   puppet-zypprepo               v2.0.0      https://github.com/voxpupuli/puppet-zypprepo.git       Apache-2.0        zypprepo/blob/master/LICENSE                               A Puppet description of a zypper repository        Other (provide description)       No    Other (provide description) No    No
MDXPuppet/puppet-module-                                                git@ilgitlab.eyeblaster.com:MDXPuppet/puppet-module-                     https://ilgitlab.eyeblaster.com/MDXPuppet/puppet-module-   Compressed archive file download and extraction
archive-custom                puppet-archive                2.2.0       archive-custom.git                                     Apache-2.0        archive-custom/blob/master/LICENSE                         with native types/providers for Windows and Unix   Other (provide description)       No    Other (provide description) No    No
MDXPuppet/puppet-module-                                                git@ilgitlab.eyeblaster.com:MDXPuppet/puppet-module-                     https://ilgitlab.eyeblaster.com/MDXPuppet/puppet-module-
couchbase                     jlondon-couchbase             1.1.0       couchbase.git                                          Apache-2.0        couchbase/blob/master/metadata.json                        Puppet Couchbase module                            Other (provide description)       No    Other (provide description) No    No
MDXPuppet/puppet-module-                                                git@ilgitlab.eyeblaster.com:MDXPuppet/puppet-module-                     https://ilgitlab.eyeblaster.com/MDXPuppet/puppet-module-
ffmpeg                        jarodiv-ffmpeg                0.9.0       ffmpeg.git                                             Apache-2.0        ffmpeg/blob/master/metadata.json                           Install FFmpeg                                     Other (provide description)       No    Other (provide description) Yes   No
MDXPuppet/puppet-module-                                                git@ilgitlab.eyeblaster.com:MDXPuppet/puppet-module-                     https://ilgitlab.eyeblaster.com/MDXPuppet/puppet-module-   AWS EC2 tags exported as puppet facts and AWS
ec2tagfacts                   bryana-ec2tagfacts            0.2.1       ec2tagfacts.git                                        Apache-2.0        ec2tagfacts/blob/master/LICENSE                            cli tool installed.                                Other (provide description)       No    Other (provide description) Yes   No
MDXPuppet/puppet-module-                                                git@ilgitlab.eyeblaster.com:MDXPuppet/puppet-module-                     https://ilgitlab.eyeblaster.com/MDXPuppet/puppet-module-
sysdig                        garethr-sysdig                0.1.2       sysdig.git                                             Apache-2.0        sysdig/blob/master/LICENSE                                 Install sysdig from the official repositories      Other (provide description)       No    Other (provide description) No    No
MDXPuppet/puppet-module-                                                git@ilgitlab.eyeblaster.com:MDXPuppet/puppet-module-                     https://ilgitlab.eyeblaster.com/MDXPuppet/puppet-module-
statsite                      dchristensen-statsite         0.2.8       statsite.git                                           MIT               statsite/blob/master/LICENSE                               Statsite installation and configuration            Other (provide description)       No    Other (provide description) Yes   No
MDXPuppet/puppet-module-                                                git@ilgitlab.eyeblaster.com:MDXPuppet/puppet-module-                     https://ilgitlab.eyeblaster.com/MDXPuppet/puppet-module-
consul_template               Intelliplan-consul_template   0.0.1       consul_template.git                                    Apache-2.0        consul_template/blob/master/metadata.json                  install consul-template                            Other (provide description)       No    Other (provide description) No    No
                                                                        http://mirrors.advancedhosters.com/centos/7.6.1810/upd
MDX deployment rpm                                                      ates/x86_64/Packages/httpd-2.4.6-                                        https://svn.apache.org/viewvc/httpd/httpd/branches/2.4.x/LICE
packages                      httpd                         2.4.6       89.el7.centos.x86_64.rpm                               Apache-2.0        NSE?revision=1824974&view=markup                              Apache HTTP Server                                     Other (provide description) No   Other (provide description) No    No
                                                                        http://mirrors.advancedhosters.com/centos/7.6.1810/upd
MDX deployment rpm                                                      ates/x86_64/Packages/httpd-tools-2.4.6-                                  https://svn.apache.org/viewvc/httpd/httpd/branches/2.4.x/LICE
packages                      httpd-tools                   2.4.6       89.el7.centos.x86_64.rpm                               Apache-2.0        NSE?revision=1824974&view=markup                              Tools for use with the Apache HTTP Server              Other (provide description) No   Other (provide description) No    No

MDX deployment rpm                                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x                  https://centos.pkgs.org/7/centos-x86_64/ntp-4.2.6p5-
packages                      ntp                           4.2.6p5     86_64/Packages/ntp-4.2.6p5-28.el7.centos.x86_64.rpm MIT                  28.el7.centos.x86_64.rpm.html                                The NTP daemon and utilities                            Other (provide description) No   Other (provide description) No    No
MDX deployment rpm                                                      https://download.newrelic.com/infrastructure_agent/linux/                https://docs.newrelic.com/docs/licenses/license-
packages                      newrelic-infra                1.3.18      yum/el/7/x86_64/newrelic-infra-1.3.18-1.x86_64.rpm                       information/new-relic-licenses/new-relic-licenses            Newrelic infra                                          Other (provide description) No   Other (provide description) No    No
MDX deployment rpm                                                      https://artifacts.elastic.co/packages/5.x/yum/5.6.16/filebe              https://github.com/elastic/beats/blob/master/filebeat/README Filebeat sends log files to Logstash or directly to
packages                      filebeat                      5.6.16      at-5.6.16-x86_64.rpm                                        Apache-2.0   .md                                                          Elasticsearch                                           Other (provide description) No   Other (provide description) No    No
                                                                        http://artifactory.dev.sizmdx.com:8081/artifactory/centos7-
MDX deployment rpm                                                      rpm/com/sizmek/bigdata/diamond/4.0.809/diamond-                          https://github.com/python-
packages                      diamond                       4.0.809     4.0.809-1.noarch.rpm                                        MIT          diamond/Diamond/blob/master/LICENSE                              Smart data producer for graphite graphing package Other (provide description) No     Other (provide description) No    No
MDX deployment rpm                                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
packages                      tcpdump                       4.9.0       86_64/Packages/tcpdump-4.9.2-3.el7.x86_64.rpm               BSD          https://www.tcpdump.org/license.html                             A network traffic monitoring tool                   Other (provide description) No   Other (provide description) No    No
MDX deployment rpm                                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
packages                      tmux                          1.8         86_64/Packages/tmux-1.8-4.el7.x86_64.rpm                    BSD          https://github.com/tmux/tmux/blob/master/logo/LICENSE            A terminal multiplexer                              Other (provide description) No   Other (provide description) No    No
MDX deployment rpm                                                      https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/
packages                      jq                            1.5         Packages/j/jq-1.5-1.el7.x86_64.rpm                          MIT          https://github.com/stedolan/jq/blob/master/COPYING               Command-line JSON processor                         Other (provide description) No   Other (provide description) No    No
MDX deployment rpm                                                      https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/                 https://centos.pkgs.org/7/epel-x86_64/epel-release-7-            Extra Packages for Enterprise Linux repository
packages                      epel-release                  7           Packages/e/epel-release-7-11.noarch.rpm                     GPLv2        11.noarch.rpm.html                                               configuration                                       Other (provide description) No   Other (provide description) No    No
MDX deployment rpm                                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x                  https://centos.pkgs.org/7/centos-x86_64/telnet-0.17-             The client program for the Telnet remote login
packages                      telnet                        0.17        86_64/Packages/telnet-0.17-64.el7.x86_64.rpm                BSD          64.el7.x86_64.rpm.html                                           protocol                                            Other (provide description) No   Other (provide description) No    No
                                                                        http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
MDX deployment rpm                                                      86_64/Packages/vim-enhanced-7.4.160-                                     https://centos.pkgs.org/7/centos-x86_64/vim-enhanced-            A version of the VIM editor which includes recent
packages                      vim-enhanced                  7.4.160     5.el7.x86_64.rpm                                            VIM          7.4.160-5.el7.x86_64.rpm.html                                    enhancements                                        Other (provide description) No   Other (provide description) No    No
                                                                                                                                                                                                                  The Puppet Agent package contains all of the
MDX deployment rpm                                                      http://yum.puppetlabs.com/el/7/PC1/x86_64/puppet-                                                                                         elements needed to run puppet, including ruby,
packages                      puppet-agent                  1.10.9      agent-1.10.14-1.el7.x86_64.rpm                          Cumulative       https://www.puppetlabs.com                                       facter, hiera and mcollective                       Other (provide description) No   Other (provide description) No    No
                                                                        http://mirrors.advancedhosters.com/centos/7.6.1810/upd
MDX deployment rpm                                                      ates/x86_64/Packages/java-1.8.0-openjdk-1.8.0.212.b04-
packages                      java-1.8.0-openjdk            1.8.0.151   0.el7_6.x86_64.rpm                                      GPLv2            https://openjdk.java.net/                                        OpenJDK Runtime Environment                         Other (provide description) No   Other (provide description) No    No
MDX deployment rpm                                                      http://mirrors.advancedhosters.com/centos/7.6.1810/upd                   https://archlinux.pkgs.org/rolling/archlinux-extra-x86_64/git-
packages                      git                           1.8.3.1     ates/x86_64/Packages/git-1.8.3.1-20.el7.x86_64.rpm      GPLv2            2.21.0-1-x86_64.pkg.tar.xz.html                                  Fast Version Control System                         Other (provide description) No   Other (provide description) No    No
                                                                        http://mirrors.advancedhosters.com/centos/7.6.1810/extr
MDX deployment rpm                                                      as/x86_64/Packages/docker-1.13.1-                                        https://archlinux.pkgs.org/rolling/archlinux-community-
packages                      docker                        1.12.6      96.gitb2f74b2.el7.centos.x86_64.rpm                     Apache-2.0       x86_64/docker-1:18.09.5-1-x86_64.pkg.tar.xz.html                 Automates deployment of containerized applications Other (provide description) No    Other (provide description) No    No
                                                                        http://mirrors.advancedhosters.com/centos/7.6.1810/extr
MDX deployment rpm                                                      as/x86_64/Packages/docker-client-1.13.1-                                 https://centos.pkgs.org/7/centos-extras-x86_64/docker-client-
packages                      docker-client                 1.12.6      96.gitb2f74b2.el7.centos.x86_64.rpm                     Apache-2.0       1.13.1-96.gitb2f74b2.el7.centos.x86_64.rpm.html               Client side files for Docker                           Other (provide description) No   Other (provide description) No    No

MDX deployment rpm                                                      http://mirrors.advancedhosters.com/centos/7.6.1810/upd
packages                      rsync                         3.0.9       ates/x86_64/Packages/rsync-3.1.2-6.el7_6.1.x86_64.rpm GPLv3+             https://rsync.samba.org/GPL.html                                 A program for synchronizing files over a network    Other (provide description) No   Other (provide description) No    No
                                              19-10971-dsj                            Doc 210                            Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                              Main Document
                                                                                                                                    Pg 267 of 325
MDX deployment rpm                                      http://yum.puppetlabs.com/el/7/PC1/x86_64/puppetlabs-                                                                                  Release packages for the Puppet Labs PC1
packages             puppetlabs-release-pc1   1.1.0     release-pc1-1.1.0-5.el7.noarch.rpm                       Apache-2.0          https://www.puppetlabs.com                                repository                                                     Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/                                                                               A tool for installing and managing Python 2
packages             python2-pip              8.1.2     Packages/p/python2-pip-8.1.2-8.el7.noarch.rpm            MIT                 https://github.com/pypa/pip/blob/master/LICENSE.txt       packages                                                       Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x                      https://github.com/MidnightCommander/mc/blob/master/doc/C User-friendly text console file manager and visual
packages             mc                       4.8.7     86_64/Packages/mc-4.8.7-11.el7.x86_64.rpm                GPLv3+              OPYING                                                    shell                                                          Other (provide description) No   Other (provide description) No   No

MDX deployment rpm                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x                      https://github.com/scop/bash-
packages             bash-completion          2.1       86_64/Packages/bash-completion-2.1-6.el7.noarch.rpm GPLv2+                   completion/blob/master/COPYING                                  Programmable completion for Bash                         Other (provide description) No   Other (provide description) No   No
                                                        http://mirrors.advancedhosters.com/centos/7.6.1810/upd
MDX deployment rpm                                      ates/x86_64/Packages/bind-utils-9.9.4-                                       https://github.com/tigeli/bind-utils/blob/master/contrib/zkt-
packages             bind-utils               9.9.4     73.el7_6.x86_64.rpm                                         ISC              1.1.3/LICENSE                                                   Utilities for querying DNS name servers                  Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
packages             unzip                    6.0       86_64/Packages/unzip-6.0-19.el7.x86_64.rpm                  BSD              https://github.com/vipsoft/Unzip/blob/master/LICENSE            A utility for unpacking zip files                   Other (provide description) No        Other (provide description) No   No
MDX deployment rpm                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x                                                                                      A file compression and packaging utility compatible
packages             zip                      3.0       86_64/Packages/zip-3.0-11.el7.x86_64.rpm                    BSD              http://infozip.sourceforge.net/license.html                     with PKZIP                                          Other (provide description) No        Other (provide description) No   No
MDX deployment rpm                                      https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/                                                                                     Command line tool that displays bandwidth usage
packages             iftop                    1.0       Packages/i/iftop-1.0-0.14.pre4.el7.x86_64.rpm               GPLv2+           https://github.com/soarpenguin/iftop/blob/master/COPYING        on an interface                                     Other (provide description) No        Other (provide description) No   No
MDX deployment rpm                                      https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/
packages             htop                     2.0.1     Packages/h/htop-2.2.0-3.el7.x86_64.rpm                      GPLv2+           https://github.com/hishamhm/htop/blob/master/COPYING            Interactive process viewer                               Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/
packages             htop                     2.0.2     Packages/h/htop-2.2.0-3.el7.x86_64.rpm                      GPLv2+           https://github.com/hishamhm/htop/blob/master/COPYING            Interactive process viewer                               Other (provide description) No   Other (provide description) No   No
                                                        http://packages.us-east-
MDX deployment rpm                                      1.amazonaws.com/2018.03/main/c31535f74c6e/x86_64/
packages             htop                     1.0.1     Packages/htop-1.0.1-2.3.amzn1.x86_64.rpm                    GPLv2+           https://github.com/hishamhm/htop/blob/master/COPYING            Interactive process viewer                               Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x                                                                                       A utility for getting files from remote servers (FTP,
packages             curl                     7.29.0    86_64/Packages/curl-7.29.0-51.el7.x86_64.rpm                MIT              https://curl.haxx.se/docs/copyright.html                        HTTP, and others)                                        Other (provide description) No   Other (provide description) No   No
                                                        http://packages.us-east-
MDX deployment rpm                                      1.amazonaws.com/2018.03/updates/c7bc78cd4e41/x86_                                                                                            A utility for getting files from remote servers (FTP,
packages             curl                     7.40.0    64/Packages/curl-7.61.1-7.91.amzn1.x86_64.rpm               MIT              https://curl.haxx.se/docs/copyright.html                        HTTP, and others)                                        Other (provide description) No   Other (provide description) No   No
                                                        http://packages.us-east-
MDX deployment rpm                                      1.amazonaws.com/2018.03/updates/c7bc78cd4e41/x86_                                                                                            A utility for getting files from remote servers (FTP,
packages             curl                     7.61.1    64/Packages/curl-7.61.1-7.91.amzn1.x86_64.rpm               MIT              https://curl.haxx.se/docs/copyright.html                        HTTP, and others)                                        Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x                      https://github.com/rpm-software-management/yum-
packages             yum-utils                1.1.31    86_64/Packages/yum-utils-1.1.31-50.el7.noarch.rpm           GPLv2+           utils/blob/master/COPYING                                       Utilities based around the yum package manager           Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x                                                                                      A utility for retrieving files using the HTTP or FTP
packages             wget                     1.14      86_64/Packages/wget-1.14-18.el7.x86_64.rpm                  GPLv3+           https://github.com/jay/wget/blob/master/COPYING                 protocols                                                Other (provide description) No   Other (provide description) No   No
                                                        http://packages.us-east-
MDX deployment rpm                                      1.amazonaws.com/2018.03/updates/c7bc78cd4e41/x86_                                                                                            A utility for retrieving files using the HTTP or FTP
packages             wget                     1.15      64/Packages/wget-1.18-5.30.amzn1.x86_64.rpm                 GPLv3+           https://github.com/jay/wget/blob/master/COPYING                 protocols                                                Other (provide description) No   Other (provide description) No   No
                                                        http://packages.us-east-
MDX deployment rpm                                      1.amazonaws.com/2018.03/updates/c7bc78cd4e41/x86_                                                                                            A utility for retrieving files using the HTTP or FTP
packages             wget                     1.18      64/Packages/wget-1.18-5.30.amzn1.x86_64.rpm                 GPLv3+           https://github.com/jay/wget/blob/master/COPYING                 protocols                                                Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
packages             nano                     2.3.1     86_64/Packages/nano-2.3.1-10.el7.x86_64.rpm                 BSD              https://developers.nano.org/docs/licensing/                     A small text editor                                      Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
packages             nano                     2.0.9     86_64/Packages/nano-2.3.1-10.el7.x86_64.rpm                 BSD              https://developers.nano.org/docs/licensing/                     A small text editor                                      Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/
packages             sl                       5.02      Packages/s/sl-5.02-1.el7.x86_64.rpm                         Copyright only   https://github.com/mtoyoda/sl/blob/master/LICENSE               Joke command for when you type 'sl' instead of 'ls'      Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
packages             tree                     1.6.0     86_64/Packages/tree-1.6.0-10.el7.x86_64.rpm                 GPLv2+           http://mama.indstate.edu/users/ice/tree/                        File system tree viewer                                  Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/
packages             ncdu                     1.12      Packages/n/ncdu-1.14-1.el7.x86_64.rpm                       MIT              https://dev.yorhel.nl/ncdu                                      Text-based disk usage viewer                             Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
packages             mlocate                  0.26      86_64/Packages/mlocate-0.26-8.el7.x86_64.rpm                GPLv2            https://pagure.io/mlocate/blob/master/f/COPYING                 An utility for finding files by name                     Other (provide description) No   Other (provide description) No   No
                                                        http://mirrors.advancedhosters.com/centos/7.6.1810/upd
MDX deployment rpm                                      ates/x86_64/Packages/openssl-1.0.2k-                                                                                                         Utilities from the general purpose cryptography
packages             openssl                  1.0.1e    16.el7_6.1.x86_64.rpm                                       OpenSSL          https://www.openssl.org/source/license.html                     library with TLS implementation                          Other (provide description) No   Other (provide description) No   No
                                                        http://mirrors.advancedhosters.com/centos/7.6.1810/upd
MDX deployment rpm                                      ates/x86_64/Packages/openssl-1.0.2k-                                                                                                         Utilities from the general purpose cryptography
packages             openssl                  1.0.2k    16.el7_6.1.x86_64.rpm                                       OpenSSL          https://www.openssl.org/source/license.html                     library with TLS implementation                          Other (provide description) No   Other (provide description) No   No
                                                        http://mirrors.advancedhosters.com/centos/7.6.1810/upd
MDX deployment rpm                                      ates/x86_64/Packages/openssl-libs-1.0.2k-                                                                                                    A general purpose cryptography library with TLS
packages             openssl-libs             1.0.2k    16.el7_6.1.x86_64.rpm                                       OpenSSL          https://www.openssl.org/source/license.html                     implementation                                           Other (provide description) No   Other (provide description) No   No
                                                        http://mirrors.advancedhosters.com/centos/7.6.1810/upd
MDX deployment rpm                                      ates/x86_64/Packages/openssl-libs-1.0.2k-                                                                                                    A general purpose cryptography library with TLS
packages             openssl-libs             1.0.1e    16.el7_6.1.x86_64.rpm                                       OpenSSL          https://www.openssl.org/source/license.html                     implementation                                           Other (provide description) No   Other (provide description) No   No
                                                        http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
MDX deployment rpm                                      86_64/Packages/openssl098e-0.9.8e-                                                                                                           A compatibility version of a general cryptography
packages             openssl098e              0.9.8e    29.el7.centos.3.x86_64.rpm                                  OpenSSL          https://www.openssl.org/source/license.html                     and TLS library                                          Other (provide description) No   Other (provide description) No   No
                                                        http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
MDX deployment rpm                                      86_64/Packages/rpm-build-libs-4.11.3-                                        https://centos.pkgs.org/7/centos-x86_64/rpm-build-libs-4.11.3-
packages             rpm-build-libs           4.11.3    35.el7.x86_64.rpm                                           LGPLv2+          35.el7.x86_64.rpm.html                                         Libraries for building and signing RPM packages           Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x                                                                                     NFS utilities and supporting clients and daemons
packages             nfs-utils                1.3.0     86_64/Packages/nfs-utils-1.3.0-0.61.el7.x86_64.rpm          MIT              https://packages.gentoo.org/packages/net-fs/nfs-utils          for the kernel NFS server                                 Other (provide description) No   Other (provide description) No   No
                                                        http://artifactory.dev.sizmdx.com:8081/artifactory/centos7-
MDX deployment rpm                                      rpm/com/sizmek/bigdata/scons/scons-2.5.1-
packages             scons                    2.3.0     1.el7.noarch.rpm                                            MIT              https://github.com/SCons/scons/blob/master/LICENSE-local        An Open Source software construction tool                Other (provide description) No   Other (provide description) No   No
                                                        http://artifactory.dev.sizmdx.com:8081/artifactory/centos7-
MDX deployment rpm                                      rpm/com/sizmek/bigdata/scons/scons-2.5.1-
packages             scons                    2.3.1     1.el7.noarch.rpm                                            MIT              https://github.com/SCons/scons/blob/master/LICENSE-local        An Open Source software construction tool                Other (provide description) No   Other (provide description) No   No
                                                        http://artifactory.dev.sizmdx.com:8081/artifactory/centos7-
MDX deployment rpm                                      rpm/com/sizmek/bigdata/scons/scons-2.5.1-
packages             scons                    2.5.1     1.el7.noarch.rpm                                            MIT              https://github.com/SCons/scons/blob/master/LICENSE-local        An Open Source software construction tool                Other (provide description) No   Other (provide description) No   No
                                                        http://mirrors.advancedhosters.com/centos/7.6.1810/upd
MDX deployment rpm                                      ates/x86_64/Packages/gcc-c++-4.8.5-
packages             gcc-c++                  4.8.5     36.el7_6.2.x86_64.rpm                                       GPLv3+           https://gcc.gnu.org/onlinedocs/libstdc++/manual/license.html    C++ support for GCC                                      Other (provide description) No   Other (provide description) No   No
                                                        http://artifactory.dev.sizmdx.com:8081/artifactory/general
MDX deployment rpm                                      Repo/com/sizmek/mdx/rabbitmq/erlang/erlang-20.1-                                                                                             General-purpose programming language and
packages             erlang                   20.1      1.el7.centos.x86_64.rpm                                     ERPL             https://www.erlang.org/EPLICENSE                                runtime environment                                      Other (provide description) No   Other (provide description) No   No
                                                        http://packages.us-east-
MDX deployment rpm                                      1.amazonaws.com/2018.03/main/c31535f74c6e/x86_64/                                                                                            General-purpose programming language and
packages             erlang                   R14B      Packages/erlang-R14B-04.2.7.amzn1.x86_64.rpm                ERPL             https://www.erlang.org/EPLICENSE                                runtime environment                                      Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      https://packages.erlang-solutions.com/erlang-solutions-
packages             erlang-solutions         1.0       1.0-1.noarch.rpm                                            Beerware         https://www.erlang.org/downloads                                ErlangSolutions repo                                     Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x                                                                                      Bidirectional data relay between two data channels
packages             socat                    1.7.3.2   86_64/Packages/socat-1.7.3.2-2.el7.x86_64.rpm               GPLv2            https://directory.fsf.org/wiki/Socat                            ('netcat++')                                             Other (provide description) No   Other (provide description) No   No
MDX deployment rpm                                      http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
packages             sysstat                  10.1.5    86_64/Packages/sysstat-10.1.5-17.el7.x86_64.rpm             GPLv2+           https://github.com/sysstat/sysstat/blob/master/COPYING          Collection of performance monitoring tools for Linux Other (provide description) No       Other (provide description) No   No
                                                               19-10971-dsj                                Doc 210                           Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                           Main Document
                                                                                                                                                        Pg 268 of 325

MDX deployment rpm                                                          http://artifactory.dev.sizmdx.com:8081/artifactory/general
packages                        ffmpeg                         3.4          Repo/com/sizmek/mdx/ffmpeg/ffmpeg-3.4-0.noarch.rpm GPL                        https://www.ffmpeg.org/legal.html                                                                                    Other (provide description) No     Other (provide description) No     No
MDX deployment rpm                                                          http://artifactory.dev.sizmdx.com:8081/artifactory/general
packages                        jdk1.8.0_144                   1.8.0_144    Repo/com/sizmek/mdx/java/jdk-8u144-linux-x64.rpm                                                                                             Java Platform Standard Edition Development Kit        Other (provide description) No     Other (provide description) No     No
                                                                            http://artifactory.dev.sizmdx.com:8081/artifactory/general
MDX deployment rpm                                                          Repo/com/sizmek/mdx/mono/mono-complete-5.10.0.160-
packages                        mono-complete                  5.10.0.160   0.xamarin.1.epel6.x86_64.rpm                                LGPL-2.1          https://www.mono-project.com/docs/faq/licensing/               Install everything built from the mono source tree    Other (provide description) No     Other (provide description) No     No
MDX deployment rpm                                                          https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/                                                                                     A general purpose cryptography library with TLS
packages                        statsd                         0.7.2        Packages/s/statsd-0.7.2-10.el7.noarch.rpm                   MIT               https://github.com/statsd/statsd/blob/master/LICENSE           implementation                                        Other (provide description) No     Other (provide description) No     No
                                                                            http://artifactory.dev.sizmdx.com:8081/artifactory/general
MDX deployment rpm                                                          Repo/com/sizmek/mdx/SWFParser/swfparser-1-
packages                        swfparser                      1            0.x86_64.rpm                                                GPL               https://github.com/timknip/pyswf/blob/master/LICENSE           Parser for swf                                        Other (provide description) No     Other (provide description) No     No
MDX deployment rpm                                                          https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/
packages                        npm                            1.3.6        Packages/n/npm-3.10.10-1.6.16.0.1.el7.x86_64.rpm            Artistic 2.0      https://www.npmjs.com/policies/npm-license                     Node.js Package Manager                               Other (provide description) No     Other (provide description) No     No
MDX deployment rpm                                                          https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/6/x86_64/
packages                        nodejs                         0.10.48      Packages/n/nodejs-0.10.48-3.el6.x86_64.rpm                  MIT               https://github.com/nodejs/node/blob/master/LICENSE             JavaScript runtime                                    Other (provide description) No     Other (provide description) No     No
MDX deployment rpm                                                          https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/
packages                        nodejs                         6.14.4       Packages/n/nodejs-6.16.0-1.el7.x86_64.rpm                   MIT               https://github.com/nodejs/node/blob/master/LICENSE             JavaScript runtime                                    Other (provide description) No     Other (provide description) No     No
MDX deployment rpm                                                          https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/
packages                        python-pip                     7.1.0        Packages/p/python2-pip-8.1.2-8.el7.noarch.rpm               MIT               https://github.com/pypa/pip/blob/master/LICENSE.txt            A tool for installing and managing Python packages Other (provide description) No        Other (provide description) No     No
                                                                            http://artifactory.dev.sizmdx.com:8081/artifactory/centos7-
MDX deployment rpm                                                          rpm/com/sizmek/bigdata/rabbitmq/3.6.14/rabbitmq-server-
packages                        rabbitmq-server                3.6.14       3.6.14-1.el7.noarch.rpm                                     MPLv1.1           https://www.rabbitmq.com/mpl.html                              The RabbitMQ server                                   Other (provide description) No     Other (provide description) No     No
                                                                            http://artifactory.dev.sizmdx.com:8081/artifactory/centos7-
MDX deployment rpm                                                          rpm/com/sizmek/bigdata/rabbitmq/3.6.14/rabbitmq-server-
packages                        rabbitmq-server                3.4.2        3.6.14-1.el7.noarch.rpm                                     MPLv1.1           https://www.rabbitmq.com/mpl.html                              The RabbitMQ server                                   Other (provide description) No     Other (provide description) No     No
MDX deployment rpm                                                          https://artifacts.elastic.co/packages/5.x/yum/5.6.16/elasti                   https://www.elastic.co/guide/en/elastic-stack-                  Elasticsearch is a distributed RESTful search
packages                        elasticsearch                  5.6.4        csearch-5.6.16.rpm                                          Apache-2.0        overview/current/license-management.html                       engine built for the cloud                            Other (provide description) No     Other (provide description) No     No

                                                                            http://packages.us-east-
MDX deployment rpm                                                          1.amazonaws.com/2018.03/updates/c7bc78cd4e41/x86_                                                                                       Provides a unified command line interface to
packages                        aws-cli                        1.5.0        64/Packages/aws-cli-1.16.102-1.50.amzn1.noarch.rpm Apache-2.0                 https://github.com/mesosphere/aws-cli/blob/master/LICENSE Amazon Web Services                                        Other (provide description) No     Other (provide description) No     No

                                                                            http://packages.us-east-
MDX deployment rpm                                                          1.amazonaws.com/2018.03/updates/c7bc78cd4e41/x86_                                                                                       Provides a unified command line interface to
packages                        aws-cli                        1.7.14       64/Packages/aws-cli-1.16.102-1.50.amzn1.noarch.rpm Apache-2.0                 https://github.com/mesosphere/aws-cli/blob/master/LICENSE Amazon Web Services                                        Other (provide description) No     Other (provide description) No     No
MDX deployment rpm                                                          https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/                                                                                A simple hierarchical database supporting plugin
packages                        hiera                          1.3.4        Packages/h/hiera-1.3.4-5.el7.noarch.rpm                  Apache-2.0           https://github.com/puppetlabs/hiera/blob/master/LICENSE   data sources                                               Other (provide description) No     Other (provide description) No     No
                                                                                                                                                                                                                    The Apache Tomcat® software is an open source
                                                                            http://artifactory.dev.sizmdx.com:8081/artifactory/general                                                                              implementation of the Java Servlet, JavaServer
MDX deployment archive                                                      Repo/com/sizmek/mdx/apache-tomcat/8.5.20/apache-                                                                                        Pages, Java Expression Language and Java
packages                        apache-tomcat                  8.5.20       tomcat-8.5.20.tar.gz                                       Apache-2.0         http://tomcat.apache.org/legal.html                       WebSocket technologies                                     Other (provide description) No     Other (provide description) No     No
MDX deployment archive
packages                        statsd                         0.6.0        https://github.com/statsite/statsite/archive/v0.6.0.tar.gz   BSD 3-Clause     https://github.com/statsite/statsite/blob/master/LICENSE       C implementation of statsd                            Other (provide description) No     Other (provide description) No     No
                                                                                                                                                                                                                         Consul is a distributed, highly available, and data
                                                                            http://artifactory.dev.sizmdx.com:8081/artifactory/general                                                                                   center aware solution to connect and configure
MDX deployment archive                                                      Repo/com/sizmek/bigdata/consul/0.7.5/consul_0.7.5_linu                                                                                       applications across dynamic, distributed
packages                        consul                         0.7.5        x_amd64.zip                                                 MPL-2.0           https://github.com/hashicorp/consul/blob/master/LICENSE        infrastructure.                                       Other (provide description) No     Other (provide description) No     No
                                                                            http://artifactory.dev.sizmdx.com:8081/artifactory/general
MDX deployment archive                                                      Repo/com/sizmek/mdx/elasticsearch-plugins/x-pack-
packages                        kibana-x-pack                  5.6.4        5.6.4.zip                                                   Elastic License   https://github.com/elastic/kibana/blob/master/LICENSE.txt       X-Pack for Kibana                                    Other (provide description) No     Other (provide description) No     No
MDX deployment archive                                                      https://artifacts.elastic.co/packages/5.x/yum/5.6.4/kibana-                                                                                  Kibana analytics and search dashboard for
packages                        kibana                         5.6.4        5.6.4-i686.rpm                                              Apache-2.0        https://github.com/elastic/kibana/blob/master/LICENSE.txt      Elasticsearch                                         Other (provide description) No     Other (provide description) No     No
                                                                                                                                                                                                                         Angular is a development platform for building
                                                                                                                                                                                                                         mobile and desktop web applications using
MDX jenkins npm packages        angular-cli                    1.2.3        https://www.npmjs.com/package/@angular/cli                   MIT              https://github.com/angular/angular/blob/master/LICENSE         Typescript/JavaScript and other languages.            Other (provide description)   No   Other (provide description)   No   No
MDX jenkins npm packages        bower                          1.4.1        https://www.npmjs.com/package/bower                          MIT              https://github.com/bower/bower/blob/master/LICENSE             A package manager for the web                         Other (provide description)   No   Other (provide description)   No   No
MDX jenkins npm packages        gulp                           3.91         https://www.npmjs.com/package/gulp                           MIT              https://github.com/gulpjs/gulp/blob/master/LICENSE             The streaming build system                            Other (provide description)   No   Other (provide description)   No   No
MDX jenkins npm packages        yo                             1.3.3        https://www.npmjs.com/package/yo                             BSD-2-Clause     https://github.com/yeoman/yo/blob/master/LICENSE               CLI tool for running Yeoman generators                Other (provide description)   No   Other (provide description)   No   No
MDX jenkins npm packages        webpack                        4.16.3       https://www.npmjs.com/package/webpack                        MIT              https://github.com/webpack/webpack/blob/master/LICENSE         webpack is a module bundler                           Other (provide description)   No   Other (provide description)   No   No
MDX jenkins npm packages        webpack-cli                    3.1.0        https://www.npmjs.com/package/webpack-cli                    MIT              https://github.com/webpack/webpack/blob/master/LICENSE         cli for webpack                                       Other (provide description)   No   Other (provide description)   No   No
                                                                                                                                                                                                                         Fast, reliable, and secure dependency
MDX jenkins npm packages        yarn                           1.9.4        https://www.npmjs.com/package/yarn                           BSD-2-Clause     https://github.com/yarnpkg/yarn/blob/master/LICENSE            management.                                           Other (provide description) No     Other (provide description) No     No
MDX jenkins npm packages        grant                          1.0.3        https://www.npmjs.com/package/grant                          MIT              https://github.com/simov/grant/blob/master/LICENSE             OAuth Middleware for Express, Koa and Hapi            Other (provide description) No     Other (provide description) No     No
                                                                                                                                                                                                                         Jenkins is the leading open-source automation
MDX jenkins (iljenkins)         jenkins                        1.643        http://mirrors.jenkins.io/war/1.643/jenkins.war            MIT                https://github.com/jenkinsci/jenkins/blob/master/LICENSE.txt   server                                                Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/cucumber-                         https://github.com/jenkinsci/cucumber-performance-
MDX jenkins plugins (iljenkins) cucumber-perf                  2.0.6        perf/2.0.6/cucumber-perf.hpi                               Free               plugin/blob/master/LICENSE.md                                  cucumber-perf                                         Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/locks-and-
MDX jenkins plugins (iljenkins) locks-and-latches              0.6          latches/0.6/locks-and-latches.hpi                                                                                                            Hudson Locks and Latches plugin                       Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/Parameterize
                                                                            d-Remote-Trigger/2.2.2/Parameterized-Remote-                                  https://github.com/jenkinsci/parameterized-remote-trigger-
MDX jenkins plugins (iljenkins) Parameterized-Remote-Trigger   2.2.2        Trigger.hpi                                                MIT                plugin/blob/master/LICENSE                                     Parameterized Remote Trigger Plugin                   Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/token-                            https://github.com/jenkinsci/token-macro-
MDX jenkins plugins (iljenkins) token-macro                    2.1          macro/2.1/token-macro.hpi                                  MIT                plugin/blob/master/pom.xml                                     Token Macro Plugin                                    Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/external-                         https://github.com/jenkinsci/external-monitor-job-
MDX jenkins plugins (iljenkins) external-monitor-job           1.4          monitor-job/1.4/external-monitor-job.hpi                   MIT                plugin/blob/master/pom.xml                                     External Monitor Job Type Plugin                      Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/plugin-usage-                     https://github.com/jenkinsci/plugin-usage-
MDX jenkins plugins (iljenkins) plugin-usage-plugin            0.4          plugin/0.4/plugin-usage-plugin.hpi                         MIT                plugin/blob/master/pom.xml                                     Plugin Usage - Plugin                                 Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/job-import-                       https://github.com/jenkinsci/job-import-
MDX jenkins plugins (iljenkins) job-import-plugin              1.2          plugin/1.2/job-import-plugin.hpi                           MIT                plugin/blob/master/pom.xml                                     Job Import Plugin                                     Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/thinBackup/1.                     https://github.com/jenkinsci/thin-backup-
MDX jenkins plugins (iljenkins) thinBackup                     1.7.4        7.4/thinBackup.hpi                                         GPLv3              plugin/blob/master/pom.xml                                     ThinBackup                                            Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/jenkins-                          https://github.com/jenkinsci/tikal-multijob-
MDX jenkins plugins (iljenkins) jenkins-multijob-plugin        1.25         multijob-plugin/1.25/jenkins-multijob-plugin.hpi           MIT                plugin/blob/master/MIT-LICENSE.txt                             Jenkins Multijob plugin                               Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/postbuild-                        https://github.com/jenkinsci/postbuild-task-
MDX jenkins plugins (iljenkins) postbuild-task                 1.8          task/1.8/postbuild-task.hpi                                                   plugin/blob/master/pom.xml                                     Hudson Post build task                                Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/aws-java-                         https://github.com/jenkinsci/aws-java-sdk-
MDX jenkins plugins (iljenkins) aws-java-sdk                   1.10.45      sdk/1.10.45/aws-java-sdk.hpi                               MIT                plugin/blob/master/pom.xml                                     Amazon Web Services SDK                               Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/maven-                            https://github.com/jenkinsci/maven-
MDX jenkins plugins (iljenkins) maven-plugin                   2.12         plugin/2.12/maven-plugin.hpi                               MIT                plugin/blob/master/pom.xml                                     Maven Integration plugin                              Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/performance/                      https://github.com/jenkinsci/performance-
MDX jenkins plugins (iljenkins) performance                    1.13         1.13/performance.hpi                                       MIT                plugin/blob/master/LICENSE                                     Performance plugin                                    Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/gitlab-                           https://github.com/jenkinsci/gitlab-hook-
MDX jenkins plugins (iljenkins) gitlab-hook                    1.4.0        hook/1.4.0/gitlab-hook.hpi                                                    plugin/blob/master/README.md                                   Gitlab Hook Plugin                                    Other (provide description) No     Other (provide description) No     No
                                                                            https://updates.jenkins.io/download/plugins/node-iterator-                    https://github.com/jenkinsci/node-iterator-api-
MDX jenkins plugins (iljenkins) node-iterator-api              1.5          api/1.5/node-iterator-api.hpi                              MIT                plugin/blob/master/pom.xml                                     Node Iterator API Plugin                              Other (provide description) No     Other (provide description) No     No
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                                                                               https://updates.jenkins.io/download/plugins/rebuild/1.25/r               https://github.com/jenkinsci/rebuild-
MDX jenkins plugins (iljenkins) rebuild                        1.25            ebuild.hpi                                                 MIT           plugin/blob/master/pom.xml                                    Rebuilder                                   Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/ant/1.2/ant.hp
MDX jenkins plugins (iljenkins) ant                            1.2             i                                                          MIT           https://github.com/jenkinsci/ant-plugin/blob/master/pom.xml   Ant Plugin                                  Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/slack/1.8/slac
MDX jenkins plugins (iljenkins) slack                          1.8             k.hpi                                                      MIT           https://github.com/jenkinsci/slack-plugin/blob/master/pom.xml Slack Notification Plugin                   Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/ec2/1.31/ec2.
MDX jenkins plugins (iljenkins) ec2                            1.31            hpi                                                        MIT           https://github.com/jenkinsci/ec2-plugin/blob/master/pom.xml   Amazon EC2 plugin                           Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/cucumber/0.0                 https://github.com/melezhik/cucumber-
MDX jenkins plugins (iljenkins) cucumber                       0.0.2           .2/cucumber.hpi                                                          plugin/blob/master/README.md                                  Cucumber Plugin                             Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/email-                       https://github.com/jenkinsci/email-ext-
MDX jenkins plugins (iljenkins) email-ext                        2.40.5        ext/2.40.5/email-ext.hpi                                   MIT           plugin/blob/master/LICENSE                                    Email Extension Plugin                      Other (provide description) No   Other (provide description) No   No
                                                                 0.13-
                                                                 SNAPSHOT
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                                                                 18:48-
MDX jenkins plugins (iljenkins) jenkins-cloudformation-plugin-BD amit.gilad)                                                                                                                                          jenkins-cloudformation-plugin               Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/http_request/                https://github.com/jenkinsci/http-request-
MDX jenkins plugins (iljenkins) http_request                   1.8.8           1.8.8/http_request.hpi                                      MIT          plugin/blob/master/LICENSE                                    HTTP Request Plugin                         Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/database-                    https://github.com/jenkinsci/database-mysql-
MDX jenkins plugins (iljenkins) database-mysql                 1.0             mysql/1.0/database-mysql.hpi                                             plugin/blob/master/pom.xml                                    database-mysql                              Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/ws-                          https://github.com/jenkinsci/ws-cleanup-
MDX jenkins plugins (iljenkins) ws-cleanup                     0.28            cleanup/0.28/ws-cleanup.hpi                                 MIT          plugin/blob/master/pom.xml                                    Jenkins Workspace Cleanup Plugin            Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/ruby-                        https://github.com/jenkinsci/jenkins.rb/blob/master/README.
MDX jenkins plugins (iljenkins) ruby-runtime                   0.12            runtime/0.12/ruby-runtime.hpi                                            md                                                            ruby-runtime                                Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/cucumber-                    https://github.com/jenkinsci/cucumber-testresult-
MDX jenkins plugins (iljenkins) cucumber-testresult-plugin     0.8.2           testresult-plugin/0.8.2/cucumber-testresult-plugin.hpi      MIT          plugin//blob/master/pom.xml                                   Cucumber json test reporting.               Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/ldapemail/0.8                https://github.com/jenkinsci/ldapemail-
MDX jenkins plugins (iljenkins) ldapemail                      0.8             /ldapemail.hpi                                                           plugin/blob/master/pom.xml                                    LDAP Email Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/pam-                         https://github.com/jenkinsci/pam-auth-
MDX jenkins plugins (iljenkins) pam-auth                       1.2             auth/1.2/pam-auth.hpi                                       MIT          plugin/blob/master/pom.xml                                    PAM Authentication plugin                   Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/groovy/1.27/g                https://github.com/jenkinsci/groovy-
MDX jenkins plugins (iljenkins) groovy                         1.27            roovy.hpi                                                   MIT          plugin/blob/master/license.txt                                Groovy                                      Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/role-                        https://github.com/jenkinsci/role-strategy-
MDX jenkins plugins (iljenkins) role-strategy                  2.5.0           strategy/2.5.0/role-strategy.hpi                            MIT          plugin/blob/master/pom.xml                                    Role-based Authorization Strategy           Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/ssh-                         https://github.com/jenkinsci/ssh-slaves-
MDX jenkins plugins (iljenkins) ssh-slaves                     1.10            slaves/1.10/ssh-slaves.hpi                                  MIT          plugin/blob/master/pom.xml                                    Jenkins SSH Slaves plugin                   Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/jquery-                      https://github.com/jenkinsci/jquery-ui-
MDX jenkins plugins (iljenkins) jquery-ui                      1.0.2           ui/1.0.2/jquery-ui.hpi                                      MIT          plugin/blob/master/pom.xml                                    Jenkins jQuery UI plugin                    Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/greenballs/1.                https://github.com/jenkinsci/greenballs-
MDX jenkins plugins (iljenkins) greenballs                     1.14            14/greenballs.hpi                                           MIT          plugin/blob/master/pom.xml                                    Green Balls                                 Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/plain-                       https://github.com/jenkinsci/plain-credentials-
MDX jenkins plugins (iljenkins) plain-credentials              1.2             credentials/1.2/plain-credentials.hpi                       MIT          plugin/blob/master/pom.xml                                    Plain Credentials Plugin                    Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/metrics-                     https://github.com/jenkinsci/metrics-graphite-
MDX jenkins plugins (iljenkins) metrics-graphite               3.0.0           graphite/3.0.0/metrics-graphite.hpi                         MIT          plugin/blob/master/LICENSE.md                                 Metrics Graphite Reporting Plugin           Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/copyartifact/1               https://github.com/jenkinsci/copyartifact-
MDX jenkins plugins (iljenkins) copyartifact                   1.36            .36/copyartifact.hpi                                        MIT          plugin/blob/master/pom.xml                                    Copy Artifact Plugin                        Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/naginator/1.1                https://github.com/jenkinsci/naginator-
MDX jenkins plugins (iljenkins) naginator                      1.15            5/naginator.hpi                                             MIT          plugin/blob/master/pom.xml                                    Naginator                                   Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/cors-                        https://github.com/jenkinsci/cors-filter-
MDX jenkins plugins (iljenkins) cors-filter                    1.1             filter/1.1/cors-filter.hpi                                  MIT          plugin/blob/master/pom.xml                                    CORS support for Jenkins                    Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/subversion/2.                https://github.com/jenkinsci/subversion-
MDX jenkins plugins (iljenkins) subversion                     2.5.2           5.2/subversion.hpi                                          MIT          plugin/blob/master/pom.xml                                    Jenkins Subversion Plug-in                  Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/notification/1.              https://github.com/jenkinsci/notification-
MDX jenkins plugins (iljenkins) notification                   1.9             9/notification.hpi                                          Apache-2.0   plugin/blob/master/pom.xml                                    Jenkins Notification plugin                 Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/artifactory/2.3              https://github.com/jenkinsci/artifactory-
MDX jenkins plugins (iljenkins) artifactory                    2.3.1           .1/artifactory.hpi                                          Apache-2.0   plugin/blob/master/pom.xml                                    Jenkins Artifactory Plugin                  Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/testInProgres                https://github.com/jenkinsci/testInProgress-
MDX jenkins plugins (iljenkins) testInProgress                 1.4             s/1.4/testInProgress.hpi                                    EPL-1.0      plugin/blob/master/LICENSE                                    Test In Progress Plugin                     Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/ssh-                         https://github.com/jenkinsci/ssh-agent-
MDX jenkins plugins (iljenkins) ssh-agent                      1.8             agent/1.8/ssh-agent.hpi                                     MIT          plugin/blob/master/pom.xml                                    SSH Agent Plugin                            Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/xunit/1.97/xu
MDX jenkins plugins (iljenkins) xunit                          1.97            nit.hpi                                                     MIT          https://github.com/jenkinsci/xunit-plugin/blob/master/pom.xml xUnit plugin                                Other (provide description) No   Other (provide description) No   No

                                                                               https://updates.jenkins.io/download/plugins/multi-module-                https://github.com/jenkinsci/multi-module-tests-publisher-
MDX jenkins plugins (iljenkins) multi-module-tests-publisher   1.41            tests-publisher/1.41/multi-module-tests-publisher.hpi                    plugin/blob/master/pom.xml                                    multi-module-tests-publisher                Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/scm-                         https://github.com/jenkinsci/scm-api-
MDX jenkins plugins (iljenkins) scm-api                        0.2             api/0.2/scm-api.hpi                                         MIT          plugin/blob/master/pom.xml                                    SCM API Plugin                              Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/schedule-                    https://github.com/jenkinsci/schedule-build-
MDX jenkins plugins (iljenkins) schedule-build                 0.5.1           build/0.5.1/schedule-build.hpi                              MIT          plugin/blob/master/pom.xml                                    Schedule Build Plugin                       Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/mapdb-                       https://github.com/jenkinsci/mapdb-api-
MDX jenkins plugins (iljenkins) mapdb-api                      1.0.6.0         api/1.0.6.0/mapdb-api.hpi                                   Apache-2.0   plugin/blob/master/pom.xml                                    MapDB API Plugin                            Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/dry/2.42/dry.h
MDX jenkins plugins (iljenkins) dry                            2.42            pi                                                          MIT          https://github.com/jenkinsci/dry-plugin/blob/master/pom.xml   Duplicate Code Scanner Plug-in              Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/uno-                         https://github.com/jenkinsci/active-choices-
MDX jenkins plugins (iljenkins) uno-choice                     1.5.3           choice/1.5.3/uno-choice.hpi                                 MIT          plugin/blob/master/pom.xml                                    Active Choices Plug-in                      Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/mailer/1.16/m
MDX jenkins plugins (iljenkins) mailer                         1.16            ailer.hpi                                                   MIT          https://github.com/jenkinsci/mailer-plugin/blob/master/pom.xml Jenkins Mailer Plugin                      Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/depgraph-                    https://github.com/jenkinsci/depgraph-view-
MDX jenkins plugins (iljenkins) depgraph-view                  0.11            view/0.11/depgraph-view.hpi                                 MIT          plugin/blob/master/pom.xml                                     Dependency Graph Viewer Plugin             Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/database/1.3/                https://github.com/jenkinsci/database-
MDX jenkins plugins (iljenkins) database                       1.3             database.hpi                                                             plugin/blob/master/pom.xml                                     database                                   Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/dashboard-                   https://github.com/jenkinsci/dashboard-view-
MDX jenkins plugins (iljenkins) dashboard-view                 2.9.6           view/2.9.6/dashboard-view.hpi                               MIT          plugin/blob/master/pom.xml                                     Dashboard View                             Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/nodejs/0.2.1/                https://github.com/jenkinsci/nodejs-
MDX jenkins plugins (iljenkins) nodejs                         0.2.1           nodejs.hpi                                                  MIT          plugin/blob/master/pom.xml                                     NodeJS Plugin                              Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/fail-the-build-              https://github.com/jenkinsci/fail-the-build-
MDX jenkins plugins (iljenkins) fail-the-build-plugin          1.0             plugin/1.0/fail-the-build-plugin.hpi                        MIT          plugin/blob/master/pom.xml                                     Fail The Build Plugin                      Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/multiple-                    https://github.com/jenkinsci/multiple-scms-
MDX jenkins plugins (iljenkins) multiple-scms                  0.5             scms/0.5/multiple-scms.hpi                                  MIT          plugin/blob/master/LICENSE                                     Jenkins Multiple SCMs plugin               Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/dynamic_exte
                                dynamic_extended_choice_para                   nded_choice_parameter/1.0.1/dynamic_extended_choice                      https://github.com/jenkinsci/dynamic-extended-choice-
MDX jenkins plugins (iljenkins) meter                        1.0.1             _parameter.hpi                                                           parameter-plugin/blob/master/pom.xml                          Dynamic Extended Choice Parameter Plug-In   Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/msbuild/1.26/                https://github.com/jenkinsci/msbuild-
MDX jenkins plugins (iljenkins) msbuild                        1.26            msbuild.hpi                                                 MIT          plugin/blob/master/pom.xml                                    Jenkins MSBuild Plugin                      Other (provide description) No   Other (provide description) No   No
                                                                               https://updates.jenkins.io/download/plugins/purge-build-                 https://github.com/jenkinsci/purge-build-queue-
MDX jenkins plugins (iljenkins) purge-build-queue-plugin       1.0             queue-plugin/1.0/purge-build-queue-plugin.hpi               MIT          plugin/blob/master/pom.xml                                    Purge Build Queue Plugin                    Other (provide description) No   Other (provide description) No   No
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                                                                          https://updates.jenkins.io/download/plugins/build-user-                  https://github.com/jenkinsci/build-user-vars-
MDX jenkins plugins (iljenkins) build-user-vars-plugin         1.5        vars-plugin/1.5/build-user-vars-plugin.hpi                 MIT           plugin/blob/master/pom.xml                                    Jenkins user build vars plugin          Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/clover/4.4.0/c
MDX jenkins plugins (iljenkins) clover                         4.4.0      lover.hpi                                                                https://github.com/jenkinsci/clover-plugin/blob/master/pom.xml Jenkins Clover plugin                  Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/ssh/2.4/ssh.h
MDX jenkins plugins (iljenkins) ssh                            2.4        pi                                                                       https://github.com/jenkinsci/ssh-plugin/blob/master/pom.xml   Jenkins SSH plugin                      Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/sonar/2.2.1/s                https://github.com/jenkinsci/sonarqube-
MDX jenkins plugins (iljenkins) sonar                          2.2.1      onar.hpi                                                   LGPLv3        plugin/blob/master/pom.xml                                    Jenkins SonarQube Plugin                Other (provide description) No   Other (provide description) No   No

                                                                          https://updates.jenkins.io/download/plugins/blame-                       https://github.com/jenkinsci/blame-upstream-commiters-
MDX jenkins plugins (iljenkins) blame-upstream-commiters       1.2        upstream-commiters/1.2/blame-upstream-commiters.hpi                      plugin/blob/master/pom.xml                                    Blame Upstream Committers               Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/Exclusion/0.1                https://github.com/jenkinsci/exclusion-
MDX jenkins plugins (iljenkins) Exclusion                      0.10       0/Exclusion.hpi                                                          plugin/blob/master/pom.xml                                    Jenkins Exclusion Plug-in               Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/cucumber-                    https://github.com/jenkinsci/cucumber-reports-
MDX jenkins plugins (iljenkins) cucumber-reports               3.7.0      reports/3.7.0/cucumber-reports.hpi                          LGPLv2.1     plugin/blob/master/LICENCE                                    Cucumber reports                        Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/junit-realtime-              https://github.com/jenkinsci/junit-realtime-test-
MDX jenkins plugins (iljenkins) junit-realtime-test-reporter   0.2        test-reporter/0.2/junit-realtime-test-reporter.hpi          MIT          reporter/blob/master/pom.xml                                  JUnit Realtime Test Reporter Plugin     Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/discard-old-                 https://github.com/jenkinsci/discard-old-build-
MDX jenkins plugins (iljenkins) discard-old-build              1.05       build/1.05/discard-old-build.hpi                                         plugin/blob/master/pom.xml                                    Discard Old Build plugin                Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/checkstyle/3.                https://github.com/jenkinsci/checkstyle-
MDX jenkins plugins (iljenkins) checkstyle                     3.43       43/checkstyle.hpi                                           MIT          plugin/blob/master/pom.xml                                    Checkstyle Plug-in                      Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/envinject/1.92               https://github.com/jenkinsci/envinject-
MDX jenkins plugins (iljenkins) envinject                      1.92.1     .1/envinject.hpi                                            MIT          plugin/blob/master/pom.xml                                    Environment Injector Plugin             Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/publish-over-                https://github.com/jenkinsci/publish-over-ssh-
MDX jenkins plugins (iljenkins) publish-over-ssh               1.13       ssh/1.13/publish-over-ssh.hpi                               MIT          plugin/blob/master/pom.xml                                    Publish Over SSH                        Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/job-                         https://github.com/jenkinsci/job-dsl-
MDX jenkins plugins (iljenkins) job-dsl                        1.48       dsl/1.48/job-dsl.hpi                                        Apache-2.0   plugin/blob/master/LICENSE.txt                                Job DSL                                 Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/conditional-                 https://github.com/jenkinsci/conditional-buildstep-
MDX jenkins plugins (iljenkins) conditional-buildstep          1.3.3      buildstep/1.3.3/conditional-buildstep.hpi                   MIT          plugin/blob/master/pom.xml                                    conditional-buildstep                   Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/translation/1.               https://github.com/jenkinsci/translation-
MDX jenkins plugins (iljenkins) translation                    1.12       12/translation.hpi                                          MIT          plugin/blob/master/pom.xml                                    Jenkins Translation Assistance plugin   Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/warnings/4.4                 https://github.com/jenkinsci/warnings-
MDX jenkins plugins (iljenkins) warnings                       4.49       9/warnings.hpi                                              MIT          plugin/blob/master/LICENSE                                    Warnings Plug-in                        Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/javadoc/1.3/ja               https://github.com/jenkinsci/javadoc-
MDX jenkins plugins (iljenkins) javadoc                        1.3        vadoc.hpi                                                   MIT          plugin/blob/master/pom.xml                                    Javadoc Plugin                          Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/xml-job-to-job-              https://github.com/jenkinsci/xml-job-to-dsl-
MDX jenkins plugins (iljenkins) xml-job-to-job-dsl             0.1.10     dsl/0.1.10/xml-job-to-job-dsl.hpi                           GPL-3.0      plugin/blob/master/LICENSE                                    XML Job to Job DSL Plugin               Other (provide description) No   Other (provide description) No   No

MDX jenkins plugins (iljenkins) s3                             0.7        https://updates.jenkins.io/download/plugins/s3/0.7/s3.hpi MIT            https://github.com/jenkinsci/s3-plugin/blob/master/LICENSE    Jenkins S3 publisher plugin             Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/build-                       https://github.com/jenkinsci/build-timeout-
MDX jenkins plugins (iljenkins) build-timeout                  1.15       timeout/1.15/build-timeout.hpi                              MIT          plugin/blob/master/pom.xml                                    Jenkins build timeout plugin            Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/audit2db/0.5/                https://github.com/jenkinsci/audit2db-
MDX jenkins plugins (iljenkins) audit2db                       0.5        audit2db.hpi                                                MIT          plugin/blob/master/pom.xml                                    Jenkins Audit to Database Plugin        Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/aws-                         https://github.com/jenkinsci/aws-lambda-
MDX jenkins plugins (iljenkins) aws-lambda                     0.5.10     lambda/0.5.10/aws-lambda.hpi                                MIT          plugin/blob/master/pom.xml                                    AWS Lambda Plugin                       Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/nunit/0.17/nu                https://github.com/jenkinsci/nunit-
MDX jenkins plugins (iljenkins) nunit                          0.17       nit.hpi                                                     MIT          plugin/blob/master/LICENSE                                    Jenkins NUnit plugin                    Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/envinject-                   https://github.com/jenkinsci/envinject-api-
MDX jenkins plugins (iljenkins) envinject-api                  1.5        api/1.5/envinject-api.hpi                                   MIT          plugin/blob/master/pom.xml                                    EnvInject API Plugin                    Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/metrics/3.1.2.               https://github.com/jenkinsci/metrics-
MDX jenkins plugins (iljenkins) metrics                        3.1.2.10   10/metrics.hpi                                              MIT          plugin/blob/master/LICENSE.md                                 Metrics Plugin                          Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/view-job-                    https://github.com/jenkinsci/view-job-filters-
MDX jenkins plugins (iljenkins) view-job-filters               1.27       filters/1.27/view-job-filters.hpi                           MIT          plugin/blob/master/LICENSE                                    View Job Filters                        Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/scriptler/2.7/s              https://github.com/jenkinsci/scriptler-
MDX jenkins plugins (iljenkins) scriptler                      2.7        criptler.hpi                                                MIT          plugin/blob/master/LICENSE                                    Scriptler                               Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/sectioned-                   https://github.com/jenkinsci/sectioned-view-
MDX jenkins plugins (iljenkins) sectioned-view                 1.19       view/1.19/sectioned-view.hpi                                MIT          plugin/blob/master/pom.xml                                    Sectioned View Plugin                   Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/jquery/1.11.2-
MDX jenkins plugins (iljenkins) jquery                         1.11.2-0   0/jquery.hpi                                                MIT          https://github.com/jenkinsci/jquery-plugin/blob/master/pom.xml Jenkins jQuery plugin                  Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/saferestart/0.               https://github.com/jenkinsci/saferestart-
MDX jenkins plugins (iljenkins) saferestart                    0.3        3/saferestart.hpi                                           MIT          plugin/blob/master/pom.xml                                     Safe Restart Plugin                    Other (provide description) No   Other (provide description) No   No
                                                                                                                                                   https://github.com/jenkinsci/built-on-column-
                                                                          https://updates.jenkins.io/download/plugins/built-on-                    plugin/blob/master/src/main/resources/org/jenkins/plugins/buil
MDX jenkins plugins (iljenkins) built-on-column                1.1        column/1.1/built-on-column.hpi                             MIT           ton/Messages.properties                                        built-on-column                        Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/matrix-                      https://github.com/jenkinsci/matrix-project-
MDX jenkins plugins (iljenkins) matrix-project                 1.11       project/1.11/matrix-project.hpi                            MIT           plugin/blob/master/pom.xml                                     Matrix Project Plugin                  Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/workflow-step-               https://github.com/jenkinsci/workflow-step-api-
MDX jenkins plugins (iljenkins) workflow-step-api              1.10       api/1.10/workflow-step-api.hpi                             MIT           plugin/blob/master/pom.xml                                     Workflow: Step API                     Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/git-                         https://github.com/jenkinsci/git-server-
MDX jenkins plugins (iljenkins) git-server                     1.6        server/1.6/git-server.hpi                                  MIT           plugin/blob/master/pom.xml                                     Git server plugin                      Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/extended-                    https://github.com/jenkinsci/extended-choice-parameter-
MDX jenkins plugins (iljenkins) extended-choice-parameter      0.76       choice-parameter/0.76/extended-choice-parameter.hpi        MIT           plugin/blob/master/license.txt                                 Extended Choice Parameter Plug-In      Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/monitoring/1.                https://github.com/javamelody/javamelody/blob/master/LICEN
MDX jenkins plugins (iljenkins) monitoring                     1.57.0     57.0/monitoring.hpi                                        Apache-2.0    SE                                                             Monitoring                             Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/rundeck/3.4/r                https://github.com/jenkinsci/rundeck-
MDX jenkins plugins (iljenkins) rundeck                        3.4        undeck.hpi                                                               plugin/blob/master/pom.xml                                     Jenkins Rundeck plugin                 Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/text-                        https://github.com/jenkinsci/text-finder-
MDX jenkins plugins (iljenkins) text-finder                    1.10       finder/1.10/text-finder.hpi                                              plugin/blob/master/pom.xml                                     Jenkins TextFinder plugin              Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/jenkins-jira-                https://github.com/jenkinsci/jira-issue-updater-
MDX jenkins plugins (iljenkins) jenkins-jira-issue-updater     1.18       issue-updater/1.18/jenkins-jira-issue-updater.hpi                        plugin/blob/master/pom.xml                                     Jenkins Jira Issue Updater             Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/analysis-                    https://github.com/jenkinsci/analysis-core-
MDX jenkins plugins (iljenkins) analysis-core                  1.73       core/1.73/analysis-core.hpi                                MIT           plugin/blob/master/License.txt                                 Static Analysis Utilities              Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/run-                         https://github.com/jenkinsci/run-condition-
MDX jenkins plugins (iljenkins) run-condition                  1.0        condition/1.0/run-condition.hpi                            MIT           plugin/blob/master/pom.xml                                     Run Condition Plugin                   Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/matrix-                      https://github.com/jenkinsci/matrix-auth-
MDX jenkins plugins (iljenkins) matrix-auth                    1.2        auth/1.2/matrix-auth.hpi                                   MIT           plugin/blob/master/pom.xml                                     Matrix Authorization Strategy Plugin   Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/dynamicpara                  https://github.com/jenkinsci/dynamicparameter-
MDX jenkins plugins (iljenkins) dynamicparameter               0.2.0      meter/0.2.0/dynamicparameter.hpi                           Apache-2.0    plugin/blob/master/LICENSE                                     Jenkins Dynamic Parameter Plug-in      Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/custom-job-                  https://github.com/jenkinsci/custom-job-icon-
MDX jenkins plugins (iljenkins) custom-job-icon                0.2        icon/0.2/custom-job-icon.hpi                               Apache-2.0    plugin/blob/master/LICENSE.txt                                 Custom Job Icon plugin                 Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/run-condition-               https://github.com/jenkinsci/run-condition-extras-
MDX jenkins plugins (iljenkins) run-condition-extras           0.2        extras/0.2/run-condition-extras.hpi                        MIT           plugin/blob/master/LICENSE                                     Jenkins Run Condition Extras Plugin    Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/next-build-                  https://github.com/jenkinsci/next-build-number-
MDX jenkins plugins (iljenkins) next-build-number              1.4        number/1.4/next-build-number.hpi                           MIT           plugin/blob/master/pom.xml                                     Next Build Number Plugin               Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/test-results-                https://github.com/jenkinsci/test-results-analyzer-
MDX jenkins plugins (iljenkins) test-results-analyzer          0.3.4      analyzer/0.3.4/test-results-analyzer.hpi                   Apache-2.0    plugin/blob/master/LICENSE                                     Test Results Analyzer Plugin           Other (provide description) No   Other (provide description) No   No
                                                                          https://updates.jenkins.io/download/plugins/cvs/2.12/cvs.
MDX jenkins plugins (iljenkins) cvs                            2.12       hpi                                                                      https://github.com/jenkinsci/cvs-plugin/blob/master/pom.xml   Jenkins CVS Plug-in                     Other (provide description) No   Other (provide description) No   No
                                                              19-10971-dsj                                    Doc 210                             Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                Main Document
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                                                                                 https://updates.jenkins.io/download/plugins/batch-                      https://github.com/jenkinsci/batch-task-
MDX jenkins plugins (iljenkins) batch-task                       1.17            task/1.17/batch-task.hpi                                                plugin/blob/master/pom.xml                                      Jenkins batch task plugin                       Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/windows-                    https://github.com/jenkinsci/windows-slaves-
MDX jenkins plugins (iljenkins) windows-slaves                   1.1             slaves/1.1/windows-slaves.hpi                              MIT          plugin/blob/master/pom.xml                                      Windows Slaves Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/parameterize                https://github.com/jenkinsci/parameterized-trigger-
MDX jenkins plugins (iljenkins) parameterized-trigger            2.28            d-trigger/2.28/parameterized-trigger.hpi                   MIT          plugin/blob/master/pom.xml                                      Jenkins Parameterized Trigger plugin            Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/exclusive-                  https://github.com/jenkinsci/exclusive-execution-
MDX jenkins plugins (iljenkins) exclusive-execution              0.8             execution/0.8/exclusive-execution.hpi                      MIT          plugin/blob/master/pom.xml                                      Jenkins Exclusive Execution Plugin              Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/swarm/2.0/s                 https://github.com/jenkinsci/swarm-
MDX jenkins plugins (iljenkins) swarm                            2.0             warm.hpi                                                   MIT          plugin/blob/master/pom.xml                                      Jenkins Self-Organizing Swarm Plug-in Modules   Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/build-blocker-              https://github.com/jenkinsci/build-blocker-
MDX jenkins plugins (iljenkins) build-blocker-plugin             1.7.1           plugin/1.7.1/build-blocker-plugin.hpi                      MIT          plugin/blob/master/pom.xml                                      Build Blocker Plugin                            Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/ssh-                        https://github.com/jenkinsci/ssh-credentials-
MDX jenkins plugins (iljenkins) ssh-credentials                  1.11            credentials/1.11/ssh-credentials.hpi                       MIT          plugin/blob/master/pom.xml                                      SSH Credentials Plugin                          Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/log-                        https://github.com/jenkinsci/log-parser-
MDX jenkins plugins (iljenkins) log-parser                       1.0.8           parser/1.0.8/log-parser.hpi                                MIT          plugin/blob/master/pom.xml                                      Log Parser Plugin                               Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/git-                        https://github.com/jenkinsci/git-client-
MDX jenkins plugins (iljenkins) git-client                       1.19.0          client/1.19.0/git-client.hpi                               MIT          plugin/blob/master/LICENSE                                      Jenkins GIT client plugin                       Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/nodelabelpar                https://github.com/jenkinsci/nodelabelparameter-
MDX jenkins plugins (iljenkins) nodelabelparameter               1.7.2           ameter/1.7.2/nodelabelparameter.hpi                        MIT          plugin/blob/master/pom.xml                                      Node and Label parameter plugin                 Other (provide description) No   Other (provide description) No   No

                                                                                 https://updates.jenkins.io/download/plugins/terminate-ssh-              https://github.com/jenkinsci/sshProcess-check-
MDX jenkins plugins (iljenkins) terminate-ssh-processes-plugin   1.0             processes-plugin/1.0/terminate-ssh-processes-plugin.hpi                 plugin/blob/master/pom.xml                                      Terminate ssh processes                         Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/configuration               https://github.com/jenkinsci/configurationslicing-
MDX jenkins plugins (iljenkins) configurationslicing             1.41            slicing/1.41/configurationslicing.hpi                                   plugin/blob/master/pom.xml                                      Configuration Slicing plugin                    Other (provide description) No   Other (provide description) No   No

                                                                 1.11+build.201 https://updates.jenkins.io/download/plugins/build-monitor-               https://github.com/jan-molak/jenkins-build-monitor-
MDX jenkins plugins (iljenkins) build-monitor-plugin             701152243      plugin/1.11+build.201701152243/build-monitor-plugin.hpi MIT              plugin/blob/master/LICENSE                                      Build Monitor View                              Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/applitools-                  https://github.com/jenkinsci/applitools-eyes-
MDX jenkins plugins (iljenkins) applitools-eyes                  1.4            eyes/1.4/applitools-eyes.hpi                                Apache-2.0   plugin/blob/master/LICENSE                                      Applitools Eyes Plugin                          Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/antisamy-                    https://github.com/jenkinsci/antisamy-markup-formatter-
MDX jenkins plugins (iljenkins) antisamy-markup-formatter        1.3            markup-formatter/1.3/antisamy-markup-formatter.hpi          MIT          plugin/blob/master/pom.xml                                      OWASP Markup Formatter Plugin                   Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/vagrant/1.0.1/               https://github.com/jenkinsci/vagrant-
MDX jenkins plugins (iljenkins) vagrant                          1.0.1          vagrant.hpi                                                 Apache-2.0   plugin/blob/master/LICENSE                                      vagrant                                         Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/credentials-                 https://github.com/jenkinsci/credentials-binding-
MDX jenkins plugins (iljenkins) credentials-binding              1.9            binding/1.9/credentials-binding.hpi                         MIT          plugin/blob/master/pom.xml                                      Credentials Binding Plugin                      Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/ldap/1.11/lda
MDX jenkins plugins (iljenkins) ldap                             1.11           p.hpi                                                       MIT          https://github.com/jenkinsci/ldap-plugin/blob/master/pom.xml    LDAP Plugin                                     Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/email-ext-                   https://github.com/jenkinsci/email-ext-recipients-column-
MDX jenkins plugins (iljenkins) email-ext-recipients-column      1.0            recipients-column/1.0/email-ext-recipients-column.hpi                    plugin/blob/master/pom.xml                                      Email Ext Recipients Column Plugin              Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/urltrigger/0.4               https://github.com/jenkinsci/urltrigger-
MDX jenkins plugins (iljenkins) urltrigger                       0.41           1/urltrigger.hpi                                            MIT          plugin/blob/master/pom.xml                                      Jenkins URLTrigger Plug-in                      Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/active-                      https://github.com/jenkinsci/active-directory-
MDX jenkins plugins (iljenkins) active-directory                 1.39           directory/1.39/active-directory.hpi                         MIT          plugin/blob/master/pom.xml                                      Jenkins Active Directory plugin                 Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/powershell/1.                https://github.com/jenkinsci/powershell-
MDX jenkins plugins (iljenkins) powershell                       1.3            3/powershell.hpi                                                         plugin/blob/master/pom.xml                                      Jenkins PowerShell plugin                       Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/ansicolor/0.4.               https://github.com/jenkinsci/ansicolor-
MDX jenkins plugins (iljenkins) ansicolor                        0.4.1          1/ansicolor.hpi                                             MIT          plugin/blob/master/LICENSE                                      AnsiColor                                       Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/structs/1.15/s               https://github.com/jenkinsci/structs-
MDX jenkins plugins (iljenkins) structs                          1.15           tructs.hpi                                                  MIT          plugin/blob/master/pom.xml                                      Structs Plugin                                  Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/gradle/1.24/g                https://github.com/jenkinsci/gradle-
MDX jenkins plugins (iljenkins) gradle                           1.24           radle.hpi                                                   MIT          plugin/blob/master/LICENSE                                      Jenkins Gradle plugin                           Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/join/1.16/join.
MDX jenkins plugins (iljenkins) join                             1.16           hpi                                                         MIT          https://github.com/jenkinsci/join-plugin/blob/master/pom.xml    Join plugin                                     Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/junit/1.20/juni
MDX jenkins plugins (iljenkins) junit                            1.20           t.hpi                                                       MIT          https://github.com/jenkinsci/junit-plugin/blob/master/pom.xml   JUnit Plugin                                    Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/nested-                      https://github.com/jenkinsci/nested-view-
MDX jenkins plugins (iljenkins) nested-view                      1.14           view/1.14/nested-view.hpi                                                plugin/blob/master/pom.xml                                      Nested View Plugin                              Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/groovy-                      https://github.com/jenkinsci/groovy-postbuild-
MDX jenkins plugins (iljenkins) groovy-postbuild                 2.3.1          postbuild/2.3.1/groovy-postbuild.hpi                        MIT          plugin/blob/master/pom.xml                                      Groovy Postbuild                                Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/build-pipeline-              https://github.com/jenkinsci/build-pipeline-
MDX jenkins plugins (iljenkins) build-pipeline-plugin            1.4.7          plugin/1.4.7/build-pipeline-plugin.hpi                      MIT          plugin/blob/master/pom.xml                                      Build Pipeline Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/timestamper/                 https://github.com/jenkinsci/timestamper-
MDX jenkins plugins (iljenkins) timestamper                      1.7.2          1.7.2/timestamper.hpi                                       MIT          plugin/blob/master/pom.xml                                      Timestamper                                     Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/jobConfigHist                https://github.com/jenkinsci/jobConfigHistory-
MDX jenkins plugins (iljenkins) jobConfigHistory                 2.12           ory/2.12/jobConfigHistory.hpi                               MIT          plugin/blob/master/pom.xml                                      Jenkins Job Configuration History Plugin        Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/jackson2-                    https://github.com/jenkinsci/jackson2-api-
MDX jenkins plugins (iljenkins) jackson2-api                     2.5.4          api/2.5.4/jackson2-api.hpi                                  Apache-2.0   plugin/blob/master/pom.xml                                      Jackson 2 API Plugin                            Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/git/2.4.0/git.h
MDX jenkins plugins (iljenkins) git                              2.4.0          pi                                                          MIT          https://github.com/jenkinsci/git-plugin/blob/master/pom.xml     Jenkins GIT plugin                              Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/credentials/2.               https://github.com/jenkinsci/credentials-
MDX jenkins plugins (iljenkins) credentials                      2.1.4          1.4/credentials.hpi                                         MIT          plugin/blob/master/pom.xml                                      Credentials Plugin                              Other (provide description) No   Other (provide description) No   No
                                                                                https://updates.jenkins.io/download/plugins/script-                      https://github.com/jenkinsci/script-security-
MDX jenkins plugins (iljenkins) script-security                  1.28           security/1.28/script-security.hpi                           MIT          plugin/blob/master/pom.xml                                      Script Security Plugin                          Other (provide description) No   Other (provide description) No   No
                                                                                                                                                                                                                         Jenkins is the leading open-source automation
Analytics jenkins                jenkins                         2.170           http://mirrors.jenkins.io/war/2.170/jenkins.war             MIT         https://github.com/jenkinsci/jenkins/blob/master/LICENSE.txt    server                                          Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/pipeline-rest-              https://github.com/jenkinsci/pipeline-stage-view-
Analytics jenkins plugins        pipeline-rest-api               2.10            api/2.10/pipeline-rest-api.hpi                              MIT         plugin/blob/master/pom.xml                                      Pipeline: REST API Plugin                       Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/gitlab-                     https://github.com/jenkinsci/gitlab-
Analytics jenkins plugins        gitlab-plugin                   1.5.11          plugin/1.5.11/gitlab-plugin.hpi                             GPL-v2.0    plugin/blob/master/LICENSE                                      GitLab Plugin                                   Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/blueocean-                  https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins        blueocean-jira                  1.14.0          jira/1.14.0/blueocean-jira.hpi                              MIT         plugin/blob/master/LICENSE.txt                                  JIRA Integration for Blue Ocean                 Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/workflow-step-              https://github.com/jenkinsci/workflow-step-api-
Analytics jenkins plugins        workflow-step-api               2.19            api/2.19/workflow-step-api.hpi                              MIT         plugin/blob/master/pom.xml                                      Pipeline: Step API                              Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/htmlpublisher               https://github.com/jenkinsci/htmlpublisher-
Analytics jenkins plugins        htmlpublisher                   1.18            /1.18/htmlpublisher.hpi                                     MIT         plugin/blob/master/LICENSE                                      HTML Publisher plugin                           Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/blueocean-                  https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins        blueocean-pipeline-editor       1.14.0          pipeline-editor/1.14.0/blueocean-pipeline-editor.hpi        MIT         plugin/blob/master/LICENSE.txt                                  Blue Ocean Pipeline Editor                      Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/junit/1.27/juni
Analytics jenkins plugins        junit                           1.27            t.hpi                                                       MIT         https://github.com/jenkinsci/junit-plugin/blob/master/pom.xml   JUnit Plugin                                    Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/ws-                         https://github.com/jenkinsci/ws-cleanup-
Analytics jenkins plugins        ws-cleanup                      0.37            cleanup/0.37/ws-cleanup.hpi                                 MIT         plugin/blob/master/pom.xml                                      Jenkins Workspace Cleanup Plugin                Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/blueocean-                  https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins        blueocean-display-url           2.2.0           display-url/2.2.0/blueocean-display-url.hpi                 MIT         plugin/blob/master/LICENSE.txt                                  Display URL for Blue Ocean                      Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/pipeline-                   https://github.com/jenkinsci/pipeline-model-definition-
Analytics jenkins plugins        pipeline-model-definition       1.3.7           model-definition/1.3.7/pipeline-model-definition.hpi        MIT         plugin/blob/master/pom.xml                                      Pipeline: Declarative                           Other (provide description) No   Other (provide description) No   No
                                                                                 https://updates.jenkins.io/download/plugins/icon-                       https://github.com/jenkinsci/icon-shim-
Analytics jenkins plugins        icon-shim                       2.0.3           shim/2.0.3/icon-shim.hpi                                    MIT         plugin/blob/master/pom.xml                                      Icon Shim Plugin                                Other (provide description) No   Other (provide description) No   No
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                                                                        https://updates.jenkins.io/download/plugins/text-                        https://github.com/jenkinsci/text-finder-
Analytics jenkins plugins   text-finder                      1.10       finder/1.10/text-finder.hpi                                              plugin/blob/master/pom.xml                                    Jenkins TextFinder plugin                      Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/pipeline-                    https://github.com/jenkinsci/pipeline-milestone-step-
Analytics jenkins plugins   pipeline-milestone-step          1.3.1      milestone-step/1.3.1/pipeline-milestone-step.hpi           MIT           plugin/blob/master/pom.xml                                    Pipeline: Milestone Step                       Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/downstream-                  https://github.com/jenkinsci/downstream-buildview-
Analytics jenkins plugins   downstream-buildview             1.9        buildview/1.9/downstream-buildview.hpi                                   plugin/blob/master/pom.xml                                    Downstream build view                          Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/cucumber-                    https://github.com/jenkinsci/cucumber-reports-
Analytics jenkins plugins   cucumber-reports                 4.5.0      reports/4.5.0/cucumber-reports.hpi                         LGPL 2.1      plugin/blob/master/pom.xml                                    Cucumber reports                               Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/customize-                   https://github.com/jenkinsci/customize-build-now-
Analytics jenkins plugins   customize-build-now              1.1        build-now/1.1/customize-build-now.hpi                      MIT           plugin/blob/master/pom.xml                                    Customize Build Now Label                      Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/conditional-                 https://github.com/jenkinsci/conditional-buildstep-
Analytics jenkins plugins   conditional-buildstep            1.3.6      buildstep/1.3.6/conditional-buildstep.hpi                  MIT           plugin/blob/master/pom.xml                                    Conditional BuildStep                          Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/maven-                       https://github.com/jenkinsci/maven-
Analytics jenkins plugins   maven-plugin                     3.2        plugin/3.2/maven-plugin.hpi                                MIT           plugin/blob/master/pom.xml                                    Maven Integration plugin                       Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/durable-                     https://github.com/jenkinsci/durable-task-
Analytics jenkins plugins   durable-task                     1.29       task/1.29/durable-task.hpi                                 MIT           plugin/blob/master/pom.xml                                    Durable Task Plugin                            Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/blueocean-                   https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-rest                   1.14.0     rest/1.14.0/blueocean-rest.hpi                             MIT           plugin/blob/master/LICENSE.txt                                REST API for Blue Ocean                        Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/jquery/1.12.4-
Analytics jenkins plugins   jquery                           1.12.4-0   0/jquery.hpi                                               MIT           https://github.com/jenkinsci/jquery-plugin/blob/master/pom.xml jQuery plugin                                 Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/browserstack-                https://github.com/jenkinsci/browserstack-integration-
Analytics jenkins plugins   browserstack-integration         1.1.3      integration/1.1.3/browserstack-integration.hpi             MIT           plugin/blob/master/LICENSE                                     BrowserStack                                  Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/pipeline-
                                                                        stage-tags-metadata/1.3.7/pipeline-stage-tags-                           https://github.com/jenkinsci/pipeline-model-definition-
Analytics jenkins plugins   pipeline-stage-tags-metadata     1.3.7      metadata.hpi                                               MIT           plugin/blob/master/pom.xml                                    Pipeline: Stage Tags Metadata                  Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/subversion/2.                https://github.com/jenkinsci/subversion-
Analytics jenkins plugins   subversion                       2.12.1     12.1/subversion.hpi                                        MIT           plugin/blob/master/pom.xml                                    Jenkins Subversion Plug-in                     Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/jenkins-                     https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   jenkins-design-language          1.14.0     design-language/1.14.0/jenkins-design-language.hpi         MIT           plugin/blob/master/LICENSE.txt                                Jenkins Design Language                        Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/ssh-                         https://github.com/jenkinsci/ssh-slaves-
Analytics jenkins plugins   ssh-slaves                       1.29.4     slaves/1.29.4/ssh-slaves.hpi                               MIT           plugin/blob/master/pom.xml                                    Jenkins SSH Slaves plugin                      Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/jackson2-                    https://github.com/jenkinsci/jackson2-api-
Analytics jenkins plugins   jackson2-api                     2.9.8      api/2.9.8/jackson2-api.hpi                                 Apache-2.0    plugin/blob/master/pom.xml                                    Jackson 2 API Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/cron_column/                 https://github.com/jenkinsci/cron_column-
Analytics jenkins plugins   cron_column                      1.4        1.4/cron_column.hpi                                                      plugin/blob/master/pom.xml                                    Cron Column Plugin                             Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/code-                        https://github.com/jenkinsci/code-coverage-api-
Analytics jenkins plugins   code-coverage-api                1.0.9      coverage-api/1.0.9/code-coverage-api.hpi                   MIT           plugin/blob/master/pom.xml                                    Code Coverage API Plugin                       Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/copyartifact/1               https://github.com/jenkinsci/copyartifact-
Analytics jenkins plugins   copyartifact                     1.42       .42/copyartifact.hpi                                       MIT           plugin/blob/master/pom.xml                                    Copy Artifact Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/jobConfigHist                https://github.com/jenkinsci/jobConfigHistory-
Analytics jenkins plugins   jobConfigHistory                 2.19       ory/2.19/jobConfigHistory.hpi                              MIT           plugin/blob/master/pom.xml                                    Jenkins Job Configuration History Plugin       Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/workflow-                    https://github.com/jenkinsci/workflow-api-
Analytics jenkins plugins   workflow-api                     2.33       api/2.33/workflow-api.hpi                                  MIT           plugin/blob/master/pom.xml                                    Pipeline: API                                  Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/timestamper/                 https://github.com/jenkinsci/timestamper-
Analytics jenkins plugins   timestamper                      1.9        1.9/timestamper.hpi                                        MIT           plugin/blob/master/pom.xml                                    Timestamper                                    Other (provide description) No   Other (provide description) No   No

                                                                        https://updates.jenkins.io/download/plugins/extensible-                  https://github.com/jenkinsci/extensible-choice-parameter-
Analytics jenkins plugins   extensible-choice-parameter      1.6.0      choice-parameter/1.6.0/extensible-choice-parameter.hpi MIT               plugin/blob/master/pom.xml                                    Extensible Choice Parameter plugin             Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/pipeline-
                                                                        model-declarative-agent/1.1.1/pipeline-model-declarative-                https://github.com/jenkinsci/pipeline-model-definition-
Analytics jenkins plugins   pipeline-model-declarative-agent 1.1.1      agent.hpi                                                   MIT          plugin/blob/master/pom.xml                                    Pipeline: Declarative Agent API                Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/workflow-                    https://github.com/jenkinsci/workflow-multibranch-
Analytics jenkins plugins   workflow-multibranch             2.21       multibranch/2.21/workflow-multibranch.hpi                   MIT          plugin/blob/master/pom.xml                                    Pipeline: Multibranch                          Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/view-job-                    https://github.com/jenkinsci/view-job-filters-
Analytics jenkins plugins   view-job-filters                 2.1.1      filters/2.1.1/view-job-filters.hpi                          MIT          plugin/blob/master/LICENSE                                    View Job Filters                               Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/authorize-                   https://github.com/jenkinsci/authorize-project-
Analytics jenkins plugins   authorize-project                1.3.0      project/1.3.0/authorize-project.hpi                         MIT          plugin/blob/master/LICENSE                                    Authorize Project                              Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/blueocean-                   https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-config                 1.14.0     config/1.14.0/blueocean-config.hpi                          MIT          plugin/blob/master/LICENSE.txt                                Config API for Blue Ocean                      Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/emailext-                    https://github.com/jenkinsci/emailext-template-
Analytics jenkins plugins   emailext-template                1.1        template/1.1/emailext-template.hpi                                       plugin/blob/master/pom.xml                                    Email Extension Template Plugin                Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/github/1.29.4/               https://github.com/jenkinsci/git-plugin/blob/master/MIT-
Analytics jenkins plugins   github                           1.29.4     github.hpi                                                  MIT          LICENSE.txt                                                   GitHub plugin                                  Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/internetmeme                 https://github.com/jenkinsci/internet-meme-
Analytics jenkins plugins   internetmeme                     1.0        /1.0/internetmeme.hpi                                       MIT          plugin/blob/master/pom.xml                                    InternetMeme Plugin                            Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/token-                       https://github.com/jenkinsci/token-macro-
Analytics jenkins plugins   token-macro                      2.7        macro/2.7/token-macro.hpi                                   MIT          plugin/blob/master/pom.xml                                    Token Macro Plugin                             Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/ace-                         https://github.com/jenkinsci/jenkins-ace-
Analytics jenkins plugins   ace-editor                       1.1        editor/1.1/ace-editor.hpi                                   MIT          editor/blob/master/package.json                               JavaScript GUI Lib: ACE Editor bundle plugin   Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/structs/1.17/s               https://github.com/jenkinsci/structs-
Analytics jenkins plugins   structs                          1.17       tructs.hpi                                                  MIT          plugin/blob/master/pom.xml                                    Structs Plugin                                 Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/active-                      https://github.com/jenkinsci/active-directory-
Analytics jenkins plugins   active-directory                 2.13       directory/2.13/active-directory.hpi                         MIT          plugin/blob/master/pom.xml                                    Jenkins Active Directory plugin                Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/pipeline-                    https://github.com/jenkinsci/pipeline-stage-view-
Analytics jenkins plugins   pipeline-stage-view              2.10       stage-view/2.10/pipeline-stage-view.hpi                     MIT          plugin/blob/master/pom.xml                                    Pipeline: Stage View Plugin                    Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/ansicolor/0.6.               https://github.com/jenkinsci/ansicolor-
Analytics jenkins plugins   ansicolor                        0.6.2      2/ansicolor.hpi                                             MIT          plugin/blob/master/LICENSE                                    AnsiColor                                      Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/all-                         https://github.com/jenkinsci/all-changes-
Analytics jenkins plugins   all-changes                      1.5        changes/1.5/all-changes.hpi                                 MIT          plugin/blob/master/pom.xml                                    All changes plugin                             Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/artifactory/3.2              https://github.com/jenkinsci/artifactory-
Analytics jenkins plugins   artifactory                      3.2.2      .2/artifactory.hpi                                          Apache-2.0   plugin/blob/master/pom.xml                                    Jenkins Artifactory Plugin                     Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/next-build-                  https://github.com/jenkinsci/next-build-number-
Analytics jenkins plugins   next-build-number                1.5        number/1.5/next-build-number.hpi                            MIT          plugin/blob/master/pom.xml                                    Next Build Number Plugin                       Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/jacoco/3.0.4/j               https://github.com/jenkinsci/jacoco-
Analytics jenkins plugins   jacoco                           3.0.4      acoco.hpi                                                   MIT          plugin/blob/master/pom.xml                                    Jenkins JaCoCo plugin                          Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/ssh-                         https://github.com/jenkinsci/ssh-agent-
Analytics jenkins plugins   ssh-agent                        1.17       agent/1.17/ssh-agent.hpi                                    MIT          plugin/blob/master/pom.xml                                    SSH Agent Plugin                               Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/github-                      https://github.com/jenkinsci/github-api-
Analytics jenkins plugins   github-api                       1.95       api/1.95/github-api.hpi                                     MIT          plugin/blob/master/pom.xml                                    GitHub API Plugin                              Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/github-                      https://github.com/jenkinsci/github-branch-source-
Analytics jenkins plugins   github-branch-source             2.4.5      branch-source/2.4.5/github-branch-source.hpi                MIT          plugin/blob/master/pom.xml                                    GitHub Branch Source Plugin                    Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/envinject/2.1.               https://github.com/jenkinsci/envinject-
Analytics jenkins plugins   envinject                        2.1.6      6/envinject.hpi                                             MIT          plugin/blob/master/pom.xml                                    Environment Injector Plugin                    Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/mapdb-                       https://github.com/jenkinsci/mapdb-api-
Analytics jenkins plugins   mapdb-api                        1.0.9.0    api/1.0.9.0/mapdb-api.hpi                                   Apache-2.0   plugin/blob/master/pom.xml                                    MapDB API Plugin                               Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/blueocean-                   https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-i18n                   1.14.0     i18n/1.14.0/blueocean-i18n.hpi                              MIT          plugin/blob/master/LICENSE.txt                                i18n for Blue Ocean                            Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/greenballs/1.                https://github.com/jenkinsci/greenballs-
Analytics jenkins plugins   greenballs                       1.15       15/greenballs.hpi                                           MIT          plugin/blob/master/pom.xml                                    Green Balls                                    Other (provide description) No   Other (provide description) No   No
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                                                                  https://updates.jenkins.io/download/plugins/gradle/1.31/g                         https://github.com/jenkinsci/gradle-
Analytics jenkins plugins   gradle                       1.31     radle.hpi                                                     MIT                 plugin/blob/master/LICENSE                                    Gradle Plugin                                  Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/run-                                  https://github.com/jenkinsci/run-condition-
Analytics jenkins plugins   run-condition                1.2      condition/1.2/run-condition.hpi                               MIT                 plugin/blob/master/pom.xml                                    Run Condition Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/pipeline-                             https://github.com/jenkinsci/pipeline-github-
Analytics jenkins plugins   pipeline-github              2.5      github/2.5/pipeline-github.hpi                                MIT                 plugin/blob/master/pom.xml                                    Pipeline: GitHub                               Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/blueocean-                            https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-pipeline-scm-api   1.14.0   pipeline-scm-api/1.14.0/blueocean-pipeline-scm-api.hpi MIT                        plugin/blob/master/LICENSE.txt                                Pipeline SCM API for Blue Ocean                Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/allure-jenkins-                       https://github.com/jenkinsci/allure-
Analytics jenkins plugins   allure-jenkins-plugin        2.28.1   plugin/2.28.1/allure-jenkins-plugin.hpi                       Apache-2.0          plugin/blob/master/LICENSE                                    Allure Jenkins Plugin                          Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/nodejs/1.2.9/                         https://github.com/jenkinsci/nodejs-
Analytics jenkins plugins   nodejs                       1.2.9    nodejs.hpi                                                    MIT                 plugin/blob/master/pom.xml                                    NodeJS Plugin                                  Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/extended-                             https://github.com/jenkinsci/extended-read-permission-
Analytics jenkins plugins   extended-read-permission     2.0      read-permission/2.0/extended-read-permission.hpi              MIT                 plugin/blob/master/pom.xml                                    Jenkins Extended Read Permission Plugin        Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/workflow-                             https://github.com/jenkinsci/workflow-support-
Analytics jenkins plugins   workflow-support             3.2      support/3.2/workflow-support.hpi                              MIT                 plugin/blob/master/pom.xml                                    Pipeline: Supporting APIs                      Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/docker-build-                         https://github.com/jenkinsci/docker-build-step-
Analytics jenkins plugins   docker-build-step            2.2      step/2.2/docker-build-step.hpi                                MIT                 plugin/blob/master/LICENSE                                    docker-build-step                              Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/favorite/2.3.2/                       https://github.com/jenkinsci/favorite-
Analytics jenkins plugins   favorite                     2.3.2    favorite.hpi                                                  MIT                 plugin/blob/master/LICENSE.md                                 Favorite                                       Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/display-url-                          https://github.com/jenkinsci/display-url-api-
Analytics jenkins plugins   display-url-api              2.3.1    api/2.3.1/display-url-api.hpi                                 MIT                 plugin/blob/master/pom.xml                                    Display URL API                                Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/blueocean-                            https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-jwt                1.14.0   jwt/1.14.0/blueocean-jwt.hpi                                  MIT                 plugin/blob/master/LICENSE.txt                                JWT for Blue Ocean                             Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/pam-                                  https://github.com/jenkinsci/pam-auth-
Analytics jenkins plugins   pam-auth                     1.4      auth/1.4/pam-auth.hpi                                         MIT                 plugin/blob/master/pom.xml                                    PAM Authentication plugin                      Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/extended-                             https://github.com/jenkinsci/extended-choice-parameter-
Analytics jenkins plugins   extended-choice-parameter    0.78     choice-parameter/0.78/extended-choice-parameter.hpi           MIT                 plugin/blob/master/license.txt                                Extended Choice Parameter Plug-In              Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/git-                                  https://github.com/jenkinsci/git-client-
Analytics jenkins plugins   git-client                   2.7.6    client/2.7.6/git-client.hpi                                   MIT                 plugin/blob/master/LICENSE                                    Jenkins Git client plugin                      Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/pipeline-                             https://github.com/jenkinsci/pipeline-stage-step-
Analytics jenkins plugins   pipeline-stage-step          2.3      stage-step/2.3/pipeline-stage-step.hpi                        MIT                 plugin/blob/master/pom.xml                                    Pipeline: Stage Step                           Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/urltrigger/0.4                        https://github.com/jenkinsci/urltrigger-
Analytics jenkins plugins   urltrigger                   0.45     5/urltrigger.hpi                                              MIT                 plugin/blob/master/pom.xml                                    Jenkins URLTrigger Plug-in                     Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/pipeline-utility-                     https://github.com/jenkinsci/pipeline-utility-steps-
Analytics jenkins plugins   pipeline-utility-steps       2.3.0    steps/2.3.0/pipeline-utility-steps.hpi                        MIT                 plugin/blob/master/LICENSE                                    Pipeline Utility Steps                         Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/script-                               https://github.com/jenkinsci/script-security-
Analytics jenkins plugins   script-security              1.56     security/1.56/script-security.hpi                             MIT                 plugin/blob/master/pom.xml                                    Script Security Plugin                         Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/jsch/0.1.55/js                        https://github.com/jenkinsci/jsch-
Analytics jenkins plugins   jsch                         0.1.55   ch.hpi                                                        MIT                 plugin//blob/master/LICENSE                                   Jenkins JSch dependency plugin                 Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/config-file-                          https://github.com/jenkinsci/config-file-provider-
Analytics jenkins plugins   config-file-provider         3.6      provider/3.6/config-file-provider.hpi                         MIT                 plugin/blob/master/pom.xml                                    Config File Provider Plugin                    Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/handlebars/1.                         https://github.com/jenkinsci/js-
Analytics jenkins plugins   handlebars                   1.1.1    1.1/handlebars.hpi                                            MIT                 libs/blob/master/handlebars/package.json                      JavaScript GUI Lib: Handlebars bundle plugin   Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/workflow-                             https://github.com/jenkinsci/workflow-aggregator-
Analytics jenkins plugins   workflow-aggregator          2.6      aggregator/2.6/workflow-aggregator.hpi                        MIT                 plugin/blob/master/pom.xml                                    Pipeline                                       Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/ant/1.9/ant.hp
Analytics jenkins plugins   ant                          1.9      i                                                             MIT                 https://github.com/jenkinsci/ant-plugin/blob/master/pom.xml   Ant Plugin                                     Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/mercurial/2.5/                        https://github.com/jenkinsci/mercurial-
Analytics jenkins plugins   mercurial                    2.5      mercurial.hpi                                                 MIT                 plugin/blob/master/pom.xml                                    Jenkins Mercurial plugin                       Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/pipeline-                             https://github.com/jenkinsci/pipeline-model-definition-
Analytics jenkins plugins   pipeline-model-extensions    1.3.7    model-extensions/1.3.7/pipeline-model-extensions.hpi          MIT                 plugin/blob/master/pom.xml                                    Pipeline: Declarative Extension Points API     Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/workflow-                             https://github.com/jenkinsci/workflow-basic-steps-
Analytics jenkins plugins   workflow-basic-steps         2.15     basic-steps/2.15/workflow-basic-steps.hpi                     MIT                 plugin/blob/master/pom.xml                                    Pipeline: Basic Steps                          Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/applitools-                           https://github.com/jenkinsci/applitools-eyes-
Analytics jenkins plugins   applitools-eyes              1.7      eyes/1.7/applitools-eyes.hpi                                  Apache-2.0          plugin/blob/master/LICENSE                                    Applitools Eyes Plugin                         Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/matrix-                               https://github.com/jenkinsci/matrix-project-
Analytics jenkins plugins   matrix-project               1.14     project/1.14/matrix-project.hpi                               MIT                 plugin/blob/master/pom.xml                                    Matrix Project Plugin                          Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/jira/3.0.6/jira.                      https://github.com/jenkinsci/jira-
Analytics jenkins plugins   jira                         3.0.6    hpi                                                           MIT                 plugin/blob/master/LICENSE.md                                 Jenkins JIRA plugin                            Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/docker-                               https://github.com/jenkinsci/docker-workflow-
Analytics jenkins plugins   docker-workflow              1.18     workflow/1.18/docker-workflow.hpi                             MIT                 plugin/blob/master/pom.xml                                    Docker Pipeline                                Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/authenticatio                         https://github.com/jenkinsci/authentication-tokens-
Analytics jenkins plugins   authentication-tokens        1.3      n-tokens/1.3/authentication-tokens.hpi                        MIT                 plugin/blob/master/pom.xml                                    Authentication Tokens API Plugin               Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/external-                             https://github.com/jenkinsci/external-monitor-job-
Analytics jenkins plugins   external-monitor-job         1.7      monitor-job/1.7/external-monitor-job.hpi                      MIT                 plugin/blob/master/pom.xml                                    External Monitor Job Type Plugin               Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/emotional-                            https://github.com/jenkinsci/emotional-jenkins-
Analytics jenkins plugins   emotional-jenkins-plugin     1.2      jenkins-plugin/1.2/emotional-jenkins-plugin.hpi                                   plugin/blob/master/pom.xml                                    emotional-jenkins-plugin                       Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/blueocean-                            https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-commons            1.14.0   commons/1.14.0/blueocean-commons.hpi                          MIT                 plugin/blob/master/LICENSE.txt                                Common API for Blue Ocean                      Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/chucknorris/1                         https://github.com/jenkinsci/chucknorris-
Analytics jenkins plugins   chucknorris                  1.2      .2/chucknorris.hpi                                            MIT                 plugin/blob/master/pom.xml                                    ChuckNorris Plugin                             Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/credentials-                          https://github.com/jenkinsci/credentials-binding-
Analytics jenkins plugins   credentials-binding          1.18     binding/1.18/credentials-binding.hpi                          MIT                 plugin/blob/master/pom.xml                                    Credentials Binding Plugin                     Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/git-                                  https://github.com/jenkinsci/git-server-
Analytics jenkins plugins   git-server                   1.7      server/1.7/git-server.hpi                                     MIT                 plugin/blob/master/pom.xml                                    Jenkins GIT server Plugin                      Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/docker-build-                         https://github.com/jenkinsci/docker-build-publish-
Analytics jenkins plugins   docker-build-publish         1.3.2    publish/1.3.2/docker-build-publish.hpi                        MIT                 plugin/blob/master/pom.xml                                    CloudBees Docker Build and Publish plugin      Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/workflow-cps-                         https://github.com/jenkinsci/workflow-cps-global-lib-
Analytics jenkins plugins   workflow-cps-global-lib      2.13     global-lib/2.13/workflow-cps-global-lib.hpi                   MIT                 plugin/blob/master/pom.xml                                    Pipeline: Shared Groovy Libraries              Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/blueocean-                            https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-rest-impl          1.14.0   rest-impl/1.14.0/blueocean-rest-impl.hpi                      MIT                 plugin/blob/master/LICENSE.txt                                REST Implementation for Blue Ocean             Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/plain-                                https://github.com/jenkinsci/plain-credentials-
Analytics jenkins plugins   plain-credentials            1.5      credentials/1.5/plain-credentials.hpi                         MIT                 plugin/blob/master/pom.xml                                    Plain Credentials Plugin                       Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/email-                                https://github.com/jenkinsci/email-ext-
Analytics jenkins plugins   email-ext                    2.66     ext/2.66/email-ext.hpi                                        MIT                 plugin/blob/master/LICENSE                                    Email Extension Plugin                         Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/extra-                                https://github.com/jenkinsci/extra-columns-
Analytics jenkins plugins   extra-columns                1.20     columns/1.20/extra-columns.hpi                                MIT                 plugin/blob/master/pom.xml                                    Extra Columns Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/postbuild-                            https://github.com/jenkinsci/postbuild-task-
Analytics jenkins plugins   postbuild-task               1.8      task/1.8/postbuild-task.hpi                                                       plugin/blob/master/pom.xml                                    Hudson Post build task                         Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/workflow-scm-                         https://github.com/jenkinsci/workflow-scm-step-
Analytics jenkins plugins   workflow-scm-step            2.7      step/2.7/workflow-scm-step.hpi                                MIT                 plugin/blob/master/pom.xml                                    Pipeline: SCM Step                             Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/blueocean-git-                        https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-git-pipeline       1.14.0   pipeline/1.14.0/blueocean-git-pipeline.hpi                    MIT                 plugin/blob/master/LICENSE.txt                                Git Pipeline for Blue Ocean                    Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/sonar/2.8.1/s                         https://github.com/jenkinsci/sonarqube-
Analytics jenkins plugins   sonar                        2.8.1    onar.hpi                                                      LGPL-3.0-or-later   plugin/blob/master/pom.xml                                    SonarQube Scanner for Jenkins                  Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/custom-job-                           https://github.com/jenkinsci/custom-job-icon-
Analytics jenkins plugins   custom-job-icon              0.2      icon/0.2/custom-job-icon.hpi                                  Apache-2.0          plugin/blob/master/LICENSE.txt                                Custom Job Icon plugin                         Other (provide description) No   Other (provide description) No   No
                                                            19-10971-dsj                             Doc 210                           Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                       Main Document
                                                                                                                                                  Pg 274 of 325
                                                                        https://updates.jenkins.io/download/plugins/job-                              https://github.com/jenkinsci/job-dsl-
Analytics jenkins plugins   job-dsl                         1.71        dsl/1.71/job-dsl.hpi                                      Apache-2.0          plugin/blob/master/LICENSE.txt                                 Job DSL                                         Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/workflow-                         https://github.com/jenkinsci/workflow-cps-
Analytics jenkins plugins   workflow-cps                    2.65        cps/2.65/workflow-cps.hpi                                 MIT                 plugin/blob/master/pom.xml                                     Pipeline: Groovy                                Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/build-                            https://github.com/jenkinsci/build-publisher-
Analytics jenkins plugins   build-publisher                 1.22        publisher/1.22/build-publisher.hpi                        MIT                 plugin/blob/master/license.txt                                 Build-Publisher plugin                          Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/blueocean-                        https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-web                   1.14.0      web/1.14.0/blueocean-web.hpi                              MIT                 plugin/blob/master/LICENSE.txt                                 Web for Blue Ocean                              Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/cloudbees-
                            cloudbees-bitbucket-branch-                 bitbucket-branch-source/2.4.2/cloudbees-bitbucket-                            https://github.com/jenkinsci/bitbucket-branch-source-
Analytics jenkins plugins   source                          2.4.2       branch-source.hpi                                         MIT                 plugin/blob/master/pom.xml                                     Bitbucket Branch Source Plugin                  Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/badge/1.7/ba
Analytics jenkins plugins   badge                           1.7         dge.hpi                                                   MIT                 https://github.com/jenkinsci/badge-plugin/blob/master/pom.xml Badge                                            Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/bouncycastle-                     https://github.com/jenkinsci/bouncycastle-api-
Analytics jenkins plugins   bouncycastle-api                2.17        api/2.17/bouncycastle-api.hpi                             MIT                 plugin/blob/master/pom.xml                                    bouncycastle API Plugin                          Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/jquery-                           https://github.com/jenkinsci/jquery-                          JavaScript GUI Lib: jQuery bundles (jQuery and
Analytics jenkins plugins   jquery-detached                 1.2.1       detached/1.2.1/jquery-detached.hpi                                            detached/blob/master/pom.xml                                  jQuery UI) plugin                                Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/kubernetes/1.                     https://github.com/kubernetes/kubernetes/blob/master/LICEN
Analytics jenkins plugins   kubernetes                      1.14.9      14.9/kubernetes.hpi                                       Apache-2.0          SE                                                            Kubernetes plugin                                Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/jdk-                              https://github.com/jenkinsci/jdk-tool-
Analytics jenkins plugins   jdk-tool                        1.2         tool/1.2/jdk-tool.hpi                                     MIT                 plugin/blob/master/pom.xml                                    JDK Tool Plugin                                  Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/windows-                          https://github.com/jenkinsci/windows-slaves-
Analytics jenkins plugins   windows-slaves                  1.4         slaves/1.4/windows-slaves.hpi                             MIT                 plugin/blob/master/pom.xml                                    WMI Windows Agents Plugin                        Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/docker-                           https://github.com/jenkinsci/docker-commons-
Analytics jenkins plugins   docker-commons                  1.14        commons/1.14/docker-commons.hpi                           MIT                 plugin/blob/master/pom.xml                                    Docker Commons Plugin                            Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/github-                           https://github.com/jenkinsci/github-coverage-reporter-
Analytics jenkins plugins   github-coverage-reporter        1.5         coverage-reporter/1.5/github-coverage-reporter.hpi        Apache-2.0          plugin/blob/master/LICENSE                                    GitHub Coverage Reporter                         Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/blueocean-                        https://github.com/jenkinsci/blueocean-autofavorite-
Analytics jenkins plugins   blueocean-autofavorite          1.2.4       autofavorite/1.2.4/blueocean-autofavorite.hpi             MIT                 plugin/blob/master/pom.xml                                    Autofavorite for Blue Ocean                      Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/command-                          https://github.com/jenkinsci/command-launcher-
Analytics jenkins plugins   command-launcher                1.3         launcher/1.3/command-launcher.hpi                         MIT                 plugin/blob/master/pom.xml                                    Command Agent Launcher Plugin                    Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/branch-                           https://github.com/jenkinsci/branch-api-
Analytics jenkins plugins   branch-api                      2.2.0       api/2.2.0/branch-api.hpi                                  MIT                 plugin/blob/master/pom.xml                                    Branch API Plugin                                Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/cloudbees-                        https://github.com/jenkinsci/cloudbees-folder-
Analytics jenkins plugins   cloudbees-folder                6.7         folder/6.7/cloudbees-folder.hpi                           MIT                 plugin/blob/master/pom.xml                                    Folders Plugin                                   Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/azure-                            https://github.com/jenkinsci/azure-commons-
Analytics jenkins plugins   azure-commons                   0.2.10      commons/0.2.10/azure-commons.hpi                          MIT                 plugin/blob/master/pom.xml                                    Azure Commons Plugin                             Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/multiple-                         https://github.com/jenkinsci/multiple-scms-
Analytics jenkins plugins   multiple-scms                   0.6         scms/0.6/multiple-scms.hpi                                MIT                 plugin/blob/master/LICENSE                                    Jenkins Multiple SCMs plugin                     Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/nested-                           https://github.com/jenkinsci/nested-view-
Analytics jenkins plugins   nested-view                     1.17        view/1.17/nested-view.hpi                                                     plugin/blob/master/pom.xml                                    Nested View Plugin                               Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/resource-                         https://github.com/jenkinsci/resource-disposer-
Analytics jenkins plugins   resource-disposer               0.12        disposer/0.12/resource-disposer.hpi                       MIT                 plugin/blob/master/pom.xml                                    Resource Disposer Plugin                         Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/blueocean-                        https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-executor-info         1.14.0      executor-info/1.14.0/blueocean-executor-info.hpi          MIT                 plugin/blob/master/LICENSE.txt                                Blue Ocean Executor Info                         Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/apache-
                            apache-httpcomponents-client-4-             httpcomponents-client-4-api/4.5.5-3.0/apache-                                 https://github.com/jenkinsci/apache-httpcomponents-client-4-   Jenkins Apache HttpComponents Client 4.x API
Analytics jenkins plugins   api                             4.5.5-3.0   httpcomponents-client-4-api.hpi                           MIT                 api-plugin/blob/master/pom.xml                                 Plugin                                          Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/envinject-                        https://github.com/jenkinsci/envinject-api-
Analytics jenkins plugins   envinject-api                   1.5         api/1.5/envinject-api.hpi                                 MIT                 plugin/blob/master/pom.xml                                     EnvInject API Plugin                            Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/uno-                              https://github.com/jenkinsci/active-choices-
Analytics jenkins plugins   uno-choice                      2.1         choice/2.1/uno-choice.hpi                                 MIT                 plugin/blob/master/pom.xml                                     Active Choices Plug-in                          Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/blueocean/1.                      https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean                       1.14.0      14.0/blueocean.hpi                                        MIT                 plugin/blob/master/LICENSE.txt                                 Blue Ocean                                      Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/mailer/1.23/m
Analytics jenkins plugins   mailer                          1.23        ailer.hpi                                                 MIT                 https://github.com/jenkinsci/mailer-plugin/blob/master/pom.xml Jenkins Mailer Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/ldap/1.20/lda
Analytics jenkins plugins   ldap                            1.20        p.hpi                                                     MIT                 https://github.com/jenkinsci/ldap-plugin/blob/master/pom.xml   LDAP Plugin                                     Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/groovy/2.2/gr                     https://github.com/jenkinsci/groovy-
Analytics jenkins plugins   groovy                          2.2         oovy.hpi                                                  MIT                 plugin/blob/master/license.txt                                 Groovy                                          Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/blueocean-                        https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-github-pipeline       1.14.0      github-pipeline/1.14.0/blueocean-github-pipeline.hpi      MIT                 plugin/blob/master/LICENSE.txt                                 GitHub Pipeline for Blue Ocean                  Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/groovy-                           https://github.com/jenkinsci/groovy-postbuild-
Analytics jenkins plugins   groovy-postbuild                2.4.3       postbuild/2.4.3/groovy-postbuild.hpi                      MIT                 plugin/blob/master/pom.xml                                     Groovy Postbuild                                Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/configuration                     https://github.com/jenkinsci/configurationslicing-
Analytics jenkins plugins   configurationslicing            1.47        slicing/1.47/configurationslicing.hpi                                         plugin/blob/master/pom.xml                                     Configuration Slicing plugin                    Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/cors-                             https://github.com/jenkinsci/cors-filter-
Analytics jenkins plugins   cors-filter                     1.1         filter/1.1/cors-filter.hpi                                MIT                 plugin/blob/master/pom.xml                                     CORS support for Jenkins                        Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/last-                             https://github.com/jenkinsci/last-changes-
Analytics jenkins plugins   last-changes                    2.7.0       changes/2.7.0/last-changes.hpi                            MIT                 plugin/blob/master/pom.xml                                     Last Changes Plugin                             Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/build-name-                       https://github.com/jenkinsci/build-name-setter-
Analytics jenkins plugins   build-name-setter               1.7.1       setter/1.7.1/build-name-setter.hpi                                            plugin/blob/master/pom.xml                                     Build Name Setter                               Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/blueocean-                        https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-core-js               1.14.0      core-js/1.14.0/blueocean-core-js.hpi                      MIT                 plugin/blob/master/LICENSE.txt                                 Blue Ocean Core JS                              Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/analysis-                         https://github.com/jenkinsci/analysis-core-
Analytics jenkins plugins   analysis-core                   1.95        core/1.95/analysis-core.hpi                               MIT                 plugin/blob/master/License.txt                                 Static Analysis Utilities                       Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/blueocean-                        https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-events                1.14.0      events/1.14.0/blueocean-events.hpi                        MIT                 plugin/blob/master/LICENSE.txt                                 Events API for Blue Ocean                       Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/workflow-                         https://github.com/jenkinsci/workflow-job-
Analytics jenkins plugins   workflow-job                    2.32        job/2.32/workflow-job.hpi                                 MIT                 plugin/blob/master/pom.xml                                     Pipeline: Job                                   Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/pipeline-
                                                                        multibranch-defaults/2.0/pipeline-multibranch-                                https://github.com/jenkinsci/pipeline-multibranch-defaults-
Analytics jenkins plugins   pipeline-multibranch-defaults   2.0         defaults.hpi                                              MIT                 plugin/blob/master/LICENSE                                     Pipeline: Multibranch with defaults             Other (provide description) No   Other (provide description) No   No
                                                                                                                                                      https://github.com/jenkinsci/ivy-
Analytics jenkins plugins   ivy                             2.0         https://updates.jenkins.io/download/plugins/ivy/2.0/ivy.hpi MIT, Apache-2.0   plugin/blob/master/LICENSE.txt                                 Ivy Plugin                                      Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/build-blocker-                    https://github.com/jenkinsci/build-blocker-
Analytics jenkins plugins   build-blocker-plugin            1.7.3       plugin/1.7.3/build-blocker-plugin.hpi                       MIT               plugin/blob/master/pom.xml                                     Build Blocker Plugin                            Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/pipeline-input-                   https://github.com/jenkinsci/pipeline-input-step-
Analytics jenkins plugins   pipeline-input-step             2.10        step/2.10/pipeline-input-step.hpi                           MIT               plugin/blob/master/pom.xml                                     Pipeline: Input Step                            Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/text-finder-                      https://github.com/jenkinsci/text-finder-run-condition-
Analytics jenkins plugins   text-finder-run-condition       0.1         run-condition/0.1/text-finder-run-condition.hpi             MIT               plugin/blob/master/pom.xml                                     Text Finder Run Condition Plugin                Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/publish-                          https://github.com/jenkinsci/publish-over-
Analytics jenkins plugins   publish-over                    0.22        over/0.22/publish-over.hpi                                  MIT               plugin/blob/master/pom.xml                                     Infrastructure plugin for Publish Over X        Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/pipeline-build-                   https://github.com/jenkinsci/pipeline-build-step-
Analytics jenkins plugins   pipeline-build-step             2.8         step/2.8/pipeline-build-step.hpi                            MIT               plugin/blob/master/pom.xml                                     Pipeline: Build Step                            Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/dashboard-                        https://github.com/jenkinsci/dashboard-view-
Analytics jenkins plugins   dashboard-view                  2.10        view/2.10/dashboard-view.hpi                                MIT               plugin/blob/master/pom.xml                                     Dashboard View                                  Other (provide description) No   Other (provide description) No   No
                                                                        https://updates.jenkins.io/download/plugins/publish-over-                     https://github.com/jenkinsci/publish-over-ssh-
Analytics jenkins plugins   publish-over-ssh                1.20.1      ssh/1.20.1/publish-over-ssh.hpi                             MIT               plugin/blob/master/pom.xml                                     Publish Over SSH                                Other (provide description) No   Other (provide description) No   No
                                                            19-10971-dsj                                Doc 210                             Filed 06/03/19 Entered 06/03/19 14:17:12                                                                               Main Document
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                                                                           https://updates.jenkins.io/download/plugins/git/3.9.3/git.h
Analytics jenkins plugins   git                             3.9.3          pi                                                          MIT          https://github.com/jenkinsci/git-plugin/blob/master/pom.xml     Jenkins Git plugin                            Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/javadoc/1.5/ja               https://github.com/jenkinsci/javadoc-
Analytics jenkins plugins   javadoc                         1.5            vadoc.hpi                                                   MIT          plugin/blob/master/pom.xml                                      Javadoc Plugin                                Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/progress-bar-                https://github.com/jenkinsci/progress-bar-column-
Analytics jenkins plugins   progress-bar-column-plugin      1.0            column-plugin/1.0/progress-bar-column-plugin.hpi            MIT          plugin/blob/master/pom.xml                                      Progress Bar Column Plugin                    Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/disk-                        https://github.com/jenkinsci/disk-usage-
Analytics jenkins plugins   disk-usage                      0.28           usage/0.28/disk-usage.hpi                                   MIT          plugin/blob/master/license.txt                                  Jenkins disk-usage plugin                     Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/slack/2.20/sla
Analytics jenkins plugins   slack                           2.20           ck.hpi                                                      MIT          https://github.com/jenkinsci/slack-plugin/blob/master/pom.xml   Slack Notification Plugin                     Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/antisamy-                    https://github.com/jenkinsci/antisamy-markup-formatter-
Analytics jenkins plugins   antisamy-markup-formatter       1.5            markup-formatter/1.5/antisamy-markup-formatter.hpi          MIT          plugin/blob/master/pom.xml                                      OWASP Markup Formatter Plugin                 Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/metrics-                     https://github.com/jenkinsci/metrics-diskusage-
Analytics jenkins plugins   metrics-diskusage               3.0.0          diskusage/3.0.0/metrics-diskusage.hpi                       MIT          plugin/blob/master/LICENSE.md                                   Metrics Disk Usage Plugin                     Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/kubernetes-                  https://github.com/jenkinsci/kubernetes-credentials-
Analytics jenkins plugins   kubernetes-credentials          0.4.0          credentials/0.4.0/kubernetes-credentials.hpi                Apache-2.0   plugin/blob/master/LICENSE                                      Kubernetes Credentials Plugin                 Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/handy-uri-                   https://github.com/jenkinsci/handy-uri-templates-2-api-
Analytics jenkins plugins   handy-uri-templates-2-api       2.1.7-1.0      templates-2-api/2.1.7-1.0/handy-uri-templates-2-api.hpi MIT              plugin/blob/master/LICENSE                                      Handy Uri Templates 2.x API Plugin            Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/cucumber/0.0                 https://github.com/jenkinsci/cucumber-reports-
Analytics jenkins plugins   cucumber                        0.0.2          .2/cucumber.hpi                                             LGPL-2.1     plugin/blob/master/LICENCE                                      Cucumber Plugin                               Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/cobertura/1.1                https://github.com/jenkinsci/cobertura-
Analytics jenkins plugins   cobertura                       1.13           3/cobertura.hpi                                             MIT          plugin/blob/master/pom.xml                                      Jenkins Cobertura Plugin                      Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/built-on-                    https://github.com/jenkinsci/builton-column-
Analytics jenkins plugins   built-on-column                 1.1            column/1.1/built-on-column.hpi                                           plugin/blob/master/pom.xml                                      built-on-column                               Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/pipeline-                    https://github.com/jenkinsci/pipeline-aggregator-view-
Analytics jenkins plugins   pipeline-aggregator-view        1.8            aggregator-view/1.8/pipeline-aggregator-view.hpi            MIT          plugin/blob/master/LICENSE                                      Pipeline Aggregator                           Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/metrics/4.0.2.               https://github.com/jenkinsci/metrics-
Analytics jenkins plugins   metrics                         4.0.2.3        3/metrics.hpi                                               MIT          plugin/blob/master/LICENSE.md                                   Metrics Plugin                                Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/scriptler/2.9/s              https://github.com/jenkinsci/scriptler-
Analytics jenkins plugins   scriptler                       2.9            criptler.hpi                                                MIT          plugin/blob/master/LICENSE                                      Scriptler                                     Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/ssh-                         https://github.com/jenkinsci/ssh-credentials-
Analytics jenkins plugins   ssh-credentials                 1.15           credentials/1.15/ssh-credentials.hpi                        MIT          plugin/blob/master/pom.xml                                      SSH Credentials Plugin                        Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/monitoring/1.                https://github.com/javamelody/javamelody/blob/master/LICEN
Analytics jenkins plugins   monitoring                      1.76.0         76.0/monitoring.hpi                                         Apache-2.0   SE                                                              Monitoring                                    Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/build-                       https://github.com/jenkinsci/build-timeout-
Analytics jenkins plugins   build-timeout                   1.19           timeout/1.19/build-timeout.hpi                              MIT          plugin/blob/master/pom.xml                                      Build Timeout                                 Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/pipeline-                    https://github.com/jenkinsci/pipeline-graph-analysis-
Analytics jenkins plugins   pipeline-graph-analysis         1.9            graph-analysis/1.9/pipeline-graph-analysis.hpi              MIT          plugin//blob/master/LICENSE                                     Pipeline Graph Analysis Plugin                Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/workflow-                    https://github.com/jenkinsci/workflow-durable-task-step-
Analytics jenkins plugins   workflow-durable-task-step      2.29           durable-task-step/2.29/workflow-durable-task-step.hpi       MIT          plugin/blob/master/pom.xml                                      Pipeline: Nodes and Processes                 Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/matrix-                      https://github.com/jenkinsci/matrix-auth-
Analytics jenkins plugins   matrix-auth                     2.3            auth/2.3/matrix-auth.hpi                                    MIT          plugin/blob/master/pom.xml                                      Matrix Authorization Strategy Plugin          Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/blueocean-                   https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-personalization       1.14.0         personalization/1.14.0/blueocean-personalization.hpi        MIT          plugin/blob/master/LICENSE.txt                                  Personalization for Blue Ocean                Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/preSCMbuild                  https://github.com/jenkinsci/pre-scm-buildstep-
Analytics jenkins plugins   preSCMbuildstep                 0.3            step/0.3/preSCMbuildstep.hpi                                MIT          plugin/blob/master/license.txt                                  Pre SCM BuildStep Plugin                      Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/sse-                         https://github.com/jenkinsci/sse-gateway-
Analytics jenkins plugins   sse-gateway                     1.17           gateway/1.17/sse-gateway.hpi                                MIT          plugin/blob/master/pom.xml                                      Server Sent Events (SSE) Gateway Plugin       Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/blueocean-                   https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-dashboard             1.14.0         dashboard/1.14.0/blueocean-dashboard.hpi                    MIT          plugin/blob/master/LICENSE.txt                                  Dashboard for Blue Ocean                      Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/credentials/2.               https://github.com/jenkinsci/credentials-
Analytics jenkins plugins   credentials                     2.1.18         1.18/credentials.hpi                                        MIT          plugin/blob/master/pom.xml                                      Credentials Plugin                            Other (provide description) No   Other (provide description) No   No

                                                                           https://updates.jenkins.io/download/plugins/basic-branch-                https://github.com/jenkinsci/basic-branch-build-strategies-
Analytics jenkins plugins   basic-branch-build-strategies   1.2.0          build-strategies/1.2.0/basic-branch-build-strategies.hpi  MIT            plugin/blob/master/pom.xml                                      Basic Branch Build Strategies Plugin          Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/jenkins-                     https://github.com/jenkinsci/tikal-multijob-
Analytics jenkins plugins   jenkins-multijob-plugin         1.32           multijob-plugin/1.32/jenkins-multijob-plugin.hpi          MIT            plugin/blob/master/MIT-LICENSE.txt                              Jenkins Multijob plugin                       Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/parameterize                 https://github.com/jenkinsci/parameterized-trigger-
Analytics jenkins plugins   parameterized-trigger           2.35.2         d-trigger/2.35.2/parameterized-trigger.hpi                MIT            plugin/blob/master/pom.xml                                      Jenkins Parameterized Trigger plugin          Other (provide description) No   Other (provide description) No   No
                                                            1.4.5-
                                                            SNAPSHOT
                                                            (private-
                                                            03/26/2018
                                                            17:36-
                                                            alex.pekurovsk https://updates.jenkins.io/download/plugins/copy-to-                     https://github.com/jenkinsci/copy-to-slave-
Analytics jenkins plugins   copy-to-slave                   y)             slave/1.4.5/copy-to-slave.hpi                            MIT             plugin/blob/master/README.md                                    Copy To Slave Plugin                          Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/pubsub-                      https://github.com/jenkinsci/pubsub-light-
Analytics jenkins plugins   pubsub-light                    1.12           light/1.12/pubsub-light.hpi                                              module/blob/master/pom.xml                                      Jenkins Pub-Sub light Bus                     Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/build-user-                  https://github.com/jenkinsci/build-user-vars-
Analytics jenkins plugins   build-user-vars-plugin          1.5            vars-plugin/1.5/build-user-vars-plugin.hpi               MIT             plugin/blob/master/pom.xml                                      Jenkins user build vars plugin                Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/momentjs/1.1                 https://github.com/jenkinsci/js-
Analytics jenkins plugins   momentjs                        1.1.1          .1/momentjs.hpi                                          MIT             libs/blob/master/momentjs/package.json                          JavaScript GUI Lib: Moment.js bundle plugin   Other (provide description) No   Other (provide description) No   No

                                                                           https://updates.jenkins.io/download/plugins/pipeline-                    https://github.com/jenkinsci/pipeline-dependency-walker-
Analytics jenkins plugins   pipeline-dependency-walker      1.0.0          dependency-walker/1.0.0/pipeline-dependency-walker.hpi MIT               plugin/blob/master/pom.xml                                      Pipeline Dependency Walker Plugin             Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/lockable-                    https://github.com/jenkinsci/lockable-resources-
Analytics jenkins plugins   lockable-resources              2.5            resources/2.5/lockable-resources.hpi                     MIT             plugin/blob/master/pom.xml                                      Lockable Resources plugin                     Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/blueocean-                   https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-pipeline-api-impl     1.14.0         pipeline-api-impl/1.14.0/blueocean-pipeline-api-impl.hpi MIT             plugin/blob/master/LICENSE.txt                                  Pipeline implementation for Blue Ocean        Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/pipeline-                    https://github.com/jenkinsci/pipeline-model-definition-
Analytics jenkins plugins   pipeline-model-api              1.3.7          model-api/1.3.7/pipeline-model-api.hpi                   MIT             plugin/blob/master/pom.xml                                      Pipeline: Model API                           Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/custom-view-                 https://github.com/jenkinsci/custom-view-tabs-
Analytics jenkins plugins   custom-view-tabs                1.3            tabs/1.3/custom-view-tabs.hpi                            Apache-2.0      plugin/blob/master/pom.xml                                      Custom View Tabs Plugin                       Other (provide description) No   Other (provide description) No   No

                                                                           https://updates.jenkins.io/download/plugins/blueocean-                   https://github.com/jenkinsci/blueocean-
Analytics jenkins plugins   blueocean-bitbucket-pipeline    1.14.0         bitbucket-pipeline/1.14.0/blueocean-bitbucket-pipeline.hpi MIT           plugin/blob/master/LICENSE.txt                                  Bitbucket Pipeline for Blue Ocean             Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/scm-                         https://github.com/jenkinsci/scm-api-
Analytics jenkins plugins   scm-api                         2.4.0          api/2.4.0/scm-api.hpi                                      MIT           plugin/blob/master/pom.xml                                      SCM API Plugin                                Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/ruby-
Analytics jenkins plugins   ruby-runtime                    0.12           runtime/0.12/ruby-runtime.hpi                                            https://github.com/jenkinsci/jenkins.rb/blob/master/pom.xml     ruby-runtime                                  Other (provide description) No   Other (provide description) No   No
                                                                           https://updates.jenkins.io/download/plugins/variant/1.2/va               https://github.com/jenkinsci/variant-
Analytics jenkins plugins   variant                         1.2            riant.hpi                                                  MIT           plugin/blob/master/pom.xml                                      Variant Plugin                                Other (provide description) No   Other (provide description) No   No

                                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
ADH rpm packages            MySQL-python                    1.2.5          86_64/Packages/MySQL-python-1.2.5-1.el7.x86_64.rpm GPLv2+                https://github.com/farcepest/MySQLdb1/blob/master/GPL-2.0 An interface to MySQL                               Other (provide description) No   Other (provide description) No   No
                                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
ADH rpm packages            bash                            4.2.46         86_64/Packages/bash-4.2.46-31.el7.x86_64.rpm            GPLv3+           https://www.gnu.org/software/bash/                              The GNU Bourne Again shell                    Other (provide description) No   Other (provide description) No   No
                                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/upd
ADH rpm packages            git                             1.8.3.1        ates/x86_64/Packages/git-1.8.3.1-20.el7.x86_64.rpm      GPLv2            https://github.com/git/git/blob/master/COPYING                  Fast Version Control System                   Other (provide description) No   Other (provide description) No   No
                                              19-10971-dsj                              Doc 210                           Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                     Main Document
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                                                           https://packagecloud.io/grafana/stable/el/7/x86_64/grafan
ADH rpm packages   grafana                    5.2.1        a-5.2.1-1.x86_64.rpm                                       Apache 2.0   https://github.com/grafana/grafana/blob/master/LICENSE       Grafana                                               Other (provide description) No   Other (provide description) No   No
                                                           https://repos.influxdata.com/centos/7/x86_64/stable/influx
ADH rpm packages   influxdb                   1.6.0        db-1.6.0.x86_64.rpm                                        MIT          https://github.com/influxdata/influxdb/blob/master/LICENSE   Distributed time-series database.                     Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/upd
                                                           ates/x86_64/Packages/java-11-openjdk-11.0.3.7-
ADH rpm packages   java-11-openjdk            11.0.ea.28   0.el7_6.x86_64.rpm                                         GPLv2        https://openjdk.java.net/                                    OpenJDK Runtime Environment 11                        Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/upd
                                                           ates/x86_64/Packages/java-11-openjdk-headless-
ADH rpm packages   java-11-openjdk-headless   11.0.ea.28   11.0.3.7-0.el7_6.i686.rpm                                  GPLv2        https://openjdk.java.net/                                    OpenJDK Headless Runtime Environment 11               Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
ADH rpm packages   mariadb                    5.5.56       86_64/Packages/mariadb-5.5.60-1.el7_5.x86_64.rpm           GPLv2        https://github.com/MariaDB/server/blob/10.4/COPYING          A community developed branch of MySQL                 Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
                                                           86_64/Packages/mariadb-server-5.5.60-
ADH rpm packages   mariadb-server             5.5.56       1.el7_5.x86_64.rpm                                         GPLv2        https://github.com/MariaDB/server/blob/10.4/COPYING          The MariaDB server and related files                  Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
ADH rpm packages   mtr                        0.85         86_64/Packages/mtr-0.85-7.el7.x86_64.rpm                   GPLv2+       https://github.com/traviscross/mtr/blob/master/COPYING       A network diagnostic tool                             Other (provide description) No   Other (provide description) No   No

                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
ADH rpm packages   ntp                        4.2.6p5      86_64/Packages/ntp-4.2.6p5-28.el7.centos.x86_64.rpm MIT                 http://www.ntp.org                                           The NTP daemon and utilities                          Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
                                                           86_64/Packages/ntpdate-4.2.6p5-
ADH rpm packages   ntpdate                    4.2.6p5      28.el7.centos.x86_64.rpm                                  MIT           http://www.ntp.org                                           Utility to set the date and time via NTP              Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/upd
                                                           ates/x86_64/Packages/python-2.7.5-                                                                                                   An interpreted, interactive, object-oriented
ADH rpm packages   python                     2.7.5        77.el7_6.x86_64.rpm                                       Python        https://github.com/pypa/setuptools/blob/master/LICENSE       programming language                                  Other (provide description) No   Other (provide description) No   No
                                                           https://download.postgresql.org/pub/repos/yum/10/redhat
                                                           /rhel-7-x86_64/python-psycopg2-2.5.1-
ADH rpm packages   python-psycopg2            2.5.1        1.rhel7.x86_64.rpm                                        LGPLv3        https://github.com/psycopg/psycopg2/blob/master/LICENSE      A PostgreSQL database adapter for Python              Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
                                                           86_64/Packages/screen-4.1.0-                                                                                                         A screen manager that supports multiple logins on
ADH rpm packages   screen                     4.1.0        0.25.20120314git3c2946.el7.x86_64.rpm                     GPLv2+        http://git.savannah.gnu.org/cgit/screen.git/tree/COPYING     one terminal                                       Other (provide description) No      Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x                                                                              Tracks and displays system calls associated with a
ADH rpm packages   strace                     4.12         86_64/Packages/strace-4.12-9.el7.x86_64.rpm               BSD           https://github.com/strace/strace/blob/master/COPYING         running process                                    Other (provide description) No      Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
ADH rpm packages   sudo                       1.8.19p2     86_64/Packages/sudo-1.8.23-3.el7.x86_64.rpm               ISC           https://www.sudo.ws/                                         Allows restricted root access for specified users     Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
ADH rpm packages   sudo                       1.8.23       86_64/Packages/sudo-1.8.23-3.el7.x86_64.rpm               ISC           https://www.sudo.ws/                                         Allows restricted root access for specified users     Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
ADH rpm packages   sysstat                    10.1.5       86_64/Packages/sysstat-10.1.5-17.el7.x86_64.rpm           GPLv2+        https://github.com/sysstat/sysstat/blob/master/COPYING       Collection of performance monitoring tools for Linux Other (provide description) No    Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
ADH rpm packages   tcpdump                    4.9.2        86_64/Packages/tcpdump-4.9.2-3.el7.x86_64.rpm             BSD           https://www.tcpdump.org/license.html                         A network traffic monitoring tool                     Other (provide description) No   Other (provide description) No   No
                                                           https://repos.influxdata.com/centos/7/x86_64/stable/teleg                                                                            Plugin-driven server agent for reporting metrics into
ADH rpm packages   telegraf                   1.7.3        raf-1.7.3-1.x86_64.rpm                                    MIT           https://github.com/influxdata/telegraf/blob/master/LICENSE   InfluxDB.                                             Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
ADH rpm packages   tree                       1.6.0        86_64/Packages/tree-1.6.0-10.el7.x86_64.rpm               GPLv2+        http://mama.indstate.edu/users/ice/tree/                     File system tree viewer                               Other (provide description) No   Other (provide description) No   No

                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
DEX rpm packages   awscli                     1.14.28      86_64/Packages/awscli-1.14.28-5.el7_5.1.noarch.rpm       ASL 2.0        https://github.com/aws/aws-cli/blob/develop/LICENSE.txt      Universal Command Line Environment for AWS            Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
DEX rpm packages   bash                       4.2.46       86_64/Packages/bash-4.2.46-31.el7.x86_64.rpm             GPLv3+         https://www.gnu.org/software/bash/                           The GNU Bourne Again shell                            Other (provide description) No   Other (provide description) No   No
                                                           https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/                https://centos.pkgs.org/7/epel-x86_64/epel-release-7-        Extra Packages for Enterprise Linux repository
DEX rpm packages   epel-release               7            Packages/e/epel-release-7-11.noarch.rpm                  GPLv2          11.noarch.rpm.html                                           configuration                                         Other (provide description) No   Other (provide description) No   No

                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/upd
DEX rpm packages   gcc                        4.8.5        ates/x86_64/Packages/gcc-4.8.5-36.el7_6.2.x86_64.rpm GPLv3+             https://gcc.gnu.org                                          Various compilers (C, C++, Objective-C, Java, ...)    Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/upd
DEX rpm packages   git                        1.8.3.1      ates/x86_64/Packages/git-1.8.3.1-20.el7.x86_64.rpm      GPLv2           https://github.com/git/git/blob/master/COPYING               Fast Version Control System                           Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/upd
                                                           ates/x86_64/Packages/java-11-openjdk-11.0.3.7-
DEX rpm packages   java-11-openjdk            11.0.ea.28   0.el7_6.x86_64.rpm                                      GPLv2           https://openjdk.java.net/                                    OpenJDK Runtime Environment 11                        Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
DEX rpm packages   mtr                        0.85         86_64/Packages/mtr-0.85-7.el7.x86_64.rpm                GPLv2+          https://github.com/traviscross/mtr/blob/master/COPYING       A network diagnostic tool                             Other (provide description) No   Other (provide description) No   No

                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
DEX rpm packages   ntp                        4.2.6p5      86_64/Packages/ntp-4.2.6p5-28.el7.centos.x86_64.rpm MIT                 http://www.ntp.org                                           The NTP daemon and utilities                          Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
                                                           86_64/Packages/ntpdate-4.2.6p5-
DEX rpm packages   ntpdate                    4.2.6p5      28.el7.centos.x86_64.rpm                                 MIT            http://www.ntp.org                                           Utility to set the date and time via NTP              Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/upd
                                                           ates/x86_64/Packages/python-2.7.5-                                                                                                   An interpreted, interactive, object-oriented
DEX rpm packages   python                     2.7.5        77.el7_6.x86_64.rpm                                      Python         https://github.com/python/cpython/blob/master/LICENSE        programming language                                  Other (provide description) No   Other (provide description) No   No
                                                           https://download.postgresql.org/pub/repos/yum/10/redhat
                                                           /rhel-7-x86_64/python-psycopg2-2.5.1-
DEX rpm packages   python-psycopg2            2.5.1        1.rhel7.x86_64.rpm                                       LGPLv3+        https://github.com/psycopg/psycopg2/blob/master/LICENSE      A PostgreSQL database adapter for Python              Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
                                                           86_64/Packages/python-setuptools-0.9.8-
DEX rpm packages   python-setuptools          0.9.8        7.el7.noarch.rpm                                         Python         https://github.com/pypa/setuptools/blob/master/LICENSE       Easily build and distribute Python packages           Other (provide description) No   Other (provide description) No   No
                                                           https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/
DEX rpm packages   python36                   3.6.6        Packages/p/python36-3.6.8-1.el7.x86_64.rpm               Python         https://github.com/python/cpython/blob/master/LICENSE        Interpreter of the Python programming language        Other (provide description) No   Other (provide description) No   No
                                                           https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/                                                                             Libraries and header files needed for Python
DEX rpm packages   python36-devel             3.6.6        Packages/p/python36-devel-3.6.8-1.el7.x86_64.rpm         Python         https://github.com/python/cpython/blob/master/LICENSE        development                                           Other (provide description) No   Other (provide description) No   No
                                                           https://d2lzkl7pfhq30w.cloudfront.net/pub/epel/7/x86_64/                                                                             A tool for installing and managing Python3
DEX rpm packages   python36-pip               8.1.2        Packages/p/python36-pip-8.1.2-8.el7.noarch.rpm           MIT            https://github.com/pypa/pip/blob/master/LICENSE.txt          packages                                              Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
                                                           86_64/Packages/screen-4.1.0-                                                                                                         A screen manager that supports multiple logins on
DEX rpm packages   screen                     4.1.0        0.25.20120314git3c2946.el7.x86_64.rpm                    GPLv2+         http://git.savannah.gnu.org/cgit/screen.git/tree/COPYING     one terminal                                       Other (provide description) No      Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x                                                                              Tracks and displays system calls associated with a
DEX rpm packages   strace                     4.12         86_64/Packages/strace-4.12-9.el7.x86_64.rpm              BSD            https://github.com/strace/strace/blob/master/COPYING         running process                                    Other (provide description) No      Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
DEX rpm packages   sudo                       1.8.23       86_64/Packages/sudo-1.8.23-3.el7.x86_64.rpm              ISC            https://www.sudo.ws/                                         Allows restricted root access for specified users     Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
DEX rpm packages   sysstat                    10.1.5       86_64/Packages/sysstat-10.1.5-17.el7.x86_64.rpm          GPLv2+         https://github.com/sysstat/sysstat/blob/master/COPYING       Collection of performance monitoring tools for Linux Other (provide description) No    Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
DEX rpm packages   tcpdump                    4.9.2        86_64/Packages/tcpdump-4.9.2-3.el7.x86_64.rpm            BSD            https://www.tcpdump.org/license.html                         A network traffic monitoring tool                     Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x
DEX rpm packages   tree                       1.6.0        86_64/Packages/tree-1.6.0-10.el7.x86_64.rpm              GPLv2+         http://mama.indstate.edu/users/ice/tree/                     File system tree viewer                               Other (provide description) No   Other (provide description) No   No
                                                           http://mirrors.advancedhosters.com/centos/7.6.1810/os/x                                                                              Displays where a particular program in your path is
DEX rpm packages   which                      2.20         86_64/Packages/which-2.20-7.el7.x86_64.rpm               GPLv3          http://www.xs4all.nl/~carlo17/which/                         located                                               Other (provide description) No   Other (provide description) No   No
                                             19-10971-dsj                                       Doc 210                       Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                             Main Document
                                                                                                                                         Pg 277 of 325
                                                             https://files.pythonhosted.org/packages/56/fb/b661ae256
                                                             c5e4a5c42859860f59f9a1a0b82fbc481306b30e3c5159d
ADH deployment tools       ansible           2.7.5           519d/ansible-2.7.5.tar.gz                                 GPLv3+           https://github.com/ansible/ansible/blob/devel/COPYING              Ansible is a radically simple IT automation system.    Other (provide description) No   Other (provide description) No     No
                                                             https://files.pythonhosted.org/packages/fd/e9/018223185
                                                             51caa0d62a181ba3b10f0f3757bb1e270da97165bd52db
ADH deployment tools       pipenv            2018.11.26      92776/pipenv-2018.11.26.tar.gz                            MIT              https://github.com/pypa/pipenv/blob/master/LICENSE                 Python Development Workflow for Humans.                Other (provide description) No   Other (provide description) No     No
                                                             https://files.pythonhosted.org/packages/56/fb/b661ae256
                                                             c5e4a5c42859860f59f9a1a0b82fbc481306b30e3c5159d
DEX deployment tools       ansible           2.7.5           519d/ansible-2.7.5.tar.gz                                 GPLv3+           https://github.com/ansible/ansible/blob/devel/COPYING              Ansible is a radically simple IT automation system.    Other (provide description) No   Other (provide description) No     No
                                                             https://files.pythonhosted.org/packages/fd/e9/018223185
                                                             51caa0d62a181ba3b10f0f3757bb1e270da97165bd52db
DEX deployment tools       pipenv            2018.11.26      92776/pipenv-2018.11.26.tar.gz                            MIT              https://github.com/pypa/pipenv/blob/master/LICENSE                 Python Development Workflow for Humans.                Other (provide description) No   Other (provide description) No     No
                                                             https://files.pythonhosted.org/packages/32/28/b14386e0
                                                             2d769100bdeffdc240afd3f1451363c312593cfc539d7b5                                                                                               Universal Command Line Interface for Amazon
DEX deployment tools       awscli            1.16            5a643/awscli-1.16.157.tar.gz                              Apache-2.0       https://github.com/aws/aws-cli/blob/develop/LICENSE.txt            Web Services                                           Other (provide description) No   Other (provide description) No     No
                                                             https://ilgitlab.eyeblaster.com/data-
                                                             explorer/falcon2/blob/develop/playbooks/roles/dex-ingest-                  https://github.com/AnderEnder/ansible-                             Allows to configure S3 events and pass them to
dex/falcon2                s3_event          0.1.0           s3/library/s3_event.py                                    GPLv3            modules/blob/develop/library/s3_event.py                           SNS, SQS or Lambda                                     Other (provide description) No   Other (provide description) Yes    No
                                                             https://download.docker.com/linux/centos/7/x86_64/stabl                                                                                       Pack, ship and run any application as a lightweight
INFRA                      docker-ce         17.09.1-ce      e/Packages/docker-ce-17.09.1.el7.x86_64.rpm               Apache-2.0       https://github.com/moby/moby/blob/master/LICENSE                   container                                              Other (provide description) No   Other (provide description) No     No
                                                                                                                                                                                                               Most advanced repository manager, creating a
                                                             https://bintray.com/jfrog/artifactory/download_file?file_pat                                                                                     single place for teams to manage all their binary
INFRA                      artifactory       3.2.1.1         h=artifactory-3.1.1.1.zip                                    AGPL-V3       https://bintray.com/jfrog/artifactory/jfrog-artifactory-oss-zip/                     artifacts efficiently.               Other (provide description) No   Other (provide description) No     No
                                                             https://packages.cloud.google.com/yum/pool/df7f026762
                                                             a109d02bf92ec559bbeb3f490e8e35885ffc2631042ffcd9                           https://github.com/kubernetes/kubernetes/blob/master/LICEN Command-line utility for administering a Kubernetes
INFRA                      kubeadm           1.9.3           b945ab-kubeadm-1.9.3-0.x86_64.rpm                            Apache-2.0    SE                                                         cluster                                             Other (provide description) No              Other (provide description) No     No
                                                             https://packages.cloud.google.com/yum/pool/eb5480940
                                                             6a7bc73f1996ce669323b65f0846d1830ef04a1e69e66f6                            https://github.com/kubernetes/kubernetes/blob/master/LICEN Command-line utility for interacting with a
INFRA                      kubectl           1.9.3           33a627a7-kubectl-1.9.3-0.x86_64.rpm                          Apache-2.0    SE                                                         Kubernetes cluster.                                            Other (provide description) No   Other (provide description) No     No
                                                             https://packages.cloud.google.com/yum/pool/b59d38d81
                                                             913c58b9b382e4c39a00303d68ece464f5402046f0900e                             https://github.com/kubernetes/kubernetes/blob/master/LICEN
INFRA                      kubelet           1.9.3           70ea106f8-kubelet-1.9.3-0.x86_64.rpm                         Apache-2.0    SE                                                         Container cluster management                                   Other (provide description) No   Other (provide description) No     No
                                                             https://packages.cloud.google.com/yum/pool/fe33057ffe9
                                                             5bfae65e2f269e1b05e99308853176e24a4d027bc082b4                             https://github.com/containernetworking/cni/blob/master/LICEN Binaries required to provision kubernetes container
INFRA                      kubernetes-cni    0.6.0           71a07c0-kubernetes-cni-0.6.0-0.x86_64.rpm                    Apache-2.0    SE                                                           networking                                                   Other (provide description) No   Other (provide description) No     No
                                                                                                                                        https://github.com/kubernetes/kubernetes/blob/master/LICEN
INFRA                      kubernetes        1.9.3           https://packages.cloud.google.com/yum/pool/                Apache-2.0      SE                                                           Kubernetes                                                   Other (provide description) No   Other (provide description) No     No
                                                                                                                                                                                                     Gluster is a software defined distributed storage
                                                             http://mirror.centos.org/centos/7/storage/x86_64/gluster-                  https://github.com/gluster/glusterfs/blob/master/COPYING-    that can scale to several petabytes. It provides
INFRA                      glusterfs         3.12.6          3.12/glusterfs-3.12.6-1.el7.x86_64.rpm                     GPLv2           GPLV2                                                        interfaces for object, block and file storage.               Other (provide description) No   Other (provide description) No     No
                                                             http://mirrors.advancedhosters.com/centos/7.6.1810/extr                                                                                 A highly-available key value store for shared
INFRA                      etcd              3.2.22          as/x86_64/Packages/etcd-3.2.22-1.el7.x86_64.rpm            Apache-2.0      https://github.com/etcd-io/etcd/blob/master/LICENSE          configuration                                                Other (provide description) No   Other (provide description) No     No
                                                             https://repos.influxdata.com/centos/7/x86_64/stable/influx
INFRA                      influxdb          1.4.2-1         db-1.6.4.x86_64.rpm                                        MIT             https://github.com/influxdata/influxdb/blob/master/LICENSE         Distributed time-series database.                      Other (provide description) No   Other (provide description) No     No

                                                             https://releases.hashicorp.com/consul-                                     https://github.com/hashicorp/consul-                               Template rendering, notifier, and supervisor for
INFRA                      consul-template   0.19.4          template/0.19.4/consul-template_0.19.4_linux_amd64.zip MPL-2.0             template/blob/master/LICENSE                                       @hashicorp Consul and Vault data                      Other (provide description) No    Other (provide description) No     No
                                                                                                                                                                                                           Carbon is one of the components of Graphite, and
                                                                                                                                                                                                           is responsible for receiving metrics over the network
                                                             https://github.com/graphite-                                               https://github.com/graphite-                                       and writing them down to disk using a storage
INFRA                      graphite-carbon   0.9.16          project/carbon/archive/0.9.16.tar.gz                        Apache-2.0     project/carbon/blob/master/LICENSE                                 backend.                                              Other (provide description) No    Other (provide description) No     No
                                                             https://github.com/graphite-project/graphite-                              https://github.com/graphite-project/graphite-
INFRA                      graphite-web      0.9.16          web/archive/0.9.16.tar.gz                                   Apache-2.0     web/blob/master/LICENSE                                            A highly scalable real-time graphing system            Other (provide description) No   Other (provide description) No     No
                                                             http://artifactory.dev.sizmdx.com:8081/artifactory/general
                                                             Repo/com/sizmek/bigdata/carbon-relay-ng/0.9.4/carbon-                      https://github.com/graphite-ng/carbon-relay-                       Fast carbon relay+aggregator with admin interfaces
INFRA                      carbon-relay-ng   0.9.4           relay-ng-0.9.4-1.x86_64.rpm                                 BSD-2-clause   ng/blob/master/LICENSE                                             for making changes online                          Other (provide description) No       Other (provide description) No     No
                                                             http://artifactory.dev.sizmdx.com:8081/artifactory/general
                                                             Repo/com/sizmek/bigdata//grafana/5.2.1/grafana-5.2.1-
INFRA                      grafana           5.2.1           1.x86_64.rpm                                                Apache 2.0     https://github.com/grafana/grafana/blob/master/LICENSE             Grafana                                                Other (provide description) No   Other (provide description) No     No
                                                             https://github.com/scobal/seyren/releases/download/1.3.0
INFRA                      seyren            1.3.0           /seyren-1.3.0.jar                                           Apache 2.0     https://github.com/scobal/seyren/blob/master/LICENSE               An alerting dashboard for Graphite                     Other (provide description) No   Other (provide description) No     No
                                                             http://mirror.us.leaseweb.net/epel/6/x86_64//Packages/m                    https://github.com/mongodb/mongo/blob/v2.4/GNU-AGPL-
INFRA                      mongodb-server    2.4.14-4        /mongodb-server-2.4.14-4.el6.x86_64.rpm                     AGPLv3         3.0.txt                                                            The MongoDB Database                                   Other (provide description) No   Other (provide description) No     No
                                                             https://download.elastic.co/kibana/kibana/kibana-4.1.1-                                                                                       Kibana analytics and search dashboard for
INFRA                      kibana            4.1.11          linux-x64.tar.gz                                            Apache-2.0     https://github.com/elastic/kibana/blob/master/LICENSE.txt          Elasticsearch                                          Other (provide description) No   Other (provide description) No     No
                                                             http://packages.elastic.co/elasticsearch/1.7/centos/elastic                https://www.elastic.co/guide/en/elastic-stack-                      Elasticsearch is a distributed RESTful search
INFRA                      elasticsearch     1.7.6           search-1.7.6.noarch.rpm                                     Apache-2.0     overview/current/license-management.html                           engine built for the cloud                             Other (provide description) No   Other (provide description) No     No
                                                             http://artifactory.dev.sizmdx.com:8081/artifactory/general
                                                             Repo/com/sizmek/bigdata/logstash/1.5.6/logstash-1.5.6-                                                                                        Logstash - transport and process your logs, events,
INFRA                      logstash          1.5.6           1.noarch.rpm                                                Apache-2.0     https://github.com/elastic/logstash/blob/master/LICENSE.txt        or other data                                       Other (provide description) No      Other (provide description) No     No
                                                             https://mirror.layeronline.com/epel/7/x86_64/Packages/r/r                                                                                     Redis is an in-memory database that persists on
INFRA                      redis             3.2.12          edis-3.2.12-2.el7.x86_64.rpm                                BSD 3-Clause   https://github.com/antirez/redis/blob/unstable/COPYING             disk.                                               Other (provide description) No      Other (provide description) No     No

                                                                                                                                                                                                    GitLab Community Edition (CE) is an open source
                                                                                                                                                                                                    end-to-end software development platform with built-
                                                                                                                                                                                                    in version control, issue tracking, code review,
                                                             https://packages.gitlab.com/gitlab/gitlab-                                                                                             CI/CD, and more. Self-host GitLab CE on your own
INFRA                      gitlab            10.7.3          ce/packages/el/7/gitlab-ce-10.7.3-ce.0.el7.x86_64.rpm      MIT             https://gitlab.com/gitlab-org/gitlab-ce/blob/master/LICENSE servers, in a container, or on a cloud provider.        Other (provide description)      No    Other (provide description)   No   No
mdx3/jenkinsscripts        boto3             1.9.146         https://pypi.org/project/boto3/                            Apache-2.0      https://github.com/boto/boto3/blob/develop/LICENSE          AWS SDK for Python                                      Dev/Build/Test                   No    Dynamic Link                  No   No
mdx3/jenkinsscripts        pytz                         2019 https://pypi.org/project/pytz/                             MIT             https://pythonhosted.org/pytz/#license                      World Timezone Definitions for Python                   Dev/Build/Test                   No    Dynamic Link                  No   No
mdx3/jenkinsscripts        termcolor         1.1.0           https://pypi.org/project/termcolor/                        MIT             https://pypi.org/project/termcolor/                         ANSII Color formatting for output in terminal.          Dev/Build/Test                   No    Dynamic Link                  No   No
mdx3/jenkinsscripts        paramiko          2.4.2           https://pypi.org/project/paramiko/                         LGPL-2.1-only   https://github.com/paramiko/paramiko/blob/master/LICENSE Library for making SSH2 connections                        Dev/Build/Test                   No    Dynamic Link                  No   No
                                                                                                                                        https://github.com/kennethreitz/requests/blob/master/LICENS Allows you to send organic, grass-fed HTTP/1.1
mdx3/jenkinsscripts        requests          2.21.0          https://pypi.org/project/requests/                         Apache-2.0      E                                                           requests                                                Dev/Build/Test                   No    Dynamic Link                  No   No
                                                                                                                                                                                                    A fast, pure Python library for parsing and
mdx3/jpythonhealthchecks   asn1crypto        0.24.0          https://pypi.org/project/asn1crypto/                       MIT             https://github.com/wbond/asn1crypto/blob/master/LICENSE serializing ASN.1 structures                                Dev/Build/Test                   No    Dynamic Link                  No   No
                                                                                                                                                                                                    Good password hashing for your software and your
mdx3/jpythonhealthchecks   bcrypt            3.1.6           https://pypi.org/project/bcrypt/                           Apache-2.0      https://github.com/pyca/bcrypt/blob/master/LICENSE          servers                                                 Dev/Build/Test                   No    Dynamic Link                  No   No
                                                                                                                                                                                                    Boto is a Python package that provides interfaces to
mdx3/jpythonhealthchecks   boto              2.49.0          https://pypi.org/project/boto/                             MIT             https://github.com/boto/boto/blob/develop/LICENSE           Amazon Web Services                                     Dev/Build/Test                   No    Dynamic Link                  No   No
mdx3/jpythonhealthchecks   boto3             1.9.145         https://pypi.org/project/boto3/                            Apache-2.0      https://github.com/boto/boto3/blob/develop/LICENSE          AWS SDK for Python                                      Dev/Build/Test                   No    Dynamic Link                  No   No
                                                                                                                                                                                                    A low-level interface to a growing number of
mdx3/jpythonhealthchecks   botocore          1.12.145        https://pypi.org/project/botocore/                         Apache-2.0      https://github.com/boto/botocore/blob/develop/LICENSE.txt   Amazon Web Services                                     Dev/Build/Test                   No    Dynamic Link                  No   No
                                                                                                                                        https://github.com/agronholm/pythonfutures/blob/master/LICE Provides a high-level interface for asynchronously
mdx3/jpythonhealthchecks   futures           3.2.0           https://pypi.org/project/futures/                          Python-2.0      NSE                                                         executing callables                                     Dev/Build/Test                   No    Dynamic Link                  No   No
mdx3/jpythonhealthchecks   paramiko          2.4.2           https://pypi.org/project/paramiko/                         LGPL-2.1-only   https://github.com/paramiko/paramiko/blob/master/LICENSE Library for making SSH2 connections                        Dev/Build/Test                   No    Dynamic Link                  No   No
                                                                                                                                                                                                    Polling is a powerful python utility used to wait for a
mdx3/jpythonhealthchecks   polling           0.3.0           https://pypi.org/project/polling/                          MIT             https://github.com/justiniso/polling/blob/master/LICENSE.md function to return a certain expected condition         Dev/Build/Test                   No    Dynamic Link                  No   No
                                              19-10971-dsj                                   Doc 210                    Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                                    Main Document
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mdx3/jpythonhealthchecks   pyfiglet           0.8.post1   https://pypi.org/project/pyfiglet/                    MIT                        https://github.com/pwaller/pyfiglet/blob/master/LICENSE     It takes ASCII text and renders it in ASCII art fonts       Dev/Build/Test             No    Dynamic Link               No    No
                                                                                                                                           https://github.com/cablehead/python-
mdx3/jpythonhealthchecks   python-consul      1.1.0       https://pypi.org/project/python-consul/               MIT                        consul/blob/master/LICENSE                                  Python client for Consul.io                                 Dev/Build/Test             No    Dynamic Link               No    No
mdx3/jpythonhealthchecks   python-dateutil    2.8.0       https://pypi.org/project/python-dateutil/             Apache-2.0                 https://github.com/dateutil/dateutil/blob/master/LICENSE    Powerful extensions to datetime                             Dev/Build/Test             No    Dynamic Link               No    No
                                                                                                                                           https://github.com/python-gitlab/python-
mdx3/jpythonhealthchecks   python-gitlab      1.8.0       https://pypi.org/project/python-gitlab/               LGPL-3.0-only              gitlab/blob/master/COPYING                                  Package providing access to the GitLab server API           Dev/Build/Test             No    Dynamic Link               No    No
                                                                                                                                           https://github.com/kennethreitz/requests/blob/master/LICENS Allows you to send organic, grass-fed HTTP/1.1
mdx3/jpythonhealthchecks   requests           2.21.0      https://pypi.org/project/requests/                    Apache-2.0                 E                                                           requests                                                    Dev/Build/Test             No    Dynamic Link               No    No
                                                                                                                                           https://github.com/simplejson/simplejson/blob/master/LICENS Simple, fast, complete, correct and extensible
mdx3/jpythonhealthchecks   simplejson         3.16.0      https://pypi.org/project/simplejson/                  MIT, AFL-2.1, Python-2.0   E.txt                                                       JSON <http://json.org> encoder and decoder                  Dev/Build/Test             No    Dynamic Link               No    No
mdx3/jpythonhealthchecks   six                1.12.0      https://pypi.org/project/six/                         MIT                        https://github.com/benjaminp/six/blob/master/LICENSE        Six is a Python 2 and 3 compatibility library               Dev/Build/Test             No    Dynamic Link               No    No
mdx3/jpythonhealthchecks   termcolor          1.1.0       https://pypi.org/project/termcolor/                   MIT                        https://pypi.org/project/termcolor/                         ANSII Color formatting for output in terminal.              Dev/Build/Test             No    Dynamic Link               No    No
mdx3/jpythonhealthchecks   urllib3            1.24.3      https://pypi.org/project/urllib3/                     MIT                        https://github.com/urllib3/urllib3/blob/master/LICENSE.txt  powerful, sanity-friendly HTTP client for Python            Dev/Build/Test             No    Dynamic Link               No    No
                                                                                                                                           https://github.com/kubernetes-
mdx3/docker                kubernetes         6.0.0       https://pypi.org/project/kubernetes/                  Apache-2.0                 client/python/blob/master/LICENSE                           Python client for kubernetes http://kubernetes.io/          Dev/Build/Test             No    Dynamic Link               No    No
                                                                                                                                                                                                       Polling is a powerful python utility used to wait for a
mdx3/docker                polling            0.3.0       https://pypi.org/project/polling/                     MIT                        https://github.com/justiniso/polling/blob/master/LICENSE.md function to return a certain expected condition             Dev/Build/Test             No    Dynamic Link               No    No
mdx3/docker                python-dateutil    2.8.0       https://pypi.org/project/python-dateutil/             Apache-2.0                 https://github.com/dateutil/dateutil/blob/master/LICENSE    Powerful extensions to datetime                             Dev/Build/Test             No    Dynamic Link               No    No
                                                                                                                                           https://github.com/kennethreitz/requests/blob/master/LICENS Allows you to send organic, grass-fed HTTP/1.1
mdx3/docker                requests           2.19.1      https://pypi.org/project/requests/                    Apache-2.0                 E                                                           requests                                                    Dev/Build/Test             No    Dynamic Link               No    No
mdx3/docker                termcolor          1.1.0       https://pypi.org/project/termcolor/                   MIT                        https://pypi.org/project/termcolor/                         ANSII Color formatting for output in terminal.              Dev/Build/Test             No    Dynamic Link               No    No
MDXPuppet/puppet-module-
awss3cli                   awscli             1.16.156    https://pypi.org/project/awscli/                      Apache-2.0                 https://github.com/aws/aws-cli/blob/develop/LICENSE.txt         Universal Command Line Environment for AWS              Dev/Build/Test             No    Dynamic Link               No    No
MDXPuppet/puppet-module-                                                                                                                   https://github.com/couchbase/couchbase-python-
couchbase                  couchbase_python   2.5.4       https://pypi.org/project/couchbase/                   Apache-2.0                 client/blob/master/LICENSE                                      Couchbase Python Client                                 Dev/Build/Test             No    Dynamic Link               No    No
MDXPuppet/puppet-module-                                                                                                                   https://github.com/python-                                      Python daemon that collects system metrics and
base                       diamond            4.0.515     https://pypi.org/project/diamond/                     MIT                        diamond/Diamond/blob/master/LICENSE                             publishes them to Graphite                              Dev/Build/Test             No    Dynamic Link               No    No
MDXPuppet/puppet-module-
base                       statsd             3.3.0       https://pypi.org/project/statsd/                      MIT                        https://github.com/jsocol/pystatsd/blob/master/LICENSE          Friendly front-end to Graphite                          Dev/Build/Test             No    Dynamic Link               No    No
MDXPuppet/puppet-module-
base                       awscli             1.16.156    https://pypi.org/project/awscli/                      Apache-2.0                 https://github.com/aws/aws-cli/blob/develop/LICENSE.txt         Universal Command Line Environment for AWS              Dev/Build/Test             No    Dynamic Link               No    No
MDXPuppet/puppet-module-                                                                                                                   https://github.com/pycontribs/jenkinsapi/blob/master/license.tx A Python API for accessing resources on a Jenkins
jenkinsslave               jenkinsapi         0.3.9       https://pypi.org/project/jenkinsapi/                  MIT                        t                                                               continuous-integration server                           Dev/Build/Test             No    Dynamic Link               No    No
MDXPuppet/puppet-module-                                                                                                                   https://github.com/adamchainz/ec2-                              An easy interface to query the EC2 metadata API,
jenkinsslave               ec2-metadata       2.0.0       https://pypi.org/project/ec2-metadata/                ISC                        metadata/blob/master/LICENSE                                    with caching                                            Dev/Build/Test             No    Dynamic Link               No    No
MDXPuppet/puppet-module-                                                                                                                   https://github.com/simplejson/simplejson/blob/master/LICENS Simple, fast, complete, correct and extensible
jenkinsslave               simplejson         3.16.0      https://pypi.org/project/simplejson/                  MIT, AFL-2.1, Python-2.0   E.txt                                                           JSON <http://json.org> encoder and decoder              Dev/Build/Test             No    Dynamic Link               No    No
MDXPuppet/puppet-module-                                                                                                                                                                                   Polling is a powerful python utility used to wait for a
jenkinsslave               polling            0.3.0       https://pypi.org/project/polling/                     MIT                        https://github.com/justiniso/polling/blob/master/LICENSE.md function to return a certain expected condition             Dev/Build/Test             No    Dynamic Link               No    No
MDXPuppet/puppet-module-
jenkinsslave               pyfiglet           0.8.post1   https://pypi.org/project/pyfiglet/                    MIT                        https://github.com/pwaller/pyfiglet/blob/master/LICENSE         It takes ASCII text and renders it in ASCII art fonts   Dev/Build/Test             No    Dynamic Link               No    No
MDXPuppet/puppet-module-                                                                                                                   https://github.com/cablehead/python-
jenkinsslave               python-consul      1.1.0       https://pypi.org/project/python-consul/               MIT                        consul/blob/master/LICENSE                                      Python client for Consul (http://www.consul.io/)        Dev/Build/Test             No    Dynamic Link               No    No
MDXPuppet/puppet-module-                                                                                                                   https://github.com/ParallelSSH/parallel-
jenkinsslave               parallel-ssh       1.9.1       https://pypi.org/project/parallel-ssh/                LGPL-2.0-only              ssh/blob/master/LICENSE.txt                                     Asynchronous parallel SSH library                       Dev/Build/Test             No    Dynamic Link               No    No
MDXPuppet/puppet-module-                                                                                                                   https://github.com/kubernetes-
jenkinsslave               kubernetes         6.0.0       https://pypi.org/project/kubernetes/                  Apache-2.0                 client/python/blob/master/LICENSE                               Python client for kubernetes http://kubernetes.io/      Dev/Build/Test             No    Dynamic Link               No    No
MDXPuppet/puppet-module-                                                                                                                   https://github.com/python-gitlab/python-
jenkinsslave               python-gitlab      1.8.0       https://pypi.org/project/python-gitlab/               LGPL-3.0-only              gitlab/blob/master/COPYING                                      Interact with GitLab API                             Dev/Build/Test                No    Dynamic Link               No    No
MDXPuppet/puppet-module-                                                                                                                                                                                   Boto is a Python package that provides interfaces to
consulserver               boto               2.40.0      https://pypi.org/project/boto/                        MIT                        https://github.com/boto/boto/blob/develop/LICENSE               Amazon Web Services                                  Dev/Build/Test                No    Dynamic Link               No    No
MDXPuppet/puppet-module-
ec2tagfacts                awscli             1.16.156    https://pypi.org/project/awscli/                      Apache-2.0                 https://github.com/aws/aws-cli/blob/develop/LICENSE.txt         Universal Command Line Environment for AWS           Dev/Build/Test                No    Dynamic Link               No    No
MDXPuppet/puppet-module-                                                                                                                                                                                   Boto is a Python package that provides interfaces to
zookeeper                  boto               2.49.0      https://pypi.org/project/boto/                        MIT                        https://github.com/boto/boto/blob/develop/LICENSE               Amazon Web Services                                  Dev/Build/Test                No    Dynamic Link               No    No
MDXPuppet/puppet-module-
awscliconfig               awscli             1.16.156    https://pypi.org/project/awscli/                      Apache-2.0                 https://github.com/aws/aws-cli/blob/develop/LICENSE.txt         Universal Command Line Environment for AWS              Dev/Build/Test             No    Dynamic Link               No    No

                                                          http://repos-
                                                          va.psychz.net/centos/7.6.1810/os/x86_64/Packag                                   https://github.com/scop/bash-
Analytics RPM Packages     bash-completion    2.1         es/bash-completion-2.1-6.el7.noarch.rpm        GPLv2+                            completion/blob/master/COPYING                                  Programmable completion for Bash                        Other (provide description) No   Other (provide description) No   No
                                                          http://repos-
                                                          va.psychz.net/centos/7.6.1810/updates/x86_64/P                                   https://github.com/tigeli/bind-utils/blob/master/contrib/zkt-
Analytics RPM Packages     bind-utils         9.9.4       ackages/bind-utils-9.9.4-73.el7_6.x86_64.rpm   ISC                               1.1.3/LICENSE                                                   Utilities for querying DNS name servers         Other (provide description) No           Other (provide description) No   No
                                                          http://mirrors.advancedhosters.com/centos/7.6.1810/os/x                                                                                          A utility for getting files from remote servers
Analytics RPM Packages     curl               7.29.0      86_64/Packages/curl-7.29.0-51.el7.x86_64.rpm            MIT                      https://curl.haxx.se/docs/copyright.html                        (FTP, HTTP, and others)                         Other (provide description) No           Other (provide description) No   No
                                                          http://repos-
                                                          va.psychz.net/centos/7.6.1810/updates/x86_64/P                            https://archlinux.pkgs.org/rolling/archlinux-extra-x86_64/git-
Analytics RPM Packages     git                1.8.3.1     ackages/git-1.8.3.1-20.el7.x86_64.rpm           GPLv2                     2.21.0-1-x86_64.pkg.tar.xz.html                                Fast Version Control System                 Other (provide description) No                       Other (provide description) No   No
                                                          http://mirror.cogentco.com/pub/linux/epel/7/x86                           https://github.com/sund/puppet-
Analytics RPM Packages     htop               2.2.0       _64/Packages/h/htop-2.2.0-3.el7.x86_64.rpm      GPLv2+                    htop/blob/master/LICENSE                                       Interactive process viewer                  Other (provide description) No                       Other (provide description) No   No
                                                          http://mirror.cogentco.com/pub/linux/epel/7/x86
                                                          _64/Packages/i/iftop-1.0-                                                                                                                Command line tool that displays bandwidth
Analytics RPM Packages     iftop              1           0.14.pre4.el7.x86_64.rpm                        GPLv2+                    https://github.com/soarpenguin/iftop/blob/master/COPYING       usage on an interface                       Other (provide description) No                       Other (provide description) No   No
                                                          http://mirror.cogentco.com/pub/linux/epel/7/x86 MIT and ASL 2.0 and CC-BY
Analytics RPM Packages     jq                 1.5         _64/Packages/j/jq-1.5-1.el7.x86_64.rpm          and GPLv3                 https://github.com/stedolan/jq/blob/master/COPYING             Command-line JSON processor                 Other (provide description) No                       Other (provide description) No   No
                                                          http://repos-
                                                          va.psychz.net/centos/7.6.1810/updates/x86_64/P
                                                          ackages/tomcat-servlet-3.0-api-7.0.76-                                    https://github.com/MidnightCommander/mc/blob/master/doc/C User-friendly text console file manager and
Analytics RPM Packages     mc                 4.8.7       9.el7_6.noarch.rpm                              GPLv3+                    OPYING                                                         visual shell                                Other (provide description) No                       Other (provide description) No   No
                                                          http://repos-
                                                          va.psychz.net/centos/7.6.1810/os/x86_64/Packag
Analytics RPM Packages     mlocate            0.26        es/mlocate-0.26-8.el7.x86_64.rpm                GPLv2                     https://pagure.io/mlocate/blob/master/f/COPYING                An utility for finding files by name        Other (provide description) No                       Other (provide description) No   No
                                                          http://repos-
                                                          va.psychz.net/centos/7.6.1810/os/x86_64/Packag
Analytics RPM Packages     nano               2.3.1       es/nano-2.3.1-10.el7.x86_64.rpm                 GPLv3+                    https://developers.nano.org/docs/licensing/                    A small text editor                         Other (provide description) No                       Other (provide description) No   No
                                                          http://mirror.cogentco.com/pub/linux/epel/7/x86
Analytics RPM Packages     ncdu               1.14        _64/Packages/n/ncdu-1.14-1.el7.x86_64.rpm       MIT                       https://pagure.io/mlocate/blob/master/f/COPYING                Text-based disk usage viewer                Other (provide description) No                       Other (provide description) No   No
                                                          http://mirror.cogentco.com/pub/linux/centos/7.6
                                                          .1810/os/x86_64/Packages/slf4j-1.7.4-                                                                                                    Joke command for when you type 'sl' instead
Analytics RPM Packages     sl                 5.02        4.el7_4.noarch.rpm                              Copyright only            https://github.com/mtoyoda/sl/blob/master/LICENSE              of 'ls'                                     Other (provide description) No                       Other (provide description) No   No
                                                       19-10971-dsj                                 Doc 210                           Filed 06/03/19 Entered 06/03/19 14:17:12                                                                                Main Document
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                                                                       http://repos-
                                                                       va.psychz.net/centos/7.6.1810/os/x86_64/Packag
Analytics RPM Packages      tcpdump                    4.9.2           es/tcpdump-4.9.2-3.el7.x86_64.rpm              BSD with advertising          https://www.tcpdump.org/license.html                    A network traffic monitoring tool                Other (provide description) No   Other (provide description) No   No
                                                                       http://repos-
                                                                       va.psychz.net/centos/7.6.1810/os/x86_64/Packag                               https://centos.pkgs.org/7/centos-x86_64/telnet-0.17-    The client program for the Telnet remote
Analytics RPM Packages      telnet                     0.17            es/telnet-0.17-64.el7.x86_64.rpm               BSD                           64.el7.x86_64.rpm.html                                  login protocol                                   Other (provide description) No   Other (provide description) No   No
                                                                       http://repos-
                                                                       va.psychz.net/centos/7.6.1810/os/x86_64/Packag
Analytics RPM Packages      tmux                       1.8             es/tmux-1.8-4.el7.x86_64.rpm                   ISC and BSD                   https://github.com/tmux/tmux/blob/master/logo/LICENSE   A terminal multiplexer                           Other (provide description) No   Other (provide description) No   No
                                                                       http://repos-
                                                                       va.psychz.net/centos/7.6.1810/os/x86_64/Packag
Analytics RPM Packages      tree                       1.6.0           es/tree-1.6.0-10.el7.x86_64.rpm                GPLv2+                        http://mama.indstate.edu/users/ice/tree/                File system tree viewer                          Other (provide description) No   Other (provide description) No   No
                                                                       http://repos-
                                                                       va.psychz.net/centos/7.6.1810/os/x86_64/Packag
Analytics RPM Packages      unzip                      6               es/unzip-6.0-19.el7.x86_64.rpm                 BSD                           https://github.com/vipsoft/Unzip/blob/master/LICENSE    A utility for unpacking zip files                Other (provide description) No   Other (provide description) No   No
                                                                       http://repos-
                                                                       va.psychz.net/centos/7.6.1810/os/x86_64/Packag                               https://centos.pkgs.org/7/centos-x86_64/vim-enhanced-   A version of the VIM editor which includes
Analytics RPM Packages      vim-enhanced               7.4.160         es/vim-enhanced-7.4.160-5.el7.x86_64.rpm       Vim                           7.4.160-5.el7.x86_64.rpm.html                           recent enhancements                              Other (provide description) No   Other (provide description) No   No
                                                                       http://repos-
                                                                       va.psychz.net/centos/7.6.1810/os/x86_64/Packag                                                                                       A utility for retrieving files using the HTTP or
Analytics RPM Packages      wget                       1.14            es/wget-1.14-18.el7.x86_64.rpm                 GPLv3+                        https://github.com/jay/wget/blob/master/COPYING         FTP protocols                                    Other (provide description) No   Other (provide description) No   No
                                                                       http://repos-
                                                                       va.psychz.net/centos/7.6.1810/os/x86_64/Packag                               https://github.com/rpm-software-management/yum-         Utilities based around the yum package
Analytics RPM Packages      yum-utils                  1.1.31          es/yum-utils-1.1.31-50.el7.noarch.rpm          GPLv2+                        utils/blob/master/COPYING                               manager                                          Other (provide description) No   Other (provide description) No   No
                                                                       http://repos-
                                                                       va.psychz.net/centos/7.6.1810/os/x86_64/Packag                                                                                       A file compression and packaging utility
Analytics RPM Packages      zip                        3               es/zip-3.0-11.el7.x86_64.rpm                   BSD                           http://infozip.sourceforge.net/license.html             compatible with PKZIP                            Other (provide description) No   Other (provide description) No   No
                                                                       http://mirror.cogentco.com/pub/linux/centos/7.6.1810/os/
Analytics RPM Packages      slf4j                      1.7.4           x86_64/Packages/slf4j-1.7.4-4.el7_4.noarch.rpm             MIT and ASL 2.0   https://www.slf4j.org/license.html                      Simple Logging Facade for Java                   Other (provide description) No   Other (provide description) No   No
                                                                                                                                                                                                                                                             Other (provide description) No   Other (provide description) No   No
                                                                       http://public-repo-
                                                                       1.hortonworks.com/ambari/centos7/2.x/updates/
                                                                       2.6.2.0/ambari/ambari-agent-2.6.2.0-             (c) Apache Software
Analytics Ambari Packages   ambari-agent               2.6.2.0         155.x86_64.rpm                                   Foundation                  http://ambari.apache.org/license.html                   Ambari Agent                                     Other (provide description) No   Other (provide description) No   No
                                                                       http://public-repo-
                                                                       1.hortonworks.com/ambari/centos7/2.x/updates/
                                                                       2.6.2.0/ambari/ambari-metrics-collector-2.6.2.0- 2012, Apache Software
Analytics Ambari Packages   ambari-metrics-collector   2.6.2.0         155.x86_64.rpm                                   Foundation                  http://ambari.apache.org/license.html                   Ambari Metrics Assembly                          Other (provide description) No   Other (provide description) No   No
                                                                       http://public-repo-
                                                                       1.hortonworks.com/ambari/centos7/2.x/updates/
                                                                       2.6.2.0/ambari/ambari-metrics-grafana-2.6.2.0- 2012, Apache Software
Analytics Ambari Packages   ambari-metrics-grafana     2.6.2.0         155.x86_64.rpm                                   Foundation                  http://ambari.apache.org/license.html                   Ambari Metrics Assembly                          Other (provide description) No   Other (provide description) No   No
                                                                       http://public-repo-
                                                                       1.hortonworks.com/ambari/centos7/2.x/updates/
                                                                       2.6.2.0/ambari/ambari-metrics-hadoop-sink-       2012, Apache Software
Analytics Ambari Packages   ambari-metrics-hadoop-sink 2.6.2.0         2.6.2.0-155.x86_64.rpm                           Foundation                  http://ambari.apache.org/license.html                   Ambari Metrics Assembly                          Other (provide description) No   Other (provide description) No   No
                                                                       http://public-repo-
                                                                       1.hortonworks.com/ambari/centos7/2.x/updates/
                                                                       2.6.2.0/ambari/ambari-metrics-monitor-2.6.2.0- 2012, Apache Software
Analytics Ambari Packages   ambari-metrics-monitor     2.6.2.0         155.x86_64.rpm                                   Foundation                  http://ambari.apache.org/license.html                   Ambari Metrics Assembly                          Other (provide description) No   Other (provide description) No   No
                                                                       http://public-repo-
                                                                       1.hortonworks.com/ambari/centos7/2.x/updates/
                                                                       2.6.2.0/ambari/ambari-server-2.6.2.0-            (c) Apache Software
Analytics Ambari Packages   ambari-server              2.6.2.0         155.x86_64.rpm                                   Foundation                  http://ambari.apache.org/license.html                   Ambari Server                                    Other (provide description) No   Other (provide description) No   No
                                                                       http://public-repo-
                                                                       1.hortonworks.com/ambari/centos7/2.x/updates/
                                                                       2.6.2.0/ambari/ambari-metrics-hadoop-sink-                                                                                           GNU's bc (a numeric processing language)
Analytics Ambari Packages   bc                         1.06.95         2.6.2.0-155.x86_64.rpm                           GPLv2+                      http://ambari.apache.org/license.html                   and dc (a calculator)                            Other (provide description) No   Other (provide description) No   No
                                                                       http://public-repo-
                                                                       1.hortonworks.com/HDP/centos7/2.x/updates/2.
                                                                       6.5.1100/bigtop-jsvc/bigtop-jsvc-1.0.15-
Analytics Ambari Packages   bigtop-jsvc                1.0.15          53.x86_64.rpm                                    ASL 2.0                     http://ambari.apache.org/license.html                   Application to launch java daemon                Other (provide description) No   Other (provide description) No   No
                                                                       http://public-repo-
                                                                       1.hortonworks.com/HDP/centos7/2.x/updates/2.
                                                                       6.5.0/hadoop/hadoop_2_6_5_0_292-hdfs-                                                                                                Hadoop is a software platform for processing
Analytics Ambari Packages   hadoop_2_6_5_0_292         2.7.3.2.6.5.0   2.7.3.2.6.5.0-292.x86_64.rpm                     Apache License v2.0         http://ambari.apache.org/license.html                   vast amounts of data                         Other (provide description) No       Other (provide description) No   No
                                                                       http://public-repo-
                                                                       1.hortonworks.com/HDP/centos7/2.x/updates/2.
                                                                       6.5.0/hadoop/hadoop_2_6_5_0_292-client-
Analytics Ambari Packages   hadoop_2_6_5_0_292-client 2.7.3.2.6.5.0    2.7.3.2.6.5.0-292.x86_64.rpm                     Apache License v2.0         http://ambari.apache.org/license.html                   Hadoop client side dependencies                  Other (provide description) No   Other (provide description) No   No
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                                                                       1.hortonworks.com/HDP/centos7/2.x/updates/2.
                                                                       6.5.0/hadoop/hadoop_2_6_5_0_292-hdfs-
Analytics Ambari Packages   hadoop_2_6_5_0_292-hdfs    2.7.3.2.6.5.0   2.7.3.2.6.5.0-292.x86_64.rpm                     Apache License v2.0         http://ambari.apache.org/license.html                   The Hadoop Distributed File System               Other (provide description) No   Other (provide description) No   No
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                                                                       1.hortonworks.com/HDP/centos7/2.x/updates/2.
                            hadoop_2_6_5_0_292-                        6.5.0/hadoop/hadoop_2_6_5_0_292-libhdfs-
Analytics Ambari Packages   libhdfs                    2.7.3.2.6.5.0   2.7.3.2.6.5.0-292.x86_64.rpm                     Apache License v2.0         http://ambari.apache.org/license.html                   Hadoop Filesystem Library                        Other (provide description) No   Other (provide description) No   No
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                                                                     1.hortonworks.com/HDP/centos7/2.x/updates/2.
                            hadoop_2_6_5_0_292-                      6.5.0/hadoop/hadoop_2_6_5_0_292-mapreduce-
Analytics Ambari Packages   mapreduce                 2.7.3.2.6.5.0 2.7.3.2.6.5.0-292.x86_64.rpm                  Apache License v2.0   http://ambari.apache.org/license.html   The Hadoop MapReduce (MRv2)                      Other (provide description) No   Other (provide description) No   No
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                                                                     1.hortonworks.com/HDP/centos7/2.x/updates/2.
                                                                     6.5.0/hadoop/hadoop_2_6_5_0_292-yarn-
Analytics Ambari Packages   hadoop_2_6_5_0_292-yarn   2.7.3.2.6.5.0 2.7.3.2.6.5.0-292.x86_64.rpm                  Apache License v2.0   http://ambari.apache.org/license.html   The Hadoop NextGen MapReduce (YARN)              Other (provide description) No   Other (provide description) No   No
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                                                                     1.hortonworks.com/HDP/centos7/2.x/updates/2.
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Analytics Ambari Packages   hadoop_2_6_5_1050_37      50             libhdfs-2.7.3.2.6.5.1050-37.x86_64.rpm       Apache License v2.0   http://ambari.apache.org/license.html   vast amounts of data                         Other (provide description) No       Other (provide description) No   No
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                            hadoop_2_6_5_1050_37-     2.7.3.2.6.5.10 6.5.1050/hadoop/hadoop_2_6_5_1050_37-client-
Analytics Ambari Packages   client                    50             2.7.3.2.6.5.1050-37.x86_64.rpm               Apache License v2.0   http://ambari.apache.org/license.html   Hadoop client side dependencies                  Other (provide description) No   Other (provide description) No   No
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                            hadoop_2_6_5_1050_37-     2.7.3.2.6.5.10 6.5.1050/hadoop/hadoop_2_6_5_1050_37-hdfs-
Analytics Ambari Packages   hdfs                      50             2.7.3.2.6.5.1050-37.x86_64.rpm               Apache License v2.0   http://ambari.apache.org/license.html   The Hadoop Distributed File System               Other (provide description) No   Other (provide description) No   No
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                            hadoop_2_6_5_1050_37-     2.7.3.2.6.5.10 6.5.1050/hadoop/hadoop_2_6_5_1050_37-
Analytics Ambari Packages   libhdfs                   50             libhdfs-2.7.3.2.6.5.1050-37.x86_64.rpm       Apache License v2.0   http://ambari.apache.org/license.html   Hadoop Filesystem Library                        Other (provide description) No   Other (provide description) No   No
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                            hadoop_2_6_5_1050_37-     2.7.3.2.6.5.10 6.5.1050/hadoop/hadoop_2_6_5_1050_37-
Analytics Ambari Packages   mapreduce                 50             mapreduce-2.7.3.2.6.5.1050-37.x86_64.rpm     Apache License v2.0   http://ambari.apache.org/license.html   The Hadoop MapReduce (MRv2)                      Other (provide description) No   Other (provide description) No   No
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                                                                     1.hortonworks.com/HDP/centos7/2.x/updates/2.
                            hadoop_2_6_5_1050_37-     2.7.3.2.6.5.10 6.5.1050/hadoop/hadoop_2_6_5_1050_37-yarn-
Analytics Ambari Packages   yarn                      50             2.7.3.2.6.5.1050-37.x86_64.rpm               Apache License v2.0   http://ambari.apache.org/license.html   The Hadoop NextGen MapReduce (YARN)              Other (provide description) No   Other (provide description) No   No
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Analytics Ambari Packages   hadoop_2_6_5_1100_53      00             libhdfs-2.7.3.2.6.5.1100-53.x86_64.rpm       Apache License v2.0   http://ambari.apache.org/license.html   vast amounts of data                         Other (provide description) No       Other (provide description) No   No
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                            hadoop_2_6_5_1100_53-     2.7.3.2.6.5.11 6.5.1100/hadoop/hadoop_2_6_5_1100_53-client-
Analytics Ambari Packages   client                    00             2.7.3.2.6.5.1100-53.x86_64.rpm               Apache License v2.0   http://ambari.apache.org/license.html   Hadoop client side dependencies                  Other (provide description) No   Other (provide description) No   No
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                            hadoop_2_6_5_1100_53-     2.7.3.2.6.5.11 6.5.1100/hadoop/hadoop_2_6_5_1100_53-hdfs-
Analytics Ambari Packages   hdfs                      00             2.7.3.2.6.5.1100-53.x86_64.rpm               Apache License v2.0   http://ambari.apache.org/license.html   The Hadoop Distributed File System               Other (provide description) No   Other (provide description) No   No
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Analytics Ambari Packages   libhdfs                   00             libhdfs-2.7.3.2.6.5.1100-53.x86_64.rpm       Apache License v2.0   http://ambari.apache.org/license.html   Hadoop Filesystem Library                        Other (provide description) No   Other (provide description) No   No
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                            hadoop_2_6_5_1100_53-     2.7.3.2.6.5.11 6.5.1100/hadoop/hadoop_2_6_5_1100_53-
Analytics Ambari Packages   mapreduce                 00             mapreduce-2.7.3.2.6.5.1100-53.x86_64.rpm     Apache License v2.0   http://ambari.apache.org/license.html   The Hadoop MapReduce (MRv2)                      Other (provide description) No   Other (provide description) No   No
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                            hadoop_2_6_5_1100_53-     2.7.3.2.6.5.11 6.5.1100/hadoop/hadoop_2_6_5_1100_53-yarn-
Analytics Ambari Packages   yarn                      00             2.7.3.2.6.5.1100-53.x86_64.rpm               Apache License v2.0   http://ambari.apache.org/license.html   The Hadoop NextGen MapReduce (YARN)              Other (provide description) No   Other (provide description) No   No
                                                                                                                                                                                HBase is the Hadoop database. Use it when
                                                                                                                                                                                you need random, realtime read/write access
                                                                    http://public-repo-                                                                                         to your Big Data. This project's goal is the
                                                                    1.hortonworks.com/HDP/centos7/2.x/updates/2.                                                                hosting of very large tables -- billions of rows
                                                                    6.5.0/hbase/hbase_2_6_5_0_292-1.1.2.2.6.5.0-                                                                X millions of columns -- atop clusters of
Analytics Ambari Packages   hbase_2_6_5_0_292         1.1.2.2.6.5.0 292.noarch.rpm                               APL2                   http://ambari.apache.org/license.html   commodity hardware                               Other (provide description) No   Other (provide description) No   No
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Analytics Ambari Packages   hbase_2_6_5_1050_37       50             1.1.2.2.6.5.1050-37.noarch.rpm               APL2                  http://ambari.apache.org/license.html   commodity hardware                               Other (provide description) No   Other (provide description) No   No
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Analytics Ambari Packages   hbase_2_6_5_1100_53       00             1.1.2.2.6.5.1100-53.noarch.rpm                    APL2             http://ambari.apache.org/license.html   commodity hardware                               Other (provide description) No   Other (provide description) No   No
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                                                                     1.hortonworks.com/HDF/centos7/3.x/updates/3.
Analytics Ambari Packages   hdf-select                3.1.1.0        1.1.0/hdf-select/hdf-select-3.1.1.0-35.noarch.rpm APL2             http://ambari.apache.org/license.html   hdf-select Distro select package                 Other (provide description) No   Other (provide description) No   No
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                                                                      1.hortonworks.com/HDP/centos7/2.x/updates/2.
                                                                      6.5.1100/hdp-select/hdp-select-2.6.5.1100-
Analytics Ambari Packages   hdp-select                 2.6.5.1100     53.noarch.rpm                                   APL2                  http://ambari.apache.org/license.html   hdp-select Distro select package                 Other (provide description) No   Other (provide description) No   No
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                                                                      1.0.0/nifi_registry/nifi-registry_3_1_0_0_564-
Analytics Ambari Packages   nifi-registry_3_1_0_0_564  0.1.0.3.1.0.0 0.1.0.3.1.0.0-564.noarch.rpm                     Apache License v2.0   http://ambari.apache.org/license.html   Hortonworks NiFi Registry                        Other (provide description) No   Other (provide description) No   No
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Analytics Ambari Packages   nifi-registry_3_1_1_0_35   0.1.0.3.1.1.0 0.1.0.3.1.1.0-35.noarch.rpm                      Apache License v2.0   http://ambari.apache.org/license.html   Hortonworks NiFi Registry                        Other (provide description) No   Other (provide description) No   No
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                                                                      1.0.0/nifi_registry/nifi-registry_3_1_0_0_564-                                                                Nifi is an easy to use, powerful, and reliable
Analytics Ambari Packages   nifi_3_1_0_0_564           1.5.0.3.1.0.0 0.1.0.3.1.0.0-564.noarch.rpm                     Apache License        http://ambari.apache.org/license.html   system to process and distribute data.           Other (provide description) No   Other (provide description) No   No
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Analytics Ambari Packages   nifi_3_1_1_0_35            1.5.0.3.1.1.0 35.x86_64.rpm                                    Apache License        http://ambari.apache.org/license.html   system to process and distribute data.           Other (provide description) No   Other (provide description) No   No
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                            ranger_2_6_5_0_292-hbase-                 6.5.0/ranger/ranger_2_6_5_0_292-hbase-plugin-
Analytics Ambari Packages   plugin                     0.7.0.2.6.5.0 0.7.0.2.6.5.0-292.x86_64.rpm                     Apache License v2.0   http://ambari.apache.org/license.html   ranger plugin for hbase                          Other (provide description) No   Other (provide description) No   No
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                            ranger_2_6_5_0_292-hdfs-                  6.5.0/ranger/ranger_2_6_5_0_292-hdfs-plugin-
Analytics Ambari Packages   plugin                     0.7.0.2.6.5.0 0.7.0.2.6.5.0-292.x86_64.rpm                     Apache License v2.0   http://ambari.apache.org/license.html   ranger plugin for hdfs                           Other (provide description) No   Other (provide description) No   No
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                            ranger_2_6_5_0_292-yarn-                  6.5.0/ranger/ranger_2_6_5_0_292-yarn-plugin-
Analytics Ambari Packages   plugin                     0.7.0.2.6.5.0 0.7.0.2.6.5.0-292.x86_64.rpm                     Apache License v2.0   http://ambari.apache.org/license.html   ranger plugin for yarn                           Other (provide description) No   Other (provide description) No   No
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                            ranger_2_6_5_1050_37-      0.7.0.2.6.5.10 6.5.1050/ranger/ranger_2_6_5_1050_37-hbase-
Analytics Ambari Packages   hbase-plugin               50             plugin-0.7.0.2.6.5.1050-37.x86_64.rpm           Apache License v2.0   http://ambari.apache.org/license.html   ranger plugin for hbase                          Other (provide description) No   Other (provide description) No   No
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                            ranger_2_6_5_1050_37-hdfs- 0.7.0.2.6.5.10 6.5.1050/ranger/ranger_2_6_5_1050_37-hdfs-
Analytics Ambari Packages   plugin                     50             plugin-0.7.0.2.6.5.1050-37.x86_64.rpm           Apache License v2.0   http://ambari.apache.org/license.html   ranger plugin for hdfs                           Other (provide description) No   Other (provide description) No   No
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                            ranger_2_6_5_1050_37-yarn- 0.7.0.2.6.5.10 6.5.1050/ranger/ranger_2_6_5_1050_37-yarn-
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                            ranger_2_6_5_1100_53-      0.7.0.2.6.5.11 6.5.1100/ranger/ranger_2_6_5_1100_53-hbase-
Analytics Ambari Packages   hbase-plugin               00             plugin-0.7.0.2.6.5.1100-53.x86_64.rpm           Apache License v2.0   http://ambari.apache.org/license.html   ranger plugin for hbase                          Other (provide description) No   Other (provide description) No   No
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Analytics Ambari Packages   plugin                     00             plugin-0.7.0.2.6.5.1100-53.x86_64.rpm           Apache License v2.0   http://ambari.apache.org/license.html   ranger plugin for hdfs                           Other (provide description) No   Other (provide description) No   No
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                            ranger_2_6_5_1100_53-yarn- 0.7.0.2.6.5.11 6.5.1100/ranger/ranger_2_6_5_1100_53-yarn-
Analytics Ambari Packages   plugin                     00             plugin-0.7.0.2.6.5.1100-53.x86_64.rpm           Apache License v2.0   http://ambari.apache.org/license.html   ranger plugin for yarn                           Other (provide description) No   Other (provide description) No   No
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                                                                      1.1.0/nifi_registry/nifi-registry_3_1_1_0_35-
Analytics Ambari Packages   registry_3_1_1_0_35        0.5.1.3.1.1.0 0.1.0.3.1.1.0-35.noarch.rpm                      Apache License v2.0   http://ambari.apache.org/license.html   Hortonworks registries repository.               Other (provide description) No   Other (provide description) No   No
                                                                      http://public-repo-1.hortonworks.com/HDP-UTILS-
                                                                      1.1.0.22/repos/centos7/snappy/snappy-devel-
Analytics Ambari Packages   snappy                     1.1.0          1.1.0-3.el7.x86_64.rpm                          BSD                   http://ambari.apache.org/license.html   Fast compression and decompression library Other (provide description) No         Other (provide description) No   No
                                                                      http://public-repo-1.hortonworks.com/HDP-UTILS-
                                                                      1.1.0.22/repos/centos7/snappy/snappy-devel-
Analytics Ambari Packages   snappy-devel               1.1.0          1.1.0-3.el7.x86_64.rpm                          BSD                   http://ambari.apache.org/license.html   Development files for snappy                     Other (provide description) No   Other (provide description) No   No
                                                                      http://public-repo-
                                                                      1.hortonworks.com/HDP/centos7/2.x/updates/2.
                            spark2_2_6_5_0_292-yarn-                  6.5.0/spark2/spark2_2_6_5_0_292-yarn-shuffle-
Analytics Ambari Packages   shuffle                    2.3.0.2.6.5.0 2.3.0.2.6.5.0-292.noarch.rpm                     ASL 2.0               http://ambari.apache.org/license.html   Spark Yarn Shuffle                               Other (provide description) No   Other (provide description) No   No
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                            spark2_2_6_5_1050_37-yarn- 2.3.0.2.6.5.10 6.5.1050/spark2/spark2_2_6_5_1050_37-yarn-
Analytics Ambari Packages   shuffle                    50             shuffle-2.3.0.2.6.5.1050-37.noarch.rpm          ASL 2.0               http://ambari.apache.org/license.html   Spark Yarn Shuffle                               Other (provide description) No   Other (provide description) No   No
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                            spark2_2_6_5_1100_53-yarn- 2.3.0.2.6.5.11 6.5.1100/spark2/spark2_2_6_5_1100_53-yarn-
Analytics Ambari Packages   shuffle                    00             shuffle-2.3.0.2.6.5.1100-53.noarch.rpm          ASL 2.0               http://ambari.apache.org/license.html   Spark Yarn Shuffle                               Other (provide description) No   Other (provide description) No   No
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                            spark_2_6_5_0_292-yarn-                  6.5.0/spark/spark_2_6_5_0_292-yarn-shuffle-
Analytics Ambari Packages   shuffle                   1.6.3.2.6.5.0 1.6.3.2.6.5.0-292.noarch.rpm                   ASL 2.0        http://ambari.apache.org/license.html                Spark Yarn Shuffle                            Other (provide description) No   Other (provide description) No   No
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                            spark_2_6_5_1050_37-yarn- 1.6.3.2.6.5.10 6.5.1050/spark/spark_2_6_5_1050_37-yarn-
Analytics Ambari Packages   shuffle                   50             shuffle-1.6.3.2.6.5.1050-37.noarch.rpm        ASL 2.0        http://ambari.apache.org/license.html                Spark Yarn Shuffle                            Other (provide description) No   Other (provide description) No   No
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                            spark_2_6_5_1100_53-yarn- 1.6.3.2.6.5.11 6.5.1100/spark/spark_2_6_5_1100_53-yarn-
Analytics Ambari Packages   shuffle                   00             shuffle-1.6.3.2.6.5.1100-53.noarch.rpm        ASL 2.0        http://ambari.apache.org/license.html                Spark Yarn Shuffle                            Other (provide description) No   Other (provide description) No   No
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                                                                     1.hortonworks.com/HDP/centos7/2.x/updates/2.
                                                                     6.5.0/zookeeper/zookeeper_2_6_5_0_292-                                                                            A high-performance coordination service for
Analytics Ambari Packages   zookeeper_2_6_5_0_292     3.4.6.2.6.5.0 3.4.6.2.6.5.0-292.noarch.rpm                   APL2           http://ambari.apache.org/license.html                distributed applications.                   Other (provide description) No     Other (provide description) No   No
                                                                     http://public-repo-
                                                                     1.hortonworks.com/HDP/centos7/2.x/updates/2.
                            zookeeper_2_6_5_0_292-                   6.5.0/zookeeper/zookeeper_2_6_5_0_292-server-
Analytics Ambari Packages   server                    3.4.6.2.6.5.0 3.4.6.2.6.5.0-292.noarch.rpm                   APL2           http://ambari.apache.org/license.html                The Hadoop Zookeeper server                   Other (provide description) No   Other (provide description) No   No
                                                                     http://public-repo-
                                                                     1.hortonworks.com/HDP/centos7/2.x/updates/2.
                                                      3.4.6.2.6.5.10 6.5.1050/zookeeper/zookeeper_2_6_5_1050_37-                                                                       A high-performance coordination service for
Analytics Ambari Packages   zookeeper_2_6_5_1050_37 50               server-3.4.6.2.6.5.1050-37.noarch.rpm         APL2           http://ambari.apache.org/license.html                distributed applications.                   Other (provide description) No     Other (provide description) No   No
                                                                     http://public-repo-
                                                                     1.hortonworks.com/HDP/centos7/2.x/updates/2.
                            zookeeper_2_6_5_1050_37- 3.4.6.2.6.5.10 6.5.1050/zookeeper/zookeeper_2_6_5_1050_37-
Analytics Ambari Packages   server                    50             server-3.4.6.2.6.5.1050-37.noarch.rpm         APL2           http://ambari.apache.org/license.html                The Hadoop Zookeeper server                   Other (provide description) No   Other (provide description) No   No
                                                                     http://public-repo-
                                                                     1.hortonworks.com/HDP/centos7/2.x/updates/2.
                                                      3.4.6.2.6.5.11 6.5.1100/zookeeper/zookeeper_2_6_5_1100_53-                                                                       A high-performance coordination service for
Analytics Ambari Packages   zookeeper_2_6_5_1100_53 00               server-3.4.6.2.6.5.1100-53.noarch.rpm         APL2           http://ambari.apache.org/license.html                distributed applications.                   Other (provide description) No     Other (provide description) No   No
                                                                     http://public-repo-
                                                                     1.hortonworks.com/HDP/centos7/2.x/updates/2.
                            zookeeper_2_6_5_1100_53- 3.4.6.2.6.5.11 6.5.1100/zookeeper/zookeeper_2_6_5_1100_53-
Analytics Ambari Packages   server                    00             server-3.4.6.2.6.5.1100-53.noarch.rpm         APL2           http://ambari.apache.org/license.html                The Hadoop Zookeeper server                   Other (provide description) No   Other (provide description) No   No

                                                                    https://updates.jenkins.io/download/plugins/cuc               https://github.com/jenkinsci/cucumber-performance-
Analytics Jenkins Plugins   cucumber-perf              2.0.9        umber-perf/2.0.9/cucumber-perf.hpi               MIT          plugin/blob/master/LICENSE.md                      cucumber-perf                                   Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/Par
                            Parameterized-Remote-                   ameterized-Remote-Trigger/2.2.2/Parameterized-                https://github.com/jenkinsci/parameterized-remote-
Analytics Jenkins Plugins   Trigger                    2.2.2        Remote-Trigger.hpi                               MIT          trigger-plugin/blob/master/LICENSE                   Parameterized Remote Trigger Plugin           Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/toke              https://github.com/jenkinsci/token-macro-
Analytics Jenkins Plugins   token-macro                2.1          n-macro/2.1/token-macro.hpi                      MIT          plugin/blob/master/pom.xml                           Token Macro Plugin                            Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/exte              https://github.com/jenkinsci/external-monitor-job-
Analytics Jenkins Plugins   external-monitor-job       1.7          rnal-monitor-job/1.7/external-monitor-job.hpi    MIT          plugin/blob/master/pom.xml                           External Monitor Job Type Plugin              Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/doc               https://github.com/jenkinsci/docker-commons-
Analytics Jenkins Plugins   docker-commons             1.6          ker-commons/1.6/docker-commons.hpi               MIT          plugin/blob/master/pom.xml                           Docker Commons Plugin                         Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/job-              https://github.com/jenkinsci/job-import-
Analytics Jenkins Plugins   job-import-plugin          1.6          import-plugin/1.6/job-import-plugin.hpi          MIT          plugin/blob/master/pom.xml                           Job Import Plugin                             Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/jenk
                                                                    ins-multijob-plugin/1.24/jenkins-multijob-                    https://github.com/jenkinsci/tikal-multijob-
Analytics Jenkins Plugins   jenkins-multijob-plugin    1.24         plugin.hpi                                       MIT          plugin/blob/master/pom.xml                           Jenkins Multijob plugin                       Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/aws-              https://github.com/jenkinsci/aws-java-sdk-
Analytics Jenkins Plugins   aws-java-sdk               1.11.68.1    java-sdk/1.11.68.1/aws-java-sdk.hpi              MIT          plugin/blob/master/pom.xml                           Amazon Web Services SDK                       Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/mav               https://github.com/jenkinsci/maven-
Analytics Jenkins Plugins   maven-plugin               2.15.1       en-plugin/2.15.1/maven-plugin.hpi                MIT          plugin/blob/master/pom.xml                           Maven Integration plugin                      Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/wor               https://github.com/jenkinsci/workflow-api-
Analytics Jenkins Plugins   workflow-api               2.1          kflow-api/2.1/workflow-api.hpi                   MIT          plugin/blob/master/pom.xml                           Pipeline: API                                 Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/pro               https://github.com/jenkinsci/promoted-builds-
Analytics Jenkins Plugins   promoted-builds            2.28.1       moted-builds/2.28.1/promoted-builds.hpi          MIT          plugin/blob/master/LICENSE                           Jenkins promoted builds plugin                Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/chu               https://github.com/jenkinsci/chucknorris-
Analytics Jenkins Plugins   chucknorris                1            cknorris/1.0/chucknorris.hpi                     MIT          plugin/blob/master/pom.xml                           ChuckNorris Plugin                            Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/reb               https://github.com/jenkinsci/rebuild-
Analytics Jenkins Plugins   rebuild                    1.25         uild/1.25/rebuild.hpi                            MIT          plugin/blob/master/pom.xml                           Rebuilder                                     Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/ant/              https://github.com/jenkinsci/ant-
Analytics Jenkins Plugins   ant                        1.4          1.4/ant.hpi                                      MIT          plugin/blob/master/pom.xml                           Ant Plugin                                    Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/cuc
                            cucumber-living-                        umber-living-documentation/1.0.7/cucumber-                    http://github.com/rmpestano/cukedoctor\/blob/mast
Analytics Jenkins Plugins   documentation              1.0.7        living-documentation.hpi                         MIT          er/pom.xml                                        Cucumber Living Documentation Plugin             Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/jaco              https://github.com/jenkinsci/jacoco-
Analytics Jenkins Plugins   jacoco                     2.2.1        co/2.2.1/jacoco.hpi                              MIT          plugin/blob/master/pom.xml                        Jenkins JaCoCo plugin                            Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/slac              https://github.com/jenkinsci/slack-
Analytics Jenkins Plugins   slack                      2.2          k/2.2/slack.hpi                                  MIT          plugin/blob/master/pom.xml                        Slack Notification Plugin                        Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/ec2/              https://github.com/jenkinsci/ec2-
Analytics Jenkins Plugins   ec2                        1.36         1.36/ec2.hpi                                     MIT          plugin/blob/master/pom.xml                        Amazon EC2 plugin                                Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/ema               https://github.com/jenkinsci/email-ext-
Analytics Jenkins Plugins   email-ext                  2.47         il-ext/2.47/email-ext.hpi                        MIT          plugin/blob/master/LICENSE                        Email Extension Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/wor               https://github.com/jenkinsci/workflow-scm-step-
Analytics Jenkins Plugins   workflow-scm-step          2.2          kflow-scm-step/2.2/workflow-scm-step.hpi         MIT          plugin/blob/master/pom.xml                        Pipeline: SCM Step                               Other (provide description) No   Other (provide description) No   No
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                                                                   https://updates.jenkins.io/download/plugins/htm                https://github.com/jenkinsci/htmlpublisher-
Analytics Jenkins Plugins   htmlpublisher                1.13      lpublisher/1.13/htmlpublisher.hpi                 MIT          plugin/blob/master/LICENSE                             HTML Publisher plugin                         Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/ws-                https://github.com/jenkinsci/ws-cleanup-
Analytics Jenkins Plugins   ws-cleanup                   0.33      cleanup/0.33/ws-cleanup.hpi                       MIT          plugin/blob/master/pom.xml                             Jenkins Workspace Cleanup Plugin              Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/rub                https://github.com/jenkinsci/jenkins.rb/blob/master/
Analytics Jenkins Plugins   ruby-runtime                 0.13      y-runtime/0.13/ruby-runtime.hpi                   MIT          pom.xml                                                ruby-runtime                                  Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/wor                https://github.com/jenkinsci/workflow-aggregator-
Analytics Jenkins Plugins   workflow-aggregator          2.2       kflow-aggregator/2.2/workflow-aggregator.hpi      MIT          plugin/blob/master/pom.xml                             Pipeline                                      Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/cuc
                                                                   umber-testresult-plugin/0.9.7/cucumber-                        https://github.com/jenkinsci/cucumber-testresult-
Analytics Jenkins Plugins   cucumber-testresult-plugin   0.9.7     testresult-plugin.hpi                             MIT          plugin//blob/master/pom.xml                            Cucumber json test reporting.                 Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/ez-                https://github.com/jenkinsci/ez-templates-
Analytics Jenkins Plugins   ez-templates                 1.2.5     templates/1.2.5/ez-templates.hpi                  MIT          plugin/blob/master/LICENSE                             EZ Templates                                  Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/pam-               https://github.com/jenkinsci/pam-auth-
Analytics Jenkins Plugins   pam-auth                     1.3       auth/1.3/pam-auth.hpi                             MIT          plugin/blob/master/pom.xml                             PAM Authentication plugin                     Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/gro                https://github.com/jenkinsci/groovy-
Analytics Jenkins Plugins   groovy                       2         ovy/2.0/groovy.hpi                                MIT          plugin/blob/master/pom.xml                             Groovy                                        Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/ssh-               https://github.com/jenkinsci/ssh-slaves-
Analytics Jenkins Plugins   ssh-slaves                   1.17      slaves/1.17/ssh-slaves.hpi                        MIT          plugin/blob/master/pom.xml                             Jenkins SSH Slaves plugin                     Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/pipe               https://github.com/jenkinsci/pipeline-stage-view-
Analytics Jenkins Plugins   pipeline-stage-view          1.7       line-stage-view/1.7/pipeline-stage-view.hpi       MIT          plugin/blob/master/pom.xml                             Pipeline: Stage View Plugin                   Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/doc                https://github.com/jenkinsci/docker-build-publish-
Analytics Jenkins Plugins   docker-build-publish         1.3.2     ker-build-publish/1.3.2/docker-build-publish.hpi MIT           plugin/blob/master/pom.xml                             CloudBees Docker Build and Publish plugin     Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/disp               https://github.com/jenkinsci/display-url-api-
Analytics Jenkins Plugins   display-url-api              2         lay-url-api/2.0/display-url-api.hpi               MIT          plugin/blob/master/pom.xml                             Display URL API                               Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/wor                https://github.com/jenkinsci/workflow-support-
Analytics Jenkins Plugins   workflow-support             2.2       kflow-support/2.2/workflow-support.hpi            MIT          plugin/blob/master/pom.xml                             Pipeline: Supporting APIs                     Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/plai               https://github.com/jenkinsci/plain-credentials-
Analytics Jenkins Plugins   plain-credentials            1.4       n-credentials/1.4/plain-credentials.hpi           MIT          plugin/blob/master/pom.xml                             Plain Credentials Plugin                      Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/wor
                                                                   kflow-cps-global-lib/2.2/workflow-cps-global-                  https://github.com/jenkinsci/workflow-cps-global-lib-
Analytics Jenkins Plugins   workflow-cps-global-lib      2.2       lib.hpi                                           MIT          plugin/blob/master/pom.xml                            Pipeline: Shared Groovy Libraries              Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/bou                https://github.com/jenkinsci/bouncycastle-api-
Analytics Jenkins Plugins   bouncycastle-api             1.648.3   ncycastle-api/1.648.3/bouncycastle-api.hpi        MIT          plugin/blob/master/pom.xml                            bouncycastle API Plugin                        Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/cop                https://github.com/jenkinsci/copyartifact-
Analytics Jenkins Plugins   copyartifact                 1.38.1    yartifact/1.38.1/copyartifact.hpi                 MIT          plugin/blob/master/pom.xml                            Copy Artifact Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/nagi               https://github.com/jenkinsci/naginator-
Analytics Jenkins Plugins   naginator                    1.17.2    nator/1.17.2/naginator.hpi                        MIT          plugin/blob/master/pom.xml                            Naginator                                      Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/sub                https://github.com/jenkinsci/subversion-
Analytics Jenkins Plugins   subversion                   2.7.1     version/2.7.1/subversion.hpi                      MIT          plugin/blob/master/pom.xml                            Jenkins Subversion Plug-in                     Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/pipe               https://github.com/jenkinsci/pipeline-stage-view-
Analytics Jenkins Plugins   pipeline-rest-api            1.7       line-rest-api/1.7/pipeline-rest-api.hpi           MIT          plugin/blob/master/pom.xml                            Pipeline: REST API Plugin                      Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/gitla
                                                                   b-merge-request-jenkins/2.0.0/gitlab-merge-                    https://github.com/jenkins-infra/plugin-
Analytics Jenkins Plugins   gitlab-merge-request-jenkins 2.0.0     request-jenkins.hpi                               MIT          site/commit/f463c5f/blob/master/pom.xml                Gitlab Merge Request Builder                  Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/all-               https://github.com/jenkinsci/all-changes-
Analytics Jenkins Plugins   all-changes                  1.5       changes/1.5/all-changes.hpi                       MIT          plugin/blob/master/pom.xml                             All changes plugin                            Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/artif              https://github.com/jenkinsci/artifactory-
Analytics Jenkins Plugins   artifactory                  2.6.0     actory/2.6.0/artifactory.hpi                      MIT          plugin/blob/master/pom.xml                             Jenkins Artifactory Plugin                    Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/wor                https://github.com/jenkinsci/workflow-job-
Analytics Jenkins Plugins   workflow-job                 2.5       kflow-job/2.5/workflow-job.hpi                    MIT          plugin/blob/master/pom.xml                             Pipeline: Job                                 Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/pre                https://github.com/jenkinsci/pre-scm-buildstep-
Analytics Jenkins Plugins   preSCMbuildstep              0.3       SCMbuildstep/0.3/preSCMbuildstep.hpi              MIT          plugin/blob/master/pom.xml                             Pre SCM BuildStep Plugin                      Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/ssh-               https://github.com/jenkinsci/ssh-agent-
Analytics Jenkins Plugins   ssh-agent                    1.15      agent/1.15/ssh-agent.hpi                          MIT          plugin/blob/master/pom.xml                             SSH Agent Plugin                              Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/xuni               https://github.com/jenkinsci/xunit-
Analytics Jenkins Plugins   xunit                        1.102     t/1.102/xunit.hpi                                 MIT          plugin/blob/master/pom.xml                             xUnit plugin                                  Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/mo                 https://github.com/jenkinsci/js-
Analytics Jenkins Plugins   momentjs                     1.1.1     mentjs/1.1.1/momentjs.hpi                         MIT          libs/tree/master/momentjs\/blob/master/pom.xml         JavaScript GUI Lib: Moment.js bundle plugin Other (provide description) No     Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/buil               https://github.com/jenkinsci/build-token-root-
Analytics Jenkins Plugins   build-token-root             1.4       d-token-root/1.4/build-token-root.hpi             MIT          plugin/blob/master/pom.xml                             Build Authorization Token Root Plugin         Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/scm-               https://github.com/jenkinsci/scm-api-
Analytics Jenkins Plugins   scm-api                      1.3       api/1.3/scm-api.hpi                               MIT          plugin/blob/master/pom.xml                             SCM API Plugin                                Other (provide description) No   Other (provide description) No   No


                                                                   https://updates.jenkins.io/download/plugins/wor                https://github.com/jenkinsci/workflow-multibranch-
Analytics Jenkins Plugins   workflow-multibranch         2.8       kflow-multibranch/2.8/workflow-multibranch.hpi MIT             plugin/blob/master/pom.xml                             Pipeline: Multibranch                         Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/dry/               https://github.com/jenkinsci/dry-
Analytics Jenkins Plugins   dry                          2.47      2.47/dry.hpi                                      MIT          plugin/blob/master/pom.xml                             DRY Plug-in                                   Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/uno-               https://github.com/jenkinsci/active-choices-
Analytics Jenkins Plugins   uno-choice                   1.5.3     choice/1.5.3/uno-choice.hpi                       MIT          plugin/blob/master/pom.xml                             Active Choices Plug-in                        Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/mail               https://github.com/jenkinsci/mailer-
Analytics Jenkins Plugins   mailer                       1.2       er/1.20/mailer.hpi                                MIT          plugin/blob/master/pom.xml                             Jenkins Mailer Plugin                         Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/gitla              https://github.com/jenkinsci/gitlab-
Analytics Jenkins Plugins   gitlab-plugin                1.4.8     b-plugin/1.4.8/gitlab-plugin.hpi                  MIT          plugin/blob/master/LICENSE                             GitLab Plugin                                 Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/clou               https://github.com/jenkinsci/cloudbees-folder-
Analytics Jenkins Plugins   cloudbees-folder             6.0.4     dbees-folder/6.0.4/cloudbees-folder.hpi           MIT          plugin/blob/master/pom.xml                             Folders Plugin                                Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/test-              https://github.com/jenkinsci/test-stability-
Analytics Jenkins Plugins   test-stability               2.2       stability/2.2/test-stability.hpi                  MIT          plugin/blob/master/pom.xml                             Test stability history                        Other (provide description) No   Other (provide description) No   No
                                                                   https://updates.jenkins.io/download/plugins/doc                https://github.com/jenkinsci/docker-build-step-
Analytics Jenkins Plugins   docker-build-step            1.41      ker-build-step/1.41/docker-build-step.hpi         MIT          plugin/blob/master/LICENSE                             docker-build-step                             Other (provide description) No   Other (provide description) No   No
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                                                                  https://updates.jenkins.io/download/plugins/par                https://github.com/jenkinsci/parameter-separator-
Analytics Jenkins Plugins   parameter-separator         1         ameter-separator/1.0/parameter-separator.hpi MIT               plugin/blob/master/pom.xml                             Parameter Separator Plugin                   Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/cob                https://github.com/jenkinsci/cobertura-
Analytics Jenkins Plugins   cobertura                   1.9.8     ertura/1.9.8/cobertura.hpi                        MIT          plugin/blob/master/pom.xml                             Jenkins Cobertura Plugin                     Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/nod                https://github.com/jenkinsci/nodejs-
Analytics Jenkins Plugins   nodejs                      1.2.1     ejs/1.2.1/nodejs.hpi                              MIT          plugin/blob/master/pom.xml                             NodeJS Plugin                                Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/ssh/               https://github.com/jenkinsci/ssh-
Analytics Jenkins Plugins   ssh                         2.4       2.4/ssh.hpi                                       MIT          plugin/blob/master/pom.xml                             Jenkins SSH plugin                           Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/son                https://github.com/jenkinsci/sonarqube-
Analytics Jenkins Plugins   sonar                       2.4.4     ar/2.4.4/sonar.hpi                                MIT          plugin/blob/master/pom.xml                             Jenkins SonarQube Plugin                     Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/par
                                                                  ameterized-scheduler/0.3.1/parameterized-                      https://github.com/jenkinsci/parameterized-
Analytics Jenkins Plugins   parameterized-scheduler     0.3.1     scheduler.hpi                                     MIT          scheduler-plugin/blob/master/LICENSE                   Parameterized Scheduler                      Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/cuc                https://github.com/jenkinsci/cucumber-reports-
Analytics Jenkins Plugins   cucumber-reports            3.7.0     umber-reports/3.7.0/cucumber-reports.hpi          MIT          plugin/blob/master/pom.xml                             Cucumber reports                             Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/che                https://github.com/jenkinsci/checkstyle-
Analytics Jenkins Plugins   checkstyle                  3.48      ckstyle/3.48/checkstyle.hpi                       MIT          plugin/blob/master/pom.xml                             Checkstyle Plug-in                           Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/reso               https://github.com/jenkinsci/resource-disposer-
Analytics Jenkins Plugins   resource-disposer           0.6       urce-disposer/0.6/resource-disposer.hpi           MIT          plugin/blob/master/pom.xml                             Resource Disposer Plugin                     Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/publ               https://github.com/jenkinsci/publish-over-ssh-
Analytics Jenkins Plugins   publish-over-ssh            1.17      ish-over-ssh/1.17/publish-over-ssh.hpi            MIT          plugin/blob/master/pom.xml                             Publish Over SSH                             Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/jque               https://github.com/jenkinsci/jquery-                   JavaScript GUI Lib: jQuery bundles (jQuery
Analytics Jenkins Plugins   jquery-detached             1.2.1     ry-detached/1.2.1/jquery-detached.hpi             MIT          detached/blob/master/pom.xml                           and jQuery UI) plugin                        Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/job-               https://github.com/jenkinsci/job-dsl-
Analytics Jenkins Plugins   job-dsl                     1.5       dsl/1.50/job-dsl.hpi                              MIT          plugin/blob/master/pom.xml                             Job DSL                                      Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/tran               https://github.com/jenkinsci/translation-
Analytics Jenkins Plugins   translation                 1.15      slation/1.15/translation.hpi                      MIT          plugin/blob/master/pom.xml                             Jenkins Translation Assistance plugin        Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/dat                https://github.com/jenkinsci/date-parameter-
Analytics Jenkins Plugins   date-parameter              0.0.2     e-parameter/0.0.2/date-parameter.hpi              MIT          plugin/blob/master/pom.xml                             Date Parameter Plugin                        Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/wor                https://github.com/jenkinsci/workflow-cps-
Analytics Jenkins Plugins   workflow-cps                2.12      kflow-cps/2.12/workflow-cps.hpi                   MIT          plugin/blob/master/pom.xml                             Pipeline: Groovy                             Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/cuc
                                                                  umber-trends-report/1.3/cucumber-trends-                       https://github.com/jenkinsci/cucumber-trend-report-
Analytics Jenkins Plugins   cucumber-trends-report      1.3       report.hpi                                        MIT          plugin/blob/master/pom.xml                             Cucumber Trend Reports                       Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/war                https://github.com/jenkinsci/warnings-
Analytics Jenkins Plugins   warnings                    4.62      nings/4.62/warnings.hpi                           MIT          plugin/blob/master/LICENSE                             Warnings Plug-in                             Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/java               https://github.com/jenkinsci/javadoc-
Analytics Jenkins Plugins   javadoc                     1.4       doc/1.4/javadoc.hpi                               MIT          plugin/blob/master/pom.xml                             Javadoc Plugin                               Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/s3/0               https://github.com/jenkinsci/s3-
Analytics Jenkins Plugins   s3                          0.10.12   .10.12/s3.hpi                                     MIT          plugin/blob/master/LICENSE                             Jenkins S3 publisher plugin                  Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/icon-              https://github.com/jenkinsci/icon-shim-
Analytics Jenkins Plugins   icon-shim                   2.0.3     shim/2.0.3/icon-shim.hpi                          MIT          plugin/blob/master/pom.xml                             Icon Shim Plugin                             Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/text-
                                                                  finder-run-condition/0.1/text-finder-run-                      https://github.com/jenkinsci/text-finder-run-condition-
Analytics Jenkins Plugins   text-finder-run-condition   0.1       condition.hpi                                     MIT          plugin/blob/master/pom.xml                              Text Finder Run Condition Plugin            Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/git-               https://github.com/jenkinsci/git-parameter-
Analytics Jenkins Plugins   git-parameter               0.8.0     parameter/0.8.0/git-parameter.hpi                 MIT          plugin/blob/master/pom.xml                              Git Parameter Plug-In                       Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/deli
                                                                  very-pipeline-plugin/1.0.0/delivery-pipeline-                  https://github.com/jenkins-infra/plugin-
Analytics Jenkins Plugins   delivery-pipeline-plugin    1.0.0     plugin.hpi                                        MIT          site/commit/f463c5f/blob/master/pom.xml                Delivery Pipeline Plugin                     Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/pipe               https://github.com/jenkinsci/pipeline-build-step-
Analytics Jenkins Plugins   pipeline-build-step         2.2       line-build-step/2.2/pipeline-build-step.hpi       MIT          plugin/blob/master/pom.xml                             Pipeline: Build Step                         Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/buil               https://github.com/jenkinsci/build-timeout-
Analytics Jenkins Plugins   build-timeout               1.18      d-timeout/1.18/build-timeout.hpi                  MIT          plugin/blob/master/pom.xml                             Jenkins build timeout plugin                 Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/aws-               https://github.com/jenkinsci/aws-lambda-
Analytics Jenkins Plugins   aws-lambda                  0.5.10    lambda/0.5.10/aws-lambda.hpi                      MIT          plugin/blob/master/pom.xml                             AWS Lambda Plugin                            Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/bra                https://github.com/jenkinsci/branch-api-
Analytics Jenkins Plugins   branch-api                  1.1       nch-api/1.10/branch-api.hpi                       MIT          plugin/blob/master/pom.xml                             Branch API Plugin                            Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/leas               https://github.com/jenkinsci/leastload-
Analytics Jenkins Plugins   leastload                   1.0.3     tload/1.0.3/leastload.hpi                         MIT          plugin/blob/master/pom.xml                             Least Load plugin                            Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/met                https://github.com/jenkinsci/metrics-
Analytics Jenkins Plugins   metrics                     3.1.2.9   rics/3.1.2.9/metrics.hpi                          MIT          plugin/blob/master/LICENSE.md                          Metrics Plugin                               Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/sect               https://github.com/jenkinsci/sectioned-view-
Analytics Jenkins Plugins   sectioned-view              1.2       ioned-view/1.20/sectioned-view.hpi                MIT          plugin/blob/master/pom.xml                             Sectioned View Plugin                        Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/mas                https://github.com/jenkinsci/mask-passwords-
Analytics Jenkins Plugins   mask-passwords              2.10.1    k-passwords/2.10.1/mask-passwords.hpi             MIT          plugin/blob/master/pom.xml                             Mask Passwords Plugin                        Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/cro                https://github.com/jenkinsci/cron_column-
Analytics Jenkins Plugins   cron_column                 1.4       n_column/1.4/cron_column.hpi                      MIT          plugin/blob/master/pom.xml                             Cron Column Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/last-              https://github.com/jenkinsci/last-changes-
Analytics Jenkins Plugins   last-changes                1.0.5     changes/1.0.5/last-changes.hpi                    MIT          plugin/blob/master/pom.xml                             Last Changes Plugin                          Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/buil               https://github.com/jenkinsci/builton-column-
Analytics Jenkins Plugins   built-on-column             1.1       t-on-column/1.1/built-on-column.hpi               MIT          plugin/blob/master/pom.xml                             built-on-column                              Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/mat                https://github.com/jenkinsci/matrix-project-
Analytics Jenkins Plugins   matrix-project              1.1       rix-project/1.10/matrix-project.hpi               MIT          plugin/blob/master/pom.xml                             Matrix Project Plugin                        Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/wor                https://github.com/jenkinsci/workflow-step-api-
Analytics Jenkins Plugins   workflow-step-api           2.16      kflow-step-api/2.16/workflow-step-api.hpi         MIT          plugin/blob/master/pom.xml                             Pipeline: Step API                           Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/git-               https://github.com/jenkinsci/git-server-
Analytics Jenkins Plugins   git-server                  1.7       server/1.7/git-server.hpi                         MIT          plugin/blob/master/pom.xml                             Jenkins GIT server Plugin                    Other (provide description) No   Other (provide description) No   No
                                                      19-10971-dsj                            Doc 210                        Filed 06/03/19 Entered 06/03/19 14:17:12                                                                     Main Document
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                                                                     https://updates.jenkins.io/download/plugins/exte
                                                                     nded-choice-parameter/0.76/extended-choice-                    https://github.com/jenkinsci/extended-choice-
Analytics Jenkins Plugins   extended-choice-parameter 0.76           parameter.hpi                                     MIT          parameter-plugin/blob/master/pom.xml                 Extended Choice Parameter Plug-In         Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/wor                https://github.com/jenkinsci/workflow-basic-steps-
Analytics Jenkins Plugins   workflow-basic-steps        2.1          kflow-basic-steps/2.1/workflow-basic-steps.hpi    MIT          plugin/blob/master/pom.xml                           Pipeline: Basic Steps                     Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/dur                https://github.com/jenkinsci/durable-task-
Analytics Jenkins Plugins   durable-task                1.13         able-task/1.13/durable-task.hpi                   MIT          plugin/blob/master/pom.xml                           Durable Task Plugin                       Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/mo                 https://github.com/javamelody/javamelody/wiki\/blo
Analytics Jenkins Plugins   monitoring                  1.59.0       nitoring/1.59.0/monitoring.hpi                    MIT          b/master/pom.xml                                     Monitoring                                Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/flexi              https://github.com/jenkinsci/flexible-publish-
Analytics Jenkins Plugins   flexible-publish            0.15.2       ble-publish/0.15.2/flexible-publish.hpi           MIT          plugin/blob/master/pom.xml                           Flexible Publish Plugin                   Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/text-              https://github.com/jenkinsci/text-finder-
Analytics Jenkins Plugins   text-finder                 1.1          finder/1.10/text-finder.hpi                       MIT          plugin/blob/master/pom.xml                           Jenkins TextFinder plugin                 Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/pipe               https://github.com/jenkinsci/pipeline-stage-step-
Analytics Jenkins Plugins   pipeline-stage-step         2.1          line-stage-step/2.1/pipeline-stage-step.hpi       MIT          plugin/blob/master/pom.xml                           Pipeline: Stage Step                      Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/anal               https://github.com/jenkinsci/analysis-core-
Analytics Jenkins Plugins   analysis-core               1.86         ysis-core/1.86/analysis-core.hpi                  MIT          plugin/blob/master/pom.xml                           Static Analysis Utilities                 Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/aws-               https://github.com/jenkinsci/aws-credentials-        CloudBees Amazon Web Services Credentials
Analytics Jenkins Plugins   aws-credentials             1.19         credentials/1.19/aws-credentials.hpi              MIT          plugin/blob/master/LICENSE                           Plugin                                    Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/pipe               https://github.com/jenkinsci/pipeline-input-step-
Analytics Jenkins Plugins   pipeline-input-step         2.1          line-input-step/2.1/pipeline-input-step.hpi       MIT          plugin/blob/master/pom.xml                           Pipeline: Input Step                      Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/mat                https://github.com/jenkinsci/matrix-auth-
Analytics Jenkins Plugins   matrix-auth                 1.5          rix-auth/1.5/matrix-auth.hpi                      MIT          plugin/blob/master/pom.xml                           Matrix Authorization Strategy Plugin      Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/skip-              https://github.com/jenkinsci/skip-certificate-check-
Analytics Jenkins Plugins   skip-certificate-check      1            certificate-check/1.0/skip-certificate-check.hpi  MIT          plugin/blob/master/pom.xml                           skip-certificate-check                    Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/test-              https://github.com/jenkinsci/test-results-analyzer-
Analytics Jenkins Plugins   test-results-analyzer       0.3.4        results-analyzer/0.3.4/test-results-analyzer.hpi  MIT          plugin/blob/master/LICENSE                           Test Results Analyzer Plugin              Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/cvs/               https://github.com/jenkinsci/cvs-
Analytics Jenkins Plugins   cvs                         2.13         2.13/cvs.hpi                                      MIT          plugin/blob/master/pom.xml                           Jenkins CVS Plug-in                       Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/win                https://github.com/jenkinsci/windows-slaves-
Analytics Jenkins Plugins   windows-slaves              1.3.1        dows-slaves/1.3.1/windows-slaves.hpi              MIT          plugin/blob/master/pom.xml                           Windows Slaves Plugin                     Other (provide description) No         Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/par
                                                                     ameterized-trigger/2.33/parameterized-                         https://github.com/jenkinsci/parameterized-trigger-
Analytics Jenkins Plugins   parameterized-trigger       2.33         trigger.hpi                                       MIT          plugin/blob/master/pom.xml                            Jenkins Parameterized Trigger plugin           Other (provide description) No   Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/ivy/               https://github.com/jenkinsci/ivy-
Analytics Jenkins Plugins   ivy                         1.27.1       1.27.1/ivy.hpi                                    MIT          plugin/blob/master/pom.xml                            Ivy Plugin                                     Other (provide description) No   Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/swa                https://github.com/jenkinsci/swarm/blob/master/po     Jenkins Self-Organizing Swarm Plug-in
Analytics Jenkins Plugins   swarm                       3.4          rm/3.4/swarm.hpi                                  MIT          m.xml                                                 Modules                                        Other (provide description) No   Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/buil               https://github.com/jenkinsci/build-blocker-
Analytics Jenkins Plugins   build-blocker-plugin        1.7.3        d-blocker-plugin/1.7.3/build-blocker-plugin.hpi   MIT          plugin/blob/master/pom.xml                            Build Blocker Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/ssh-               https://github.com/jenkinsci/ssh-credentials-
Analytics Jenkins Plugins   ssh-credentials             1.13         credentials/1.13/ssh-credentials.hpi              MIT          plugin/blob/master/pom.xml                            SSH Credentials Plugin                         Other (provide description) No   Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/git-               https://github.com/jenkinsci/git-client-
Analytics Jenkins Plugins   git-client                  2.4.5        client/2.4.5/git-client.hpi                       MIT          plugin/blob/master/LICENSE                            Jenkins Git client plugin                      Other (provide description) No   Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/JDK
                                                                     _Parameter_Plugin/1.0/JDK_Parameter_Plugin.hp                  https://github.com/jenkinsci/JDK_Parameter_Choice/
Analytics Jenkins Plugins   JDK_Parameter_Plugin        1            i                                                 MIT          blob/master/pom.xml                                JDK Parameter Plugin                              Other (provide description) No   Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/nod                https://github.com/jenkinsci/nodelabelparameter-
Analytics Jenkins Plugins   nodelabelparameter          1.7.2        elabelparameter/1.7.2/nodelabelparameter.hpi MIT               plugin/blob/master/pom.xml                         Node and Label parameter plugin                   Other (provide description) No   Other (provide description) No   No
                                                                     https://updates.jenkins.io/download/plugins/conf               https://github.com/jenkinsci/configurationslicing-
Analytics Jenkins Plugins   configurationslicing        1.47         igurationslicing/1.47/configurationslicing.hpi    MIT          plugin/blob/master/pom.xml                         Configuration Slicing plugin                      Other (provide description) No   Other (provide description) No   No


                                                                    https://updates.jenkins.io/download/plugins/buil
                                                       1.11+build.2 d-monitor-plugin/1.11+build.201701152243/build-                 https://github.com/jan-molak/jenkins-build-monitor-
Analytics Jenkins Plugins   build-monitor-plugin       01701152243 monitor-plugin.hpi                                 MIT           plugin\/blob/master/pom.xml                         Build Monitor View                               Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/terr                https://github.com/jenkinsci/terraform-
Analytics Jenkins Plugins   terraform                  1.0.9        aform/1.0.9/terraform.hpi                         MIT           plugin/blob/master/LICENSE                          Terraform Plugin                                 Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/appl                https://github.com/jenkinsci/applitools-eyes-
Analytics Jenkins Plugins   applitools-eyes            1.5          itools-eyes/1.5/applitools-eyes.hpi               MIT           plugin/blob/master/LICENSE                          Applitools Eyes Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/anti
                                                                    samy-markup-formatter/1.5/antisamy-markup-                      https://github.com/jenkinsci/antisamy-markup-
Analytics Jenkins Plugins   antisamy-markup-formatter 1.5           formatter.hpi                                     MIT           formatter-plugin/blob/master/pom.xml                  OWASP Markup Formatter Plugin                  Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/wor
                                                                    kflow-durable-task-step/2.4/workflow-durable-                   https://github.com/jenkinsci/workflow-durable-task-
Analytics Jenkins Plugins   workflow-durable-task-step 2.4          task-step.hpi                                     MIT           step-plugin/blob/master/pom.xml                       Pipeline: Nodes and Processes                  Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/extr                https://github.com/jenkinsci/extra-columns-
Analytics Jenkins Plugins   extra-columns              1.18         a-columns/1.18/extra-columns.hpi                  MIT           plugin/blob/master/pom.xml                            Extra Columns Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/cred                https://github.com/jenkinsci/credentials-binding-
Analytics Jenkins Plugins   credentials-binding        1.11         entials-binding/1.11/credentials-binding.hpi      MIT           plugin/blob/master/pom.xml                            Credentials Binding Plugin                     Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/ldap                https://github.com/jenkinsci/ldap-
Analytics Jenkins Plugins   ldap                       1.14         /1.14/ldap.hpi                                    MIT           plugin/blob/master/pom.xml                            LDAP Plugin                                    Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/urltr               https://github.com/jenkinsci/urltrigger-
Analytics Jenkins Plugins   urltrigger                 0.41         igger/0.41/urltrigger.hpi                         MIT           plugin/blob/master/pom.xml                            Jenkins URLTrigger Plug-in                     Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/han                 https://github.com/jenkinsci/js-
Analytics Jenkins Plugins   handlebars                 1.1.1        dlebars/1.1.1/handlebars.hpi                      MIT           libs/tree/master/handlebars\/blob/master/pom.xml      JavaScript GUI Lib: Handlebars bundle plugin   Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/ansi                https://github.com/jenkinsci/ansicolor-
Analytics Jenkins Plugins   ansicolor                  0.5.2        color/0.5.2/ansicolor.hpi                         MIT           plugin/blob/master/LICENSE                            AnsiColor                                      Other (provide description) No   Other (provide description) No   No
                                                                    https://updates.jenkins.io/download/plugins/stru                https://github.com/jenkinsci/structs-
Analytics Jenkins Plugins   structs                    1.6          cts/1.6/structs.hpi                               MIT           plugin/structs/blob/master/pom.xml                    Structs Plugin                                 Other (provide description) No   Other (provide description) No   No
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                                                                  https://updates.jenkins.io/download/plugins/gra                 https://github.com/jenkinsci/gradle-
Analytics Jenkins Plugins   gradle                     1.3        dle/1.30/gradle.hpi                               MIT           plugin/blob/master/LICENSE                              Gradle Plugin                                  Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/ace-                https://github.com/jenkinsci/js-libs/tree/master/ace-
Analytics Jenkins Plugins   ace-editor                 1.1        editor/1.1/ace-editor.hpi                         MIT           editor\/blob/master/pom.xml                             JavaScript GUI Lib: ACE Editor bundle plugin   Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/juni                https://github.com/jenkinsci/junit-
Analytics Jenkins Plugins   junit                      1.2        t/1.20/junit.hpi                                  MIT           plugin/blob/master/pom.xml                              JUnit Plugin                                   Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/buil                https://github.com/jenkinsci/build-pipeline-
Analytics Jenkins Plugins   build-pipeline-plugin      1.5.6      d-pipeline-plugin/1.5.6/build-pipeline-plugin.hpi MIT           plugin/blob/master/pom.xml                              Build Pipeline Plugin                          Other (provide description) No   Other (provide description) No   No


                                                                  https://updates.jenkins.io/download/plugins/aut                 https://github.com/jenkinsci/authentication-tokens-
Analytics Jenkins Plugins   authentication-tokens      1.3        hentication-tokens/1.3/authentication-tokens.hpi MIT            plugin/blob/master/pom.xml                              Authentication Tokens API Plugin               Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/tim                 https://github.com/jenkinsci/timestamper-
Analytics Jenkins Plugins   timestamper                1.8.8      estamper/1.8.8/timestamper.hpi                     MIT          plugin/blob/master/pom.xml                              Timestamper                                    Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/conf                https://github.com/jenkinsci/config-file-provider-
Analytics Jenkins Plugins   config-file-provider       2.15.7     ig-file-provider/2.15.7/config-file-provider.hpi   MIT          plugin/blob/master/pom.xml                              Config File Provider Plugin                    Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/job                 https://github.com/jenkinsci/jobConfigHistory-
Analytics Jenkins Plugins   jobConfigHistory           2.16       ConfigHistory/2.16/jobConfigHistory.hpi            MIT          plugin/blob/master/pom.xml                              Jenkins Job Configuration History Plugin       Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/git/                https://github.com/jenkinsci/git-
Analytics Jenkins Plugins   git                        3.0.1      3.0.1/git.hpi                                      MIT          plugin/blob/master/pom.xml                              Jenkins Git plugin                             Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/cred                https://github.com/jenkinsci/credentials-
Analytics Jenkins Plugins   credentials                2.1.13     entials/2.1.13/credentials.hpi                     MIT          plugin/blob/master/pom.xml                              Credentials Plugin                             Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/scri                https://github.com/jenkinsci/script-security-
Analytics Jenkins Plugins   script-security            1.25       pt-security/1.25/script-security.hpi               MIT          plugin/blob/master/pom.xml                              Script Security Plugin                         Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/ema
                                                                  il-ext-recipients-column/1.0/email-ext-recipients-              https://github.com/jenkinsci/email-ext-recipients-
Analytics Jenkins Plugins   email-ext-recipients-column 1         column.hpi                                         MIT          column-plugin/blob/master/pom.xml                       Email Ext Recipients Column Plugin             Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/post                https://github.com/jenkinsci/postbuildscript-
Analytics Jenkins Plugins   postbuildscript            0.17       buildscript/0.17/postbuildscript.hpi               MIT          plugin/blob/master/LICENSE                              Jenkins Post-Build Script Plug-in              Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/jque                https://github.com/jenkinsci/jquery-
Analytics Jenkins Plugins   jquery                     1.11.2-0   ry/1.11.2-0/jquery.hpi                             MIT          plugin/blob/master/pom.xml                              Jenkins jQuery plugin                          Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/buil                https://github.com/jenkinsci/build-publisher-
Analytics Jenkins Plugins   build-publisher            1.21       d-publisher/1.21/build-publisher.hpi               MIT          plugin/blob/master/pom.xml                              Hudson Build-Publisher plugin                  Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/glob
                            global-variable-string-               al-variable-string-parameter/1.2/global-variable-               https://github.com/jenkinsci/global-variable-string-
Analytics Jenkins Plugins   parameter                  1.2        string-parameter.hpi                               MIT          parameter-plugin/blob/master/pom.xml                    Global Variable String Parameter               Other (provide description) No   Other (provide description) No   No


                                                                  https://updates.jenkins.io/download/plugins/con                 https://github.com/jenkinsci/conditional-buildstep-
Analytics Jenkins Plugins   conditional-buildstep      1.3.5      ditional-buildstep/1.3.5/conditional-buildstep.hpi MIT          plugin/blob/master/pom.xml                              Conditional BuildStep                          Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/mo                  https://github.com/jenkinsci/modernstatus-
Analytics Jenkins Plugins   modernstatus               1.2        dernstatus/1.2/modernstatus.hpi                    MIT          plugin/blob/master/pom.xml                              Modern Status                                  Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/run-                https://github.com/jenkinsci/run-condition-
Analytics Jenkins Plugins   run-condition              1          condition/1.0/run-condition.hpi                    MIT          plugin/blob/master/pom.xml                              Run Condition Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/mul                 https://github.com/jenkinsci/multiple-scms-
Analytics Jenkins Plugins   multiple-scms              0.6        tiple-scms/0.6/multiple-scms.hpi                   MIT          plugin/blob/master/LICENSE                              Jenkins Multiple SCMs plugin                   Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/ema                 https://github.com/jenkinsci/emailext-template-
Analytics Jenkins Plugins   emailext-template          1          ilext-template/1.0/emailext-template.hpi           MIT          plugin/blob/master/pom.xml                              Email Extension Template Plugin                Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/testI               https://github.com/jenkinsci/testInProgress-
Analytics Jenkins Plugins   testInProgress             1.4        nProgress/1.4/testInProgress.hpi                   MIT          plugin/blob/master/LICENSE                              Test In Progress Plugin                        Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/next-               https://github.com/jenkinsci/next-build-number-
Analytics Jenkins Plugins   next-build-number          1.4        build-number/1.4/next-build-number.hpi             MIT          plugin/blob/master/pom.xml                              Next Build Number Plugin                       Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/jque                https://github.com/jenkinsci/jquery-ui-
Analytics Jenkins Plugins   jquery-ui                  1.0.2      ry-ui/1.0.2/jquery-ui.hpi                          MIT          plugin/blob/master/pom.xml                              Jenkins jQuery UI plugin                       Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/dep                 https://github.com/jenkinsci/depgraph-view-
Analytics Jenkins Plugins   depgraph-view              0.11       graph-view/0.11/depgraph-view.hpi                  MIT          plugin/blob/master/pom.xml                              Dependency Graph Viewer Plugin                 Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/cust                https://github.com/jenkinsci/custom-job-icon-
Analytics Jenkins Plugins   custom-job-icon            0.2        om-job-icon/0.2/custom-job-icon.hpi                MIT          plugin/blob/master/pom.xml                              Custom Job Icon plugin                         Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/disk-               https://github.com/jenkinsci/disk-usage-
Analytics Jenkins Plugins   disk-usage                 0.28       usage/0.28/disk-usage.hpi                          MIT          plugin/blob/master/pom.xml                              Jenkins disk-usage plugin                      Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/jack                https://github.com/jenkinsci/jackson2-api-
Analytics Jenkins Plugins   jackson2-api               2.7.3      son2-api/2.7.3/jackson2-api.hpi                    MIT          plugin/blob/master/pom.xml                              Jackson 2 API Plugin                           Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/artif               https://github.com/jenkinsci/artifactdeployer-
Analytics Jenkins Plugins   artifactdeployer           0.33       actdeployer/0.33/artifactdeployer.hpi              MIT          plugin/blob/master/pom.xml                              Jenkins Artifact Deployer Plug-in              Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/nod                 https://github.com/jenkinsci/node-iterator-api-
Analytics Jenkins Plugins   node-iterator-api          1.5        e-iterator-api/1.5/node-iterator-api.hpi           MIT          plugin/blob/master/pom.xml                              Node Iterator API Plugin                       Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/map                 https://github.com/jenkinsci/mapdb-api-
Analytics Jenkins Plugins   mapdb-api                  1.0.9.0    db-api/1.0.9.0/mapdb-api.hpi                       MIT          plugin/blob/master/pom.xml                              MapDB API Plugin                               Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/dyn
Analytics Jenkins Plugins   dynamicparameter           0.2.0      amicparameter/0.2.0/dynamicparameter.hpi           MIT                                                                  Jenkins Dynamic Parameter Plug-in              Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/das                 https://github.com/jenkinsci/dashboard-view-
Analytics Jenkins Plugins   dashboard-view             2.9.10     hboard-view/2.9.10/dashboard-view.hpi              MIT          plugin/blob/master/pom.xml                              Dashboard View                                 Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/buil                https://github.com/jenkinsci/build-user-vars-
Analytics Jenkins Plugins   build-user-vars-plugin     1.5        d-user-vars-plugin/1.5/build-user-vars-plugin.hpi MIT           plugin/blob/master/pom.xml                              Jenkins user build vars plugin                 Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/met                 https://github.com/jenkinsci/metrics-diskusage-
Analytics Jenkins Plugins   metrics-diskusage          3.0.0      rics-diskusage/3.0.0/metrics-diskusage.hpi         MIT          plugin/blob/master/LICENSE.md                           Metrics Disk Usage Plugin                      Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/scri
Analytics Jenkins Plugins   scriptler                  2.9        ptler/2.9/scriptler.hpi                            MIT                                                                  Scriptler                                      Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/nest                https://github.com/jenkinsci/nested-view-
Analytics Jenkins Plugins   nested-view                1.14       ed-view/1.14/nested-view.hpi                       MIT          plugin/blob/master/pom.xml                              Nested View Plugin                             Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/disc                https://github.com/jenkinsci/discard-old-build-
Analytics Jenkins Plugins   discard-old-build          1.05       ard-old-build/1.05/discard-old-build.hpi           MIT          plugin/blob/master/pom.xml                              Discard Old Build plugin                       Other (provide description) No   Other (provide description) No   No
                                                      19-10971-dsj                         Doc 210                        Filed 06/03/19 Entered 06/03/19 14:17:12                                                                   Main Document
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                                                                  https://updates.jenkins.io/download/plugins/post               https://github.com/jenkinsci/postbuild-task-
Analytics Jenkins Plugins   postbuild-task            1.8         build-task/1.8/postbuild-task.hpi                MIT           plugin/blob/master/pom.xml                             Hudson Post build task                      Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/envi               https://github.com/jenkinsci/envinject-
Analytics Jenkins Plugins   envinject                 1.92.1      nject/1.92.1/envinject.hpi                       MIT           plugin/blob/master/pom.xml                             Environment Injector Plugin                 Other (provide description) No   Other (provide description) No   No
                                                                  https://updates.jenkins.io/download/plugins/acti               https://github.com/jenkinsci/active-directory-
Analytics Jenkins Plugins   active-directory          1.47        ve-directory/1.47/active-directory.hpi           MIT           plugin/blob/master/pom.xml                             Jenkins Active Directory plugin             Other (provide description) No   Other (provide description) No   No

                                                                  "https://updates.jenkins.io/download/plugins/cuc               "https://github.com/jenkinsci/cucumber-performance-
ESP Jenkins Plugins         cucumber-perf             "2.0.9"     umber-perf/2.0.9/cucumber-perf.hpi"               MIT          plugin/blob/master/LICENSE.md"                      "cucumber-perf"                                Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/Par
                            Parameterized-Remote-                 ameterized-Remote-Trigger/2.2.2/Parameterized-                 "https://github.com/jenkinsci/parameterized-remote-
ESP Jenkins Plugins         Trigger                   "2.2.2"     Remote-Trigger.hpi"                               MIT          trigger-plugin/blob/master/LICENSE"                 "Parameterized Remote Trigger Plugin"          Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/me                "https://github.com/jenkinsci/mesos-
ESP Jenkins Plugins         mesos                     "0.13.1"    sos/0.13.1/mesos.hpi"                             MIT          plugin/blob/master/LICENSE"                         "mesos"                                        Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/tok               "https://github.com/jenkinsci/token-macro-
ESP Jenkins Plugins         token-macro               "2.0"       en-macro/2.0/token-macro.hpi"                     MIT          plugin/blob/master/pom.xml"                         "Token Macro Plugin"                           Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/ext               "https://github.com/jenkinsci/external-monitor-job-
ESP Jenkins Plugins         external-monitor-job      "1.6"       ernal-monitor-job/1.6/external-monitor-job.hpi" MIT            plugin/blob/master/pom.xml"                         "External Monitor Job Type Plugin"             Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/em
                                                                  beddable-build-status/1.9/embeddable-build-                    "https://github.com/jenkinsci/embeddable-build-
ESP Jenkins Plugins         embeddable-build-status   "1.9"       status.hpi"                                       MIT          status-plugin/blob/master/pom.xml"                     "embeddable-build-status"                   Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/loc               "https://github.com/jenkinsci/lockable-resources-
ESP Jenkins Plugins         lockable-resources        "1.11"      kable-resources/1.11/lockable-resources.hpi"      MIT          plugin/blob/master/pom.xml"                            "Lockable Resources plugin"                 Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/dis               "https://github.com/jenkinsci/disk-usage-
ESP Jenkins Plugins         disk-usage                "0.28"      k-usage/0.28/disk-usage.hpi"                      MIT          plugin/blob/master/pom.xml"                            "Jenkins disk-usage plugin"                 Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/do                "https://github.com/jenkinsci/docker-commons-
ESP Jenkins Plugins         docker-commons            "1.5"       cker-commons/1.5/docker-commons.hpi"              MIT          plugin/blob/master/pom.xml"                            "Docker Commons Plugin"                     Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/job-              "https://github.com/jenkinsci/job-import-
ESP Jenkins Plugins         job-import-plugin         "1.5"       import-plugin/1.5/job-import-plugin.hpi"          MIT          plugin/blob/master/pom.xml"                            "Job Import Plugin"                         Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/jen
                                                                  kins-multijob-plugin/1.26/jenkins-multijob-                    "https://github.com/jenkinsci/tikal-multijob-
ESP Jenkins Plugins         jenkins-multijob-plugin   "1.26"      plugin.hpi"                                       MIT          plugin/blob/master/pom.xml"                            "Jenkins Multijob plugin"                   Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/po                "https://github.com/jenkinsci/postbuild-task-
ESP Jenkins Plugins         postbuild-task            "1.8"       stbuild-task/1.8/postbuild-task.hpi"              MIT          plugin/blob/master/pom.xml"                            "Hudson Post build task"                    Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/aw                "https://github.com/jenkinsci/aws-java-sdk-
ESP Jenkins Plugins         aws-java-sdk              "1.10.50"   s-java-sdk/1.10.50/aws-java-sdk.hpi"              MIT          plugin/blob/master/pom.xml"                            "Amazon Web Services SDK"                   Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/ma                "https://github.com/jenkinsci/maven-
ESP Jenkins Plugins         maven-plugin              "2.14"      ven-plugin/2.14/maven-plugin.hpi"                 MIT          plugin/blob/master/pom.xml"                            "Maven Integration plugin"                  Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/wo                "https://github.com/jenkinsci/workflow-api-
ESP Jenkins Plugins         workflow-api              "2.18"      rkflow-api/2.18/workflow-api.hpi"                 MIT          plugin/blob/master/pom.xml"                            "Pipeline: API"                             Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/pro               "https://github.com/jenkinsci/promoted-builds-
ESP Jenkins Plugins         promoted-builds           "2.27"      moted-builds/2.27/promoted-builds.hpi"            MIT          plugin/blob/master/LICENSE"                            "Jenkins promoted builds plugin"            Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/gitl              "https://github.com/jenkinsci/gitlab-hook-
ESP Jenkins Plugins         gitlab-hook               "1.4.2"     ab-hook/1.4.2/gitlab-hook.hpi"                    MIT          plugin/blob/master/pom.xml"                            "Gitlab Hook Plugin"                        Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/no                "https://github.com/jenkinsci/node-iterator-api-
ESP Jenkins Plugins         node-iterator-api         "1.5"       de-iterator-api/1.5/node-iterator-api.hpi"        MIT          plugin/blob/master/pom.xml"                            "Node Iterator API Plugin"                  Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/ch                "https://github.com/jenkinsci/chucknorris-
ESP Jenkins Plugins         chucknorris               "1.1"       ucknorris/1.1/chucknorris.hpi"                    MIT          plugin/blob/master/pom.xml"                            "ChuckNorris Plugin"                        Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/de
                                                                  ployment-notification/1.4/deployment-                          "https://github.com/jenkinsci/deployment-
ESP Jenkins Plugins         deployment-notification   "1.4"       notification.hpi"                                 MIT          notification-plugin/blob/master/pom.xml"               "deployment-notification"                   Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/reb               "https://github.com/jenkinsci/rebuild-
ESP Jenkins Plugins         rebuild                   "1.25"      uild/1.25/rebuild.hpi"                            MIT          plugin/blob/master/pom.xml"                            "Rebuilder"                                 Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/ant               "https://github.com/jenkinsci/ant-
ESP Jenkins Plugins         ant                       "1.3"       /1.3/ant.hpi"                                     MIT          plugin/blob/master/pom.xml"                            "Ant Plugin"                                Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/sla               "https://github.com/jenkinsci/slack-
ESP Jenkins Plugins         slack                     "2.3"       ck/2.3/slack.hpi"                                 MIT          plugin/blob/master/pom.xml"                            "Slack Notification Plugin"                 Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/pip
                                                                  eline-graph-analysis/1.4/pipeline-graph-                       "https://github.com/jenkinsci/pipeline-graph-analysis-
ESP Jenkins Plugins         pipeline-graph-analysis   "1.4"       analysis.hpi"                                     MIT          plugin//blob/master/LICENSE"                           "Pipeline Graph Analysis Plugin"            Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/ec                "https://github.com/jenkinsci/ec2-
ESP Jenkins Plugins         ec2                       "1.32"      2/1.32/ec2.hpi"                                   MIT          plugin/blob/master/pom.xml"                            "Amazon EC2 plugin"                         Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/cuc               "https://github.com/melezhik/cucumber-
ESP Jenkins Plugins         cucumber                  "0.0.2"     umber/0.0.2/cucumber.hpi"                         MIT          plugin\/blob/master/pom.xml"                           "Cucumber Plugin"                           Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/em                "https://github.com/jenkinsci/email-ext-
ESP Jenkins Plugins         email-ext                 "2.52"      ail-ext/2.52/email-ext.hpi"                       MIT          plugin/blob/master/LICENSE"                            "Email Extension Plugin"                    Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/ec
                                                                  2-deployment-dashboard/1.0.10/ec2-deployment-                  "https://github.com/jenkinsci/ec2-deployment-
ESP Jenkins Plugins         ec2-deployment-dashboard "1.0.10"     dashboard.hpi"                                    MIT          dashboard/blob/master/LICENSE"                         "Deployment Dashboard Plugin for Jenkins"   Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/arti              "https://github.com/jenkinsci/artifact-promotion-
ESP Jenkins Plugins         artifact-promotion        "0.4.0"     fact-promotion/0.4.0/artifact-promotion.hpi"      MIT          plugin/blob/master/pom.xml"                            "artifact-promotion"                        Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/wo                "https://github.com/jenkinsci/workflow-scm-step-
ESP Jenkins Plugins         workflow-scm-step         "2.5"       rkflow-scm-step/2.5/workflow-scm-step.hpi"        MIT          plugin/blob/master/pom.xml"                            "Pipeline: SCM Step"                        Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/ht                "https://github.com/jenkinsci/htmlpublisher-
ESP Jenkins Plugins         htmlpublisher             "1.13"      mlpublisher/1.13/htmlpublisher.hpi"               MIT          plugin/blob/master/LICENSE"                            "HTML Publisher plugin"                     Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/bui               "https://github.com/jenkinsci/build-publisher-
ESP Jenkins Plugins         build-publisher           "1.21"      ld-publisher/1.21/build-publisher.hpi"            MIT          plugin/blob/master/pom.xml"                            "Hudson Build-Publisher plugin"             Other (provide description) No   Other (provide description) No   No
                                                                  "https://updates.jenkins.io/download/plugins/ws-               "https://github.com/jenkinsci/ws-cleanup-
ESP Jenkins Plugins         ws-cleanup                "0.32"      cleanup/0.32/ws-cleanup.hpi"                      MIT          plugin/blob/master/pom.xml"                            "Jenkins Workspace Cleanup Plugin"          Other (provide description) No   Other (provide description) No   No
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                                                               "https://updates.jenkins.io/download/plugins/rub                "https://github.com/jenkinsci/jenkins.rb/blob/master/
ESP Jenkins Plugins   ruby-runtime                 "0.13"      y-runtime/0.13/ruby-runtime.hpi"                 MIT            pom.xml"                                              "ruby-runtime"                                 Other (provide description) No   Other (provide description) No   No


                                                               "https://updates.jenkins.io/download/plugins/wo                 "https://github.com/jenkinsci/workflow-aggregator-
ESP Jenkins Plugins   workflow-aggregator          "2.4"       rkflow-aggregator/2.4/workflow-aggregator.hpi" MIT              plugin/blob/master/pom.xml"                            "Pipeline"                                    Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/cuc
                                                               umber-testresult-plugin/0.9.7/cucumber-                         "https://github.com/jenkinsci/cucumber-testresult-
ESP Jenkins Plugins   cucumber-testresult-plugin   "0.9.7"     testresult-plugin.hpi"                            MIT           plugin//blob/master/pom.xml"                           "Cucumber json test reporting."               Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/ext
                                                               ended-read-permission/1.0/extended-read-                        "https://github.com/jenkinsci/extended-read-
ESP Jenkins Plugins   extended-read-permission     "1.0"       permission.hpi"                                   MIT           permission-plugin/blob/master/pom.xml"                 "Hudson Extended Read Permission Plugin"      Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/pa                 "https://github.com/jenkinsci/pam-auth-
ESP Jenkins Plugins   pam-auth                     "1.3"       m-auth/1.3/pam-auth.hpi"                          MIT           plugin/blob/master/pom.xml"                            "PAM Authentication plugin"                   Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/rol                "https://github.com/jenkinsci/role-strategy-
ESP Jenkins Plugins   role-strategy                "2.3.2"     e-strategy/2.3.2/role-strategy.hpi"               MIT           plugin/blob/master/pom.xml"                            "Role-based Authorization Strategy"           Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/ssh-               "https://github.com/jenkinsci/ssh-slaves-
ESP Jenkins Plugins   ssh-slaves                   "1.11"      slaves/1.11/ssh-slaves.hpi"                       MIT           plugin/blob/master/pom.xml"                            "Jenkins SSH Slaves plugin"                   Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/jqu                "https://github.com/jenkinsci/jquery-ui-
ESP Jenkins Plugins   jquery-ui                    "1.0.2"     ery-ui/1.0.2/jquery-ui.hpi"                       MIT           plugin/blob/master/pom.xml"                            "Jenkins jQuery UI plugin"                    Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/pip                "https://github.com/jenkinsci/pipeline-stage-view-
ESP Jenkins Plugins   pipeline-stage-view          "2.8"       eline-stage-view/2.8/pipeline-stage-view.hpi"     MIT           plugin/blob/master/pom.xml"                            "Pipeline: Stage View Plugin"                 Other (provide description) No   Other (provide description) No   No


                                                               "https://updates.jenkins.io/download/plugins/do                 "https://github.com/jenkinsci/docker-build-publish-
ESP Jenkins Plugins   docker-build-publish         "1.3.2"     cker-build-publish/1.3.2/docker-build-publish.hpi" MIT          plugin/blob/master/pom.xml"                            "CloudBees Docker Build and Publish plugin" Other (provide description) No     Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/dis                "https://github.com/jenkinsci/display-url-api-
ESP Jenkins Plugins   display-url-api              "0.5"       play-url-api/0.5/display-url-api.hpi"              MIT          plugin/blob/master/pom.xml"                            "Display URL API"                             Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/wo                 "https://github.com/jenkinsci/workflow-support-
ESP Jenkins Plugins   workflow-support             "2.14"      rkflow-support/2.14/workflow-support.hpi"          MIT          plugin/blob/master/pom.xml"                            "Pipeline: Supporting APIs"                   Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/gre                "https://github.com/jenkinsci/greenballs-
ESP Jenkins Plugins   greenballs                   "1.15"      enballs/1.15/greenballs.hpi"                       MIT          plugin/blob/master/pom.xml"                            "Green Balls"                                 Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/pla                "https://github.com/jenkinsci/plain-credentials-
ESP Jenkins Plugins   plain-credentials            "1.3"       in-credentials/1.3/plain-credentials.hpi"          MIT          plugin/blob/master/pom.xml"                            "Plain Credentials Plugin"                    Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/wo
                                                               rkflow-cps-global-lib/2.8/workflow-cps-global-                  "https://github.com/jenkinsci/workflow-cps-global-lib-
ESP Jenkins Plugins   workflow-cps-global-lib      "2.8"       lib.hpi"                                           MIT          plugin/blob/master/pom.xml"                            "Pipeline: Shared Groovy Libraries"           Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/job                "https://github.com/jenkinsci/jobtype-column-
ESP Jenkins Plugins   jobtype-column               "1.3"       type-column/1.3/jobtype-column.hpi"                MIT          plugin/blob/master/pom.xml"                            "Job Type Column"                             Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/co                 "https://github.com/jenkinsci/copyartifact-
ESP Jenkins Plugins   copyartifact                 "1.38.1"    pyartifact/1.38.1/copyartifact.hpi"                MIT          plugin/blob/master/pom.xml"                            "Copy Artifact Plugin"                        Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/na                 "https://github.com/jenkinsci/naginator-
ESP Jenkins Plugins   naginator                    "1.17.2"    ginator/1.17.2/naginator.hpi"                      MIT          plugin/blob/master/pom.xml"                            "Naginator"                                   Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/su                 "https://github.com/jenkinsci/subversion-
ESP Jenkins Plugins   subversion                   "2.7.1"     bversion/2.7.1/subversion.hpi"                     MIT          plugin/blob/master/pom.xml"                            "Jenkins Subversion Plug-in"                  Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/pip                "https://github.com/jenkinsci/pipeline-stage-view-
ESP Jenkins Plugins   pipeline-rest-api            "2.8"       eline-rest-api/2.8/pipeline-rest-api.hpi"          MIT          plugin/blob/master/pom.xml"                            "Pipeline: REST API Plugin"                   Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/arti               "https://github.com/jenkinsci/artifactory-
ESP Jenkins Plugins   artifactory                  "2.5.1"     factory/2.5.1/artifactory.hpi"                     MIT          plugin/blob/master/pom.xml"                            "Jenkins Artifactory Plugin"                  Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/wo                 "https://github.com/jenkinsci/workflow-job-
ESP Jenkins Plugins   workflow-job                 "2.11.1"    rkflow-job/2.11.1/workflow-job.hpi"                MIT          plugin/blob/master/pom.xml"                            "Pipeline: Job"                               Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/bui
ESP Jenkins Plugins   build-flow-plugin            "0.20"      ld-flow-plugin/0.20/build-flow-plugin.hpi"         MIT          ""                                                     "Build Flow plugin"                           Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/ssh-               "https://github.com/jenkinsci/ssh-agent-
ESP Jenkins Plugins   ssh-agent                    "1.10"      agent/1.10/ssh-agent.hpi"                          MIT          plugin/blob/master/pom.xml"                            "SSH Agent Plugin"                            Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/jira               "https://github.com/jenkinsci/jira-
ESP Jenkins Plugins   jira                         "2.2.1"     /2.2.1/jira.hpi"                                   MIT          plugin/blob/master/LICENSE.md"                         "Jenkins JIRA plugin"                         Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/mo                 "https://github.com/jenkinsci/js-                      "JavaScript GUI Lib: Moment.js bundle
ESP Jenkins Plugins   momentjs                     "1.1.1"     mentjs/1.1.1/momentjs.hpi"                         MIT          libs/tree/master/momentjs\/blob/master/pom.xml"        plugin"                                       Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/bui                "https://github.com/jenkinsci/build-token-root-
ESP Jenkins Plugins   build-token-root             "1.4"       ld-token-root/1.4/build-token-root.hpi"            MIT          plugin/blob/master/pom.xml"                            "Build Authorization Token Root Plugin"       Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/arti               "https://github.com/jenkinsci/artifactdeployer-
ESP Jenkins Plugins   artifactdeployer             "0.33"      factdeployer/0.33/artifactdeployer.hpi"            MIT          plugin/blob/master/pom.xml"                            "Jenkins Artifact Deployer Plug-in"           Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/gra                "https://github.com/jenkinsci/graphite-
ESP Jenkins Plugins   graphiteIntegrator           "1.2"       phiteIntegrator/1.2/graphiteIntegrator.hpi"        MIT          plugin/blob/master/pom.xml"                            "graphiteIntegrator"                          Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/am                 "https://github.com/jenkinsci/amazon-ecs-
ESP Jenkins Plugins   amazon-ecs                   "1.4"       azon-ecs/1.4/amazon-ecs.hpi"                       MIT          plugin/blob/master/LICENSE"                            "Amazon EC2 Container Service plugin"         Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/sc                 "https://github.com/jenkinsci/scm-api-
ESP Jenkins Plugins   scm-api                      "2.2.0"     m-api/2.2.0/scm-api.hpi"                           MIT          plugin/blob/master/pom.xml"                            "SCM API Plugin"                              Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/sch                "https://github.com/jenkinsci/schedule-build-
ESP Jenkins Plugins   schedule-build               "0.3.4"     edule-build/0.3.4/schedule-build.hpi"              MIT          plugin/blob/master/pom.xml"                            "Schedule Build Plugin"                       Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/wo
                                                               rkflow-multibranch/2.16/workflow-                               "https://github.com/jenkinsci/workflow-multibranch-
ESP Jenkins Plugins   workflow-multibranch         "2.16"      multibranch.hpi"                                   MIT          plugin/blob/master/pom.xml"                            "Pipeline: Multibranch"                       Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/ma                 "https://github.com/jenkinsci/mapdb-api-
ESP Jenkins Plugins   mapdb-api                    "1.0.9.0"   pdb-api/1.0.9.0/mapdb-api.hpi"                     MIT          plugin/blob/master/pom.xml"                            "MapDB API Plugin"                            Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/an                 "https://github.com/jenkinsci/analysis-collector-
ESP Jenkins Plugins   analysis-collector           "1.48"      alysis-collector/1.48/analysis-collector.hpi"      MIT          plugin/blob/master/pom.xml"                            "Static Analysis Collector Plug-in"           Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/un                 "https://github.com/jenkinsci/active-choices-
ESP Jenkins Plugins   uno-choice                   "1.4"       o-choice/1.4/uno-choice.hpi"                       MIT          plugin/blob/master/pom.xml"                            "Active Choices Plug-in"                      Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/ma                 "https://github.com/jenkinsci/mailer-
ESP Jenkins Plugins   mailer                       "1.18"      iler/1.18/mailer.hpi"                              MIT          plugin/blob/master/pom.xml"                            "Jenkins Mailer Plugin"                       Other (provide description) No   Other (provide description) No   No
                                                19-10971-dsj                          Doc 210                         Filed 06/03/19 Entered 06/03/19 14:17:12                                                                     Main Document
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                                                            "https://updates.jenkins.io/download/plugins/de                  "https://github.com/jenkinsci/depgraph-view-
ESP Jenkins Plugins   depgraph-view             "0.11"      pgraph-view/0.11/depgraph-view.hpi"              MIT             plugin/blob/master/pom.xml"                            "Dependency Graph Viewer Plugin"              Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/dat                 "https://github.com/jenkinsci/database-
ESP Jenkins Plugins   database                  "1.5"       abase/1.5/database.hpi"                          MIT             plugin/blob/master/pom.xml"                            "database"                                    Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/clo                 "https://github.com/jenkinsci/cloudbees-folder-
ESP Jenkins Plugins   cloudbees-folder          "6.1.0"     udbees-folder/6.1.0/cloudbees-folder.hpi"        MIT             plugin/blob/master/pom.xml"                            "Folders Plugin"                              Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/no                  "https://github.com/jenkinsci/nodejs-
ESP Jenkins Plugins   nodejs                    "0.2.1"     dejs/0.2.1/nodejs.hpi"                           MIT             plugin/blob/master/pom.xml"                            "NodeJS Plugin"                               Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/mu                  "https://github.com/jenkinsci/multiple-scms-
ESP Jenkins Plugins   multiple-scms             "0.6"       ltiple-scms/0.6/multiple-scms.hpi"               MIT             plugin/blob/master/LICENSE"                            "Jenkins Multiple SCMs plugin"                Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/dy
                      dynamic_extended_choice_p             namic_extended_choice_parameter/1.0.1/dynam                      "https://github.com/jenkinsci/dynamic-extended-        "Dynamic Extended Choice Parameter Plug-
ESP Jenkins Plugins   arameter                  "1.0.1"     ic_extended_choice_parameter.hpi"                MIT             choice-parameter-plugin/blob/master/pom.xml"           In"                                           Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/clo
                                                            udbees-credentials/3.3/cloudbees-                                "https://github.com/jenkinsci/cloudbees-credentials-
ESP Jenkins Plugins   cloudbees-credentials     "3.3"       credentials.hpi"                                 MIT             plugin/blob/master/pom.xml"                          "CloudBees Credentials Plugin"                  Other (provide description) No   Other (provide description) No   No


                                                            "https://updates.jenkins.io/download/plugins/bui                 "https://github.com/jenkinsci/build-user-vars-
ESP Jenkins Plugins   build-user-vars-plugin    "1.5"       ld-user-vars-plugin/1.5/build-user-vars-plugin.hpi" MIT          plugin/blob/master/pom.xml"                            "Jenkins user build vars plugin"              Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/ssh                 "https://github.com/jenkinsci/ssh-
ESP Jenkins Plugins   ssh                       "2.4"       /2.4/ssh.hpi"                                       MIT          plugin/blob/master/pom.xml"                            "Jenkins SSH plugin"                          Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/so                  "https://github.com/jenkinsci/sonarqube-
ESP Jenkins Plugins   sonar                     "2.4.4"     nar/2.4.4/sonar.hpi"                                MIT          plugin/blob/master/pom.xml"                            "Jenkins SonarQube Plugin"                    Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/par
                                                            ameterized-scheduler/0.6.2/parameterized-                        "https://github.com/jenkinsci/parameterized-
ESP Jenkins Plugins   parameterized-scheduler   "0.6.2"     scheduler.hpi"                                      MIT          scheduler-plugin/blob/master/LICENSE"                  "Parameterized Scheduler"                     Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/cuc                 "https://github.com/jenkinsci/cucumber-reports-
ESP Jenkins Plugins   cucumber-reports          "4.2.2"     umber-reports/4.2.2/cucumber-reports.hpi"           MIT          plugin/blob/master/pom.xml"                            "Cucumber reports"                            Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/ch                  "https://github.com/jenkinsci/checkstyle-
ESP Jenkins Plugins   checkstyle                "3.46"      eckstyle/3.46/checkstyle.hpi"                       MIT          plugin/blob/master/pom.xml"                            "Checkstyle Plug-in"                          Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/en                  "https://github.com/jenkinsci/envinject-
ESP Jenkins Plugins   envinject                 "1.92.1"    vinject/1.92.1/envinject.hpi"                       MIT          plugin/blob/master/pom.xml"                            "Environment Injector Plugin"                 Other (provide description) No   Other (provide description) No   No


                                                            "https://updates.jenkins.io/download/plugins/pla                 "https://github.com/jenkinsci/play-
ESP Jenkins Plugins   play-autotest-plugin      "1.0.2"     y-autotest-plugin/1.0.2/play-autotest-plugin.hpi" MIT            plugin/blob/master/pom.xml"                            "Play Framework plugin"                       Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/res                 "https://github.com/jenkinsci/resource-disposer-
ESP Jenkins Plugins   resource-disposer         "0.3"       ource-disposer/0.3/resource-disposer.hpi"         MIT            plugin/blob/master/pom.xml"                            "Resource Disposer Plugin"                    Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/pu                  "https://github.com/jenkinsci/publish-over-ssh-
ESP Jenkins Plugins   publish-over-ssh          "1.14"      blish-over-ssh/1.14/publish-over-ssh.hpi"         MIT            plugin/blob/master/pom.xml"                            "Publish Over SSH"                            Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/jqu                 "https://github.com/jenkinsci/jquery-                  "JavaScript GUI Lib: jQuery bundles (jQuery
ESP Jenkins Plugins   jquery-detached           "1.2.1"     ery-detached/1.2.1/jquery-detached.hpi"           MIT            detached/blob/master/pom.xml"                          and jQuery UI) plugin"                        Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/job-                "https://github.com/jenkinsci/job-dsl-
ESP Jenkins Plugins   job-dsl                   "1.58"      dsl/1.58/job-dsl.hpi"                             MIT            plugin/blob/master/pom.xml"                            "Job DSL"                                     Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/co
                                                            nditional-buildstep/1.3.5/conditional-                           "https://github.com/jenkinsci/conditional-buildstep-
ESP Jenkins Plugins   conditional-buildstep     "1.3.5"     buildstep.hpi"                                    MIT            plugin/blob/master/pom.xml"                            "Conditional BuildStep"                       Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/tra                 "https://github.com/jenkinsci/translation-
ESP Jenkins Plugins   translation               "1.15"      nslation/1.15/translation.hpi"                    MIT            plugin/blob/master/pom.xml"                            "Jenkins Translation Assistance plugin"       Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/pu                  "https://github.com/jenkinsci/puppet-
ESP Jenkins Plugins   puppet                    "1.1"       ppet/1.1/puppet.hpi"                              MIT            plugin/blob/master/pom.xml"                            "Puppet Plugin"                               Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/wo                  "https://github.com/jenkinsci/workflow-cps-
ESP Jenkins Plugins   workflow-cps              "2.32"      rkflow-cps/2.32/workflow-cps.hpi"                 MIT            plugin/blob/master/pom.xml"                            "Pipeline: Groovy"                            Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/jav                 "https://github.com/jenkinsci/javadoc-
ESP Jenkins Plugins   javadoc                   "1.4"       adoc/1.4/javadoc.hpi"                             MIT            plugin/blob/master/pom.xml"                            "Javadoc Plugin"                              Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/s3/                 "https://github.com/jenkinsci/s3-
ESP Jenkins Plugins   s3                        "0.10.10"   0.10.10/s3.hpi"                                   MIT            plugin/blob/master/LICENSE"                            "Jenkins S3 publisher plugin"                 Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/ico                 "https://github.com/jenkinsci/icon-shim-
ESP Jenkins Plugins   icon-shim                 "2.0.3"     n-shim/2.0.3/icon-shim.hpi"                       MIT            plugin/blob/master/pom.xml"                            "Icon Shim Plugin"                            Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/tap                 "https://github.com/jenkinsci/tap-
ESP Jenkins Plugins   tap                       "2.0.1"     /2.0.1/tap.hpi"                                   MIT            plugin/blob/master/pom.xml"                            "Jenkins TAP Plugin"                          Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/git-                "https://github.com/jenkinsci/git-parameter-
ESP Jenkins Plugins   git-parameter             "0.6.1"     parameter/0.6.1/git-parameter.hpi"                MIT            plugin/blob/master/pom.xml"                            "Git Parameter Plug-In"                       Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/ma                  "https://github.com/jenkinsci/mail-watcher-
ESP Jenkins Plugins   mail-watcher-plugin       "1.16"      il-watcher-plugin/1.16/mail-watcher-plugin.hpi" MIT              plugin/blob/master/LICENSE"                            "Mail Watcher Plugin"                         Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/pip                 "https://github.com/jenkinsci/pipeline-build-step-
ESP Jenkins Plugins   pipeline-build-step       "2.5.1"     eline-build-step/2.5.1/pipeline-build-step.hpi"   MIT            plugin/blob/master/pom.xml"                            "Pipeline: Build Step"                        Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/bui                 "https://github.com/jenkinsci/build-timeout-
ESP Jenkins Plugins   build-timeout             "1.17.1"    ld-timeout/1.17.1/build-timeout.hpi"              MIT            plugin/blob/master/pom.xml"                            "Jenkins build timeout plugin"                Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/aw                  "https://github.com/jenkinsci/aws-lambda-
ESP Jenkins Plugins   aws-lambda                "0.5.5"     s-lambda/0.5.5/aws-lambda.hpi"                    MIT            plugin/blob/master/pom.xml"                            "AWS Lambda Plugin"                           Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/bra                 "https://github.com/jenkinsci/branch-api-
ESP Jenkins Plugins   branch-api                "2.0.11"    nch-api/2.0.11/branch-api.hpi"                    MIT            plugin/blob/master/pom.xml"                            "Branch API Plugin"                           Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/gitl                "https://github.com/jenkinsci/gitlab-logo-
ESP Jenkins Plugins   gitlab-logo               "1.0.1"     ab-logo/1.0.1/gitlab-logo.hpi"                    MIT            plugin/blob/master/LICENSE"                            "GitLab Logo Plugin"                          Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/me                  "https://github.com/jenkinsci/metrics-
ESP Jenkins Plugins   metrics                   "3.1.2.9"   trics/3.1.2.9/metrics.hpi"                        MIT            plugin/blob/master/LICENSE.md"                         "Metrics Plugin"                              Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/scri
ESP Jenkins Plugins   scriptler                 "2.9"       ptler/2.9/scriptler.hpi"                          MIT            ""                                                     "Scriptler"                                   Other (provide description) No   Other (provide description) No   No
                                                            "https://updates.jenkins.io/download/plugins/fin                 "https://github.com/jenkinsci/findbugs-
ESP Jenkins Plugins   findbugs                  "4.65"      dbugs/4.65/findbugs.hpi"                          MIT            plugin/blob/master/pom.xml"                            "FindBugs Plug-in"                            Other (provide description) No   Other (provide description) No   No
                                                19-10971-dsj                          Doc 210                        Filed 06/03/19 Entered 06/03/19 14:17:12                                                                Main Document
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                                                             "https://updates.jenkins.io/download/plugins/ma                "https://github.com/jenkinsci/mask-passwords-
ESP Jenkins Plugins   mask-passwords            "2.9"        sk-passwords/2.9/mask-passwords.hpi"              MIT          plugin/blob/master/pom.xml"                            "Mask Passwords Plugin"                  Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/jqu               "https://github.com/jenkinsci/jquery-
ESP Jenkins Plugins   jquery                    "1.11.2-0"   ery/1.11.2-0/jquery.hpi"                          MIT          plugin/blob/master/pom.xml"                            "Jenkins jQuery plugin"                  Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/bui               "https://github.com/jenkinsci/builton-column-
ESP Jenkins Plugins   built-on-column           "1.1"        lt-on-column/1.1/built-on-column.hpi"             MIT          plugin/blob/master/pom.xml"                            "built-on-column"                        Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/ma                "https://github.com/jenkinsci/matrix-project-
ESP Jenkins Plugins   matrix-project            "1.7.1"      trix-project/1.7.1/matrix-project.hpi"            MIT          plugin/blob/master/pom.xml"                            "Matrix Project Plugin"                  Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/wo                "https://github.com/jenkinsci/workflow-step-api-
ESP Jenkins Plugins   workflow-step-api         "2.12"       rkflow-step-api/2.12/workflow-step-api.hpi"       MIT          plugin/blob/master/pom.xml"                            "Pipeline: Step API"                     Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/pur               "https://github.com/jenkinsci/purge-job-history-
ESP Jenkins Plugins   purge-job-history         "1.1"        ge-job-history/1.1/purge-job-history.hpi"         MIT          plugin/blob/master/pom.xml"                            "Purge Job History Plugin"               Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/log               "https://github.com/jenkinsci/logstash-
ESP Jenkins Plugins   logstash                  "1.2.0"      stash/1.2.0/logstash.hpi"                         MIT          plugin/blob/master/LICENSE"                            "Logstash"                               Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/git-              "https://github.com/jenkinsci/git-server-
ESP Jenkins Plugins   git-server                "1.7"        server/1.7/git-server.hpi"                        MIT          plugin/blob/master/pom.xml"                            "Jenkins GIT server Plugin"              Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/ext
                                                             ended-choice-parameter/0.75/extended-choice-                   "https://github.com/jenkinsci/extended-choice-
ESP Jenkins Plugins   extended-choice-parameter "0.75"       parameter.hpi"                                    MIT          parameter-plugin/blob/master/pom.xml"                  "Extended Choice Parameter Plug-In"      Other (provide description) No   Other (provide description) No   No


                                                             "https://updates.jenkins.io/download/plugins/wo                "https://github.com/jenkinsci/workflow-basic-steps-
ESP Jenkins Plugins   workflow-basic-steps      "2.3"        rkflow-basic-steps/2.3/workflow-basic-steps.hpi" MIT           plugin/blob/master/pom.xml"                            "Pipeline: Basic Steps"                  Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/dur               "https://github.com/jenkinsci/durable-task-
ESP Jenkins Plugins   durable-task              "1.14"       able-task/1.14/durable-task.hpi"                 MIT           plugin/blob/master/pom.xml"                            "Durable Task Plugin"                    Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/mo                "https://github.com/javamelody/javamelody/wiki\/bl
ESP Jenkins Plugins   monitoring                "1.59.0"     nitoring/1.59.0/monitoring.hpi"                  MIT           ob/master/pom.xml"                                     "Monitoring"                             Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/do                "https://github.com/jenkinsci/docker-
ESP Jenkins Plugins   docker-plugin             "0.16.2"     cker-plugin/0.16.2/docker-plugin.hpi"            MIT           plugin/blob/master/LICENSE"                            "Docker plugin"                          Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/fle               "https://github.com/jenkinsci/flexible-publish-
ESP Jenkins Plugins   flexible-publish          "0.15.2"     xible-publish/0.15.2/flexible-publish.hpi"       MIT           plugin/blob/master/pom.xml"                            "Flexible Publish Plugin"                Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/pip
                                                             eline-milestone-step/1.3.1/pipeline-milestone-                 "https://github.com/jenkinsci/pipeline-milestone-step-
ESP Jenkins Plugins   pipeline-milestone-step   "1.3.1"      step.hpi"                                        MIT           plugin/blob/master/pom.xml"                            "Pipeline: Milestone Step"               Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/dat               "https://github.com/jenkinsci/database-postgresql-
ESP Jenkins Plugins   database-postgresql       "1.0"        abase-postgresql/1.0/database-postgresql.hpi"    MIT           plugin/blob/master/pom.xml"                            "database-postgresql"                    Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/pip               "https://github.com/jenkinsci/pipeline-stage-step-
ESP Jenkins Plugins   pipeline-stage-step       "2.2"        eline-stage-step/2.2/pipeline-stage-step.hpi"    MIT           plugin/blob/master/pom.xml"                            "Pipeline: Stage Step"                   Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/an                "https://github.com/jenkinsci/analysis-core-
ESP Jenkins Plugins   analysis-core             "1.79"       alysis-core/1.79/analysis-core.hpi"              MIT           plugin/blob/master/pom.xml"                            "Static Analysis Utilities"              Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/aw                "https://github.com/jenkinsci/aws-credentials-         "CloudBees Amazon Web Services
ESP Jenkins Plugins   aws-credentials           "1.16"       s-credentials/1.16/aws-credentials.hpi"          MIT           plugin/blob/master/LICENSE"                            Credentials Plugin"                      Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/tes               "https://github.com/jenkinsci/testng-plugin-
ESP Jenkins Plugins   testng-plugin             "1.14"       tng-plugin/1.14/testng-plugin.hpi"               MIT           plugin/blob/master/pom.xml"                            "TestNG Results Plugin"                  Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/pip               "https://github.com/jenkinsci/pipeline-input-step-
ESP Jenkins Plugins   pipeline-input-step       "2.7"        eline-input-step/2.7/pipeline-input-step.hpi"    MIT           plugin/blob/master/pom.xml"                            "Pipeline: Input Step"                   Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/run-              "https://github.com/jenkinsci/run-condition-
ESP Jenkins Plugins   run-condition             "1.0"        condition/1.0/run-condition.hpi"                 MIT           plugin/blob/master/pom.xml"                            "Run Condition Plugin"                   Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/ma                "https://github.com/jenkinsci/matrix-auth-
ESP Jenkins Plugins   matrix-auth               "1.4"        trix-auth/1.4/matrix-auth.hpi"                   MIT           plugin/blob/master/pom.xml"                            "Matrix Authorization Strategy Plugin"   Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/dy
ESP Jenkins Plugins   dynamicparameter          "0.2.0"      namicparameter/0.2.0/dynamicparameter.hpi"       MIT           ""                                                     "Jenkins Dynamic Parameter Plug-in"      Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/ne                "https://github.com/jenkinsci/next-build-number-
ESP Jenkins Plugins   next-build-number         "1.4"        xt-build-number/1.4/next-build-number.hpi"       MIT           plugin/blob/master/pom.xml"                            "Next Build Number Plugin"               Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/cvs               "https://github.com/jenkinsci/cvs-
ESP Jenkins Plugins   cvs                       "2.12"       /2.12/cvs.hpi"                                   MIT           plugin/blob/master/pom.xml"                            "Jenkins CVS Plug-in"                    Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/wi                "https://github.com/jenkinsci/windows-slaves-
ESP Jenkins Plugins   windows-slaves            "1.2"        ndows-slaves/1.2/windows-slaves.hpi"             MIT           plugin/blob/master/pom.xml"                            "Windows Slaves Plugin"                  Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/par
                                                             ameterized-trigger/2.32/parameterized-                         "https://github.com/jenkinsci/parameterized-trigger-
ESP Jenkins Plugins   parameterized-trigger     "2.32"       trigger.hpi"                                     MIT           plugin/blob/master/pom.xml"                          "Jenkins Parameterized Trigger plugin"     Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/ivy               "https://github.com/jenkinsci/ivy-
ESP Jenkins Plugins   ivy                       "1.26"       /1.26/ivy.hpi"                                   MIT           plugin/blob/master/pom.xml"                          "Ivy Plugin"                               Other (provide description) No   Other (provide description) No   No


                                                             "https://updates.jenkins.io/download/plugins/bui               "https://github.com/jenkinsci/build-blocker-
ESP Jenkins Plugins   build-blocker-plugin      "1.7.3"      ld-blocker-plugin/1.7.3/build-blocker-plugin.hpi" MIT          plugin/blob/master/pom.xml"                            "Build Blocker Plugin"                   Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/ssh-              "https://github.com/jenkinsci/ssh-credentials-
ESP Jenkins Plugins   ssh-credentials           "1.13"       credentials/1.13/ssh-credentials.hpi"             MIT          plugin/blob/master/pom.xml"                            "SSH Credentials Plugin"                 Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/git-              "https://github.com/jenkinsci/git-client-
ESP Jenkins Plugins   git-client                "2.4.6"      client/2.4.6/git-client.hpi"                      MIT          plugin/blob/master/LICENSE"                            "Jenkins Git client plugin"              Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/sns               "https://github.com/jenkinsci/snsnotify-
ESP Jenkins Plugins   snsnotify                 "1.13"       notify/1.13/snsnotify.hpi"                        MIT          plugin/blob/master/pom.xml"                            "Amazon SNS Build Notifier"              Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/me                "https://github.com/jenkinsci/metrics-diskusage-
ESP Jenkins Plugins   metrics-diskusage         "3.0.0"      trics-diskusage/3.0.0/metrics-diskusage.hpi"      MIT          plugin/blob/master/LICENSE.md"                         "Metrics Disk Usage Plugin"              Other (provide description) No   Other (provide description) No   No
                                                             "https://updates.jenkins.io/download/plugins/JD
                                                             K_Parameter_Plugin/1.0/JDK_Parameter_Plugin.h                  "https://github.com/jenkinsci/JDK_Parameter_Choice
ESP Jenkins Plugins   JDK_Parameter_Plugin      "1.0"        pi"                                               MIT          /blob/master/pom.xml"                              "JDK Parameter Plugin"                       Other (provide description) No   Other (provide description) No   No


                                                             "https://updates.jenkins.io/download/plugins/no                "https://github.com/jenkinsci/nodelabelparameter-
ESP Jenkins Plugins   nodelabelparameter        "1.7.2"      delabelparameter/1.7.2/nodelabelparameter.hpi" MIT             plugin/blob/master/pom.xml"                            "Node and Label parameter plugin"        Other (provide description) No   Other (provide description) No   No
                                                19-10971-dsj                              Doc 210                        Filed 06/03/19 Entered 06/03/19 14:17:12                                                                       Main Document
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                                                               "https://updates.jenkins.io/download/plugins/ext
                                                               ensible-choice-parameter/1.3.3/extensible-choice-                "https://github.com/jenkinsci/extensible-choice-
ESP Jenkins Plugins   extensible-choice-parameter "1.3.3"      parameter.hpi"                                      MIT          parameter-plugin/blob/master/pom.xml"                   "Extensible Choice Parameter plugin"           Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/co                  "https://github.com/jenkinsci/configurationslicing-
ESP Jenkins Plugins   configurationslicing       "1.45"        nfigurationslicing/1.45/configurationslicing.hpi" MIT            plugin/blob/master/pom.xml"                             "Configuration Slicing plugin"                 Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/bui
                                                 "1.10+build.2 ld-monitor-
                                                 01610041454 plugin/1.10+build.201610041454/build-monitor-                      "https://github.com/jan-molak/jenkins-build-monitor-
ESP Jenkins Plugins   build-monitor-plugin       "             plugin.hpi"                                         MIT          plugin\/blob/master/pom.xml"                         "Build Monitor View"                              Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/ap                  "https://github.com/jenkinsci/applitools-eyes-
ESP Jenkins Plugins   applitools-eyes            "1.4"         plitools-eyes/1.4/applitools-eyes.hpi"              MIT          plugin/blob/master/LICENSE"                          "Applitools Eyes Plugin"                          Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/ant
                                                               isamy-markup-formatter/1.5/antisamy-markup-                      "https://github.com/jenkinsci/antisamy-markup-
ESP Jenkins Plugins   antisamy-markup-formatter "1.5"          formatter.hpi"                                      MIT          formatter-plugin/blob/master/pom.xml"                   "OWASP Markup Formatter Plugin"                Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/wo
                                                               rkflow-durable-task-step/2.12/workflow-durable-                  "https://github.com/jenkinsci/workflow-durable-task-
ESP Jenkins Plugins   workflow-durable-task-step "2.12"        task-step.hpi"                                      MIT          step-plugin/blob/master/pom.xml"                     "Pipeline: Nodes and Processes"                   Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/ext                 "https://github.com/jenkinsci/extra-columns-
ESP Jenkins Plugins   extra-columns              "1.17"        ra-columns/1.17/extra-columns.hpi"                  MIT          plugin/blob/master/pom.xml"                          "Extra Columns Plugin"                            Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/cre                 "https://github.com/jenkinsci/credentials-binding-
ESP Jenkins Plugins   credentials-binding        "1.9"         dentials-binding/1.9/credentials-binding.hpi"       MIT          plugin/blob/master/pom.xml"                          "Credentials Binding Plugin"                      Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/lda                 "https://github.com/jenkinsci/ldap-
ESP Jenkins Plugins   ldap                       "1.13"        p/1.13/ldap.hpi"                                    MIT          plugin/blob/master/pom.xml"                          "LDAP Plugin"                                     Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/aw                  "https://github.com/jenkinsci/aws-codepipeline-
ESP Jenkins Plugins   aws-codepipeline           "0.20"        s-codepipeline/0.20/aws-codepipeline.hpi"           MIT          plugin/blob/master/LICENSE"                          "AWS CodePipeline Plugin"                         Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/act                 "https://github.com/jenkinsci/active-directory-
ESP Jenkins Plugins   active-directory           "1.47"        ive-directory/1.47/active-directory.hpi"            MIT          plugin/blob/master/pom.xml"                          "Jenkins Active Directory plugin"                 Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/ha                  "https://github.com/jenkinsci/js-                    "JavaScript GUI Lib: Handlebars bundle
ESP Jenkins Plugins   handlebars                 "1.1.1"       ndlebars/1.1.1/handlebars.hpi"                      MIT          libs/tree/master/handlebars\/blob/master/pom.xml" plugin"                                              Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/ans                 "https://github.com/jenkinsci/ansicolor-
ESP Jenkins Plugins   ansicolor                  "0.4.3"       icolor/0.4.3/ansicolor.hpi"                         MIT          plugin/blob/master/LICENSE"                          "AnsiColor"                                       Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/str                 "https://github.com/jenkinsci/structs-
ESP Jenkins Plugins   structs                    "1.9"         ucts/1.9/structs.hpi"                               MIT          plugin/structs/blob/master/pom.xml"                  "Structs Plugin"                                  Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/gra                 "https://github.com/jenkinsci/gradle-
ESP Jenkins Plugins   gradle                     "1.25"        dle/1.25/gradle.hpi"                                MIT          plugin/blob/master/LICENSE"                          "Gradle Plugin"                                   Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/sh
                                                               ow-build-parameters/1.0/show-build-                              "https://github.com/jenkins-infra/plugin-
ESP Jenkins Plugins   show-build-parameters      "1.0"         parameters.hpi"                                     MIT          site/commit/f463c5f/blob/master/pom.xml"               "Show Build Parameters plugin"                 Other (provide description) No    Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/ace-                "https://github.com/jenkinsci/js-libs/tree/master/ace-
ESP Jenkins Plugins   ace-editor                 "1.1"         editor/1.1/ace-editor.hpi"                          MIT          editor\/blob/master/pom.xml"                           "JavaScript GUI Lib: ACE Editor bundle plugin" Other (provide description) No    Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/jun                 "https://github.com/jenkinsci/junit-
ESP Jenkins Plugins   junit                      "1.19"        it/1.19/junit.hpi"                                  MIT          plugin/blob/master/pom.xml"                            "JUnit Plugin"                                 Other (provide description) No    Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/jen
                      jenkins-cloudformation-                  kins-cloudformation-plugin/1.2/jenkins-                          "https://github.com/jenkinsci/jenkins-cloudformation-
ESP Jenkins Plugins   plugin                     "1.2"         cloudformation-plugin.hpi"                          MIT          plugin/blob/master/pom.xml"                           "jenkins-cloudformation-plugin"                  Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/ne                  "https://github.com/jenkinsci/nested-view-
ESP Jenkins Plugins   nested-view                "1.14"        sted-view/1.14/nested-view.hpi"                     MIT          plugin/blob/master/pom.xml"                           "Nested View Plugin"                             Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/fly                 "https://github.com/jenkinsci/flyway-runner-
ESP Jenkins Plugins   flyway-runner              "1.6"         way-runner/1.6/flyway-runner.hpi"                   MIT          plugin/blob/master/pom.xml"                           "Flyway Runner"                                  Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/per                 "https://github.com/jenkinsci/perfpublisher-
ESP Jenkins Plugins   perfpublisher              "8.04"        fpublisher/8.04/perfpublisher.hpi"                  MIT          plugin/blob/master/pom.xml"                           "Jenkins Performance Publisher plugin"           Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/en                  "https://github.com/jenkinsci/envfile-
ESP Jenkins Plugins   envfile                    "1.2"         vfile/1.2/envfile.hpi"                              MIT          plugin/blob/master/pom.xml"                           "Jenkins Environment File Plugin"                Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/aut
                                                               hentication-tokens/1.3/authentication-                           "https://github.com/jenkinsci/authentication-tokens-
ESP Jenkins Plugins   authentication-tokens      "1.3"         tokens.hpi"                                         MIT          plugin/blob/master/pom.xml"                             "Authentication Tokens API Plugin"             Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/bui                 "https://github.com/jenkinsci/buildgraph-view-
ESP Jenkins Plugins   buildgraph-view            "1.4"         ldgraph-view/1.4/buildgraph-view.hpi"               MIT          plugin/blob/master/pom.xml"                             "buildgraph-view"                              Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/tim                 "https://github.com/jenkinsci/timestamper-
ESP Jenkins Plugins   timestamper                "1.8.7"       estamper/1.8.7/timestamper.hpi"                     MIT          plugin/blob/master/pom.xml"                             "Timestamper"                                  Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/co                  "https://github.com/jenkinsci/config-file-provider-
ESP Jenkins Plugins   config-file-provider       "2.15.6"      nfig-file-provider/2.15.6/config-file-provider.hpi" MIT          plugin/blob/master/pom.xml"                             "Config File Provider Plugin"                  Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/job                 "https://github.com/jenkinsci/jobConfigHistory-
ESP Jenkins Plugins   jobConfigHistory           "2.15"        ConfigHistory/2.15/jobConfigHistory.hpi"            MIT          plugin/blob/master/pom.xml"                             "Jenkins Job Configuration History Plugin"     Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/ma
                      matrix-combinations-                     trix-combinations-parameter/1.1.0/matrix-                        "https://github.com/jenkinsci/matrix-combinations-
ESP Jenkins Plugins   parameter                  "1.1.0"       combinations-parameter.hpi"                         MIT          plugin/blob/master/pom.xml"                             "Matrix Configuration Parameter Plugin"        Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/jac                 "https://github.com/jenkinsci/jackson2-api-
ESP Jenkins Plugins   jackson2-api               "2.7.3"       kson2-api/2.7.3/jackson2-api.hpi"                   MIT          plugin/blob/master/pom.xml"                             "Jackson 2 API Plugin"                         Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/git/                "https://github.com/jenkinsci/git-
ESP Jenkins Plugins   git                        "3.0.0"       3.0.0/git.hpi"                                      MIT          plugin/blob/master/pom.xml"                             "Jenkins Git plugin"                           Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/cre                 "https://github.com/jenkinsci/credentials-
ESP Jenkins Plugins   credentials                "2.1.14"      dentials/2.1.14/credentials.hpi"                    MIT          plugin/blob/master/pom.xml"                             "Credentials Plugin"                           Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/scri                "https://github.com/jenkinsci/script-security-
ESP Jenkins Plugins   script-security            "1.29.1"      pt-security/1.29.1/script-security.hpi"             MIT          plugin/blob/master/pom.xml"                             "Script Security Plugin"                       Other (provide description) No   Other (provide description) No   No
                                                               "https://updates.jenkins.io/download/plugins/dis                 "https://github.com/jenkinsci/diskcheck-
ESP Jenkins Plugins   diskcheck                  "0.26"        kcheck/0.26/diskcheck.hpi"                          MIT          plugin/blob/master/pom.xml"                             "diskcheck"                                    Other (provide description) No   Other (provide description) No   No
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                         Schedule 8.1 – Conduct of Business

None.




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                                           Exhibit B

                              Assigned Contracts and Cure Amounts




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                  )
    In re:                                                        )        Chapter 11
                                                                  )
    SIZMEK INC., et al.,1                                         )        Case No. 19-10971 (SMB)
                                                                  )
                                        Debtors.                  )        (Jointly Administered)
                                                                  )

                   NOTICE OF CURE COSTS AND POTENTIAL ASSUMPTION
                    AND ASSIGNMENT OF EXECUTORY CONTRACTS AND
                     UNEXPIRED LEASES IN CONNECTION WITH SALE

PLEASE TAKE NOTICE OF THE FOLLOWING:

         On June 3, 2019, Sizmek Inc. and its debtor affiliates, as debtors and debtors in possession
in the above-captioned chapter 11 cases (collectively, the “Debtors”) filed with the United States
Bankruptcy Court for the Southern District of New York (the “Court”) a motion (the “Motion”)2
for the entry of an Order (i) authorizing the sale of the Purchased Assets, free and clear of any
claim, charge, lien (statutory or otherwise), mortgage, lease, hypothecation, encumbrance, pledge,
security interest, option, rights of use, right of first offer, right of first refusal, easement, servitude,
restrictive covenant, encroachment, license and other restriction and interest (the
“Encumbrances”) in any of the Purchased Assets, (ii) authorizing Debtor Seller to pay a break-
up fee and expense reimbursement to the Buyer, under certain conditions set forth in the APA; (iii)
authorizing the assumption and assignment of certain of Debtor Seller’s executory contracts and
unexpired leases in connection therewith (collectively, the “Contracts and Leases”) and (iv)
granting other related relief.

       You are receiving this Notice because you may be a Counterparty to a Contract or
Lease of Debtors that either is proposed to be assumed and assigned to the Buyer.

                                                       Cure Costs

       In accordance with the Sale Motion, Debtors may, in connection with the Sale Transaction
with the Buyer, assume and assign to the Buyer (or its designated assignee, if applicable) certain
Contracts and Leases of Debtors.




1
      Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
      include: Sizmek Inc. (4624); Sizmek DSP, Inc. (2319); Point Roll, Inc. (3173); Sizmek Technologies, Inc. (6402);
      Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106); and X Plus Two
      Solutions, LLC (4914). The location of Debtors’ service address for purposes of these chapter 11 cases is: 401
      Park Avenue South, Fifth Floor, New York, NY 10016.

2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Sale Motion or APA, as applicable.




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         Each of the Contracts and Leases that may be assumed and assigned in connection with the
Sale Transaction with the Buyer and Debtors’ calculation of the Cure Costs with respect thereto
are set forth on Exhibit A.

        The inclusion of any Contract or Lease on Exhibit A does not constitute an admission that
a particular Contract or Lease is an executory contract or unexpired lease within the meaning of
the Bankruptcy Code or require or guarantee that such Contract or Lease ultimately will be
assumed or assigned. All rights of Debtors with respect thereto are reserved.

                                            Objections

         A. Cure Objections

       Any objection to the proposed assumption, assignment, or potential designation of a
Contract or Lease identified on Exhibit A, the subject of which objection is Debtors’ proposed
Cure Costs must be (i) filed in accordance with the Sale Motion; (ii) filed with the Court; and (iii)
properly served by no later than 7 calendar days after receiving service of Debtors’ proposed
Cure Costs.

     IF A COUNTERPARTY FAILS TO FILE WITH THE COURT AND PROPERLY
SERVE A TIMELY CURE OBJECTION, THE COUNTERPARTY SHALL BE FOREVER
BARRED FROM ASSERTING ANY OBJECTION WITH REGARD TO THE AMOUNT
TO CURE ANY DEFAULT UNDER THE APPLICABLE CONTRACT OR LEASE. THE
CURE COSTS SET FORTH ON EXHIBIT A HERETO SHALL BE CONTROLLING AND
WILL BE THE ONLY AMOUNT NECESSARY TO CURE OUTSTANDING DEFAULTS
UNDER THE APPLICABLE CONTRACT OR LEASE UNDER BANKRUPTCY CODE
SECTION 365(B), NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
CONTRACT OR LEASE, OR ANY OTHER DOCUMENT, AND THE APPLICABLE
COUNTERPARTY SHALL BE FOREVER BARRED FROM ASSERTING ANY
ADDITIONAL CURE OR OTHER AMOUNTS WITH RESPECT TO SUCH CONTRACT
OR LEASE AGAINST DEBTORS, THE BUYER, OR THE PROPERTY OF ANY OF
THEM.

         B. Adequate Assurance Objections

       Adequate Assurance Objections with respect to the assumption and assignment of a
Contract or Lease identified on Exhibit A to the Buyer (or its known proposed assignee, if
applicable) must be filed in accordance with the preceding paragraph by no later than
[____________], at 4:00 p.m. (prevailing Eastern Time).

     IF A COUNTERPARTY FAILS TO FILE WITH THE COURT AND PROPERLY
SERVED A TIMELY ADEQUATE ASSURANCE OBJECTION, THE COUNTERPARTY
SHALL BE FOREVER BARRED FROM ASSERTING ANY OBJECTION WITH
REGARD TO ADEQUATE ASSURANCE OF FUTURE PERFORMANCE OF THE
APPLICABLE CONTRACT OR LEASE. THE BUYER (OR ITS DESIGNATED
ASSIGNEE, IF APPLICABLE) SHALL BE DEEMED TO HAVE PROVIDED
ADEQUATE ASSURANCE OF FUTURE PERFORMANCE WITH RESPECT TO THE
APPLICABLE CONTRACT OR LEASE IN ACCORDANCE WITH BANKRUPTCY



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CODE SECTION 365(F)(2)(B), NOTWITHSTANDING ANYTHING TO                                    THE
CONTRARY IN THE CONTRACT OR LEASE, OR ANY OTHER DOCUMENT.

                                        Sale Hearing

       The Sale Hearing shall be held before the Court on [June __, 2019 at 10:00 a.m.]
(prevailing Eastern Time).

                                   Additional Information

       Copies of the Motion and the Sale Order may be obtained free of charge at the website
dedicated to Debtors’ chapter 11 cases maintained by their claims and noticing agent and
administrative advisor, Stretto, located at https://cases.stretto.com/sizmek/courtdocket.

Dated: [June __,] 2019              /s/ Draft
New York, New York                  KATTEN MUCHIN ROSENMAN LLP
                                    Steven J. Reisman, Esq.
                                    Cindi M. Giglio, Esq.
                                    Jerry L. Hall, Esq. (admitted pro hac vice)
                                    575 Madison Avenue
                                    New York, NY 10022
                                    Telephone: (212) 940-8800
                                    Facsimile: (212) 940-8876
                                    Email:      sreisman@kattenlaw.com
                                                cindi.giglio@kattenlaw.com
                                                jerry.hall@kattenlaw.com

                                    -and-

                                    Peter A. Siddiqui, Esq. (admitted pro hac vice)
                                    KATTEN MUCHIN ROSENMAN LLP
                                    525 W. Monroe Street
                                    Chicago, IL 60661
                                    Telephone: (312) 902-5455
                                    Email:      peter.siddiqui@kattenlaw.com

                                    Counsel to Debtors and Debtors-in-Possession




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                                   Exhibit A to Cure Notice
                                     Assumed Contracts




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                                                                  Exhibit A to Cure Notice
                                                                    Assigned Contracts1



               Contract             Debtor              Contract        Contract         Counterparty Notice           Proposed Cure
             Counterparty         Counterparty                             Date               Address                      Cost
                                                                         and/or
                                                                          Term
    1.   Hewlett-Packard          Sizmek            Master Lease        1/20/2018     200 Connell Drive, Suite                     $0.00
         Financial Services       Technologies,     and Financing                     5000, Berkeley Heights, NJ
         Company                  Inc.              Agreement No.                     07922
                                                    5424046699
                                                    (Vertica)
    2.   Texas EZPawn LP          Sizmek, Inc.      Lease for 2500      11/20/2017    Attn: Legal Department, 2500                 $0.00
                                                    Bee Caves Road,     - 11/19/22    Bee Caves Road, Building 1,
                                                    Building 1                        Suite 200
                                                     Suite 150                        Austin, TX 78746
                                                    Austin, TX
                                                    78746
    3.   Bremere Holding,         Sizmek            Lease for 3200      4/30/15 -     3200 Horizon Drive, Suite                    $0.00
         LLC                      Technologies,     Horizon Drive,      6/30/21       120, King of Prussia PA 19406
                                  Inc.              Suite 120
                                                    King of Prussia,
                                                    PA 19406
    4.   IKEA Purchasing          Sizmek            Lease for 3200      9/1/16 -      3200 Horizon Drive, Suite 120                $0.00
         Services US, Inc. -      Technologies,     Horizon Drive,      6/25/21       King of Prussia, PA 19406
         Subtenant                Inc.              Suite 120
                                                    King of Prussia,
                                                    PA 19406
    5.   Arep Triad, LLC          Sizmek            Lease for 2200       10/1/16 -    AREP TRIAD, LLC c/o                          $0.00
                                  Technologies,     Renaissance         4/30/22       Kairos Triad, LLC, Attn:
                                  Inc.              Blvd, Suite 410                   Stephen Gleason 2200


1
    To the extent a non-debtor counterparty is party to a Data Processing Agreement with the Debtors, such Data Processing Agreement is also to be assumed and
      assigned to the Buyer. The Data Processing Agreements are non-financial contracts (i.e., there is no money owed either to or from the Debtors) and are
      integrated with underlying agreements that are already the subject of assumption and assignment.



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                                              King of Prussia,                Renaissance Blvd., #210 King
                                              PA 19406                        of Prussia, PA 19406

                                                                              with a copy to:

                                                                              AREP TRIAD, LLC c/o
                                                                              ArtemisReal Estate Partners
                                                                              Attn: General Counsel, 5404
                                                                              Wisconsin Ave, #1150 Chevy
                                                                              Chase, MD 20815
 6.    Amplifi Technology     Sizmek          Supplier MSA       6/1/2017     Regent's Place, 10 Triton               $0.00
       Limited                Technologies,                                   Street, London NW 1 3BF
                              Inc.
 7.    Carat USA              Sizmek          Dentsu Aegis       7/18/2014    150 E. 42nd Street, New York            $0.00
                              Technologies,   Network                         NY 10017
                              Inc.            Standard Terms
                                              Addendum
 8.    Dentsu America         Sizmek          Service            9/17/2009    32 Avenue of the Americas,              $0.00
                              Technologies,   Agreement                       16th Floor, New York,
                              Inc.                                            New York 10013
 9.    gyro, llc              Sizmek          Service            12/1/2014    7755 Montgomery Road, Suite             $0.00
                              Technologies,   Agreement                       300, Cincinnati, Ohio 45236
                              Inc.
 10.   iProspect FR           Sizmek          SOW for SEM        5/1/2016     47 rue louis blanc 92400                $0.00
                              Technologies,   Connect                         Courbevoie
                              Inc.
 11.   Isobar Global, a       Sizmek          Design Partner     12/14/2010   Parker Tower, 43-49 Parker              $0.00
       division of Aegis      Technologies,   Agreement                       Street, London, United
       Media Limited          Inc.                                            Kingdom, WC2B 5PS
 12.   Vizeum Global          Sizmek          Service            10/15/2010   Parker Tower, 43-49 Parker              $0.00
       Management, a          Technologies,   Agreement                       Street, London, United
       division of Aegis      Inc.                                            Kingdom, WC2B 5PS
       Media Limited
 13.   Deutsch, Inc.          Sizmek          Service            7/1/2011     111 8th Avenue, 14th floor              $0.00
                              Technologies,   Agreement                       NY,NY 10011
                              Inc.
 14.   IPG Media Brands       Sizmek          Services           7/1/2018     Costa Rica 6012, 7 Piso,                $0.00
       S.A. (Argentina)       Technologies,   Agreement Order                 Capital Federal, City of
                              Inc.            (for Toyota)                    Buenos Aires, Argentina




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 15.   IPG Mediabrands         Sizmek          Services          8/1/2017     100 W, 33rd st, NY, NY                   $0.00
                               Technologies,   Agreement Order
                               Inc.            (for APAC)
 16.   IPG Mediabrands         Sizmek          Agreement         10/12/2009   30 River Valley Road, #02-01,            $0.00
       (Singapore) Pte Ltd     Technologies,                                  Clarke Quay., Singapore
                               Inc.                                           179023, Singapore
 17.   IPG MediaBrands,        Sizmek          Services          4/1/2014     Via Valtellinia 15/17 Milano,            $0.00
       Universal McCann        Technologies,   Agreement                      Italy
       Srl, and Initiative     Inc.
       Media Milano Srl
       (Italy)
 18.   Magna Global, S.A.,     Sizmek          Services          2/1/2011     Baird House 15-17 sT. Cross              $0.00
       for and on behalf of    Technologies,   Agreement                      St., London EC1N 8UW, UK
       UM and Initiative       Inc.
 19.   MediaBrands             Sizmek          Service           4/1/2016      4500 Biscayne Blvd PH Floor             $0.00
       Miami/UM                Technologies,   Agreement                      33137, Miami, Florida
       Miami/Initiative        Inc.
       Miami
 20.   Mediabrands             Sizmek          Ad-Tracking/Ad-   1/1/2019     15F Huaihai Plaza, 1045                  $0.00
       (shanghai) Co., Ltd.    Technologies,   Serving Service                Central Huaihai Road,
                               Inc.            Agreement                      Shanghai, China.
 21.   The Interpublic Group   Sizmek          MSA               4/1/2013     Attn: Legal, 909 Third                   $0.00
       of Companies, Inc.      Technologies,                                  Avenue, New York, NY 10022
                               Inc.
 22.   Universal McCann        Sizmek          Agency            3/11/2009    622 Third Avenue, New York,              $0.00
                               Technologies,   Advertising                    NY 10017
                               Inc.            Agreement
 23.   OMD Dominica            Sizmek          Services          5/1/2018     Calle Rafael Augusto Sanchez             $0.00
       S.R.L.                  Technologies,   Agreement Order                NO. 65, Edficio Malaga I,
                               Inc.                                           ENS. Piantini, Santo
                                                                              Domingo, Republica
                                                                              Dominicana
 24.   Omnicom Media           Sizmek          Service           7/1/2012     135 W. 18th St., NY 10011,               $0.00
       Group Holdings Inc.     Technologies,   Agreement                      NY
                               Inc.
 25.   PHD Argentina S.A.      Sizmek          Services          4/1/2017     Bartolome Cruz 1818, 9                   $0.00
                               Technologies,   Agreement Order                Vicente Lopez, Benuos Aires,
                               Inc.                                           Argentina




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 26.   PHD Argentina S.A.       Sizmek          Services           10/1/2018   Bartolome Cruz 1818, 9                  $0.00
                                Technologies,   Agreement Order                Vicente Lopez, Benuos Aires,
                                Inc.                                           Argentina
 27.   Serino Coyne LLC         Sizmek          Service            1/1/2010    Written Notice: Unit 808,               $0.00
                                Technologies,   Agreement                      Core E, Cyberport 3
                                Inc.                                           100 Cyberport Road, Hong
                                                                               Kong
                                                                               PH: 2911 1688
 28.   Zimmerman                Sizmek          Service            8/1/2016    6600 North Andrews Avenue,              $0.00
       Advertising              Technologies,   Agreement                      Ft. Lauderdale, FL 33309
                                Inc.
 29.   Starcom MediaVest        Sizmek          Service            1/1/2011    35 W. Wacker Drive, Chicago,            $0.00
       Group, Inc.              Technologies,   Agreement (the                 Illinois 60601
                                Inc.            “SMG MSA”)
 30.   Digitas, Inc.            Sizmek          Affiliate          5/1/2016    33 Arch Street, Boston, MA              $0.00
                                Technologies,   Adopting                       02110
                                Inc.            Agreement
                                                (adopting SMG
                                                MSA)
 31.   Digitas, Inc.            Sizmek          Third Party Data   5/30/2014   33 Arch Street, Boston, MA              $0.00
                                Technologies,   Access                         02110
                                Inc.            Agreement
 32.   Optimedia                Sizmek          Affiliate          8/1/2015    375 Hudson Street, New York,            $0.00
       International US, Inc.   Technologies,   Adopting                       NY 10014
                                Inc.            Agreement
                                                (adopting SMG
                                                MSA)
 33.   Razorfish, LLC           Sizmek          Affiliate          5/1/2016    375 Hudson Street, New York,            $0.00
                                Technologies,   Adopting                       NY 10014
                                Inc.            Agreement
                                                (adopting SMG
                                                MSA)
 34.   VM1, a DBA of            Sizmek          Affiliate          1/1/2019    299 West Houston Street                 $0.00
       Zenith Media             Technologies,   Adopting                       10th Floor
       Services, Inc.           Inc.            Agreement                      New York, NY 10014
                                                (adopting SMG
                                                MSA)
 35.   Publicis Advertising     Sizmek          Ad-Tracking/Ad-    1/1/2017    Shanghai Jingan District                $0.00
       Co., Ltd. (and several   Technologies,   Serving Service                Tongren Road 299 on the East
                                Inc.            Agreement                      China Sea Plaza 29 floor


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       other Publicis agencies                    (Contract
       in China)                                  #SHNTV171075)
 36.   Saatchi and Saatchi        Sizmek          Digital           9/29/2015   19001 South Western Ave.,                 $0.00
       Los Angeles, a             Technologies,   Production                    Torrance, CA 90501
       division of Saatchi and    Inc.            Agreement
       Saatchi North
       America, Inc., for the
       benefit of its client
       Toyota Motor Sales,
       U.S.A., Inc.
 37.   Starcom Worldwide          Sizmek          Services          7/1/2016     63 Turnmill St, London                   $0.00
       Limited                    Technologies,   Agreement                     EC1M 5RR
                                  Inc.
 38.   Team One, a division       Sizmek          SOW (adopting     7/1/2015    375 Hudson Street, New York,              $0.00
       of Saatchi and Saatchi     Technologies,   SMG MSA)                      NY 10014 Attn: Kevin
       North America, Inc.,       Inc.                                          Shuster, Agent for Pacific
       as agent for its client,                                                 Investment Management
       Pacific Investment                                                       Company LLC
       Management
       Company LLC
 39.   Team One, a division       Sizmek          Service           9/1/2017    13031 W Jefferson Blvd., LA,              $0.00
       of Saatchi and Saatchi     Technologies,   Agreement                     CA 90094
       North America, Inc.,       Inc.
       for the benefit of its
       client, Lexus, a
       division of Toyota
       Motor Sales, U.S.A.,
       Inc.
 40.   ZenithOptimedia, a         Sizmek          Service           5/27/2009   137 Telok Ayer Street, #06-01,            $0.00
       division of MMC            Technologies,   Agreement                     Singapore 068602
       Communications Pte         Inc.
       Ltd.
 41.   Group M Worldwide,         Sizmek          Third Party       9/1/2009    Privozni 2a Prague 170 00,                $0.00
       LLC                        Technologies,   Advertising                   Czech Republic
                                  Inc.            Vendor
                                                  Agreement
 42.   GroupM Pty Ltd.            Sizmek          Service           9/1/2017    Written Notice: 65 Berry                  $0.00
       (Australia)                Technologies,   Agreement Order               Street North Sydney NSW
                                  Inc.                                          2060, Australia




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 43.   Group M Latin           Sizmek          Addendum to        3/1/2016    601 Brickell Key Drive, Suite             $0.00
       America                 Technologies,   Third Party                    800, Miami FL 33131; with a
                               Inc.            Advertising                    copy to GroupM Worldwide,
                                               Vendor                         LLC, 498 7th Avenue, New
                                               Agreement                      York, NY 10018
                                               (adopting Group
                                               M Worldwide
                                               agreement)
 44.   Groupm Publicidad       Sizmek          Service            8/1/2012    Edif Ntra Senora del Pilar                $0.00
       Worldwide, S.A.         Technologies,   Agreement                      c/Norias 92, 1 planta, Madrid
                               Inc.                                           28021, Spain
 45.   GroupM Srl              Sizmek          MSA and SAS        1/1/2019    Via Tortona 37, 20144 Milano              $0.00
                               Technologies,   Order
                               Inc.
 46.   MediaCom Holdings       Sizmek          Addendum to        1/1/2016     Central St. Giles 1 St. Giles            $0.00
       Limited                 Technologies,   Service                        High Street, London WC2H
                               Inc.            Agreement                      8HR UK
                                               (adopting
                                               Mindshare UK
                                               agreement)
 47.   Xaxis                   Sizmek          Participating      2/26/2014    GroupM Worldwide, LLC,                   $0.00
                               Technologies,   Affiliate Letter               498 7th Avenue, New York,
                               Inc.            (adopting Group                NY 10018
                                               M Worldwide
                                               agreement)
 48.   Adapt Media Inc.        Sizmek          MSA                1/1/2019    667 King Street West, 3rd                 $0.00
                               Technologies,                                  Floor, Toronto, ON, MSV
                               Inc.                                           1M9
 49.   AdRelated FZ-LLC        Sizmek          MSA                3/1/2019    Boutique Villa #7, Knowledge              $0.00
                               Technologies,                                  Village. Dubai, UAE
                               Inc.
 50.   Adsocial S.A. de C.V.   Sizmek          MSA                1/1/2019    Homere 440 piso 5, Polanco,               $0.00
                               Technologies,                                  11560, Mexico
                               Inc.                                           DF
 51.   Adverity GmbH           Sizmek          API Agreement      1/1/2019    Mariahliferstrasse 41-43, 1060            $0.00
                               Technologies,                                  Vienna, Austria
                               Inc.
 52.   Advertex                Sizmek          Service            2/26/2016   151 West 34th St. New York,               $0.00
       Communications, Inc.    Technologies,   Agreement                      NY 10001
       dba Macy’s Marketing    Inc.


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 53.   AimClear, LLC          Sizmek          MSA and Order    2/1/2019     9 W. Superior St. # 200,                   $0.00
                              Technologies,                                 Duluth, MN 55802
                              Inc.
 54.   Anheuser-Busch         Sizmek          Master           11/1/2017    Tower 3, Turmstrasse 26,                   $0.00
       InBev Procurement      Technologies,   Agreement                     6300, Steinhausen, Zug,
       GmbH                   Inc.                                          Switzerland
 55.   AMIN Worldwide         Sizmek          MSA              6/18/2014     3587 Northshore Drive,                    $0.00
                              Technologies,                                 Wayzata, MN 553901
                              Inc.
 56.   Amobee, Inc.           Sizmek          Publisher        7/1/2015     950 Tower Lane, Ste 2000,                  $0.00
                              Technologies,   Services                      Foster City, CA 94404
                              Inc.            Agreement
 57.   Apple Inc.             Sizmek          Global MSA and   8/15/2018    One Apple Park Way,                        $0.00
                              Technologies,   SOW                           Cupertino, California 95014
                              Inc.
 58.   Ascedia, Inc.          Sizmek          Service          4/1/2016     161 South 1st Street,                      $0.00
                              Technologies,   Agreement                     Milwaukee, WI 53204
                              Inc.
 59.   ATD Partners, LLC      Sizmek          SAS Order        4/1/2018     ATD Partners, LLC 410 W                    $0.00
                              Technologies,                                 Liberty Ave Round Rock, TX
                              Inc.                                          78664 Attn: Drake Johnson
 60.   Autoflyte LLC          Sizmek          Service          3/1/2017     750 Old Hickory Blvd,                      $0.00
                              Technologies,   Agreement                     Building Two, Suite 170,
                              Inc.                                          Brentwood, TN 37027
 61.   AutoTrader.com, Inc.   Sizmek          Publisher        2/1/2016     3003 Summit Blvd, Atlanta,                 $0.00
                              Technologies,   Services                      GA 30319
                              Inc.            Agreement
 62.   Azerbaijan Media       Sizmek          MSA and SAS      12/1/2018    S Rahimov st. 23 Baku                      $0.00
       Exchange LLC           Technologies,   Order                         Azerbaijan
                              Inc.
 63.   Bader Rutter &         Sizmek          Service          6/1/2015     13845 Bishops Drive,                       $0.00
       Associates, Inc.       Technologies,   Agreement                     Brookfield, WI 53005
                              Inc.
 64.   Bidsprime Limited      Sizmek DSP,     MSA and Order    11/14/2018   6th Floor, 605, Citicorp Centre            $0.00
                              Inc.                                          18 Whitfield Road
                                                                            North Point, Hong Kong
                                                                            And copy to:
                                                                            Allen@brooads.com




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 65.   Big Eye Creative, Inc.   Sizmek          MSA and Order   4/1/2018    3203 Lawton Rd Ste 200,                  $0.00
                                Technologies,                               Orlando, Florida 32803-2935
                                Inc.
 66.   Birdwell Enterprises     Sizmek          MSA and Order   2/1/2019    2129 S. Wright St. Santa Ana,            $0.00
       Inc.                     Technologies,                               California 92705
                                Inc.
 67.   BKV                      Sizmek          Service         5/1/2015    3390 Peachtree Road, 10th                $0.00
                                Technologies,   Agreement                   Floor, Atlanta GA 30326
                                Inc.
 68.   BL IIeism ve Medya       Sizmek          MSA             10/1/2018   Barbaros Bulvari Morbasan                $0.00
       Hizmetleri A.S.          Technologies,                               Sok Koza Is Merkezi C Lok
                                Inc.                                        Kat:9 Balmumcu Sisli,
                                                                            Istanbul, Turker
 69.   Blizzard                 Sizmek          Service         1/1/2014    DG MediaMind                             $0.00
       Entertainment, Inc.      Technologies,   Agreement                   Attn: Ashley Watson
                                Inc.                                        6601 Center Drive, Suite 350
                                                                            Los Angeles, CA 90045
 70.   Blue Moon Works,         Sizmek          Service         5/5/2012    3773 Cherry Creek Drive                  $0.00
       Inc.                     Technologies,   Agreement                   North, Suite E985, Denver,
                                Inc.                                        CO 80209
 71.   BNP Media                Sizmek          Publisher       1/1/2016    2401 W. Big Beaver Rd, Suite             $0.00
                                Technologies,   Services                    700, Troy MI, 48084
                                Inc.            Agreement
 72.   Brindis Events S.L.      Sizmek          MSA             12/1/2018   Hermosilla 64 7th A 28001,               $0.00
                                Technologies,                               Madrid
                                Inc.
 73.   Burrell                  Sizmek          Service         1/1/2017    Michigan Ave, 29th Floor,                $0.00
       Communications           Technologies,   Agreement                   Chicago, IL 60601
       Group, LLC               Inc.
 74.   Cars.com, LLC            Sizmek          Service         9/1/2016    175 W. Jackson Blvd., Suite              $0.00
                                Technologies,   Agreement                   800, Chicago, IL 60604
                                Inc.
 75.   Casey’s Retail           Sizmek          Service         8/1/2016    One SE Convenience Blvd.                 $0.00
       Company                  Technologies,   Agreement                   Ankeny, IA 50021
                                Inc.
 76.   Centro, Inc.             Sizmek          Service         4/1/2014    222 W. Hubbad St., Suite 400,            $0.00
                                Technologies,   Agreement                   Chicago, Illinois 60654
                                Inc.




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 77.   CHR Media Group        Sizmek          MSA and Order      4/1/2018    One Lombard Place, Suite                $0.00
                              Technologies,                                  L11, Winnipeg R3B 0X3,
                              Inc.                                           Manitoba, Canada
 78.   Cohesive Strategies    Sizmek          Publisher          2/18/2015   233 N. King Street,                     $0.00
       Inc., dba The Archer   Technologies,   Services                       Wilmington, DE 19801
       Group                  Inc.            Agreement
 79.   Cole & Weber United    Sizmek          Service            3/1/2016    221 Yale Ave. N., Suite 600,            $0.00
                              Technologies,   Agreement                      Seattle WA 98109
                              Inc.
 80.   Colgate Palmolive      Sizmek          SAS Order          1/1/2018    05 y 105 s/n Parq Ind Norte             $0.00
       Argentina SA           Technologies,                                  5700- Parque ind zona norte,
                              Inc.                                           San Luis
 81.   Colgate Palmolive      Sizmek          MSA and Order      1/1/2018     Rua Rio Grande, 752, Vila              $0.00
       Comercial Ltda         Technologies,                                  Mariana, Sao Paulo,
                              Inc.                                           04018-002
 82.   Colgate-Palmolive      Sizmek          MSA and Order      8/25/2017   Colgate-Palmolive Company               $0.00
       Company                Technologies,                                  300 Park Avenue
                              Inc.                                           New York, New York 10022
                                                                             Attn: Chief Procurement
                                                                             Officer
                                                                             With a copy to:
                                                                             Colgate-Palmolive Company
                                                                             300 Park Avenue
                                                                             New York, New York 1002
                                                                             With a copy to:
                                                                             theresa_rivera@colpal.com
 83.   Colgate Palmolive      Sizmek          MSA and SOW        12/1/2018   Bicentenario 374, Col. La               $0.00
       S.A. de C.V.           Technologies,                                  Cantera, 03798 San Jose
                              Inc.                                           Iturbide, GTO, Mexico, RFC:
                                                                             CPA7503043P1, Mexico City,
                                                                             Mexico
 84.   Colle & McVoy, Inc.    Sizmek          MSA and Order      9/1/2018    400 1st Avenue North, Suite             $0.00
                              Technologies,                                  700 Minneapolis, MN 55401
                              Inc.
 85.   Collective, Inc.       Sizmek          Amended &          4/1/2016    250 Hudson Street, New York,            $0.00
                              Technologies,   Restated Service               NY 10013, USA
                              Inc.            Agreement
 86.   ComunicacionCreativa   Sizmek          Order              3/1/2019    C/ Trafalgar nº38 1ª planta             $0.00
       Manifiesto, S.L.       Technologies,                                  Barcelona 08010 – Spain
                              Inc.


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 87.   Conde Nast Inc.          Sizmek          Publisher     6/1/2016     1 World Trade Center, New                  $0.00
                                Technologies,   Services                   York, NY 10007
                                Inc.            Agreement
 88.   Connected Interactive    Sizmek          MSA           8/24/2018    Rua Humberto de Campos                     $0.00
       Inc.                     Technologies,                              974/804, Leblon, Rio de
                                Inc.                                       Janeiro, RJ Brasil
 89.   Constellation            Sizmek          MSA           2/1/2019     Calle de la Navallera 3, Puerta            $0.00
       Consulting Ibérica,      Technologies,                              11 Torredolones, Madrid
       S.L.                     Inc.                                       28250, Spain
 90.   Criterion Global, Inc.   Sizmek          Service       6/1/2013     605 Lincoln Road, Miami FL                 $0.00
                                Technologies,   Agreement                  33139
                                Inc.
 91.   Cross Tech Lab Ltd.      Sizmek          MSA           3/1/2019     13617 39th Ave Flushing, NY                $0.00
                                Technologies,                              1134
                                Inc.
 92.   Croud Inc Ltd            Sizmek DSP,     MSA           10/23/2018   First Floor                                $0.00
                                Inc.                                       39 Tabernacle Street
                                                                           London, EC2A 4AA United
                                                                           Kingdom
 93.   DataXu, Inc.             Sizmek          Service       6/1/2015     281 Summer Street, 4th Floor,              $0.00
                                Technologies,   Agreement                  Boston, MA 02210
                                Inc.
 94.   Daily News, L.P.         Sizmek          Service       8/11/2014    4 New York Plaza, 7th Floor,               $0.00
                                Technologies,   Agreement                  New York, NY 10004
                                Inc.
 95.   Deep Focus, Inc.         Sizmek          Contractor    7/8/2014     460 Park Avenue South, New                 $0.00
                                Technologies,   Agreement                  York, NY 10016; with a copy
                                Inc.                                       to Fridman Law Group, PLLC,
                                                                           Attn: Iliya Fridman, Esq. 287
                                                                           Spring Street, New York, NY
                                                                           10013 with a copy to:
                                                                           iliya@fridmanlawgroup.com,
                                                                           jandrews@deepfocus.net
 96.   Digging Interacitve      Sizmek          MSA           9/1/2018     219 Frank E Rodgers Blvd                   $0.00
       Ltd.                     Technologies,                              Street Harrison, New Jersey
                                Inc.                                       07029
 97.   Digital Addix LLC        Sizmek          Service       1/1/2017     6755 Mira Mes Blvd., Suire                 $0.00
                                Technologies,   Agreement                  1232-338, San Diego, CA
                                Inc.                                       92121




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 98.   Digital Rivers, Inc    Sizmek          MSA                3/1/2016     10380 Bren Road West,                    $0.00
                              Technologies,                                   Minnetonka, MN 55343
                              Inc.
 99.   DiMassimo Inc.         Sizmek          Service            2/1/2015     601 W 26th Street, New York,             $0.00
                              Technologies,   Agreement                       NY 10001
                              Inc.
 100. Dixon/Schwabl           Sizmek          Service            7/1/2016     1595 Moseley Road, Victor,               $0.00
       Advertising, Inc.      Technologies,   Agreement                       NY 14564
                              Inc.
 101. DNA Brand               Sizmek          MSA and Order      2/1/2019     1301 5th Avenue, STE. 2600               $0.00
       Mechanics, LLC         Technologies,                                   Seattle, WA 98107
                              Inc.
 102. DOTC Pte. Ltd.          Sizmek          MSA                4/11/2019    201 Henderson Road, #06-22               $0.00
                              Technologies,                                   Apex@Henderson, Singapore,
                              Inc.                                            159545
 103. Double Digit Ltda       Sizmek          MSA                11/1/2018    San Jose, Colima de Tibas,               $0.00
                              Technologies,                                   Parque Industrial Condal
                              Inc.                                            Bodega #4, Costa Rica
 104. Dropbox, Inc.           Sizmek          Ad Serving Order   9/1/2018     Dropbox, Inc., P.O. Box                  $0.00
                              Technologies,                                   77767, San Francisco, CA
                              Inc.                                            94107, attn.: Legal
                                                                              Department, with a copy to
                                                                              contractnotices@dropbox.com.
 105. Economist               Sizmek          Publisher          5/1/2016     25 St James's Street, London,            $0.00
                              Technologies,   Services                        SW1A 1HG &
                              Inc.            Agreement                       20, Cabot Square, London,
                                                                              E14 4QW
 106. E-Global Trade &        Sizmek          MSA                2/1/2019     Reg No. 1384287, First Floor,            $0.00
       Finance                Technologies,                                   Mandar House, Johnson's
                              Inc.                                            Ghut, P.O. Box 3257, Road
                                                                              Town, Tortola, British Virgin
                                                                              Islands
 107. ESPN, Inc.              Sizmek          Included           8/1/2014     ESPN Plaza, Bristol,                     $0.00
                              Technologies,   Publisher                       Connecticut 06010
                              Inc.            Network - Terms
                                              and Conditions
 108. Disney Online           Sizmek          Participating      10/21/2014   ESPN Plaza, Bristol,                     $0.00
                              Technologies,   Affiliate Letter                Connecticut 06010
                              Inc.            (adopting ESPN




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                                              Publisher
                                              Agreement)
 109. eTargetMedia.com,       Sizmek          Pub Paid SOW     1/1/2017    harris@etargetmedia.com                  $0.00
       LLC                    Technologies,
                              Inc.
 110. Expedia, Inc.           Sizmek          Publisher        5/27/2015   333 108th Avenue N.E.,                   $0.00
                              Technologies,   Services                     Bellevue WA 98004
                              Inc.            Agreement
 111. Fast Horse, Inc.        Sizmek          MSA and Order    3/1/2019    240 9th Ave., Minneapolis,               $0.00
                              Technologies,                                MN 55401
                              Inc.
 112. Firstly SP Zoo Sp.k.    Sizmek          MSA              12/1/2018   UI. Kielecka 41A lok 1,                  $0.00
                              Technologies,                                Warszawa 02-530, Poland
                              Inc.
 113. Foursquare Labs, Inc.   Sizmek          Service          4/1/2016    566 Broadway, Fl. 10. New                $0.00
                              Technologies,   Agreement                    York, NY 10012
                              Inc.
 114. Funnel                  Sizmek          API Agreement    2/27/2019   Klarabergsgatan 29 111 21                $0.00
                              Technologies,                                Stockholm Sweden
                              Inc.
 115. Ganem Group (G          Sizmek          MSA              9/1/2018    MARIANO ESCOBEDO 476                     $0.00
       Asociados SA De CV)    Technologies,                                PISO 1 OFNA 104 COL
                              Inc.                                         NUEVA ANZURES C.P.
                                                                           11590 DEL. MIGUEL
                                                                           HIDALGO, CDMX
 116. Gannett Co., Inc.       Sizmek          Publisher        11/1/2015   7950 Jones Branch Drive,                 $0.00
                              Technologies,   Services                     McLean, VA 22108
                              Inc.            Agreement
 117. Gawker Media            Sizmek          Service          7/17/2013   210 Elizabeth St, New York,              $0.00
                              Technologies,   Agreement                    NY 10012
                              Inc.
 118. Get Published, LLC      Sizmek          Vendor Service   9/1/2014    1663 Liberty Drive,                      $0.00
                              Technologies,   Agreement                    Bloomington, Indiana 47403
                              Inc.
 119. Ghost Management        Sizmek          MSA              11/1/2018   41 Discovery                             $0.00
      (Weedmaps Media,        Technologies,                                Irvine, California 92618-3150
      Inc.)                   Inc.                                         accounting@weedmaps.com
 120. Giant Spoon, LLC        Sizmek          Service          6/2/2016    51 East 12th St, Second FL,              $0.00
                              Technologies,   Agreement                    New York, NY 10003
                              Inc.


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 121. Global New Media        Sizmek          MSA               1/1/2019     2525 Arapahoe Avenue, Suire               $0.00
       LLC dba: Blue Allen    Technologies,                                  E4804, Boulder, CO 80302
                              Inc.
 122. Go With Media, LLC      Sizmek          MSA               7/24/2018    201 E Hallandale Beach Blvd,              $0.00
                              Technologies,                                  Hallandale Beach, Florida,
                              Inc.                                           33009
 123. Golf & Tennis Pro       Sizmek          MSA               9/11/2018    1801 Old Alabama Road Suite               $0.00
       Shop, Inc.             Technologies,                                  150 Roswell, GA 20076
                              Inc.
 124. Google Ireland          Sizmek          Ingestion &       12/5/2018    1 Giles High Street                       $0.00
       Limited                Technologies,   Serving Beta                   London WC2H 8AG
                              Inc.            Agreement                      philjones@google.com
 125. Google LLC              Sizmek          Measurement       6/28/2018    Attn: Legal                               $0.00
                              Technologies,   Partner Program                1600 Amphitheatre Parkway,
                              Inc.            Agreement                      Mountain View, CA 94043
 126. Grey New York           Sizmek          Digital Content   3/20/2015    200 Fifth Avenue                          $0.00
                              Technologies,   Production                     New York, NY 10001
                              Inc.            Agreement
 127. GSD&M                   Sizmek Inc.     SOW re: IO T&C    2/28/2018    828 W. 6th Street, Austin, TX             $0.00
                                                                             78703
 128. Haberman &              Sizmek          Service           6/1/2016     430 First Ave N, Suite 216,               $0.00
       Associates, Inc.       Technologies,   Agreement                      Minneapolis, MN 55401
                              Inc.
 129. Hang Seng Bank          Sizmek          Service           11/11/2014   Hang Seng Bank c/o Maxus                  $0.00
                              Technologies,   Agreement                      Communications LLC
                              Inc.                                           PO BOX 4614
                                                                             Grand Central Station
                                                                             New York, NY 10163
 130. Healthline              Sizmek          Publisher         11/4/2014    660 3rd Street, San Francisco,            $0.00
                              Technologies,   Services                       CA 94107
                              Inc.            Agreement
 131. Henkel Corporation      Sizmek          MSA               3/1/2019     200 Elm Street, Stanford CT               $0.00
                              Technologies,                                  06902
                              Inc.
 132. HomeServe USA           Sizmek          Service           5/1/2014     601 Merritt 7, Norwalk, CT                $0.00
       Corp.                  Technologies,   Agreement                      06851
                              Inc.
 133. Horizon Media, Inc.     Sizmek          Service           9/14/2015    75 Varick Street, New York,               $0.00
                              Technologies,   Agreement                      NY 10016
                              Inc.


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 134. Huddled Masses, LLC     Sizmek          Service           10/1/2014   79 Madison Avenue, New                    $0.00
                              Technologies,   Agreement                     York, NY 10016
                              Inc.
 135. IBM                     Sizmek          Supplier          9/11/2018   2455 South Road,                          $0.00
                              Technologies,   Relationship                  Poughkeepsie, NY 12601 USA
                              Inc.            Agreement
                                              (CW2908935)
                                              and
                                              SOW
                                              (#CW2908967)
 136. Idmedios Latam Spa      Sizmek          MSA               2/1/2019    Almirante Pastene 185, oficina            $0.00
                              Technologies,                                 1007, providencia, Santiago de
                              Inc.                                          Chile
 137. Integral Ad Science,    Sizmek          Services          8/1/2017    95 Morton Street, 8th Floor,              $0.00
       Inc.                   Technologies,   Agreement Order               New York, NY 10014
                              Inc.
 138. Iquanti, Inc.           Sizmek          MSA and Order     2/1/2019    111 Town Square Pl #1201                  $0.00
                              Technologies,                                 Jersey City, NJ 07310
                              Inc.
 139. JBZ Digital Pty Ltd     Sizmek          MSA and Order     11/2/2018   152 Elizabeth Street,                     $0.00
                              Technologies,                                 Melbourne, 3000, Australia
                              Inc.
 140. Just Media, Inc.        Sizmek          MSA and Order     10/1/2018   6001 SHELLMOUND                           $0.00
                              Technologies,                                 STREET, SUITE 700
                              Inc.                                          EMERYVILLE, CA 94608
 141. Kelly Scott Madison,    Sizmek          Service           7/1/2015    303 E. Wacker, 8th Floor,                 $0.00
       Inc.                   Technologies,   Agreement                     Chicago, IL 60601
                              Inc.
 142. Knupp & Watson &        Sizmek          MSA and Order     1/1/2019                                              $0.00
       Wallman (KW2)          Technologies,                                 2010 Eastwood Drive, Suite
                              Inc.                                          300, Madison, WI
                                                                            53704
 143. Koi Americas LLC        Sizmek          MSA and Order     12/1/2018   1511 Ave. Ponce de Leon,                  $0.00
                              Technologies,                                 Suite 10, San Juan, Puerto
                              Inc.                                          Rico
 144. KR8OS, Inc. (dba:       Sizmek          MSA               10/1/2018   136 Del Rey Ave, Marina Del               $0.00
       Lucidity Tech)         Technologies,                                 Rey, CA 90292
                              Inc.




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 145. Krt Marketing, Inc.     Sizmek          MSA             2/1/2019    3685 Mt. Diablo Blvd., Suite               $0.00
                              Technologies,                               255 Lafayette, California 9459
                              Inc.                                        United States
 146. LatinMedios.com SA      Sizmek          MSA             5/1/2018    Av. Del Libertador 6680 Piso               $0.00
                              Technologies,                               14, CABA
                              Inc.
 147. Latinworks              Sizmek          Service         8/13/2018   206 E. Ninth Street, 13th                  $0.00
       Marketing, LLC         Technologies,   Agreement                   Floor, Austin, TX 78701
                              Inc.
 148. Laughlin, Marinaccio    Sizmek          Service         9/1/2014    1776 Wilson Boulevard, 5th                 $0.00
      & Owens, Inc. dba       Technologies,   Agreement                   Floor, Arlington, VA 22209,
      LMO Advertising         Inc.                                        USA
 149. Leadsense FZC           Sizmek          MSA             11/2/2018   PO Boc 53965, Hamriyah Free                $0.00
                              Technologies,                               Zone, Sharjah, United Arab
                              Inc.                                        Emirates
 150. Liquid Advertising      Sizmek          Services        1/1/2009    499 Santa Clara Ave                        $0.00
       Inc.                   Technologies,   Agreement                   Venice, CA 90291
                              Inc.
 151. M&C Saatchi Mobile      Sizmek          Service         9/15/2014   36 Golden Sq, London, W1F                  $0.00
       Ltd                    Technologies,   Agreement                   9EE, UK
                              Inc.
 152. Mansueto Ventures       Sizmek          Publisher       4/21/2015   7 World Trade Center, Fl. 29,              $0.00
       LLC                    Technologies,   Services                    New York, NY 10007
                              Inc.            Agreement
 153. Manta Media, Inc.       Sizmek          MSA             11/1/2018   8760 Orion Pl. Suite 100,                  $0.00
                              Technologies,                               Columbus, OH 43240
                              Inc.
 154. Martha Stewart Living   Sizmek          Publisher       4/23/2014   601 W. 26th Street, 9tgh Floor,            $0.00
       Omnimedia              Technologies,   Services                    New York, NY 10001
                              Inc.            Agreement
 155. MayoSeitz Media, Inc.   Sizmek          Service         1/1/2015    Hillcrest 1, 751 Arbor Way,                $0.00
                              Technologies,   Agreement                   Suite 130, Blue Bell, PA
                              Inc.                                        19422
 156. Media Factory Ltd.      Sizmek          MSA and Order   9/1/2018    22869 US Highway 6,                        $0.00
                              Technologies,                               KeyStone, CO 80435
                              Inc.
 157. Media Kitchen (TMK)     Sizmek          Service         8/1/2010    160 Varick Street, New York,               $0.00
                              Technologies,   Agreement                   NY 10013
                              Inc.



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 158. MediaMath Inc.          Sizmek          Service         10/1/2015    4 World Trade Center, 150                 $0.00
                              Technologies,   Agreement                    Greenwich Street, Floor 45,
                              Inc.                                         New York, NY 10007
 159. Mediasurfer Inc.        Sizmek          MSA             11/30/2018   1232 N King St STE 2028,                  $0.00
                              Technologies,                                Wilmington, Delaware, 19801,
                              Inc.                                         US
 160. Mediavo, Inc.           Sizmek          MSA             9/1/2018     1828 Walnut St, Kansas City,              $0.00
                              Technologies,                                MO 64108
                              Inc.
 161. Miami Dade College      Sizmek          Service         2/1/2016     300 N.E, 2nd Avenue, Suite                $0.00
       (MDC)                  Technologies,   Agreement                    1358 - 33132, Miami Florida
                              Inc.
 162. Migros                  Sizmek          MSA and Order   8/1/2018     Limmatstrasse 152, CH-8031                $0.00
       Genossenschafts Bund   Technologies,                                Zurich, Switzerland
                              Inc.
 163. Milestone Integrated    Sizmek          MSA and Order   11/1/2018    101 King St W, Cambridge,                 $0.00
       Marketing Inc.         Technologies,                                ON N3H 1B5, Canada
                              Inc.
 164. Mobile Ads S.A.         Sizmek          MSA             12/1/2018    Juan Diaz de Solis 2384 Piso 2            $0.00
                              Technologies,                                Oficina 1, Olivos, Buenos
                              Inc.                                         Aires, Argentina
 165. Mortenson Kim, Inc.     Sizmek          Service         10/1/2016    6334 Wesfield Blvd.,                      $0.00
                              Technologies,   Agreement                    Indianapolis, IN 46220
                              Inc.
 166. MountainLab Limited     Sizmek          MSA             4/4/2019     21/F Fung Sang Trading                    $0.00
                              Technologies,                                Building
                              Inc.                                         No.54 Bonham Strand West
                                                                           Hong Kong
 167. Mullen Advertising,     Sizmek          Service         5/15/2009    36 Essex Street                           $0.00
       Inc.                   Technologies,   Agreement                    Wenham, MA 01984
                              Inc.
 168. Myntelligence Limited   Sizmek          SOW SEM         2/26/2019    Via Lodovico il Moro, 25                  $0.00
                              Technologies,   Connect                      20143 Milano
                              Inc.                                         Italy
 169. Natcom Global           Sizmek          MSA and Order   11/1/2018    318 NW 23rd St                            $0.00
                              Technologies,                                Miami, FL 33127
                              Inc.
 170. National Media Inc.     Sizmek          Service         4/1/2012     815 Slaters Lane                          $0.00
                              Technologies,   Agreement                    Alexandria, VA 22314
                              Inc.


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 171. NBCUniversal              Sizmek          Publisher         7/1/2015    1221 Avenue of the Americas,              $0.00
                                Technologies,   Services                      New York, NY 10020
                                Inc.            Agreement
 172. NerdWallet                Sizmek          Subscription IO   1/1/2018    875 Stevenson St, 5th Fl                  $0.00
                                Technologies,                                 San Francisco, CA 94103
                                Inc.
 173. Neodigital Iletisim       Sizmek          MSA               2/18/2019   No: 53-1 Kosuyolu Mahallesi               $0.00
      Danismanlik Ticaret       Technologies,                                 34744 Istanbul (Anatolia)
      Limited Sirketi           Inc.                                          Turkey
 174. Netcom Medya              Sizmek          Services          7/1/2016    Akatlar Mah. 8. Gazeteciler               $0.00
      Reklam Satis Paz. Ltd.    Technologies,   Agreement                     Sitesi
                                Inc.                                          A6 Blok, No: 70 Levent
                                                                              34353 Istanbul
                                                                              Turkey
 175. Northwest Marketing       Sizmek          Service           8/1/2016    Attn: Legal                               $0.00
       Solutions dba DigitAll   Technologies,   Agreement                     500 W. 5th Street, Suite 900
                                Inc.                                          Austin, TX 78701
 176. Northlich                 Sizmek          Service           2/1/2017    Attn: Legal                               $0.00
                                Technologies,   Agreement                     191 Peachtree Street NE, Suite
                                Inc.                                          900
                                                                              Atlanta, GA 30303
 177. Nowell Marketing          Sizmek          MSA               5/1/2018    O'Neal Marketing Associates               $0.00
       Limited                  Technologies,                                 Building, 2nd Fl
                                Inc.                                          Wickham's Cay II, Road
                                                                              Town, Tortola, VG1110
                                                                              British Virgin Islands
 178. Nylon Media, Inc.         Sizmek          Publisher         6/1/2015    Attn: Legal                               $0.00
                                Technologies,   Services                      191 Peachtree Street NE, Suite
                                Inc.            Agreement                     900
                                                                              Atlanta, GA 30303
 179. Office of Experience,     Sizmek          MSA               2/1/2019    125 S Wacker Dr, Suite 3000               $0.00
       LLC                      Technologies,                                 Chicago, IL 60606
                                Inc.
 180. Olson + Co., Inc.         Sizmek          Service           8/1/2014    Attn: Legal                               $0.00
                                Technologies,   Agreement                     191 Peachtree Street NE, Suite
                                Inc.                                          900
                                                                              Atlanta, GA 30303
 181. one2one Media, LLC        Sizmek          Agreement (API)   6/20/2018   1675 Broadway, 22nd Floor                 $0.00
                                Technologies,                                 New York, New York 10019
                                Inc.


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 182. one2one Media, LLC      Sizmek          SOW (Hunter       10/3/2018    1675 Broadway, 22nd Floor              $0.00
                              Technologies,   Douglas)                       New York, New York 10019
                              Inc.
 183. one2one Media, LLC      Sizmek          Services          1/22/2019    1675 Broadway, 22nd Floor              $0.00
      dba: one2one            Technologies,   Agreement and                  New York, New York 10019
      Addressable             Inc.            SOW (USAF)
 184. Pandora Media, Inc.     Sizmek          Publisher         2/1/2016     2101 Webster St, Suite 1650            $0.00
                              Technologies,   Services                       Oakland, CA 94612
                              Inc.            Agreement
 185. Papaya Group Co         Sizmek          MSA               3/1/2019     Room 06 13A/F, South Tower             $0.00
       Limited                Technologies,                                  World Finance Ctr
                              Inc.                                           Harbour City 17 Canton Road
                                                                             TST KL
                                                                             Hong Kong
 186. Paradise Advertising    Sizmek          MSA and Order     10/1/2018    150 Second Ave N, Suite 800            $0.00
       & Marketing, Inc.      Technologies,                                  St. Petersburg, FL 33701
                              Inc.
 187. Parallel Software       Sizmek          MSA and Order     8/1/2018     27 Irving Terrace                      $0.00
      Development             Technologies,                                  Bloomfield, NJ 07003
      Company                 Inc.
 188. Paulsen Marketing       Sizmek          Service           10/1/2015    3510 South First Avenue                $0.00
      Inc.                    Technologies,   Agreement                      Circle
                              Inc.                                           Sioux Falls, SD 57106
 189. Peter A. Mayer          Sizmek          Service           1/1/2013     324 Camp St                            $0.00
       Advertising Inc.       Technologies,   Agreement                      New Orleans, LA 70130
                              Inc.
 190. PGATOUR.COM,            Sizmek          Included          1/1/2013     112 PGA Tour Boulevard                 $0.00
       LLC                    Technologies,   Publisher                      Ponte Vedra, FL 32082
                              Inc.            Network - Terms
                                              and Conditions
 191. Pokerstars (Rational    Sizmek          Services          12/18/2013   Douglas Bay Complex, King              $0.00
       Group Limited)         Technologies,   Agreement                      Edward Road
                              Inc.                                           Onchan IM3 1DZ, Isle of Man
 192. PowerPHYL Media         Sizmek          MSA and Order     10/1/2018    370 Seventh Ave, Suite 905             $0.00
       Solutions              Technologies,                                  New York, NY 10001
                              Inc.
 193. Prada SPA               Sizmek          Service           5/1/2013     Via Fogazzaro 28                       $0.00
                              Technologies,   Agreement                      20135 Milan
                              Inc.                                           Italy




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 194. Priceline.com Inc        Sizmek          MSA               12/1/2018    800 Connecticut Ave                     $0.00
                               Technologies,                                  Norwalk, CT 06854
                               Inc.
 195. Programatik Reklam       Sizmek          Services          4/1/2018     Esentepe Mh. Ecza Sk. No:4/1            $0.00
       Bilisim Organizasyon    Technologies,   Agreement Order                Pol Center Is. Mrkz. No:1
       Tic. Ltd. Sti.          Inc.                                           Sisli / Istanbul
                                                                              Turkey
 196. Publisher's              Sizmek          MSA               10/7/2018    Suite 102, Lvl 1                        $0.00
       International PTY Ltd   Technologies,                                  97 Pacific Hwy
                               Inc.                                           North Sydney, NSW 2060
                                                                              Australia
 197. Pumpkin Labs Inc.        Sizmek          MSA               9/20/2018    3555 Millwater Crossing                 $0.00
                               Technologies,                                  Daclua, GA 30019
                               Inc.
 198. Quotient Technology      Sizmek          MSA               2/20/2018    400 Logue Ave                           $0.00
       Inc.                    Technologies,                                  Mountain View, CA 94043
                               Inc.
 199. Quotient Technology      Sizmek          Order             4/1/2018     400 Logue Ave                           $0.00
       Inc.                    Technologies,                                  Mountain View, CA 94043
                               Inc.
 200. Rauxa Direct LLC         Sizmek          MSA               6/25/2018    275 McCormick Ave, Suite A              $0.00
                               Technologies,                                  Costa Mesa, CA 92626
                               Inc.
 201. Rauxa Direct LLC         Sizmek          Order             6/15/2018    275 McCormick Ave, Suite A              $0.00
                               Technologies,                                  Costa Mesa, CA 92626
                               Inc.
 202. Rauxa Direct LLC         Sizmek          Order             11/1/2018    275 McCormick Ave, Suite A              $0.00
                               Technologies,                                  Costa Mesa, CA 92626
                               Inc.
 203. ReachAd GmbH             Sizmek          MSA               10/15/2018   Josef-Ruederer-Str. 5                   $0.00
                               Technologies,                                  80335 Munich
                               Inc.                                           Germany
 204. Reddit, Inc.             Sizmek          Mobile            11/6/2018    legal@reddit.com                        $0.00
                               Technologies,   Attribution                    548 Market Street, #16093
                               Inc.            Agreement                      San Francisco, CA 94104
 205. Reveal Content           Sizmek          MSA               1/23/2019    46 Rue du Paradia                       $0.00
                               Technologies,                                  Paris 75010
                               Inc.                                           France




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 206. S&P Global Inc.           Sizmek          MSA               2/1/2019     55 Water St.                            $0.00
                                Technologies,                                  New York, NY 10004
                                Inc.
 207. Search Optics, LLC        Sizmek          Service           4/1/2014     1938 Burdette Street                    $0.00
                                Technologies,   Agreement                      Ferndale, MI 48220
                                Inc.
 208. Sears Holdings            Sizmek          MSA               7/20/2018    3333 Beverly Road                       $0.00
      Management                Technologies,                                  Hoffman Estates, IL 60179
      Corporation               Inc.
 209. SITO Mobile               Sizmek          Pub Paid IO       7/12/2017    100 Town Square Place, Suite            $0.00
                                Technologies,                                  204
                                Inc.                                           Jersey City, NJ 07310
 210. Sittercity Incorporated   Sizmek          Service           12/1/2014    20 W. Kinzie St, Suite 1500             $0.00
                                Technologies,   Agreement                      Chicago, IL 60654
                                Inc.
 211. SmileDirectClub, LLC      Sizmek          Services          10/1/2017    414 Union St, Suite 800                 $0.00
                                Technologies,   Agreement Order                Nashville, TN 37219
                                Inc.
 212. Snap Inc. (fka            Sizmek          Advertising       1/1/2016     63 Market Street                        $0.00
       Snapchat, Inc.)          Technologies,   Tracking                       Venice, CA 90291
                                Inc.            Services
                                                Agreement
 213. Something Massive,        Sizmek          MSA and Order     2/8/2019     6159 Santa Monica Blvd                  $0.00
       LLC                      Technologies,                                  Los Angeles, CA 90038
                                Inc.
 214. Sonnet Insurance          Sizmek          MSA and Order     7/16/2018    351 King Street East                    $0.00
       Company                  Technologies,                                  Toronto, Ontario M5G 0:6
                                Inc.                                           Canada
 215. Spark Foundry             Sizmek          SOW SEM           6/1/2018     1675 Broadway                           $0.00
                                Technologies,   Kenshoo                        New York, NY 10019
                                Inc.
 216. Spigot, Inc.              Sizmek          MSA               7/26/2018    9961 Interstate Commerce Dr,            $0.00
                                Technologies,                                  #210
                                Inc.                                           Fort Myers, FL 33913
 217. SproutLoud Media          Sizmek          MSA and Order     11/26/2018   15431 SW 14th St                        $0.00
       Networks, LLC            Technologies,                                  Sunrise, FL 33326
                                Inc.
 218. Starmobi Limited          Sizmek          MSA               4/4/2019     Rm A, 9/F Silvercorp Int'l              $0.00
                                Technologies,                                  Tower
                                Inc.


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                                                                             707-713 Nathan Rd, Monkok
                                                                             Kowloon
                                                                             Hong Kong
 219. Survata, Inc.           Sizmek          MSA               12/1/2018    642 Harrison St, 3rd Fl                   $0.00
                              Technologies,                                  San Francisco, CA 94107
                              Inc.
 220. Swell Shark, LLC        Sizmek          Agreement         11/15/2015   55 W 39th St                              $0.00
                              Technologies,                                  New York, NY 10018
                              Inc.
 221. Symphony                Sizmek          API Agreement     3/29/2019    1117 S California Avenue                  $0.00
                              Technologies,                                  Palo Alto, CA 94304
                              Inc.
 222. Taptica Limited         Sizmek          MSA               1/8/2019     Hashmonaim 121, 6713328                   $0.00
                              Technologies,                                  Tel Aviv. Israel
                              Inc.
 223. TCAA, Inc.              Sizmek          Service           10/1/2009    990 Washington Street, Suite              $0.00
                              Technologies,   Agreement                      213
                              Inc.                                           Dedham, MA 02026
 224. The Basement Inc.       Sizmek          MSA and Order     1/1/2019     39 W. Jackson Place, #275                 $0.00
                              Technologies,                                  Indianapolis, IN 46225
                              Inc.
 225. The Berline Group       Sizmek          Service           6/1/2015     423 N. Main Street, Suite 300             $0.00
                              Technologies,   Agreement                      Royal Oak, MI 48607
                              Inc.
 226. The Gary Group          Sizmek          Service           1/1/2010     2040 Broadway                             $0.00
                              Technologies,   Agreement                      Santa Monica, CA 90404
                              Inc.
 227. The Halo Group          Sizmek          Service           7/1/2014     350 Seventh Avenue, New                   $0.00
                              Technologies,   Agreement                      York, NY 10001
                              Inc.
 228. The Hiebing Group,      Sizmek          Service           5/1/2015     Attn: Legal                               $0.00
       Inc.                   Technologies,   Agreement                      191 Peachtree Street NE, Suite
                              Inc.                                           900
                                                                             Atlanta, GA 30303
 229. The Levenson Group,     Sizmek          Services          1/1/2018     2100 Ross Ave, Suite 500                  $0.00
       Inc.                   Technologies,   Agreement Order                Dallas, TX 75201
                              Inc.
 230. The New York Times      Sizmek          Publisher         11/20/2015   620 Eighth Avenue                         $0.00
                              Technologies,   Services                       New York, NY 10016
                              Inc.            Agreement


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 231. The Richards Group,     Sizmek          Service           2/1/2013    8750 N. Central Expressway,                $0.00
       Inc.                   Technologies,   Agreement                     Suite 1200
                              Inc.                                          Dallas, TX 75231
 232. The Washington Post     Sizmek          Included          3/27/2013   1150 15th St. NW,                          $0.00
                              Technologies,   Publisher                     Washington, D.C. 20071
                              Inc.            Network - Terms
                                              and Conditions
 233. Time + Space Media      Sizmek          MSA and Order     6/15/2018   2570 Agricola St                           $0.00
       Limited                Technologies,                                 Halifax, Nova Scotia
                              Inc.                                          Canada
 234. Time Inc.               Sizmek          Publisher         3/1/2016    1271 Avenue of the Americas                $0.00
                              Technologies,   Services                      New York, NY 10020
                              Inc.            Agreement
 235. Toll Brothers, Inc.     Sizmek          Services          8/8/2017    250 Gibraltar Road                         $0.00
                              Technologies,   Agreement Order               Horsham, PA 19044
                              Inc.
 236. Trader Corporation      Sizmek          Publisher         11/1/2015   110 - 405 The West Mall                    $0.00
                              Technologies,   Services                      Etobicoke, ON M9C SJ1
                              Inc.            Agreement
 237. U.S. News & World       Sizmek          Publisher         1/1/2016    4 New York Plaza, 7th Fl                   $0.00
       Report, L.P.           Technologies,   Services                      New York, NY 10004
                              Inc.            Agreement
 238. Viacom International    Sizmek          MSA               6/7/2013    1515 Broadway                              $0.00
       Inc.                   Technologies,                                 New York NY 10036
                              Inc.
 239. Viant US, LLC           Sizmek          Publisher         11/1/2016   4 Park Plaza, Suite 1500                   $0.00
                              Technologies,   Services                      Irvine, CA 92614
                              Inc.            Agreement
 240. Vici Media Inc.         Sizmek          MSA               2/1/2019    111 S Independence Mall E                  $0.00
                              Technologies,                                 Philadelphia, PA 19016
                              Inc.
 241. Visit Hershey &         Sizmek          MSA               1/9/2019    3211 N. Front Street, Suite 301            $0.00
       Harrisburg, Inc.       Technologies,                                 Harrisburg, PA 17110
                              Inc.
 242. Wavemaker (fka          Sizmek          Service           1/1/2015    601 Brickell Key Drive, Suite              $0.00
      Media Edge CIA          Technologies,   Agreement                     804
      LLC)                    Inc.                                          Miami, FL 33131
 243. Weatherbug (Earth       Sizmek          Publisher         4/1/2015    12410 Milestone Center Drive,              $0.00
      Networks, Inc.)         Technologies,   Services                      Suite 300
                              Inc.            Agreement                     Germantown, MD 20876


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 244. XY - The Persistent     Sizmek          MSA               12/1/2018    1133 Columbia Street, 2Fl                  $0.00
       Company                Technologies,                                  San Diego, CA 92101
                              Inc.
 245. YiDong Internet         Sizmek          MSA               10/10/2018   0608 Room, 6Block, Ziwei                   $0.00
       Media Co., Ltd.        Technologies,                                  Park, West Street
                              Inc.                                           Electric City, YanTa District,
                                                                             Xi'An City
                                                                             Shaanxi Province, China
 246. YuMe, Inc.              Sizmek          Included          12/4/2013    1204 Middlefield Road                      $0.00
                              Technologies,   Publisher                      Redwood City, CA
                              Inc.            Network - Terms
                                              and Conditions
 247. YuMe, Inc.              Sizmek          Service           12/4/2014    1204 Middlefield Road                      $0.00
                              Technologies,   Agreement                      Redwood City, CA
                              Inc.
 248. Zeta Global Corp        Sizmek          MSA and Order     4/1/2018     185 Madison Ave, 5th Floor                 $0.00
                              Technologies,                                  New York, NY 10016
                              Inc.
 249. AT&T                    Sizmek          Master            10/29/2014   1 AT&T Way, Bedminster, NJ           $167,576.00
                              Technologies    Agreement                      07921 Attn: Michael Hallack
                              Inc.                                           Copy to: AT&T Corp. One
                                                                             AT&T Way, Bedminster, NJ
                                                                             07921-0752 with a copy to
                                                                             mast@att.com
 250. ATT (NJ, Rack &         Sizmek          Order             9/7/2018     AT&T Corp. Attn: Paul                 $55,077.00
       Power)                 Technologies    #U1667351                      Mallon, 1762 Central Ave.,
                              Inc.                                           Albany NY 12205;
                                                                             pm3219@us.att.com, Copy to:
                                                                             AT&T Corp. One AT&T Way,
                                                                             Bedminster, NJ 07921-0752
                                                                             with a copy to mast@att.com
 251. Brightcove Inc.         Sizmek          Zencoder          4/20/2017    Brightcove Inc., 290 Congress              $0.00
                              Technologies,   Services Order                 Street, Boston, MA 02210
                              Inc.
 252. Brightcove Inc.         Sizmek          Assignment        6/19/2018    Brightcove Inc., 290 Congress              $0.00
                              Technologies,                                  Street, Boston, MA 02210
                              Inc.
 253. Cogent                  Sizmek          Order On-Net      8/31/2015     Cogent Communications, Inc.          $42,368.00
       Communications Inc.    Technologies,   (NetCentric)                   2540 N. St., NW
                              Inc.                                           Washington, DC 20037


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                                                                              With a copy to:
                                                                              terms:cogentco.com
 254. Coresite                Sizmek          Order # SO-        12/17/2013   Coresite Data Center, 900 N.          $25,296.00
                              Technologies,   00592519 LA2;                   Alameda St. Los Angeles, CA
                              Inc.            Master License                  90012;
                                              and Service
                                              Agreement Dated
                                              12/17/2013
 255. Curvature (Server       Sizmek Inc.     Equipment          1/9/18        10420 Harris Oaks Blvd.,             $42,522.00
      Support)                                Schedule                        Suite C, Charlotte, NC 28269
 256. Equinix                 Sizmek          Order NY7 and      5/9/2017     One Lagoon Drive, 4th Floor          $625,617.00
                              Technologies,   ORDER LA2                       Redwood City CA
                              Inc.                                            United States
                                                                              94065
                                                                              incomingdocs@equinix.com
                                                                              with a copy to
                                                                              chrlee@equinix.com
 257. HP Vertica              Sizmek DSP,     Server Support     2/1/2017     Hewlett Packard Enterprise                 $0.00
                              Inc.            Contract ID                     Company, Attn: Legal, 8000
                                              47050181                        Foothills Blvd., Roseville, CA
                                                                              95747-5211
 258. Hewlett-Packard         Sizmek          Master Lease and   10/31/2018   Hewlett-Packard Financial                  $0.00
       Financial Services     Technologies,   Financing                       Services Company, Attn:
       Company                Inc.            Agreement                       Director of Operations,
                                              (5424046699)                    Americas, 200 Connell Drive,
                                                                              Suite 5000, Berkeley Heights,
                                                                              NJ 07922
 259. IAB TECHNOLOGY          Sizmek          Data               11/7/2018    116 East 27th Street                  $17,749.00
       LAB                    Technologies,   Subscription -                  7th Floor
                              Inc.            Spiders and Bots                New York, NY 10016
 260. New Relic, Inc.         Sizmek          Order Form         12/5/2017    188 Spear Street, Suite 1200,              $0.00
                              Technologies,   (Application                    San Francisco, CA 94105
                              Inc.            Monitoring)
 261. ScyllaDB Inc.           Sizmek          DataStore          1/8/2018     Scylla DB, Inc., 1900                      $0.00
                              Technologies,   Support Software                Embarcadero Road, Palo Alto,
                              Inc             License                         CA 94303 info@scylladb.com
                                              Agreement




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 262. EntIT Software LLC,     Sizmek             ENT IT            1/18/2018   1140 Enterprise Way,               $739,348.00
      a wholly-owned          Technologies,      Enterprise                    Sunnyvale CA 94089
      subsidiary of Micro     Inc.               License
      Focus International                        Agreement
      plc. (vendor for HPE
      Vertica Software)
 263. ServicEngine Ltd.       Point Roll, Inc.   MSA               8/4/2014    111 Bir Uttam CR Datta Road,       $113,726.58
      (Bangladesh)                                                             Dhaka-1205, BANGLADESH
 264. GTT                     Sizmek             Invoice           4/13/2012   550 West Adams Street              $143,369.00
      Communications, Inc.    Technologies,      INV2205489                    Suite 900
                              Inc.               5/30/2019 and                 Chicago, IL 60661
                                                 Invoice
                                                 INV2000154
                                                 3/30/2019
 265. Oracle Corporation      Rocket Fuel,       Licensing         12/1/2015   500 Oracle Parkway                       $0.00
      (fka Iridiz)            Inc.               Agreement                     Redwood Shores, CA 94065
 266. Snowflake               Sizmek             MSA & Order       10/1/2018   100 South Ellsworth Ave.,                $0.00
      Computing, Inc.         Technologies,                                    #100, San Mateo, CA 94401
                              Inc.
 267. Okta Inc.               Sizmek, Inc.       Order             9/1/2018    301 Brannan St., 1st Floor,              $0.00
                                                                               San Francisco, CA 94107
 268. Paligo                  Sizmek             Order             1/1/2019    Hemvarnsgatan 13, 171 54                 $0.00
                              Technologies,                                    Solna, Sweden
                              Inc.
 269. salesforce.com, inc.    Sizmek Inc.        Order             1/1/2018    San Francisco, CA 94105                  $0.00
 270. Google LLC              Sizmek             Ingestion &       12/5/2018   1600 Amphitheatre Pkwy,                  $0.00
                              Technologies,      Serving Beta                  Mountain View, CA 94043
                              Inc.               Agreement
 271. Facebook, Inc.          Sizmek, Inc.       Ad Counting       10/5/2018   1 Hacker Way, Menlo Park,                $0.00
                                                 Agreement                     CA 94025
 272. Facebook, Inc.          Sizmek             Facebook Buying   9/24/2012   1 Hacker Way, Menlo Park,                $0.00
                              Technologies,      Supplement                    CA 94025
                              Inc.               Agreement
 273. Socialcom, Inc. (dba    Sizmek             Partner           7/1/2018    Audience X                               $0.00
       Audience X) (US        Technologies,      Agreement                     79 Madison Ave
       Mid-Market Reseller)   Inc.                                             8th Floor
                                                                               New York, NY 10016
 274. Zoom Video              Rocket Fuel        Service           5/18/2016   55 Almaden Blvd. Suite 600          $32,254.00
       Communications         Inc.               Agreement                     San Jose, CA 95113



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                                                                              Daniel.barragan@zoom.us
                                                                              Fax: (650) 397-6118
 275. Slack Technologies,     Rocket Fuel     Master             12/19/2016   155 5th Street, 6th Floor                  $0.00
       Inc.                   Inc.            Subscription                    San Francisco, CA 94103
                                              Agreement
 276. LogMeIn                 Rocket Fuel     Subscription       3/1/2017     Legal Dept., 320 Summer                    $0.00
                              Inc.            Agreement                       Street
                                                                              Boston, MA 02210
 277. Jamf Software           Rocket Fuel     Renewal Quote      12/14/2017   100 S. Washington Ave #1100                $0.00
                              Inc.            116606                          Minneapolis, MN 55401
                                                                              Bryan.seipp@jamf.com
 278. RingCentral             Sizmek          Telephony          4/26/2018    20 Davis Drive, Belmont, CA           $51,253.00
                              Technologies,                                   94002; with a copy to
                              Inc.                                            legal@ringcentral.com
 279. Samanage USA, Inc.      Rocket Fuel     HelpDesk Ticket    9/30/2014    Samanage USA, Inc.                         $0.00
                              Inc.            system                          117 Edinburgh South, Suite
                                                                              100
                                                                              Cary, NC 27511
 280. Atlassian Pty. Ltd.     Sizmek          Confluence &       1/12/2019    Level 6, 341 George Street,                $0.00
                              Technologies,   Jira Renewal                    Sydney NSW 2000,
                              Inc.                                            AUSTRALIA
 281. Lucid Software Inc.     Sizmek Inc.     Renewal            7/25/2018    10355 South Jordan Gateway                 $0.00
                                                                              Suite 300, South Jordan, UT
                                                                              84095
 282. Adobe                   Rocket Fuel     Creative Dev       12/1/2015    Adobe Systems Incorporated                 $0.00
                              Inc.            Tool                            Attn: Contract Administration
                                              Direct Ad Buy                   Group
                                              Rider to IAB                    345 Park Avenue
                                              Standard Terms                  San Jose, CA 95110
                                                                              nrgcts@adobe.com
 283. DocuSign, Inc.          Rocket Fuel     Order              6/12/2018    221 Main St., Suite 1000, San              $0.00
                              Inc.                                            Francisco, CA 94105
 284. Perfecto Mobile Inc.    Sizmek          Order              9/20/2018    25 Corporate Drive, Suite 300,             $0.00
                              Technologies,                                   Burlington, MA 01803
                              Inc.
 285. Sigma, a Pivot          Sizmek          SMARTnet &         12/4/2018    9211 Waterford Centre Blvd,          $145,743.00
       Company                Technologies,   Meraki Quotation                Bldg D, Suite 275, Austin, TX
                              Inc.                                            78758




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 286. ADP                      Sizmek          Major Accounts     7/20/2009    One ADP Boulevard,                     $48,118.00
                               Technologies,   Agreement                       Roseland, New Jersey 07068
                               Inc.
 287. Jobvite, Inc.            Rocket Fuel     Master             9/30/2010    1300 S. El Camino Real, 400,                $0.00
                               Inc.            Subscription                    San Mateo, CA 94402
                                               Agreement
 288. Anaplan, Inc.            Sizmek          Order              3/5/2018     625 2nd St., Suite #101, San            $2,121.00
                               Technologies,                                   Francisco, CA 94107
                               Inc.
 289. Success Factors, Inc.    Sizmek          Service Order      4/22/2018    1 Tower Place, Suite 1100,            $110,383.00
       (SAP)                   Technologies,                                   South San Francisco, CA
                               Inc.                                            94080
 290. Saba Software, Inc.      Sizmek          SOW & Order        11/29/2018   4120 Dublin Blvd., Suite 200,          $35,776.00
                               Technologies,                                   Dublin, CA 94568
                               Inc.
 291. Nexonia Technologies     Sizmek          Order              2/1/2018     2 St. Clair Ave. East, #750,            $4,792.00
       Inc.                    Technologies,                                   Toronto, Ontario M4T 2T5
                               Inc.                                            CANADA
 292. Tableau Software, Inc.   Sizmek          Order & EULA       12/23/2018   1621 N. 34th St., Seattle,WA           $15,747.00
                               Technologies,                                   98103
                               Inc.
 293. Atriis (ABT Global       Sizmek, Inc.    8/1/2018           8/1/2018     1307 S. Mary Ave., Suite 203,               $0.00
      Travel)                                                                  Sunnyvale, CA 94087
 294. Evidon (fka Ghostery)    Sizmek          Services           4/7/2016     Arabellastrasse 23, 81925,             $31,273.00
                               Technologies,   Agreement                       Munich, GERMANY
                               Inc.
 295. Asana, Inc.              Sizmek          Order              1/9/2019     1550 Bryant Street, Suite 800,              $0.00
                               Technologies,                                   San Francisco, CA 94103
                               Inc.
 296. Mailchimp, The           Sizmek          Mailchimp Order    4/19/2019    675 Ponce de Leon Ave NE,                 $36.00
      Rocket Science           Technologies,                                   Suite 500, Atlanta, GA 30308
      Group, LLC               Inc.
 297. Afilias (DeviceAtlas)    Sizmek Inc.     Letter Agreement   2/13/2019    Afilias Technologies Limited,               $0.00
                                                                               4th Floor, International House,
                                                                               3 Harbourmaster Place, IFSC,
                                                                               Dublin 1, IRELAND
 298. Elasticsearch, Inc.      Rocket Fuel     License            8/17/2018    800 El Camino Real, Suite                   $0.00
                               Inc.            (Elasticsearch,                 350, Mountain View, CA
                                               Kibana, Beats                   94040
                                               and Logstash)


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 299. Google LLC              Sizmek Inc.   Google Ads Data   11/14/2017   1600 Amphitheatre Parkway,            $0.00
                                            Hub Beta                       Mountain View, CA 94043
                                            Program
                                            Agreement (as
                                            amended by
                                            Amendment to
                                            Google Ads Hub
                                            Beta Agreement
                                            dated 5/16/18)




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